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 IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                     ILLINOIS WESTERN DIVISION


NICK GEORGEFF,                                        )
                                                      )
                      Plaintiff,                      ) Case No.: 3:20-cv-50313
v.                                                    )
                                                      )
DON BORNEKE CONSTRUCTION, INC.,                       )
                                                      ) Judge: Honorable Judge John J. Tharp Jr.
                      Defendant.                      )
                                                      )

 PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’ AFFIRMATIVE DEFENSES II,
                            III, IV, and V

        Now comes the Plaintiff, NICK GEORGEFF, by his attorneys, ANESI, OZMON, LTD.,

and submits the following Motion to Strike Defendant, DON BORNEKE CONSTRUCTION,

INC.’s (“Borneke”), Affirmative Defenses II - V pursuant to Fed. R.P.12(f). In support, Plaintiff

states as follows:


                                               EXHIBITS


Ex. A: Plaintiff’s Complaint                         Ex. F: Deposition of Joseph Barnes
Ex. B: Deposition of Plaintiff                       Ex. G: Deposition of Leonard Breyne
Ex. C: Construction Contract between                 Ex. H: Defendant’s Affirmative Defenses
Mortensen and Defendant                              Ex. I: Deposition of Andrew Kruse
Ex. D: Deposition of Nicholas Borneke                Ex. J: Deposition of Mark Sikel
Ex. E: Deposition of Andrew Black                    Ex. K: Deposition of James Tinjum



                                      STATEMENT OF FACTS


        This case involves a personal injury that occurred on November 15, 2018, at a

construction project in Mendota Hills, Illinois. Ex. A, Compl. ¶¶ 6-13. Plaintiff was an

ironworker employed by M.A. Mortensen Company (“Mortensen”). Ex. A, ¶ 6. The project was

to build a windfarm in an area of farmland. There were 29 small areas designated as work sites
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where wind turbines were to be erected by Mortensen. Ex. B, Dep. Nick Georgeff 22:7-20.

Defendant, Borneke Construction, was the professional excavation company hired for the

project. Pursuant to its contract with Mortensen, Borneke was responsible for grading,

compacting, and preparing the land at each work site so that workers could safely erect the

turbines. Ex. C, Cont.at 8-9; Ex. D, Dep. Nicholas Borneke 55:24-56:21. This meant “[b]umps

shall be leveled and holes filled to accommodate equipment travel,” and that the cleared areas

“shall be maintained, compacted and provide positive drainage at all times.” Ex. C, at 9.

(emphasis added). The purpose of grading and compacting the ground is to eliminate ruts and

depressed areas so that the ground can support the weight of delivery trucks, machinery, and

other materials that will be used during the turbine installation. Ex. E, Dep. Andrew Black 28:11-

15. It is also important for the erection site to have proper drainage so that water cannot pool

creating a hazard for the workers. Ex. D, Dep. Borneke 43:9-24; Ex. F, Dep. Joseph Barnes

106:3-6; Ex. E, Dep. Black 36:12-37:17. If an area is properly graded with adequate drainage,

water will not pool and freeze into a sheet of ice. Ex. D, Dep. Borneke 69:4-22; Ex. F, Dep.

Barnes 120:18-23.


       On the day in question, Mr. Georgeff arrived at the T-11 site (turbine 11). Ex. B, Dep.

Georgeff 44:6-12. The ground was covered in a thin blanket of snow. Ex. B, Dep. Georgeff 72:9-

16. As Mr. Georgeff walked toward his work area, he stepped on a sheet of ice concealed by the

snow. Ex. B, Dep. Georgeff 72:9-16. While attempting to exit the ice patch, he slipped and

sustained a serious ankle fracture. Ex. B, Dep. Georgeff 102:3-5;164:15-20.




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                                                ARGUMENT


    Plaintiff’s complaint contains two counts—Direct Negligence and Premises Liability. Count

I, Direct Negligence, alleges that Defendant had a duty to exercise reasonable care in performing

its excavation work and Defendant breached its duty in failing to properly grade, compact, and

maintain the land at the erection site. Ex. A, Compl. ¶ ¶11-12. Defendant’s negligent work

caused Plaintiff to be injured on the work site. Ex. A, ¶ ¶12-13. Count II, Premises Liability,

alleges that Defendant controlled the premises and negligently caused and maintained a

dangerous condition, namely ruts and unnatural accumulations of ice. Ex. A, ¶ ¶16-18. Count II

further alleges that Defendant knew or could reasonably expect that persons on the property

would not discover the danger or would fail to protect against the danger in performing their

work. Ex. A, ¶ 19.


    Defendant filed affirmative defenses on May 25, 2023. Affirmative defenses two through

five are defective in fact and in law and should be stricken. An affirmative defense is a is “[a]

defendant's assertion of facts and arguments that, if true, will defeat the plaintiff's ... claim, even

if all the allegations in the complaint are true.” Bell v. Taylor, 827 F.3d 699, 704–05 (7th Cir.

2016). Because affirmative defenses are pleadings, they are subject to the pleading requirements

of the Federal Rules of Civil Procedure. Heller Fin., Inc. v. Midwhey Powder Co., 883 F.2d

1286, 1294 (7th Cir. 1989). Accordingly, affirmative defenses must provide “a short plain

statement” of the defense, including “all material elements of the claim asserted.” Fed.R.Civ.P.

8(b)(A); Renalds v. S.R.G. Rest. Group,119 F. Supp. 2d 800, 802 (N.D. Ill. 2000). “Bare legal

conclusions attached to narrated facts will not suffice.” Renalds v. S.R.G. Rest. Group, 119 F.

Supp. 2d 800, 802 (N.D. Ill. 2000).



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   The Court should strike “any insufficient defense or any redundant, immaterial, impertinent,

or scandalous matter” from pleadings. Fed. R.P.12(f). When examining the sufficiency of an

affirmative defense, courts employ a three-part test. Sloan Valve Co. v. Zurn Industries, Inc., 712

F. Supp. 2d 743, 749 (N.D. Ill. 2010). First, the matter must be properly pleaded as an

affirmative defense. Id. Second, the matter must meet the pleading requirements of Fed.R.Civ.P.

8 and 9. Id. And third, the matter must survive a Rule 12(b)(6) challenge—"in other words, if it

is impossible for defendants to prove a set of facts in support of the affirmative defense that

would defeat the complaint, the matter must be stricken as legally insufficient.” Id. For cases

premised on diversity jurisdiction, “the legal and factual sufficiency of the affirmative defenses

is examined with reference to state law.” LaSalle Bank Nat'l Assoc v. Paramont Properties, 588

F. Supp. 2d 840, 860 (N.D. Ill. 2008)

   I.      Affirmative Defense II must be Stricken because the ice was not Open and
           Obvious and Defendant’s active Negligence Caused Plaintiff’s injury.
   In a premises liability claim, the open and obvious doctrine is an exception to the general

duty of care owed by a landowner. Park v. N.E. Illinois Regl. Commuter R.R. Corp., 960 N.E.2d

764, 769 (Ill. App. 1st Dist. 2011). The doctrine provides that a “possessor of land is not liable to

his invitees for physical harm caused to them by any activity or condition on the land whose

danger is known or obvious.” Restatement (Second) of Torts § 343A(1) (1965). A condition is

open and obvious where “the condition and risk are apparent and would be recognized by a

reasonable person exercising ordinary perception, intelligence, and judgment.” Crosson v.

Ruzich, 110 N.E.3d 355, 361 (Ill. App. 5th Dist. 2018); see also Sandoval v. City of Chicago, 830

N.E.2d 722, 727 (Ill. App. 1st Dist. 2005) (whether a condition is open and obvious depends on

“the objective knowledge of a reasonable person confronted with the same condition”).




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      Common examples of open and obvious conditions include fire, height, and bodies of water

because these conditions, by nature, “carry their own warning of potential harm.” Bucheleres v.

Chicago Park Dist., 665 N.E.2d 826, 832-37 (Ill. 1996). Similarly, sidewalk defects may

constitute open and obvious conditions because they are common, “readily visible to a

reasonably prudent pedestrian,” and “can be easily anticipated by the average pedestrian.” Foy v.

Village of La Grange, 169 N.E.3d 1106, 1111 (Ill. App. 1st Dist. 2020); see also Bruns v. City of

Centralia, 21 N.E.3d 684, 687 (Ill. 2014) (finding that the cracked uneven sidewalk was an open

and obvious condition). If a condition is open and obvious, the law generally assumes that the

likelihood of injury is slight because “people are expected to appreciate and avoid obvious

risks.” Bucheleres, 665 N.E.2d at 832. By contrast “if a danger is concealed or latent…the

likelihood of injury increases because people will not be as readily aware of the latent danger.”

Id.


      Here, the sheet of ice was not an open and obvious condition that alleviated the defendant’s

duty. It is undisputed that the ice was concealed by a thin blanket of snow on the day in

question. Ex. B, Dep. Georgeff 72:9-16; Ex. G, Dep. Leonard Breyne 103:10-17. For a condition

to be open and obvious, one needs to be able to appreciate both the condition and the risk. See

Crosson,110 N.E.3d at 361. However, due to a layer of snow, Mr. Georgeff would have been

unable to see the ice and it could not have been “open” or “obvious.” Mr. Georgeff was unaware

that the dangerous condition even existed. Ex. B, Dep. Georgeff 144:10-14. Since it is

undisputed that the ice was concealed from his view, he had no opportunity to appreciate the

risk, much less avoid it.


      Moreover, even, arguendo, if the ice was “open and obvious,” it would be irrelevant as the

doctrine does not apply to Count I, the direct negligence claim, because the defendant’s conduct

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of negligently and improperly performing their work in excavating the land is what caused the

plaintiff’s injury. For the open and obvious doctrine to apply in ordinary negligence cases the

alleged cause of the injury must be a condition of the land and not the defendant’s active

negligence. Hutson v. Pate, 2022 IL App (4th) 210696, ¶ 53.


    This issue was addressed in Hutson v. Pate where the court held the open and obvious

doctrine did not apply to the plaintiff’s ordinary negligence claim because the defendant’s

conduct is what caused the plaintiff’s injury, not some condition of the land. Id. ¶ 62. There, the

defendant yanked a garden hose causing the plaintiff to trip and fall, fracturing her ankle. Id. ¶ 7.

The plaintiff tripped because the defendant pulled the hose, not because of “some passive feature

of the hose independent of [the defendant’s] dangerous conduct or active negligence.” Id. ¶ 55

(emphasis added). The condition of the hose “was merely the instrumentality of [the plaintiff’s]

injury, not its cause.” Id. ¶ 62.


        Here, as in Hutson, the open and obvious doctrine does not apply to Mr. Georgeff’s

negligence claim (Count I) because the defendant’s improper excavation work is what caused the

injury at issue. The sheet of ice only existed because of the defendant’s negligent conduct by

improperly grading the ground and providing inadequate drainage. The testimony is clear that if

Defendant did its job properly, in a non-negligent manner, there would not be large, depressed

areas or standing water that could freeze over in the erection site. Ex. D, Dep. Borneke 83:5-24;

93:13-94:4; Ex. F, Dep. Barnes 120:18-23. In fact, the very reason Defendant was hired in the

first place was to prevent these kinds of hazards. Ex. D, Dep. Borneke 72:7-11; Ex.E, Dep. Black

60: 1-24. Like the hose in Hutson, the ice was “merely the instrumentality” of Mr. Georgeff’s

injury, not its cause. See 2022 IL App (4th) 210696, ¶ 62. Thus, the open and obvious doctrine is



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inapplicable to Mr.Georgeff’s direct negligence claim (Count I) and Defendant’s affirmative

defense must be stricken.


   II.     Affirmative Defense III must be stricken because it is not an Affirmative Defense
           at all; it is actually an Action for Contribution that Defendant failed to file.
   When a defendant’s negligence proximately causes a plaintiff’s injury, “it is not a defense

that [something] [or] [someone] else may also have been a cause of the injury.” IPI. 15.01. The

defendant’s argument that Mortensen proximately caused Mr. Georgeff’s injury is not an

affirmative defense, rather, it is an action for contribution that the defendant failed to file. The

Contribution Act provides when two or more people are liable in tort for the same injury to the

same person, a right of contribution exists among them. 740 ILCS 100/2. Here, Defendant is

attempting to blame Mortensen for Mr.Georgeff’s injuries while at the same time refusing to

bring a contribution action against the very party it argues is responsible. Defendant chose not to

despite every opportunity to do so. As such, its affirmative defense must be stricken.


   Additionally, in its prayer for relief, the defendant also stated that Mortensen was the “sole

proximate cause” of Mr.Georgeff’s injuries. Ex. H, Def.’s Affirm Def at 3. This similarly is not

an affirmative defense. See Allen v. Sarah Bush Lincoln Health Ctr., 185 N.E.3d 815, 830 (Ill.

App. 4th Dist. 2021) (finding that “sole proximate cause. . .is not an affirmative defense” in a

negligence action). Under federal law, “affirmative defenses generally admit matter in a

complaint but nevertheless assert matters that would defeat recovery.” Amelio v. Yazoo Mfg. Co.,

98 F.R.D. 691, 693 (N.D. Ill. 1983). Arguing that Mortensen is the sole proximate cause does not

admit the allegations in Plaintiff’s complaint. The court’s analysis in Amelio is instructive in this

regard.




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   In Amelio, the defendant’s affirmative defense stated that “the plaintiff’s own negligence was

the sole and proximate cause of . . . his alleged injuries.” Id. The court held that this was not a

federal affirmative defense because, although it could be true, the defense did not admit the

allegations of plaintiff’s complaint. Id. If the jury found as the defendant claimed, the plaintiff

“simply would have failed to prove necessary elements of his claim”—namely causation. Id.


   Here, as in Amelio, the defendant’s affirmative defense fails because it does not admit the

allegations in Mr. Georgeff’s complaint. Causation is a necessary element of Mr. Georgeff’s

prima facie case. Arguing that Mortensen is the sole proximate cause amounts to a denial and

claim that a third party is responsible—not an affirmative defense.


   Furthermore, the evidence already elicited in this case clearly establishes that Mortensen

could not have been the sole proximate cause of Mr. Georgeff’s injuries. The defendant, not

Mortensen, was under a contractual obligation to grade and compact the ground, provide proper

drainage, and maintain these conditions throughout the duration of the project. Ex. C, Cont. at 8-

9; Ex. D, Dep. Borneke 55:24-56:21. It was the defendant’s responsibility to not only prepare the

ground right the first time, but to revisit the erection sites and provide periodic maintenance

when necessary. Ex. D, Dep. Borneke 66:22-67:8. Based on the testimony and incident report, it

appears that the defendant was called back to the site and shown the area where Mr. Georgeff

fell, but negligently left the sheet of ice because it was in tight quarters. Ex. E, Dep. Black 79:2-

10; Ex. I, Dep. Andrew Kruse 62:16-22.


   For over 20 years, the defendant has worked on dozens of wind farm projects. Ex. D, Dep.

Borneke 25:18-22. The defendant’s employees testified that, as the expert in excavation, the

manner in which Borneke performs its job is left to Borneke—not Mortensen. Ex. J, Dep. Mark


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Sikel 81:10-20; Ex. D, Dep. Borneke 102:20-24. Even the defendant’s own expert testified that

Mortensen could not have been the sole proximate cause for the injury at issue. Ex. K, Dep.

James Tinjum 174:2-13. Thus, the defendants affirmative defense must be stricken.


   III.    Affirmative Defenses IV must be Stricken because Lack of Notice does not
           Defeat an Ordinary Negligence Claim.
   To prevail on a negligence claim, a plaintiff only needs to prove three elements:(1) the

defendant owed plaintiff a duty, (2) the defendant breached its duty, and (3) this breach was the

proximate cause of the plaintiff’s injuries. Williamson v. Evans Nails & Spa Corp., 2023 IL App

(1st) 220084, ¶ 10. Establishing that the defendant had actual or constructive notice is not

necessary when the evidence suggests that the defendant’s active negligence caused the

plaintiff’s injury. Wind v. Hy-Vee Food Stores, Inc., 650 N.E.2d 258, 264 (Ill. App. 3d Dist.

1995; Piper v. Moran's Enterprises, 459 N.E.2d 1382, 1389 (Ill. App. 5th Dist. 1984). For

example, in Wind, the court held it was reversible error to require a plaintiff to prove actual or

constructive notice when a defendant tripped over a floor mat in the defendant’s store. 650

N.E.2d at 264. The defendant’s employee placed a wrinkled mat in the doorway and failed to

tape down its edges, which was customary practice during inclement weather. Id. at 259. Since

the evidence suggested that the defendant negligently installed the mat, the plaintiff did not need

to prove that the defendant had notice of the condition. Id.; see also Piper, 459 N.E.2d at1389

(finding that a plaintiff who fell through a wooden pallet was not required to prove actual or

constructive notice of because the defect was likely caused by Defendant’s negligence).


   Here, as in Wind, the evidence shows that Defendant’s negligent conduct created the

hazardous condition and caused Mr. Georgeff’s injury. The defendant had a duty to exercise

reasonable care in preparing the ground at the erection sites, which included grading and


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compacting the land so that depressed areas did not form and providing positive drainage “at all

times.” Ex. C, Cont. at 9. Nick Borneke himself testified that if Borneke does its job properly

there should not be standing water in the erection area. Ex. D, Dep. Borneke 69:18-22. Yet, at

the T-11 turbine site where Mr. Georgeff fell, water was able to pool and freeze. The defendant’s

argument that it lacked notice fails because the defendant’s negligence created the dangerous

condition in the first place. Thus, with regard to Mr.Georgeff’s direct negligence claim (Count I),

affirmative defense IV must be stricken as it is inapplicable and does not bar Plaintiff’s recovery.


   IV.     Affirmative Defense V must be stricken because it does not Apply to Plaintiff’s
           Direct Negligence Claim and Even in the Context of Premises Liability, the
           Accumulation of ice in this case was Unnatural.
   The natural accumulation rule provides that “a landowner or possessor of real property has

no duty to remove natural accumulations of ice, snow, or water from its property.” Beaumont v.

J.P. Morgan Chase Bank, N.A., 782 F. Supp. 2d 656 (N.D. Ill. 2011). The flaw in the defendant’s

argument is that Mr. Georgeff’s direct negligence claim is not premised upon the existence of ice

on the land but upon the defendant’s negligent performance of its excavation work. Not only did

the defendant improperly grade and compact the ground—as evidenced by the large

depression—but Defendant failed to provide adequate drainage. As a result, water was able to

pool and freeze over. The testimony is clear that if an area is properly graded with proper

drainage, water will not pool and freeze into a sheet of ice. Ex. D, Dep. Borneke 69:4-22; Ex. F,

Dep. Barnes 120:18-23. Thus, it is not a defense to say the accumulation was natural because the

defendant failed to use ordinary care in its excavation work causing Mr.Georgeff’s injury.

Accordingly, the defendant’s affirmative defense must be stricken as it is inapplicable to the

direct negligence claim.




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   Moreover, even in the context of the premises liability claim, Count II, the ice was an

unnatural accumulation caused by defendant’s conduct and failure to maintain the worksite.

Owners or occupiers of land have a duty to prevent unnatural accumulations of ice on their

property when it “is caused by design deficiencies that promote unnatural accumulations of ice

and snow.” Webb v. Morgan, 531 N.E.2d 36, 39 (Ill. App. 5th Dist. 1988). An unnatural

accumulation can be caused by the design or maintenance of a premises, or if the owner caused

the hazardous condition to develop in an artificial way. Bloom v. Bistro Rest. Ltd. Partn., 710

N.E.2d 121, 123 (Ill. App. 1st Dist. 1999). For example, in Ide v. City of Evanston, the court held

that a sheet of ice on a sidewalk was an unnatural accumulation because it was caused by the

defendant landlord’s leaky pipes. 173 N.E.2d 534, 538 (Ill. App. 2d Dist. 1961). In Lapidus v.

Hahn water dripped down from an apartment complex’s roof onto the building’s front porch. 450

N.E.2d 824, 828 (Ill. App. 1st Dist. 1983). The water collected in a depression on the porch and

froze, later causing the plaintiff to slip and injure her arm. Id. Because a jury could reasonably

conclude that the ice “was caused by the defective nature and construction of the roof and

abetted by the depression in the platform,” it was not a natural accumulation, and the defendant

landlord was liable. Id.


       Here, as in the examples above, the sheet of ice did not occur naturally. But for the

defendant’s negligence in failing to properly grade and maintain the land and provide adequate

drainage, the large sheet of ice would not exist. As stated in the defendant’s employee’s

testimony, if an area is properly graded with proper drainage, water will not pool and freeze into

a sheet of ice. Ex. D, Dep. Borneke 69:4-22. The natural accumulation rule is not applicable

where, as here, the owner or possessor of property “in some way caused an unnatural




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accumulation or aggravated a natural condition.” Hahn, 450 N.E.2d at 828. Because Defendant

caused the unnatural accumulation of ice, Defendant’s affirmative defense must be stricken.

                                         CONCLUSION

       WHEREFORE, for the reasons stated above, Plaintiff respectfully requests that this court

strike the defendants second (II) through fifth (V) affirmative defenses.


                                              Respectfully Submitted



                                      By:    /S/ Steven A. Berman
                                            One of the plaintiff’s attorneys



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GEORGEFF, NICK
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·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
                                                                       ·1·   · · · · · · · · (WHEREUPON, the witness was duly
·2· · · · · FOR THE NORTHERN DISTRICT of ILLINOIS
                                                                       ·2·   · · · · · · · · ·sworn.)
·3· · · · · · · · · · ·WESTERN DIVISION
                                                                       ·3·   · · · · · · · · (WHEREUPON, a certain document was
·4· ·NICK GEORGEFF,· · · · · · · ·)
                                                                       ·4·   · · · · · · · · ·marked Georgeff Deposition Exhibit
·5· · · · · · · · · Plaintiff,· · )
                                                                       ·5·   · · · · · · · · ·No. 2, for identification, as of
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                                                                       ·6·   · · · · · · · · ·1/4/22.)
·7· ·DON BORNEKE CONSTRUCTION,· · )
                                                                       ·7·   · · · · THE COURT REPORTER:· My name is Carol
·8· ·INC.,· · · · · · · · · · · · )
                                                                       ·8·   ·Raymond, a State notary public and certified
·9· · · · · · · · · Defendant.· · )
                                                                       ·9·   ·shorthand reporter.· This deposition is being held
10
                                                                       10·   ·via videoconferencing equipment.· The witness and
11· · · · ·The videoconference deposition of NICK
                                                                       11·   ·reporter are not in the same room.· The witness
12· ·GEORGEFF, called for examination, taken pursuant to
                                                                       12·   ·will be sworn in remotely pursuant to agreement of
13· ·the Federal Rules of Civil Procedure of the United
                                                                       13·   ·the parties.
14· ·States District Courts pertaining to the taking of
                                                                       14·   · · · · · · · · · · NICK GEORGEFF,
15· ·depositions, taken before CAROL RAYMOND, CSR No.
                                                                       15·   ·called as a witness herein, having been first duly
16· ·84-001077, a Notary Public within and for the
                                                                       16·   ·sworn, was examined and testified as follows:
17· ·County of DuPage, State of Illinois, and a
                                                                       17·   · · · · · · · · · DIRECT EXAMINATION
18· ·Certified Shorthand Reporter of said state, at
                                                                       18·   ·BY MR. SULLIVAN:
19· ·Suite 2100, 161 North Clark Street, Chicago,
                                                                       19·   · · · Q.· · Good afternoon, Mr. Georgeff.· My name
20· ·Illinois, on the 4th day of January, A.D. 2022,
                                                                       20·   ·is Chris Sullivan and I represent the defendant in
21· ·commencing at 2:00 p.m.
                                                                       21·   ·this case, Borneke Construction Company.
22
                                                                       22·   · · · · · · Could you please state your name and
23
                                                                       23·   ·spell it for the court reporter.
24
                                                                       24·   · · · A.· · Yes, Nick Georgeff, N-i-c-k,
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·1· ·PRESENT:
                                                                       ·1·   ·G-e-o-r-g-e-f-f.
·2· · · · ·ANESI, OZMON, RODIN, NOVAK & KOHEN,
                                                                       ·2·   · · · Q.· · And could I call you Nick?
·3· · · · ·(161 North Clark Street, Suite 2100,
                                                                       ·3·   · · · A.· · Yes.· Sure.
·4· · · · ·Chicago, Illinois 60601,
                                                                       ·4·   · · · Q.· · Nick, do you still live at 7126 Townsend
·5· · · · ·(312) 372-3822), by:
                                                                       ·5·   ·Road in Plainfield?
·6· · · · ·MR. CHARLES A. TERRY,
                                                                       ·6·   · · · A.· · Yes, I do.
·7· · · · ·cterry@anesilaw.com
                                                                       ·7·   · · · Q.· · And have you ever given a deposition
·8· · · · · · · appeared on behalf of the Plaintiff,
                                                                       ·8·   ·before?
·9
                                                                       ·9·   · · · A.· · No, I have not.
10· · · · ·SWANSON, MARTIN & BELL,
                                                                       10·   · · · Q.· · Okay.· Let me explain a little bit about
11· · · · ·(330 North Wabash, Suite 3300,
                                                                       11·   ·the process.· This is the opportunity that I have,
12· · · · ·Chicago, Illinois 60611,
                                                                       12·   ·and the only opportunity to ask you questions about
13· · · · ·(312) 321-8448), by:
                                                                       13·   ·your claim in this case against my client, Don
14· · · · ·MR. CHRISTIAN A. SULLIVAN,
                                                                       14·   ·Borneke Construction.· The only thing that I ask
15· · · · ·csullivan@smbtrials.com
                                                                       15·   ·is, you listen carefully to my question, and let me
16· · · · · · · appeared on behalf of the Defendant.
                                                                       16·   ·know if you have not understood something that I
17
                                                                       17·   ·have asked.· It will be more difficult with the
18
                                                                       18·   ·technology that we have to deal with, but be that
19
                                                                       19·   ·as it may, I will do my best to hear you and for
20
                                                                       20·   ·you to hear me.
21
                                                                       21·   · · · · · · If you answer a question without letting
22
                                                                       22·   ·me know you did not understand, then, I have to
23· ·REPORTED BY:· CAROL RAYMOND, CSR,
                                                                       23·   ·assume that you understood it when you answered the
24· · · · · · · · · CSR No. 04-001077
                                                                       24·   ·question, does that sound fair?

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                                                     Page 5                                                        Page 7
·1·   · · · A.· · Yes, it does.                               ·1·   · · · A.· · July of 2020.
·2·   · · · Q.· · And there's probably going to be more of    ·2·   · · · Q.· · Okay.· And your salary there is what?
·3·   ·a delay just because, you know, we're on the           ·3·   · · · A.· · Right now it's $15 an hour.
·4·   ·electrical communication here.· She cannot take        ·4·   · · · Q.· · And are you scheduled for any raises in
·5·   ·down -- the court reporter cannot take two people      ·5·   ·the future that you know of?
·6·   ·speaking at once and so forth.· So, there may be       ·6·   · · · A.· · No.
·7·   ·plenty of times that you will anticipate my            ·7·   · · · Q.· · You work at one specific store?
·8·   ·question before I am done, but I just ask that wait    ·8·   · · · A.· · Yes.
·9·   ·until I am done because she cannot take us both        ·9·   · · · Q.· · Where is that?
10·   ·down speaking at the same time and she cannot take     10·   · · · A.· · In Shorewood.
11·   ·nonverbal responses either.· There will be a few       11·   · · · Q.· · And describe your educational
12·   ·times when I may ask a follow up just be clear of      12·   ·background, please.
13·   ·whether the answer is yes or no or what have you.      13·   · · · A.· · High school, I finished.· I attended
14·   ·Other than that, if you need a break for any           14·   ·Triton College for two years.· I have an
15·   ·reason, let me know.· Otherwise, it should be          15·   ·associate's in applied science.· I went there for
16·   ·fairly efficient.                                      16·   ·automotive.
17·   · · · A.· · Okay.                                       17·   · · · Q.· · And what high school, sir?
18·   · · · Q.· · How long have you lived at this address     18·   · · · A.· · Downers Grove South.
19·   ·in Plainfield, sir?                                    19·   · · · Q.· · What years?
20·   · · · A.· · 21 years.                                   20·   · · · A.· · I graduated in 1990.
21·   · · · Q.· · And you own the home there?                 21·   · · · Q.· · 1990?
22·   · · · A.· · My parents own the home.                    22·   · · · A.· · Yes.
23·   · · · Q.· · And who are your parents?· What are         23·   · · · Q.· · And when did you complete your Triton
24·   ·their names?                                           24·   ·College work?
                                                     Page 6                                                        Page 8
·1·   · · · A.· · James and Lucy Georgeff.                    ·1·   · · · A.· · I believe '93 I finished.
·2·   · · · Q.· · Do they still live there?                   ·2·   · · · Q.· · Did you ever work as a mechanic?
·3·   · · · A.· · No, they do not.                            ·3·   · · · A.· · Yes, I did.
·4·   · · · Q.· · Currently you live with your wife and       ·4·   · · · Q.· · And where did you work?
·5·   ·two kids, is that correct?                             ·5·   · · · A.· · I started out at Honda of Lisle.
·6·   · · · A.· · That's correct.                             ·6·   · · · Q.· · It is right next to my office.· I bought
·7·   · · · Q.· · And how old are your children?              ·7·   ·two cars there.· Were you an ASE certified
·8·   · · · A.· · 21 and 18.                                  ·8·   ·technician?
·9·   · · · Q.· · And your wife's name is what?               ·9·   · · · A.· · No.
10·   · · · A.· · Ana, A-n-a.                                 10·   · · · Q.· · What was your position?
11·   · · · Q.· · One N?                                      11·   · · · A.· · I was a technician.
12·   · · · A.· · One N.                                      12·   · · · Q.· · They call it a technician?
13·   · · · Q.· · And you said -- who owns the home now?      13·   · · · A.· · Yes.
14·   · · · A.· · My parents own it.                          14·   · · · Q.· · How many years did you work there?
15·   · · · Q.· · Okay.· They are still alive, though?        15·   · · · A.· · I worked there for three years.
16·   · · · A.· · Yes, they are.                              16·   · · · Q.· · And have ever been ASE certified?
17·   · · · Q.· · Do you own any homes yourself in your       17·   · · · A.· · I was ASE certified in suspension.
18·   ·own name?                                              18·   · · · Q.· · And did you work anywhere else as a
19·   · · · A.· · No, I do not.                               19·   ·mechanic?
20·   · · · Q.· · And what does your wife do for a living?    20·   · · · A.· · What is that?
21·   · · · A.· · Interior design.                            21·   · · · Q.· · Did you work anywhere else as a
22·   · · · Q.· · Are you currently working anywhere?         22·   ·mechanic?
23·   · · · A.· · I am working at Home Depot now.             23·   · · · A.· · Yes, I worked at an independent shop in
24·   · · · Q.· · And since when?                             24·   ·Naperville called Sterling Automotive.

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                                                     Page 9                                                       Page 11
·1·   · · · Q.· · You said Sterling?                          ·1·   · · · A.· · You have to take a test to get into the
·2·   · · · A.· · Yes.                                        ·2·   ·apprenticeship.
·3·   · · · Q.· · And what was your salary at those two       ·3·   · · · Q.· · Okay.· And this is testing through the
·4·   ·places, if you recall?                                 ·4·   ·union itself, right?
·5·   · · · A.· · I really don't remember.                    ·5·   · · · A.· · Right.
·6·   · · · Q.· · Okay.· And just so I know, what were the    ·6·   · · · Q.· · Now, is Local 444 the only union you
·7·   ·years that we are talking about?                       ·7·   ·have been a member of?
·8·   · · · A.· · At Honda it was probably '91 through        ·8·   · · · A.· · Yes, it is.
·9·   ·about '94.· And then Sterling Automotive was like      ·9·   · · · Q.· · Okay.· Because there's also unions for
10·   ·'94 to about '99.                                      10·   ·auto mechanics, right?
11·   · · · Q.· · Is that place still in existence?           11·   · · · A.· · Yes.
12·   · · · A.· · The last I heard it was and the owner       12·   · · · Q.· · And you were never a member of those?
13·   ·had passed probably eight years ago.· I believe it     13·   · · · A.· · No.
14·   ·was still operational.                                 14·   · · · Q.· · Okay.· Did you apply to any other union
15·   · · · Q.· · Okay.· And did you work anywhere else as    15·   ·aside from 444?
16·   ·a mechanic after Sterling Automotive?                  16·   · · · A.· · No, I have not.
17·   · · · A.· · No, I did not.                              17·   · · · Q.· · Okay.· And what is involved with the
18·   · · · Q.· · Why did you decide to change careers?       18·   ·apprenticeship program for the three years you
19·   · · · A.· · Better benefits as an ironworker.· My       19·   ·discussed?
20·   ·brother's father-in-law was an ironworker and he is    20·   · · · A.· · You basically go through, you know,
21·   ·the one that kind of recruited.· He thought it         21·   ·history of iron working, structural rebar
22·   ·would be a good fit for me.                            22·   ·reinforcing, and you also have on-the-job training,
23·   · · · Q.· · What does your dad do out of curiosity?     23·   ·like welding.
24·   · · · A.· · He worked in a factory.· Rexnord, they      24·   · · · Q.· · Okay.· So, you would regularly perform
                                                    Page 10                                                       Page 12
·1·   ·made airplane parts.                                   ·1·   ·welding tasks as part of the ironwork as well?
·2·   · · · Q.· · Is that in Joliet somewhere?                ·2·   · · · A.· · Right.
·3·   · · · A.· · No, I believe it was Downers Grove.         ·3·   · · · Q.· · Okay.· Before I forget, have you ever
·4·   · · · Q.· · And was there any specific reason why       ·4·   ·had any felony convictions in your lifetime?
·5·   ·you left Sterling in 1999 as opposed to any other      ·5·   · · · A.· · No, I have not.
·6·   ·time?                                                  ·6·   · · · Q.· · Have you ever had any misdemeanor
·7·   · · · A.· · No specific reason.· I just wanted a        ·7·   ·convictions involving dishonesty?
·8·   ·change.· Like I said, the benefits were better.        ·8·   · · · A.· · Not that I am aware of, no.
·9·   ·The complete package was a lot better being an         ·9·   · · · Q.· · And you have lived in Illinois your
10·   ·ironworker.                                            10·   ·whole life?
11·   · · · Q.· · And how were you trained as an              11·   · · · A.· · Yes, I have.
12·   ·ironworker?· Where and how?                            12·   · · · Q.· · You have been married once?
13·   · · · A.· · In Joliet I went trough an                  13·   · · · A.· · I have been married twice.
14·   ·apprenticeship for three years.                        14·   · · · Q.· · No kids from your first marriage?
15·   · · · Q.· · This is at Local 444?                       15·   · · · A.· · No kids.
16·   · · · A.· · Yes.                                        16·   · · · Q.· · From when to when was your first
17·   · · · Q.· · You said your brother's father-in-law       17·   ·marriage?
18·   ·got you into it?                                       18·   · · · A.· · '91 to '94.
19·   · · · A.· · Yes.                                        19·   · · · Q.· · Okay.· The same time that you were at
20·   · · · Q.· · And he's still a member of Local 444?       20·   ·Honda of Lisle?
21·   · · · A.· · He was.· He passed about five or six        21·   · · · A.· · Yes.
22·   ·years ago.                                             22·   · · · Q.· · Does that coincide with your work at
23·   · · · Q.· · What do you have to do qualify as an        23·   ·Honda of Lisle when you divorced, I guess?
24·   ·ironworker?                                            24·   · · · A.· · Not really.· It just ended up that way.

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                                                    Page 13                                                       Page 15
·1·   · · · Q.· · Okay.· And what's your date of birth,       ·1·   ·get an assignment through the union and how long it
·2·   ·sir?                                                   ·2·   ·lasts and that sort of thing?
·3·   · · · A.· · November 5, 1971.                           ·3·   · · · A.· · I would show up at the union hall.· We
·4·   · · · Q.· · So, from when to when did you do the        ·4·   ·would get a call that they need somebody and I
·5·   ·three-year apprenticeship?                             ·5·   ·would be dispatched to a certain location depending
·6·   · · · A.· · I started in 2001 and I finished in         ·6·   ·on where it is and it can last anywhere from a day
·7·   ·2004.                                                  ·7·   ·to a year.
·8·   · · · Q.· · And, I assume, part of it is on-the-job     ·8·   · · · Q.· · So all assignments ran through the union
·9·   ·training, right?                                       ·9·   ·hall?
10·   · · · A.· · Right.                                      10·   · · · A.· · Right.
11·   · · · Q.· · And then is there testing throughout or     11·   · · · Q.· · And they would tell you just where to
12·   ·is there just a one-time test before and after?        12·   ·go?
13·   · · · A.· · Just a one-time test and then you got to    13·   · · · A.· · Yes.
14·   ·pass your classes.                                     14·   · · · Q.· · I was looking at their website, it has a
15·   · · · Q.· · Okay.· And does the class involve some      15·   ·pretty broad area of Northern Illinois that your
16·   ·onsite construction as well?                           16·   ·union covers, is that right?
17·   · · · A.· · Not so much on-site.· We would attend       17·   · · · A.· · Yes, it is.
18·   ·class at the union hall twice a week where we would    18·   · · · Q.· · Okay.· So, the project at issue here is
19·   ·have basic classes and a welding class.                19·   ·one of these wind turbine sites, right?
20·   · · · Q.· · So, everything was at the union hall,       20·   · · · A.· · Right.
21·   ·then?                                                  21·   · · · Q.· · Of course -- it seems like they are
22·   · · · A.· · Right.                                      22·   ·allover our state now.· How much experience did you
23·   · · · Q.· · And that's located where?                   23·   ·have with that type of job site before the incident
24·   · · · A.· · In Joliet.                                  24·   ·at issue in this case in 2018?
                                                    Page 14                                                       Page 16
·1·   · · · Q.· · So, at the end of the three years, then,    ·1·   · · · A.· · Quite a bit.· I worked on a wind farm, I
·2·   ·where did you go?· What did you do?                    ·2·   ·believe, it was in 2008, that was also Mortenson
·3·   · · · A.· · What's that?                                ·3·   ·the general contractor on that.· I was there --
·4·   · · · Q.· · What happened at the end of the             ·4·   · · · Q.· · I'm sorry.
·5·   ·three-year apprentice?                                 ·5·   · · · A.· · I was there close to a year and then
·6·   · · · A.· · I became a journeyman.                      ·6·   ·this job site.
·7·   · · · Q.· · Okay.· And a journeyman was your title      ·7·   · · · Q.· · Would that have been the second time on
·8·   ·at the time of this incident as well, right?           ·8·   ·a wind turbine project for you?
·9·   · · · A.· · Right.                                      ·9·   · · · A.· · Correct.
10·   · · · Q.· · Okay.· So, do you get a certificate or      10·   · · · Q.· · So, the 2008 project, how long did --
11·   ·something that says you are a journeyman?              11·   ·you said it was about a year?
12·   · · · A.· · You get your union card, that's             12·   · · · A.· · Roughly a year.
13·   ·typically the completion of it.                        13·   · · · Q.· · And where was that?
14·   · · · Q.· · I see because you have to be a              14·   · · · A.· · I believe Dwight, Illinois.
15·   ·journeyman to have your union card, right?             15·   · · · Q.· · Is that like Grundy County or something?
16·   · · · A.· · Correct.                                    16·   · · · A.· · I believe so.· I know it is in that same
17·   · · · Q.· · So, you got our union card when?            17·   ·general area.
18·   · · · A.· · 2004.                                       18·   · · · Q.· · So, from '04 to '08, what type of
19·   · · · Q.· · Okay.· And where did you work after         19·   ·projects were you doing?
20·   ·that?                                                  20·   · · · A.· · Mainly reinforcing projects.
21·   · · · A.· · I was allover.                              21·   · · · Q.· · Okay.· Is that for new building
22·   · · · Q.· · So, how does it normally work, then? I      22·   ·construction, is that you mean?
23·   ·am not that familiar with union assignments and so     23·   · · · A.· · Yeah, new buildings.
24·   ·forth.· You just -- tell me how it works when you      24·   · · · Q.· · Reinforced rebar, is that what you

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                                                    Page 17                                                       Page 19
·1·   ·saying?                                                ·1·   ·essentially the same as the one in this case?
·2·   · · · A.· · Correct.                                    ·2·   · · · A.· · Correct.· They might not been as tall,
·3·   · · · Q.· · And so that could be -- well, where was     ·3·   ·but, generally speaking, they were about the same.
·4·   ·the majority of your work in terms of location?        ·4·   · · · Q.· · And then you said you moved onto the
·5·   · · · A.· · Typically around the Joliet area.           ·5·   ·turbine itself?
·6·   · · · Q.· · Okay.· Mainly the Joliet area?              ·6·   · · · A.· · Yes, to the erection site.
·7·   · · · A.· · Mainly the Joliet area.· Occasionally, I    ·7·   · · · Q.· · Did you ever do the erection site work
·8·   ·would be going towards Kankakee or towards Aurora,     ·8·   ·in the 2008 project?
·9·   ·that area.                                             ·9·   · · · A.· · No, I did not.
10·   · · · Q.· · It would be like high-rise projects?        10·   · · · Q.· · And what is involved for you as a
11·   · · · A.· · In Joliet, no.                              11·   ·ironworker in the turbine erection base?
12·   · · · Q.· · What kind of -- shopping malls?· I am       12·   · · · A.· · I was the steward on the job.· So, I
13·   ·just trying to get a feel of what kind of projects?    13·   ·would basically be going to the union hall and
14·   · · · A.· · Warehouses.· Shopping malls.· The           14·   ·doing union business, whatever needed to be done.
15·   ·biggest thing was probably warehouses.                 15·   ·Getting permits for out-of-town workers and then
16·   · · · Q.· · Okay.· And so the length of the time of     16·   ·they would have me -- basically, I would unload the
17·   ·any those projects could vary, I guess, right?         17·   ·trucks part of the day and then I would help the
18·   · · · A.· · Right.                                      18·   ·erection side with what they needed.
19·   · · · Q.· · And is that, generally speaking, the        19·   · · · Q.· · So, part of your job was to actually get
20·   ·type of work you did other than these two wind         20·   ·the permits and so forth?
21·   ·turbine projects?                                      21·   · · · A.· · Right.
22·   · · · A.· · Yes, it was mainly warehouses.· I did a     22·   · · · Q.· · Okay.· Now, what was the length of time
23·   ·library in Elgin.                                      23·   ·that this project took place and it's called The
24·   · · · Q.· · Okay.· And each of these were all           24·   ·Mendota Hills Project, right?
                                                    Page 18                                                       Page 20
·1·   ·reinforced rebar work?                                 ·1·   · · · A.· · Yeah, I don't really remember what it
·2·   · · · A.· · The Elgin Library was more like             ·2·   ·was called.
·3·   ·Structural Steel.· That was setting columns and        ·3·   · · · Q.· · Okay.· What was the closest town to
·4·   ·beams.                                                 ·4·   ·where this was, do you know?
·5·   · · · Q.· · Okay.· And what does an ironworker do on    ·5·   · · · A.· · Compton.
·6·   ·a wind turbine site?                                   ·6·   · · · Q.· · Now, we know from the documents that's
·7·   · · · A.· · Depending on what section you are on,       ·7·   ·been referred to as the Mendota Hills site, but,
·8·   ·the base of wind turbines are reinforced steel, so     ·8·   ·apparently -- I mean, you're not disputing that's
·9·   ·there's concrete, I did that before I came over to     ·9·   ·the name or anything, are you?
10·   ·the turbine crew.                                      10·   · · · A.· · No.
11·   · · · Q.· · Okay.· And what does that involve in        11·   · · · Q.· · You are not aware of any other name for
12·   ·terms of is -- is it setting reinforced steel into     12·   ·the general project, are you?
13·   ·concrete, is that what it is?                          13·   · · · A.· · Not that I am aware of.
14·   · · · A.· · Yeah.                                       14·   · · · Q.· · So, when did you first join this
15·   · · · Q.· · That's for the base of the turbine?         15·   ·project?
16·   · · · A.· · Right, that's for the base of the           16·   · · · A.· · I would say it started back in April or
17·   ·turbine?                                               17·   ·May of 2018, because I was on the reinforcing site
18·   · · · Q.· · All right.· Let's talk about the 2008       18·   ·until the beginning of October and then I went to
19·   ·project.· What was your duty in that situation?        19·   ·the erection site in the beginning of October.
20·   · · · A.· · Just ironworker.· I was doing the base      20·   · · · Q.· · Okay.· So, erection October-November.
21·   ·reinforcing, journeyman.                               21·   ·And we know the incident took place on November
22·   · · · Q.· · The same exact thing you just mentioned?    22·   ·15th of '18.· And did you ever go back to work at
23·   · · · A.· · Right.                                      23·   ·Mortenson's after that?
24·   · · · Q.· · And the design of the wind turbine was      24·   · · · A.· · Not Mortenson.· They gave me light duty

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                                                    Page 21                                                       Page 23
·1·   ·for a little bit after my accident.· I think it was    ·1·   · · · Q.· · It involves basically grading the
·2·   ·three or four weeks.                                   ·2·   ·farmlands so you could set it up, is that fair to
·3·   · · · Q.· · So, then, when -- when was the last time    ·3·   ·say?
·4·   ·you worked for Mortenson that you recall?              ·4·   · · · A.· · Sure.
·5·   · · · A.· · I want to say the beginning of May of       ·5·   · · · Q.· · Because this was all in farmlands,
·6·   ·2019.                                                  ·6·   ·right?
·7·   · · · Q.· · I'm skipping ahead a little bit and I       ·7·   · · · A.· · Yes.
·8·   ·will get into that specifically.· How was your         ·8·   · · · Q.· · Okay.· And just so I have the location,
·9·   ·salary determined working for Local 444?               ·9·   ·it's essentially Interstate 39 and County Road 10,
10·   · · · A.· · It's a base salary.· Everybody gets the     10·   ·does that sound right?
11·   ·same.· Depending on the job, if you are foreman you    11·   · · · A.· · That sounds right.
12·   ·get paid a little more, but basically journeymen       12·   · · · Q.· · And it says Lee County Illinois, right?
13·   ·are all the same.                                      13·   · · · A.· · Yes.
14·   · · · Q.· · And you have never been a foreman           14·   · · · Q.· · In terms of the order of erecting a
15·   ·before, have you?                                      15·   ·turbine, there are areas where it's set up and it's
16·   · · · A.· · Not on this job.· I was a foreman at one    16·   ·graded and there are also access roads to get to
17·   ·other job.                                             17·   ·that area, right?
18·   · · · Q.· · Just one time you've been a foreman?        18·   · · · A.· · Yes.
19·   · · · A.· · Yes, just the one time.                     19·   · · · Q.· · So, is it graded and then the concrete
20·   · · · Q.· · And your base salary was $41.75 an hour     20·   ·is poured and the base reinforcement project is
21·   ·in 2018, is that right?                                21·   ·undertaken first, right?
22·   · · · A.· · Correct.                                    22·   · · · A.· · Right.
23·   · · · Q.· · And was that the same rate throughout       23·   · · · Q.· · And by the way, do you know the diameter
24·   ·this project?                                          24·   ·of these turbines?
                                                    Page 22                                                       Page 24
·1·   · · · A.· · Yes.                                        ·1·   · · · A.· · I know the base was about 75 feet
·2·   · · · Q.· · What was the reason that you went to        ·2·   ·across.
·3·   ·erection duties in October of 2018, if you know?       ·3·   · · · Q.· · And they are all the same size, right?
·4·   · · · A.· · The reinforcing section was done and I      ·4·   · · · A.· · Yeah.
·5·   ·knew everybody already in the erection side, so I      ·5·   · · · Q.· · Okay.
·6·   ·just hopped over.                                      ·6·   · · · A.· · The reinforcing base was about 75 feet.
·7·   · · · Q.· · Okay.· What was Mortenson's role in the     ·7·   · · · Q.· · How big would the concrete slab be?
·8·   ·project as a whole, do you know?                       ·8·   · · · A.· · Those were about 75 feet.
·9·   · · · A.· · General contractor.                         ·9·   · · · Q.· · Okay.
10·   · · · Q.· · And do you know what Mortenson's role       10·   · · · A.· · Going in towards the bottom and they
11·   ·was?                                                   11·   ·cone up at the top and they probably about 25 feet.
12·   · · · A.· · Excavating.                                 12·   · · · Q.· · At the top?
13·   · · · Q.· · Did you ever have any interaction with      13·   · · · A.· · At the top.
14·   ·Don Borneke's employees?                               14·   · · · Q.· · Of the turbine itself?
15·   · · · A.· · No.                                         15·   · · · A.· · Right.
16·   · · · Q.· · Just in the order of things, there were     16·   · · · Q.· · So, was it designed so that the base of
17·   ·probably dozens.· Do you know how many turbines        17·   ·the turbine covered the concrete completely?
18·   ·were on this site as a whole?                          18·   · · · A.· · Not completely.
19·   · · · A.· · I believe there was 29.                     19·   · · · Q.· · How much of a gap was there, if you
20·   · · · Q.· · So over two dozen?· 29 turbines?            20·   ·know?
21·   · · · A.· · Correct.                                    21·   · · · A.· · There was maybe a couple of inches on
22·   · · · Q.· · Each one has its own little site,           22·   ·each side once the base was set.
23·   ·correct?                                               23·   · · · Q.· · And was part of your job duties in
24·   · · · A.· · Yes.                                        24·   ·erecting the base to actually -- these are huge

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·1·   ·screws in the concrete, right?                         ·1·   ·the same.
·2·   · · · A.· · Correct.                                    ·2·   · · · Q.· · The access roads were essentially
·3·   · · · Q.· · And it was part of your job to make sure    ·3·   ·supposed to be temporary, weren't they?
·4·   ·it was secured with the screws and so forth?           ·4·   · · · A.· · I don't know about the access roads.
·5·   · · · A.· · Yeah.                                       ·5·   · · · Q.· · Okay.· Is part of your job on the
·6·   · · · Q.· · How large are these screws?                 ·6·   ·turbine section, did you have to visit multiple
·7·   · · · A.· · They got to be inch-and-a-half, two         ·7·   ·sites?
·8·   ·inches.                                                ·8·   · · · A.· · Yes.
·9·   · · · Q.· · There are 100 of them or how many?          ·9·   · · · Q.· · Okay.· Now, you said you were -- part
10·   ·There is maybe more?· Hundreds of screws?              10·   ·of your duty was to get permits.· What kind of
11·   · · · A.· · Yes, probably.· I would say a 100 to be     11·   ·permits did you have to get?
12·   ·safe.                                                  12·   · · · A.· · Just permits for out-of-town workers,
13·   · · · Q.· · So, once that part is completed, then       13·   ·working our local.
14·   ·the turbine is brought in in sections, right?          14·   · · · Q.· · That's for your union, essentially,
15·   · · · A.· · Right.                                      15·   ·right?
16·   · · · Q.· · And the access road is to get the           16·   · · · A.· · That's for the union.· It's allover.
17·   ·equipment in to raise the turbines, is that right?     17·   ·It's just not in Joliet.
18·   · · · A.· · Right.                                      18·   · · · Q.· · Now, is Lee County an area that your
19·   · · · Q.· · Do you know how large the sections were?    19·   ·union normally covers or is this some outside area?
20·   · · · A.· · I want to say the base was a little over    20·   · · · A.· · No, it is our union.· Our local.
21·   ·200 feet long.                                         21·   · · · Q.· · Why would you have to get out of town, I
22·   · · · Q.· · Okay.                                       22·   ·am just curious?
23·   · · · A.· · Then in the mid was -- they were all        23·   · · · A.· · Some of the guys travel with Mortenson.
24·   ·pretty much the same, but I know the base was          24·   ·I know one of the guys was from Minnesota, so he
                                                    Page 26                                                       Page 28
·1·   ·probably the largest section.                          ·1·   ·would have to pay for a permit to work in our
·2·   · · · Q.· · That's the base that anchors onto the       ·2·   ·local.
·3·   ·circular pad, right?                                   ·3·   · · · Q.· · I see.· And you were never directly a
·4·   · · · A.· · Right.                                      ·4·   ·Mortenson's employee, were you?
·5·   · · · Q.· · Then there is a mid section before you      ·5·   · · · A.· · I worked for Mortenson.· I wasn't a
·6·   ·get to the fan section?                                ·6·   ·lifetime Mortenson employee.
·7·   · · · A.· · Correct.                                    ·7·   · · · Q.· · Right.· It was always through the union,
·8·   · · · Q.· · You never worked on erecting the fan        ·8·   ·right?
·9·   ·section, right?                                        ·9·   · · · A.· · Yes.
10·   · · · A.· · No.                                         10·   · · · Q.· · Did Mortenson have its own ironworkers
11·   · · · Q.· · And these way tons, I assume, correct?      11·   ·that were not union workers?
12·   · · · A.· · Yes.                                        12·   · · · MR. TERRY:· I'm going to object to foundation.
13·   · · · Q.· · And they are made out of reinforced         13·   ·When you say nonunion workers, you mean not Local
14·   ·steel.· Do you know what these turbines are made       14·   ·444 or not union at all?
15·   ·out of?                                                15·   · · · MR. SULLIVAN:· Not union at all.
16·   · · · A.· · They are reinforced steel.                  16·   · · · MR. TERRY:· You can answer if you know.
17·   · · · Q.· · Now, the access roads, were they all        17·   ·BY THE WITNESS:
18·   ·essentially -- strike that.                            18·   · · · A.· · They were all union.· They just belonged
19·   · · · · · · Each little pad site, was it roughly the    19·   ·to different unions around the country.
20·   ·same area?                                             20·   ·BY MR. SULLIVAN:
21·   · · · A.· · Pretty much for the most part.              21·   · · · Q.· · Okay.· Do you know where Mortenson is
22·   · · · Q.· · Okay.                                       22·   ·based, do you know?
23·   · · · A.· · Some might have been a little bigger        23·   · · · A.· · I believe they are out of Minnesota.
24·   ·than others, but essentially they are all roughly      24·   · · · Q.· · Were there any of the Mortenson

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·1·   ·employees that you worked with in 2008, that were      ·1·   · · · A.· · No.
·2·   ·also on this project in 2018?                          ·2·   · · · Q.· · Okay.· So, you could have been at any
·3·   · · · A.· · I did recognize a couple of them.· I am     ·3·   ·one of the 29 turbine sites, is that what you're
·4·   ·not really sure what their names are.· I did           ·4·   ·saying?
·5·   ·recognize a few from that site.                        ·5·   · · · A.· · Correct.
·6·   · · · Q.· · Okay.· And when you switched from the       ·6·   · · · Q.· · And the whole space is hundreds of
·7·   ·base reinforcement to turbine erection, did you        ·7·   ·acres, is that fair to say?
·8·   ·have a new supervisor at that point?                   ·8·   · · · A.· · That's correct.
·9·   · · · A.· · Yes.                                        ·9·   · · · Q.· · Okay.· So, other than obtaining permits
10·   · · · Q.· · Okay.· Who was this -- this would be a      10·   ·and so forth, what was your actual duty in terms of
11·   ·Mortenson employee who was your supervisor, I          11·   ·inspecting each site that you would have to visit?
12·   ·assume, right?                                         12·   ·What were you doing?
13·   · · · A.· · Right.                                      13·   · · · A.· · Like I said, I was unloading components,
14·   · · · Q.· · Who was your supervisor for the base        14·   ·that was part of my duties in the morning, and then
15·   ·reinforcement part of the project?                     15·   ·in the afternoon I would go to wherever they needed
16·   · · · A.· · There were actually two.· There were        16·   ·help.
17·   ·subcontractors.· They were not Mortenson's             17·   · · · Q.· · And what kind -- what components were
18·   ·employees.· They were a different company.· But        18·   ·you unloading?
19·   ·Joel McGrath was one of them.                          19·   · · · A.· · Like the base, the mid and the blades.
20·   · · · Q.· · And, then, who was your supervisor when     20·   · · · Q.· · The huge sections themselves, right?
21·   ·you were in turbine erection?                          21·   · · · A.· · Right.
22·   · · · A.· · Lonnie Anderson.                            22·   · · · Q.· · So, they would come in on a crane,
23·   · · · Q.· · L-o-n-n-i-e?                                23·   ·right?
24·   · · · A.· · Yeah.                                       24·   · · · A.· · They would come in on semis and then we
                                                    Page 30                                                       Page 32
·1·   · · · Q.· · So, it was a female?                        ·1·   ·would use a crane to unload them.
·2·   · · · A.· · No, it was a male.                          ·2·   · · · Q.· · Now, you weren't -- obviously, you were
·3·   · · · MR. TERRY:· And for the record Lonnie,            ·3·   ·not a crane operator, correct?
·4·   ·L-o-n-n-i-e, and the last name is Sears, like Sears    ·4·   · · · A.· · I am not.
·5·   ·and Roebuck.                                           ·5·   · · · Q.· · You never drove the semi.· You weren't
·6·   ·BY MR. SULLIVAN:                                       ·6·   ·involved in the actual removal components from the
·7·   · · · Q.· · Had you ever worked with Lonnie Sears       ·7·   ·truck to the ground?
·8·   ·before you were transferred to the turbine erection    ·8·   · · · A.· · I was involved in hooking them up to the
·9·   ·section?                                               ·9·   ·crane to get them on the ground.
10·   · · · A.· · No.                                         10·   · · · Q.· · They use like a cable winch type of
11·   · · · Q.· · And how was it determined where you had     11·   ·systems?
12·   ·to go each day, when you were in that turbine          12·   · · · A.· · Right.
13·   ·erection division, or whatever you call it.            13·   · · · Q.· · So, you would have to climb onto the
14·   · · · A.· · It would depend.· Certain trucks would      14·   ·turbine to do that?
15·   ·come in for certain units.· So, each site had its      15·   · · · A.· · We would use a JLG, an aerial lift.
16·   ·own specific components.                               16·   · · · Q.· · I am familiar with a JLG lift, that's a
17·   · · · Q.· · When you say specific components, they      17·   ·common four-wheeled lift that you see inside and
18·   ·all have the same components, but different stages     18·   ·outside to raise -- it's a platform, right?
19·   ·of erection, is that what you're saying?               19·   · · · A.· · Right.
20·   · · · A.· · They all have the same components, but      20·   · · · Q.· · It raises up various different heights
21·   ·just certain ones were designated for certain          21·   ·for workers and for maybe components, right?
22·   ·sites.                                                 22·   · · · A.· · Correct.
23·   · · · Q.· · Okay.· Was your area limited to a           23·   · · · Q.· · So, you would have to stand on the JLG?
24·   ·certain area of the whole project?                     24·   · · · A.· · Correct.

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·1·   · · · Q.· · Then connects the hooks and then the        ·1·   ·on-site, they will smooth out whatever you need
·2·   ·crane would take it and put it on the ground?          ·2·   ·done.
·3·   · · · A.· · Right.                                      ·3·   · · · Q.· · Mortenson had to make sure that the area
·4·   · · · Q.· · These things, considered they weigh so      ·4·   ·where the cribbing was going to be placed was
·5·   ·much, they were always put directly on the earth?      ·5·   ·graded before they put the cribbing down, right?
·6·   · · · A.· · No, we would put them on cribbing.· They    ·6·   · · · MR. TERRY:· I'll object to form.· You can
·7·   ·used to be railroad ties 10 x 12.                      ·7·   ·answer.
·8·   · · · Q.· · And who erected the cribbing?               ·8·   ·BY THE WITNESS:
·9·   · · · A.· · We technically would.                       ·9·   · · · A.· · They would not come out and inspect it.
10·   · · · Q.· · Even though you weren't personally          10·   ·We would basically get the cribbing where it goes.
11·   ·involved with the cribbing section, were you?          11·   ·BY MR. SULLIVAN:
12·   · · · A.· · I did do some of the cribbing, yes.         12·   · · · Q.· · Okay.· I believe you said at one point
13·   · · · Q.· · What does that involve in putting the       13·   ·that some yes and some no were graded before the
14·   ·cribbing down?                                         14·   ·cribbing went down, is that right?
15·   · · · A.· · We basically have like a truckload of       15·   · · · A.· · Right.
16·   ·cribbing and a little forklift truck would come in     16·   · · · Q.· · And do you know why some weren't and
17·   ·and pick one out and set it down where we needed       17·   ·some were?
18·   ·it.· We wouldn't be moving them by hand.               18·   · · · A.· · Because it had rained the morning of and
19·   · · · Q.· · Okay.· And, then, as long as you need it    19·   ·the trucks would come in and there would be such
20·   ·for the turbines, so at least it wasn't sitting on     20·   ·big ruts in the ground and once we put the base
21·   ·the bare ground?                                       21·   ·down, there's no way of getting under it.
22·   · · · A.· · Correct.                                    22·   · · · Q.· · Right.· Once the base is down, you can't
23·   · · · Q.· · And was the area where the cribbing         23·   ·grade it because it's in the way, is that what
24·   ·placed, was it graded at all before that?              24·   ·you're saying?
                                                    Page 34                                                       Page 36
·1·   · · · A.· · Yes and no.· Yes it was, but once the       ·1·   · · · A.· · Yes.
·2·   ·trucks would come in to unload it, depending on if     ·2·   · · · Q.· · But before the cribbing was put down,
·3·   ·it had rained the night before or that day, it         ·3·   ·the area was always graded first, right?
·4·   ·would essentially become ungraded because there        ·4·   · · · A.· · Yes.
·5·   ·would be ruts in the ground.                           ·5·   · · · Q.· · Are you aware that -- strike that.
·6·   · · · Q.· · And, then, was the area regraded after      ·6·   · · · · · · Do you know if Borneke was the only
·7·   ·the components were placed on the cribbing, if you     ·7·   ·company providing grading for the project?
·8·   ·know?                                                  ·8·   · · · A.· · Yes, they were.
·9·   · · · A.· · Not to my knowledge.                        ·9·   · · · Q.· · Are you aware of any complaints about
10·   · · · Q.· · Now, you don't claim to have the            10·   ·the grading by anyone at Mortenson before your
11·   ·expertise in grading, do you?                          11·   ·accident?
12·   · · · A.· · Expertise, I would say, no.                 12·   · · · A.· · Oh, there were complaints all day long.
13·   · · · Q.· · You've never been involved in a grading     13·   · · · Q.· · And how do you know this?· What is it
14·   ·project like Borneke was doing in this case, were      14·   ·that you know of?
15·   ·you?                                                   15·   · · · A.· · Because every site we would have
16·   · · · A.· · No, I have not.                             16·   ·problems.· As you could see in some of the
17·   · · · Q.· · And you don't have any knowledge of what    17·   ·pictures where the crane was actually sinking in
18·   ·the contract between Mortenson and Borneke required    18·   ·the ground.
19·   ·Borneke to do, do you?                                 19·   · · · Q.· · Did you ever make complaints about the
20·   · · · A.· · No.· I know what typically is done on       20·   ·grading?
21·   ·job sites.                                             21·   · · · A.· · I want to say everybody on the job site
22·   · · · Q.· · Okay.· And from your experience, what       22·   ·did.
23·   ·are you saying is typically done?                      23·   · · · Q.· · The project, as far as you know, you did
24·   · · · A.· · Typically if there's an excavator           24·   ·not call for any other material than cribbing to

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·1·   ·protect the ground essentially, is that right?         ·1·   · · · Q.· · So, obviously, if you had a week without
·2·   · · · A.· · As far as I am aware of, that's correct.    ·2·   ·rain, the ground would be more firm and you would
·3·   · · · Q.· · When it comes to access roads, the crane    ·3·   ·have less issues with sinking, right?
·4·   ·would have to come in on the access road, right?       ·4·   · · · A.· · Yes.
·5·   · · · A.· · The cranes to unload would, but not the     ·5·   · · · Q.· · And like you said, once the large
·6·   ·crane for the erecting part.                           ·6·   ·components were placed on the cribbing, there's no
·7·   · · · Q.· · There's two different ones?                 ·7·   ·way you could move them to regrade it, right?
·8·   · · · A.· · There were two different ones.· The         ·8·   · · · A.· · Correct.· There would be enough room in
·9·   ·erecting one was a giant crane.                        ·9·   ·between them to get a small machine in there to
10·   · · · Q.· · Okay.· And that's -- the erecting crane     10·   ·grade, but not directly under the component.
11·   ·is the one that might sink into the ground?            11·   · · · Q.· · Right.· And would you agree with me,
12·   · · · A.· · Right.                                      12·   ·that Borneke would grade whenever someone from
13·   · · · Q.· · Depending, obviously, how wet and how       13·   ·Mortenson asked them to do it?
14·   ·soft it might be, right?                               14·   · · · A.· · Depending on what they had planned, they
15·   · · · A.· · Correct.                                    15·   ·would do it.
16·   · · · Q.· · But once the crane is onsite, you cannot    16·   · · · Q.· · Okay.· Did you keep any notes of where
17·   ·regrade it because it's already in the way, is that    17·   ·you had to go each day when you were on the
18·   ·true?                                                  18·   ·project?
19·   · · · A.· · Not necessarily.· The crane is on           19·   · · · A.· · No, it was different every day.
20·   ·wheels, so if you had to grade it, you can always      20·   · · · Q.· · Okay.· You said you never actually
21·   ·have them move.                                        21·   ·talked to anyone from Borneke, did you?
22·   · · · Q.· · Okay.· Do you recall any instance where     22·   · · · A.· · No.
23·   ·that happened, where the crane was sinking and you     23·   · · · Q.· · You agree with me that -- well, strike
24·   ·had it moved and Borneke came over regraded it so      24·   ·that.
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·1·   ·it would be more firm?                                 ·1·   · · · · · · You are not aware of any specific change
·2·   · · · A.· · Yes.                                        ·2·   ·orders that were implemented?
·3·   · · · Q.· · Was that a common occurrence, do you        ·3·   · · · A.· · No, I am not aware.
·4·   ·know?                                                  ·4·   · · · Q.· · Now, you said October 15th is when you
·5·   · · · A.· · When the ground was wet, quite a bit.       ·5·   ·switched over to the turbine erection?
·6·   · · · Q.· · There was no design or plan for the         ·6·   · · · A.· · Yeah, the beginning of October.
·7·   ·crane to sit on anything, other than graded earth,     ·7·   · · · Q.· · The beginning of October?
·8·   ·was there?                                             ·8·   · · · A.· · Beginning of it.
·9·   · · · A.· · The erection crane was actually sitting     ·9·   · · · Q.· · Is that only because the base erection
10·   ·on cribbing.                                           10·   ·was already done?
11·   · · · Q.· · Okay.                                       11·   · · · A.· · Correct.
12·   · · · A.· · But mainly the wheeled cranes that would    12·   · · · Q.· · Okay.· Other than making sure the hooks
13·   ·come in for unload, they were basically on the         13·   ·were on the cranes, is there anything else that you
14·   ·ground lifted up on cribbing.                          14·   ·would have to do when you would travel the site?
15·   · · · Q.· · Okay.· What I am getting at, there          15·   · · · A.· · Just make sure everything was there that
16·   ·was -- the access roads, none of this area where       16·   ·we needed.· All of the nuts and washers were there
17·   ·the cranes were was intended to have anything other    17·   ·for erection.
18·   ·than just dirt and cribbing?· There was no asphalt     18·   · · · Q.· · These pieces are all held together by
19·   ·or any other material that would make a more           19·   ·nuts and washers, right?
20·   ·permanent road?                                        20·   · · · A.· · Yes.
21·   · · · A.· · No.                                         21·   · · · Q.· · Bolts, too?
22·   · · · Q.· · No one asked Don Borneke to put any more    22·   · · · A.· · Yes.
23·   ·permanent road on any of these areas, correct?         23·   · · · Q.· · There must have been a lot of bolts and
24·   · · · A.· · Correct.                                    24·   ·washers and nuts, right?

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·1·   · · · A.· · Yeah.                                       ·1·   · · · A.· · They were hired through Mortenson.
·2·   · · · Q.· · They were all the same size?                ·2·   ·Cranes were rented, I believe, from Stevenson
·3·   · · · A.· · Yeah.                                       ·3·   ·possibly.
·4·   · · · Q.· · Would you routinely when you would          ·4·   · · · Q.· · Okay.· All of the subcontractors were
·5·   ·walk -- strike that.                                   ·5·   ·hired through Mortenson, right?
·6·   · · · · · · You were driving a Mortenson company        ·6·   · · · A.· · Right.
·7·   ·truck or something?                                    ·7·   · · · Q.· · What did -- Lonnie Sears, what was that
·8·   · · · A.· · Right.                                      ·8·   ·person's role during this erection?
·9·   · · · Q.· · Just a regular pickup truck?                ·9·   · · · A.· · He was a foreman.
10·   · · · A.· · Yes.                                        10·   · · · Q.· · What does a foreman do?
11·   · · · Q.· · Was it the same truck that you had          11·   · · · A.· · He basically would tell each crew where
12·   ·throughout the project?                                12·   ·to go and what they needed to do.
13·   · · · A.· · Yes, it is.                                 13·   · · · Q.· · For that day?
14·   · · · Q.· · And would you have to -- other than         14·   · · · A.· · For that day.
15·   ·carrying the bolts and washers and nuts, is there      15·   · · · Q.· · Okay.· For example, on November 15th,
16·   ·anything else that you would have to carry while       16·   ·you would have checked in with Lonnie Sears and he
17·   ·you were walking around?                               17·   ·would have told you, you need to go to this site
18·   · · · A.· · Just whatever slings we needed for          18·   ·and this site and this site?
19·   ·lifting.                                               19·   · · · A.· · Right.
20·   · · · Q.· · Slings to go around the turbines to lift    20·   · · · Q.· · Well, how long does it take to do the
21·   ·them up?                                               21·   ·erection?
22·   · · · A.· · Right.                                      22·   · · · A.· · Usually in one day they would do one
23·   · · · Q.· · And those are made of what?                 23·   ·tower.
24·   · · · A.· · Nylon.                                      24·   · · · Q.· · Okay.
                                                    Page 42                                                       Page 44
·1·   · · · Q.· · These need to be really long?               ·1·   · · · A.· · It would take them all day.
·2·   · · · A.· · Yes.                                        ·2·   · · · Q.· · Okay.· Is it three pieces?· All three
·3·   · · · Q.· · You have to roll them up like a hose or     ·3·   ·pieces?
·4·   ·something?                                             ·4·   · · · A.· · Yes, three pieces, plus the wings and
·5·   · · · A.· · It's faster if you just pick them up and    ·5·   ·the turbine itself on the top.
·6·   ·throw them in the truck.· Essentially towards the      ·6·   · · · Q.· · Do you know what the site number was
·7·   ·end of the day, we would roll them up so they don't    ·7·   ·that you visited on November 18th?
·8·   ·get ruined.                                            ·8·   · · · A.· · November 15th?
·9·   · · · Q.· · And do you know what the length is?         ·9·   · · · Q.· · That's what I meant, 15th, yes.
10·   · · · A.· · I want to say 30 feet.                      10·   · · · A.· · It was T-11.
11·   · · · Q.· · Okay.· Were there various lengths?          11·   · · · Q.· · You're sure it was T-11?
12·   · · · A.· · Yes, they had some other size lengths,      12·   · · · A.· · Yes, I am positive.
13·   ·too.                                                   13·   · · · Q.· · I have some materials that say T-1.· If
14·   · · · Q.· · Who were you erecting with when you were    14·   ·it says T-1 that's wrong?
15·   ·actually doing the erecting?                           15·   · · · A.· · Right.
16·   · · · A.· · Mainly the crane operator or the oiler.     16·   · · · Q.· · On that day of November 15th, the tower
17·   · · · Q.· · Who is the oiler?· What is an oiler?        17·   ·at that T-11 pad site, the whole thing went up?
18·   · · · A.· · An oiler, he just maintains the crane to    18·   · · · A.· · I don't how much of it went up after I
19·   ·make sure it's working right.                          19·   ·had fallen, but just the base was up prior to me
20·   · · · Q.· · That's a separate union from crane          20·   ·falling.
21·   ·operators, isn't it?                                   21·   · · · Q.· · What is your recollection of the weather
22·   · · · A.· · Yes.                                        22·   ·in October-November of 2018 on this site?
23·   · · · Q.· · Do you know who the company was that did    23·   · · · A.· · October it was nice.· November it
24·   ·the crane operation?                                   24·   ·started getting a little shaky.· It was the first

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·1·   ·snowfall on the 15th.                                  ·1·   · · · A.· · Yes.
·2·   · · · Q.· · Okay.· When did you normally arrive in      ·2·   · · · Q.· · Okay.· This is that County Road?
·3·   ·the morning?                                           ·3·   · · · A.· · Yes.
·4·   · · · A.· · 7:00.                                       ·4·   · · · Q.· · Is it gravel or something?
·5·   · · · Q.· · Okay.· Where would you show up at 7:00?     ·5·   · · · A.· · Part of it was gravel and part of it was
·6·   · · · A.· · The main laydown yard.                      ·6·   ·paved.
·7·   · · · Q.· · Where was that?                             ·7·   · · · Q.· · So, from the County Road, Blue would be
·8·   · · · A.· · I don't know the streets.· I know it's      ·8·   ·the access road?
·9·   ·in the -- I don't the name of the street.              ·9·   · · · A.· · Those were the old access roads.
10·   · · · MR. TERRY:· Chris, just to interrupt, we have     10·   · · · Q.· · What do you mean old access roads?
11·   ·a copy of the site map here, is it okay if he          11·   · · · A.· · From the previous wind farm that was
12·   ·refers to that?                                        12·   ·there.
13·   · · · MR. SULLIVAN:· You know what, I marked it as      13·   · · · Q.· · I didn't realize this was a previous
14·   ·an exhibit.                                            14·   ·wind farm?
15·   · · · MR. TERRY:· I will let him refer to it.           15·   · · · A.· · Yes, there were previous wind turbines
16·   ·MR. SULLIVAN:                                          16·   ·on that property.
17·   · · · Q.· · I actually already marked this as Group     17·   · · · Q.· · So, there was a wind farm or wind
18·   ·1, can you see that?                                   18·   ·turbine in the Blue access road?
19·   · · · A.· · Yes.                                        19·   · · · A.· · I believe so.
20·   · · · Q.· · Okay.· This is the map that you are         20·   · · · Q.· · And did you have anything to do with
21·   ·talking about, right?                                  21·   ·taking those old ones down?
22·   · · · A.· · Yes.                                        22·   · · · A.· · No.
23·   · · · Q.· · And just -- so I just went ahead and        23·   · · · Q.· · At some point you're saying the old
24·   ·marked this Georgeff Exhibit 1.· It is 11 pages        24·   ·turbines were taken down and the new ones were
                                                    Page 46                                                       Page 48
·1·   ·with different things in it that we will go            ·1·   ·erected?
·2·   ·through.· The exhibit here, there is a map of the      ·2·   · · · A.· · Right.
·3·   ·whole project, right?                                  ·3·   · · · Q.· · Was there like empty concrete pads from
·4·   · · · A.· · Yes, it is.                                 ·4·   ·the old ones?
·5·   · · · Q.· · So, you said T-11, you can -- T-11 here,    ·5·   · · · A.· · I think they were there and they covered
·6·   ·it looks like its covered up on Bingham Road, does     ·6·   ·them up with dirt.
·7·   ·that sound right?                                      ·7·   · · · Q.· · T-11 here, do you see where I am
·8·   · · · A.· · Yes.                                        ·8·   ·circling?
·9·   · · · Q.· · You are sure of where you were at that      ·9·   · · · A.· · Yes.
10·   ·day?                                                   10·   · · · Q.· · This is the access road to T-11 that you
11·   · · · A.· · Yes.                                        11·   ·just talked about, right?
12·   · · · Q.· · That was the only place that you were       12·   · · · A.· · Yes.
13·   ·scheduled to be that day?                              13·   · · · Q.· · And this would be another county road
14·   · · · A.· · To my recollection yes.                     14·   ·here (indicating)?
15·   · · · Q.· · Okay.· And looking on this map, you see     15·   · · · A.· · No, I think that's just a border of the
16·   ·where the main yard is -- oh, the laydown yard, you    16·   ·property.
17·   ·just referred to that?                                 17·   · · · Q.· · And so this is just a dirt road that was
18·   · · · A.· · Yes.                                        18·   ·created as an access road?
19·   · · · Q.· · That's what I am circling.                  19·   · · · A.· · Yes.
20·   · · · A.· · Right by T-29.                              20·   · · · Q.· · It was right off of this, wherever
21·   · · · Q.· · And what is the miles from T-29 to T-11?    21·   ·County Road is?
22·   · · · A.· · It's about a mile-and-a-half.               22·   · · · A.· · Yes, it's right off Bingham.
23·   · · · Q.· · Okay.· And is this a road here              23·   · · · Q.· · Okay.· And what was actually at the
24·   ·(indicating)?                                          24·   ·laydown yard?

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·1·   · · · A.· · All of the trucks.· All of the Mortenson    ·1·   · · · Q.· · He also worked for Mortenson through the
·2·   ·trucks.· And just equipment that you needed.           ·2·   ·crane operator's union, whatever it was?
·3·   ·Bolts.                                                 ·3·   · · · A.· · Right.
·4·   · · · Q.· · Okay.· If you needed to get another         ·4·   · · · Q.· · Do you know when it started snowing that
·5·   ·supply of bolts, you would have to drive back to       ·5·   ·day?
·6·   ·the laydown yard and go to whatever site, right?       ·6·   · · · A.· · It was early in the morning because it
·7·   · · · A.· · Correct.                                    ·7·   ·was snowing when I got to the union hall.
·8·   · · · Q.· · So, then, do you know what time you         ·8·   · · · Q.· · So, 11/15, what day of the week was
·9·   ·arrived at T-11 if you were at the laydown site at     ·9·   ·that?
10·   ·7:00?                                                  10·   · · · A.· · I believe it was Wednesday.
11·   · · · A.· · It was maybe ten minutes, tops.             11·   · · · Q.· · You would have driven from your home in
12·   · · · MR. TERRY:· I'm sorry, did you say he arrived     12·   ·Plainfield to Joliet and to the union to get the
13·   ·at 7:00, Chris?                                        13·   ·permits?
14·   · · · MR. SULLIVAN:· That's what he said.· 7:00 a.m.    14·   · · · A.· · Correct.
15·   · · · THE WITNESS:· That day I didn't show up until     15·   · · · Q.· · And then how long is it from the union
16·   ·about 11:00.                                           16·   ·hall in Joliet all the way up to the site?
17·   ·BY MR. SULLIVAN:                                       17·   · · · A.· · Hour-fifteen, hour and 20 minutes.
18·   · · · Q.· · Okay.· And why was that?                    18·   · · · Q.· · It's over 100 miles, isn't it?
19·   · · · A.· · Because I was at the union hall doing --    19·   · · · A.· · I want to say it was 60 or 65 miles.
20·   ·getting the permits and stuff.                         20·   · · · Q.· · And your recollection was that it was
21·   · · · Q.· · They didn't have to wait for you to         21·   ·already snowing before you got to the union hall?
22·   ·begin the erection or anything, did they?              22·   · · · A.· · Right.
23·   · · · A.· · No, they did not have to wait.              23·   · · · Q.· · And it hadn't snowed the night before,
24·   · · · Q.· · And what were you required to do once       24·   ·though?
                                                    Page 50                                                       Page 52
·1·   ·you showed up around 11:00?                            ·1·   · · · A.· · No, not that I am aware of.
·2·   · · · A.· · Like I said, I took the permits to the      ·2·   · · · Q.· · Of course it's north?· The site is north
·3·   ·out-of-town workers that were at different sites       ·3·   ·of Joliet by 60 or 70 or whatever miles, right?
·4·   ·and then I went to T-11 to help them erect.            ·4·   · · · A.· · Yes.
·5·   · · · Q.· · Okay.· And they had already started         ·5·   · · · Q.· · So, do you know what weather was at the
·6·   ·earlier that day?                                      ·6·   ·site the day before?
·7·   · · · A.· · Yes, they had.                              ·7·   · · · A.· · I know it wasn't snowing because I was
·8·   · · · Q.· · Okay.· So, you were driving by yourself,    ·8·   ·working that day.
·9·   ·right?· You weren't driving with other people in       ·9·   · · · Q.· · You are not aware of any snow the day
10·   ·the crew, right?                                       10·   ·before anywhere from Joliet to the site?
11·   · · · A.· · Right, I was by myself.                     11·   · · · A.· · Right.
12·   · · · Q.· · How many other journeyman were on that      12·   · · · Q.· · And the minute you woke you on the 15th,
13·   ·particular site to do the erection, if you know?       13·   ·was it already snowing?
14·   · · · A.· · I believe there was me.· I believe there    14·   · · · A.· · I believe it was already snowing.
15·   ·were four other ironworker journeymen.                 15·   · · · Q.· · As far as you know it was the first snow
16·   · · · Q.· · One was Corey Blair, right?                 16·   ·of 2018, right?
17·   · · · A.· · Right, he was the operator.                 17·   · · · A.· · Right.
18·   · · · Q.· · The crane operator?                         18·   · · · Q.· · Now, was there any plan by Mortenson as
19·   · · · A.· · Crane operator.                             19·   ·to how to handle the snow conditions?
20·   · · · MR. TERRY:· Just so the record is clear, is       20·   · · · A.· · Not that I am aware.
21·   ·Corey an ironworker or operator?                       21·   · · · Q.· · Are you aware of whether or not anyone
22·   ·BY THE WITNESS:                                        22·   ·had the responsibility to remove snow from the
23·   · · · A.· · No, Corey is an operator.                   23·   ·project site?
24·   ·BY MR. SULLIVAN:                                       24·   · · · A.· · Not that I am aware of.

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                                                    Page 53                                                       Page 55
·1·   · · · Q.· · Had you ever looked to see how much it      ·1·   · · · A.· · As far as I know, yeah.
·2·   ·snowed that day at the project area?                   ·2·   · · · Q.· · Now, it had frozen.· You had freezing
·3·   · · · A.· · I never looked.                             ·3·   ·temperatures prior to this snow, then, right?
·4·   · · · Q.· · You never looked at weather records or      ·4·   · · · A.· · I don't know.
·5·   ·anything like that?                                    ·5·   · · · Q.· · Okay.· Prior to this incident, did you
·6·   · · · A.· · No.                                         ·6·   ·ever see a situation in which, you know, there was
·7·   · · · Q.· · And how heavy was it snowing?               ·7·   ·water that had frozen on any of these sites?
·8·   · · · A.· · Pardon me?                                  ·8·   · · · A.· · Not that I can remember.
·9·   · · · Q.· · How heavy was it snowing when you were      ·9·   · · · Q.· · Do you have any recollection of whether
10·   ·in Joliet?                                             10·   ·it rained on the night of the 14th or 15th?
11·   · · · A.· · It was snowing pretty good.                 11·   · · · A.· · I don't believe so, but I am not 100
12·   · · · Q.· · Do you know what the temperature was?       12·   ·percent sure.
13·   · · · A.· · I believe it was in the low 30s.            13·   · · · Q.· · Okay.· So, just so I am clear, you don't
14·   · · · Q.· · Big flakes?· Wet snow?· Any                 14·   ·recall any incident in which there was rain that
15·   ·recollection?                                          15·   ·had frozen at any time that you were on this
16·   · · · A.· · It didn't seem wet.· It just seemed like    16·   ·project in Mendota Hills?
17·   ·puffy snowflakes.                                      17·   · · · A.· · Before the accident, no, not that I can
18·   · · · Q.· · You had to take I-39, right?                18·   ·remember.
19·   · · · A.· · Correct.                                    19·   · · · Q.· · Okay.· What were toolbox talks?
20·   · · · Q.· · From Joliet you go 80 to 39 or              20·   · · · A.· · Basically going over safety.· The safety
21·   ·something?                                             21·   ·topic of the day or the week.
22·   · · · A.· · Yeah.                                       22·   · · · Q.· · Who conducted those?
23·   · · · Q.· · And were there salt trucks on the           23·   · · · A.· · It was just usually somebody in our
24·   ·interstate or anything?                                24·   ·little group.· One of the ironworkers, they
                                                    Page 54                                                       Page 56
·1·   · · · A.· · I don't remember.· I am sure there would    ·1·   ·typically pass it around from one to the other.
·2·   ·have to be.                                            ·2·   · · · Q.· · Pass around the sign-in sheet?
·3·   · · · Q.· · Okay.· What time did you arrive at the      ·3·   · · · A.· · Yes.
·4·   ·union hall, if you recall?                             ·4·   · · · Q.· · And how often did it take place?
·5·   · · · A.· · It was probably about 7:00.                 ·5·   · · · A.· · Once a week.
·6·   · · · Q.· · That was your normal starting time,         ·6·   · · · Q.· · Okay.· Different topics every week?
·7·   ·right?                                                 ·7·   · · · A.· · Yes.
·8·   · · · A.· · Right.                                      ·8·   · · · Q.· · And they were conducted by the Mortenson
·9·   · · · Q.· · If you didn't have to go to the union       ·9·   ·people, right?
10·   ·hall, you would just go to the project site at         10·   · · · A.· · When you say Mortensen people, one of
11·   ·7:00?                                                  11·   ·the ironworkers.
12·   · · · A.· · Correct.                                    12·   · · · Q.· · It would be one of the ironworkers?
13·   · · · Q.· · If you had to go get permits or             13·   · · · A.· · It would be one of the ironworkers.
14·   ·something, you would show up at the union hall at      14·   · · · Q.· · One of the ironworkers from your union,
15·   ·7:00?                                                  15·   ·then, right?
16·   · · · A.· · Yes.                                        16·   · · · A.· · Right.
17·   · · · Q.· · You were there for about an hour or         17·   · · · Q.· · Who was working for Mortenson at that
18·   ·something?                                             18·   ·time?
19·   · · · A.· · Yes, the secretary to get the permits       19·   · · · A.· · Correct.
20·   ·she usually didn't show up until 7:30.· So, I would    20·   · · · Q.· · Did you ever give a toolbox talk
21·   ·talk with the business manager or the president to     21·   ·yourself?
22·   ·let them know how the job is going.                    22·   · · · A.· · I want to say I did because, like I
23·   · · · Q.· · Before this incident, was the project,      23·   ·said, it usually would rotate from one person to
24·   ·generally speaking, on track in terms of time?         24·   ·the other.

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·1·   · · · Q.· · Who decided who gave the talk?              ·1·   · · · Q.· · I get it now.· Would these usually take
·2·   · · · A.· · It just would be whoever.· Just hand it     ·2·   ·place at the laydown site?
·3·   ·off to somebody and we would have a little meeting     ·3·   · · · A.· · What is that?
·4·   ·in the morning.                                        ·4·   · · · Q.· · Would this usually take place at the
·5·   · · · Q.· · And they were always about safety?          ·5·   ·laydown site?· The laydown yard?
·6·   · · · A.· · It was always safety.                       ·6·   · · · A.· · Yes.
·7·   · · · Q.· · Are you aware of anyone else getting        ·7·   · · · Q.· · That's where you would meet in the
·8·   ·injured on this project other than yourself?           ·8·   ·morning before each day?
·9·   · · · A.· · I am not aware.                             ·9·   · · · A.· · Yeah, we would meet there in the morning
10·   · · · Q.· · Who decided what topics and when?           10·   ·and then go on from there.
11·   · · · A.· · I really don't know.· One of the            11·   · · · Q.· · And that's what you would have done if
12·   ·higher-ups in the office.                              12·   ·you didn't have to go to Joliet first?
13·   · · · Q.· · Okay.· And in your union you mean,          13·   · · · A.· · Correct.
14·   ·right?                                                 14·   · · · Q.· · Do you have any idea how much snow was
15·   · · · A.· · No, in Mortenson.· One of higher-ups in     15·   ·on the ground before you showed up at the site on
16·   ·Mortenson would decide that.                           16·   ·the 15th?
17·   · · · Q.· · Mortenson would decide what toolbox         17·   · · · A.· · There was probably -- my guess would be
18·   ·topics would take place and when?                      18·   ·two inches.· It was a light dusting.
19·   · · · A.· · Right.                                      19·   · · · Q.· · Was it still coming down or was it
20·   · · · Q.· · And then they would have -- they would      20·   ·already completed?
21·   ·tell the union and have one of the union workers do    21·   · · · A.· · It was -- I believe when I showed up it
22·   ·it for your group?                                     22·   ·was just finishing up.
23·   · · · A.· · Yes.                                        23·   · · · Q.· · Did it look any different than it did in
24·   · · · Q.· · And that's the way it worked every time,    24·   ·Joliet in terms of the way it was coming down?
                                                    Page 58                                                       Page 60
·1·   ·right?                                                 ·1·   · · · A.· · Not really.
·2·   · · · A.· · Yes, depending on the time of the year.     ·2·   · · · Q.· · About the same?
·3·   ·If it was summer, they would do something on           ·3·   · · · A.· · Yeah.
·4·   ·humidity and heat exhaustion.· That way they know      ·4·   · · · Q.· · Now, do you have any recollection of
·5·   ·to do the heat exhaustion in the middle of winter.     ·5·   ·ever being on the T-11 site before this incident?
·6·   · · · Q.· · Right.· Of course.· Did Lonnie Sears        ·6·   · · · A.· · Yes.
·7·   ·have anything to do with when you would give your      ·7·   · · · Q.· · Okay.· And you didn't witness the
·8·   ·toolbox talk or what it would be about or anything?    ·8·   ·grading or anything there, did you?
·9·   · · · A.· · Not that I am aware of.                     ·9·   · · · A.· · No.
10·   · · · Q.· · At the time you did it yourself, where      10·   · · · Q.· · Did you have any part in the base
11·   ·did you get it from?                                   11·   ·erection at T-11?
12·   · · · A.· · I would get it from either Lonnie or one    12·   · · · A.· · Yeah.
13·   ·of the other higher-ups at Mortenson who was           13·   · · · Q.· · Okay.· When did the base erection take
14·   ·onsite.                                                14·   ·place, if you know?
15·   · · · Q.· · They would just hand it off to you and      15·   · · · A.· · You're talking the reinforcing part?
16·   ·say, this is your talk of the day and somebody         16·   · · · Q.· · That's what I meant, yeah.
17·   ·needs to conduct it?                                   17·   · · · A.· · I want to say it had to be June or July.
18·   · · · A.· · Right.                                      18·   · · · Q.· · Okay.· So, did they complete all of the
19·   · · · Q.· · And it would be -- so, what you're          19·   ·masonry reenforcements before they did the turbine
20·   ·saying is, Lonnie may have already had it from         20·   ·erection?
21·   ·someone at Mortenson or a Mortenson employee would     21·   · · · A.· · Yes.
22·   ·show up and give it to you?                            22·   · · · Q.· · So, had you been there at all since June
23·   · · · A.· · Mainly it would come from Lonnie.· He       23·   ·to T-11?
24·   ·would be the one that would get the toolbox talk.      24·   · · · A.· · Just possibly to unload the truck when

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·1·   ·the components came in.                                ·1·   · · · MR. TERRY:· I will object.· It
·2·   · · · Q.· · Do you have any recollection of how long    ·2·   ·mischaracterizes the evidence.· You can clearly see
·3·   ·the components were sitting there at T-11 before       ·3·   ·snow by the end of the picture on the right side.
·4·   ·they were erected?                                     ·4·   ·It's not a lot, but there's still some.
·5·   · · · A.· · No.                                         ·5·   ·BY MR. SULLIVAN:
·6·   · · · Q.· · What was typical on one of these sites,     ·6·   · · · Q.· · The ice doesn't have any snow on it,
·7·   ·how long it would be sitting there, if you know?       ·7·   ·right?
·8·   · · · A.· · Typically, I would say, a week tops.        ·8·   · · · A.· · Right.
·9·   · · · Q.· · Obviously, the weather changes a lot in     ·9·   · · · Q.· · And this area, can you see my little
10·   ·a week, right?· It could be sitting there and it       10·   ·pointer?
11·   ·could be raining and it could be dry again?            11·   · · · A.· · Yes.
12·   · · · A.· · Right.                                      12·   · · · Q.· · And this is the cribbing here
13·   · · · Q.· · Are you aware that anyone ever asked for    13·   ·(indicating)?
14·   ·regrading or anything at T-11 after the components     14·   · · · A.· · No, that's the actual dirt.
15·   ·were laid down?                                        15·   · · · Q.· · This is the cribbing (indicating)?
16·   · · · A.· · Not to my knowledge.                        16·   · · · A.· · That's cribbing there and cribbing right
17·   · · · Q.· · Are you aware of any cribbing issues        17·   ·there.
18·   ·that took place at T-11?                               18·   · · · Q.· · So, underneath -- this is the turbine
19·   · · · A.· · Cribbing issues, no.                        19·   ·part right here (indicating), correct?
20·   · · · Q.· · These were just railroad ties?              20·   · · · A.· · Yes.
21·   ·Standard?                                              21·   · · · Q.· · And underneath it is wood, right?
22·   · · · A.· · Right.                                      22·   · · · MR. TERRY:· Can you zoom in a little bit more.
23·   · · · Q.· · It is like treated wood?· Petroleum         23·   · · · THE WITNESS:· Yeah.
24·   ·treated?                                               24·   ·BY MR. SULLIVAN:
                                                    Page 62                                                       Page 64
·1·   · · · A.· · Right.                                      ·1·   · · · Q.· · Is this wood?
·2·   · · · Q.· · Let's see, I will go ahead and show         ·2·   · · · A.· · Yeah, it looks like it.
·3·   ·you -- I will go down a little bit.· The next page,    ·3·   · · · Q.· · Okay.· This doesn't -- these look like
·4·   ·there is this -- I will ask you about the picture.     ·4·   ·railroad ties to me.· This looks like some kind of
·5·   ·Is this a picture of the site where you fell?          ·5·   ·flat panel.· Do you have any recollection of a flat
·6·   · · · A.· · To my recollection, yes.                    ·6·   ·panel wood this was resting on?
·7·   · · · Q.· · This would be T-11?                         ·7·   · · · A.· · I know occasionally they would slip some
·8·   · · · A.· · Right.                                      ·8·   ·underneath there.· I don't remember in T-11 there
·9·   · · · Q.· · And do you know who took it?                ·9·   ·being any.
10·   · · · MR. TERRY:· If you know.                          10·   · · · Q.· · Now, I don't know how this works,
11·   · · · THE WITNESS:· What?                               11·   ·really.· I assume this huge area is basically a
12·   · · · MR. TERRY:· Do you know who took the photo?       12·   ·divot.· Right here (indicating), right?· This whole
13·   ·BY THE WITNESS:                                        13·   ·thing is a divot from when this was resting?· Is
14·   · · · A.· · No, I do not.                               14·   ·that fair to say or not?
15·   ·BY MR. SULLIVAN:                                       15·   · · · MR. TERRY:· I'm going to object to form.· If
16·   · · · Q.· · Where did you get it from, if you know?     16·   ·you understand, you can answer.
17·   · · · A.· · I don't remember where I got it from.       17·   ·BY THE WITNESS:
18·   · · · Q.· · You don't know when it was taken, do        18·   · · · A.· · I don't really get it.
19·   ·you?                                                   19·   ·BY MR. SULLIVAN:
20·   · · · A.· · From what I can remember, it was the day    20·   · · · Q.· · You don't know how deep this ice was, do
21·   ·after or two days after I fell.                        21·   ·you?
22·   · · · Q.· · And there's obviously no snow in this       22·   · · · A.· · No.
23·   ·picture?                                               23·   · · · Q.· · And what I am trying to get at is,
24·   · · · A.· · Right.                                      24·   ·they're about to attach this -- this piece, the

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·1·   ·turbine attaches to this (indicating), right?          ·1·   ·after you fell?· After it was regarded or
·2·   · · · A.· · No, that attaches to the base which is      ·2·   ·something?
·3·   ·not in the picture.                                    ·3·   · · · A.· · A day or two after I fell is when this
·4·   · · · Q.· · The base is back here to the right?         ·4·   ·picture was taken.
·5·   · · · A.· · No, to the left.                            ·5·   · · · Q.· · And do you know if this area where the
·6·   · · · Q.· · The base is over here (indicating)?         ·6·   ·ice is, is any different than when you fell?
·7·   · · · A.· · Over more left.· It should be right         ·7·   · · · A.· · I do not know that.
·8·   ·about there.                                           ·8·   · · · Q.· · And before you fell, do you know if
·9·   · · · Q.· · And my question is, where was this thing    ·9·   ·there was any component that was sitting where the
10·   ·sitting if it's sitting, you know, for a week or a     10·   ·ice is?
11·   ·few days before it's erection, do you know?            11·   · · · A.· · No.
12·   · · · A.· · Where was it sitting?                       12·   · · · Q.· · You don't know, correct?
13·   · · · Q.· · Yes.                                        13·   · · · A.· · I don't know.
14·   · · · A.· · It would be right there or on the truck.    14·   · · · Q.· · So, there could have been something
15·   · · · Q.· · Okay.· This doesn't get moved at all        15·   ·laying here and you have no idea, right?
16·   ·once it is laid down?                                  16·   · · · A.· · The only other thing that could have
17·   · · · A.· · Once it's laid down, it does not move       17·   ·been laying there would have been the base section
18·   ·until it gets erected.                                 18·   ·before it was installed.
19·   · · · Q.· · When it gets erected, do they have to       19·   · · · Q.· · Okay.· But the point is, you don't know
20·   ·carry it over to this side where the base is?          20·   ·what was there and what created the ice, do you?
21·   · · · A.· · Yep.                                        21·   · · · A.· · Right.
22·   · · · Q.· · And, then, they have drive the crane        22·   · · · Q.· · Yes?
23·   ·over this ice and stuff?                               23·   · · · A.· · Sure.
24·   · · · A.· · No, the crane would sit on the pad.         24·   · · · Q.· · And were these cones there that day?
                                                    Page 66                                                       Page 68
·1·   · · · Q.· · Is this the pad (indicating)?               ·1·   · · · A.· · No, they were not.
·2·   · · · A.· · It would sit on there until it's ready.     ·2·   · · · Q.· · Did you take any pictures yourself?
·3·   ·It would never move.                                   ·3·   · · · A.· · What is that?
·4·   · · · MR. TERRY:· Do you mind if I do a little          ·4·   · · · Q.· · Did you take any pictures yourself?
·5·   ·narrating for the record, we will never remember       ·5·   · · · A.· · No.
·6·   ·this.                                                  ·6·   · · · Q.· · Did you ask anyone to take any pictures
·7·   · · · MR. SULLIVAN:· Go ahead.                          ·7·   ·to capture what it looked like on the day you fell?
·8·   · · · MR. TERRY:· If you see on the photograph in       ·8·   · · · A.· · No, I don't not believe so.
·9·   ·the far left about halfway down right there, do you    ·9·   · · · Q.· · Okay.· And you said no one actually saw
10·   ·see what looks like logs, essentially, that's what     10·   ·you fall, is that correct?
11·   ·we've been referring to as the crane pad.· Then the    11·   · · · A.· · The only one who could have possibly
12·   ·piece in background of the photograph, maybe a         12·   ·seen me fall was Corey because he was the first one
13·   ·third of the way down, if you go straight left to      13·   ·on the radio to say, Help him out.· Help him out.
14·   ·that, that is where Nick was referring to the          14·   · · · Q.· · Did you ever talk to Corey?
15·   ·actual erecting site being straight left out of the    15·   · · · A.· · No.
16·   ·crane, so we have a clear frame of reference of        16·   · · · Q.· · Have you ever talked to Corey about this
17·   ·what we're talking about later on.                     17·   ·incident?
18·   ·BY MR. SULLIVAN:                                       18·   · · · A.· · About this incident, no.
19·   · · · Q.· · Right.· Is it fair to say, you don't        19·   · · · Q.· · Did you talk to Corey before the
20·   ·know what caused this dip here that would then         20·   ·incident?
21·   ·collect with water and then freeze?                    21·   · · · A.· · Yes, just in passing.
22·   · · · A.· · I was not there when they did it, but I     22·   · · · Q.· · You knew him, just that he was a crane
23·   ·believe that was graded after I had fallen.            23·   ·operator, and you were on the same project
24·   · · · Q.· · Do you think this is the way it looked      24·   ·together?

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                                                    Page 69                                                       Page 71
·1·   · · · A.· · That's all I knew about him, he was the     ·1·   · · · Q.· · And how do you know it was T-11?
·2·   ·operator on the same project.· Being cordial.          ·2·   · · · A.· · I am assuming it's T-11.
·3·   · · · Q.· · You never worked with him on another        ·3·   · · · Q.· · This is basically the picture from the
·4·   ·project, have you?                                     ·4·   ·incident report, right?
·5·   · · · A.· · No.                                         ·5·   · · · A.· · Right.
·6·   · · · Q.· · You do not know where Corey was from or     ·6·   · · · Q.· · And you didn't have -- well, strike
·7·   ·anything?                                              ·7·   ·that.
·8·   · · · A.· · No.                                         ·8·   · · · · · · Mortenson did the incident report,
·9·   · · · Q.· · Where would you usually have lunch when     ·9·   ·right?
10·   ·you were onsite?                                       10·   · · · A.· · I would assume.
11·   · · · A.· · What is that?                               11·   · · · Q.· · You didn't see this picture before you
12·   · · · Q.· · Where would you usually have lunch when     12·   ·saw the incident report, is that fair to say?
13·   ·you were onsite?                                       13·   · · · A.· · That's completely fair to say.
14·   · · · A.· · Wherever.· Usually I would bring my own     14·   · · · Q.· · When did you see the incident report
15·   ·lunch and eat in my car.                               15·   ·afterwards, do you know?
16·   · · · Q.· · In the truck that they provided you,        16·   · · · A.· · I really don't recall.· It was some time
17·   ·right?                                                 17·   ·afterwards.
18·   · · · A.· · In my personal vehicle because we           18·   · · · Q.· · A few months?
19·   ·usually would go back to the laydown yard for          19·   · · · A.· · Months likely.
20·   ·lunch.· If you wanted to go get something, you can.    20·   · · · Q.· · Could you look at this picture and see
21·   ·If not, you can skip lunch.                            21·   ·where it was you were walking and where you fell?
22·   · · · Q.· · I see.· If you didn't have to go to the     22·   · · · A.· · Well, I know I had parked in the back.
23·   ·union hall, would you just drive your own car to       23·   · · · Q.· · Over here (indicating)?
24·   ·the project site?                                      24·   · · · A.· · A little bit more to the right.· Right
                                                    Page 70                                                       Page 72
·1·   · · · A.· · No, I would still park in the laydown       ·1·   ·in there.
·2·   ·yard.                                                  ·2·   · · · Q.· · All right.
·3·   · · · Q.· · With your own car?                          ·3·   · · · A.· · I know that's where I had been walking
·4·   · · · A.· · With my other personal vehicle.             ·4·   ·through to get to where I was supposed to be to
·5·   · · · Q.· · Because we talked about you had a truck     ·5·   ·work for the day, just right in there.
·6·   ·at the Mortenson site?                                 ·6·   · · · Q.· · For what reason would you have to be in
·7·   · · · A.· · Right.                                      ·7·   ·this icy area as opposed to going around here
·8·   · · · Q.· · And where did have that versus your own     ·8·   ·(indicating)?
·9·   ·car, that's what I don't understand.                   ·9·   · · · A.· · I didn't know it was an icy area.
10·   · · · A.· · In the morning we would drive to the        10·   · · · Q.· · It was covered with snow?
11·   ·laydown yard off Chicago and Bingham and that's        11·   · · · A.· · It was covered with snow.
12·   ·where we would park our personal vehicles and get      12·   · · · Q.· · And you estimate how much?
13·   ·in the Mortenson trucks.                               13·   · · · A.· · I would say probably two inches.
14·   · · · Q.· · The Mortenson truck to drive around the     14·   · · · Q.· · And the whole area was, of course,
15·   ·whole site?                                            15·   ·covered with snow?
16·   · · · A.· · Right.                                      16·   · · · A.· · Yes.
17·   · · · Q.· · When you were driving from Joliet up to     17·   · · · Q.· · Did anyone from Mortenson alert you to
18·   ·the site on that morning, you were actually using      18·   ·the fact that there might be a change of plans
19·   ·your own car?                                          19·   ·because of the snow.· We should slow down until the
20·   · · · A.· · Right.                                      20·   ·snow is cleared or anything?
21·   · · · Q.· · Well, let me ask you before I leave         21·   · · · A.· · No.
22·   ·this.· How do you know this is the area you fell?      22·   · · · Q.· · Now, what was already happening when you
23·   · · · A.· · Because I know that's T-11 and I know       23·   ·showed up around 11:00 a.m. on this site?
24·   ·where the turbine was according to where I fell.       24·   · · · A.· · We were getting the site ready to

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·1·   ·install one of the midpieces.                          ·1·   · · · A.· · No.
·2·   · · · Q.· · Is this the midpiece right here             ·2·   · · · Q.· · I will show you that in a minute.· Did
·3·   ·(indicating)?                                          ·3·   ·anyone from Mortenson's say that, or from your
·4·   · · · A.· · Yes.                                        ·4·   ·union for that matter, say that there should be
·5·   · · · Q.· · And the crane you said was always on        ·5·   ·different shoes worn when there's snow out?
·6·   ·this platform on the left?                             ·6·   · · · A.· · No.
·7·   · · · A.· · Yes.                                        ·7·   · · · Q.· · Is it your testimony that when there was
·8·   · · · Q.· · And would any equipment have to be in       ·8·   ·snow here, you couldn't tell the difference between
·9·   ·this area between them?                                ·9·   ·this dry dirt and the ice?
10·   · · · A.· · At the time of installation, no.            10·   · · · A.· · Right.
11·   · · · Q.· · And were you -- were you carrying           11·   · · · Q.· · Who would have had the authority to stop
12·   ·something?· What were you walking over here to do      12·   ·the erection and say that the snow should be
13·   ·at that point, if you recall?                          13·   ·cleared off?
14·   · · · A.· · To go to the other end to hook up the       14·   · · · A.· · Probably someone in the front office
15·   ·piece, so we can put it on the base.                   15·   ·when they were doing the morning meetings, whether
16·   · · · Q.· · You mean all the front end of this          16·   ·it was Borneke or Mortenson --
17·   ·turbine?                                               17·   · · · Q.· · Borneke was nowhere around T-11 that
18·   · · · A.· · Right.· That's where they would hook it     18·   ·day, correct?
19·   ·up to lift it.                                         19·   · · · A.· · I really don't know where they there.
20·   · · · Q.· · You're talking about you were putting       20·   · · · Q.· · You did not see them on T-11 that day,
21·   ·the sleeve around it?                                  21·   ·right?
22·   · · · A.· · Yes.· You hook it up with the cables and    22·   · · · A.· · Not to my knowledge, no.
23·   ·the shackles and pick it up.                           23·   · · · Q.· · You have no knowledge that they were
24·   · · · Q.· · So, were you carrying something?            24·   ·required to remove snow or ice, correct?
                                                    Page 74                                                       Page 76
·1·   · · · A.· · No.                                         ·1·   · · · A.· · Not to my knowledge.
·2·   · · · Q.· · Was the sleeve and shackle already over     ·2·   · · · Q.· · The point was, you were not aware that
·3·   ·there?                                                 ·3·   ·anyone had said, snow and ice needed to be removed
·4·   · · · A.· · They were already over there.               ·4·   ·before this work on that day was done?
·5·   · · · Q.· · Did you see anyone else slip on this?       ·5·   · · · A.· · Right.
·6·   · · · A.· · I didn't see anybody, no.                   ·6·   · · · Q.· · Well, who is Kevin Hogan?
·7·   · · · Q.· · Did you see any footprints on it?           ·7·   · · · A.· · I really don't know.
·8·   · · · A.· · No, not that I am aware of.                 ·8·   · · · Q.· · Who was the head of your group, other
·9·   · · · Q.· · What shoes were you wearing?                ·9·   ·than Lonnie?
10·   · · · A.· · What?                                       10·   · · · A.· · I know Lonnie was there.· Leo.· I don't
11·   · · · Q.· · What shoes were you wearing?                11·   ·know who else was there.· I saw them two and I
12·   · · · A.· · My work boots.                              12·   ·assume a couple of the other guys were there.
13·   · · · Q.· · Which are what?                             13·   · · · Q.· · And what is Leo's last name?
14·   · · · A.· · Steel toe Timberlands.                      14·   · · · A.· · I can't think of his last name.
15·   · · · Q.· · Leather?                                    15·   · · · Q.· · He's another ironworker?
16·   · · · A.· · Yes.                                        16·   · · · A.· · He's another Joliet ironworker.
17·   · · · Q.· · Rubber sole?                                17·   · · · Q.· · Did you ever talk to any of these people
18·   · · · A.· · Yep.                                        18·   ·about the incident?
19·   · · · Q.· · And did you ever wear ice cleats?           19·   · · · A.· · No.
20·   · · · A.· · No.                                         20·   · · · Q.· · I can't remember if I even asked you
21·   · · · Q.· · Have you heard of them?                     21·   ·this at the beginning.· Have you ever been a party
22·   · · · A.· · I have heard of them.                       22·   ·to a lawsuit before this case?
23·   · · · Q.· · But you saw the incident report and it      23·   · · · A.· · No.
24·   ·talks about ice cleats?                                24·   · · · Q.· · Other than maybe your divorce case?

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                                                    Page 77                                                       Page 79
·1·   · · · A.· · No.                                         ·1·   · · · Q.· · In the air?
·2·   · · · Q.· · Was that an actual divorce lawsuit, do      ·2·   · · · A.· · The air, no.
·3·   ·you know?                                              ·3·   · · · Q.· · The point was to lift them and build
·4·   · · · A.· · Yeah.                                       ·4·   ·them, right?
·5·   · · · Q.· · Well, other than that, this is the only     ·5·   · · · A.· · Right.
·6·   ·only lawsuit that you have been a part of?             ·6·   · · · Q.· · Did you have to walk under the crane
·7·   · · · A.· · Correct.                                    ·7·   ·arm?
·8·   · · · Q.· · About where was it here that you fell,      ·8·   · · · A.· · No, no, we would never walk under the
·9·   ·do you know?                                           ·9·   ·crane.
10·   · · · A.· · What?                                       10·   · · · Q.· · It looks like this has not been erected
11·   · · · Q.· · Where was it on this picture that you       11·   ·yet.· The whole project stopped when you fell or
12·   ·fell?· Let us know for the record so you can           12·   ·something?
13·   ·explain it.                                            13·   · · · A.· · Yes.
14·   · · · A.· · It was just before the turbine,             14·   · · · Q.· · Do you know when eventually it was
15·   ·somewhere in there.                                    15·   ·erected?
16·   · · · Q.· · Okay.· So, in this space in between,        16·   · · · A.· · I want to say probably the next day or
17·   ·what do you call this big white piece?                 17·   ·later that day because they would have stopped work
18·   · · · A.· · Turbine.                                    18·   ·and had a safety talk before anything got done.
19·   · · · Q.· · And this piece is what?                     19·   · · · Q.· · Okay.· You don't know for sure when it
20·   · · · A.· · The base or midpiece.                       20·   ·was erected, though?
21·   · · · Q.· · So, in between the midpiece and the         21·   · · · A.· · No.
22·   ·turbine?                                               22·   · · · Q.· · And you left the scene by ambulance,
23·   · · · A.· · Yes.                                        23·   ·right?
24·   · · · Q.· · And this is all dirt, right?· There's       24·   · · · A.· · Correct.
                                                    Page 78                                                       Page 80
·1·   ·nothing else here?                                     ·1·   · · · Q.· · You don't know who conducted the safety
·2·   · · · A.· · Right.                                      ·2·   ·talk?
·3·   · · · Q.· · The concrete base is not in the view at     ·3·   · · · A.· · I would assume it would be the safety
·4·   ·all?                                                   ·4·   ·guy from Mortenson.
·5·   · · · A.· · No, it is not.                              ·5·   · · · Q.· · Okay.· Do you know what his name was?
·6·   · · · Q.· · Do you have any idea how much distance      ·6·   · · · A.· · I don't remember.· I was trying to think
·7·   ·is between these two pieces?                           ·7·   ·of it, but I couldn't remember his name.
·8·   · · · A.· · Between the two pieces, my best guess       ·8·   · · · Q.· · Did you attend any other safety talks
·9·   ·would be probably 15 to 20 feet.                       ·9·   ·that this guy had given?
10·   · · · Q.· · Were you wearing a hard hat by the way?     10·   · · · A.· · That he had given, yeah.· In the morning
11·   · · · A.· · Yes.                                        11·   ·he would give a safety talk for the whole work area
12·   · · · Q.· · Is that required on all sites?              12·   ·forever everybody.
13·   · · · A.· · Yes.                                        13·   · · · Q.· · You didn't attend one that day, though,
14·   · · · Q.· · Was the crane overhead?                     14·   ·did you?
15·   · · · A.· · I believe it was already toward the back    15·   · · · A.· · That day I did not attend.
16·   ·of the base to pick it up.                             16·   · · · Q.· · This is -- this whole thing is called
17·   · · · Q.· · Okay.                                       17·   ·Group Exhibit 1 and this is Page 3, do you see
18·   · · · A.· · Swinging over that way.                     18·   ·that?
19·   · · · Q.· · Neither of theses pieces were in the        19·   · · · A.· · Right.
20·   ·air, were they?                                        20·   · · · Q.· · And then this is a toolbox talk sign-in
21·   · · · A.· · Pardon?· What's that?                       21·   ·sheet, is that what this is?
22·   · · · Q.· · Neither of these pieces were in the air,    22·   · · · A.· · Yes.
23·   ·though, right?                                         23·   · · · Q.· · Do you see the date November 14th, the
24·   · · · A.· · In the area?                                24·   ·day before this incident, right?

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·1·   · · · A.· · Yes.                                        ·1·   ·of your accident, did you?
·2·   · · · Q.· · And it says toolbox talk                    ·2·   · · · A.· · Not to my knowledge, no.
·3·   ·walking/working, is that right?                        ·3·   · · · Q.· · Because you had to go to Joliet, right?
·4·   · · · A.· · Yep.                                        ·4·   · · · A.· · Right.
·5·   · · · Q.· · Was this like a typical sign-in sheet?      ·5·   · · · Q.· · So, if Mortenson had one with Dave
·6·   · · · A.· · Yes, for the most part.                     ·6·   ·Osterman, you wouldn't have known?
·7·   · · · Q.· · And let's see.· I want to make sure you     ·7·   · · · A.· · Correct.
·8·   ·see your name here.· It looks like the very first      ·8·   · · · Q.· · Do you recall any of these toolbox talks
·9·   ·one, that's your name?                                 ·9·   ·discussing freezing weather and creating difficulty
10·   · · · A.· · Yes, it is.                                 10·   ·walking and working around freezing ground?
11·   · · · Q.· · Is this your signature next to it?          11·   · · · A.· · No, I wouldn't have expected it to be in
12·   · · · A.· · Yes.                                        12·   ·the middle of November having it.
13·   · · · Q.· · And who is Dave Osterman?                   13·   · · · Q.· · Well, it's common for it to snow in
14·   · · · A.· · He was the safety guy that I couldn't       14·   ·mid-November, right?
15·   ·think of his name.                                     15·   · · · A.· · Occasionally.
16·   · · · Q.· · So, he's a Mortenson employee?              16·   · · · Q.· · I mean, you have lived in Illinois your
17·   · · · A.· · Right.                                      17·   ·whole life, correct?
18·   · · · Q.· · He wasn't your direct supervisor or         18·   · · · A.· · Yes, it didn't snow this year until
19·   ·anything like that?                                    19·   ·almost Christmas.
20·   · · · A.· · No, he was just the site safety man.        20·   · · · Q.· · Do you recall as a child there was lots
21·   · · · Q.· · He would have given -- did he give all      21·   ·of snow in November, right?
22·   ·of these toolbox talks?                                22·   · · · MR. TERRY:· I will object as argumentative.
23·   · · · A.· · On occasion he would give them or           23·   ·He has given his answer.
24·   ·someone else would give them.                          24·   ·BY MR. SULLIVAN:
                                                    Page 82                                                       Page 84
·1·   · · · Q.· · Why does it say Operating Group Wind.       ·1·   · · · Q.· · Do you recall any discussion about ice
·2·   ·This whole thing was a wind project?                   ·2·   ·cleats or other shoes or footing was available to
·3·   · · · A.· · Yeah.                                       ·3·   ·you?
·4·   · · · Q.· · And do you recall anything about this       ·4·   · · · A.· · Not at this time.
·5·   ·particular toolbox meeting?                            ·5·   · · · Q.· · Did anyone on your crew walk the T-11
·6·   · · · A.· · Not off the top of my head, no.             ·6·   ·site prior to work that day, if you know?
·7·   · · · Q.· · How long did they take place usually?       ·7·   · · · A.· · Not that I am aware of.
·8·   ·How long are they?                                     ·8·   · · · Q.· · What was a Pre-Task Card?
·9·   · · · A.· · Maybe ten minutes.                          ·9·   · · · A.· · Basically to let people know what you
10·   · · · Q.· · Your whole group would have attended?       10·   ·are doing, who is on-site at that particular
11·   · · · A.· · Yes.                                        11·   ·location, and what's going on for the day and any
12·   · · · Q.· · And who is Luis Fernandez or Hernandez?     12·   ·hazards that would be presentable at the time.
13·   · · · A.· · I am not sure who it is.                    13·   · · · Q.· · Who created these Pre-Task Cards?
14·   · · · Q.· · The foreman for your group was Lonnie,      14·   · · · A.· · Just someone in the group.
15·   ·correct?                                               15·   · · · Q.· · In your group from your union?
16·   · · · A.· · Correct.                                    16·   · · · A.· · From Mortenson.· From, whoever will be
17·   · · · Q.· · So, other than what the title says, do      17·   ·working in that area.
18·   ·you have any recollection of what this toolbox talk    18·   · · · Q.· · Was there a Pre-Task Card for this event
19·   ·involved?                                              19·   ·on November 15th?
20·   · · · A.· · No.                                         20·   · · · A.· · I am sure there was.
21·   · · · Q.· · You will agree that it took place the       21·   · · · Q.· · Have you ever seen it?
22·   ·day before your accident?                              22·   · · · A.· · Pulling up I had seen it, but I never --
23·   · · · A.· · Yes.                                        23·   ·I haven't seen it since.
24·   · · · Q.· · You didn't have a toolbox talk the day      24·   · · · Q.· · When you saying pulling up, is this

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                                                    Page 85                                                       Page 87
·1·   ·something that is publically displayed?                ·1·   · · · Q.· · Is it fair to say that everyone who was
·2·   · · · A.· · Yes, it's displayed for everybody to        ·2·   ·working on the project knew they're supposed to
·3·   ·see.                                                   ·3·   ·check the Pre-Task Cards when they showed up to
·4·   · · · Q.· · And they would have what, do you recall,    ·4·   ·this particular site?
·5·   ·as an example of things to look out for?               ·5·   · · · A.· · Right.· Check it out or fill it out
·6·   · · · A.· · If it was raining the ground was wet,       ·6·   ·before they get to the site.
·7·   ·slippery, or if they were unloading a truck to         ·7·   · · · Q.· · Okay.· Did you have to fill in the
·8·   ·watch out for moving trucks coming in and out.         ·8·   ·Pre-Task Cards yourself sometimes?
·9·   · · · Q.· · Okay.· And did they say Mortenson on        ·9·   · · · A.· · Yes.
10·   ·their cards?                                           10·   · · · Q.· · Who decided who had to fill them out?
11·   · · · A.· · Yeah.                                       11·   · · · A.· · It depends on who's working there. A
12·   · · · Q.· · Do you recall actually seeing it when       12·   ·lot of times if I was to unload a truck, I would be
13·   ·you showed up at T-11 that day?                        13·   ·by myself and would I fill out the Pre-Task and
14·   · · · A.· · Yes.                                        14·   ·have the crane operator sign it and it would just
15·   · · · Q.· · Do you know what it said?                   15·   ·be the two of us on there.
16·   · · · A.· · Just watch out for hazards like the         16·   · · · Q.· · It's signed by the crane operator?
17·   ·snow, the weather, lifting overhead.                   17·   · · · A.· · Yes, everybody signs it.
18·   · · · Q.· · Anything else that you can recall?          18·   · · · Q.· · You didn't sign the Pre-Task Card at
19·   · · · A.· · No, not off the top of my head.             19·   ·T-11 that day?
20·   · · · Q.· · Do you have a habit of checking the         20·   · · · A.· · I believe I did.
21·   ·Pre-Task Card when you show up to the site?            21·   · · · Q.· · When would you have signed it?· The day
22·   · · · A.· · Most of the time, yes.                      22·   ·before?
23·   · · · Q.· · How are these posted?                       23·   · · · A.· · No, when I got there.
24·   · · · A.· · They're just hanging off to the side of     24·   · · · Q.· · Okay.· You have to sign to say that you
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·1·   ·the road when you pull in.                             ·1·   ·saw it?
·2·   · · · Q.· · On the access road?                         ·2·   · · · A.· · Right.
·3·   · · · A.· · Yeah.                                       ·3·   · · · MR. TERRY:· Hey, Chris, is this now a good
·4·   · · · Q.· · Hanging on what?                            ·4·   ·time to take a quick break?
·5·   · · · A.· · Usually a cone and it's hanging on the      ·5·   · · · MR. SULLIVAN:· Yes, I could use a break.
·6·   ·cone.                                                  ·6·   · · · MR. TERRY:· So, let's just take five.
·7·   · · · Q.· · Is it cardboard?· What is it made out       ·7·   · · · MR. SULLIVAN:· That sounds good, I appreciate
·8·   ·of?                                                    ·8·   ·it.
·9·   · · · A.· · It's just paper inside a plastic sleeve.    ·9·   · · · MR. TERRY:· I appreciate it.
10·   · · · Q.· · You said you have not seen it since the     10·   · · · · · · · · (WHEREUPON, a recess was had.)
11·   ·incident, though?                                      11·   ·BY MR. SULLIVAN:
12·   · · · A.· · Correct.                                    12·   · · · Q.· · Mr. Georgeff, before I want to get into
13·   · · · Q.· · Is that part of your training through       13·   ·some of these other issues, I want to be clear in
14·   ·your union that you're supposed to check the           14·   ·this case you are claiming that you slipped on the
15·   ·Pre-Task Cards when you show up on the job site?       15·   ·ice, right?
16·   · · · A.· · Not through the union.· It's -- every       16·   · · · A.· · Yes.
17·   ·job site is different.                                 17·   · · · Q.· · You're not claiming that you tripped or
18·   · · · Q.· · Okay.· I guess what I am getting at id,     18·   ·fell because the ground was uneven, correct?
19·   ·whose idea was it that you were supposed to check      19·   · · · A.· · Correct.
20·   ·these Pre-Task Cards when you showed up?               20·   · · · Q.· · I will show you the -- you see what I am
21·   · · · A.· · Just the job.                               21·   ·sharing right now?
22·   · · · Q.· · Okay.· It would have been Mortenson         22·   · · · A.· · Yep.
23·   ·since they were the general contractor?                23·   · · · Q.· · This is the Mortenson Construction
24·   · · · A.· · Most likely.                                24·   ·Incident Analysis, right?

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                                                    Page 89                                                       Page 91
·1·   · · · A.· · Yes.                                        ·1·   · · · A.· · After, no.
·2·   · · · Q.· · Have you seen this before?                  ·2·   · · · Q.· · Are you aware of any OSHA investigation
·3·   · · · A.· · No, not until today.                        ·3·   ·separate from this?
·4·   · · · MR. TERRY:· Just for the record, I have a hard    ·4·   · · · A.· · No.
·5·   ·copy in front of him, I will let him look at it if     ·5·   · · · Q.· · You do not know if one took place or
·6·   ·that's okay.                                           ·6·   ·not?
·7·   · · · MR. SULLIVAN:· That's fine.                       ·7·   · · · A.· · I have no idea.
·8·   ·BY MR. SULLIVAN:                                       ·8·   · · · Q.· · Of course Lonnie Sears is the foreman
·9·   · · · Q.· · Were you aware that there was this          ·9·   ·from your group who you worked with every day?
10·   ·Incident Analysis done before today?                   10·   · · · A.· · Yes.
11·   · · · A.· · I would assume that one would have been     11·   · · · Q.· · Are you still friends with Lonnie Sears?
12·   ·done because it was an accident.· I did not know       12·   · · · A.· · No.
13·   ·when or where it was done.                             13·   · · · Q.· · Do you see him at all?· Have you seen
14·   · · · Q.· · Okay.· You haven't actually seen this       14·   ·since this --
15·   ·document until today you said?                         15·   · · · A.· · I have not seen him outside of the job
16·   · · · A.· · Correct.                                    16·   ·ever.
17·   · · · Q.· · Did you review it prior to the              17·   · · · Q.· · Ever.· Have you seen him since this
18·   ·deposition today?                                      18·   ·accident at all?
19·   · · · A.· · No.                                         19·   · · · A.· · Just when I went back for light duty for
20·   · · · Q.· · Okay.· Now, is the first time you're        20·   ·those couple of weeks, that was it.
21·   ·actually looking at it?                                21·   · · · Q.· · Okay.· You never talked to him about
22·   · · · A.· · Yes.                                        22·   ·this accident on how it happened or anything like
23·   · · · Q.· · You saw the picture separate from that      23·   ·that?
24·   ·somehow?                                               24·   · · · A.· · No.
                                                    Page 90                                                       Page 92
·1·   · · · A.· · Yes.                                        ·1·   · · · Q.· · And Lonnie Sears did not see it happen,
·2·   · · · Q.· · The picture we've been looking at is the    ·2·   ·did he?
·3·   ·same one that is in this report, right?                ·3·   · · · A.· · Not that I am aware of.· I don't believe
·4·   · · · A.· · Yes.                                        ·4·   ·he did.
·5·   · · · Q.· · And you could see that this was             ·5·   · · · Q.· · Okay.· Just going through the report
·6·   ·something that was created by Mortenson                ·6·   ·here.· What is SWI trained?
·7·   ·Construction, right?                                   ·7·   · · · A.· · It is what Mortenson trains people in.
·8·   · · · A.· · Yes.                                        ·8·   · · · Q.· · Do you know what it stands for?
·9·   · · · Q.· · And I think I already asked you this        ·9·   · · · A.· · No.
10·   ·before.· Who is Jamie Langston, do you know who        10·   · · · Q.· · Do you recall some kind of training that
11·   ·that is?                                               11·   ·said SWI training?
12·   · · · A.· · I've met him.· He's a superintendent.       12·   · · · A.· · Not that I can recall.
13·   · · · Q.· · For the whole project essentially?          13·   · · · Q.· · Okay.· So, looking at the investigation
14·   · · · A.· · As far as I know he was there the whole     14·   ·findings here it says, T-1, but you are certain it
15·   ·time.                                                  15·   ·was actually T-11?
16·   · · · Q.· · Kevin Hogan, do you know who that is?       16·   · · · A.· · Right.
17·   · · · A.· · Not off the top of my head.· Either two     17·   · · · Q.· · Your recollection is that this picture
18·   ·safety guys at one point, so that could be the         18·   ·actually shows T-11 instead of T-1?
19·   ·second one.                                            19·   · · · A.· · They all look identical.· I would just
20·   · · · Q.· · Okay.· These are both Mortenson             20·   ·assume it was T-11.
21·   ·employees, correct?                                    21·   · · · Q.· · Okay.· You can't be certain, though, is
22·   · · · A.· · Yes, to my knowledge.                       22·   ·that true?
23·   · · · Q.· · And were you ever interviewed by either     23·   · · · A.· · No.
24·   ·of these guys after this accident?                     24·   · · · Q.· · I mean, is that correct?

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·1·   · · · A.· · That's correct.                             ·1·   · · · A.· · I can hear somebody's walkie-talkie
·2·   · · · Q.· · Okay.· Where would he -- the author of      ·2·   ·going off, He fell.· Go help him.· I believe that
·3·   ·this report, where would he have gotten this           ·3·   ·was Corey saying that from the crane.
·4·   ·narrative information from, if he didn't ask you in    ·4·   · · · Q.· · And you said if anyone saw it, it would
·5·   ·the interview?                                         ·5·   ·have been because he had the highest vantage point?
·6·   · · · A.· · Just from -- after I got hurt talking to    ·6·   · · · A.· · Right.
·7·   ·the safety guy.                                        ·7·   · · · Q.· · You don't know for sure if he saw it or
·8·   · · · Q.· · You did talk to one of the safety guys?     ·8·   ·not?
·9·   · · · A.· · I did talk to one of the safety guys,       ·9·   · · · A.· · How much he saw, I really don't know.
10·   ·yes.                                                   10·   · · · Q.· · How long were you sitting on the ice
11·   · · · Q.· · It had to be one of these guys.· Either     11·   ·before someone came over?
12·   ·probably Kevin Hogan or -- most likely Kevin,          12·   · · · A.· · Not long.· Maybe a minute tops.· Maybe
13·   ·right?                                                 13·   ·30 seconds.
14·   · · · A.· · It could have been.                         14·   · · · Q.· · Was your ankle in pain or were you not
15·   · · · Q.· · But you don't November have a specific      15·   ·able to get up on your own?
16·   ·recollection of that conversation?                     16·   · · · A.· · I was in a lot of pain and that's why I
17·   · · · A.· · No, I mean it could have been while I       17·   ·yelled out.
18·   ·was laying on the ice or it could have been at the     18·   · · · Q.· · Did you hear anything?
19·   ·emergency room when I was coming out.                  19·   · · · A.· · Pardon me?
20·   · · · Q.· · Did someone come and visit you from         20·   · · · Q.· · Did you hear a bone crack or anything
21·   ·Mortenson?                                             21·   ·like that?
22·   · · · A.· · Yeah, they came to see me that day.         22·   · · · A.· · I didn't hear nothing.· I just remember
23·   · · · Q.· · You don't know if it was Kevin or who?      23·   ·falling and being in pain and sitting up and
24·   · · · A.· · I know it was the superintendent, James,    24·   ·yelling for Lonnie.
                                                    Page 94                                                       Page 96
·1·   ·and I don't remember the other guy's name.             ·1·   · · · Q.· · Okay.· How long were you walking on the
·2·   · · · Q.· · Okay.                                       ·2·   ·ice before you realized that you were walking on
·3·   · · · A.· · The other safety guy.                       ·3·   ·ice?
·4·   · · · Q.· · It could have been Kevin, you don't         ·4·   · · · A.· · Maybe a second.· A split second.
·5·   ·know?                                                  ·5·   · · · Q.· · How many steps?
·6·   · · · A.· · Right.                                      ·6·   · · · A.· · Maybe two.
·7·   · · · Q.· · And do you remember any specific            ·7·   · · · Q.· · So, both of your feet were on the ice?
·8·   ·conversations with James?                              ·8·   · · · A.· · Right.
·9·   · · · A.· · No.                                         ·9·   · · · Q.· · And how far was it from the edge of the
10·   · · · Q.· · Okay.· This narrative section, does this    10·   ·ice, if you know, before you got up?
11·   ·sound accurate in terms of what you're saying          11·   · · · A.· · Maybe two feet.
12·   ·happened?                                              12·   · · · Q.· · Was one foot onto the dry area already
13·   · · · A.· · Yeah.                                       13·   ·by the time you slipped?
14·   · · · Q.· · Okay.· Your foot slipped out and you        14·   · · · A.· · No, both were on ice when I fell.
15·   ·caught it on a dry patch of dirt, right?               15·   · · · Q.· · Okay.· Your right foot is the one that
16·   · · · A.· · Right.                                      16·   ·was injured, correct?
17·   · · · Q.· · And prior to this, you had not seen ice     17·   · · · A.· · Correct.
18·   ·anywhere on the site, is that correct?                 18·   · · · Q.· · You never had an injury to your right
19·   · · · A.· · Correct.                                    19·   ·foot before this?
20·   · · · Q.· · What happened when you slipped?· Did you    20·   · · · A.· · No.
21·   ·call out in pain?· What exactly happened?              21·   · · · Q.· · Any injury to your left foot before
22·   · · · A.· · I just landed on my back and I sat up       22·   ·this?
23·   ·and I yelled for Lonnie.                               23·   · · · A.· · No.
24·   · · · Q.· · Okay.                                       24·   · · · Q.· · Any leg injuries whatsoever?

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·1·   · · · A.· · I had a shoulder injury back in 2007, I     ·1·   ·normal because you were running late?
·2·   ·believe.                                               ·2·   · · · A.· · No.
·3·   · · · Q.· · Any other injuries besides that?            ·3·   · · · MR. TERRY:· I'm going to object, it
·4·   · · · A.· · No.                                         ·4·   ·mischaracterizes his testimony.· No one said he was
·5·   · · · Q.· · And what caused the shoulder injury?        ·5·   ·running late.· He was performing his job since 7:00
·6·   · · · A.· · Overexertion.                               ·6·   ·that morning.
·7·   · · · Q.· · On the job site?                            ·7·   ·BY MR. SULLIVAN:
·8·   · · · A.· · Yeah.· I was on job site at the time.       ·8·   · · · Q.· · You were walking at a normal speed in
·9·   · · · Q.· · And did you open up a workers'              ·9·   ·your estimation?
10·   ·compensation case for that?                            10·   · · · A.· · Yes, my normal speed.
11·   · · · MR. TERRY:· I'll object to relevance.· You can    11·   · · · Q.· · You saw on the Pre-Task Card that there
12·   ·answer.                                                12·   ·was snow to be aware of, right?
13·   ·BY THE WITNESS:                                        13·   · · · A.· · I am assuming there was.· I don't know
14·   · · · A.· · Yeah.                                       14·   ·if it actually said it or not.· I would think it
15·   ·BY MR. SULLIVAN:                                       15·   ·would say it.
16·   · · · Q.· · But that did not end up in a lawsuit,       16·   · · · Q.· · Okay.
17·   ·that case?                                             17·   · · · A.· · Having filled them out myself.
18·   · · · A.· · No, it did not.                             18·   · · · Q.· · And, of course, you saw the snow
19·   · · · Q.· · And you settled the workers'                19·   ·allover the area before you got out of your truck?
20·   ·compensation case for your shoulder?                   20·   · · · A.· · Right.
21·   · · · MR. TERRY:· Same objection.                       21·   · · · Q.· · And so when you -- wouldn't you normally
22·   ·BY THE WITNESS:                                        22·   ·want to walk slower when there's snow on the
23·   · · · A.· · It wasn't a settlement.· I did not get      23·   ·ground?
24·   ·anything out of it.· They paid my weekly benefits      24·   · · · A.· · It depends.
                                                    Page 98                                                      Page 100
·1·   ·and that was it.                                       ·1·   · · · Q.· · I mean you can slip on snow, just like
·2·   ·BY MR. SULLIVAN:                                       ·2·   ·you could slip on ice, wouldn't you agree?
·3·   · · · Q.· · Is your shoulder 100 percent now or is      ·3·   · · · A.· · I agree.
·4·   ·it less?                                               ·4·   · · · Q.· · You didn't slip at all before you got
·5·   · · · A.· · Yes, it's 100 percent.                      ·5·   ·onto the ice, is that what you're saying?
·6·   · · · Q.· · Did you have any difficulty walking,        ·6·   · · · A.· · No.
·7·   ·otherwise, at the time this incident took place?       ·7·   · · · MR. TERRY:· Wait.· Is that what you're saying
·8·   · · · A.· · Nope.                                       ·8·   ·or are you just --
·9·   · · · Q.· · When this happened, how old were you?       ·9·   ·BY THE WITNESS:
10·   · · · A.· · I was 47, 48.                               10·   · · · A.· · No, I did not slip before I got on the
11·   · · · MR. TERRY:· Don't look at me, I don't know.       11·   ·ice.
12·   ·BY THE WITNESS:                                        12·   ·BY MR. SULLIVAN:
13·   · · · A.· · 47.                                         13·   · · · Q.· · And do you know how far it was from when
14·   ·BY MR. SULLIVAN:                                       14·   ·you got out of the truck to where the ice was?· How
15·   · · · Q.· · Three years ago.· Just over three years     15·   ·far you walked?
16·   ·ago, right?                                            16·   · · · A.· · Probably 30 feet.
17·   · · · A.· · I was 47.                                   17·   · · · Q.· · That entire time you were walking on
18·   · · · Q.· · Okay.· How long before you were lifted      18·   ·snow, right?
19·   ·up?                                                    19·   · · · A.· · Yes, yes, it was snow.· It could have
20·   · · · A.· · I would say five minutes.                   20·   ·been somewhat melted because it was on dirt rather
21·   · · · Q.· · And who helped you up?                      21·   ·than on ice.· So, it could have been a fixture of
22·   · · · A.· · The paramedic onsite came and put my leg    22·   ·snow and earth before I got to the ice.
23·   ·in a little boot and that's when they helped me up.    23·   · · · Q.· · Were you looking down at your feet while
24·   · · · Q.· · Okay.· Were you walking faster than         24·   ·you were walking?

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                                                   Page 101                                                      Page 103
·1·   · · · A.· · No.                                         ·1·   · · · Q.· · And you're not aware of any complaints
·2·   · · · Q.· · Do you remember where you were looking?     ·2·   ·from anyone at Mortenson or from your union that
·3·   · · · A.· · Just in front of me.                        ·3·   ·T-11 was incorrectly graded before this happened or
·4·   · · · Q.· · Okay.· And is that true when you got on     ·4·   ·anything?
·5·   ·the ice, too?                                          ·5·   · · · A.· · Not to my knowledge, no.
·6·   · · · A.· · When I got on the ice, I immediately        ·6·   · · · Q.· · You see this references to ice cleats?
·7·   ·looked down and gingerly tried stepping off.           ·7·   · · · A.· · Yeah.
·8·   · · · Q.· · I guess the point is, how did you know      ·8·   · · · Q.· · It says the project offers the use of
·9·   ·you were on ice?                                       ·9·   ·ice cleats.· Are you aware that Mortenson ever made
10·   · · · A.· · I could feel it when I stepped on it.       10·   ·ice cleats available to you?
11·   · · · Q.· · Did it crack?                               11·   · · · A.· · Not before the incident, no.
12·   · · · A.· · It didn't crack, but I could tell my        12·   · · · Q.· · Have you ever worn ice cleats in your
13·   ·foot being a little shaky compared to normal           13·   ·life?
14·   ·ground.                                                14·   · · · A.· · Maybe on one job, but I can't really say
15·   · · · Q.· · Okay.· You felt the slippage as soon as     15·   ·for sure.
16·   ·you stepped on it?                                     16·   · · · Q.· · What are they?
17·   · · · A.· · Right.                                      17·   · · · A.· · They basically just slip over your boot
18·   · · · Q.· · With the first step?                        18·   ·with little spikes at the end so you could gain
19·   · · · A.· · Yeah.                                       19·   ·traction.
20·   · · · Q.· · And your first step was your right foot?    20·   · · · Q.· · So, you have at least worn them once?
21·   · · · A.· · Right.                                      21·   · · · A.· · I believe once I have worn them.
22·   · · · Q.· · Did it immediately slip out from under      22·   · · · Q.· · You don't know recall whether or not
23·   ·you?                                                   23·   ·they were available, is that what you're saying?
24·   · · · A.· · No.                                         24·   · · · A.· · Not at the time of my fall because, like
                                                   Page 102                                                      Page 104
·1·   · · · Q.· · You stepped on it with your left foot       ·1·   ·I said, there was no reason for ice cleats at the
·2·   ·and did it also slip?                                  ·2·   ·time.
·3·   · · · A.· · I stepped on it with my left foot and       ·3·   · · · Q.· · You see this hazard identification?
·4·   ·realized I was on ice and as I was trying to get       ·4·   · · · A.· · Yes.
·5·   ·off the ice and that's when I slipped.                 ·5·   · · · Q.· · It says Pre-Task Card highlighted the
·6·   · · · Q.· · So, that would be your third step?          ·6·   ·presence of icy conditions, but did not specify --
·7·   · · · MR. TERRY:· If he remembers specifically how      ·7·   ·identify specific locations on the pad, do you see
·8·   ·many steps he took.                                    ·8·   ·that language?
·9·   ·BY THE WITNESS:                                        ·9·   · · · A.· · Yes.
10·   · · · A.· · It would probably be my second because      10·   · · · Q.· · Do you have any recollection of the
11·   ·it was my left foot that slipped out from under me.    11·   ·Pre-Task Card we've been talking actually
12·   ·So, it couldn't be the third because that would be     12·   ·referencing icy conditions?
13·   ·my right foot.                                         13·   · · · A.· · Off the top of my head, no.· I would
14·   ·BY MR. SULLIVAN:                                       14·   ·assume that it would because, like I said, I would
15·   · · · Q.· · Okay.· I see.· So, you tried to catch       15·   ·put that on there if I was filling that out.
16·   ·yourself with the right foot after you slipped with    16·   · · · Q.· · You don't have any reason to dispute
17·   ·your left foot, is that what you're saying?            17·   ·what this statement says, do you?
18·   · · · A.· · Most likely, yeah.                          18·   · · · A.· · No.
19·   · · · Q.· · You do not know exactly what area was       19·   · · · Q.· · Okay.· Now, you see this section about
20·   ·bulldozed at T-11 before this happened, do you?        20·   ·site preparation.· It says it is the foreman's
21·   · · · A.· · I don't know exactly.· I would think        21·   ·responsibility to ensure the crew walks the site
22·   ·that the whole area would be bulldozed.                22·   ·prior to commencing work, do you see that?
23·   · · · Q.· · But you don't know?                         23·   · · · A.· · Yep.
24·   · · · A.· · No, no one knows.                           24·   · · · Q.· · Does that mean the foreman for your

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                                                   Page 105                                                      Page 107
·1·   ·crew, like Lonnie?                                     ·1·   · · · A.· · Correct.
·2·   · · · A.· · I believe so.· I cannot really say          ·2·   · · · Q.· · You never interacted with him on this
·3·   ·because this was done after the fact.                  ·3·   ·project, did you?
·4·   · · · Q.· · Okay.· And is that something that you       ·4·   · · · A.· · Yes, I spoke with him on this project.
·5·   ·would typically do, your crew -- you said you had a    ·5·   · · · Q.· · And what would you talk to him about at
·6·   ·crew of four, right?                                   ·6·   ·all?
·7·   · · · A.· · Typically, yes.                             ·7·   · · · A.· · Just the work that we're doing.· What
·8·   · · · Q.· · And Lonnie was the foreman the whole        ·8·   ·needed to be done.
·9·   ·time you were there, right?                            ·9·   · · · Q.· · Would Jamie conduct safety meetings
10·   · · · A.· · Right.                                      10·   ·sometimes?
11·   · · · Q.· · If you were arriving on any site, let's     11·   · · · A.· · Sometimes.
12·   ·say T21, instead of T-11, when you got there, would    12·   · · · Q.· · Do you have any specific recollection of
13·   ·you -- typically all of you would walk around the      13·   ·anything that he did?
14·   ·site, is that right?                                   14·   · · · A.· · No, not off the top of my head.
15·   · · · A.· · We wouldn't walk around the site.· We       15·   · · · Q.· · Would you recognize Jamie if you saw
16·   ·would survey the site and see if we can find any       16·   ·him?
17·   ·hazards.                                               17·   · · · A.· · I think so.· It's been a while.
18·   · · · Q.· · Okay.· And do you know if that took         18·   · · · Q.· · Okay.· And do you recall any specific
19·   ·place before you got there that day?                   19·   ·safety meetings that Kevin Hogan may have
20·   · · · A.· · I have no idea.                             20·   ·conducted?
21·   · · · Q.· · Is that something that would have           21·   · · · A.· · Not off the top of my head.
22·   ·typically been done had you been there at 7:00 a.m.    22·   · · · Q.· · I showed you that one toolbox talk with
23·   ·that day?                                              23·   ·the other gentleman?
24·   · · · A.· · Had I been there at 7:00 a.m., I would      24·   · · · A.· · Yes.
                                                   Page 106                                                      Page 108
·1·   ·have known if they did it or not.                      ·1·   · · · Q.· · You don't recall this specific one with
·2·   · · · Q.· · And it's something typically that you       ·2·   ·Kevin?
·3·   ·had done on prior sites in terms of the actual, you    ·3·   · · · A.· · No.
·4·   ·know, T-location, is that right?                       ·4·   · · · Q.· · Maybe some or maybe not?· You don't
·5·   · · · A.· · Right.                                      ·5·   ·know?
·6·   · · · Q.· · Okay.· Do you know in this Adverse          ·6·   · · · A.· · Right.
·7·   ·Ground Condition section, what the project team        ·7·   · · · Q.· · So, you were never given a copy of this
·8·   ·means or refers to?                                    ·8·   ·report after it was done, is that right?
·9·   · · · A.· · Probably just the supervisor, the safety    ·9·   · · · A.· · No.
10·   ·guy, and the foreman.                                  10·   · · · Q.· · Did you have ice melt salt as it is
11·   · · · Q.· · So, like supervisor --                      11·   ·referred to in Section 6?
12·   · · · A.· · The superintendent.                         12·   · · · A.· · Not in my truck, no.
13·   · · · Q.· · The superintendent, right.· And then the    13·   · · · Q.· · Of course, the icy area that was coned
14·   ·safety guy listed on this document.· And the only      14·   ·off in the picture was not like that when you fell
15·   ·other foreman would have been Lonnie for your          15·   ·is what you're saying?
16·   ·group, right?                                          16·   · · · A.· · Correct.
17·   · · · A.· · For my group it would have been Lonnie,     17·   · · · Q.· · And one of the recommended actions is to
18·   ·yes.· Whether he was part of that project team, I      18·   ·provide each foreman with ice melt salt and cones
19·   ·really don't know.                                     19·   ·to address adverse conditions in frequently
20·   · · · Q.· · So, you have no idea if Lonnie ever met     20·   ·traveled areas, right?
21·   ·with any safety guy at Mortenson?                      21·   · · · A.· · Yes.
22·   · · · A.· · Right.                                      22·   · · · Q.· · Do you have any idea whether or not your
23·   · · · Q.· · Jamie Langston was the superintendent,      23·   ·foreman, Lonnie Sears, had any ice melt salt or
24·   ·right?                                                 24·   ·cones?

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                                                   Page 109                                                      Page 111
·1·   · · · MR. TERRY:· We're talking on the day of the       ·1·   ·generally?
·2·   ·incident or after?· This says 1/26/18.                 ·2·   · · · A.· · The site laydown area.
·3·   ·BY MR. SULLIVAN:                                       ·3·   · · · Q.· · You said the site, s-i-t-e, laydown
·4·   · · · Q.· · On the day of the incident.                 ·4·   ·area?
·5·   · · · A.· · On the day of the incident, I would have    ·5·   · · · A.· · Yes.
·6·   ·to say no.· This wasn't made until after the           ·6·   · · · Q.· · Which is -- laydown area, meaning where
·7·   ·accident.                                              ·7·   ·they laid down the components to be erected, right?
·8·   · · · Q.· · Do you know if Lonnie Sears was ever        ·8·   · · · A.· · Right.
·9·   ·provided with ice melt, cones and salt afterwards?     ·9·   · · · Q.· · You don't know how many days that it had
10·   · · · A.· · I have no idea.                             10·   ·been there before those pieces were erected?
11·   · · · Q.· · 11/26 is the day when the report was        11·   · · · A.· · No, not off the top of my head.
12·   ·done, right?                                           12·   · · · Q.· · You don't know how many days those
13·   · · · MR. TERRY:· If you know.                          13·   ·pieces were there before you fell either?
14·   ·BY THE WITNESS:                                        14·   · · · A.· · Right.
15·   · · · A.· · I have no idea.                             15·   · · · Q.· · Has your union ever provided training to
16·   ·BY MR. SULLIVAN:                                       16·   ·you about walking in the snow and ice?
17·   · · · Q.· · All right.· The point is, you don't know    17·   · · · A.· · No.· The union, no.
18·   ·or you have no recollection that these things were     18·   · · · Q.· · Do you recall Mortenson ever giving you
19·   ·given to the foreman before this accident, correct?    19·   ·training about that?
20·   · · · A.· · Right.                                      20·   · · · A.· · Not to my recollection.
21·   · · · Q.· · And have you ever been provided ice melt    21·   · · · Q.· · In the 2008 project, was that in the
22·   ·salt on a project working in the wintertime?           22·   ·wintertime?
23·   · · · A.· · No.                                         23·   · · · A.· · Yes, it was.
24·   · · · Q.· · Is it your recollection that you met        24·   · · · Q.· · Any training about snow or ice in that
                                                   Page 110                                                      Page 112
·1·   ·with Jamie Langston just the one time after your       ·1·   ·project?
·2·   ·fall?                                                  ·2·   · · · A.· · Not that I am aware of.
·3·   · · · A.· · From what I remember, yes.                  ·3·   · · · Q.· · I can't remember if I asked you this.
·4·   · · · Q.· · And you were taken by ambulance to what     ·4·   ·You did not talk to anyone from Borneke at any time
·5·   ·hospital?                                              ·5·   ·on this project?
·6·   · · · A.· · I believe the Mendota Hospital.             ·6·   · · · A.· · No.
·7·   · · · Q.· · And have you already testified as to        ·7·   · · · Q.· · That's correct?
·8·   ·everything that you can recall about your              ·8·   · · · A.· · That's correct.
·9·   ·conversations with Jamie Langston?                     ·9·   · · · Q.· · All right.· Did the crane operator get
10·   · · · A.· · Yes.                                        10·   ·out there to help you?
11·   · · · Q.· · And do you have any recollection of any     11·   · · · A.· · No, he was still in the crane.
12·   ·other conversations with Kevin Hogan that you can      12·   · · · Q.· · So, he's the only one that actually
13·   ·think of?                                              13·   ·helped you?
14·   · · · A.· · No.                                         14·   · · · A.· · He came out of the crane, but he didn't
15·   · · · Q.· · Do you know how close to the turbine        15·   ·come down because the crane was still running
16·   ·piece you were when you fell?                          16·   ·overhead, he just could not walk away from it.
17·   · · · A.· · Not off the top of my head.                 17·   · · · Q.· · The only one that actually helped you up
18·   · · · Q.· · And the place where you fell was not the    18·   ·was the paramedic?
19·   ·actual road or access road at all, was it?             19·   · · · A.· · No, Lonnie came running over after I
20·   · · · A.· · Where I fell, no.                           20·   ·called for him and Leo was close by, he had the
21·   · · · Q.· · Okay.· And it wasn't the pad site           21·   ·radio and he had heard Corey call for help.
22·   ·either, was it?                                        22·   · · · Q.· · How long was it before the ambulance
23·   · · · A.· · No.                                         23·   ·arrived?
24·   · · · Q.· · What would you call that area just          24·   · · · A.· · The ambulance?· Probably 20, 25 minutes.

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                                                   Page 113                                                      Page 115
·1·   · · · Q.· · So, were you sitting on the ice for 25      ·1·   · · · A.· · No.
·2·   ·minutes?                                               ·2·   · · · Q.· · Now, you were transferred from Mendota
·3·   · · · A.· · No, they pulled me off the ice, so I        ·3·   ·to where?
·4·   ·wouldn't be on ice.· And then after the paramedic      ·4·   · · · A.· · After Mendota I went home.· They set my
·5·   ·put the boot on my leg, the site paramedic, they       ·5·   ·foot in Mendota, wrapped it up, and sent me home.
·6·   ·put me in the back of a pickup to take me to where     ·6·   · · · Q.· · You were not given a cast, I take it?
·7·   ·the ambulance was.                                     ·7·   · · · A.· · Not a cast, no.
·8·   · · · Q.· · Okay.· So, Lonnie and another guy in        ·8·   · · · Q.· · Okay.· Then when did you first see
·9·   ·your group helped you --                               ·9·   ·Dr. Holly Brockman?
10·   · · · MR. TERRY:· Leo.                                  10·   · · · A.· · Two days later.
11·   ·BY MR. SULLIVAN:                                       11·   · · · MR. TERRY:· For the record, Holly and then
12·   · · · Q.· · You don't remember his last name?           12·   ·Brockman, B-r-o-c-k-m-a-n.
13·   · · · A.· · Leo.· I can't remember his last name.       13·   ·BY MR. SULLIVAN:
14·   · · · MR. TERRY:· Chris, I will search any documents    14·   · · · Q.· · Is she an orthopedic surgeon?
15·   ·we may have had and if I find his last name, I will    15·   · · · A.· · Yes.
16·   ·let you know.                                          16·   · · · Q.· · And at what hospital?
17·   ·BY MR. SULLIVAN:                                       17·   · · · A.· · At the time she was at the Ottawa
18·   · · · Q.· · And so you were just sitting in the dirt    18·   ·Hospital.
19·   ·off to the side until the ambulance got there?         19·   · · · Q.· · Is she the only doctor that performed
20·   · · · A.· · Yes.                                        20·   ·the surgery on your ankle?
21·   · · · Q.· · You didn't attempt to stand up at all?      21·   · · · A.· · No.· Her colleague, Dr. Jensen, I
22·   · · · A.· · I did not attempt.· I knew it wouldn't      22·   ·believe, took the screws out, but it was under
23·   ·be a good idea.                                        23·   ·Dr. Brockman's watch.
24·   · · · Q.· · Did it swell up or at all?                  24·   · · · Q.· · Do you know how old Dr. Brockman is?
                                                   Page 114                                                      Page 116
·1·   · · · A.· · It had swelled up quite a bit.              ·1·   · · · A.· · How old she is?
·2·   · · · Q.· · Did you keep your shoe on?                  ·2·   · · · Q.· · Yes.
·3·   · · · A.· · I had to.                                   ·3·   · · · A.· · I don't know.· I would assume late 40s.
·4·   · · · Q.· · And it was still snowing or had it          ·4·   · · · Q.· · Okay.· And is it correct, you've had
·5·   ·stopped by then?                                       ·5·   ·three total surgeries?
·6·   · · · A.· · I believe it stopped snowing by then.       ·6·   · · · A.· · Yes.
·7·   · · · Q.· · Did anyone attempt to give you ice or       ·7·   · · · Q.· · The first one on November 26, 2018, does
·8·   ·anything?                                              ·8·   ·that sound right?
·9·   · · · A.· · Pardon me?                                  ·9·   · · · A.· · Yes.
10·   · · · Q.· · Did either of your co-workers attempt to    10·   · · · Q.· · And all of these were done at the Ottawa
11·   ·give you ice or first aid?                             11·   ·Hospital?
12·   · · · A.· · They helped me sit up and helped me get     12·   · · · A.· · Correct.
13·   ·off the ice.· Slid me off the ice.                     13·   · · · Q.· · Any specific reason why you would go to
14·   · · · Q.· · And then you stayed in the same spot        14·   ·the Ottawa Hospital?
15·   ·sitting down?                                          15·   · · · A.· · That was first doctor they had me go
16·   · · · A.· · Yes.                                        16·   ·see.· They recommended her from the emergency room,
17·   · · · Q.· · For 20 minutes?                             17·   ·so I made the appointment to go see her and she got
18·   · · · A.· · Until they put the boot on my leg.          18·   ·me in the quickest.
19·   · · · Q.· · Which the paramedics did?                   19·   · · · Q.· · How far is Ottawa from your house?
20·   · · · A.· · The site paramedics.                        20·   · · · A.· · A good 30 miles.
21·   · · · Q.· · Wasn't it only three weeks earlier that     21·   · · · Q.· · I mean, there's a closer hospital in
22·   ·you had a back injury?                                 22·   ·Joliet if you wanted to, right?
23·   · · · A.· · No.                                         23·   · · · A.· · Yes.
24·   · · · Q.· · Okay.· Had you ever injured your back?      24·   · · · Q.· · Silver Cross, I think?

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·1·   · · · A.· · Yes, but I couldn't wait any longer to      ·1·   · · · Q.· · Okay.· Do you know what the name of her
·2·   ·get the operation.                                     ·2·   ·group is?
·3·   · · · Q.· · You had not -- you had not treated with     ·3·   · · · A.· · No, I just know Ottawa Hospital,
·4·   ·Dr. Brockman before this incident?                     ·4·   ·St. Mary's maybe.
·5·   · · · A.· · That's correct.                             ·5·   · · · MR. TERRY:· I think you did go to someone else
·6·   · · · Q.· · Why did she tell you that you needed        ·6·   ·for the surgery.· Was it with Dr. Brockman?
·7·   ·surgery, if recall?                                    ·7·   · · · THE WITNESS:· No, it was her team.
·8·   · · · A.· · My ankle was broken and my foot was         ·8·   ·BY MR. SULLIVAN:
·9·   ·dislocated and I had bones broken on both sides of     ·9·   · · · Q.· · You don't know the name of her group,
10·   ·my ankle.                                              10·   ·though?
11·   · · · Q.· · And what did she tell you what the          11·   · · · A.· · OSF, St. Elizabeth's Medical Center.
12·   ·outcome of the surgery would be, if anything?          12·   · · · Q.· · And that is in Ottawa?
13·   · · · A.· · She said it all depends on how I heal.      13·   · · · A.· · Yes.
14·   · · · Q.· · And is there a reason why you had to two    14·   · · · Q.· · Sometimes these orthopedic surgeons are
15·   ·follow-up surgeries that you know of?                  15·   ·in a separate group and they have a different name,
16·   · · · A.· · Yeah, I had a screw going through my        16·   ·I just thought I would ask.· You don't know if she
17·   ·whole ankle holding it together and she believed       17·   ·is in a separate group?
18·   ·that was hindering my movement.· So, she               18·   · · · A.· · No, everything I have ever seen was OSF.
19·   ·recommended to get that removed and go through         19·   · · · Q.· · And you had a third procedure on
20·   ·therapy again to try and get movement.                 20·   ·December 30, 2019, right?
21·   · · · Q.· · Was the original plan just to have one      21·   · · · A.· · Yes.
22·   ·ankle surgery?                                         22·   · · · Q.· · And what was that?
23·   · · · A.· · My original plan was not to have any.       23·   · · · A.· · That was to remove the rest of the
24·   · · · Q.· · Right.                                      24·   ·hardware.
                                                   Page 118                                                      Page 120
·1·   · · · A.· · I wasn't planning on getting anything       ·1·   · · · Q.· · So, was the original plan after the
·2·   ·removed unless I had to.                               ·2·   ·first surgery to keep the hardware in permanently?
·3·   · · · Q.· · I mean, do you recall any conversation      ·3·   · · · A.· · If need be.· I wasn't planning on
·4·   ·in which Dr. Brockman said to you after the first      ·4·   ·getting the second or third surgery.
·5·   ·surgery that you should get a follow-up procedure      ·5·   · · · Q.· · That's what I am trying to figure out,
·6·   ·to get this removed for what reason?                   ·6·   ·did she tell you before the first procedure that
·7·   · · · A.· · She never recommended it.· The only         ·7·   ·this was supposed to be permanent hardware?
·8·   ·reason why she recommend getting it removed is if      ·8·   · · · A.· · She said most people leave it in.
·9·   ·it was bothering me or, like I said, the one screw     ·9·   · · · Q.· · Okay.
10·   ·was hindering my movement.                             10·   · · · A.· · It all depends.
11·   · · · Q.· · Okay.· So, that was the procedure in        11·   · · · Q.· · On what?· Depends on what?
12·   ·April of 2019, is that right?                          12·   · · · A.· · Just how your recovery is.· Whether it
13·   · · · A.· · Right.                                      13·   ·bothers you or not.· A lot of people have different
14·   · · · Q.· · And you said that was performed by          14·   ·effects from the metal in their body compared to
15·   ·another doctor?                                        15·   ·other people.
16·   · · · A.· · Yeah.· It was one of Brockman's             16·   · · · Q.· · As you stand today, do you have any
17·   ·colleagues.                                            17·   ·hardware in your ankle?
18·   · · · Q.· · Like a resident?                            18·   · · · A.· · No.
19·   · · · A.· · Yes.                                        19·   · · · Q.· · Do you have any further procedures
20·   · · · Q.· · And do you know what that doctor's name     20·   ·scheduled for your ankle?
21·   ·is?                                                    21·   · · · A.· · No.
22·   · · · A.· · I don't remember off the top of my head,    22·   · · · Q.· · When was the last time you saw
23·   ·but I believe the last name might have been Jensen,    23·   ·Dr. Brockman?
24·   ·if I am not mistaken.                                  24·   · · · A.· · Probably after I had therapy.· After the

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·1·   ·last -- after it was removed.· So, probably, I         ·1·   ·my ankle up or down and side to side.
·2·   ·would say, July of '20.                                ·2·   · · · Q.· · Do you have any idea how far your range
·3·   · · · Q.· · Okay.· After each of these procedures,      ·3·   ·of motion is limited specifically?
·4·   ·Dr. Brockman ordered physical therapy for you?         ·4·   · · · A.· · Not off the top of my head.
·5·   · · · A.· · It was recommended by the insurance         ·5·   · · · Q.· · When you say it wasn't within specs, you
·6·   ·company.· By the workers' comp company.                ·6·   ·don't know what specs they were talking about?
·7·   · · · Q.· · And what company was that?                  ·7·   · · · A.· · They had told me at one point what it
·8·   · · · A.· · Gallagher-Bassett.                          ·8·   ·was, but I never remembered it.
·9·   · · · Q.· · And is that workers' comp case still        ·9·   · · · Q.· · Okay.· Did you have sort of home
10·   ·going on?                                              10·   ·exercise plan that Charlie had created for you?
11·   · · · MR. TERRY:· I'll object as to relevance.· If      11·   · · · A.· · Yes.
12·   ·you know the status of it, you can answer.             12·   · · · Q.· · And did you follow that?
13·   ·BY THE WITNESS:                                        13·   · · · A.· · Yes, I still do it.
14·   · · · A.· · Yes, I am not sure how far it is.           14·   · · · Q.· · What does it consist of?
15·   ·BY MR. SULLIVAN:                                       15·   · · · A.· · I just have movement up and down, side
16·   · · · Q.· · You have not been made aware of its         16·   ·to side.· Standing on the wall.· Getting my ankle
17·   ·result yet?                                            17·   ·to bend.· Just stuff like that.· Rubber bands to
18·   · · · A.· · No.                                         18·   ·strengthen it.
19·   · · · Q.· · Do you have any further treatment for       19·   · · · Q.· · Is there any advice given by the
20·   ·your ankle scheduled?                                  20·   ·physical therapist that you did follow?
21·   · · · A.· · No.                                         21·   · · · A.· · No.
22·   · · · Q.· · When was the last time you had physical     22·   · · · Q.· · Do you have any follow-up treatment
23·   ·therapy?                                               23·   ·scheduled with Charlie or any other physical
24·   · · · A.· · I believe July.                             24·   ·therapist?
                                                   Page 122                                                      Page 124
·1·   · · · Q.· · 2020?                                       ·1·   · · · A.· · No.
·2·   · · · A.· · '20.                                        ·2·   · · · Q.· · Do you walk with a cane?
·3·   · · · Q.· · That was at Athletico?                      ·3·   · · · A.· · No.
·4·   · · · A.· · Yes.                                        ·4·   · · · Q.· · Do you have to wear any different shoes
·5·   · · · Q.· · What was the name of the physical           ·5·   ·than you used to wear?
·6·   ·therapist that you worked with?                        ·6·   · · · A.· · I only wear gym shoes now.
·7·   · · · A.· · I believe her name was Charlie.             ·7·   · · · Q.· · Why is that?
·8·   · · · Q.· · You don't know her last name?               ·8·   · · · A.· · Because if I wear dress shoes my ankle
·9·   · · · A.· · No.                                         ·9·   ·swells up even worse than it is now.
10·   · · · Q.· · Did any doctor tell you that you reached    10·   · · · Q.· · Did anyone in your union tell you, you
11·   ·the maximum medical improvement of your ankle?         11·   ·could not perform union ironwork?
12·   · · · A.· · Yeah.                                       12·   · · · A.· · No.
13·   · · · Q.· · Who said that and when?                     13·   · · · Q.· · Is there any notes that any doctor has
14·   · · · A.· · Dr. Brockman said that.· I want to say      14·   ·given you that says you cannot perform union work
15·   ·towards the end of '19.                                15·   ·anymore?
16·   · · · Q.· · Okay.                                       16·   · · · MR. TERRY:· Object.· It calls for a medical
17·   · · · A.· · After I got the screw removed.              17·   ·conclusion.· If you know the answer of the
18·   · · · Q.· · Is there any limitations of movement in     18·   ·restrictions, you can answer.
19·   ·your ankle?                                            19·   ·BY THE WITNESS:
20·   · · · A.· · Yes.                                        20·   · · · A.· · I know the restrictions.· Yes, they said
21·   · · · Q.· · How do you measure that?                    21·   ·I could not walk on uneven ground, therefore, I
22·   · · · A.· · They measured it at the therapist's         22·   ·would not be able to do construction.
23·   ·office and said it was limited.· I was not within      23·   ·BY MR. SULLIVAN:
24·   ·the specs and I couldn't even feel it when I moved     24·   · · · Q.· · What doctor said that?

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·1·   · · · A.· · Brockman said it and the two therapists     ·1·   ·BY THE WITNESS:
·2·   ·said it also.                                          ·2·   · · · A.· · I have no idea.
·3·   · · · Q.· · And is that what you understood, that       ·3·   ·BY MR. SULLIVAN:
·4·   ·you can't walk on an uneven ground?                    ·4·   · · · Q.· · When did you start working at Home
·5·   · · · A.· · I cannot walk on an uneven ground or        ·5·   ·Depot?
·6·   ·make any sudden movements, so, yeah.                   ·6·   · · · A.· · July of 2020.
·7·   · · · MR. TERRY:· Just a standing objection to this.    ·7·   · · · Q.· · So, the same time you stopped the
·8·   ·It calls for a medical conclusion.· The records        ·8·   ·physical therapy?
·9·   ·speak for themselves.· There are more restrictions     ·9·   · · · A.· · Right.
10·   ·listed in both the FCA and from Dr. Brockman which     10·   · · · Q.· · You don't have any restrictions on your
11·   ·limited his lifting as well.                           11·   ·employment at Home Depot, do you?
12·   ·BY MR. SULLIVAN:                                       12·   · · · A.· · Just my lifting instructions.· Just
13·   · · · Q.· · As far as you can recall, the only          13·   ·lifting and standing for consecutive hours at a
14·   ·people who told you that you have restrictions         14·   ·time.
15·   ·currently are Dr. Brockman and you said two            15·   · · · Q.· · How many hours can you stand
16·   ·therapists, right?                                     16·   ·consecutively?
17·   · · · A.· · Yes.                                        17·   · · · A.· · I usually can go four before I take a
18·   · · · Q.· · And no one else?                            18·   ·break.
19·   · · · A.· · No.                                         19·   · · · MR. TERRY:· I'll state an objection.· The
20·   · · · Q.· · These are both physical therapists,         20·   ·records speak for themselves.
21·   ·right?                                                 21·   ·BY MR. SULLIVAN:
22·   · · · A.· · Yes.                                        22·   · · · Q.· · Do you work full time at Home Depot?
23·   · · · Q.· · And who was the other person besides        23·   · · · A.· · Yes, I do.
24·   ·Charlie?                                               24·   · · · Q.· · Is that a 40-hour week?
                                                   Page 126                                                      Page 128
·1·   · · · A.· · It was Athletico and ATI.                   ·1·   · · · A.· · Yes.
·2·   · · · Q.· · Okay.· So somebody at ATI?                  ·2·   · · · Q.· · What department do you work in, first of
·3·   · · · A.· · Yep.                                        ·3·   ·all?
·4·   · · · Q.· · But you don't recall the name?              ·4·   · · · A.· · I do plumbing.
·5·   · · · A.· · I don't remember the name.· I would see     ·5·   · · · Q.· · Is that basically selling plumbing
·6·   ·different therapist every time I went.                 ·6·   ·products?
·7·   · · · Q.· · Charlie was at Athletico?                   ·7·   · · · A.· · Yes.
·8·   · · · A.· · Right.                                      ·8·   · · · Q.· · Have you spoken to anyone at the union
·9·   · · · Q.· · And you went to the same location each      ·9·   ·since this accident?
10·   ·time?                                                  10·   · · · A.· · No.
11·   · · · A.· · Yes.                                        11·   · · · Q.· · And anyone at Mortenson?
12·   · · · Q.· · Which was where?                            12·   · · · A.· · Nope.
13·   · · · A.· · In Shorewood.                               13·   · · · Q.· · How many years were you a journeyman for
14·   · · · Q.· · And where was that ATI?                     14·   ·the union, roughly?
15·   · · · A.· · ATI was also Shorewood.                     15·   · · · A.· · Roughly close to -- a journeyman,
16·   · · · Q.· · That's Will County, isn't it?               16·   ·probably 17.
17·   · · · A.· · I believe so.· I am not sure.· It's Will    17·   · · · Q.· · And what was your salary?· How much did
18·   ·or Kendall, one of the two.                            18·   ·your salary change in those 17 years, if you know?
19·   · · · Q.· · As you sit here, do you know what the       19·   · · · A.· · I believe when I started it was $34 and
20·   ·amount of your medical bills have been?                20·   ·it went up to $41 in '18.· And now, I believe, it
21·   · · · MR. TERRY:· I'll object as to relevance and       21·   ·is more than that, but I am not too sure.
22·   ·the collateral source rule.· If you know, you can      22·   · · · Q.· · The union sets that rate, right?
23·   ·answer.                                                23·   · · · A.· · Right.
24                                                            24·   · · · Q.· · It doesn't matter what job you're on,

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·1·   ·you have the same rate through the union?              ·1·   ·BY THE WITNESS:
·2·   · · · A.· · Right.                                      ·2·   · · · A.· · Basically they said if I haven't gotten
·3·   · · · Q.· · Did you have to wear crutches when your     ·3·   ·better now, nothing is going to help after three
·4·   ·ankle was being worked on?                             ·4·   ·years.
·5·   · · · A.· · Yes.                                        ·5·   ·BY MR. SULLIVAN:
·6·   · · · Q.· · How long were you using crutches?           ·6·   · · · Q.· · And Dr. Brockman said that?
·7·   · · · A.· · Six months, I believe.                      ·7·   · · · A.· · Yes.
·8·   · · · Q.· · What type of jobs did you look for?         ·8·   · · · Q.· · The PT's.· Anyone else?
·9·   ·First of all, let me go back.· When did you first      ·9·   · · · A.· · Yeah.
10·   ·start looking for jobs after your treatment was        10·   · · · Q.· · Is that it, those three?
11·   ·completed?                                             11·   · · · A.· · Just those three.
12·   · · · A.· · Pretty much probably the end of June,       12·   · · · Q.· · What exercises do you do now to try and
13·   ·beginning of July.                                     13·   ·help your range of motion?
14·   · · · Q.· · Where did you apply besides Home Depot?     14·   · · · A.· · I move up and down, side to side as far
15·   · · · A.· · Why did I?                                  15·   ·as I can go.· Use a rubber band.· Stand against the
16·   · · · Q.· · No, where?                                  16·   ·wall to stretch my ankle out.
17·   · · · A.· · I also applied at Lowe's, Menard's.         17·   · · · Q.· · Do you have any plans to move?
18·   ·Anywhere close by that would accommodate my            18·   · · · A.· · No.
19·   ·restrictions.                                          19·   · · · Q.· · You don't pay rent to your parents for
20·   · · · Q.· · I take it, you did not ask the union if     20·   ·the home or anything?
21·   ·you could do something else for the union?             21·   · · · A.· · No.
22·   · · · A.· · There's no light duty in the union.         22·   · · · MR. TERRY:· Object as to relevance.· I'm just
23·   ·There was nothing that I could have did.               23·   ·curious, what does it have to do with anything?
24·   · · · Q.· · But you did not ask anyone in the union,    24·   · · · MR. SULLIVAN: Well, you're claiming various
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·1·   ·is that correct?                                       ·1·   ·types of damages, so it relates to lots of things.
·2·   · · · MR. TERRY:· Asked and answered.· You can          ·2·   ·It could be lost wages that you need to pay rent.
·3·   ·answer.                                                ·3·   ·Who knows what.
·4·   ·BY THE WITNESS:                                        ·4·   · · · MR. TERRY:· You can answer the question.
·5·   · · · A.· · I didn't because I knew everything --       ·5·   ·Object to relevance.
·6·   ·nothing is light duty.                                 ·6·   ·BY THE WITNESS:
·7·   ·BY MR. SULLIVAN:                                       ·7·   · · · A.· · No, I do not.
·8·   · · · Q.· · Has anyone told you that you have           ·8·   ·BY MR. SULLIVAN:
·9·   ·permanent disability?                                  ·9·   · · · Q.· · Is there anything -- what types of
10·   · · · A.· · Other than the doctor, no.                  10·   ·things would you normally do with your family?
11·   · · · Q.· · Has anyone told you that you have           11·   · · · A.· · My wife and I would go on walks all of
12·   ·permanent range of motion loss?                        12·   ·the time.· Vacations.
13·   · · · A.· · Other than the doctor, no.                  13·   · · · Q.· · And how old are your kids?
14·   · · · Q.· · Has anyone told you that you can regain     14·   · · · A.· · 21 and 18.
15·   ·your range of motion in the future if you do           15·   · · · Q.· · And they were how old when this
16·   ·certain things?                                        16·   ·happened?
17·   · · · A.· · At this point, nobody has mentioned         17·   · · · A.· · 17 and 14.
18·   ·that.                                                  18·   · · · Q.· · One boy and one girl?
19·   · · · Q.· · As you sit here, do you have any idea if    19·   · · · A.· · One boy, one girl.
20·   ·your range of motion will get better if you            20·   · · · Q.· · Were you ever like a coach or anything?
21·   ·exercise and so forth?                                 21·   · · · A.· · I did coach my son's T-ball team.
22·   · · · MR. TERRY:· It calls for speculation and a        22·   · · · Q.· · That was completed before this accident,
23·   ·medical opinion.· If you know, you can answer.         23·   ·correct?
24                                                            24·   · · · A.· · Right.

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·1·   · · · Q.· · You're still able to walk if you want to    ·1·   ·how long, if you recall?
·2·   ·talk a walk in the woods or something of that          ·2·   · · · A.· · It's been probably since the beginning
·3·   ·nature, is that right?                                 ·3·   ·of 2019 after the surgery.
·4·   · · · A.· · I have not tried.                           ·4·   · · · Q.· · You don't have any ongoing prescriptions
·5·   · · · Q.· · Do you have any plans to try or is there    ·5·   ·for any opiates or anything, do you?
·6·   ·any reason why you haven't tried?                      ·6·   · · · A.· · No.
·7·   · · · A.· · I just know I cannot walk across my         ·7·   · · · Q.· · Have you ever had any addictions to
·8·   ·grass, so there's no way I would go hiking.· I stay    ·8·   ·drugs or alcohol in your life that you recall?
·9·   ·on solid ground.                                       ·9·   · · · A.· · Never.
10·   · · · Q.· · When you say you can't walk across your     10·   · · · Q.· · You don't have any plans to leave Home
11·   ·grass, do you mean you have too much pain to walk?     11·   ·Depot currently, do you?
12·   · · · A.· · I have too much pain to walk.· I do not     12·   · · · A.· · Not at this time, no.
13·   ·cut my grass anymore because I can't walk behind a     13·   · · · Q.· · And you do get overtime there, right?
14·   ·mower.                                                 14·   · · · A.· · I would.· They usually don't give out
15·   · · · Q.· · Have you ever tried like any other          15·   ·overtime very much.
16·   ·therapies, other than the physical therapy?            16·   · · · Q.· · And can you estimate what your annual
17·   · · · A.· · No.                                         17·   ·salary has been in the last couple of years?
18·   · · · Q.· · You do walk at Home Depot, correct?         18·   · · · A.· · At Home Depot it has been 30.· Before my
19·   · · · A.· · Yes.                                        19·   ·accident it was probably upper 90s, 100,000.
20·   · · · Q.· · It's obviously a big store, you have to     20·   · · · MR. TERRY:· Just for record, we will provide
21·   ·walk around the store, right?                          21·   ·tax documents.
22·   · · · A.· · I usually stay in my department, so I do    22·   · · · MR. SULLIVAN:· Okay.
23·   ·not walk around the whole store.                       23·   ·BY MR. SULLIVAN:
24·   · · · Q.· · Do you walk from your car in the parking    24·   · · · Q.· · Mr. Georgeff, is there anything that you
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·1·   ·lot to wherever your section is?                       ·1·   ·can't do now that you used to do on a regular basis
·2·   · · · A.· · Yep.                                        ·2·   ·you can think of that you haven't talked about?
·3·   · · · Q.· · And you do not have any problems            ·3·   · · · A.· · I cannot go on walks with my wife.· She
·4·   ·performing your duties at Home Depot since you had     ·4·   ·used to complain I walk too fast and now she
·5·   ·that job, have you?                                    ·5·   ·complains I walk too slow.· I have problems going
·6·   · · · A.· · No, other than the pain, no.                ·6·   ·to the beach with her.
·7·   · · · Q.· · Are you on any pain medications             ·7·   · · · Q.· · What kind of walks would you do with
·8·   ·currently?                                             ·8·   ·your wife that you can't do now?
·9·   · · · A.· · No.· If I do, I take Advil every once in    ·9·   · · · A.· · Just walking the dogs in the
10·   ·a while and that's about it.                           10·   ·neighborhood.· Maybe going on an occasional run
11·   · · · Q.· · Did the doctor prescribe any pain           11·   ·every now and then.
12·   ·medications around the time of the surgeries?          12·   · · · Q.· · Have you attempted running at all?
13·   · · · A.· · Yes.                                        13·   · · · A.· · I have not attempted.
14·   · · · Q.· · Do you know what it was?                    14·   · · · Q.· · Do you still walk the dogs?
15·   · · · A.· · I know -- she said if it got really bad,    15·   · · · A.· · No.
16·   ·she prescribed me OxyContin, and I believe the         16·   · · · Q.· · You don't walk them at all?
17·   ·first one was just like a Codeine type pill.           17·   · · · A.· · Nope.
18·   · · · MR. TERRY:· Norco?                                18·   · · · Q.· · What kind of dogs do you have?
19·   ·BY THE WITNESS:                                        19·   · · · A.· · Maltese Shih Tzu.
20·   · · · A.· · Yes, like Norco.                            20·   · · · Q.· · How big are those?
21·   ·BY MR. SULLIVAN:                                       21·   · · · A.· · The biggest one is probably six pounds.
22·   · · · Q.· · And did you ever take OxyContin?            22·   · · · Q.· · They don't walk far, do they?
23·   · · · A.· · Occasionally I would take it.               23·   · · · A.· · No, they do not.
24·   · · · Q.· · When was the last time you did and for      24·   · · · Q.· · What does your wife do?

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                                                   Page 137                                                      Page 139
·1·   · · · A.· · She's an interior design and she's a        ·1·   · · · A.· · Yes.
·2·   ·teacher at JJC.                                        ·2·   · · · Q.· · And weren't social friends with anyone
·3·   · · · Q.· · Joliet Junior college?                      ·3·   ·on the site anyway?
·4·   · · · A.· · Joliet Junior College.                      ·4·   · · · A.· · No.
·5·   · · · Q.· · When you were on this project at the        ·5·   · · · Q.· · You wouldn't hang out with Lonnie after
·6·   ·Mendota site, what was your average work per week?     ·6·   ·work or anything?
·7·   · · · A.· · Take home or gross?                         ·7·   · · · A.· · No.
·8·   · · · Q.· · No, how many hours?                         ·8·   · · · Q.· · Or the other guy, Leo?
·9·   · · · A.· · Oh, probably 65.                            ·9·   · · · A.· · No.
10·   · · · Q.· · It averaged more than 40 per week?          10·   · · · MR. SULLIVAN:· I think that's all I have. I
11·   · · · A.· · Oh, definitely.                             11·   ·will look over my notes here, if Charlie has any
12·   · · · Q.· · Now, these projects once they were done,    12·   ·questions.
13·   ·then your union would have to assign you a new         13·   · · · MR. TERRY:· I definitely have some questions.
14·   ·assignment, essentially?                               14·   ·I will take a quick break, two minutes, and we will
15·   · · · A.· · Right.                                      15·   ·finish up.
16·   · · · Q.· · And were there periods of time when you     16·   · · · · · ·MR. SULLIVAN:· That sounds good.
17·   ·had a lapse in the work because there wasn't an        17·   · · · · · · · CROSS EXAMINATION
18·   ·assignment available?                                  18·   ·BY MR. TERRY:
19·   · · · A.· · Yes.                                        19·   · · · Q.· · Back on the record.
20·   · · · Q.· · And in the course of your career, do you    20·   · · · · · · I just want to follow up on a few things
21·   ·know how much time you would have a lapse like         21·   ·with you.· I will bounce around a little bit, but
22·   ·that?                                                  22·   ·just bear with me and we should get you out of here
23·   · · · A.· · Maybe two months a year at tops.            23·   ·shortly.
24·   ·Usually January and February.                          24·   · · · · · · You were asked questions about the CIA,
                                                   Page 138                                                      Page 140
·1·   · · · Q.· · And, of course, when you had a lapse        ·1·   ·the Construction Incident Analysis.· Just to be
·2·   ·like that, you would not be earning any salary         ·2·   ·clear, on the CIA lists the site where you were
·3·   ·during that time, correct?                             ·3·   ·injured as T-1.· You believe it's a typo and you
·4·   · · · A.· · Right.                                      ·4·   ·believe the area where you fell is to be T-11, is
·5·   · · · Q.· · And union workers is always hourly work,    ·5·   ·that correct?
·6·   ·right?                                                 ·6·   · · · A.· · That is correct.
·7·   · · · A.· · Right.                                      ·7·   · · · Q.· · And how do you know this?· Just because
·8·   · · · Q.· · You don't have any friends that work at     ·8·   ·you know the timeline of where you were and also --
·9·   ·Mortenson, do you?                                     ·9·   ·like how do you know that you were at T-11 and not
10·   · · · A.· · No.                                         10·   ·T-1?
11·   · · · Q.· · Do you consider yourself friends with       11·   · · · A.· · Because I know where T-1 is and I know
12·   ·any the Local 444 members that you used to work        12·   ·where T-11 is.
13·   ·with?                                                  13·   · · · Q.· · That's from looking at the site map, you
14·   · · · A.· · I considered myself friends.· I don't       14·   ·could see on the site map you were at T-11 and not
15·   ·see them very often.                                   15·   ·T-1?
16·   · · · Q.· · Who do you see on a social basis?           16·   · · · A.· · Correct.
17·   · · · A.· · On a social basis, really nobody.           17·   · · · Q.· · And then the photograph on the first
18·   · · · Q.· · You were --                                 18·   ·page of that, you were asked some questions
19·   · · · MR. TERRY:· Just so we can be clear, in           19·   ·generally about whether or not kind of all the
20·   ·general or from this site specifically?                20·   ·sites looked the same.· To your knowledge, were
21·   · · · MR. SULLIVAN:· In general from the union?         21·   ·there multiple sites like a big sheet of ice like
22·   · · · MR. TERRY:· Okay.                                 22·   ·this?
23·   ·BY MR. SULLIVAN:                                       23·   · · · A.· · No.
24·   · · · Q.· · Is that how you answered that?              24·   · · · Q.· · To the best of your knowledge, this

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·1·   ·picture on CIA is showing the area where you fell?     ·1·   · · · Q.· · There is always something more you could
·2·   · · · A.· · Correct.                                    ·2·   ·do, but nothing else was required.· You were doing
·3·   · · · Q.· · And you could see in the background by      ·3·   ·everything that was required of you?
·4·   ·the -- I believe you called that the generator         ·4·   · · · A.· · Yes.
·5·   ·piece, is that correct?                                ·5·   · · · Q.· · If you go down to the next bullet point
·6·   · · · A.· · Yes.                                        ·6·   ·that was not read.· It was confirmed that the team
·7·   · · · Q.· · And by the generator piece, as well as      ·7·   ·member was not running/rushing; rather casually
·8·   ·by the mid section on the right there's some           ·8·   ·walking.· Did I read that correctly?
·9·   ·remnants of the snow that was covering the snow and    ·9·   · · · A.· · Yes.
10·   ·ice?                                                   10·   · · · Q.· · And the reason I am bringing that it up
11·   · · · A.· · Yes.                                        11·   ·is because you were asked questions about whether
12·   · · · Q.· · And it is also roped off and it looks       12·   ·or not you were rushing because you were late.
13·   ·like orange stanchions, so to speak, and kind of       13·   ·First of all, were you late or were working the
14·   ·spray painted off, is that correct?                    14·   ·whole morning?
15·   · · · A.· · Yes.                                        15·   · · · A.· · I was working the whole morning.
16·   · · · Q.· · Were any of those conditions or warning     16·   · · · Q.· · Just because of your job
17·   ·signs there prior to your fall?                        17·   ·responsibilities, you got to the job site later
18·   · · · A.· · No, not at all.                             18·   ·than 7:00?
19·   · · · Q.· · Had those warning signs been there prior    19·   · · · A.· · Right.
20·   ·to your fall, you would have avoided it, correct?      20·   · · · Q.· · That doesn't' mean you were late, does
21·   · · · A.· · Correct.                                    21·   ·it?
22·   · · · Q.· · And had the snow not been covering the      22·   · · · A.· · No.
23·   ·ice, you would have avoided it, is that correct?       23·   · · · Q.· · And when you look at this incident
24·   · · · A.· · Correct.                                    24·   ·analysis, it actually says that you were not
                                                   Page 142                                                      Page 144
·1·   · · · Q.· · It's fair to say, the photograph does       ·1·   ·running or rushing, that you were casually walking,
·2·   ·accurately depict the scene where you fell, minus      ·2·   ·is that correct?
·3·   ·the snow which was previously covering the ice         ·3·   · · · A.· · That's correct.
·4·   ·before it had melted?                                  ·4·   · · · Q.· · To your knowledge, were you following
·5·   · · · A.· · Yes.                                        ·5·   ·all the necessary safety precautions?
·6·   · · · Q.· · You were asked questions about the          ·6·   · · · A.· · Yes.
·7·   ·factors of cleats that were -- you were asked          ·7·   · · · Q.· · Do you believe anything that you did
·8·   ·questions about cleats on the outside.· At any         ·8·   ·contributed to this accident?
·9·   ·time, were you required to wear ice cleats on this     ·9·   · · · A.· · No.
10·   ·job?                                                   10·   · · · Q.· · Is it fair to say that you fell because
11·   · · · A.· · No.                                         11·   ·a large sheet of ice was covered by snow and you
12·   · · · Q.· · You were following all necessary safety     12·   ·encountered that because you did not know that due
13·   ·precautions, is that correct?                          13·   ·to the snow covering?
14·   · · · A.· · That is correct.                            14·   · · · A.· · That's correct.
15·   · · · Q.· · If we go Page 2 of CIA under proper PPE,    15·   · · · Q.· · And this ice formed in a depressed area,
16·   ·I will read it, and I want to make sure that I read    16·   ·is that correct?
17·   ·it correctly.· When proper PPE:· Team member had       17·   · · · A.· · Yes.
18·   ·all the required PPE for site policies.· Did I read    18·   · · · Q.· · The depressed area which had it been
19·   ·that correctly?                                        19·   ·graded, the water wouldn't have pooled there, is
20·   · · · A.· · Yes.                                        20·   ·that correct?
21·   · · · Q.· · Was that your understanding you had all     21·   · · · A.· · Yes.
22·   ·the proper PPE or personal protective equipment as     22·   · · · Q.· · If we look up at the top of this page,
23·   ·required on this job site?                             23·   ·this still Page 2 on the CIA, I will read it and I
24·   · · · A.· · That is correct.                            24·   ·will ask if I read it correctly.· It says, Site had

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·1·   ·been previously addressed with a bulldozer to          ·1·   ·the erection area to your accident?
·2·   ·mitigate walking/working hazards, however the ice      ·2·   · · · A.· · From the base probably about 30 feet.
·3·   ·accumulation had occurred too close to the WTG         ·3·   · · · Q.· · Okay.· So, it's fair to say that this is
·4·   ·section for the dozer to operate safely, leaving       ·4·   ·kind of like a hybrid of an erection area and a
·5·   ·the ice unaddressed.· Did I read that correctly?       ·5·   ·laydown area?
·6·   · · · A.· · Yes.                                        ·6·   · · · A.· · Yes.
·7·   · · · Q.· · Is it fair to say that on a job site        ·7·   · · · Q.· · All right.· You were asked questions
·8·   ·like this, there are various pieces of equipment       ·8·   ·about whether or not this area was previously
·9·   ·ranging in size from small to large?                   ·9·   ·graded prior to the delivery of the various
10·   · · · A.· · Typically, yes.                             10·   ·components that needed to be installed.· I believe
11·   · · · Q.· · And then while a bulldozer might not        11·   ·you testified that you believe that on all of the
12·   ·have been able to mitigate the condition, is it        12·   ·sites they were at least addressed in some regard
13·   ·safe to say that a bobcat or skid steer could have?    13·   ·to make it safe for delivery, correct?
14·   · · · A.· · Definitely.                                 14·   · · · A.· · Correct.
15·   · · · Q.· · Or even people going around with shovels    15·   · · · Q.· · After Borneke addressed the various
16·   ·if they needed to?                                     16·   ·sites, did they leave the project or do they
17·   · · · A.· · If you had to, yes.                         17·   ·maintain a site presence on a daily basis?
18·   · · · Q.· · So, there were other ways to do it, just    18·   · · · A.· · No, they were onsite the whole time
19·   ·a bulldozer couldn't address it?                       19·   ·going from location to location.
20·   · · · A.· · Yes.                                        20·   · · · Q.· · It's fair to say, Borneke and their
21·   · · · Q.· · And the people who were operating the       21·   ·employees were onsite on a daily basis going from
22·   ·bulldozer, those were all Borneke employees,           22·   ·site to site and doing various tasks on the job
23·   ·correct?                                               23·   ·site as a whole?
24·   · · · A.· · Yes.                                        24·   · · · A.· · Yes.
                                                   Page 146                                                      Page 148
·1·   · · · Q.· · And it was Borneke's job to grade and       ·1·   · · · Q.· · And while they might not have been at
·2·   ·maintain the roadway and the ground on this            ·2·   ·T-11 specifically on this day, they were on the job
·3·   ·project?                                               ·3·   ·site this day?
·4·   · · · A.· · Correct.                                    ·4·   · · · A.· · Yes.
·5·   · · · Q.· · Had Borneke had chosen to use a skid        ·5·   · · · Q.· · And prior to this day?
·6·   ·steer or bobcat that could have been done, it just     ·6·   · · · A.· · Yeah.
·7·   ·wasn't it?                                             ·7·   · · · Q.· · And the CIA says that this was an area
·8·   · · · A.· · Yes.                                        ·8·   ·which a bulldozer could not have -- that had been
·9·   · · · Q.· · And had they done that and had they         ·9·   ·previously addressed.· You would agree, Borneke was
10·   ·addressed this area, is it your belief that the        10·   ·the company that previously addressed this fourth
11·   ·water wouldn't have pooled because there wouldn't      11·   ·delivery, correct?
12·   ·have been a depressed area?                            12·   · · · A.· · Yes.
13·   · · · A.· · That is correct.                            13·   · · · Q.· · After the delivery of the various
14·   · · · Q.· · If there wasn't a depress area and no       14·   ·components, this became too tight for the bulldozer
15·   ·water pooling, the water wouldn't have frozen and      15·   ·to get back in there?
16·   ·you wouldn't have fallen, correct?                     16·   · · · A.· · Right.
17·   · · · A.· · Yep.                                        17·   · · · Q.· · Again, if Borneke chosen a smaller piece
18·   · · · Q.· · You were asked questions of what type of    18·   ·of equipment they could use that to address it?
19·   ·area you would describe where your accident            19·   · · · A.· · Right.
20·   ·occurred.· Is it fair to say that this was close to    20·   · · · Q.· · I am not going to ask you about
21·   ·the erection site where the windmills were actually    21·   ·contractural obligations because -- I don't mean
22·   ·going to be built?                                     22·   ·any disrespect to you, you were not the project
23·   · · · A.· · Yes.                                        23·   ·manager on this job site, were you?
24·   · · · Q.· · Approximately, how far from the base was    24·   · · · A.· · No.

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                                                   Page 149                                                      Page 151
·1·   · · · Q.· · And you never read the contract between     ·1·   ·and we usually stay within our own unions and not
·2·   ·Borneke and Mortenson?                                 ·2·   ·do outside work.
·3·   · · · A.· · No.                                         ·3·   · · · Q.· · Exactly.· Union sites, each various
·4·   · · · Q.· · I will ask you some questions based on      ·4·   ·union has their own tasks, correct?
·5·   ·your observation in your 20 years experience in the    ·5·   · · · A.· · Yes.
·6·   ·construction industry, is that fair?                   ·6·   · · · Q.· · The ironworkers do the ironwork,
·7·   · · · A.· · Yes.                                        ·7·   ·correct?
·8·   · · · Q.· · Is it your understanding, based on your     ·8·   · · · A.· · Correct.
·9·   ·observations of the work being performed, that         ·9·   · · · Q.· · And the excavators do the excavating
10·   ·Borneke was the excavation company on this job         10·   ·work?
11·   ·site?                                                  11·   · · · A.· · Correct.
12·   · · · A.· · Yes.                                        12·   · · · Q.· · And the operators do the operating?
13·   · · · Q.· · And part of their responsibilities,         13·   · · · A.· · And the teamsters drive the trucks.
14·   ·including building, grading and maintaining            14·   · · · Q.· · Exactly.· On this site, the excavating
15·   ·temporary access roads?                                15·   ·company was Borneke?
16·   · · · A.· · Yes.                                        16·   · · · A.· · Correct.
17·   · · · MR. SULLIVAN:· Object to foundation.              17·   · · · Q.· · While on the job site, it's fair to say
18·   ·BY MR. TERRY:                                          18·   ·from time to time you saw Borneke performing tasks
19·   · · · Q.· · When I ask you these questions, is it       19·   ·such as grading, blading, b-l-a-d-i-n-g,
20·   ·fair to say, that you saw Borneke doing these          20·   ·maintaining the various ground conditions of the
21·   ·various tests from time to time?                       21·   ·roadways?
22·   · · · A.· · Yes.                                        22·   · · · A.· · Yes.
23·   · · · Q.· · You saw Borneke erecting and maintaining    23·   · · · Q.· · They would create and maintain crane
24·   ·access roads?                                          24·   ·pads as you saw them doing?
                                                   Page 150                                                      Page 152
·1·   · · · A.· · Yes.                                        ·1·   · · · A.· · Yes.
·2·   · · · Q.· · And you saw them erecting and               ·2·   · · · Q.· · And they would create and maintain
·3·   ·maintaining various erection areas and delivery        ·3·   ·laydown areas?
·4·   ·locations?                                             ·4·   · · · A.· · Yes.
·5·   · · · A.· · Right.                                      ·5·   · · · Q.· · Same thing with erection areas?
·6·   · · · Q.· · So, it's fair to say that based on your     ·6·   · · · A.· · Yes.
·7·   ·observations, you understand that Borneke was, in      ·7·   · · · Q.· · From time to time on this job site, is
·8·   ·fact, maintaining and erecting or constructing         ·8·   ·it fair to say that there was a known condition of
·9·   ·access roads, laydown areas and stuff like that?       ·9·   ·poor road conditions or ground conditions as a
10·   · · · A.· · Yes.                                        10·   ·whole?
11·   · · · Q.· · Based on your observation on this           11·   · · · A.· · Yes.
12·   ·project, was it Mortenson's responsibility or was      12·   · · · Q.· · Is it safe to say from time to time,
13·   ·Borneke's responsibility to grade and maintain the     13·   ·semi-trucks would get stuck and the cranes would
14·   ·roadways and ground conditions?                        14·   ·get stuck and have to be pulled out by tractors or
15·   · · · MR. SULLIVAN:· Objection to foundation and        15·   ·bulldozers?
16·   ·speculation.                                           16·   · · · A.· · Yes.
17·   ·BY MR. TERRY:                                          17·   · · · Q.· · And that was a known problem on the job?
18·   · · · Q.· · Let me re-ask it.· Based on your            18·   · · · A.· · Yes.
19·   ·observations, who was the company that you saw         19·   · · · MR. TERRY:· Then you were asked questions
20·   ·performing grading and maintaining of roadways and     20·   ·about whether or not there were cranes that sink on
21·   ·ground conditions?                                     21·   ·the job site.· And then, Chris, just for the
22·   · · · A.· · I would say Borneke just because            22·   ·record, I am showing him a photograph that I
23·   ·Mortenson's employees would not be allowed to drive    23·   ·provided to you earlier.· I will hold it up real
24·   ·bulldozers because those are pretty much operators     24·   ·quick.· It's just the second page of the document

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·1·   ·that I sent you with the blue, I believe.· I want      ·1·   ·Speculation.
·2·   ·to show you this.· We will mark the five               ·2·   ·BY THE WITNESS:
·3·   ·photographs that I sent to opposing counsel as         ·3·   · · · A.· · Yes.
·4·   ·Exhibit 2 to your deposition.                          ·4·   ·BY MR. TERRY:
·5·   · · · · · · · · (WHEREUPON, a certain document was      ·5·   · · · Q.· · If there's a depressed area on a job
·6·   · · · · · · · · ·marked Georgeff Deposition Exhibit     ·6·   ·site, can that lead to an unsafe pooling of water?
·7·   · · · · · · · · ·No. 2, for identification, as of       ·7·   · · · A.· · Very much so.
·8·   · · · · · · · · ·1/4/22.)                               ·8·   · · · Q.· · And in your 20-plus years of experience
·9·   ·BY MR. TERRY:                                          ·9·   ·on the job site, is it safe to say that the
10·   · · · Q.· · The blue truck, I believe is the second     10·   ·excavation company on the job site do their best to
11·   ·page of the photographs.· Is that one of the cranes    11·   ·maintain and grade roadways so that drainage occurs
12·   ·that were used to offload some of the equipment?       12·   ·away from where people are working?
13·   · · · A.· · Yes.                                        13·   · · · A.· · For the most part, yes.
14·   · · · Q.· · As you could see in this photograph, the    14·   · · · Q.· · It's safe to say that on certain areas
15·   ·back tires of the crane are about halfway into the     15·   ·of the job site, there's actually designated areas
16·   ·ground, is that correct?                               16·   ·for drainage and pooling of water?
17·   · · · A.· · Yes.                                        17·   · · · A.· · Yes.
18·   · · · Q.· · When you look at the guy standing by the    18·   · · · Q.· · And that's not where people are working,
19·   ·truck, is it safe to say that it looks like the        19·   ·is that correct?
20·   ·ruts are so deep they're almost waist deep in them?    20·   · · · A.· · That's correct.
21·   · · · A.· · Yes.                                        21·   · · · Q.· · And if it pools where people are
22·   · · · Q.· · Again, it's a known condition that          22·   ·working, it can freeze and cause unsafe conditions?
23·   ·Borneke was addressing on the job site?                23·   · · · A.· · Correct.
24·   · · · A.· · Yeah.                                       24·   · · · Q.· · It can cause an unsafe condition even if
                                                   Page 154                                                      Page 156
·1·   · · · Q.· · Although the CIA said this area could       ·1·   ·it doesn't freeze?
·2·   ·not have been addressed with a bulldozer again.        ·2·   · · · A.· · Right.
·3·   ·You agree that a smaller piece of equipment, like      ·3·   · · · Q.· · And that's why you typically drain away
·4·   ·we discussed, could have been used, correct?           ·4·   ·from where people are working?
·5·   · · · A.· · Yes.                                        ·5·   · · · A.· · That's correct.
·6·   · · · MR. SULLIVAN:· Objection.· Foundation.            ·6·   · · · Q.· · And had this area been regraded with a
·7·   ·Speculation?                                           ·7·   ·piece of equipment, and even manpower, is it your
·8·   ·BY MR. TERRY:                                          ·8·   ·opinion there would have been no depressed area for
·9·   · · · Q.· · In your experience, or you've been on       ·9·   ·the water to pool?
10·   ·various jobs sites for 20-plus years, correct?         10·   · · · A.· · That is correct.
11·   · · · A.· · Yes.                                        11·   · · · Q.· · And if there is no depressed areas for
12·   · · · Q.· · In these 20-plus years, have you seen       12·   ·the water to pool and freeze, your accident could
13·   ·various pieces of equipment being used from large,     13·   ·have potentially been avoided, correct?
14·   ·medium, small and all of the above?                    14·   · · · A.· · Yes.
15·   · · · A.· · Yes.                                        15·   · · · Q.· · You would agree that large ruts or
16·   · · · Q.· · Based on your 20-plus years in the          16·   ·depressed areas on the job site are unsafe?
17·   ·construction industry, it's your understanding that    17·   · · · A.· · Yes.
18·   ·a bobcat or skid steer or something similar, could     18·   · · · Q.· · And this would be on any job site?
19·   ·have been used to address this area?                   19·   · · · A.· · Correct.
20·   · · · A.· · Yes.                                        20·   · · · Q.· · And the ruts that you saw on this job
21·   · · · Q.· · And is it your opinion this area should     21·   ·site and the depressed areas, obviously are unsafe
22·   ·have been addressed?                                   22·   ·because you were injured, correct?
23·   · · · A.· · Yes.                                        23·   · · · A.· · Yes.
24·   · · · MR. SULLIVAN:· Objection.· Foundation.            24·   · · · Q.· · Is it safe to say that not only did

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·1·   ·Borneke do their excavation and grading work at the    ·1·   ·things such as grading, maintaining, blading and
·2·   ·beginning of the project, they continued doing this    ·2·   ·things of that nature?
·3·   ·at various sites throughout the duration of the        ·3·   · · · A.· · Yes.
·4·   ·project?                                               ·4·   · · · Q.· · Was there anything you could have done
·5·   · · · A.· · Yes.                                        ·5·   ·to avoid this accident?
·6·   · · · Q.· · You saw them doing this?                    ·6·   · · · A.· · No.
·7·   · · · A.· · Yes.                                        ·7·   · · · Q.· · Again, I think I asked you this.· I am
·8·   · · · Q.· · Again, there's just certain areas like      ·8·   ·just going through my outline.· I do not mean to
·9·   ·we saw in the photograph of the blue crane or in       ·9·   ·re-ask it.· The ice was covered by a layer of snow?
10·   ·the area you were injured which the grading wasn't     10·   · · · A.· · Yes.
11·   ·properly done or redone?                               11·   · · · Q.· · And you were unable to see this prior to
12·   · · · A.· · That's correct.                             12·   ·your fall?
13·   · · · Q.· · And these are conditions that could have    13·   · · · A.· · Yes.
14·   ·been avoided had Borneke properly graded or            14·   · · · Q.· · You were asked questions where you were
15·   ·maintained the property?                               15·   ·looking prior to your fall.· Is it safe to say that
16·   · · · A.· · Yes.                                        16·   ·you were looking out in front of you as one would
17·   · · · Q.· · Did you ever overhear any conversations     17·   ·as they are walking?
18·   ·that you were asked about -- I don't mean to re-ask    18·   · · · A.· · Yes.
19·   ·it, but did you hear about any conversations about     19·   · · · Q.· · Is it also fair to say that when you're
20·   ·people complaining about the ruts and the ground       20·   ·walking, it's not common to look at your toes, you
21·   ·conditions on the job site?                            21·   ·have to keep a safe lookout in front of you?
22·   · · · A.· · Yes, I had overheard people complaining,    22·   · · · A.· · That's correct.
23·   ·but I don't know what was done about it.               23·   · · · Q.· · And that's what you were doing prior to
24·   · · · Q.· · Is it safe to say, you heard people         24·   ·falling, correct?
                                                   Page 158                                                      Page 160
·1·   ·complain about the ruts and the ground conditions      ·1·   · · · A.· · Yes.
·2·   ·as a whole, you just don't know what was done about    ·2·   · · · Q.· · And had the ice not been covered by
·3·   ·it?                                                    ·3·   ·snow, because you were looking ahead of you, you
·4·   · · · A.· · Right.                                      ·4·   ·would have seen it?
·5·   · · · Q.· · And these complaints were about             ·5·   · · · A.· · Correct.
·6·   ·Borneke's work and the lack of proper grading and      ·6·   · · · Q.· · But it was covered by snow and that's
·7·   ·maintaining of the roadway, is that correct?           ·7·   ·why you didn't?
·8·   · · · A.· · Yes.                                        ·8·   · · · A.· · Yes.
·9·   · · · Q.· · I believe you also said when you were       ·9·   · · · Q.· · You were asked questions about whether
10·   ·asked, did you complain you said, I think everybody    10·   ·or not you were provided salt to melt the ice on
11·   ·complained.· I just want to follow up on that.· Is     11·   ·prior projects, do you remember those questions?
12·   ·it safe to say you also did complain?                  12·   · · · A.· · Yes.
13·   · · · A.· · Yes.                                        13·   · · · Q.· · And you answered no, is that correct?
14·   · · · Q.· · And, again, not asking for a contractual    14·   · · · A.· · That's correct.
15·   ·interpretation, is it safe to say that Mortenson       15·   · · · Q.· · Is it that because on prior projects the
16·   ·was hired to erect the -- Mortenson was the general    16·   ·excavation company properly did their jobs to avoid
17·   ·contractor.· Their job was to erect the windmills,     17·   ·pooling and freezing of water?
18·   ·correct?                                               18·   · · · A.· · Yes.
19·   · · · A.· · Yes.                                        19·   · · · Q.· · You were asked questions about whether
20·   · · · Q.· · Borneke's job was to grade and maintain     20·   ·or not you talked to the union hall about
21·   ·and excavate, correct?                                 21·   ·light-duty work.· You've been an ironworker for 20
22·   · · · A.· · Correct.                                    22·   ·years, is that correct?
23·   · · · Q.· · It's safe to say that Mortenson             23·   · · · A.· · That's correct.
24·   ·employees, like yourself, relayed on Borneke for       24·   · · · Q.· · At times you need to carry over 100

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·1·   ·pounds?                                                ·1·   ·understanding of what excavating companies do on
·2·   · · · A.· · Yes.                                        ·2·   ·their various jobs sites?
·3·   · · · Q.· · You need to climb up and down things and    ·3·   · · · A.· · Yes.
·4·   ·walk on beams, a whole plethora of                     ·4·   · · · Q.· · In providing certain discussions and
·5·   ·heavy-duty tasks?                                      ·5·   ·testimony today, you are relying on the 20-plus
·6·   · · · A.· · Yes.                                        ·6·   ·years in the construction industry, is that
·7·   · · · Q.· · Without getting into too many specifics,    ·7·   ·correct?
·8·   ·because it is in the records, do you remember          ·8·   · · · A.· · That is correct.
·9·   ·Dr. Brockman restricting you from lifting more than    ·9·   · · · Q.· · You were asked questions about your
10·   ·50 pounds?                                             10·   ·injuries.· I just want to follow up on a few
11·   · · · A.· · Yes.                                        11·   ·things.· Is it safe to say that from looking at the
12·   · · · Q.· · Do you remember her restricting you from    12·   ·pictures and your ankle hanging off to the side,
13·   ·lifting more than 40 pounds repetitively?              13·   ·you immediately knew you were injured after you
14·   · · · A.· · Yes.                                        14·   ·fell?
15·   · · · Q.· · Do you remember her restricting you for     15·   · · · A.· · Absolutely.
16·   ·standing for more than three to four hours at a        16·   · · · Q.· · Were you in pain?
17·   ·time?                                                  17·   · · · A.· · I was in tremendous pain.
18·   · · · A.· · Yes.                                        18·   · · · Q.· · Can you describe the pain?· If you can't
19·   · · · Q.· · I will ask you in your general              19·   ·give us a numeric scale, can you relate it to other
20·   ·construction knowledge, can you ironwork with those    20·   ·things in your life?· Was it medium?· Was it worse?
21·   ·restrictions?                                          21·   ·Was it mild?
22·   · · · A.· · No.                                         22·   · · · A.· · It's hard to describe.· It was a
23·   · · · Q.· · Can you even be like a foreman and walk     23·   ·constant poke of pain.
24·   ·on unsafe ground conditions?                           24·   · · · Q.· · And your ankle was visibly displaced,
                                                   Page 162                                                      Page 164
·1·   · · · A.· · No.                                         ·1·   ·correct?
·2·   · · · Q.· · When you go on a job site, if you lie       ·2·   · · · A.· · Yes, it is.
·3·   ·about your restrictions or your abilities, are you     ·3·   · · · Q.· · And, then, is it safe to say that after
·4·   ·not only putting yourself at risk but possibly         ·4·   ·you fell and you were lying on the ground, at some
·5·   ·other workers?                                         ·5·   ·point the site paramedic stabilized your ankle?
·6·   · · · A.· · That is correct.                            ·6·   · · · A.· · Yes.
·7·   · · · Q.· · And this is because if you are walking      ·7·   · · · Q.· · And, then, at some point your co-workers
·8·   ·with a piece of equipment or walking above             ·8·   ·put you in the back of the pickup truck to take you
·9·   ·somebody, you could lose your balance, fall, drop      ·9·   ·to the ambulance?
10·   ·something, a whole plethora of things that you can     10·   · · · A.· · That's correct.
11·   ·hurt yourself or others?                               11·   · · · Q.· · It's safe to say that the road
12·   · · · A.· · Yes.                                        12·   ·conditions were so bad that the ambulance could not
13·   · · · Q.· · And that's because you can't work as an     13·   ·even traverse them?
14·   ·ironworker with these restrictions?                    14·   · · · A.· · That is true.
15·   · · · A.· · Yes.                                        15·   · · · Q.· · And just to generally summarize your
16·   · · · Q.· · You were asked questions about whether      16·   ·treatment, you went to the hospital and you were
17·   ·or not you're an expert in the excavation field.       17·   ·diagnosed with a fracture.· While you were there
18·   ·It's safe to say your area of expertise is             18·   ·initially they reset your ankle, stabilized it and
19·   ·ironwork, correct?                                     19·   ·discharged you, correct?
20·   · · · A.· · That's correct.                             20·   · · · A.· · That is correct.
21·   · · · Q.· · You know a million times more about that    21·   · · · Q.· · At some point, you had an open-reduction
22·   ·than I will ever know.· Is it safe to say that         22·   ·surgery to what was supposed to be a permanent
23·   ·while working in the ironwork field for the past 20    23·   ·stabilization?
24·   ·years, you've gotten a general sense and               24·   · · · A.· · Yes.

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·1·   · · · Q.· · And that was performed by Dr. Brockman?     ·1·   · · · A.· · Yes.
·2·   · · · A.· · Yes.                                        ·2·   · · · Q.· · Then you were asked questions about the
·3·   · · · Q.· · Can you walk us through the pain and the    ·3·   ·physical therapist placing restrictions on you and
·4·   ·recovery that you had to undergo, especially with      ·4·   ·conversations you had with them.· Is it safe to
·5·   ·like being non-weight bearing and things like that?    ·5·   ·say, these physical therapists provided you with
·6·   · · · A.· · Recovering was tough.· I couldn't do        ·6·   ·these restrictions, these weren't just
·7·   ·anything.· I couldn't drive since it was my right      ·7·   ·conversations over coffee, so to speak?· These were
·8·   ·ankle.· Luckily my daughter just got her permit, or    ·8·   ·given after you underwent a functional capacity
·9·   ·else I wouldn't have been able to get around.· From    ·9·   ·assessment?
10·   ·the pain, I started smoking more because of the        10·   · · · A.· · Correct.
11·   ·pain, it was just kind of comforting.                  11·   · · · Q.· · And the whole point of that is to see
12·   · · · Q.· · So, it's safe to say after the surgery,     12·   ·what you can or can't do, whether or not you could
13·   ·you were -- your ankle was immobilized and you         13·   ·do ironwork, correct?
14·   ·relied on other people in your family for tasks,       14·   · · · A.· · Yes.
15·   ·such as driving or just helping with daily             15·   · · · Q.· · And the records speak for themselves.
16·   ·activities?                                            16·   ·But is it safe to say that when you underwent the
17·   · · · A.· · Absolutely.                                 17·   ·physical therapy, I believe his name was Paul
18·   · · · Q.· · And, then, you were asked questions         18·   ·Sullivan with Athletico, he let you know and he
19·   ·about undergoing physical therapy, is that correct?    19·   ·wrote in his report, you were at an increased risk
20·   · · · A.· · Yes.                                        20·   ·for injuries returning to your old profession?
21·   · · · Q.· · And you completed the whole round of        21·   · · · A.· · Yes.
22·   ·physical therapy?                                      22·   · · · Q.· · He also said that you only met 61.54
23·   · · · A.· · Yes.                                        23·   ·percent of your recorded job demands as an
24·   · · · Q.· · And, then, Dr. Brockman recommended to      24·   ·ironworker, is that correct?
                                                   Page 166                                                      Page 168
·1·   ·remove the syndesmosis screw that went across your     ·1·   · · · A.· · Yes.
·2·   ·ankle because she thought it was limiting your         ·2·   · · · Q.· · Those weren't just random conversations
·3·   ·ankle motion, correct?                                 ·3·   ·you were having with physical therapists and
·4·   · · · A.· · Correct.                                    ·4·   ·physical therapist assistants, these are actual
·5·   · · · Q.· · Would you have gotten the surgery that      ·5·   ·diagnoses provided to you by your doctor and your
·6·   ·your doctor didn't recommend?                          ·6·   ·physical therapist?
·7·   · · · A.· · No.                                         ·7·   · · · A.· · Yes.
·8·   · · · Q.· · Because you were kind of asked questions    ·8·   · · · Q.· · With these restrictions it's safe to
·9·   ·about why you got the surgeries, the second and        ·9·   ·say, you got a job within these restrictions?
10·   ·third.· Is it fair to say, you got the surgeries       10·   · · · A.· · For the most part.
11·   ·because your doctor recommended that to you?           11·   · · · Q.· · And Home Depot accommodated these
12·   · · · A.· · Yes.                                        12·   ·restrictions?
13·   · · · Q.· · You got them in the hopes that it would     13·   · · · A.· · As best as they could, yes.
14·   ·fully help your recovery and return you to             14·   · · · Q.· · At risk of asking obvious questions that
15·   ·ironwork?                                              15·   ·we talked about, you make significantly less at
16·   · · · A.· · Correct.                                    16·   ·Home Depot than you did in ironwork?
17·   · · · Q.· · However, that didn't happen, did it?        17·   · · · A.· · That's correct.
18·   · · · A.· · No.                                         18·   · · · Q.· · Some years you made close to $100,000?
19·   · · · Q.· · And we talked about Dr. Brockman placed     19·   · · · A.· · Yes.
20·   ·permanent restrictions on you, correct?                20·   · · · Q.· · That doesn't include benefits, such as
21·   · · · A.· · Yes.                                        21·   ·pension, health, all of the additional fringe
22·   · · · Q.· · Those are the 50 pound to 40 pounds and     22·   ·benefits that ironworkers are entitled to?
23·   ·the no standing for no more than three to four         23·   · · · A.· · That is correct.· That's just take home
24·   ·hours?                                                 24·   ·on-the-job pay.

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·1·   · · · Q.· · Your actual lost wages, is it safe to       ·1·   · · · Q.· · Bear with me, I am checking on my notes.
·2·   ·say, Nick, that your actual lost income does not       ·2·   ·You were also questions, Nick, about the CIA on
·3·   ·only reflect your discrepancy in wages, but also       ·3·   ·Page 2, Hazard Identification, and whether or not
·4·   ·includes all of the lost benefits, such as your        ·4·   ·the Pre-Task Card listed ice as a potential hazard,
·5·   ·fringe benefits, your health care plan, your           ·5·   ·do you remember those questions?
·6·   ·pension and all of those things?                       ·6·   · · · A.· · Yes, I do.
·7·   · · · A.· · Yes.                                        ·7·   · · · Q.· · As you sit here today, you have no
·8·   · · · Q.· · Do you miss iron working, Nick?             ·8·   ·reason to dispute that the Pre-Task Card listed
·9·   · · · A.· · Definitely.                                 ·9·   ·these typical hazards, do you?
10·   · · · Q.· · Were you proud to be an ironworker?         10·   · · · A.· · No.
11·   · · · A.· · Yes, I was.                                 11·   · · · Q.· · You're just stating that there was a
12·   · · · Q.· · A lot of ironworkers they wear it on        12·   ·layer of snow covering the ice that you fell on,
13·   ·their sleeve, so to speak, clearly or figuratively     13·   ·correct?
14·   ·patches, and things like that.· Were you union         14·   · · · A.· · Yes.
15·   ·proud so to speak?                                     15·   · · · Q.· · You were taking all of the necessary
16·   · · · A.· · Yes.                                        16·   ·precautions, you just couldn't see it because of
17·   · · · Q.· · Without this injury, did you have any       17·   ·the snow?
18·   ·plans to leave the trade?                              18·   · · · A.· · Correct.
19·   · · · A.· · Not at all.                                 19·   · · · Q.· · As you sit here today, do you have some
20·   · · · Q.· · Did you plan on working as an               20·   ·pain in your ankle?
21·   ·ironworker until you retired?                          21·   · · · A.· · Constant.
22·   · · · A.· · Yes.                                        22·   · · · Q.· · Does it ever go away fully?
23·   · · · Q.· · Do you know of a forced age of              23·   · · · A.· · No.
24·   ·retirement in your field?                              24·   · · · Q.· · Is it safe to say, you have some good
                                                   Page 170                                                      Page 172
·1·   · · · A.· · No.                                         ·1·   ·days and bad days?
·2·   · · · Q.· · You could have worked for as long as        ·2·   · · · A.· · Yes.
·3·   ·your body allowed you to?                              ·3·   · · · Q.· · On your bad days, are those the days
·4·   · · · A.· · Correct.                                    ·4·   ·that you have those over-the-counter medications?
·5·   · · · Q.· · Is it safe to say this is not where you     ·5·   · · · A.· · Yes, or call off work.
·6·   ·saw your career headed?                                ·6·   · · · Q.· · Have you had to call off work because of
·7·   · · · A.· · Most definitely.                            ·7·   ·the pain?
·8·   · · · Q.· · Is it safe to say this has affected you     ·8·   · · · A.· · Yes, a couple of times.
·9·   ·not only on a financial basis, but also on a           ·9·   · · · Q.· · On your good days, does your pain ever
10·   ·personal and emotional basis?                          10·   ·fully go away or does it just get better?
11·   · · · A.· · That's correct.                             11·   · · · A.· · It just gets a little better.
12·   · · · Q.· · And you talked about certain things,        12·   · · · MR. TERRY:· Those are all of the follow-up
13·   ·about how it has affected your life, and you said      13·   ·questions I have.· Chris, I am sure you might have
14·   ·that you no longer go for hikes.· You haven't tried    14·   ·a few follow-ups.
15·   ·it.· It's safe to say, you've tried walking.· You      15·   · · · MR. SULLIVAN:· Yes.· Thank you.
16·   ·walk on a daily basis, correct?                        16·   · · · · · · REDIRECT EXAMINATION
17·   · · · A.· · Yes.                                        17·   ·BY MR. SULLIVAN:
18·   · · · Q.· · You just don't walk on uneven surfaces      18·   · · · Q.· · Mr. Georgeff, you're not aware of any
19·   ·that can cause you injury?                             19·   ·complaints about this grading in the area where the
20·   · · · A.· · That's correct.                             20·   ·ice was prior to your accident, are you?
21·   · · · Q.· · It's not that you don't walk at all, you    21·   · · · A.· · Not officially, no.
22·   ·clearly walk, it's just that you don't walk in         22·   · · · Q.· · You are not aware of any, right?
23·   ·areas where you don't think your ankle can hold up?    23·   · · · A.· · I just heard people complaining, but
24·   · · · A.· · Right.                                      24·   ·that's about it.

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·1·   · · · Q.· · And not about the area where you fell?      ·1·   ·grading at all?
·2·   · · · A.· · That specific area, no.                     ·2·   · · · A.· · No.
·3·   · · · Q.· · And you didn't make any specific            ·3·   · · · Q.· · And where did you see the skid steers
·4·   ·complaints yourself to Borneke at any time, did        ·4·   ·being used?
·5·   ·you?                                                   ·5·   · · · A.· · I want to say usually at one of the
·6·   · · · A.· · Not to Borneke, but other supervisors       ·6·   ·entrances.
·7·   ·who report to Borneke.                                 ·7·   · · · Q.· · Okay.· Did you see the skid steers being
·8·   · · · Q.· · What did you complain about?                ·8·   ·used in the laydown areas at all?
·9·   · · · A.· · Just the grading.                           ·9·   · · · A.· · Not that I can recall.
10·   · · · Q.· · Generally?                                  10·   · · · Q.· · And do you know who was operating the
11·   · · · A.· · Yeah.                                       11·   ·bobcat when you saw it?
12·   · · · Q.· · No specific area that you can recall?       12·   · · · A.· · Most likely Borneke.
13·   · · · A.· · No specific area because it was allover.    13·   · · · Q.· · You don't know for sure?
14·   ·It just wasn't one spot.                               14·   · · · A.· · Most likely it was them being the
15·   · · · Q.· · You never worked for a grading              15·   ·operator.
16·   ·contractor, have you?                                  16·   · · · Q.· · But you don't know specifically, true?
17·   · · · A.· · No.                                         17·   · · · A.· · No.
18·   · · · Q.· · You're not aware if anyone ever asked or    18·   · · · Q.· · Meaning that's true?
19·   ·anyone ever asked Borneke to regrade the area where    19·   · · · A.· · That's true.
20·   ·you fell prior to your accident, are you?              20·   · · · Q.· · You're not aware if Borneke ever failed
21·   · · · A.· · The area where I fell, no.                  21·   ·to regrade an area that Mortenson asked them to
22·   · · · Q.· · Is that correct?                            22·   ·redo, are you?
23·   · · · A.· · That's correct.                             23·   · · · A.· · I have no idea.
24·   · · · Q.· · Okay.                                       24·   · · · Q.· · Do you know if this area was ever graded
                                                   Page 174                                                      Page 176
·1·   · · · A.· · Other areas, yes, just not that specific    ·1·   ·after you fell?
·2·   ·one.                                                   ·2·   · · · A.· · After I fell, I have no clue.
·3·   · · · Q.· · Now, Borneke -- did you even see a skid     ·3·   · · · Q.· · You don't know if Mortenson even asked
·4·   ·steer anywhere on the premises?                        ·4·   ·this area where you fell to be regraded, do you?
·5·   · · · A.· · At some point there was.                    ·5·   · · · A.· · I have no idea.
·6·   · · · Q.· · What is a skid steer?                       ·6·   · · · Q.· · You never consulted with a grading
·7·   · · · A.· · It's a just smaller bulldozer with a        ·7·   ·expert, have you?
·8·   ·blade that runs across the bottom.                     ·8·   · · · A.· · No.
·9·   · · · Q.· · And do you know who was operating the       ·9·   · · · Q.· · Would it be common if you arrive late to
10·   ·skid steer?                                            10·   ·a job site that if one of your teammates had seen
11·   · · · A.· · I know it's Borneke.· It would be an        11·   ·an unsafe condition before you got there, that they
12·   ·operator from Borneke.                                 12·   ·would alert you to the unsafe condition?
13·   · · · Q.· · You would agree with me, you wouldn't be    13·   · · · A.· · Most likely.
14·   ·qualified to give any opinions about whether an        14·   · · · Q.· · Have you ever seen any of your team
15·   ·area could be graded or not by testimony, correct?     15·   ·members write anything on the Pre-Task Card that
16·   · · · MR. TERRY:· I'm going to object.· Withdrawn.      16·   ·they found when they got there for the other people
17·   ·You can answer.                                        17·   ·who maybe arrived later to watch out for?
18·   ·BY THE WITNESS:                                        18·   · · · A.· · Yeah, I am sure.
19·   · · · A.· · I know what is right and what's wrong,      19·   · · · Q.· · You didn't need anyone to tell you that
20·   ·but to answer your question, no.                       20·   ·there was snow on the ground, did you?· You could
21·   ·BY MR. SULLIVAN:                                       21·   ·see that?
22·   · · · Q.· · Did you see any bobcats?                    22·   · · · A.· · Correct.
23·   · · · A.· · Yes.                                        23·   · · · Q.· · Do you get any healthcare coverage
24·   · · · Q.· · And did you see them being used for         24·   ·through Home Depot?

                                                 U. S. LEGAL SUPPORT
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                                                            Page 177                                                              Page 179
                                                                       ·1· ·STATE OF ILLINOIS· ·)
·1·   · · · A.· · Yes, I do.
                                                                       ·2· · · · · · · · · · · ·)· SS:
·2·   · · · Q.· · Is there any pension available?
                                                                       ·3· ·COUNTY OF DU PAGE· ·)
·3·   · · · A.· · If I put into it, yes.
                                                                       ·4· · · · · · · I, CAROL RAYMOND, CSR No. 84-001077, a
·4·   · · · Q.· · Have you chose to put into it?
                                                                       ·5· ·Notary Public within and for the County of DuPage,
·5·   · · · A.· · Not right now at this time.
                                                                       ·6· ·State of Illinois, and a Certified Shorthand
·6·   · · · Q.· · You could choose to do that in the
                                                                       ·7· ·Reporter of said state, do hereby certify:
·7·   ·future if you wanted to, right?
                                                                       ·8· · · · · · · That previous to the commencement of the
·8·   · · · A.· · Correct.
                                                                       ·9· ·examination of the witness, the witness was duly
·9·   · · · MR. SULLIVAN:· That's all I have.· Thank you
                                                                       10· ·sworn to testify the whole truth concerning the
10·   ·for your time.
                                                                       11· ·matters herein;
11·   · · · MR. TERRY:· I don't have anything further.· We
                                                                       12· · · · · · · That the foregoing deposition transcript
12·   ·will waive signature.
                                                                       13· ·was reported stenographically by me, was thereafter
13·   · · · MR. SULLIVAN:· Thank you.· I appreciate your
                                                                       14· ·reduced to typewriting under my personal direction
14·   ·time.· Ms. Court reporter, I know it was difficult,
                                                                       15· ·and constitutes a true record of the testimony
15·   ·I will need to order, please.
                                                                       16· ·given and the proceedings had;
16·   · · · MR. TERRY:· Ms. Court Reporter, if he is
                                                                       17· · · · · · · That the said deposition was taken
17·   ·ordering the original, I will take a copy, e-tran,
                                                                       18· ·before me at the time and place specified;
18·   ·please.· Could you give me your e-mail address so I
                                                                       19· · · · · · · That I am not a relative or employee or
19·   ·could send you Exhibit No. 2.
                                                                       20· ·attorney or counsel, nor a relative or employee of
20·   · · · THE COURT REPORTER:· Are you sending me your
                                                                       21· ·such attorney or counsel for any of the parties
21·   ·exhibits?
                                                                       22· ·hereto, nor interested directly or indirectly in
22·   · · · MR. SULLIVAN:· I'm going to.· Yes, I will send
                                                                       23· ·the outcome of this action.
23·   ·you the exhibits.
                                                                       24· · · · · · · IN WITNESS WHEREOF, I do hereunto set my
24·   · · · MR. TERRY: He has one exhibit and I have one
                                                            Page 178                                                              Page 180
·1· ·also.                                                             ·1· ·hand of office at Chicago, Illinois, this 10th day

·2· · · · · · · · · (WHEREUPON, the deposition concluded               ·2· ·of January, 2022.

·3· · · · · · · · · ·at 5:03 p.m.)                                     ·3

·4                                                                     ·4

·5                                                                     ·5

·6                                                                     ·6

·7                                                                     ·7· · · · · · · Notary Public, Cook County, Illinois.

·8                                                                     ·8· · · · · · · My commission expires 6/9/2023.

·9                                                                     ·9

10                                                                     10· ·CAROL RAYMOND, CSR No. 84-001077

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·2· ·WITNESS· · · · · · · · · · · · · · · ·EXAMINATION

·3· · · NICK GEORGEFF

·4· ·By Mr. Sullivan· · · · · · · · · · · · 3, 172

·5· ·By Mr. Terry· · · · · · · · · · · · · ·139

·6· · · · · · · · ·E X H I B I T S

·7· ·NUMBER· · · · · · · · · · · · · · · · ·PAGE/LINE

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·9· ·Deposition Exhibit No. 2· · · · · · · · 153/5

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                                                                            Georgeff Group Exhibit 1 00002
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                                                     Nick Georgeff - Exhibit 2
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                                                                         Project to receive spot
                                                                         repairs at project
                                                                         completion using
                                                                         suitable onsite
                                                                         material.
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                                                                          Nicholas Borneke 03/09/2022

·1· · · · · IN THE UNITED STATES DISTRICT COURT            ·1· · · · · · · · · · · ·I N D E X

·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS               ·2· ·WITNESS· · · · · · · · · · · · · · · · · · · ·PAGE

·3· · · · · · · · · ·WESTERN DIVISION                      ·3· ·NICHOLAS BORNEKE
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·6· · · · · Plaintiff,· · · · · )
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·7· · ·vs.· · · · · · · · · · · )· No. 3:20-cv-50313
                                                           ·7
·8· ·DON BORNEKE· · · · · · · · )
                                                           · · · · · · · · · · · E X H I B I T S
·9· ·CONSTRUCTION, INC.,· · · · )
                                                           ·8
10· · · · · Defendant.· · · · · )                          ·9
11· · · · · The deposition of NICHOLAS BORNEKE,            10· · · · · · · · ·(NO EXHIBITS MARKED)
12· ·called for examination pursuant to the Federal        11
13· ·Rules of Civil Procedure for the United States        12

14· ·District Courts pertaining to the taking of           13

15· ·depositions via Zoom videoconference, on the          14

16· ·9th day of March, 2022, at the hour of 1:01 p.m.      15
                                                           16
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                                                           18
19
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20
                                                           20
21
                                                           21
22                                                         22
23· ·Reported by:· Vicki L. D'Antonio, CSR, RPR            23
24· ·License No. 084-004344                                24

                                                       1                                                            3

·1· ·REMOTE APPEARANCES:                                   ·1· · · · · · · · · ·(Whereupon, the witness was duly
·2                                                         ·2· · · · · · · · · · sworn.)
·3· · · · · ANESI, OZMON, RODIN, NOVAK & KOHEN, LTD., by   ·3· · · · · · THE COURT REPORTER:· The attorneys
·4· · · · · MR. CHARLES A. TERRY,                          ·4· ·participating in this deposition acknowledge
·5· · · · · 161 North Clark Street                         ·5· ·that I am not physically present in the
·6· · · · · 21st Floor                                     ·6· ·deposition room and that I will be reporting
·7· · · · · Chicago, Illinois· 60601                       ·7· ·this deposition remotely.· They further
·8· · · · · (312) 372-3822                                 ·8· ·acknowledge that, in lieu of an oath
·9· · · · · cterry@anesilaw.com                            ·9· ·administered in person, the witness will
10· · · · · · · ·Representing the Plaintiff;               10· ·verbally declare his testimony in this matter is
11                                                         11· ·under penalty of perjury.· The parties and their
12· · · · · SWANSON, MARTIN & BELL, LLP, by                12· ·counsel consent to this arrangement and waive
13· · · · · MR. CHRISTIAN A. SULLIVAN,                     13· ·any objections to this manner of reporting.
14· · · · · 2525 Cabot Drive                               14· · · · · · Please indicate your agreement by
15· · · · · Suite 204                                      15· ·stating your name and your agreement on the
16· · · · · Lisle, Illinois· 60532                         16· ·record.
17· · · · · (630) 799-6900                                 17· · · · · · MR. TERRY:· Charles Terry for the
18· · · · · csullivan@smbtrials.com                        18· ·plaintiff; we agree.
19· · · · · · · ·Representing the Defendant.               19· · · · · · MR. SULLIVAN:· Chris Sullivan for
20                                                         20· ·defendant; we also agree.
21                                                         21· · · · · · THE WITNESS:· Nicholas Borneke,
22                                                         22· ·witness; I agree.
23                                                         23· · · · · · · · · ·(Whereupon, the witness was duly
24                                                         24· · · · · · · · · · sworn.)

                                                       2                                                            4

                               McCorkle Litigation Services, Inc.                                             1..4
                                Chicago, Illinois· (312) 263-0052                                                       YVer1f
                                                                                                                                 D
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                                                                           Nicholas Borneke 03/09/2022


·1· · · · · · · · · ·NICHOLAS BORNEKE,                     ·1· ·job so far, keep all your answers out loud,
·2· ·having been first duly sworn, was examined and        ·2· ·meaning yes, no, or otherwise.· Nuh-uhs and
·3· ·testified as follows:                                 ·3· ·uh-huhs, while we know what you mean in the
·4· · · · · · · · · · ·EXAMINATION                         ·4· ·moment, usually, they don't come over well in
·5· ·BY MR. TERRY:                                         ·5· ·the transcript, and if we need to use this for
·6· · · ·Q.· ·Sir, would you mind stating your name        ·6· ·whatever purpose later on, it likely won't be
·7· ·and spelling your last name for the record?           ·7· ·helpful if it's a nuh-uh or uh-huh, so we'll try
·8· · · ·A.· ·Nicholas Borneke, B-O-R-N-E-K-E.             ·8· ·to remind you of that, but just do your best to
·9· · · ·Q.· ·Perfect.                                     ·9· ·keep it yes, no, or otherwise.
10· · · · · · MR. TERRY:· Let the record reflect this      10· · · · · · Just a couple more.· If you need a
11· ·is the deposition of Nicholas Borneke, taken          11· ·break at any time, by all means, please let me
12· ·pursuant to notice and agreement of the parties,      12· ·know.· I don't expect this to be awfully long,
13· ·and let the record also reflect this deposition       13· ·but there still might be a good point to take a
14· ·is being taken via Zoom.· It's still pursuant to      14· ·break, and if you need one, just let me know,
15· ·all applicable rules.                                 15· ·and the only thing I ask is that if there's a
16· ·BY MR. TERRY:                                         16· ·question pending, you answer the question, and
17· · · ·Q.· ·Sir, have you given a deposition             17· ·then after that, we can take a break.
18· ·before?                                               18· · · · · · Then the last one, the big one, any
19· · · ·A.· ·I have not.                                  19· ·question I ask you today, if you answer it, we
20· · · ·Q.· ·Well, two things, then.· One, this is        20· ·are going to assume you understood what it
21· ·out of order, but do you mind if I call you           21· ·meant.· So if you don't understand a question,
22· ·Nick, Nicholas, Mr. Borneke?· What do you prefer      22· ·nine times out of ten, it's probably my fault,
23· ·for today?                                            23· ·so please just say so.· I'm happy to rephrase,
24· · · ·A.· ·Nick.                                        24· ·repeat, or have the court reporter read it back.
                                                       5                                                          7

·1· · · ·Q.· ·Okay.· Perfect.                              ·1· ·But, again, if you answer it, we will assume you
·2· · · · · · Since you haven't given a dep before,        ·2· ·know what it meant, and the answer will stand.
·3· ·Nick, I'm going to go over a few ground rules         ·3· ·Does that make sense?
·4· ·with you, and when I say ground rules, if you         ·4· · · ·A.· ·Yes.
·5· ·break them, the world's not going to implode,         ·5· · · ·Q.· ·Would you mind stating your date of
·6· ·nothing bad is going to happen, but following         ·6· ·birth?
·7· ·them makes this court reporter's job a lot            ·7· · · ·A.· ·April 14, 1992.
·8· ·easier and she won't be yelling at us if we try       ·8· · · ·Q.· ·Perfect.
·9· ·to follow them.· Also, it makes the transcript a      ·9· · · · · · And what is your current address?
10· ·lot easier to read later on, so I'm just going        10· · · ·A.· ·13011 County Road 24, New Ulm,
11· ·to go over a few of those, okay?                      11· ·Minnesota 56073.
12· · · ·A.· ·Okay.                                        12· · · ·Q.· ·And could you spell the --
13· · · ·Q.· ·The first one, and so far you're doing       13· · · ·A.· ·I apologize.· I just moved, so...
14· ·a good job, try not to interrupt anyone who's         14· · · ·Q.· ·That's okay.
15· ·speaking, whether they're asking a question or        15· · · · · · Would you mind spelling the city for
16· ·otherwise.· It makes it hard to type down what        16· ·us?
17· ·two people are saying if they're talking over         17· · · ·A.· ·N-E-W, U-L-M.
18· ·each other, so just do your best, even though         18· · · ·Q.· ·U-L-M?
19· ·attorneys are long-winded and boring and you may      19· · · ·A.· ·Yes.
20· ·know where we're going, to wait for the full          20· · · ·Q.· ·Perfect.· Thank you.
21· ·question prior to answering.· Does that make          21· · · · · · And how long have you lived at this
22· ·sense?                                                22· ·address?
23· · · ·A.· ·Yes.                                         23· · · ·A.· ·Four months.
24· · · ·Q.· ·Another one, again, you're doing a good      24· · · ·Q.· ·Where'd you live prior to this?
                                                       6                                                          8

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·1· · · ·A.· ·Pemberton, Minnesota.                        ·1· · · ·A.· ·No.
·2· · · ·Q.· ·At this new address in New Ulm, who do       ·2· · · ·Q.· ·After you graduated from Minnesota
·3· ·you live there with?                                  ·3· ·State, who did you -- what did you do after you
·4· · · ·A.· ·My girlfriend.                               ·4· ·started [sic] graduating?
·5· · · ·Q.· ·Does anyone else live at the -- is it a      ·5· · · ·A.· ·I went and worked for a company out of
·6· ·house or an apartment?                                ·6· ·Northern Minnesota, and I worked for them in
·7· · · ·A.· ·It's a house.                                ·7· ·Baltimore for about two years.
·8· · · ·Q.· ·Does anyone else live there with you         ·8· · · ·Q.· ·What was the name of that company?
·9· ·two?                                                  ·9· · · ·A.· ·S.J. Louis.
10· · · ·A.· ·No.                                          10· · · ·Q.· ·Did you start working with them in
11· · · ·Q.· ·And I know you just moved a few months       11· ·2014?
12· ·ago, but are there any plans to move in the near      12· · · ·A.· ·Yes, it would have been July of '14.
13· ·future?                                               13· · · ·Q.· ·What were you doing for S.J. Louis?
14· · · ·A.· ·No.                                          14· · · ·A.· ·Project engineer.
15· · · ·Q.· ·One other piece of information I should      15· · · ·Q.· ·What type of work did S.J. Louis
16· ·have told you.· I think your attorney probably        16· ·perform?
17· ·went over this, but the whole point of this           17· · · ·A.· ·Underground utilities.
18· ·deposition is to find out what you would be           18· · · ·Q.· ·Did this have anything to do with,
19· ·testifying to if this matter goes to trial and        19· ·like, excavation or was that some other company
20· ·find out a little bit about yourself, so I will       20· ·altogether?
21· ·ask you some background questions.· I promise         21· · · ·A.· ·They put in water and sewer lines, so,
22· ·I'll try to make those brief, okay?                   22· ·yes, they excavated to put all that stuff in.
23· · · ·A.· ·Okay.                                        23· · · ·Q.· ·So S.J. Louis did both, like, the
24· · · ·Q.· ·What's your highest level of education?      24· ·excavation as well as, like, the actual
                                                       9                                                         11

·1· · · ·A.· ·Bachelor's degree.                           ·1· ·placement of the utilities?
·2· · · ·Q.· ·Where is that from and in what?              ·2· · · ·A.· ·Yes.
·3· · · ·A.· ·Minnesota State University, Mankato,         ·3· · · ·Q.· ·How long did you work for S.J. Louis
·4· ·construction management.                              ·4· ·for?
·5· · · ·Q.· ·When did you receive that degree?            ·5· · · ·A.· ·About two years.
·6· · · ·A.· ·2014.                                        ·6· · · ·Q.· ·As a project engineer, what were some
·7· · · ·Q.· ·Did you complete any other type of           ·7· ·of your roles, duties, responsibilities, things
·8· ·technical or trade school other than your degree      ·8· ·like that?
·9· ·in construction management?                           ·9· · · ·A.· ·I found all our subcontractors, helped
10· · · ·A.· ·No.                                          10· ·my project manager write their contracts, just
11· · · ·Q.· ·Are you a member of a union?                 11· ·coordinated deliveries, kind of did quality
12· · · ·A.· ·I am not.                                    12· ·control.· Yeah, that's about it.
13· · · ·Q.· ·Have you ever served in the military?        13· · · ·Q.· ·Did this work also have an on-the-job
14· · · ·A.· ·No, I have not.                              14· ·presence, like meaning you would be on the
15· · · ·Q.· ·Have you ever served in any civil            15· ·field -- or in the field looking at the work
16· ·service capacity, like police, firefighter, or        16· ·being performed, or was it mainly more of a kind
17· ·otherwise?                                            17· ·of behind the scenes coordination of work?
18· · · ·A.· ·No.                                          18· · · ·A.· ·About 50/50.· I was there.· Our project
19· · · ·Q.· ·And then don't take offense to this.         19· ·was in Baltimore, and, yeah, I spent half the
20· ·We ask this question in every deposition.             20· ·day in the office, then half the day out in the
21· · · · · · Have you ever been convicted of a            21· ·field.
22· ·felony or a crime involving fraud or dishonesty?      22· · · ·Q.· ·And when you were on-site, would this
23· · · ·A.· ·No.                                          23· ·be more of your quality control role?
24· · · ·Q.· ·Have you ever declared bankruptcy?           24· · · ·A.· ·Yes.· It's taking pictures of stuff,
                                                      10                                                         12

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·1· ·documenting, making sure the pipe was installed       ·1· ·title?
·2· ·right.                                                ·2· · · ·A.· ·I think project coordinator.
·3· · · ·Q.· ·Did your quality control with S.J.           ·3· · · ·Q.· ·What would this entail?
·4· ·mainly pertain to the actual, like, placing of        ·4· · · ·A.· ·I pretty much kept track of all our
·5· ·the utilities or did it also entail quality           ·5· ·change orders.
·6· ·control of the excavation work as well?               ·6· · · ·Q.· ·Was this an on-site or off-site
·7· · · ·A.· ·Both, because -- I don't know really         ·7· ·position?
·8· ·how to explain this.· We were working in a major      ·8· · · ·A.· ·On-site.
·9· ·city.· It'd be no different than working              ·9· · · ·Q.· ·Would this role have any -- like a
10· ·downtown Chicago where it's -- everything's           10· ·quality control aspect to it or would it mainly
11· ·compacted, so, yes, we had to dig the smallest        11· ·be just keeping track of the change orders and
12· ·trench possible, and me and this -- one of our        12· ·making sure the work is being done?
13· ·superintendents and project manager, we               13· · · ·A.· ·Yeah, I was going to get there. I
14· ·basically engineered how we were going to shore       14· ·also -- there was quality control on that
15· ·everything just so people would be safe down          15· ·project.· There may -- everything we did, we had
16· ·there.                                                16· ·to fill out these forms, and then they'd get
17· · · ·Q.· ·Okay.· And I appreciate that.                17· ·sent off and the general contractor would
18· · · · · · Was this the main project you worked on      18· ·approve them, then they would send them to the
19· ·for S.J. Louis in those two years?                    19· ·owner and they would get approved there.
20· · · ·A.· ·Yes.· And before I left, I started           20· · · ·Q.· ·And before I forget -- I think I know
21· ·working on a project just outside of D.C.             21· ·the answer to this because you said both of the
22· · · ·Q.· ·And was that a similar type of project?      22· ·projects with S.J. Louis were in urban areas --
23· · · ·A.· ·Yes.                                         23· ·were either of them wind farm projects or no?
24· · · ·Q.· ·So is it fair to summarize that at the       24· · · ·A.· ·No.
                                                      13                                                         15

·1· ·time you were with S.J. Louis, you worked on two      ·1· · · ·Q.· ·What about when you came back to
·2· ·main projects, one of which lasted the majority       ·2· ·Borneke, have all the projects been wind farm
·3· ·of your time, and then you switched to another        ·3· ·projects or has it been a variety of different
·4· ·one in D.C.?                                          ·4· ·projects?
·5· · · ·A.· ·Yes.· Yeah, the way it works is while        ·5· · · ·A.· ·I would say 95 percent wind farms.
·6· ·you're cleaning up one project, you kind of get       ·6· · · ·Q.· ·And since 2016, how many various wind
·7· ·rolling on the next one.                              ·7· ·farm projects have you been a part of?· Best
·8· · · ·Q.· ·And then so that takes us to about, you      ·8· ·estimate.
·9· ·know, July mid 2016.· What did you do from then       ·9· · · ·A.· ·Six.
10· ·on, like after you left S.J. Louis?                   10· · · ·Q.· ·Has your role always been something
11· · · ·A.· ·I came back to work at Borneke's. I          11· ·along the lines of project coordinator and
12· ·think I was driving back towards Minnesota and I      12· ·quality control?
13· ·think my brother called me and asked if I want        13· · · ·A.· ·Now I do more of a superintendent-type
14· ·to go help out in Nebraska, so I basically            14· ·role.
15· ·stopped at home for a couple days, then drove to      15· · · ·Q.· ·When did that switch happen?
16· ·Nebraska.                                             16· · · ·A.· ·About two, three years ago.· We just
17· · · ·Q.· ·And have you been working for Borneke        17· ·got really busy and we didn't have enough
18· ·ever since?                                           18· ·supervisors, and I'd been around it enough where
19· · · ·A.· ·Yes.                                         19· ·I kind of just got put in charge.
20· · · ·Q.· ·Between 2016 and present, have you had       20· · · ·Q.· ·And on the -- well, let me ask you this
21· ·any other employers or have you been with             21· ·way -- this is why I need to turn off e-mail
22· ·Borneke full time?                                    22· ·notifications.· I lose my train of thought.
23· · · ·A.· ·Borneke's full time.                         23· · · · · · On this subject wind farm we're here to
24· · · ·Q.· ·When you started in 2016, what was your      24· ·talk about, the Mendota Hills project, I've seen
                                                      14                                                         16

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·1· ·your title listed as, you know, quality control       ·1· ·aspect?
·2· ·on site, something along those lines.· Does that      ·2· · · ·A.· ·Foundations and crane pads where the
·3· ·sound accurate to you for the subject project or      ·3· ·big cranes actually sit.
·4· ·what would you describe your role as?                 ·4· · · ·Q.· ·What about like things such as grading
·5· · · ·A.· ·I would say more of a foreman.· I took       ·5· ·or blading or compacting of various roadways, is
·6· ·care of all the quality control, but then I also      ·6· ·that something that is just left to the
·7· ·was in charge of half a dozen people.                 ·7· ·individual workers?
·8· · · ·Q.· ·As a foreman, what were you -- why           ·8· · · ·A.· ·The roads, I figure out how much rock
·9· ·would you characterize yourself as a foreman?         ·9· ·needs to go on the road, and then we put down X
10· ·What were you doing that you think that would be      10· ·amount of loads, and then that's basically we're
11· ·characterized as a foreman on the project?            11· ·saying the math works out that there's enough
12· · · ·A.· ·Because these projects are -- they're        12· ·rock on the road.· Mortenson, if you want to
13· ·so big, so I'm sure you already talked to Brad        13· ·double-check it, you can go out there and dig
14· ·Bennett.· He would go off one way with half the       14· ·holes in the road.· The compaction, that's --
15· ·crew, three-quarters of the crew and take care        15· ·like when we backfill the foundations, that's
16· ·of certain items, and then I would take the           16· ·tested by a third-party tester.
17· ·other four or five guys and do other activities.      17· · · ·Q.· ·What about in terms of like laid out
18· · · ·Q.· ·As a foreman on this project, did you        18· ·areas or like -- let's stick with erection area,
19· ·undergo any specialized, like, OSHA training or       19· ·like where the actual work is going to be
20· ·union training, or were you just relying on your      20· ·performed, what about like the grading of the
21· ·years in the industry?                                21· ·land in those areas?· Who was doing quality
22· · · ·A.· ·Well, I do have an OSHA 30.                  22· ·control for that?
23· · · ·Q.· ·Okay.· But are you or were you at that       23· · · ·A.· ·Really, no one, because it -- that
24· ·time a part of the union or anything like that?       24· ·area -- because I believe -- we have to have it
                                                      17                                                         19

·1· · · ·A.· ·No.                                          ·1· ·within a 2 percent grade, and out where we were
·2· · · ·Q.· ·So you have your OSHA 30, but other          ·2· ·at, it was so flat that you know from the center
·3· ·than that, you were just relying on your general      ·3· ·of that tower to your outside of your area is
·4· ·knowledge and training in the field to act as a       ·4· ·going to be less than 2 percent, and then that's
·5· ·foreman on that project?                              ·5· ·doubled-checked.· If anyone has an issue with
·6· · · ·A.· ·Correct.                                     ·6· ·it, which most of the time, it is the turbine
·7· · · ·Q.· ·Let's talk about the quality control         ·7· ·delivery drivers and the people offloading the
·8· ·aspect of it.                                         ·8· ·parts, they will say something, and then it will
·9· · · · · · What was your role in terms of quality       ·9· ·get fixed is generally how it works.
10· ·control on this project?                              10· · · ·Q.· ·I know you said the ground is, like,
11· · · ·A.· ·So when we dug the foundations, for          11· ·generally pretty flat, so in these areas, was
12· ·example, I'd have to go make sure the bottom's        12· ·Borneke going out and, like, grading and
13· ·level, that we dug it at the right elevation,         13· ·compacting the erection areas, or was it already
14· ·and I took pictures of everything.· And then it       14· ·pretty level so that that wasn't needed to be
15· ·was similar to Nebraska where I filled out one        15· ·done?
16· ·of Mortenson's form, and then they would              16· · · ·A.· ·No, it doesn't ever matter if it's
17· ·basically check, saying they accepted it or           17· ·level.· We still will take a road grader and
18· ·rejected it.                                          18· ·blade around the whole site, and then we'll run
19· · · ·Q.· ·Then you talked about the foundation         19· ·a smooth drum roller around it, and that's about
20· ·and the quality control for that.                     20· ·it.· But, I mean, there -- I think there were
21· · · · · · In terms of other job duties on this         21· ·probably two sites on that project where we had
22· ·project, like grading or compacting of the            22· ·to take the top soil off and do like a mass
23· ·ground, were you also doing quality control on        23· ·grading activity.
24· ·that or was it more so just from the foundation       24· · · ·Q.· ·And why was that?
                                                      18                                                         20

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·1· · · ·A.· ·Because they were on hills and just --       ·1· · · ·Q.· ·Just from a general standpoint, I mean,
·2· ·we basically had to flatten a hill out.               ·2· ·you've been working with Borneke for the last
·3· · · ·Q.· ·So when you were saying that no one          ·3· ·six years and you have about eight years in the
·4· ·really does quality control for like the grading      ·4· ·construction field, plus four years of undergrad
·5· ·unless there's some type of complaint, Borneke        ·5· ·in construction management, so based on that, is
·6· ·would still go and do like a once-over with the       ·6· ·it fair to say that you're generally familiar
·7· ·blader and the other machine you mentioned to         ·7· ·with how things are run on a construction site?
·8· ·make sure it's flat, but you're not necessarily       ·8· · · ·A.· ·Yes.
·9· ·doing like a quality control like you would on a      ·9· · · ·Q.· ·And, you know, you're familiar with the
10· ·crane pad; is that fair?                              10· ·hierarchy or chain of command and how the
11· · · ·A.· ·That's fair.                                 11· ·various contractors interact with each other?
12· · · ·Q.· ·I just want to ask you a few more            12· · · ·A.· ·Yes.
13· ·questions about your role as the PM, you know,        13· · · ·Q.· ·Just from a general standpoint, you
14· ·the quality control for the project and then          14· ·understand what Borneke is hired to do, like
15· ·also as the foreman.                                  15· ·you're the excavators on projects, right?
16· · · · · · Would you say that on a project in           16· · · ·A.· ·Yes.
17· ·those roles, it's important for you to know what      17· · · ·Q.· ·And you understand the different
18· ·Borneke is responsible for and what they're not       18· ·responsibilities that go into that and what's
19· ·responsible for?                                      19· ·included and what's excluded, right?
20· · · ·A.· ·Yes.                                         20· · · ·A.· ·Correct.
21· · · ·Q.· ·In doing this, do you become familiar        21· · · ·Q.· ·Like, for example, you understand from
22· ·with contracts and scope of works and documents       22· ·a general standpoint that, you know, ironworkers
23· ·like that?                                            23· ·do the ironwork and excavators do the excavating
24· · · ·A.· ·Yes.                                         24· ·work, right?
                                                      21                                                         23

·1· · · ·Q.· ·Are you also somewhat trained in this,       ·1· · · ·A.· ·Yes.
·2· ·not only from your experience, but also your          ·2· · · ·Q.· ·I just want to show you a few things
·3· ·construction management background?                   ·3· ·that I actually marked during Mr. Bennett's
·4· · · ·A.· ·Yes.                                         ·4· ·deposition.
·5· · · ·Q.· ·So as the quality control manager as         ·5· · · · · · Before I get into that, I know you said
·6· ·well as the foreman, you'd say it's important         ·6· ·that you know I spoke with Mr. Bennett.· Did you
·7· ·for you to look at the contract and the scope of      ·7· ·speak with him after his deposition?
·8· ·work and understand it from a general sense,          ·8· · · ·A.· ·He just called me and asked if I had to
·9· ·right?                                                ·9· ·do one, too, and at the time, I didn't, and he's
10· · · ·A.· ·Yes.                                         10· ·like -- he said -- basically told me to wait.
11· · · ·Q.· ·So maybe not from like a contract            11· · · ·Q.· ·What do you mean he said to wait?
12· ·interpretation standpoint, but at least from a        12· · · ·A.· ·Well, because he probably -- he knew
13· ·perspective of knowing what your                      13· ·that I was going to get requested to do one of
14· ·responsibilities are on the project, right?           14· ·these as well.
15· · · ·A.· ·Correct.                                     15· · · ·Q.· ·Did you and him talk about any
16· · · ·Q.· ·What about communications with clients       16· ·specifics or what was discussed or anything like
17· ·or negotiations, things like that?                    17· ·that?
18· · · ·A.· ·I don't get into the negotiations.           18· · · ·A.· ·No.
19· · · ·Q.· ·Who would that be?· Would that be Mark       19· · · ·Q.· ·Okay.· I want to show you what was
20· ·Sikel?                                                20· ·marked as Exhibit 1 for Brad Bennett's
21· · · ·A.· ·Yes.                                         21· ·deposition.
22· · · ·Q.· ·Anybody else that would be really            22· · · · · · Can you see my screen?
23· ·intimately involved in that?                          23· · · ·A.· ·Yes.
24· · · ·A.· ·Not on the Mendota Hills project.            24· · · ·Q.· ·Given that this is a family company,
                                                      22                                                         24

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·1· ·maybe you will have seen this, because Brad           ·1· ·contracted to perform, right?
·2· ·Bennett never saw the website before.· I just         ·2· · · ·A.· ·Yes.
·3· ·want to ask you a few questions.                      ·3· · · ·Q.· ·You understand that your company is
·4· · · · · · Have you seen the Don Borneke website        ·4· ·taking essentially untouched or unsafe farmland
·5· ·before?                                               ·5· ·and converting it into areas where wind farm
·6· · · ·A.· ·Yeah, once, years ago, and I told them       ·6· ·work can be performed, right?
·7· ·to change it because it doesn't look very good.       ·7· · · ·A.· ·Yes.
·8· · · ·Q.· ·It's very simple, right?                     ·8· · · ·Q.· ·Like, for example, Borneke is hired to
·9· · · ·A.· ·Yes.                                         ·9· ·convert whatever type of crop is growing in
10· · · ·Q.· ·So this is just on the main page. I          10· ·these farms' various areas into things like
11· ·just want to go through a few things with you,        11· ·access roads and erection areas and foundations,
12· ·but just generally, you'd agree that it says          12· ·right?
13· ·Borneke completed their first wind project in         13· · · ·A.· ·Yes.
14· ·2000, right?                                          14· · · ·Q.· ·And at these various sites, various
15· · · ·A.· ·Yeah, that sounds about right.               15· ·tasks are required, such as grading,
16· · · ·Q.· ·And then I'll zoom in for you so it's a      16· ·maintaining, providing adequate drainage, all of
17· ·little bit easier.                                    17· ·these things, right?
18· · · · · · And then it also says that they have         18· · · ·A.· ·Yes.
19· ·completed over 60 projects and 3200 turbines,         19· · · ·Q.· ·In these areas where Don Borneke is
20· ·right?                                                20· ·performing its work, it's on very large farmland
21· · · ·A.· ·Yes, and probably since this was made,       21· ·where the vast majority of it is never going to
22· ·probably a lot more projects.                         22· ·be touched by you guys, right?
23· · · ·Q.· ·Yeah, so -- exactly.                         23· · · ·A.· ·Right, yes.
24· · · · · · And in addition to just Borneke, the         24· · · ·Q.· ·Yeah, and then you guys have very
                                                      25                                                         27

·1· ·construction company as a whole, you also have        ·1· ·specific areas, like laydown yards or access
·2· ·experience on these various wind farm projects,       ·2· ·roads or erection areas, where you guys are
·3· ·right?                                                ·3· ·going to be working, right?
·4· · · ·A.· ·Yes.                                         ·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·Don Borneke Construction is hired as         ·5· · · ·Q.· ·This is, you know, a small percentage
·6· ·the excavators because they have this experience      ·6· ·of the actual whole farm, but the small
·7· ·in wind farm construction, right?                     ·7· ·percentage is where your work, you know, is --
·8· · · ·A.· ·Correct.                                     ·8· ·matters the most, right?
·9· · · ·Q.· ·You guys know what's safe and what is        ·9· · · ·A.· ·Yeah.
10· ·dangerous on these sites?                             10· · · ·Q.· ·And let's talk about -- because we're
11· · · ·A.· ·Yes.                                         11· ·here to talk about something that happened at an
12· · · ·Q.· ·We'll get into more specifics later,         12· ·erection area, for the sake of efficiency, let's
13· ·but just from the website, and I know I stopped       13· ·just, you know, focus on those, okay?
14· ·sharing my screen, but some of the things you         14· · · ·A.· ·Okay.
15· ·are -- when I say "you," the construction             15· · · ·Q.· ·You understand that at the erection
16· ·company as a whole is responsible for is things       16· ·area, this is literally where the turbine is
17· ·like clearing, creating laydown yards, creating       17· ·going to be erected, right?
18· ·access roads, excavating, dewatering,                 18· · · ·A.· ·Yes.
19· ·backfilling, compaction, and a whole plethora of      19· · · ·Q.· ·In this area for a radius going out in
20· ·other things.· Does that sound about right?           20· ·each direction from the turbine, certain work
21· · · ·A.· ·Yes.                                         21· ·needs to be performed, right?
22· · · ·Q.· ·And when working on these wind farms,        22· · · ·A.· ·Yes.
23· ·Don Borneke Construction as a whole understands       23· · · ·Q.· ·Like in the erection area as a whole,
24· ·the importance of its work and what it's being        24· ·the ground needs to first be graded and provide
                                                      26                                                         28

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·1· ·proper drainage for the site, right?                  ·1· · · ·Q.· ·That's part of your job, actually, as
·2· · · ·A.· ·Yes, and -- yes.                             ·2· ·the quality control person on site, right?
·3· · · ·Q.· ·One of the ideas is that so the              ·3· · · ·A.· ·Right.
·4· ·erection areas are not going to be covered in,        ·4· · · ·Q.· ·In addition to providing proper
·5· ·like, standing water or large ruts, right?            ·5· ·drainage, would you agree that it's also
·6· · · ·A.· ·Yes.                                         ·6· ·important to provide adequate grading and
·7· · · ·Q.· ·And the idea behind it is after Borneke      ·7· ·compaction so that the ground is prepared for
·8· ·comes in, other contractors, whether it be            ·8· ·deliveries and work that's coming later?
·9· ·delivery companies or ironworkers, are going to       ·9· · · ·A.· ·Yes.
10· ·come in, and the site needs to be ready for the       10· · · ·Q.· ·I just want to show you Exhibit 2 for
11· ·deliveries as well as the work that's going to        11· ·Brad Bennett's deposition, and we can just refer
12· ·be performed, right?                                  12· ·to these.· I don't know if we have to mark them,
13· · · ·A.· ·Yes.                                         13· ·but can you see my screen, sir?
14· · · ·Q.· ·You agree from a general standpoint if       14· · · ·A.· ·Yeah.
15· ·the erection areas are properly graded, one of        15· · · ·Q.· ·On this, you'd agree that it talks
16· ·the ideas is that so water does not pool near         16· ·about Don Borneke being committed to providing a
17· ·the turbine or in the erection area, right?           17· ·safe workplace, right?
18· · · ·A.· ·Yes.                                         18· · · ·A.· ·Yep.
19· · · ·Q.· ·You'd agree that if there's large areas      19· · · ·Q.· ·The expectations of this commitment
20· ·of standing water in the erection site, this can      20· ·includes, as it says, "proper training,
21· ·damage equipment, it can cause tripping hazards,      21· ·appropriate personal protective equipment,
22· ·it can freeze over and create more tripping           22· ·engineering out safety hazards when possible,
23· ·hazards, right?                                       23· ·holding all employees accountable for safety,
24· · · ·A.· ·Yes, it could.                               24· ·and planning safety into each project and task."
                                                      29                                                         31

·1· · · ·Q.· ·So you'd agree that just ensuring            ·1· · · · · · Did I read that correctly?
·2· ·proper drainage and grading of ground conditions      ·2· · · ·A.· ·Yeah, yes.
·3· ·is one of the important tasks Borneke is hired        ·3· · · ·Q.· ·So you'd agree that Borneke prides
·4· ·to perform on these projects?                         ·4· ·itself on safety and even tries to engineer out
·5· · · ·A.· ·I would say it's important, but              ·5· ·safety hazards when possible, right?
·6· ·probably not the top of the importance list.          ·6· · · ·A.· ·Yes.
·7· · · ·Q.· ·No, but it's one of the important tasks      ·7· · · ·Q.· ·And then in the next paragraph, it
·8· ·you're hired to perform?                              ·8· ·discusses how a lot of employees have been with
·9· · · ·A.· ·Yes.                                         ·9· ·Borneke for decades and they rely on that
10· · · ·Q.· ·And as the excavating company, it's          10· ·experience to help Borneke run efficiently and
11· ·important to make sure the ground conditions are      11· ·timely and safely, right?
12· ·properly prepared and safe for workers who are        12· · · ·A.· ·Yes.
13· ·going to be coming later, right?                      13· · · ·Q.· ·Then it says superintendents and field
14· · · ·A.· ·Yes.                                         14· ·supervisors also get additional training like
15· · · ·Q.· ·As we talked about, the excavating           15· ·first aid, CPR, hazard communication, and PPE
16· ·company prepares these areas for semi trucks to       16· ·assessment, right?
17· ·later come, as well as other contractors who          17· · · ·A.· ·Yes.
18· ·have to perform work, right?                          18· · · ·Q.· ·Were you -- do foremen get included in
19· · · ·A.· ·Correct.                                     19· ·that field supervisor category?· Like, who would
20· · · ·Q.· ·On these sites, it is common for             20· ·be subject to this additional training is kind
21· ·Borneke to walk around the site and keep an eye       21· ·of what I'm trying to figure out.
22· ·on things that were done to make sure they were       22· · · ·A.· ·Yeah, like foremen, other project
23· ·done properly, right?                                 23· ·coordinators.· Basically, if anyone wants to get
24· · · ·A.· ·Yes.                                         24· ·first aid, CPR certified, they can.
                                                      30                                                         32

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·1· · · ·Q.· ·When you talk about those other              ·1· · · ·Q.· ·And we've already established you were
·2· ·trainings like hazard communication and stuff         ·2· ·the foreman and quality control project manager
·3· ·like that, is this just in the OSHA classes that      ·3· ·on this project, correct?
·4· ·you discussed or is this additional training          ·4· · · ·A.· ·Correct.
·5· ·that Borneke provides on site?                        ·5· · · ·Q.· ·On this project, can you
·6· · · ·A.· ·Not on site.· We do a yearly -- well,        ·6· ·specifically -- we kind of already talked
·7· ·we used to do a yearly safety meeting, but the        ·7· ·about -- actually, I don't know if we did.
·8· ·last two years have kind of screwed that up, and      ·8· · · · · · Walk me through the various roles.· As
·9· ·I just actually got an e-mail this morning about      ·9· ·a foreman, what were you doing, what were you
10· ·this year's.                                          10· ·overseeing, things like that on this project?
11· · · ·Q.· ·Yeah, COVID's kind of screwed                11· · · ·A.· ·That project -- so you dig the
12· ·everything up, but other than that, the idea is       12· ·foundations, and then crane pads, and then Brad
13· ·like yearly classroom training for various            13· ·left and I was responsible for doing the final
14· ·workers, whoever wants to be part of it?              14· ·restoration.
15· · · ·A.· ·Yes.· Like, a lot of our guys, since         15· · · ·Q.· ·Who would have been, like, overseeing
16· ·they're in the union, they have to do so many         16· ·things like grading and providing drainage for
17· ·hours a year and stuff like that, and then as a       17· ·the erection areas?
18· ·company, we do like a yearly safety presentation      18· · · ·A.· ·That would be Brad's area of expertise.
19· ·which goes over driving regulations, confined         19· · · ·Q.· ·And so anything that Brad testified to
20· ·spaces, just what has changed over the last year      20· ·in his deposition, would you have any reason to
21· ·because safety's always changing.                     21· ·dispute what he said or how things were run from
22· · · ·Q.· ·Of course.                                   22· ·his end?
23· · · · · · So then for the various people who are       23· · · ·A.· ·No, absolutely not.
24· ·in the union and that need to undergo this            24· · · ·Q.· ·And in your opinion, is Brad qualified
                                                      33                                                         35

·1· ·training, does Borneke provide the required           ·1· ·both to give opinions about like the
·2· ·training or is it all, like, additional elective      ·2· ·construction field in his work, but also his
·3· ·training, or is it kind of a combination of           ·3· ·work generally?
·4· ·both?                                                 ·4· · · ·A.· ·Yes.
·5· · · ·A.· ·A lot of it's elective.· Yeah, I would       ·5· · · ·Q.· ·So then for the foreman aspect of it,
·6· ·say a majority of it's elective, but then at the      ·6· ·you were mainly overseeing the digging of
·7· ·same time, it's -- if you're going to deal with       ·7· ·foundation and the building of crane pads,
·8· ·hazard materials, you have to go do a certified       ·8· ·right?
·9· ·hazmat class.                                         ·9· · · ·A.· ·Yes.
10· · · ·Q.· ·Okay.· Got it.                               10· · · ·Q.· ·What about the quality control aspect?
11· · · · · · You know, I just want to switch gears a      11· ·Was this -- and I'm not trying to trick you. I
12· ·little bit and actually talk about the subject        12· ·honestly just want to make sure I understand
13· ·project specifically and why we're here, okay?        13· ·your role on this project.· Were you mainly
14· · · ·A.· ·Okay.                                        14· ·overseeing quality control for where the
15· · · ·Q.· ·When I say the subject project and           15· ·foundations and the crane pads were?· Is that
16· ·Mendota Hills Wind Farm, you understand what I'm      16· ·what you said?
17· ·talking about when I use those words                  17· · · ·A.· ·Yes, because those are -- those, along
18· ·interchangeably, right?                               18· ·with building the actual roads, are three main
19· · · ·A.· ·Yeah.                                        19· ·activities.
20· · · ·Q.· ·Okay.· And on this project, I know I         20· · · ·Q.· ·Yeah, and, you know, for obvious
21· ·have to ask a few obvious questions, but Borneke      21· ·reasons, you know, the foundation needs to be
22· ·was the excavating company for this project,          22· ·able support the weight of this turbine, right?
23· ·right?                                                23· · · ·A.· ·Yes.
24· · · ·A.· ·Correct.                                     24· · · ·Q.· ·And then, like, the crane pads need to
                                                      34                                                         36

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·1· ·be able to support the weight of a crane as well      ·1· ·me that -- we help out the superintendents, but
·2· ·as all the equipment it's holding, so that's why      ·2· ·if we have to, we'll lead projects, and then
·3· ·these are two of the more important areas, in         ·3· ·there's, yeah, 40 other people.
·4· ·your opinion, right?                                  ·4· · · ·Q.· ·And the 40 other people, would those be
·5· · · ·A.· ·Yes.                                         ·5· ·like the --
·6· · · ·Q.· ·How often were you on site on this           ·6· · · ·A.· ·Operators, laborers.
·7· ·project?                                              ·7· · · ·Q.· ·Yeah.
·8· · · ·A.· ·Every day besides about two weeks.           ·8· · · ·A.· ·And 40 is a rough estimate.· I would
·9· · · ·Q.· ·Do you happen to remember when, give or      ·9· ·say there's 40 main people that travel all over
10· ·take, those two weeks were, like in the scheme        10· ·with us, and then we sign local union deals, so
11· ·of the year?                                          11· ·like when we were in Illinois, we had to hire
12· · · ·A.· ·September.                                   12· ·like 90 percent of the guys out of the local
13· · · ·Q.· ·But other than that, you had an on-site      13· ·Illinois hall.
14· ·presence every day?                                   14· · · ·Q.· ·No, that makes sense.
15· · · ·A.· ·Yes.                                         15· · · · · · When you say the numbers like four to
16· · · ·Q.· ·And I know we spoke from a general           16· ·five project managers, five to six
17· ·standpoint about contracts and scopes of work.        17· ·superintendents, are these all family members or
18· · · · · · Have you seen, maybe not in some time,       18· ·are these just like a mixture of people?
19· ·but the contract for this specific project?           19· · · ·A.· ·Mostly now not really family members.
20· · · ·A.· ·Yes.                                         20· ·I got a couple uncles that they just work as
21· · · ·Q.· ·Same thing for the scope of work?            21· ·operators.· One of my uncles is the vice
22· · · ·A.· ·Yes.                                         22· ·president now of the whole company.· But, yeah,
23· · · ·Q.· ·So you understand what Borneke was           23· ·most of my uncles, they drive semis or operate
24· ·contracted to do and what work they were going        24· ·equipment, really whenever we need help or just
                                                      37                                                         39

·1· ·to be performing, right?                              ·1· ·around our local area.
·2· · · ·A.· ·Yes.                                         ·2· · · ·Q.· ·Okay.· Then we talked about, you know,
·3· · · ·Q.· ·As the quality control guy as well as,       ·3· ·Borneke's work from a general standpoint.
·4· ·like, the foreman, wearing both hats, it's very       ·4· · · · · · Would you agree that on this project as
·5· ·important for you to know the contracted              ·5· ·well, some of the tasks included things like
·6· ·responsibilities of Borneke so that you can           ·6· ·clearing and grubbing, grading various areas of
·7· ·ensure the work is being done and that it's           ·7· ·the project, things like that?
·8· ·being done right?                                     ·8· · · ·A.· ·Yes, not really clearing and grubbing
·9· · · ·A.· ·That's correct.                              ·9· ·because clearing and grubbing, to me, is when
10· · · ·Q.· ·Then one thing I should have asked you       10· ·we're down in Texas where it's mesquite brushes
11· ·in the beginning.· This is obviously a family         11· ·and mesquite trees.· That's clearing and
12· ·company, given the last name, right?                  12· ·grubbing to me.· I think on this project, we had
13· · · ·A.· ·Yes.                                         13· ·to trim a couple trees just so the turbine parts
14· · · ·Q.· ·How many of you are there from the           14· ·didn't get scratched up, but it wasn't so much
15· ·family perspective in the company?· I know you        15· ·clearing and grubbing.
16· ·talked about your brother.· Would you mind just       16· · · ·Q.· ·What about things like creating and
17· ·kind of giving me a makeup the company?               17· ·maintaining a general laydown yard?
18· · · ·A.· ·Yeah.· So my uncle owns it.· A couple        18· · · ·A.· ·Yes.
19· ·of my other uncles now still work there, but          19· · · ·Q.· ·And same thing with creating and
20· ·they're to retirement age pretty much, so             20· ·maintaining various access and spur roads,
21· ·they're -- we'll just call them part-timers.          21· ·right?
22· ·And then we got four, I think -- yeah, four or        22· · · ·A.· ·Yes.
23· ·five project managers in the office and five or       23· · · ·Q.· ·And then also creating and maintaining
24· ·six superintendents and a handful of guys like        24· ·the ground at foundation areas as well as in
                                                      38                                                         40

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·1· ·erection areas, right?                                ·1· ·be grading the land, providing drainage, making
·2· · · ·A.· ·Yes.                                         ·2· ·sure the ground is as smooth as possible, things
·3· · · ·Q.· ·As the quality control guy/foreman, you      ·3· ·like that, right?
·4· ·would walk around to make sure the workers were       ·4· · · ·A.· ·Yes.
·5· ·actually performing these tasks?                      ·5· · · ·Q.· ·You'd agree that it's important to do
·6· · · ·A.· ·Correct.                                     ·6· ·these tasks in the erection areas, the grading
·7· · · ·Q.· ·Would you actually be -- I don't mean        ·7· ·and the providing drainage, right?
·8· ·to use this term, like, unartfully -- but             ·8· · · ·A.· ·Yes.
·9· ·getting your hands dirty with them as well doing      ·9· · · ·Q.· ·And one of the reasons -- let's start
10· ·some of the tasks, or were you more overseeing        10· ·with drainage.· Providing drainage where
11· ·the work?                                             11· ·designated is important because you don't want
12· · · ·A.· ·Both.· I like getting my hands dirty,        12· ·water pooling where people are going to be
13· ·and a lot of places, I can, but dealing with the      13· ·working, correct?
14· ·local Illinois unions, you can't, really.· You        14· · · ·A.· ·Correct.
15· ·have to play by their rules, so it's more             15· · · ·Q.· ·And you'd also agree that if water
16· ·babysitting and making sure they're doing what        16· ·pools in the wintertime, this can be dangerous
17· ·they need to be doing.                                17· ·because it can freeze and then lead to a
18· · · ·Q.· ·Got it.· Okay.                               18· ·slipping or tripping hazard, right?
19· · · · · · So on this project, due to, like, local      19· · · ·A.· ·Yes.
20· ·union rules and stuff, you were more so in the        20· · · ·Q.· ·And then as we talked about before, on
21· ·supervisory position, but when you can on             21· ·this project too, if there's standing water, it
22· ·various projects, you do try to hop in and help       22· ·can damage equipment, it can lead to ruts being
23· ·where you can?                                        23· ·formed more easily and cause more potential
24· · · ·A.· ·Yes.                                         24· ·tripping hazards.· It can cause a whole plethora
                                                      41                                                         43

·1· · · ·Q.· ·I want to, you know, talk about              ·1· ·of problems, right?
·2· ·erection areas.· The erection area, if we talk        ·2· · · ·A.· ·Yes, it could.
·3· ·about the site, this is literally -- like on          ·3· · · ·Q.· ·All of this, including the potential to
·4· ·this project, I think there were 29 sites or          ·4· ·freeze, would be potentially dangerous things
·5· ·something like that.· Each T, like T1 through         ·5· ·that Borneke was hired to try and minimize,
·6· ·T29, would be an erection area, right?                ·6· ·right?
·7· · · ·A.· ·Correct.                                     ·7· · · ·A.· ·Yes.
·8· · · ·Q.· ·And to ask an obvious question, the T        ·8· · · ·Q.· ·In addition to all these tasks we
·9· ·stands for turbine, and then the number is the        ·9· ·talked about, the grading, drainage, things like
10· ·turbine or site number?                               10· ·that, Borneke was also responsible for periodic
11· · · ·A.· ·Yeah, it's turbine number, site number,      11· ·maintenance and inspection of the area it had
12· ·yeah, yes.                                            12· ·worked to make sure that it was still adequate,
13· · · ·Q.· ·While these turbines were going up,          13· ·right?
14· ·this area surrounding these, like that radius we      14· · · ·A.· ·Yes.
15· ·talked about, that same thing applied for this        15· · · ·Q.· ·This is one of your roles as the
16· ·project, and that area is called the erection         16· ·quality control guy on this project, to make
17· ·area, right?                                          17· ·sure that the work was, no pun intended, but
18· · · ·A.· ·Yes.                                         18· ·quality work, right?
19· · · ·Q.· ·On this project, part of Borneke's job       19· · · ·A.· ·Yes.
20· ·was to prepare the erection areas, right?             20· · · ·Q.· ·And what were you doing to ensure this?
21· · · ·A.· ·Yes.                                         21· ·Were you going around the various sites with a
22· · · ·Q.· ·And then in these erection areas, I          22· ·pickup truck, you know, making sure everything
23· ·know you said that there wasn't much clearing         23· ·still looked okay, or were you just kind of
24· ·and grubbing, but some of the main tasks would        24· ·waiting to see if there were complaints?· Like,
                                                      42                                                         44

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·1· ·what was your role in that regard for quality         ·1· ·on-site superintendent on this project, knowing
·2· ·control on this project?                              ·2· ·the various tasks and making sure that they were
·3· · · ·A.· ·I would say all.· Every week I had to        ·3· ·not only being performed, but also that they
·4· ·drive around to every site for -- to go over          ·4· ·were being performed well?
·5· ·erosion stuff, so I went to every site every          ·5· · · ·A.· ·Yes, absolutely.
·6· ·week.                                                 ·6· · · ·Q.· ·And to make sure that the various sites
·7· · · ·Q.· ·So part of your tasks would be, to say       ·7· ·were being maintained to the best of the
·8· ·it another way, weekly going to each site and         ·8· ·abilities, right?
·9· ·discussing erosion and things of that nature?         ·9· · · ·A.· ·Yes.
10· · · ·A.· ·Yes.                                         10· · · ·Q.· ·On this site, this was Brad Bennett,
11· · · ·Q.· ·What else would you discuss while you        11· ·correct?
12· ·were at these various sites?                          12· · · ·A.· ·Correct.
13· · · ·A.· ·If something got messed up, we would         13· · · ·Q.· ·During his deposition, he did testify
14· ·see if it was our fault, if it was something          14· ·that he would, you know, in his role have to be
15· ·natural, or if another contractor came in and         15· ·knowledgeable about inclusions and exclusions so
16· ·messed the site up, then we figure out who has        16· ·that he knows what Borneke was going to perform
17· ·to fix it.                                            17· ·and what they were not going to perform.· You
18· · · ·Q.· ·Would this include things like possibly      18· ·would agree with this that that's an important
19· ·if the ground was no longer graded or if there's      19· ·responsibility for him to have and know, right?
20· ·like large ruts at various sites, things like         20· · · ·A.· ·Yes.
21· ·that?                                                 21· · · ·Q.· ·Okay.· And then I just want to show you
22· · · ·A.· ·Yes.                                         22· ·a few more things.
23· · · ·Q.· ·On this project, was that a common           23· · · · · · Can you see my screen again?
24· ·occurrence where you'd have to go to various          24· · · ·A.· ·Yes.
                                                      45                                                         47

·1· ·sites and address various problems?                   ·1· · · ·Q.· ·This is Brad Bennett's Exhibit No. 3.
·2· · · ·A.· ·On this site, no.                            ·2· · · · · · Are you familiar with what it is we're
·3· · · ·Q.· ·When you say you would go weekly to          ·3· ·looking at here?
·4· ·each site, what were some of the things that on       ·4· · · ·A.· ·Yes, it's a site map.
·5· ·this site you were specifically addressing other      ·5· · · ·Q.· ·This site map is for the project we're
·6· ·than erosion?                                         ·6· ·here to talk about, right?
·7· · · ·A.· ·Just to make sure everything was still       ·7· · · ·A.· ·Yes.
·8· ·put together right and make sure the roads            ·8· · · ·Q.· ·And then at the top, we have T1, and it
·9· ·aren't falling apart, make sure no one drove          ·9· ·goes, you know, kind of weaving around, but
10· ·their pickup trucks across the crane pads, you        10· ·various numbers all the way down to the bottom
11· ·know.                                                 11· ·at T29, right?
12· · · ·Q.· ·Yeah.· So weekly, you would do your own      12· · · ·A.· ·Yes, yeah.
13· ·inspection, go to each various site, and just         13· · · ·Q.· ·And then all these various T sites are
14· ·make sure things still looked as good as they         14· ·what we were talking about, the -- where the
15· ·could, given the circumstances, right?                15· ·turbine is and where the erection area actually
16· · · ·A.· ·Yes, yeah.                                   16· ·is, right?
17· · · ·Q.· ·If you saw something that was                17· · · ·A.· ·Yes.
18· ·potentially unsafe or bad ground conditions,          18· · · ·Q.· ·I never actually realized this before,
19· ·this is something that you would address with         19· ·so I'm just going to ask you, what does M1 stand
20· ·the general contractor and see if it's something      20· ·for, M as in Michael?
21· ·that you need to readdress, things like that,         21· · · ·A.· ·It's MET tower.· They work as weather
22· ·right?                                                22· ·towers and other communication towers.· I'm not
23· · · ·A.· ·Correct.                                     23· ·exactly sure what they do, but they look like
24· · · ·Q.· ·Would you also expect the same of your       24· ·radio towers.
                                                      46                                                         48

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·1· · · ·Q.· ·Got it.· And we've had some testimony        ·1· ·as the access roads and the erection areas that
·2· ·about that.· They essentially, like, measure the      ·2· ·actually matter.· Everything else, who cares
·3· ·weather at these sites, right?                        ·3· ·about, essentially, right?
·4· · · ·A.· ·Yeah.                                        ·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·And then I want to show you, just            ·5· · · ·Q.· ·In this erection area, you'd agree that
·6· ·generally, Exhibit 4 for Brad Bennett's               ·6· ·Borneke knows things are going to be delivered
·7· ·deposition.                                           ·7· ·here and workers are going to be coming in
·8· · · · · · Again, can you see my screen?                ·8· ·later, right?
·9· · · ·A.· ·Yes.                                         ·9· · · ·A.· ·Yes.
10· · · ·Q.· ·This, again, is Beemerville Road, we         10· · · ·Q.· ·This is an important area to keep
11· ·have Bingham Road, and Fisk Road.                     11· ·maintained and safe for those various tasks and
12· · · · · · Does it appear to be just the general        12· ·workers, right?
13· ·location of where this Mendota Hills project          13· · · ·A.· ·Yes.
14· ·was?                                                  14· · · ·Q.· ·This would include grading as well as
15· · · ·A.· ·Yes.                                         15· ·possible, as well as providing adequate
16· · · ·Q.· ·And then off of these roads, you can         16· ·drainage, right?
17· ·see these various turbines and, like, the             17· · · ·A.· ·Yes.
18· ·shadows of them and these roads that lead up to       18· · · ·Q.· ·I want to move in to the contract for
19· ·them.· These would be, like, the access roads,        19· ·this project.· Again, this was marked as
20· ·right?                                                20· ·Exhibit 5 for Brad Bennett's deposition.
21· · · ·A.· ·Correct.                                     21· · · · · · And you can see my screen?
22· · · ·Q.· ·If we go on to Page 2, we see a              22· · · ·A.· ·Yes.
23· ·zoomed-in site.· What site this is, I don't           23· · · ·Q.· ·When we were talking about, like, the
24· ·know, but, again, this curved road, this would        24· ·contracts and the scope of work, this is an
                                                      49                                                         51

·1· ·be, like, the access road, right?                     ·1· ·11-page scope of work document.· Can you see
·2· · · ·A.· ·Yes.                                         ·2· ·that?
·3· · · ·Q.· ·And then this area that's cleared out        ·3· · · ·A.· ·Yes.
·4· ·near the turbine, that would be, like, the            ·4· · · ·Q.· ·At the top, it says "Mendota Hills
·5· ·erection area, right?                                 ·5· ·Repowering Project," so you'd agree this is for
·6· · · ·A.· ·Yes.· During construction, the cleared       ·6· ·the specific project we're here to talk about,
·7· ·area is about 2 acres.· When it's all said and        ·7· ·right?
·8· ·done, you got the whole 20-foot circle of             ·8· · · ·A.· ·Yes.
·9· ·concrete, and on this -- it was an existing wind      ·9· · · ·Q.· ·And this would have been something that
10· ·farm, so they left some old crane pads in, which      10· ·you read prior to Borneke starting its work on
11· ·looks like a parking lot here.                        11· ·this project and at least be somewhat familiar
12· · · ·Q.· ·Okay.· But again, so just from a             12· ·with so you know what Borneke had to do and what
13· ·general standpoint, at least, this curved thing       13· ·they didn't have to do on this project, right?
14· ·would be, like, the access road, and then the         14· · · ·A.· ·Yes.
15· ·cleared out area near the turbine, that would         15· · · ·Q.· ·Again, I'm not going to ask you to
16· ·be, like, an example of an erection area, right?      16· ·interpret the contract from a legal standpoint,
17· · · ·A.· ·Yes.                                         17· ·but just from your time in the construction
18· · · ·Q.· ·And then, you know, we can see the           18· ·field, your training in college, and everything
19· ·different colorations.· The dark green in this        19· ·in between, you feel comfortable looking at
20· ·is literally like 99 percent of the land like we      20· ·these documents and talking about what Borneke
21· ·talked about earlier that you're never even           21· ·was contracted to do and what they weren't
22· ·going to be touching, right?                          22· ·contracted to do, right?
23· · · ·A.· ·Yes.                                         23· · · ·A.· ·Yes.
24· · · ·Q.· ·And then it's only like the areas such       24· · · ·Q.· ·So if we go on the first page under
                                                      50                                                         52

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·1· ·2.1 General, Section D, it says, "Subcontractor       ·1· ·documents, right?
·2· ·agrees to procure, provide, and pay for all           ·2· · · ·A.· ·Yes.
·3· ·materials, equipment, tools, consumables, labor,      ·3· · · ·Q.· ·Then part of the idea behind this is,
·4· ·transportation, supervision, temporary office         ·4· ·again, as we talked about, if the area's graded
·5· ·requirements, administration, and other costs         ·5· ·away from where the turbine is and where the
·6· ·required to complete the work," right?                ·6· ·work is being performed, there won't be standing
·7· · · ·A.· ·Yes.                                         ·7· ·water that pools in the work area or near the
·8· · · ·Q.· ·So essentially, to say it simply,            ·8· ·turbine.· That's part of the idea behind it,
·9· ·Borneke has a job and they are responsible for        ·9· ·right?
10· ·completing it, right?                                 10· · · ·A.· ·Yes.
11· · · ·A.· ·Yes.                                         11· · · ·Q.· ·If we go to Page 9, Turbine Erection
12· · · ·Q.· ·If we go on to Page 2 under                  12· ·Areas, if we go under Subsection A of 2.21,
13· ·Section 2.4, this is something we've talked           13· ·Turbine Erection Areas, it says that "Borneke
14· ·about before, and one of the areas Borneke was        14· ·has to clear, grub, and provide all necessary
15· ·responsible for was the construction trailer and      15· ·grading for a 175-foot radius around the
16· ·the laydown yard, right?                              16· ·turbine, inclusive of cut and fill, necessary to
17· · · ·A.· ·Yes.                                         17· ·achieve no more than a 5 percent grade across
18· · · ·Q.· ·When we looked at the site map, that         18· ·the area."
19· ·was the overall laydown area down at the bottom       19· · · · · · Did I read that correctly?
20· ·by like site T29 or something like that, right?       20· · · ·A.· ·Yes.
21· · · ·A.· ·Yeah, that sounds right.                     21· · · ·Q.· ·Then there's subsections to this part
22· · · ·Q.· ·And then if we go on to Page 3, under        22· ·as well, like 1, 2, and 3, right?
23· ·Section 2.6, again, one of the things we talked       23· · · ·A.· ·Yes.
24· ·about, turbine access roads, part of Borneke's        24· · · ·Q.· ·For example, it says that "All cleared
                                                      53                                                         55

·1· ·responsibility was to create and maintain these       ·1· ·and grubbed debris shall be pushed to the edges
·2· ·turbine access roads, right?                          ·2· ·of the cleared area."· That's 1.
·3· · · ·A.· ·Yes.                                         ·3· · · · · · And then 2 says, "Bumps shall be
·4· · · ·Q.· ·And then we can skip ahead a little bit      ·4· ·leveled and holes filled to accommodate
·5· ·to Page 8 of this document.· Again, one of the        ·5· ·equipment travel."
·6· ·ideas -- or one of the responsibilities of            ·6· · · · · · Did I read that correctly?
·7· ·Borneke under 2.17 was foundation, excavation,        ·7· · · ·A.· ·Yes.
·8· ·and backfill, right?                                  ·8· · · ·Q.· ·And then the last subsection of 2.21A,
·9· · · ·A.· ·Yes.                                         ·9· ·No. 3 says, "Cleared area shall be maintained,
10· · · ·Q.· ·And Borneke was responsible for              10· ·compacted, and provide positive drainage at all
11· ·creating and maintaining the various foundation       11· ·times to facilitate turnaround area for turbine
12· ·areas?                                                12· ·delivery components through the duration of the
13· · · ·A.· ·Yes.                                         13· ·project," right?
14· · · ·Q.· ·Under Section C, it says, you know,          14· · · ·A.· ·Yes.
15· ·like, excavate and backfill foundations in            15· · · ·Q.· ·And this is in that 175-foot radius
16· ·accordance with the design documents, right?          16· ·that we talked about, right?
17· · · ·A.· ·Yes.                                         17· · · ·A.· ·Yes.
18· · · ·Q.· ·And then I can skip some of this             18· · · ·Q.· ·So throughout this whole erection area,
19· ·because it's -- you know, after talking with          19· ·these are some of the responsibilities of
20· ·Brad, we've realized that it's not really             20· ·Borneke, right?
21· ·relevant, but some of it is.· Like, for example,      21· · · ·A.· ·Yes.
22· ·backfill, it says that it should be graded away       22· · · ·Q.· ·So let's just break down Subsection 3.
23· ·from the turbine to create adequate slope away        23· ·It says it "shall be maintained and compacted,"
24· ·from the turbine as detailed in the design            24· ·right?
                                                      54                                                         56

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·1· · · ·A.· ·Yes.                                         ·1· · · ·A.· ·Right.
·2· · · ·Q.· ·Then another one says "provide positive      ·2· · · ·Q.· ·So there's different grades, like
·3· ·drainage," right?                                     ·3· ·90 percent would essentially be off a cliff,
·4· · · ·A.· ·Yes.                                         ·4· ·right?
·5· · · ·Q.· ·One of the reasons for this is that the      ·5· · · ·A.· ·Yes.
·6· ·turbine is in the center of this erection area?       ·6· · · ·Q.· ·And then 5 percent would be a very
·7· · · ·A.· ·Yes.                                         ·7· ·minimal grade, so the idea is keep the ground
·8· · · ·Q.· ·And in addition to that, there's going       ·8· ·mostly level but somewhat of a grade away from
·9· ·to be various cranes, trucks, workers coming in       ·9· ·these areas, right?
10· ·this erection area, and you want the water going      10· · · ·A.· ·Yes.
11· ·away from this area, right?                           11· · · ·Q.· ·And, again, one of the reasons for this
12· · · ·A.· ·Yes.                                         12· ·is at these various areas, large pieces of
13· · · ·Q.· ·From a common sense perspective, you         13· ·equipment are going to be coming in, right?
14· ·know, this is where workers are going to be           14· · · ·A.· ·Yes.
15· ·actually working, and you don't want people           15· · · ·Q.· ·You want the semi trucks to be able to
16· ·wading around in water, right?                        16· ·come in and deliver these pieces of equipment,
17· · · ·A.· ·Yes.                                         17· ·right?
18· · · ·Q.· ·Additionally, standing water, as we          18· · · ·A.· ·Yes.
19· ·talked about on these projects, it can pool, and      19· · · ·Q.· ·And you want the -- for example, the
20· ·then it can freeze, depending on the                  20· ·rough terrain crane, you want that to be able to
21· ·temperature, right?                                   21· ·come in, take the pieces of equipment off the
22· · · ·A.· ·Yes.                                         22· ·truck and place them in the staging areas,
23· · · ·Q.· ·This is another reason why these tasks       23· ·right?
24· ·are included in the scope of work because it's        24· · · ·A.· ·Yes.
                                                      57                                                         59

·1· ·important to provide proper drainage on this job      ·1· · · ·Q.· ·And if the ground is properly compacted
·2· ·site, right?                                          ·2· ·and leveled, one of the ideas is, like,
·3· · · ·A.· ·Yes.                                         ·3· ·equipment doesn't roll away and it stays where
·4· · · ·Q.· ·And then if we go on, it says that it        ·4· ·it should, right?
·5· ·shall be compacted and maintained, but also in        ·5· · · ·A.· ·Yes.
·6· ·the last subsection, bumps shall be leveled and       ·6· · · ·Q.· ·I want to break this down a little
·7· ·filled, so Borneke has to keep the ground as          ·7· ·further.· You'd agree that these requirements
·8· ·level as possible in these areas, right?              ·8· ·for this erection area are for the full 175-foot
·9· · · ·A.· ·Yes.                                         ·9· ·radius around the turbine, right?
10· · · ·Q.· ·And one of the reasons, like if we take      10· · · ·A.· ·Yes.
11· ·the crane pad, for example, you want the ground       11· · · ·Q.· ·Then again, like we said, this also
12· ·to stay level so for things like the crane            12· ·includes the maintaining of this area throughout
13· ·doesn't tip over, right?                              13· ·the duration of the project, as it says right
14· · · ·A.· ·Crane doesn't tip over.· You want            14· ·here, correct?
15· ·it -- that's why it's -- it's tricky, because,        15· · · ·A.· ·Yes.
16· ·yes, you want the water to drain, but you want        16· · · ·Q.· ·So is this part of your responsibility
17· ·it as flat as possible.· Otherwise, yeah, they'd      17· ·as you talked about, on a weekly basis, going to
18· ·put them all on hills.· Well, you can't work on       18· ·these various sites and making sure that they're
19· ·a hill, either, so you want it as flat as -- you      19· ·still graded, there's no large ruts, there's no
20· ·want it as flat as possible but still to have         20· ·standing water, things like this?
21· ·drainage.                                             21· · · ·A.· ·Yes, to a point, because if you also
22· · · ·Q.· ·Yeah, no, and that's why there's             22· ·read the whole thing, it's to facilitate an
23· ·various degrees.· Like, for example, this says        23· ·area, a turnaround area for turbine delivery
24· ·no more than a 5 percent grade, right?                24· ·components.
                                                      58                                                         60

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·1· · · ·Q.· ·Yeah.                                        ·1· ·mats to put under stuff.· It's just -- no,
·2· · · ·A.· ·So, yes, once those components get           ·2· ·everywhere now, they put mats under everything
·3· ·there, then we step back because they got to put      ·3· ·because the natural ground cannot support the
·4· ·up that tower.· We can't be in there because          ·4· ·weight of the equipment and the parts.
·5· ·that's an even bigger safety risk.· So once           ·5· · · ·Q.· ·Well, then, you know, to that point, if
·6· ·those turbine parts are in there, we're not even      ·6· ·the ground couldn't support it anyway, Borneke's
·7· ·supposed to really go into that site until            ·7· ·role is irrelevant, so that's kind of true, but
·8· ·they're done putting the tower up.                    ·8· ·it's kind of not.· Borneke still has a
·9· · · ·Q.· ·Okay.· And, again, if you read the --        ·9· ·responsibility to prepare the ground properly,
10· ·that is the last part, the Subsection 3, but it       10· ·right?
11· ·also says things like "bumps shall be leveled         11· · · ·A.· ·Yes.
12· ·and holes filled to accommodate equipment             12· · · ·Q.· ·And part of that responsibility is to
13· ·travel."                                              13· ·ensure that the ground, to the best of its
14· · · · · · So you'd agree that Borneke, while           14· ·natural abilities, can support the weight of
15· ·they're not going to be in there while a crane        15· ·these various trucks and equipment, right?
16· ·is picking up a piece of equipment, they still        16· · · ·A.· ·Correct.
17· ·have a responsibility to make sure that these         17· · · ·Q.· ·Because if you just said, well, the
18· ·various pieces of equipment and the workers can       18· ·ground can't support it, we're not going to do
19· ·do their job properly, right?                         19· ·anything, you're not doing your job, right?
20· · · ·A.· ·Yes.· And the way I look at that             20· · · ·A.· ·Right, so we will do it the best of our
21· ·section, that's -- okay.· There's a cornfield         21· ·abilities, but then you bring in a million-pound
22· ·and it's plowed up, so we go and level it off so      22· ·crane or 2-million-pound crane, it's just the
23· ·it's not a plowed-up cornfield.                       23· ·science of the dirt says you need to add
24· · · ·Q.· ·Exactly, but the idea is you can't just      24· ·something else to it.
                                                      61                                                         63

·1· ·go there, give it a once-over, and if something       ·1· · · ·Q.· ·Of course.
·2· ·happened where there's large ruts or standing         ·2· · · ·A.· ·So, yes, to the best of our abilities,
·3· ·water, you can't just wipe your hands and say,        ·3· ·yes, we compact it.
·4· ·well, we've already been there.· Borneke has a        ·4· · · ·Q.· ·Okay.· Give me one second.
·5· ·responsibility to maintain these areas as well        ·5· · · · · · And like you said, to the best of your
·6· ·to the best of their abilities, right?                ·6· ·abilities, you grade and compact the land,
·7· · · ·A.· ·Yes.                                         ·7· ·right?
·8· · · ·Q.· ·But to your point as well, the main          ·8· · · ·A.· ·Yes.
·9· ·thing, like you said, is going in there and           ·9· · · ·Q.· ·And the idea behind that is you want to
10· ·doing it right the first time, preparing the          10· ·be able to make sure that the ground can, to the
11· ·ground properly, right?                               11· ·best of its ability, support the weight under
12· · · ·A.· ·Yes.                                         12· ·these pieces of equipment, right?
13· · · ·Q.· ·And this includes grading, drainage,         13· · · ·A.· ·Correct.
14· ·compaction, all those things?· Do it right the        14· · · ·Q.· ·And you want to make sure that -- you
15· ·first time, right?                                    15· ·know that this ground is going to have semi
16· · · ·A.· ·Yes.                                         16· ·trucks coming in, cranes, workers.· You want it
17· · · ·Q.· ·And the idea is if you grade and             17· ·to be prepared properly so that the work goes
18· ·compact the land properly, it'll be able to           18· ·smoothly, right?
19· ·support the weight of the various pieces of           19· · · ·A.· ·Yes.
20· ·equipment that are coming on later, right?            20· · · ·Q.· ·Not only smoothly, but safely, right?
21· · · ·A.· ·Not -- that's how it used to be, not so      21· · · ·A.· ·Yes.
22· ·much -- the equipment and everything's getting        22· · · ·Q.· ·What were you doing as a Borneke
23· ·so big and weighs so much that natural ground         23· ·quality control worker and foreman to ensure
24· ·can't support it.· That's why they use wooden         24· ·that the area was properly maintained?
                                                      62                                                         64

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·1· · · ·A.· ·Just every week when I did my                ·1· ·various areas as well, right?
·2· ·erosion -- I can't even -- I can't think of the       ·2· · · ·A.· ·Yes.
·3· ·term for it -- where I had to check all the           ·3· · · ·Q.· ·And if Borneke is, in fact, not going
·4· ·erosion stuff, so, yeah, I'd drive around to          ·4· ·around and maintaining areas that need to be
·5· ·every site, and if something was messed up, I'd       ·5· ·maintained or readdressed, hypothetically
·6· ·bring it up and we would -- if someone messed it      ·6· ·speaking, this would mean they were not
·7· ·up, we'd fine -- they'd be responsible for            ·7· ·fulfilling their contractual obligations, right?
·8· ·fixing it.· If it was something we did, we would      ·8· · · ·A.· ·Correct.
·9· ·have to fix it.                                       ·9· · · ·Q.· ·On these job sites, and this one in
10· · · ·Q.· ·Now, like, for example, if it's a --         10· ·particular, you agree that Borneke had necessary
11· ·well, let me break that down.                         11· ·equipment to grade and maintain the roadways,
12· · · · · · Are you stating that if another              12· ·right?
13· ·contractor messed up excavating work, you'd make      13· · · ·A.· ·Yes.
14· ·ironworkers do excavating work?                       14· · · ·Q.· ·They had bulldozers, Bobcats, bladers.
15· · · ·A.· ·No, no, no.· So, say, after we go            15· ·They had equipment big and small, right?
16· ·through and we do the concrete backfill, the          16· · · ·A.· ·Yes.
17· ·electricians come in and have to trench all           17· · · ·Q.· ·And if an area was potentially too
18· ·their electrical lines, so we're not going to go      18· ·tight for a bulldozer to get to, something like
19· ·and mess with their work.· If they're in there        19· ·a smaller piece of equipment like a Bobcat could
20· ·working and it's -- if they leave a 4-foot hole       20· ·have potentially been used, right?
21· ·where they splice together wires, that's not our      21· · · ·A.· ·Yes.
22· ·responsibility to maintain their work as well.        22· · · ·Q.· ·This is out of place in my outline, but
23· · · ·Q.· ·No, and I see what you're saying, but        23· ·before I forget to ask you this, retention of
24· ·from a general perspective, if it's something         24· ·documents, you know like how Borneke has various
                                                      65                                                         67

·1· ·that just deteriorates because of, you know,          ·1· ·documents for various projects, whether it be
·2· ·natural ground conditions or just how the site        ·2· ·change orders, contracts, safety documents,
·3· ·is, you know, going, but if it was an excavating      ·3· ·whatever it may be, Brad testified that his
·4· ·task, these are things that Borneke would be          ·4· ·understanding is, after the project is done,
·5· ·responsible for maintaining and fixing                ·5· ·Borneke sends everything to the general
·6· ·periodically, right?                                  ·6· ·contractor or the owner, and then they don't
·7· · · ·A.· ·Yes.                                         ·7· ·really keep a copy of it.· Does this sound
·8· · · ·Q.· ·So what you're stating is you're just        ·8· ·accurate to you?
·9· ·not going to go back and fix someone else's           ·9· · · ·A.· ·Yes.
10· ·work, but if some of your work gets messed up,        10· · · ·Q.· ·Do you know why that is, just why it's
11· ·that is something you would be responsible for        11· ·kind of we'll send everything out, and then we
12· ·going back and addressing?                            12· ·don't retain a copy ourselves?
13· · · ·A.· ·Yes.                                         13· · · ·A.· ·I don't -- honestly, I don't know why
14· · · ·Q.· ·And then you would agree that if             14· ·that is, either.· I don't know.
15· ·Borneke is not maintaining these erection areas       15· · · ·Q.· ·Okay.· Got it.
16· ·and not ensuring that the ground is still up to       16· · · · · · MR. TERRY:· Hey, Chris, do you think
17· ·standards, by not doing this, they are not            17· ·now is an okay time to take a quick break?
18· ·performing the tasks they were contracted to do,      18· · · · · · MR. SULLIVAN:· Yeah, that's fine.
19· ·right?                                                19· · · · · · MR. TERRY:· Perfect.
20· · · ·A.· ·Can you repeat that?· You cut out a          20· · · · · · Nick, we're just going to take a few
21· ·little.                                               21· ·minutes.
22· · · ·Q.· ·Yeah, sure.· You'd agree that Borneke,       22· · · · · · Ms. Court Reporter, let's just take
23· ·in addition to preparing the ground right the         23· ·like five and come back at about like 2:20 or
24· ·first time, had a responsibility to maintain the      24· ·so.
                                                      66                                                         68

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·1· · · · · · · · · ·(Whereupon, a short break was         ·1· ·that's the delivering and the erecting of wind
·2· · · · · · · · · · taken.)                              ·2· ·turbines, right?
·3· ·BY MR. TERRY:                                         ·3· · · ·A.· ·Yes.
·4· · · ·Q.· ·So then, sir, I just want to ask you a       ·4· · · · · · MR. TERRY:· And, Ms. Court Reporter,
·5· ·few general questions.· Just to be clear, you         ·5· ·Mortenson is M-O-R-T-E-N-S-O-N, just for the
·6· ·agree that if an area is properly graded, one of      ·6· ·record.
·7· ·the benefits is that standing water will not          ·7· ·BY MR. TERRY:
·8· ·pool, right?                                          ·8· · · ·Q.· ·And then Borneke knows that in order to
·9· · · ·A.· ·Yes.                                         ·9· ·effectuate, like, delivery, they have to, for
10· · · ·Q.· ·And if the grading and the draining is       10· ·example, prepare the access roads so that they
11· ·done properly, this prevents standing water,          11· ·don't simply sink underneath the weight of the
12· ·right?                                                12· ·pickup trucks, right -- or the semi trucks?
13· · · ·A.· ·Yes.                                         13· · · ·A.· ·Yes.
14· · · ·Q.· ·And if the water does not stand or           14· · · ·Q.· ·And Borneke also knows the same thing.
15· ·pool, so to speak, then it cannot freeze.             15· ·Obviously, there are limits with natural land,
16· ·That's one of the ideas behind it?                    16· ·but to the best of the ability, Borneke has to
17· · · ·A.· ·Yes.                                         17· ·prepare the erection areas so that they, for
18· · · ·Q.· ·You'd agree that if an area that             18· ·example, can support the weight of the crane on
19· ·Borneke is responsible for grading and providing      19· ·the crane pad, right?
20· ·drainage, if they do this properly, there should      20· · · ·A.· ·Yes.
21· ·not be standing water in these areas, right?          21· · · ·Q.· ·And this crane pad not only has to be
22· · · ·A.· ·Correct.                                     22· ·able to support the weight of the crane, but
23· · · ·Q.· ·You agree that large areas of standing       23· ·also be able to support the weight of the
24· ·water can later turn into sheets of ice               24· ·various pieces of equipment being delivered,
                                                      69                                                         71

·1· ·possibly, correct?                                    ·1· ·right?
·2· · · ·A.· ·Yes.                                         ·2· · · ·A.· ·Correct.
·3· · · ·Q.· ·On this project, the vast majority of        ·3· · · ·Q.· ·And you'd agree that part of Borneke's
·4· ·it is farmland that Borneke never touches             ·4· ·responsibilities is to grade and compact the
·5· ·because it would be next to impossible to touch       ·5· ·land to prepare for these tasks, right?
·6· ·every square inch, right?                             ·6· · · ·A.· ·Yes.
·7· · · ·A.· ·Yes.                                         ·7· · · ·Q.· ·And you'd agree that part of the
·8· · · ·Q.· ·But there are designated areas, such as      ·8· ·responsibilities is to prevent the ground from
·9· ·erection areas, for example, where it's               ·9· ·simply caving in or sinking underneath the
10· ·important to make sure the grading, the               10· ·weight of these various pieces, right?
11· ·drainage, and the compaction is done properly,        11· · · ·A.· ·Yes.
12· ·right?                                                12· · · ·Q.· ·And you'd agree that these pieces, like
13· · · ·A.· ·Yes.                                         13· ·the bases, the mid, the top sections of these
14· · · ·Q.· ·And to ensure that this work is              14· ·turbines, I mean, they weigh tens of thousands
15· ·maintained in these areas, right?                     15· ·of pounds, right?
16· · · ·A.· ·Yes.                                         16· · · ·A.· ·Yes.
17· · · ·Q.· ·And to ensure that potholes or ruts are      17· · · ·Q.· ·And if the ground is -- let's just say
18· ·filled as needed, right?                              18· ·hypothetically, if the ground is not compacted,
19· · · ·A.· ·Yes.                                         19· ·if it's not prepared properly, catastrophic
20· · · ·Q.· ·You would further agree that given           20· ·things can happen where the ground caves in and
21· ·Borneke's decades of experience in the wind farm      21· ·these pieces of equipment roll or fall and
22· ·industry as well as working with Mortenson on         22· ·really bad things can happen, right?
23· ·prior projects, Borneke is well aware of what is      23· · · ·A.· ·Yes.
24· ·going to be performed on this project, and            24· · · ·Q.· ·That's why it's really important to
                                                      70                                                         72

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·1· ·prepare the ground properly so that the ground        ·1· ·underneath these various pieces of equipment,
·2· ·can support the weights of these pieces of            ·2· ·right?
·3· ·equipment, right?                                     ·3· · · ·A.· ·Yes.
·4· · · ·A.· ·Yes.                                         ·4· · · ·Q.· ·I want to show you what was marked as
·5· · · ·Q.· ·And in preparing the ground, not only        ·5· ·Exhibit 8 for Mr. Bennett's deposition.
·6· ·does Borneke grade it, but they compact it to         ·6· · · · · · Have you seen this document before,
·7· ·try and help prepare it for the various               ·7· ·sir?· It's an incident analysis created by
·8· ·components that are going to be there, right?         ·8· ·Mortenson.
·9· · · ·A.· ·Yes.                                         ·9· · · ·A.· ·Yes, I've seen this one.
10· · · ·Q.· ·And you'd agree that one of the reasons      10· · · ·Q.· ·I don't want to know about what you
11· ·you compact the ground in these erection areas        11· ·spoke with Mr. Sullivan about or anyone from his
12· ·is that so it does not sink underneath the            12· ·office, but when did you see this document?
13· ·pieces of equipment, right?                           13· · · ·A.· ·I don't know, a month ago.
14· · · ·A.· ·Yes.                                         14· · · ·Q.· ·Was that the first time that you saw
15· · · ·Q.· ·And another reason is, is that so the        15· ·it?
16· ·ground does not sink in and cause a depressed         16· · · ·A.· ·Yeah, yes.
17· ·area to form where water could later pool and         17· · · ·Q.· ·Were you involved in any investigation
18· ·freeze because that would be a potentially            18· ·or conversations after the subject incident that
19· ·unsafe condition, right?                              19· ·we're here to talk about today?
20· · · ·A.· ·Correct.                                     20· · · ·A.· ·No.
21· · · ·Q.· ·Like, for example, you'd agree that          21· · · ·Q.· ·Let me just ask you some questions
22· ·Borneke is able to create crane pads that do not      22· ·about this document.
23· ·sink in underneath the weight of the crane,           23· · · · · · You'd agree that in this document, we
24· ·right?                                                24· ·see what appears on the right side of this
                                                      73                                                         75

·1· · · ·A.· ·Yes -- yes, and that stuff's always          ·1· ·picture to be an erection area, right?
·2· ·changing, but yes.                                    ·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·Yeah.· But generally speaking, you'd         ·3· · · ·Q.· ·To the left, it's a little hard to see,
·4· ·agree that to be true.· Otherwise, there would        ·4· ·but we can see the crane pad to the left, right?
·5· ·be no need for excavators.· Borneke is able to        ·5· · · ·A.· ·Yes.
·6· ·prepare the land so that the crane pad could          ·6· · · ·Q.· ·And then, you know, we can see
·7· ·adequately support the weight of the crane and        ·7· ·literally where I think the farmland again
·8· ·the crane holding the various pieces of               ·8· ·starts, because you see this area behind the hub
·9· ·equipment, right?                                     ·9· ·in the background.· That's a little elevated,
10· · · ·A.· ·Yes.                                         10· ·but then the area around the crane pad and the
11· · · ·Q.· ·And then the same thing, Borneke is          11· ·erection area as a whole is more level, right?
12· ·also able to prepare the various erection areas       12· · · ·A.· ·Yes.
13· ·so that it can adequately support the weight of       13· · · ·Q.· ·And then so this whole area where this
14· ·semis traveling, as well as the staging of            14· ·big midsection to the right is being staged, as
15· ·equipment, right?                                     15· ·well as the hub, as well as where the crane pad
16· · · ·A.· ·Yes.                                         16· ·is, this is all part of the erection area,
17· · · ·Q.· ·And you'd agree that Borneke knows that      17· ·right?
18· ·these various tasks are going to be performed,        18· · · ·A.· ·Yes.
19· ·like semi trucks delivering equipment and             19· · · ·Q.· ·Do you have any understanding of how my
20· ·equipment being staged in these areas, right?         20· ·client's incident happened other than from
21· · · ·A.· ·Yes.                                         21· ·conversations with your attorney?
22· · · ·Q.· ·And you would expect that if Borneke         22· · · ·A.· ·No.
23· ·properly grades and compacts the erection area,       23· · · ·Q.· ·I want to go on to Page 2 of this
24· ·the ground would not sink in or cave in               24· ·document.· It says that, and I quote:· The site
                                                      74                                                         76

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·1· ·had been previously addressed with a bulldozer        ·1· · · ·Q.· ·And in this responsibility, this area
·2· ·to mitigate walking/working hazards.· However,        ·2· ·included the responsibility to properly prepare
·3· ·the ice accumulation had occurred too close to        ·3· ·the land for both the crane pad as well as the
·4· ·the WTG section for the dozer to operate safely,      ·4· ·various pieces of equipment and the trucks that
·5· ·leaving the ice unaddressed.                          ·5· ·are going to be coming later in, right?
·6· · · · · · You agree that Borneke -- and Brad           ·6· · · ·A.· ·Yes.
·7· ·agreed with this as well -- that Borneke was the      ·7· · · ·Q.· ·We've already established Borneke is
·8· ·entity running the bulldozers and grading and         ·8· ·responsible for providing proper drainage and
·9· ·maintaining the land, right?                          ·9· ·grading so that water doesn't pool and freeze in
10· · · ·A.· ·Possibly.· I also do know Mortenson          10· ·these areas, right?
11· ·also had their own bulldozer on-site as well.         11· · · ·A.· ·Correct.
12· · · ·Q.· ·Do you happen to know if anyone from         12· · · ·Q.· ·And if water does not pool, if there's
13· ·Mortenson asked or addressed this ice                 13· ·proper drainage, the idea is water won't be able
14· ·accumulation with people from Borneke?                14· ·to pool and freeze, right?
15· · · ·A.· ·No, they did not at all.                     15· · · ·A.· ·Yes.
16· · · ·Q.· ·But as it pertains to what's in this         16· · · ·Q.· ·Like we've established, Borneke has
17· ·document, do you have any knowledge one way or        17· ·been on these wind farm projects for the last
18· ·another about the information in this document        18· ·20-plus years, right?
19· ·or any of the findings?                               19· · · ·A.· ·Yes.
20· · · ·A.· ·Can you repeat that one more time?           20· · · ·Q.· ·They know what's going to be delivered
21· · · ·Q.· ·Sure.· I guess that was a bad way to         21· ·and what's going to be expected, right?
22· ·ask the question, like I said in the beginning.       22· · · ·A.· ·Yes.
23· · · · · · You said the first time you saw this         23· · · ·Q.· ·And they are responsible for grading
24· ·document was about a month ago, right?                24· ·and compacting these areas that we saw in the
                                                      77                                                         79

·1· · · ·A.· ·Yes.                                         ·1· ·photograph?
·2· · · ·Q.· ·You had no -- did you have any part in       ·2· · · ·A.· ·Yes.
·3· ·an investigation into this accident or how it         ·3· · · ·Q.· ·I think I've already asked you this,
·4· ·happened on this job site?                            ·4· ·but just to get the proper foundation, what's
·5· · · ·A.· ·No.                                          ·5· ·your opinion of Brad Bennett as a site
·6· · · ·Q.· ·And do you have any opinions one way or      ·6· ·superintendent, just a worker as a whole?
·7· ·another about the information contained in this       ·7· · · ·A.· ·He's an expert.· I love working with
·8· ·document, considering you were not part of            ·8· ·Brad.· I actually -- yeah, I've been working
·9· ·creating it or anything like that?                    ·9· ·with Brad since I was in high school during the
10· · · ·A.· ·No.· The document seems -- it's just         10· ·summers.· Yeah, he's awesome.
11· ·like all the other ones Mortenson does, so I --       11· · · ·Q.· ·And, you know, from taking his
12· · · ·Q.· ·So you've seen these documents in the        12· ·deposition, I can tell you that he seems very
13· ·past on various Mortenson projects?                   13· ·knowledgeable, but the point of my question is,
14· · · ·A.· ·Yes.                                         14· ·you don't have any qualms with his
15· · · ·Q.· ·And it's just, like it says, an              15· ·qualifications or ability to perform his work,
16· ·incident analysis for how the incident occurred       16· ·do you?
17· ·and what could have been done, stuff like that?       17· · · ·A.· ·No.
18· · · ·A.· ·Yes.                                         18· · · ·Q.· ·And the same thing, do you have any
19· · · ·Q.· ·But, again, based on the photograph          19· ·reason to have qualms with his knowledge of what
20· ·that I showed you in that document, you agree         20· ·work was supposed to be performed or how it was
21· ·that this an erection area that Borneke was           21· ·supposed to be performed?
22· ·responsible for grading and maintaining               22· · · ·A.· ·No.
23· ·throughout the project, right?                        23· · · ·Q.· ·And during his deposition, as you and I
24· · · ·A.· ·Yes.                                         24· ·have talked about, he testified consistently,
                                                      78                                                         80

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·1· ·and there's just a few things I want to ask you       ·1· · · · · · THE WITNESS:· What's that?
·2· ·about that.                                           ·2· · · · · · MR. SULLIVAN:· Go ahead.· Rephrase,
·3· · · · · · You agree that -- well, let me ask you       ·3· ·please.
·4· ·this:· He testified that, you know, Borneke           ·4· ·BY MR. TERRY:
·5· ·knows what's going to be delivered to the             ·5· · · ·Q.· ·Yeah, sure.· You would agree that if
·6· ·various sites and that they prepare the sites so      ·6· ·there are large ruts or depressed areas on
·7· ·that they do not get depressed areas formed           ·7· ·various parts of the project, like erection
·8· ·either by the trucks or the equipment, to the         ·8· ·areas, for example, where Borneke is responsible
·9· ·best of Borneke's abilities.· Would you agree         ·9· ·for grading, compacting, and drainage, if
10· ·with this?                                            10· ·there's these large ruts in depressed areas in
11· · · ·A.· ·Yes, to the best of our abilities, yes.      11· ·these various erection areas, this is evidence
12· · · ·Q.· ·Yeah.· And he also testified that if         12· ·that certain areas were not properly graded or
13· ·the ground is not properly prepared, depressed        13· ·prepared, right?
14· ·areas and large ruts could form, and this could       14· · · · · · MR. SULLIVAN:· Same objection.
15· ·lead to areas where water can pool and possibly       15· · · · · · Go ahead.
16· ·freeze, right?                                        16· · · · · · THE WITNESS:· Me?
17· · · ·A.· ·Correct.                                     17· ·BY MR. TERRY:
18· · · ·Q.· ·And he also testified that Borneke is        18· · · ·Q.· ·Yes.
19· ·responsible for grading, compacting, and              19· · · ·A.· ·Yes.· If our job was done correctly,
20· ·providing proper drainage, like you testified,        20· ·yes.
21· ·but he said if these tasks are done properly,         21· · · ·Q.· ·If your job is done correctly, the idea
22· ·the idea is there won't be large areas of             22· ·is to prevent those large ruts and depressed
23· ·standing water that could freeze over.· You'd         23· ·areas in these erection sites, right?
24· ·agree with this as well, right?                       24· · · ·A.· ·Yes.
                                                      81                                                         83

·1· · · ·A.· ·Yes.                                         ·1· · · ·Q.· ·And then Brad also testified that
·2· · · ·Q.· ·And then he further testified that           ·2· ·Borneke has access to the plans of the day on
·3· ·Borneke knows what is going to be delivered to        ·3· ·this project, right?
·4· ·the various sites, and that is why these              ·4· · · ·A.· ·Yes.
·5· ·erection areas are created so that part of the        ·5· · · ·Q.· ·And so they know what is going to be
·6· ·land can accommodate what's going to be               ·6· ·performed on the various days and when things
·7· ·delivered and the work that's going to be             ·7· ·are going to be delivered, stuff like that,
·8· ·performed there.· You would agree with this,          ·8· ·right?
·9· ·right?                                                ·9· · · ·A.· ·Yes.
10· · · ·A.· ·Yes.                                         10· · · ·Q.· ·And Brad testified that something that
11· · · ·Q.· ·And part of the being able to                11· ·was feasible was looking at the plans of the
12· ·accommodate the delivery is making sure that the      12· ·days, seeing when various pieces of equipment
13· ·ground does not simply cave in underneath the         13· ·were being delivered, and just making sure that
14· ·weight of these trucks and equipment, right?          14· ·after that, the various erection areas are still
15· · · ·A.· ·Correct.                                     15· ·properly graded and maintained.· You would agree
16· · · ·Q.· ·You agree that if there are large ruts       16· ·with this, right?
17· ·or depressed areas existing in areas where            17· · · ·A.· ·Yes.
18· ·Borneke was responsible for grading, compacting,      18· · · ·Q.· ·And this is part of what you were
19· ·and maintaining, you know, this is evidence that      19· ·actually doing, going to these various areas
20· ·certain areas may not have been properly graded       20· ·and, you know, seeing if the areas were still
21· ·or compacted, right?                                  21· ·properly graded and compacted after various
22· · · · · · MR. SULLIVAN:· Objection, legal              22· ·deliveries were made, right?
23· ·conclusion.                                           23· · · ·A.· ·Before deliveries.
24· · · · · · You can answer.                              24· · · ·Q.· ·Why not after?
                                                      82                                                         84

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·1· · · ·A.· ·After is when they're supposed to be         ·1· · · · · · MR. TERRY:· Back on the record.
·2· ·putting their tower up and we're not supposed to      ·2· ·BY MR. TERRY:
·3· ·be in there.                                          ·3· · · ·Q.· ·Sir, I'm showing you what's been marked
·4· · · ·Q.· ·Well, on these projects, there's             ·4· ·as Bennett Exhibit 9.
·5· ·sometimes weeks or, you know, months of delays        ·5· · · · · · Can you see my screen?
·6· ·after the equipment is delivered before it's          ·6· · · ·A.· ·Yes.
·7· ·actually put up, right?                               ·7· · · ·Q.· ·And this is just a -- you can tell that
·8· · · ·A.· ·Yes.                                         ·8· ·this is just a photograph that was contained in
·9· · · ·Q.· ·So in those two weeks that, for              ·9· ·the incident report that I showed you, right?
10· ·example, the equipment is sitting at one site         10· · · ·A.· ·Yes.
11· ·and not being erected, it's possible for Borneke      11· · · ·Q.· ·Then if we go on to Page 2, it's
12· ·to go there and make sure the ground is still         12· ·another photograph that shows like a rough
13· ·properly graded and drainage is still adequate        13· ·terrain crane having to be towed out of ruts by
14· ·at these sites, right?                                14· ·one or two tractors, right?
15· · · ·A.· ·Yes, but that's also to the best of our      15· · · ·A.· ·Yes.
16· ·abilities because the more equipment, the more        16· · · ·Q.· ·Was this a common occurrence on this
17· ·people you bring into one of those sites, the         17· ·job site, you know, like, large pieces of
18· ·greater the risk is to running into one of the        18· ·equipment or trucks getting stuck and having to
19· ·towers, so you want to minimize as much as you        19· ·be towed out?
20· ·can going in and out of these sites because if        20· · · ·A.· ·Not to my knowledge.· This might have
21· ·you run a bulldozer or road grader into one of        21· ·been the only one.
22· ·those turbines, then it's a really big problem.       22· · · ·Q.· ·But overall, you'd agree that, you
23· · · ·Q.· ·And, again, that's why it's so               23· ·know, the site as a whole before Borneke gets
24· ·important to prepare these roadways and erection      24· ·there is, you know, rough, bad farmland, right?
                                                      85                                                         87

·1· ·areas right the first time so you don't need to       ·1· · · ·A.· ·Yes.
·2· ·go back and address them?                             ·2· · · ·Q.· ·And in the areas where Borneke is
·3· · · ·A.· ·Yes.                                         ·3· ·working, it's important to take the proper
·4· · · ·Q.· ·So that way, the erection area does not      ·4· ·precautions so that the land is prepared for
·5· ·simply sink in or cave in underneath the various      ·5· ·what is going to be coming next, right?
·6· ·mid pieces or the crane.· Prepare it right the        ·6· · · ·A.· ·Yes.
·7· ·first time and these things shouldn't happen,         ·7· · · ·Q.· ·And, like, this land is easily
·8· ·right?                                                ·8· ·problematic to begin with, given that it's
·9· · · ·A.· ·Yes.                                         ·9· ·untouched farmland, right?
10· · · ·Q.· ·And, you know, showing you what was          10· · · ·A.· ·Yes.
11· ·marked as Exhibit 9 for Mr. Bennett's                 11· · · ·Q.· ·This is more reason to ensure that the
12· ·deposition, these are just some photographs of        12· ·areas Borneke works on are properly prepared and
13· ·the --                                                13· ·maintained, right?
14· · · · · · THE WITNESS:· Can I go yell at my dog        14· · · ·A.· ·Yes.
15· ·for a second?                                         15· · · ·Q.· ·And as the quality control person as
16· · · · · · MR. TERRY:· It's not bothering me, but       16· ·well as the foreman on this project, you had the
17· ·if you need to, yeah, you can.· I have a German       17· ·responsibility to ensure the work was being
18· ·Shepherd at home, so I get it.                        18· ·performed properly, right?
19· · · · · · THE WITNESS:· Yeah, I'm just going to        19· · · ·A.· ·Yes.
20· ·go put him in my garage.                              20· · · ·Q.· ·And this included areas such as access
21· · · · · · MR. TERRY:· Yeah, of course.· Yeah, go       21· ·roads, laydown areas, and erection areas, right?
22· ·ahead.· Take your time.                               22· · · ·A.· ·Yes.
23· · · · · · · · · ·(Whereupon, a short break was         23· · · ·Q.· ·And, again, prior to this incident,
24· · · · · · · · · · taken.)                              24· ·there's been testimony that Borneke was not
                                                      86                                                         88

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·1· ·responsible for snow and ice removal prior to         ·1· ·BY MR. TERRY:
·2· ·this incident.· You'd agree with that                 ·2· · · ·Q.· ·Yeah.· And Borneke, to the best of your
·3· ·explicitly, right?                                    ·3· ·abilities -- we'll say that to the best of your
·4· · · ·A.· ·Yes.                                         ·4· ·abilities, Borneke is required to prepare the
·5· · · ·Q.· ·But prior to this incident, Borneke was      ·5· ·ground so that it does not sink in underneath
·6· ·responsible for grading, compacting, and              ·6· ·these pieces of equipment, right?
·7· ·maintaining various erection areas, right?            ·7· · · ·A.· ·Correct.
·8· · · ·A.· ·Yes.                                         ·8· · · ·Q.· ·And Borneke knows that various semi
·9· · · ·Q.· ·One of the tasks they were responsible       ·9· ·trucks need to drive up to these erection areas
10· ·for was providing drainage at these erection          10· ·and put down these pieces of equipment, right?
11· ·areas?                                                11· · · ·A.· ·Yes.
12· · · ·A.· ·Yes.                                         12· · · ·Q.· ·And Borneke knows that these delivery
13· · · ·Q.· ·And you'd agree that these tasks, the        13· ·sites to the erection areas need to be compacted
14· ·compaction and the drainage, are important            14· ·and stable, right?
15· ·because if the land is not even per                   15· · · ·A.· ·Yes.
16· ·specifications in the contract or not properly        16· · · ·Q.· ·You'd agree that if a piece -- if a
17· ·drained, this can lead to a lot of problems both      17· ·ground caves in underneath these pieces of
18· ·for equipment and workers, right?                     18· ·equipment, it can roll off the cribbing and
19· · · ·A.· ·Yes.                                         19· ·possibly damage equipment or even hit and kill
20· · · ·Q.· ·Have you ever spoken to my client, Nick      20· ·somebody, right?
21· ·Georgeff?                                             21· · · ·A.· ·Yes.
22· · · ·A.· ·No.                                          22· · · ·Q.· ·From a further standpoint, not only
23· · · ·Q.· ·Do you know anything about his               23· ·could the equipment roll and damage something,
24· ·accident, his injuries, or his recovery?              24· ·but if the equipment just sinks into the ground
                                                      89                                                         91

·1· · · ·A.· ·Just from reading that.                      ·1· ·on top of the cribbing, this could lead to a
·2· · · ·Q.· ·So is the extent of your knowledge that      ·2· ·depressed area forming, right?
·3· ·he slipped on ice on this project and injured         ·3· · · ·A.· ·Yes.
·4· ·his ankle?                                            ·4· · · ·Q.· ·And in these depressed areas, water can
·5· · · ·A.· ·Yes.                                         ·5· ·form, pool, and freeze, right?
·6· · · ·Q.· ·So did you see, like, him fall or the        ·6· · · ·A.· ·Correct.
·7· ·aftermath or anything like that?                      ·7· · · ·Q.· ·To the best of Borneke's abilities,
·8· · · ·A.· ·No.                                          ·8· ·they're contracted to prepare the ground so that
·9· · · ·Q.· ·So you'd agree that if this goes to          ·9· ·it does not sink in underneath these pieces of
10· ·trial, you will not come in and testify that you      10· ·equipment, right?
11· ·have any observations or knowledge of his pain        11· · · ·A.· ·Yes.
12· ·or anything like that, right?                         12· · · ·Q.· ·If Borneke is doing their job properly,
13· · · ·A.· ·Correct.                                     13· ·in a perfect world, things like this don't
14· · · ·Q.· ·So overall, just from a general              14· ·happen, right?
15· ·standpoint, you'd agree that if Borneke is doing      15· · · ·A.· ·Correct.
16· ·their job properly, the ground will not sink in       16· · · ·Q.· ·And Borneke has worked on a whole
17· ·underneath pieces of equipment that are               17· ·plethora of various projects, including some
18· ·delivered to erection sites, right?                   18· ·where there's a lot of rain and some where
19· · · · · · MR. SULLIVAN:· Objection, calls for a        19· ·there's no rain, right?
20· ·legal conclusion.                                     20· · · ·A.· ·Yes.
21· · · · · · But go ahead if you understood.              21· · · ·Q.· ·Borneke has worked on projects with
22· · · · · · THE WITNESS:· To the best of our             22· ·everything in between those scenarios as well,
23· ·abilities, yes.                                       23· ·right?
24                                                         24· · · ·A.· ·Yes.
                                                      90                                                         92

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·1· · · ·Q.· ·So the idea is they've worked on             ·1· ·Mortenson could have came in, scraped some mud
·2· ·projects where there's a whole variety of             ·2· ·off, you know, just so their trucks could get
·3· ·conditions and they know how to prepare for           ·3· ·some traction, put mats down, and dug a little
·4· ·whatever conditions the job site brings, right?       ·4· ·bit of a hole to create that area where the ice
·5· · · ·A.· ·Yes.                                         ·5· ·was sitting.· Then on top of that, you got mats
·6· · · ·Q.· ·You'd agree that if Borneke, and,            ·6· ·on the backside creating a dam, so that would
·7· ·again, to the best of their abilities and in a        ·7· ·block water off from draining out the back side.
·8· ·perfect world, is doing this grading --               ·8· · · ·Q.· ·And let me -- you have no idea if
·9· · · · · · · · · ·(Whereupon, the proceedings were      ·9· ·that's what happened or not.· This is just your
10· · · · · · · · · · interrupted due to technical         10· ·best guess and speculation, right?
11· · · · · · · · · · difficulties.)                       11· · · ·A.· ·Yes, but looking at the picture, there
12· ·BY MR. TERRY:                                         12· ·were mats down before.
13· · · ·Q.· ·-- doing their grading and this              13· · · ·Q.· ·Well, in that picture, there's no mats
14· ·compaction in these erection areas, the idea is       14· ·down, and I can tell you that one of the
15· ·there won't be standing water in these areas          15· ·ironworkers testified he does not believe mats
16· ·that can freeze over?                                 16· ·were used in this area.· He said that this is an
17· · · · · · MR. TERRY:· And I believe Mr. Sullivan       17· ·area where the base was previously staged.· So
18· ·had an objection and the witness answered             18· ·do you have any reason to disagree with that?
19· ·"correct," but nonetheless, we can --                 19· · · ·A.· ·No, but the base would have been on
20· ·Mr. Sullivan, if you want to remake your              20· ·mats.
21· ·objection.                                            21· · · ·Q.· ·He said he doesn't believe so.· He
22· · · · · · MR. SULLIVAN:· I objected to it calls        22· ·believes it was just on cribbing.
23· ·for a legal conclusion.                               23· · · ·A.· ·Then why is the other part on
24                                                         24· ·100 percent mats?
                                                      93                                                         95

·1· ·BY MR. TERRY:                                         ·1· · · ·Q.· ·Well, I'm just going to tell you that
·2· · · ·Q.· ·Sir, would you mind regiving your            ·2· ·I'm going to be the one asking the questions,
·3· ·answer, just for the record?                          ·3· ·and I don't mean that disrespectfully, but your
·4· · · ·A.· ·Yes.                                         ·4· ·attorney can ask you any follow-ups he wants,
·5· · · ·Q.· ·Your answer was "correct," right?            ·5· ·but even if the other one is on mats, you'd
·6· · · ·A.· ·Correct.                                     ·6· ·agree that mats have been used on numerous
·7· · · ·Q.· ·And, again, the 99 percent of this           ·7· ·projects, right?
·8· ·farmland Borneke is never going to touch, but         ·8· · · ·A.· ·Correct.
·9· ·the various erection sites where Borneke is           ·9· · · ·Q.· ·This is not uncommon for mats to be
10· ·responsible for, this is where they are               10· ·used to help stage equipment, right?
11· ·responsible for, to the best of their abilities,      11· · · ·A.· ·Correct.
12· ·preventing depressed areas and standing water         12· · · ·Q.· ·And Borneke knows that sometimes
13· ·that forms as a result of ground sinking              13· ·cribbing is used and sometimes mats are used to
14· ·underneath delivered pieces of equipment, right?      14· ·help stage equipment, right?
15· · · ·A.· ·Yes.                                         15· · · ·A.· ·Yes.
16· · · ·Q.· ·And the sheet of ice that we saw in          16· · · ·Q.· ·And underneath these mats is ground
17· ·that picture that formed looks to be in a             17· ·that Borneke prepares, right?
18· ·depressed area that formed underneath the piece       18· · · ·A.· ·Yes.
19· ·of equipment.· Would you agree with that?             19· · · ·Q.· ·And the ground is supposed to be
20· · · ·A.· ·Yeah, I got one or -- two things could       20· ·prepared to effectuate delivery, staging, and
21· ·have happened.· When they brought that in, they       21· ·eventual erection, right?
22· ·had mats down there before -- so I'll back up.        22· · · ·A.· ·Yes.
23· · · · · · It's November.· Everything's frozen in       23· · · ·Q.· ·And if the ground sinks in underneath
24· ·the morning, thaws out in the afternoon, so           24· ·these mats or underneath this equipment such
                                                      94                                                         96

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·1· ·that a depressed area is formed, you'd agree          ·1· · · ·Q.· ·Were they graded properly?
·2· ·that the ground might not be properly prepared        ·2· · · ·A.· ·Yes.
·3· ·because the ground's supposed to be prepared so       ·3· · · ·Q.· ·Did any of the areas have depressed
·4· ·that this doesn't happen, right?                      ·4· ·sections that would collect water like you saw
·5· · · ·A.· ·To the best of our abilities.                ·5· ·in the picture?
·6· · · ·Q.· ·So the answer is correct, to the best        ·6· · · ·A.· ·No.
·7· ·of your abilities?                                    ·7· · · ·Q.· ·Let me pull up this.
·8· · · ·A.· ·Yes.                                         ·8· · · · · · Can you see the picture?
·9· · · ·Q.· ·To the best of your abilities,               ·9· · · ·A.· ·Yes.
10· ·hypothetically, if Borneke does these things          10· · · ·Q.· ·It's the same picture we've been
11· ·properly, the ground will be prepared so that         11· ·looking at, right?
12· ·these conditions don't happen underneath these        12· · · ·A.· ·Yes.
13· ·pieces of equipment, right?                           13· · · ·Q.· ·Now, there's no snow in this picture,
14· · · ·A.· ·Yes.                                         14· ·but there was snow that day, right?
15· · · · · · MR. TERRY:· That's all I have right          15· · · ·A.· ·Yes.
16· ·now.· Chris, I appreciate your time.                  16· · · · · · MR. TERRY:· I'm just going to object to
17· · · · · · And, Nick, I appreciate your time as         17· ·mischaracterizing the photograph.· There is snow
18· ·well today, sir.                                      18· ·in that picture by the base and in other areas,
19· · · · · · THE WITNESS:· Thank you.                     19· ·just not on the sheet of ice.· If you want to
20· · · · · · MR. SULLIVAN:· Nick, I have a few            20· ·zoom in, you can, but there's clearly snow in
21· ·follow-up questions for you.· Almost done here.       21· ·that picture.
22· · · · · · · · · · · EXAMINATION                        22· ·BY MR. SULLIVAN:
23· ·BY MR. SULLIVAN:                                      23· · · ·Q.· ·I don't know, is that snow?· I don't
24· · · ·Q.· ·I wanted to ask you some questions           24· ·know.
                                                      97                                                         99

·1· ·about the picture, but before I do that, Nick,        ·1· · · · · · There's no snow on the ice that you
·2· ·would you agree with me that Borneke complied         ·2· ·see, is there?
·3· ·with its contractual requirements in this             ·3· · · ·A.· ·No.
·4· ·contract with Mortenson on this project?              ·4· · · ·Q.· ·But that day, it didn't look anything
·5· · · · · · MR. TERRY:· Objection, legal                 ·5· ·like this, right?· Because it was snowing at the
·6· ·conclusion, contract interpretation.                  ·6· ·time, wasn't it?
·7· ·BY MR. SULLIVAN:                                      ·7· · · ·A.· ·Correct.
·8· · · ·Q.· ·Go ahead.                                    ·8· · · ·Q.· ·And you mentioned mats earlier, right?
·9· · · ·A.· ·Yes.                                         ·9· · · ·A.· ·Yes.
10· · · ·Q.· ·Did Mortenson pay you for the project?       10· · · ·Q.· ·Do you see mats in this picture
11· · · ·A.· ·Yes.                                         11· ·underneath the piece that's still there?
12· · · · · · MR. TERRY:· Relevance.                       12· · · ·A.· ·Yes.
13· ·BY MR. SULLIVAN:                                      13· · · ·Q.· ·What was your experience with the way
14· · · ·Q.· ·Did Mortenson ever tell you, you did         14· ·Mortenson used mats?
15· ·not comply with any aspect of the scope of work?      15· · · ·A.· ·They put mats under everything they do
16· · · ·A.· ·No.                                          16· ·pretty much to help with their working surface
17· · · ·Q.· ·Did Borneke's work comply with the           17· ·to support the items so they don't roll off,
18· ·standard of care of a reasonably competent            18· ·roll away.
19· ·grading contractor?                                   19· · · ·Q.· ·Would you have ever left an area with
20· · · ·A.· ·Yes.                                         20· ·this type of condition that you see in this
21· · · ·Q.· ·When you were done on each of these          21· ·picture when you were done with your work on the
22· ·turbine erection sites with your grading work,        22· ·erection site?
23· ·did the areas drain properly?                         23· · · ·A.· ·No.
24· · · ·A.· ·Yes.                                         24· · · ·Q.· ·Did you ever have notice that this
                                                      98                                                        100

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·1· ·condition in this picture ever existed?               ·1· · · ·Q.· ·And there's an expectation that as long
·2· · · ·A.· ·No.                                          ·2· ·as Borneke is complying with the contractual
·3· · · ·Q.· ·Did Mortenson ever contact anyone from       ·3· ·responsibilities, they are going to be
·4· ·Borneke and say please come out to site T11.          ·4· ·performing their tasks properly and as experts
·5· ·There's ice that has formed.· Please address it?      ·5· ·in the field of excavation, right?
·6· · · ·A.· ·No.                                          ·6· · · ·A.· ·Yes.
·7· · · ·Q.· ·Isn't it true that based on the sheer        ·7· · · ·Q.· ·And you've worked on projects with
·8· ·weight of these components, you can properly          ·8· ·Mortenson in the past, right?
·9· ·grade and compact the area, and they can still        ·9· · · ·A.· ·Yes.
10· ·sink into the ground because of the sheer             10· · · ·Q.· ·And you said that they put mats under
11· ·weight; isn't that right?                             11· ·everything, right?
12· · · ·A.· ·That is correct.                             12· · · ·A.· ·Yes.
13· · · ·Q.· ·By the way, Borneke had nothing to do        13· · · ·Q.· ·So you've seen this -- these types of
14· ·with using pads under any pieces of equipment,        14· ·mats being used for staging in the past?
15· ·correct?                                              15· · · ·A.· ·Yes.
16· · · ·A.· ·Correct.                                     16· · · ·Q.· ·And you agree that in addition to -- so
17· · · ·Q.· ·And the contract did not require             17· ·you agree that you have seen these mats be used
18· ·anything like pad usage, certainly by Borneke,        18· ·on other projects and knew that this was a
19· ·correct?                                              19· ·possibility for how equipment was going to be
20· · · ·A.· ·Correct.                                     20· ·staged, right?
21· · · · · · MR. SULLIVAN:· I think that's all I          21· · · ·A.· ·Yes.
22· ·have.· Thank you, Nick.                               22· · · ·Q.· ·And you agree that the ground needs to
23· · · · · · MR. TERRY:· And, you know, Nick, I just      23· ·be prepared for not only delivery, but also
24· ·have a few follow-ups.· I'll have you out of          24· ·staging so that it does not sink in underneath
                                                     101                                                        103

·1· ·here by 3:00 o'clock.· It's 2:58.· Just a few         ·1· ·the cribbing or the mats, right?
·2· ·follow-ups.                                           ·2· · · ·A.· ·Yes.
·3· · · · · · · · · FURTHER EXAMINATION                    ·3· · · · · · MR. TERRY:· I believe that's all I
·4· ·BY MR. TERRY:                                         ·4· ·have.· Thank you.
·5· · · ·Q.· ·You were asked questions about whether       ·5· · · · · · MR. SULLIVAN:· Thanks.· We'll waive
·6· ·or not there was depressed area when you left         ·6· ·signature.
·7· ·and if Mortenson ever complained to you that you      ·7· · · · · · · · · ·(Whereupon, the deposition
·8· ·were not performing the work properly.· Do you        ·8· · · · · · · · · · concluded at 3:01 p.m.)
·9· ·remember those questions?                             ·9
10· · · ·A.· ·Yes.                                         10
11· · · ·Q.· ·You agree that Borneke is hired on           11
12· ·these projects because they are the experts in        12
13· ·the excavating field, correct?                        13
14· · · ·A.· ·Correct.                                     14
15· · · ·Q.· ·Borneke is not going to Mortenson and        15
16· ·asking Mortenson how Borneke should do their          16
17· ·job.· That's left up to Borneke to figure out,        17
18· ·right?                                                18
19· · · ·A.· ·Can you rephrase that?                       19
20· · · ·Q.· ·Sure.· The point of my question is,          20
21· ·Borneke is the experts in their field and how         21
22· ·Borneke does its job is left up to Borneke,           22
23· ·right?                                                23
24· · · ·A.· ·Yes.                                         24
                                                     102                                                        104

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·1· · · · · · · ·C E R T I F I C A T E

·2

·3· · · · · I, Vicki L. D'Antonio, a Notary Public

·4· ·within and for the County of Cook and State of

·5· ·Illinois, do hereby certify that heretofore,

·6· ·to-wit, on the 9th day of March 2022, personally

·7· ·appeared before me NICHOLAS BORNEKE, a witness

·8· ·in a certain cause now pending and undetermined

·9· ·in the United States District Court, Northern

10· ·District of Illinois, Western Division, wherein

11· ·NICK GEORGEFF is the Plaintiff and DON BORNEKE

12· ·CONSTRUCTION, INC., is the Defendant.

13· · · · · I further certify that the said NICHOLAS

14· ·BORNEKE was by me first duly sworn to testify

15· ·the truth, the whole truth, and nothing but the

16· ·truth in the cause aforesaid; that the testimony

17· ·then given by said witness was reported

18· ·stenographically by me in the presence of said

19· ·witness and afterwards reduced to typewriting by

20· ·Computer-Aided Transcription, and the foregoing

21· ·is a true and correct transcript of the

22· ·testimony so given by said witness as aforesaid.

23· · · · · I further certify that the signature to

24· ·the foregoing deposition was waived by counsel

                                                     105

·1· ·for the respective parties.
·2· · · · · I further certify that the taking of this
·3· ·deposition was pursuant to notice and that there
·4· ·were present at the deposition the attorneys
·5· ·hereinbefore mentioned.
·6· · · · · I further certify that I am not counsel
·7· ·for nor in any way related to the parties to
·8· ·this suit, nor am I in any way interested in the
·9· ·outcome thereof.
10· · · · · IN TESTIMONY WHEREOF:· I have hereunto
11· ·set my verified digital signature this 16th day
12· ·of March, 2022.
13
14
15
· · · · · · ____________________________________
16· · · · · NOTARY PUBLIC, COOK COUNTY, ILLINOIS
· · · · · · CSR LIC. NO. 84-004344
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·1· · · · · IN THE UNITED STATES DISTRICT COURT                ·1· · · · · · · · · · · · I N D E X

·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS                   ·2· ·WITNESS· · · · · · · · · · · · · · · · PAGE

·3· · · · · · · · · ·EASTERN DIVISION                          ·3· ·ANDREW BLACK

·4· ·NICK GEORGEFF,· · · · · · )                               ·4· · EXAMINATION BY MR. TERRY· · · · · · · · 8

·5· · · · · Plaintiff,· · · · ·)                               ·5· · EXAMINATION BY MR. SULLIVAN· · · · · · ·80

·6· · ·vs.· · · · · · · · · · ·)· Civil Action                 ·6· · FURTHER EXAMINATION BY MR. TERRY· · · · 106

·7· ·DON BORNEKE CONSTRUCTION, )· No. 3:20-CV-50313            ·7

·8· ·INC.,· · · · · · · · · · ·)                               ·8

·9· · · · · Defendant.· · · · ·)                               ·9

10                                                             10· · · · · · · · · · E X H I B I T S

11· · · · · The deposition of ANDREW BLACK, called             11· ·NUMBER· · · · · · · · · · · · · · · · · PAGE

12· ·for examination pursuant to the Rules of Civil            12

13· ·Procedure for the United States District Courts           13· · · · · · · (No exhibits were marked)

14· ·pertaining to the taking of depositions, before           14

15· ·Michelle L. Barta, a certified shorthand                  15

16· ·reporter in the State of Illinois, on the                 16

17· ·14th day of March 2022, at 1:01 p.m.,                     17

18· ·via videoconference per Executive Order 2020-14           18

19· ·pursuant to subpoena.                                     19

20                                                             20

21                                                             21

22· ·Reported by:· Michelle L. Barta, C.S.R., R.P.R.           22

23· ·License No:· 084-004033                                   23

24                                                             24

                                                           1                                                          3

·1·   ·REMOTE APPEARANCES:                                     ·1· · · · · · · · · ·(Whereupon, the witness was
·2
                                                               ·2· · · · · · · · · · excused.)
·3·   ·   ·   ·   ANESI, OZMON, RODIN, NOVAK & KOHEN, by
· ·   ·   ·   ·   MR. CHARLES TERRY                            ·3· · · · · · THE COURT REPORTER:· This deposition
·4·   ·   ·   ·   161 North Clark Street, 21st Floor
                                                               ·4· ·is being taken by means of Zoom videoconference.
· ·   ·   ·   ·   Chicago, Illinois· 60601
·5·   ·   ·   ·   (312) 372-3822                               ·5· ·The attorneys participating in this deposition
· ·   ·   ·   ·   Cterry@anesilaw.com
                                                               ·6· ·acknowledge that I am not physically present
·6
· ·   · · · · · ·Representing the Plaintiff;                   ·7· ·with the witness.· The parties and their counsel
·7
                                                               ·8· ·consent to the oath being administered remotely
·8·   ·   ·   ·   SWANSON, MARTIN and BELL, by
· ·   ·   ·   ·   MR. CHRISTIAN A. SULLIVAN                    ·9· ·and waive any objections to this manner of
·9·   ·   ·   ·   2525 Cabot Drive, Suite 204
                                                               10· ·reporting.
· ·   ·   ·   ·   Lisle, Illinois· 60532
10·   ·   ·   ·   (630) 799-6900                               11· · · · · · Will all counsel present please state
· ·   ·   ·   ·   csullivan@smbtrials.com
                                                               12· ·your name and indicate your agreement on the
11
· ·   · · · · · ·Representing the Defendant;                   13· ·record beginning with plaintiff's counsel?
12
                                                               14· · · · · · MR. TERRY:· Charles Terry for the
13·   ·   ·   ·   FAEGRE DRINKER BIDDLE & REATH, LLP, by
· ·   ·   ·   ·   MS. CYRI A. VAN HECKE                        15· ·plaintiff, we agree.
14·   ·   ·   ·   90 South Seventh Street
                                                               16· · · · · · MR. SULLIVAN:· Chris Sullivan for
· ·   ·   ·   ·   Minneapolis, Minnesota· 55402
15·   ·   ·   ·   (612) 766-7000                               17· ·defendant, I agree as well.
· ·   ·   ·   ·   cyri.vanhecke@faegredrinker.com
                                                               18· · · · · · MS. VAN HECKE:· Cyri Van Hecke and
16
· ·   · · · · · ·Representing the Deponent.                    19· ·I am representing Andy Black as counsel for
17
                                                               20· ·M.A. Mortenson Construction Company, I agree as
18
19                                                             21· ·well.
20                                                             22· · · · · · MR. TERRY:· Mr. Black, would you mind
21
22                                                             23· ·stating and spelling your first and last name
23                                                             24· ·for the record?
24
                                                           2                                                          4

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                                                                                                                          YVer1f
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·1· · · · · · THE WITNESS:· Yes.· It's Andrew Black,       ·1· · · · · · MR. TERRY:· For any breaks you may
·2· ·A-n-d-r-e-w, Black, B-l-a-c-k.                        ·2· ·need, by all means just let me know.· I am
·3· · · · · · MR. TERRY:· Let the record reflect this      ·3· ·apparently losing my voice again so I am going
·4· ·is the deposition of Andrew Black taken pursuant      ·4· ·to try to do this as fast as possible.· I don't
·5· ·to notice and agreement of the parties.· Let the      ·5· ·expect this to be awfully long, but if for
·6· ·record also reflect this deposition is being          ·6· ·whatever reason you need a break, that is
·7· ·taken via Zoom but still pursuant to all              ·7· ·perfectly fine.· Just answer any question I have
·8· ·applicable rules.                                     ·8· ·pending and then we can take a break.
·9· · · · · · Sir, first of all, do you mind if I          ·9· · · · · · All right.· Then just two more.· If you
10· ·call you Andy, Andrew, Mr. Black?· What do you        10· ·do not understand a question, please ask.· A lot
11· ·prefer?                                               11· ·of times attorneys are longwinded and boring and
12· · · · · · THE WITNESS:· Andy would be great.           12· ·we think it makes sense in our head, the
13· · · · · · MR. TERRY:· Okay.· Andy, have you ever       13· ·question, but it may not when we actually spit
14· ·given a deposition before?                            14· ·it out.· So if you answer a question we are
15· · · · · · THE WITNESS:· I have not.                    15· ·going to assume you understood what it meant.
16· · · · · · MR. TERRY:· All right.· I am sure your       16· ·So if you have a misunderstanding or you're
17· ·counsel has gone over a few of the ground rules       17· ·unclear, just ask us to repeat or rephrase.
18· ·with you, but I am just going to remind you of a      18· ·Does all that make sense?
19· ·few of them.· When I say rules, the world is not      19· · · · · · THE WITNESS:· Yes, it does.
20· ·going to implode, nothing bad is going to             20· · · · · · MR. TERRY:· Perfect.· And then the last
21· ·happen, but it just helps the process go              21· ·one, during the deposition there may be some
22· ·smoother.· So try to keep them in mind as you're      22· ·objections made by myself or Mr. Sullivan,
23· ·giving your testimony.· Okay?                         23· ·possibly by your counsel.· At the end of the
24· · · · · · THE WITNESS:· Yes.                           24· ·day, 99 percent of the time objections are what
                                                       5                                                          7

·1· · · · · · MR. TERRY:· The first one, and so far        ·1· ·I call legalese.· They are for the attorneys and
·2· ·we are doing a pretty good job it seems like it,      ·2· ·the Court later on.· You can usually answer the
·3· ·try to wait for the full question to come out         ·3· ·question, but at the end of the day you're
·4· ·before answering.· If we are talking over each        ·4· ·represented by counsel today and just listen to
·5· ·other it makes Ms. Barta's job very hard and it       ·5· ·her.· She has your best interest at heart.
·6· ·also just makes the transcript messy at the end       ·6· ·Okay?
·7· ·of the day.                                           ·7· · · · · · THE WITNESS:· Okay.· Perfect.
·8· · · · · · So do your best to allow us to finish        ·8· · · · · · · · · · ·ANDREW BLACK,
·9· ·our questions and I can promise you we will give      ·9· ·having been first duly sworn, was examined and
10· ·you the same courtesy when you are answering.         10· ·testified via Zoom videoconference as follows:
11· ·Does that sound okay?                                 11· · · · · · · · · · · EXAMINATION
12· · · · · · THE WITNESS:· Absolutely.                    12· ·BY MR. TERRY:
13· · · · · · MR. TERRY:· Perfect.· Try to keep all        13· · · ·Q.· ·Sir, would you mind giving me your date
14· ·your answers out loud and by that I mean yes, no      14· ·of birth please?
15· ·or otherwise.· Nah-uhs and uh-huhs don't come         15· · · ·A.· ·May 8, '89.
16· ·over well in the transcript and while we may          16· · · ·Q.· ·And then one last thing actually.
17· ·know what you mean in the moment, it won't be         17· ·During these deps we -- the point of it is if it
18· ·clear on the transcript later on.· So if you do       18· ·goes -- if this goes to trial, we just want to
19· ·give an uh-huh or an um-hum or something like         19· ·know what you're going to testify to, kind of
20· ·that, we will probably remind you and ask you if      20· ·who you are, what you know.· So we ask a little
21· ·that was a yes or a no.· Again we are not trying      21· ·bit of background information.· I promise I will
22· ·to be difficult.· We are just trying to have a        22· ·keep that as brief as possible because you don't
23· ·clear transcript.· Okay?                              23· ·really have too much to do with this matter; but
24· · · · · · THE WITNESS:· Yes.                           24· ·nonetheless, that's why we ask some of the
                                                       6                                                          8

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·1· ·background.· Okay?                                    ·1· ·seven years ago, OSHA 10 call it nine.
·2· · · ·A.· ·Okay.                                        ·2· · · ·Q.· ·And don't take offense to these next
·3· · · ·Q.· ·What is your current address, sir?           ·3· ·couple questions.· We ask them in every
·4· · · ·A.· ·My current address is                        ·4· ·deposition.
·5· ·3070 South Plateau Drive in Salt Lake City,           ·5· · · · · · Have you ever been convicted of a
·6· ·Utah, 84109.                                          ·6· ·felony or a crime involving fraud or dishonesty?
·7· · · ·Q.· ·And is that a permanent address or is        ·7· · · ·A.· ·I have not.
·8· ·that an address like a job site you're on?            ·8· · · ·Q.· ·Have you ever filed for bankruptcy?
·9· · · ·A.· ·That is a personal permanent.                ·9· · · ·A.· ·I have not.
10· · · ·Q.· ·And how long have you lived there?           10· · · ·Q.· ·I always say don't take offense to that
11· · · ·A.· ·Three months.                                11· ·and the depositions go a lot faster when the
12· · · ·Q.· ·All right.· Congratulations on the new       12· ·answers are no, but they are a lot more fun when
13· ·place.                                                13· ·they are yes.· So again, we ask them of
14· · · ·A.· ·Thank you.                                   14· ·everybody.
15· · · ·Q.· ·Who do you live there with?                  15· · · · · · Have you ever served in the military,
16· · · ·A.· ·My wife and our newborn daughter.            16· ·sir?
17· · · ·Q.· ·Oh, congratulations.                         17· · · ·A.· ·I have not.
18· · · · · · And then do you have any plans to move       18· · · ·Q.· ·After you graduated from college, what
19· ·in the, let's just say, next year or so?              19· ·did you end up doing?
20· · · ·A.· ·I do not.                                    20· · · ·A.· ·After college I hired on with a
21· · · ·Q.· ·What is your highest level of                21· ·general contractor in the Boulder, Colorado,
22· ·education?                                            22· ·area for a few years.· After about
23· · · ·A.· ·Bachelor's degree in architectural           23· ·two-and-a-half years of employment there I
24· ·engineering.                                          24· ·hired on with Mortenson Construction out of
                                                       9                                                         11

·1· · · ·Q.· ·And where was that from and when?            ·1· ·their Denver office.· After working in Denver
·2· · · ·A.· ·The University of Colorado in Boulder        ·2· ·for a few years I started traveling with the
·3· ·from 2007 to 2011.                                    ·3· ·organization building wind farms, did that for
·4· · · ·Q.· ·You said '7 to '11?                          ·4· ·three to four years before moving into what I am
·5· · · ·A.· ·Correct.                                     ·5· ·currently doing in the data center market.· So
·6· · · ·Q.· ·And a bachelor's degree in                   ·6· ·that's what brought me to Salt Lake.
·7· ·architectural engineering just to make sure I         ·7· · · ·Q.· ·Perfect.· And then we don't have to
·8· ·heard correctly, right?                               ·8· ·talk too much about what you're doing now, but
·9· · · ·A.· ·Correct.                                     ·9· ·just you said data?
10· · · ·Q.· ·Do you have any other degrees or             10· · · ·A.· ·Yes.· Building data centers for some
11· ·certifications or anything like that?                 11· ·social media companies.
12· · · ·A.· ·I do not.                                    12· · · ·Q.· ·So is it still in the construction
13· · · ·Q.· ·And have you ever been a member of a         13· ·field?
14· ·union?                                                14· · · ·A.· ·It is, yes.
15· · · ·A.· ·I have not.                                  15· · · ·Q.· ·Got it.· Okay.
16· · · ·Q.· ·Have you ever gotten any specialized         16· · · ·A.· ·Just a different market sector.
17· ·like OSHA training or anything like that for          17· · · ·Q.· ·I want to break down your experience
18· ·your career?                                          18· ·with the prior two contractors, Mortenson
19· · · ·A.· ·I have gone through OSHA 10 and              19· ·obviously, but the one before that as well.
20· ·OSHA 30.                                              20· ·What was the name of the contractor you worked
21· · · ·Q.· ·And do you know approximately when           21· ·with in Boulder?
22· ·those are?· I know -- This is not a memory test       22· · · ·A.· ·It was Deneuve Construction,
23· ·today, so best estimates are okay.                    23· ·D-e-n-e-u-v-e, and that was -- I was an
24· · · ·A.· ·I would say OSHA 30 was probably             24· ·estimator with them.
                                                      10                                                         12

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·1· · · ·Q.· ·Were you an estimator for the whole          ·1· · · ·A.· ·I am currently employed by them.
·2· ·two-and-a-half years you were there?                  ·2· · · ·Q.· ·I am sorry.· You're currently employed
·3· · · ·A.· ·Yes.                                         ·3· ·by them?
·4· · · ·Q.· ·Did you ever work as a project manager       ·4· · · ·A.· ·Just in a different -- They have
·5· ·while you were -- maybe like a dual role so to        ·5· ·several different market sectors, so just kind
·6· ·speak or no?                                          ·6· ·of in a different role.
·7· · · ·A.· ·I did not.                                   ·7· · · ·Q.· ·Got it, okay.· See, that's why you
·8· · · ·Q.· ·So that was, just to be sure I               ·8· ·should not assume anything because I assumed you
·9· ·understand, between 2011 and middle of 2013 give      ·9· ·started with someone else.
10· ·or take?                                              10· · · · · · When did you start in the new role?
11· · · ·A.· ·Yes.                                         11· · · ·A.· ·New role being data centers?
12· · · ·Q.· ·And then during that time as an              12· · · ·Q.· ·Yes.
13· ·estimator, correct me if I am wrong, but that's       13· · · ·A.· ·That would have been March 2019.
14· ·essentially going in on behalf of the contractor      14· · · ·Q.· ·And I am going to jump ahead a little
15· ·you're working for and literally estimating the       15· ·bit and then come back, but so if we are here to
16· ·cost of the various tasks you are bidding for?        16· ·talk about an incident that occurred in November
17· · · ·A.· ·Yes, that's correct.                         17· ·of 2018.· You still would have been working with
18· · · ·Q.· ·So while you're not a project manager,       18· ·Mortenson in kind of like the wind farm
19· ·you're still involved in like the bidding and         19· ·department so to speak?
20· ·the contract process as well as determining what      20· · · ·A.· ·That is correct.
21· ·like tasks should be included and what should be      21· · · ·Q.· ·So back to your experience with
22· ·excluded, is that fair?                               22· ·Mortenson and we will focus on the wind farms,
23· · · ·A.· ·Yes, that's fair.                            23· ·when you started in 2013, is that when you were
24· · · ·Q.· ·And while you were with -- How do you        24· ·traveling for the various wind farms or did that
                                                      13                                                         15

·1· ·pronounce it?                                         ·1· ·start a little bit later?
·2· · · ·A.· ·Den-euve.                                    ·2· · · ·A.· ·That started later.· I believe that
·3· · · ·Q.· ·Deneuve, okay.                               ·3· ·started end of 2015.
·4· · · · · · While you were with Deneuve, did you         ·4· · · ·Q.· ·Okay.
·5· ·work on any wind farms?                               ·5· · · ·A.· ·In 2013 that was localized to Denver.
·6· · · ·A.· ·I did not.                                   ·6· · · ·Q.· ·While you were in Denver, what were you
·7· · · ·Q.· ·What type of work were you doing --          ·7· ·doing for Mortenson?
·8· ·obviously estimating, but like the type of            ·8· · · ·A.· ·I was a project engineer working on
·9· ·construction with Deneuve?                            ·9· ·like hospitality projects.
10· · · ·A.· ·It was primarily multi-family,               10· · · ·Q.· ·And when you say project engineer, can
11· ·specifically affordable housing.                      11· ·you just walk me through what you would do in a
12· · · ·Q.· ·Okay.· And then what made you                12· ·given day, project, however you want to break it
13· ·ultimately switch from Deneuve to Mortenson in        13· ·down?· Like what was your responsibility?
14· ·2013?                                                 14· · · ·A.· ·Primarily quality focused.· So it's
15· · · ·A.· ·Just I was looking to transition from        15· ·kind of you're in a support role supporting the
16· ·more of the pre-con estimating side out into          16· ·different subcontractors with your -- you know,
17· ·some more of the field operations roles, plus         17· ·the main focus being on ensuring that the work
18· ·Mortenson was just a bigger general contractor        18· ·going in place is consistent with project
19· ·with more opportunity.                                19· ·drawings and specs.
20· · · ·Q.· ·And do you happen to remember                20· · · ·Q.· ·So was this more of an on-site
21· ·approximately -- I know 2013, but when you            21· ·position?
22· ·started with Mortenson?                               22· · · ·A.· ·It was, yes.
23· · · ·A.· ·It was early September 2013.                 23· · · ·Q.· ·And you did that until approximately
24· · · ·Q.· ·When did you work with them until?           24· ·2015.· Then when you said you traveled for three
                                                      14                                                         16

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·1· ·to four years, is that approximately from the         ·1· ·managers.· You know, kind of just supporting a
·2· ·2015 time frame until March of '19 that you were      ·2· ·team there.
·3· ·building wind farms?                                  ·3· · · · · · Then when you move into the project
·4· · · ·A.· ·Yes.                                         ·4· ·management position you're partnered with a
·5· · · ·Q.· ·If you have to guesstimate, how many         ·5· ·superintendent, and the superintendent is more
·6· ·different wind farm projects were you a part of?      ·6· ·responsible for schedule and some of the safety
·7· · · ·A.· ·Say six.· Six or seven.                      ·7· ·items.· Then the project manager still is in the
·8· · · ·Q.· ·On these wind farm projects were you         ·8· ·financial, the quality side, but functioning as
·9· ·typically serving as the project manager or what      ·9· ·the two leads on that project.
10· ·role were you serving?                                10· · · ·Q.· ·Okay.· I appreciate that.
11· · · ·A.· ·Starting as a project engineer and then      11· · · · · · Would both the assistant project
12· ·kind of moving through -- As your career              12· ·manager and the project manager have an on-site
13· ·advances the progression is generally project         13· ·presence?
14· ·engineer and then there is a couple sub-tiers         14· · · ·A.· ·Yes.
15· ·within that into assistant project manager and        15· · · ·Q.· ·Does one have more of an on-site
16· ·eventually to project manager.                        16· ·presence than the other or are they pretty
17· · · ·Q.· ·And at the -- For the sake of ease, can      17· ·consistently on site?
18· ·you kind of walk me through a general time frame      18· · · ·A.· ·Yeah, they are full time on site.
19· ·of those various title sub-tiers to like when         19· · · ·Q.· ·Okay, got it.· And then just because at
20· ·eventually you became a project manager?              20· ·the time of the Mendota Hills project you were a
21· · · ·A.· ·Yes.· I think Project Engineer II is         21· ·project manager I want to talk about that, okay?
22· ·probably right when I was joining wind, so in         22· · · ·A.· ·Yep.
23· ·the 2015 time frame, and then I will say              23· · · ·Q.· ·Is it --
24· ·approximately a year-and-a-half later moving          24· · · ·A.· ·Yes.
                                                      17                                                         19

·1· ·into that assistant project manager capacity, so      ·1· · · ·Q.· ·Is it safe to say that as a project
·2· ·saying mid 2017, and then mid 2018 into that          ·2· ·manager it's important for you to look at and
·3· ·project manager role.                                 ·3· ·understand the contracts between Mortenson and
·4· · · ·Q.· ·Okay.· When I talk about the                 ·4· ·the various subcontractors?
·5· ·Mendota Hills Repowering Project, are you             ·5· · · ·A.· ·Yes, that's accurate.
·6· ·familiar with what I am talking about?                ·6· · · ·Q.· ·And you understand the various tasks
·7· · · ·A.· ·Yes, I am.                                   ·7· ·each contractor and subcontractor are contracted
·8· · · ·Q.· ·Was that your first project as a             ·8· ·to perform?
·9· ·project manager or no?                                ·9· · · ·A.· ·Yes.
10· · · ·A.· ·That was the first project as a              10· · · ·Q.· ·I don't think I could have said
11· ·project -- not an assistant project manager.          11· ·contract more in that sentence.
12· · · ·Q.· ·Okay, got it.· And can you kind of walk      12· · · · · · Then from a general standpoint in terms
13· ·me through what the -- You walked me through          13· ·of the contractual duties and responsibilities
14· ·what a project engineer does.· What about an          14· ·of each contractor and subcontractor, this is
15· ·assistant project manager and a project manager,      15· ·something that you as the project manager for
16· ·can you kind of just walk me through the various      16· ·Mortenson would have to be familiar with so it
17· ·duties and responsibilities for those tasks?          17· ·can be implemented in the field?
18· · · ·A.· ·Yeah.· The assistant project manager I       18· · · ·A.· ·That is correct.
19· ·would say your primary function is more on the        19· · · ·Q.· ·Would you also take part in some of the
20· ·financial side in supporting project manager,         20· ·negotiation process like the inclusions and
21· ·senior project manager, just making sure that         21· ·exclusions with the various subcontractors?
22· ·the cost forecasting and tracking is done             22· · · ·A.· ·Yes.
23· ·appropriately while still kind of acting as that      23· · · ·Q.· ·Had you worked with Don Borneke
24· ·in-between between engineers and the project          24· ·Construction prior to this incident or prior to
                                                      18                                                         20

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·1· ·this project?                                         ·1· · · ·A.· ·Correct.
·2· · · ·A.· ·I had.· I had worked with them on a          ·2· · · ·Q.· ·And you understand that like -- I have
·3· ·wind farm in Nebraska previously.                     ·3· ·a lot of friends in the trades and they are
·4· · · ·Q.· ·Was this still while you were with           ·4· ·proud people.· They each stay in their lane so
·5· ·Mortenson though?                                     ·5· ·to speak.· Like ironworkers do the ironwork and
·6· · · ·A.· ·Yes.                                         ·6· ·excavators do the excavating work.· You would
·7· · · ·Q.· ·And so just from a general standpoint,       ·7· ·agree with that for the most part, correct?
·8· ·is it safe to say that from past work as well as      ·8· · · ·A.· ·Correct.
·9· ·the work on this project you knew that                ·9· · · ·Q.· ·And then just from a general
10· ·Don Borneke was an excavating company and that's      10· ·standpoint, when working on these wind farms is
11· ·what they were hired to perform?                      11· ·it safe to say that Mortenson understands the
12· · · ·A.· ·Yes.                                         12· ·importance of having the ground properly
13· · · ·Q.· ·Is it also safe to say that Mortenson        13· ·prepared and that's why it hires excavating
14· ·hires various subcontractors for the expertise        14· ·companies?
15· ·they bring in their own fields?                       15· · · ·A.· ·Yes.· For -- Yes.
16· · · ·A.· ·Yes, that's correct.                         16· · · ·Q.· ·Like meaning these wind farms are built
17· · · ·Q.· ·Meaning like Don Borneke is hired and        17· ·on massive farms and only a small portion of the
18· ·contracted with because they are the experts in       18· ·farms are actually going to be worked on, right?
19· ·excavation, correct?                                  19· · · ·A.· ·Correct.
20· · · ·A.· ·Correct.                                     20· · · ·Q.· ·And Mortenson hired an excavating
21· · · ·Q.· ·And Mortenson relies on this expertise       21· ·company to in part turn farmland into workable
22· ·and expects the work to be performed safely and       22· ·land, right?
23· ·reasonably?                                           23· · · ·A.· ·Correct.
24· · · ·A.· ·Yes.                                         24· · · ·Q.· ·Like on this project, for example, the
                                                      21                                                         23

·1· · · ·Q.· ·And Mortenson also expects the               ·1· ·Mendota Hills project, Mortenson hired Borneke
·2· ·subcontractor, Don Borneke in this case for           ·2· ·to turn various areas of the project, either
·3· ·example, to fulfill the contracted to                 ·3· ·refurbish them or just convert them into
·4· ·obligations and responsibilities?                     ·4· ·workable areas for the erection of turbines;
·5· · · ·A.· ·Yes.                                         ·5· ·right?
·6· · · ·Q.· ·Okay.· And would you agree that if a         ·6· · · ·A.· ·Yes.
·7· ·subcontractor is not performing all of the tasks      ·7· · · ·Q.· ·And we will get into the contract scope
·8· ·in their scope of work or the contracted to           ·8· ·of work in a little bit, but essentially Borneke
·9· ·duties and responsibilities, that would mean          ·9· ·was hired to take unsafe farmland in the various
10· ·that subcontractor is not fulfilling their            10· ·areas and convert it into workable land; right?
11· ·obligations?                                          11· · · ·A.· ·Yes.
12· · · ·A.· ·Yes.                                         12· · · ·Q.· ·And some of these tasks would include
13· · · ·Q.· ·So just from a general standpoint, and       13· ·things like grading, maintaining, compacting the
14· ·I know a lot of these questions are elementary        14· ·land, things like that?
15· ·in a way but we have to ask them to lay the           15· · · ·A.· ·Correct.
16· ·foundation, is it safe to say that based on your      16· · · ·Q.· ·As well as providing proper drainage at
17· ·experience with Mortenson you are very familiar       17· ·various areas?
18· ·with how things are ran in terms of interactions      18· · · ·A.· ·Yes.
19· ·between Mortenson and the various                     19· · · ·Q.· ·And these are all things that Mortenson
20· ·subcontractors?                                       20· ·and Borneke know going into their negotiations
21· · · ·A.· ·Yes, I would say that's correct.             21· ·and that's why these various tasks are
22· · · ·Q.· ·And you generally know what all the          22· ·negotiated and contracted for, right?
23· ·subcontractors as well as Mortenson, for              23· · · ·A.· ·Correct.
24· ·example, are going to do on the project?              24· · · ·Q.· ·Let's just talk about a few of the
                                                      22                                                         24

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·1· ·tasks of Borneke in general.· You would agree         ·1· ·cause these depressed areas; that's the idea
·2· ·that Mortenson relies on Borneke to prepare           ·2· ·behind it, right?
·3· ·access and spur roads?                                ·3· · · ·A.· ·Correct.
·4· · · ·A.· ·Yes.                                         ·4· · · ·Q.· ·And one of the reasons are these
·5· · · ·Q.· ·And you would expect that these roads        ·5· ·depressed areas can cause tripping hazards for
·6· ·would be able to support the weight of the            ·6· ·the various workers, right?
·7· ·various trucks and equipment that would be            ·7· · · ·A.· ·Yes.· The primary function -- So there
·8· ·traveling on them, right?                             ·8· ·is -- Those are -- The drive lanes and the paths
·9· · · ·A.· ·Yes.                                         ·9· ·themselves, right, are per the design documents
10· · · ·Q.· ·And Mortenson would expect that based        10· ·which are, you know, the worst case scenario for
11· ·on Borneke's preparation these roads wouldn't         11· ·those is the -- specifically for component
12· ·simply sink in underneath the pieces of               12· ·delivery and to support the crane that is
13· ·equipment or the trucks that come on it, right?       13· ·bearing on top of it.
14· · · ·A.· ·Yes.                                         14· · · ·Q.· ·Exactly.· So these erection areas to
15· · · ·Q.· ·And same thing for the erection areas,       15· ·use an obvious word is literally where the
16· ·as Mortenson's project manager you would expect       16· ·erection is going to take place, right?
17· ·that the excavating company, Don Borneke in this      17· · · ·A.· ·Correct.
18· ·case, would properly grade and compact erection       18· · · ·Q.· ·There is going to be a very heavy crane
19· ·areas; right?                                         19· ·on the crane pad?
20· · · ·A.· ·Yes.                                         20· · · ·A.· ·Correct, and that often has a separate
21· · · ·Q.· ·And you would expect them to provide         21· ·design associated with it.
22· ·proper drainage in these areas as well?               22· · · ·Q.· ·Of course.· So the crane pad inside the
23· · · ·A.· ·Yes.                                         23· ·erection area has its own design component and
24· · · ·Q.· ·And typically the drainage in these          24· ·specifications, right?
                                                      25                                                         27

·1· ·areas is done away from the erection and the          ·1· · · ·A.· ·Yep.· Yes.
·2· ·turbine areas so that water doesn't pool where        ·2· · · ·Q.· ·But then the erection area itself also
·3· ·workers are or where the turbine is going to be,      ·3· ·has specific requirements for compaction,
·4· ·right?                                                ·4· ·grading and drainage; right?
·5· · · ·A.· ·Yes.                                         ·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·And if these erection areas are              ·6· · · ·Q.· ·Okay.· And part of the reason for that
·7· ·properly graded and compacted, same thing like        ·7· ·is it is known that various semi trucks are
·8· ·with the spur roads, you would expect the ground      ·8· ·going to come in, deliver and stage these pieces
·9· ·to be able to support the weight of the various       ·9· ·of equipment; right?
10· ·pieces of equipment and the delivery trucks;          10· · · ·A.· ·Correct.
11· ·right?                                                11· · · ·Q.· ·And the erection area needs to be able
12· · · ·A.· ·Yes.                                         12· ·to support the weight of these semi trucks as
13· · · ·Q.· ·And you would expect that the ground in      13· ·well as the pieces of equipment while they are
14· ·these erection areas would not simply sink in or      14· ·staged for erection, right?
15· ·cave in underneath the weights of these pieces,       15· · · ·A.· ·Correct.
16· ·right?                                                16· · · ·Q.· ·And if the ground simply sinks in
17· · · ·A.· ·Yes.                                         17· ·underneath a semi-truck or a piece of equipment
18· · · ·Q.· ·Because if the ground is not properly        18· ·such that there is depressed areas or ruts, this
19· ·prepared or compacted it's a lot easier for the       19· ·would show that possibly the ground was not
20· ·ground to simply get depressed and cause ruts or      20· ·prepared properly; right?
21· ·various depressed areas, right?                       21· · · ·A.· ·Correct.
22· · · ·A.· ·Correct.                                     22· · · ·Q.· ·Okay.· And for example, if the ground
23· · · ·Q.· ·And if the ground is properly prepared,      23· ·sinks in underneath a staged piece of equipment
24· ·the idea is the trucks and the equipment won't        24· ·or where a semi-truck delivered pieces of
                                                      26                                                         28

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·1· ·equipment, this can cause large depressed areas       ·1· · · ·A.· ·Correct.
·2· ·and water can eventually pool in these areas          ·2· · · ·Q.· ·And we have already established that,
·3· ·hypothetically; right?                                ·3· ·but for sake of completeness we are going to
·4· · · ·A.· ·Correct.                                     ·4· ·switch gears to the subject project.
·5· · · ·Q.· ·And this water could cause slipping or       ·5· · · · · · Borneke on this project, what was their
·6· ·tripping hazards and it could potentially             ·6· ·role based on your understanding?
·7· ·freeze, too; right?                                   ·7· · · ·A.· ·They were the earthwork contractor.
·8· · · ·A.· ·Correct.                                     ·8· ·They're responsible for putting in the access
·9· · · ·Q.· ·Not only that though, even if water          ·9· ·roads in order to support the delivery of the
10· ·doesn't pool these depressed areas can cause bad      10· ·components, and then prior to that they are
11· ·problems such as just simply tripping hazards;        11· ·excavating for the foundations, they are
12· ·right?                                                12· ·performing the backfill operations and they are
13· · · ·A.· ·Yes.                                         13· ·doing the crane pad prep.
14· · · ·Q.· ·Or in the worst case scenario if the         14· · · ·Q.· ·And would you also agree that they were
15· ·ground caves in underneath a piece of equipment       15· ·performing the preparation work for the various
16· ·it can cause it to roll off its cribbing and          16· ·erection areas?
17· ·possibly kill somebody?                               17· · · ·A.· ·Yeah.· So the design for that is kind
18· · · ·A.· ·Correct.                                     18· ·of a -- it's the radius to support the -- it's
19· · · ·Q.· ·Okay.· So Mortenson understands the          19· ·essentially designed to support the trucks that
20· ·importance of these erection areas and to have        20· ·need to turn around with their extending turning
21· ·them properly prepared and that's why they hire       21· ·radius -- radii.
22· ·an excavating company, right?                         22· · · ·Q.· ·And we will get to the contract in a
23· · · ·A.· ·Yes.                                         23· ·second, but when you say like the radii, you
24· · · ·Q.· ·And Mortenson relies on the excavating       24· ·mean like to state it simply when we are reading
                                                      29                                                         31

·1· ·company to properly prepare these areas?              ·1· ·this later in each direction coming off of the
·2· · · ·A.· ·Yes.                                         ·2· ·turbine for I think on this project it's 175 or
·3· · · ·Q.· ·Okay.· And Mortenson understands that        ·3· ·185 feet.· That area would make up the erection
·4· ·these erection areas are not only where the           ·4· ·area, correct?
·5· ·turbines are going to be erected but also where       ·5· · · ·A.· ·That would, yes.
·6· ·various tradesmen and women are going to be           ·6· · · ·Q.· ·Yeah.· And this is the area that needs
·7· ·coming later on to perform construction work,         ·7· ·to be properly graded, compacted and with proper
·8· ·right?                                                ·8· ·drainage; right?
·9· · · ·A.· ·Yes.                                         ·9· · · ·A.· ·Correct.
10· · · ·Q.· ·So would you agree that grading,             10· · · ·Q.· ·And then on this project I think we
11· ·draining, and proper compaction of the ground in      11· ·have already established this, too, but were you
12· ·erection areas are hugely important components        12· ·the project manager at the start of this project
13· ·for erection areas?                                   13· ·or the assistant project manager or did you only
14· · · ·A.· ·Yes.                                         14· ·have one role in this project?
15· · · ·Q.· ·And would you also agree that it's no        15· · · ·A.· ·Singular role as the project manager.
16· ·surprise on these projects to any of the              16· · · ·Q.· ·Got it, okay.
17· ·contractors present what work is going to be          17· · · · · · And how often were you on site?· I know
18· ·performed, meaning like erection of turbines?         18· ·you said full time on site.· Does that mean
19· · · ·A.· ·Correct.                                     19· ·every day work is being performed you were on
20· · · ·Q.· ·So it's understood in the bid process        20· ·site?
21· ·between Mortenson and Don Borneke, for example,       21· · · ·A.· ·Correct.
22· ·what is going to be coming later and how the          22· · · ·Q.· ·And while you were on site, do you --
23· ·ground needs to be prepared to effectuate what's      23· ·for this project specifically, walk me through
24· ·coming later; right?                                  24· ·some of the tasks that you were performing with
                                                      30                                                         32

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·1· ·your responsibilities, duties, things like that.      ·1· ·a -- if it's more of -- more broadly described
·2· · · ·A.· ·Yeah.· So early on would have been           ·2· ·instead of truly based on like a compaction
·3· ·working with the preconstruction team and the         ·3· ·requirement that a testing agency would perform.
·4· ·project executives to establish the estimates         ·4· · · ·Q.· ·Of course.· So the crane pad as we have
·5· ·and then taking it from there to buying out the       ·5· ·established, that's like to some very high
·6· ·subcontracts, writing the contracts, helping to       ·6· ·standard so that the crane does not sink or tip
·7· ·track productivity and, you know, man hours           ·7· ·over; right?
·8· ·associated with each task, helping to track the       ·8· · · ·A.· ·Correct.
·9· ·equipment that was on site, supporting the team       ·9· · · ·Q.· ·But then the surrounding area is still
10· ·of project engineers and superintendents in           10· ·an area that needs to be compacted, graded and
11· ·their functions, then project financials.             11· ·maintained so that various pieces of equipment
12· · · ·Q.· ·Okay.· Got it.· And I appreciate you         12· ·can be delivered and staged, but that's left
13· ·walking through that.                                 13· ·more so up to the excavating company to
14· · · · · · On this site -- and I can show you the       14· ·determine what is proper for each site; right?
15· ·site map if needed, but would you agree that          15· · · ·A.· ·Yeah.· My memory is telling me that was
16· ·there were various the letter T sites like T1         16· ·a little more subjective than the very clearly
17· ·through 29 and each of those delineated where a       17· ·defined other areas.
18· ·turbine would be?                                     18· · · ·Q.· ·But nonetheless, the subjective
19· · · ·A.· ·Correct.                                     19· ·requirement still required these areas to be
20· · · ·Q.· ·And at the center of these T sites 1         20· ·able to support the weight of the various trucks
21· ·through 29, literally where the site is is part       21· ·and the pieces of equipment; right?
22· ·of the erection area; right?                          22· · · ·A.· ·Correct.
23· · · ·A.· ·Yes.                                         23· · · ·Q.· ·So while it's more subjective, it's
24· · · ·Q.· ·Then the foundation that you talked          24· ·subjective in the sense of do what needs to be
                                                      33                                                         35

·1· ·about, is that kind of the dead center of the         ·1· ·done so that the work can be performed and be
·2· ·erection area and then for a radius in each           ·2· ·performed safely; right?
·3· ·direction out from that would make up the             ·3· · · ·A.· ·Correct.
·4· ·erection area?                                        ·4· · · ·Q.· ·And some of these tasks, just because I
·5· · · ·A.· ·Yes.                                         ·5· ·have looked at the contract too many times to
·6· · · ·Q.· ·And then on this project, as the             ·6· ·count now, included things such as clearing and
·7· ·excavating company would part of Borneke's job        ·7· ·grubbing of the land if necessary?
·8· ·be to grade that surrounding area where the           ·8· · · ·A.· ·Yes.
·9· ·turbine was ultimately going to be delivered and      ·9· · · ·Q.· ·Also things such as grading or in
10· ·placed prior to erection?                             10· ·another words making it smooth?
11· · · ·A.· ·Yeah.· They need to provide basically a      11· · · ·A.· ·Yes.
12· ·surface so that the components can be stored          12· · · ·Q.· ·And things such as providing adequate
13· ·there temporarily until the erection takes            13· ·drainage away from the erection area so that
14· ·place.                                                14· ·it does -- so that water does not pool in the
15· · · ·Q.· ·And this process includes the need to        15· ·erection area, right?
16· ·compact the ground so that it can support the         16· · · ·A.· ·Correct.
17· ·weight, right?                                        17· · · ·Q.· ·All right.· And would you agree that if
18· · · ·A.· ·Yeah, and I can't -- I will be -- To be      18· ·water pooled in the erection area this could
19· ·honest, I can't remember if there is a specific       19· ·provide a dangerous condition especially in the
20· ·spec for areas outside of the crane pad having        20· ·winter when it can freeze?
21· ·been out of the industry for a couple years.          21· · · ·A.· ·Yes.
22· · · ·Q.· ·Yeah.                                        22· · · ·Q.· ·And if water is pooling in the erection
23· · · ·A.· ·The crane pad is very specific.· The         23· ·area due to either bad drainage, bad grading or
24· ·surrounding areas, I don't know if there was          24· ·bad compaction, this would be an indication the
                                                      34                                                         36

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·1· ·excavating wasn't done properly?                      ·1· ·maintenance as needed as well?
·2· · · · · · MR. SULLIVAN:· Objection, foundation.        ·2· · · ·A.· ·Yeah, and that -- It's -- That would be
·3· ·Go ahead.                                             ·3· ·kind of something that would be talked about
·4· ·BY MR. TERRY:                                         ·4· ·each morning in that daily -- So we have morning
·5· · · ·Q.· ·You can answer.                              ·5· ·safety discussions, and during those discussions
·6· · · ·A.· ·For me to answer?                            ·6· ·that's kind of -- on a wind farm that is a topic
·7· · · ·Q.· ·Yes.                                         ·7· ·of conversation because they are fluid in nature
·8· · · ·A.· ·Yes.                                         ·8· ·and they do change, and so it's -- the
·9· · · ·Q.· ·Okay.· And if there is large areas of        ·9· ·communication is kind of evaluate the site, we
10· ·standing water -- and I know some of these may        10· ·have got the equipment on standby should there
11· ·seem like duplicate questions from before, but        11· ·be some additional support needed.
12· ·this is just in a general sense in the erection       12· · · ·Q.· ·Okay.· And this additional support in
13· ·area.                                                 13· ·terms of like excavating work, all the
14· · · · · · If on this project if there is water         14· ·excavating work on this project would have been
15· ·standing in these areas it can damage equipment       15· ·done by Don Borneke Construction; correct?
16· ·or cause potential hazards for workers?               16· · · ·A.· ·Correct.
17· · · ·A.· ·Yes, and I -- So a lot of that work          17· · · ·Q.· ·And then while it's fluid in nature so
18· ·that's being described is done up front and with      18· ·to speak because certain ground conditions can
19· ·there being many sites, you were referencing the      19· ·change, you agree that part of the
20· ·T -- I think there was 29 turbines on that job,       20· ·responsibilities of Don Borneke would be to
21· ·so the sites are a little bit fluid in nature         21· ·prepare the ground adequately so that it can
22· ·just as the environmental conditions change and       22· ·accommodate the various pieces of equipment and
23· ·the equipment move through this.                      23· ·possible weather conditions to the best of their
24· · · · · · So what you were describing is kind of       24· ·ability in the first place; right?
                                                      37                                                         39

·1· ·the initial product that is -- that is                ·1· · · ·A.· ·Correct.· Kind of in a temporary
·2· ·delivered.                                            ·2· ·function though because those areas eventually
·3· · · ·Q.· ·Okay.· And then one other thing I            ·3· ·get restored back to native -- native condition.
·4· ·wanted to ask about is in addition to doing           ·4· · · ·Q.· ·Yeah, of course.· So while the work is
·5· ·these things on the project like the clearing,        ·5· ·being performed on the project it is expected
·6· ·grubbing, grading, compacting of the land, was        ·6· ·that the ground will be cleared, compacted,
·7· ·Borneke on site on a daily basis?                     ·7· ·graded and prepared for delivery and erection;
·8· · · ·A.· ·They are.· They're are in kind of in         ·8· ·right?
·9· ·reference to the fluid nature, so they are            ·9· · · ·A.· ·Correct, yes, and then as people -- The
10· ·probably -- There is a couple sites that are          10· ·second part of that is kind of on that as-needed
11· ·being worked on at a time based on what crew is       11· ·basis.· There is the initial preparation and
12· ·there, and so they are providing kind of support      12· ·then the having them return to site when risks
13· ·as needed kind of as crews evaluate the sites         13· ·are identified.
14· ·and determine what they think could support           14· · · ·Q.· ·Got it.· Okay.
15· ·their operations.· They are providing -- you          15· · · · · · I want to just talk specifically now.
16· ·know, they have got a roller, they have got a         16· ·I am going to share my screen with you and let
17· ·grader, they have got a blade.· So if things are      17· ·me know if you can see it.· Okay?
18· ·requested by the crews that are working on those      18· · · ·A.· ·Yes.
19· ·sites, they kind of support on an as-needed           19· · · ·Q.· ·You can see it?
20· ·basis.                                                20· · · ·A.· ·I can.
21· · · ·Q.· ·And just to be clear, are you saying         21· · · ·Q.· ·Okay, perfect.· This is a 59-page
22· ·that Borneke would do their initial tasks on          22· ·document which was previously marked at
23· ·each site as needed and then kind of come back        23· ·Mark Sikel's deposition.· I am just going to
24· ·to the various sites to perform touch-ups or          24· ·scroll through it very quickly and we will go in
                                                      38                                                         40

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·1· ·more detail, but does this 59-page document at        ·1· · · ·Q.· ·All right.· Before we get into the
·2· ·least appear to be a true and accurate copy of        ·2· ·actual scope of work, I just want to go on to
·3· ·the contract with Don Borneke for the subject         ·3· ·Page 17.· Do you see Subsection H?
·4· ·Mendota Hills Repowering Project?                     ·4· · · ·A.· ·I do.
·5· · · ·A.· ·Yes, it does.                                ·5· · · ·Q.· ·I will read it, and if you need me to
·6· · · ·Q.· ·All right.· I don't know if I said true      ·6· ·zoom in -- I will just do it to be safe.
·7· ·and accurate.· Does it appear to be a true and        ·7· · · · · · It says subcontractor shall coordinate
·8· ·accurate copy as well?                                ·8· ·all deliveries with the Mortenson on-site
·9· · · ·A.· ·Yeah.· To the best that I can tell this      ·9· ·superintendent.· Did I read that correctly?
10· ·is the contract -- the subcontract agreement for      10· · · ·A.· ·Yes, you did.
11· ·Don Borneke.                                          11· · · ·Q.· ·Why is this required on various job
12· · · ·Q.· ·And at the risk of asking an obvious         12· ·sites that the excavating company coordinates
13· ·question, if we zoom in on Page 1 it shows the        13· ·with the Mortenson superintendent?
14· ·subcontract agreement between M.A. Mortenson          14· · · ·A.· ·This specific excerpt would probably be
15· ·Company and Don Borneke Construction, Inc.;           15· ·referencing the delivery of materials to support
16· ·right?                                                16· ·road construction and that would be needed just
17· · · ·A.· ·Yes, it does.                                17· ·to kind of have an awareness of what is going on
18· · · ·Q.· ·All right.· And then under one it shows      18· ·should there be conflicts between say you have a
19· ·the project as being the Mendota Hills                19· ·concrete pour going on at the same time as a --
20· ·Repowering Project, correct?                          20· ·as road base material is getting delivered.· You
21· · · ·A.· ·Yes.                                         21· ·can just kind of have some congested travel
22· · · ·Q.· ·All right.· And then if we go down to        22· ·paths.· So it's just kind of bringing the
23· ·Part 2 on Page 1, the scope of work, it               23· ·Mortenson superintendent back into the fold so
24· ·essentially says that subcontractor will furnish      24· ·they can have a holistic look on what's going on
                                                      41                                                         43

·1· ·and pay for all the material, labor, et cetera,       ·1· ·on the project.
·2· ·to fully perform their tasks; right?                  ·2· · · ·Q.· ·Okay.· Would it also have anything to
·3· · · ·A.· ·Yes.                                         ·3· ·do with Borneke's work essentially effectuating
·4· · · ·Q.· ·And then their specific tasks for this       ·4· ·the delivery and the staging of equipment so to
·5· ·project would be contained within the scope of        ·5· ·make sure that the various roadways and erection
·6· ·work attachment, right?                               ·6· ·areas are still performing as they should?
·7· · · ·A.· ·Correct.                                     ·7· · · ·A.· ·Loosely.· I mean, this -- that
·8· · · ·Q.· ·If we go on to Page 3 of this document,      ·8· ·Subsection H would be in every single trade
·9· ·is this your electronic signature on this             ·9· ·partner agreement, I believe, from
10· ·document?                                             10· ·Mendota Hills.· So for an electrical contractor
11· · · ·A.· ·Yes, it is.                                  11· ·it's when are you bringing in cable reels.· It's
12· · · ·Q.· ·And then are you familiar with               12· ·really more of a coordination-related item for
13· ·Mark Sikel?                                           13· ·that holistic oversight.
14· · · ·A.· ·Yes.                                         14· · · ·Q.· ·So it's more of a coordination; but
15· · · ·Q.· ·Was he the project manager for               15· ·nonetheless, this requirement was in fact
16· ·Don Borneke that you were working with on this        16· ·required and enforced on this project?
17· ·project?                                              17· · · ·A.· ·Yes.· There would have been daily
18· · · ·A.· ·Yes, he was.                                 18· ·communication on deliveries that were taking
19· · · ·Q.· ·Okay.· And is this the person that you       19· ·place.
20· ·would have been negotiating with and contracting      20· · · ·Q.· ·So it's safe to say each subcontractor
21· ·with on behalf of the various companies to            21· ·including Don Borneke was informed of when
22· ·figure out which task each contractor will be         22· ·various deliveries were being made and what was
23· ·performing?                                           23· ·going on on a daily basis at the various sites?
24· · · ·A.· ·Correct.                                     24· · · ·A.· ·Yes.· There would be a morning meeting
                                                      42                                                         44

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·1· ·where that would be discussed every day.              ·1· · · ·A.· ·They are, and that one in particular is
·2· · · ·Q.· ·If we go on to Page 20, this is an           ·2· ·looking at -- That's kind of based on the trucks
·3· ·11-page document as you can see at the bottom.        ·3· ·that are used to deliver the equipment.· That's
·4· ·It says Exhibit A, scope of work.· Again, I will      ·4· ·the max allowable grade.
·5· ·briefly scroll through this and then ask you          ·5· · · ·Q.· ·Yeah, exactly.· So the point is, like
·6· ·specific questions.                                   ·6· ·for example, at these access roads, for example,
·7· · · · · · Does this 11-page document appear to be      ·7· ·it is known what needs to be done and there is
·8· ·a true and accurate copy of the scope of work         ·8· ·specific specifications for this work so that
·9· ·that is attached to the contract?                     ·9· ·the various trucks can get in and out with this
10· · · ·A.· ·From what I can tell, yes.                   10· ·equipment; right?
11· · · ·Q.· ·Okay.· And then to ask an obvious            11· · · ·A.· ·Correct.
12· ·question, this was the contractually required         12· · · ·Q.· ·All right.· And then again like under G
13· ·tasks for Don Borneke on this project; right?         13· ·for example, some of these things we talked
14· · · ·A.· ·Yes.                                         14· ·about, stripping top soil, preparation of
15· · · ·Q.· ·And by negotiating back and forth            15· ·subgrade, compaction and placement of compaction
16· ·with you, these are tasks they assumed the            16· ·of aggregate material.· These are all some of
17· ·responsibility for and were ultimately paid to        17· ·the tasks that Don Borneke was contracted to
18· ·complete?                                             18· ·perform on this project?
19· · · ·A.· ·Yes.                                         19· · · ·A.· ·Yeah, and there is kind of some
20· · · ·Q.· ·If we go to Page 1 of 11, just general       20· ·different details for different locations
21· ·requirements, under 2.1D as in dog, similar to        21· ·associated with that.
22· ·the general on the first page of the contract,        22· · · ·Q.· ·Of course.· And then under N for
23· ·subcontractor agrees to procure, provide and pay      23· ·example, subcontractor shall construct temporary
24· ·for all materials, equipment, tools,                  24· ·access roads/radii required to facilitate the
                                                      45                                                         47

·1· ·consumables, labor, et cetera, et cetera, and         ·1· ·delivery of turbines to each wind turbine
·2· ·other costs required to complete the work.            ·2· ·foundation location on site.· Temporary access
·3· · · · · · So generally Don Borneke had a task and      ·3· ·roads/radii shall be aggregate base.· Did I read
·4· ·they are responsible for completing it, right?        ·4· ·that correctly?
·5· · · ·A.· ·Correct.                                     ·5· · · ·A.· ·Yes, you did.
·6· · · ·Q.· ·And if we go on to Page 2 of 11, we see      ·6· · · ·Q.· ·Okay.· So again, is this kind of what
·7· ·some of the tasks that we were talking about          ·7· ·we were talking about earlier, these access
·8· ·earlier like the clearing and the grubbing and        ·8· ·roads also need to have this radii required to
·9· ·the construction trailer and laydown yard,            ·9· ·facilitate delivery and turnaround of the
10· ·right?                                                10· ·trucks?
11· · · ·A.· ·Yes.                                         11· · · ·A.· ·Correct.
12· · · ·Q.· ·All right.· And then under -- On Page 3      12· · · ·Q.· ·And this radii would kind of go hand
13· ·of 11 or 2.6, the turbine access roads, these         13· ·and hand with the erection areas that we are
14· ·access roads, are these the roads that literally      14· ·going to talk about as well, right?
15· ·branch off from the main road that would give         15· · · ·A.· ·Yes.· And it's the -- A lot of times
16· ·access to the turbine sites?                          16· ·the radii are for -- more specifically for what
17· · · ·A.· ·Yes.                                         17· ·you're building so they can turn into those
18· · · ·Q.· ·And at these roads like other parts          18· ·sites or off of county roads --
19· ·of the project, for example under E they have         19· · · ·Q.· ·Okay.
20· ·various grading and height and degree                 20· · · ·A.· ·-- less so the specific pad site
21· ·specifications for each of them, meaning like         21· ·because a lot of times at the pad site it's --
22· ·they can't deviate by more than a certain number      22· ·they are not doing a full turnaround around the
23· ·of inches or degrees and these specifications         23· ·foundation.· It's kind of -- They are usually
24· ·are spelled out in the contract; right?               24· ·designed pretty uniquely and they -- they work
                                                      46                                                         48

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·1· ·with the trucking operation to see exactly what       ·1· ·the full 180 feet, is that what you're saying?
·2· ·they would need for the turnaround.                   ·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·So these subcontracts like Don Borneke       ·3· · · ·Q.· ·So in the area where the equipment is
·4· ·actually worked with the trucking companies to        ·4· ·going to be staged and delivered what I said is
·5· ·know what type of trucks are going to be used,        ·5· ·true then, right?
·6· ·how much it's going to weigh and make sure the        ·6· · · ·A.· ·It needs to have an adequate compaction
·7· ·ground is properly prepared for the trucks and        ·7· ·to withstand the weight of whatever the imposed
·8· ·the equipment on it; right?                           ·8· ·load is.
·9· · · ·A.· ·Correct.                                     ·9· · · ·Q.· ·And the idea behind it is trucks are
10· · · ·Q.· ·Okay.· And these turnaround areas need       10· ·going to come in and you don't want the trucks
11· ·to be able to support the weight of not only the      11· ·getting stuck or sinking into the ground, right?
12· ·trucks but also the pieces of equipment on them       12· · · ·A.· ·Correct.
13· ·and when the pieces of equipment are later            13· · · ·Q.· ·And also after the trucks deliver the
14· ·staged, right?                                        14· ·pieces of equipment in the areas where it's
15· · · ·A.· ·Correct.                                     15· ·actually staged, you expect the ground to be
16· · · ·Q.· ·And by not properly preparing the            16· ·properly prepared so that depressed areas don't
17· ·ground or by just allowing the ground to cave in      17· ·form due to the equipment sinking into the
18· ·underneath trucks for delivered pieces of             18· ·ground; right?
19· ·equipment that are staged for erection, this          19· · · ·A.· ·Correct.
20· ·would mean that Don Borneke is not fulfilling         20· · · ·Q.· ·Okay.· And then if we go on to Page --
21· ·its contractual requirements; right?                  21· ·of the contract just to keep going a little bit.
22· · · · · · MR. SULLIVAN:· Objection, foundation,        22· ·We will skip forward to Page 8.· This section
23· ·legal conclusion.                                     23· ·talks about the foundation excavation and the
24· · · · · · Go ahead.                                    24· ·backfilling like we talked about earlier, right?
                                                      49                                                         51

·1· ·BY MR. TERRY:                                         ·1· · · ·A.· ·Correct.
·2· · · ·Q.· ·You can answer, sir.                         ·2· · · ·Q.· ·All right.· And I skipped a page, but
·3· · · ·A.· ·Sorry.· Could you guys -- For me to          ·3· ·on Page 7 under maintenance, although this
·4· ·answer?                                               ·4· ·section is discussing roads and the laydown
·5· · · ·Q.· ·Yes.                                         ·5· ·yard, this shows that Borneke under C will be
·6· · · · · · MS. VAN HECKE:· Andy, just so you know,      ·6· ·required to keep full-time blades on site for
·7· ·if there is anything that you shouldn't answer,       ·7· ·road maintenance and crowning as well as provide
·8· ·I will tell you not to answer.                        ·8· ·rolling and compaction equipment as necessary to
·9· · · · · · THE WITNESS:· Okay.                          ·9· ·maintain public and access roads; right?
10· · · · · · MS. VAN HECKE:· Okay.                        10· · · ·A.· ·Correct, and I think that that alludes
11· · · · · · THE WITNESS:· Yes, and just, Charlie,        11· ·a little bit to kind of that fluid nature of
12· ·just kind of to what I was saying previously          12· ·those sites and definitely as-needed work.
13· ·that that can be in kind of isolated strips           13· · · ·Q.· ·And these -- Based on this, these
14· ·within that pad.· It's not necessarily saying a       14· ·access roads, would it also include if we go to
15· ·whole 150-foot radius is going to withstand the       15· ·the next section that we just talked about the
16· ·weight of that truck.· It's kind of in order to       16· ·radii for delivery and turnaround; right?
17· ·support the most demanding elements which would       17· · · ·A.· ·Correct.
18· ·be the trucks that are delivering the components      18· · · ·Q.· ·So the need to maintain these areas
19· ·and the cranes that need to bear on that soil.        19· ·also include the delivery and staging area,
20· ·BY MR. TERRY:                                         20· ·right?
21· · · ·Q.· ·So while there is a 175-foot radius or       21· · · ·A.· ·Yeah, specifically to where that travel
22· ·whatever it is, it's mainly the areas where the       22· ·path would be and where the component would be
23· ·equipment is going to be delivered and staged         23· ·placed.
24· ·that need to be able to support the weight, not       24· · · ·Q.· ·So it's not just the access roads.
                                                      50                                                         52

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·1· ·It's literally the access road up until where         ·1· ·through kind of on a daily basis.
·2· ·it's going to be delivered, staging and turning       ·2· · · ·Q.· ·And so on a daily basis Mortenson is
·3· ·around, all of that needs to be prepared and          ·3· ·telling Don Borneke hey, in this 30-foot square
·4· ·maintained; right?                                    ·4· ·or however you want to phrase it, this is where
·5· · · ·A.· ·Yes.· As I read that, it's -- that is        ·5· ·the truck is going to be coming in and this is
·6· ·full-time maintenance for public and access           ·6· ·where the components are going to be delivered;
·7· ·roads versus some of the as-needed stuff.             ·7· ·right?
·8· · · ·Q.· ·Yeah.· And so this access road part,         ·8· · · ·A.· ·Yes, Mortenson being referenced pretty
·9· ·the point I am getting at is it also includes --      ·9· ·broadly there.· So sometimes that direction
10· ·and I think I asked this, and if I did I              10· ·comes from the crews that -- So a lot of the
11· ·apologize, but it also includes that turnaround       11· ·labor associated with these sites is contracted
12· ·area for the semi trucks as well as where the         12· ·through the union directly to Mortenson and so
13· ·trucks are going to deliver and stage the actual      13· ·the superintendents would be working with their
14· ·equipment; right?                                     14· ·foremen on those crews to kind of look at
15· · · ·A.· ·Correct.                                     15· ·their -- their functions for the day and kind of
16· · · ·Q.· ·And if we go on to Page 9 of 11,             16· ·coordinating a couple days in advance based on
17· ·Section 2.21, you would agree that this section       17· ·what they are seeing and what the right way to
18· ·discusses the turbine erection areas; right?          18· ·go about that work is.
19· · · ·A.· ·I would.                                     19· · · ·Q.· ·Okay.· Got it.· So nonetheless though,
20· · · ·Q.· ·Did you say you would?                       20· ·somebody on the project is communicating to
21· · · ·A.· ·I would, yes.                                21· ·Don Borneke the various, to use the exact words,
22· · · ·Q.· ·Okay.· Got it.· And under Subsection A,      22· ·component locations in these erection areas;
23· ·I am going to read it and then ask you some           23· ·right?
24· ·questions.· It says subcontractor shall clear,        24· · · ·A.· ·Correct, and especially in that -- kind
                                                      53                                                         55

·1· ·grub and provide all necessary grading for a          ·1· ·of in the micro time frame of work coming up
·2· ·175-foot radius around the turbine inclusive of       ·2· ·within the next week.· Because of how you move
·3· ·cut and fill necessary to achieve no more than        ·3· ·around these sites certain areas get more
·4· ·5 percent grade across the area.· Did I read          ·4· ·attention throughout, right?· Where there is
·5· ·that correctly?                                       ·5· ·active work going on, those are the ones that
·6· · · ·A.· ·Yes.                                         ·6· ·are generally talked about in those morning
·7· · · ·Q.· ·Okay.· So the specifications for this        ·7· ·discussions.
·8· ·project are 175-foot radius around the turbine,       ·8· · · ·Q.· ·And in these more stringent areas where
·9· ·right?                                                ·9· ·the work is going to be performed, where the
10· · · ·A.· ·Yes.                                         10· ·equipment is going to be staged, this is where
11· · · ·Q.· ·And then the grade is 5 percent?             11· ·the compaction and the grading and the drainage
12· · · ·A.· ·Correct.                                     12· ·really all matters; right?
13· · · ·Q.· ·And for this 175-foot area, maybe at         13· · · ·A.· ·Specific to the -- to the compaction,
14· ·the very outer edge the compaction standards can      14· ·yes, especially for those initial activities at
15· ·get a little less, but closer to the center           15· ·those sites when you're bringing the truck in
16· ·where the trucks are going to be and where the        16· ·and off-loading them, and that's kind of the --
17· ·delivery components are going to be staged this       17· ·the first product that is delivered, and then
18· ·is -- as well as the crane, this is where the         18· ·beyond that you revisit on that as-needed basis.
19· ·compaction standards are more important?              19· · · ·Q.· ·And let's just break that down a little
20· · · ·A.· ·In kind of specific to the limits as it      20· ·bit.· So this area where it's going to be
21· ·references the coordination with Mortenson's          21· ·delivered is literally told to Don Borneke so
22· ·superintendent for component location.· So            22· ·they know which areas are more important than
23· ·it's -- They are most stringent in those              23· ·others, right?
24· ·coordinated locations that they are talking           24· · · ·A.· ·Yes.· They will approach a site and
                                                      54                                                         56

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·1· ·work with the trade partners and the trucking         ·1· · · ·A.· ·Yes, to provide the -- to meet the
·2· ·companies to kind of identify exactly where           ·2· ·specs that's identified in A.· That's kind of
·3· ·things are going to go.                               ·3· ·part of the work that needs to be take place in
·4· · · ·Q.· ·And these areas where -- that are being      ·4· ·order to do that.
·5· ·identified to Don Borneke, these are the areas        ·5· · · ·Q.· ·And then if we go under Subsection III,
·6· ·that need to be really well compacted so that         ·6· ·it also says that cleared area shall be
·7· ·the ground does not sink in underneath staged         ·7· ·maintained, compacted and provide positive
·8· ·equipment or various trucks that are delivering       ·8· ·drainage at all times to facilitate turnaround
·9· ·the equipment, right?                                 ·9· ·area for turbine delivery components through the
10· · · ·A.· ·Correct, and there is generally --           10· ·duration of the project, right?
11· ·Given the nature of the work there is kind of --      11· · · ·A.· ·Correct.
12· ·there is an assumed deflection.· Things are --        12· · · ·Q.· ·So this is like what we were talking
13· ·You know that it's never going to be a                13· ·about earlier.· Maybe not the whole 175-foot
14· ·perfectly -- it's not going to be working on          14· ·radius, but in this smaller, more stringent area
15· ·concrete, but it's going to be -- it's                15· ·where the pieces are going to be delivered and
16· ·sufficient to support the operation and that          16· ·staged this needs to be maintained, compacted
17· ·primary operation is off -- getting the truck         17· ·and positive drainage provided at all times
18· ·in, off-loading the component, staging it and         18· ·throughout the duration of the projects; right?
19· ·backing the truck out.                                19· · · ·A.· ·Yeah.· So just given the nature of the
20· · · ·Q.· ·Exactly.· So we are not working in a         20· ·work, that's usually on kind of that -- The few
21· ·warehouse with concrete floors; but nonetheless,      21· ·sites that you're looking at, as those crews are
22· ·Don Borneke is expected to prepare the ground in      22· ·evaluating their work they are the ones that are
23· ·these areas so that it doesn't sink in                23· ·kind of communicating where the maintenance is
24· ·underneath trucks or even just the staged             24· ·specifically required.
                                                      57                                                         59

·1· ·equipment while it's waiting to be erected,           ·1· · · ·Q.· ·But all of these tasks that we just
·2· ·right?                                                ·2· ·talked about, this grading, the maintaining, the
·3· · · ·A.· ·Correct.                                     ·3· ·compacting, the drainage, all of this among
·4· · · ·Q.· ·And then if we go into the subsections       ·4· ·other things helps prevent large ruts or
·5· ·of Part A on this contract, some of the things        ·5· ·depressed areas from forming in these erection
·6· ·we talked about are again listed here.· These         ·6· ·areas; right?
·7· ·erection areas need to be cleared and grubbed,        ·7· · · ·A.· ·Yes.· This is a step that helps prevent
·8· ·right?                                                ·8· ·that.
·9· · · ·A.· ·Yes.                                         ·9· · · ·Q.· ·Yeah.· And in this step that helps
10· · · ·Q.· ·But then also under II, bumps shall be       10· ·prevent it, one of the ideas is if these things
11· ·leveled and holes filled to accommodate               11· ·are prevented water won't pool near the turbine
12· ·equipment travel, did I read that correctly?          12· ·or where workers are working; right?
13· · · ·A.· ·You did, and that would generally be         13· · · ·A.· ·Correct.
14· ·during the initial build of the turbine erection      14· · · ·Q.· ·And if water does not pool, you know,
15· ·areas, you're in a farm field.· There is going        15· ·ruts and depressed areas don't form, then there
16· ·to be -- Within that 175-foot radius there could      16· ·is not these areas where little lakes of water
17· ·be low points in the natural topography and so        17· ·can pool and freeze; right?
18· ·eliminating those holes and making it that --         18· · · ·A.· ·Correct.
19· ·the smooth pad.                                       19· · · ·Q.· ·And all of these things that we just
20· · · ·Q.· ·And so these depressed areas or just         20· ·talked about, these are all tasks that Borneke
21· ·the ruts, they all need to be leveled and filled      21· ·is contracted to prevent by providing the
22· ·so that equipment and various trucks can              22· ·necessary preparation work for these sites?
23· ·properly deliver the equipment and the equipment      23· · · ·A.· ·Yes.· It's assumed that they are --
24· ·can be staged; right?                                 24· ·Yes, they are maintaining these sites.
                                                      58                                                         60

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·1· ·Specifically they are re-focussing on those           ·1· ·possible; right?
·2· ·areas and there's crews present and they are          ·2· · · ·A.· ·Yeah.· If they were requested to go out
·3· ·requested to be there.                                ·3· ·there and level that out, they certainly would.
·4· · · ·Q.· ·Okay.· So in these various sites, not        ·4· · · ·Q.· ·And then we talked a lot about the
·5· ·only do they prepare them for all these things        ·5· ·grading and the drainage, but also the
·6· ·that we just talked about, but it's also              ·6· ·compacting.· You agree by compacting the land
·7· ·expected that they will also maintain them as an      ·7· ·Borneke is helping to ensure the land is able to
·8· ·on -- on an as-needed basis?                          ·8· ·support the weights of these various pieces of
·9· · · ·A.· ·Correct.                                     ·9· ·equipment, right?
10· · · ·Q.· ·And this could be a combination of           10· · · ·A.· ·Yes.
11· ·things.· This could be Borneke being told hey,        11· · · ·Q.· ·Not only that, but by compacting the
12· ·come to a site or just Borneke seeing something       12· ·land Borneke is helping to ensure that the land
13· ·is wrong with the site and taking it upon             13· ·in these tight stringent areas is able to
14· ·themselves to remedy it; right?                       14· ·support the weight of the trucks delivering the
15· · · ·A.· ·Yes.· More of the former than the            15· ·equipment; right?
16· ·latter, but both could be the case.                   16· · · ·A.· ·Yes.
17· · · ·Q.· ·And then on this project I want to ask       17· · · ·Q.· ·And same question for while the
18· ·you a question about the various deliveries.          18· ·equipment is off-loaded and staged prior to
19· ·The various -- I will get to that in a second         19· ·going up, right?
20· ·actually.· I don't want to lose my train of           20· · · ·A.· ·Correct, yes.· There is some assumed
21· ·thought on this.· I will go back to the scope of      21· ·deflection there, right?· If they need to have
22· ·work because we are kind of in the middle of          22· ·the compaction in order to meet those minimum
23· ·that.                                                 23· ·requirements with the understanding that in an
24· · · · · · I am still here.· I am just trying to        24· ·Illinois farm field where the soil can be very
                                                      61                                                         63

·1· ·find my place.· Give me one second.                   ·1· ·wet there is some deflection that may occur, you
·2· · · · · · And so again in these cleared areas,         ·2· ·just got to be able to get the trucks in and
·3· ·this maintenance for the compaction and the           ·3· ·out.
·4· ·drainage for whatever the purpose is, these are       ·4· · · ·Q.· ·Okay.· But nonetheless, you also have
·5· ·tasks that are required to be maintained              ·5· ·to provide proper drainage so that if there is a
·6· ·throughout the duration of the project; right?        ·6· ·depressed area or a rut or something forms,
·7· · · ·A.· ·It's primarily kind of referencing           ·7· ·water does not pool in these areas; right?
·8· ·getting it to that final product to support the       ·8· · · ·A.· ·Correct.· Yeah, kind of especially for
·9· ·deliveries and then the subsequent erection           ·9· ·the long-term maintenance of -- during the
10· ·operations, but it -- it is a -- it's a product       10· ·construction process.
11· ·that they deliver once and then they maintain on      11· · · ·Q.· ·Exactly.· So the idea behind it is
12· ·that as-needed basis.                                 12· ·prepare the ground to effectuate the delivery
13· · · ·Q.· ·And then, you know, Borneke is               13· ·and the staging but also provide drainage so
14· ·contracted to maintain and prepare these areas        14· ·that if a rut or depressed area forms water
15· ·because they know what is going to be performed       15· ·won't just simply pool in the erection area,
16· ·at these sites and that's deliveries on large         16· ·right?
17· ·semis carrying pieces of equipment that weigh         17· · · ·A.· ·Yes.
18· ·tens of thousands of pounds; right?                   18· · · ·Q.· ·So it's kind of a combination of both.
19· · · ·A.· ·Yes.· That's the original design that        19· ·So not only do they have to prepare and compact
20· ·they are trying to accommodate.                       20· ·the land, but they also have to provide the
21· · · ·Q.· ·In these areas if a large rut or             21· ·drainage so that if the land does sink in a
22· ·depressed area forms where Borneke prepared the       22· ·little bit large areas of water don't pool and
23· ·ground for delivery, these are things that they       23· ·possibly freeze; right?
24· ·would have to maintain or try to remedy if            24· · · ·A.· ·Correct.
                                                      62                                                         64

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·1· · · ·Q.· ·So again using a hypothetical, if there      ·1· ·are ten feet apart, that five percent grade
·2· ·is an area where a piece of equipment is staged       ·2· ·can't overcome that rut.
·3· ·and it sinks into the ground, if there is proper      ·3· · · ·Q.· ·Okay, got it.· But that's why all these
·4· ·drainage at this site even if the piece of            ·4· ·compaction tasks so that the ground can support
·5· ·equipment somewhat sinks into the ground the          ·5· ·the various pieces of equipment and trucks are
·6· ·idea is with proper drainage water still won't        ·6· ·so important that it's done right the first time
·7· ·pool because the ground is graded away from the       ·7· ·so that these things don't form or they form
·8· ·turbine; right?                                       ·8· ·less, right?
·9· · · ·A.· ·Correct.                                     ·9· · · ·A.· ·That is again the goal in an ideal
10· · · ·Q.· ·Okay.· And if this is done properly by       10· ·scenario.· It's just within the nature of the
11· ·the excavating company, Borneke in this case,         11· ·wind industry and where you're constructing
12· ·then there shouldn't be large areas of standing       12· ·these it's hard to guarantee that a thousand
13· ·water that can pool and freeze; right?                13· ·percent.
14· · · ·A.· ·Correct.· It's just sometimes during         14· · · ·Q.· ·In this -- I want to ask you a couple
15· ·the off-loading of that equipment, right, that's      15· ·questions before we get back into more
16· ·when it takes place.· That's when that -- the         16· ·specifics.· Have you -- When I say the subject
17· ·reference rutting would be taking place, and so       17· ·incident and the wind farm, you're obviously
18· ·there -- I would say reference and somewhat           18· ·familiar with the wind farm.· Are you familiar
19· ·assumed rutting, and some of that rutting might       19· ·with my client Nick Georgeff?
20· ·take place directly adjacent to components where      20· · · ·A.· ·I am.
21· ·the -- fixing those puts more things at risk --       21· · · ·Q.· ·And are you familiar with the incident
22· ·The kind of the risk/reward analysis would be         22· ·that we are here to talk about?
23· ·you're introducing more risk by driving heavy         23· · · ·A.· ·I am.
24· ·equipment next to expensive components, and so        24· · · ·Q.· ·Okay.· I want to show you the -- excuse
                                                      65                                                         67

·1· ·in those cases the crews assess those                 ·1· ·me.· I apologize -- the construction incident
·2· ·challenging -- those challenges that are present      ·2· ·analysis.· Have you seen this document before?
·3· ·at the site and they -- they plan as part of          ·3· · · ·A.· ·I have.
·4· ·their pre-task planning process appropriately.        ·4· · · ·Q.· ·This is a document stated simply
·5· · · ·Q.· ·So you've got to kind of look at it in       ·5· ·prepared by Mortenson and it's basically like an
·6· ·like if it occurs too close for a bulldozer to        ·6· ·incident report, right?
·7· ·operate safely, you have got to weigh the cost        ·7· · · ·A.· ·Correct.
·8· ·benefit and see what can be done, if anything,        ·8· · · ·Q.· ·And this incident report shows the
·9· ·type of thing?                                        ·9· ·sheet of ice that my client slipped on, right?
10· · · ·A.· ·Correct.                                     10· · · ·A.· ·Correct.
11· · · ·Q.· ·But nonetheless, the fact still remains      11· · · ·Q.· ·But on the day of the occurrence, and
12· ·in a perfect world the idea is this ground would      12· ·it says this here, the ice was covered with a
13· ·be prepared so that depressed areas don't form;       13· ·thin layer of snow so it couldn't be seen;
14· ·right?                                                14· ·right?
15· · · ·A.· ·In an ideal scenario, yes.                   15· · · ·A.· ·Yeah.· I mean, that is what is
16· · · ·Q.· ·And in an ideal scenario even if these       16· ·referenced.· I mean, I -- I can't remember
17· ·depressed areas form, hopefully the water won't       17· ·specifically.
18· ·pool there because of the fact that there is          18· · · ·Q.· ·Okay.· But you have no reason to
19· ·proper drainage; right?                               19· ·disagree with that, right?
20· · · ·A.· ·Yes, but that drainage is kind of --         20· · · ·A.· ·No reason to disagree.
21· ·It's for the -- It's for the pad as a whole.· So      21· · · ·Q.· ·Okay.· And then if you look
22· ·if there is a rut there will be localized             22· ·specifically in this area this is an erection
23· ·drainage challenges.· It can overcome -- Within       23· ·area and you can see the crane pad maybe ten
24· ·a five percent grade if you have two ruts that        24· ·feet away from where the sheet of ice is, right?
                                                      66                                                         68

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·1· · · ·A.· ·I can't necessarily tell there.· So          ·1· ·unaddressed, that's what this document is
·2· ·timbers like that would be used.· Whether or not      ·2· ·stating in your opinion?
·3· ·those are just staged in the area versus like         ·3· · · ·A.· ·That is how it reads to me.
·4· ·the actual pad to support the foundation -- or        ·4· · · ·Q.· ·Okay.· Got it.
·5· ·adjacent to the foundation to support the main        ·5· · · · · · And then under adverse ground
·6· ·crane's erection I can't tell.                        ·6· ·conditions it does say the site received enough
·7· · · ·Q.· ·Do you have any reason to disagree with      ·7· ·snow that morning to cover the ground with a few
·8· ·prior testimony of ironworkers at this site who       ·8· ·inches.· This layer of snow concealed some
·9· ·state that that was the crane pad?                    ·9· ·hazards that existed on site, specifically the
10· · · ·A.· ·I don't, no.· I mean, where that hub is      10· ·ice adjacent to the mid-section.· Did I read
11· ·located -- The hub is that triangular piece           11· ·that correctly?
12· ·right there.                                          12· · · ·A.· ·You did.
13· · · ·Q.· ·Yeah.                                        13· · · ·Q.· ·So again, this is just what I was
14· · · ·A.· ·That seems a little close, but I don't       14· ·talking about earlier at least based on the
15· ·know.· No, I have no reason to disagree with          15· ·document.· While the photograph doesn't show it,
16· ·that.                                                 16· ·it is documented that there was a thin layer of
17· · · ·Q.· ·Okay.· But nonetheless, this is an area      17· ·snow covering the ice on this project; right?
18· ·where this ice has accumulated, that's part of        18· · · ·A.· ·Yeah.· I mean, that's how it reads.
19· ·the area we were talking about that there is          19· · · ·Q.· ·Okay.
20· ·supposed to be these stringent requirements for       20· · · ·A.· ·Documented, I don't know; but if there
21· ·delivery and stagging of equipment; right?            21· ·was, that would have been addressed that morning
22· · · ·A.· ·Yes.                                         22· ·when they talked through safety items.
23· · · ·Q.· ·I want to ask you some questions about       23· · · ·Q.· ·Okay.· Got it.· And bear with me. I
24· ·this.· It says that the site had previously been      24· ·just want to ask you a few more questions.
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·1· ·addressed with a bulldozer to mitigate                ·1· · · · · · Do you -- Actually I am trying to think
·2· ·walking/working hazards; however, the ice             ·2· ·of the way to ask this.· Did you talk with my
·3· ·accumulation had occurred too close to the WTG        ·3· ·client after this accident?
·4· ·section for the dozer to operate safely leaving       ·4· · · ·A.· ·I know I talked to his wife.
·5· ·the ice unaddressed.· Did I read that correctly?      ·5· · · ·Q.· ·Okay.
·6· · · ·A.· ·You did.                                     ·6· · · ·A.· ·So following the incident the emergency
·7· · · ·Q.· ·So this is an area that Don Borneke          ·7· ·response plan was enacted --
·8· ·would have previously addressed with a                ·8· · · ·Q.· ·Sure.
·9· ·bulldozer, right?                                     ·9· · · ·A.· ·-- and I went -- I followed the
10· · · ·A.· ·Yeah.· Based on what the report is           10· ·ambulance to the clinic where they were at and
11· ·saying, yeah.· You can infer that they would          11· ·just kind of stayed there until his family was
12· ·have addressed that because someone had               12· ·there to support -- just to support the injured
13· ·requested a dozer to visit that site.                 13· ·worker.
14· · · ·Q.· ·So this is something that based on this      14· · · ·Q.· ·And again to make sure I heard you
15· ·document somebody would have called Don Borneke       15· ·properly, you would have went to the clinic and
16· ·and said hey, come check this out, but the ice        16· ·waited for his family to arrive?
17· ·occurred too close for the dozer to operate           17· · · ·A.· ·Yeah, just to kind of express support
18· ·here; right?                                          18· ·for an injured worker.
19· · · ·A.· ·Yeah.· That's how it reads.                  19· · · ·Q.· ·Oh, of course.· No, I am not
20· · · ·Q.· ·So basically this is stating -- to           20· ·questioning the decision.· I just want to make
21· ·state it another way, Don Borneke was called to       21· ·sure I heard you correctly.
22· ·the site to look at this, saw it and then said        22· · · · · · So while you were at the clinic, did
23· ·this is too close to the WTG section for the          23· ·you actually go into my -- I am just trying to
24· ·dozer to operate safely so it was left                24· ·see whether you saw him, if you observed him, if
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·1· ·you -- if he said anything.· That's all I am          ·1· · · ·Q.· ·Well, if I relate to you that there is
·2· ·trying to get at, like what you observed, what        ·2· ·a change order dated after this accident that
·3· ·you saw, maybe you actually went to the site          ·3· ·says, you know, snow and ice will be assumed by
·4· ·while he was still on the ground, any of that         ·4· ·Don Borneke, would you have been part in those
·5· ·stuff.                                                ·5· ·communications or that process or do you not
·6· · · ·A.· ·I -- I remember the emergency response       ·6· ·remember at this point?
·7· ·going into action which for us means there is a       ·7· · · ·A.· ·Oh, I am sure I would have been. I
·8· ·call over the radio back to the main office.          ·8· ·don't remember the specific change order. I
·9· ·The main office dispatches -- and we do have EMT      ·9· ·would assume that it was based on work that they
10· ·on site full time, so they would be part of that      10· ·had performed, not necessarily an
11· ·original response.· If they deemed --                 11· ·all-encompassing scope moving forward.
12· ·collectively it's deemed that additional support      12· · · ·Q.· ·Okay.· Got it.· Is this something that
13· ·is needed, you would call the emergency               13· ·there is like an unwritten rule on these
14· ·response, bring an ambulance to the site.             14· ·projects that it's assumed the excavating
15· · · · · · So I was on the office side and then if      15· ·company will take care of these responsibilities
16· ·I recall correctly, I think I was approaching         16· ·prior or is this just something that came to be
17· ·the site as the ambulance was -- or as they were      17· ·due to the nature of the project itself?
18· ·loading him up and removing him from site, so         18· · · ·A.· ·They're -- They're the best equipped to
19· ·then followed shortly thereafter.· After finding      19· ·provide those services along the way because
20· ·out where they were sent, went to the clinic and      20· ·they have the equipment and so then they would
21· ·my time, as I recall, was just spent in the           21· ·perform those on a T&M basis I am assuming is
22· ·waiting room.· Then as she arrived we -- we           22· ·what the change order was associated with it.
23· ·exchanged some words.· I mean, basically just         23· · · · · · So if the superintendent determined
24· ·talked through sorry, let us know if we can help      24· ·that additional work is required, they will sign
                                                      73                                                         75

·1· ·with anything, and then went from there.              ·1· ·a ticket documenting that so many hours of work
·2· · · ·Q.· ·Okay.· Got it.· And so again, the            ·2· ·were performed.
·3· ·reason I am asking is if this goes to trial,          ·3· · · ·Q.· ·So this is likely something that was
·4· ·this matter, we just need to know what you would      ·4· ·just kind of assumed would be done in the
·5· ·talk about, what you wouldn't.                        ·5· ·forefront and then once it actually started to
·6· · · · · · Is it safe to say that you did not           ·6· ·get done, a change order was put in place so
·7· ·actually see my client, like you did not observe      ·7· ·that additional compensation could be paid?
·8· ·him in pain, he did not tell you about his pain       ·8· · · ·A.· ·It would be done so -- I don't know if
·9· ·level, things like that?· You just kind of went       ·9· ·I would say it's assumed that that would take
10· ·to the site, you missed him, and then you waited      10· ·that course.· That's kind of back to the fluid
11· ·at the hospital for his wife to arrive, but you       11· ·nature of these sites --
12· ·never actually saw or spoke with my client about      12· · · ·Q.· ·Sure.
13· ·the injury or the pain?                               13· · · ·A.· ·-- that if that work is needed they are
14· · · ·A.· ·I don't believe I did.                       14· ·going to be compensated, especially if our
15· · · ·Q.· ·Got it.· No, no, that's fine.· Like I        15· ·superintendents agree that the work was in fact
16· ·said, this is not a memory test.· This is just        16· ·performed and required.
17· ·to find out what you know and what you don't          17· · · ·Q.· ·Got it.· And I am about wrapping up. I
18· ·know.· That makes sense.                              18· ·just have maybe five more minutes of questions.
19· · · · · · After the fact, you know, after this         19· ·I just wanted to let you know there is a light
20· ·accident at some point there was a change order       20· ·at the end of the tunnel.
21· ·for ice removal to become the explicit                21· · · · · · I am going to ask you basic, you know,
22· ·responsibility of Don Borneke.· You agree,            22· ·overall questions and then I am going to turn it
23· ·right?                                                23· ·over to Mr. Sullivan.
24· · · ·A.· ·I don't recall.                              24· · · · · · So just generally, sir, you would agree
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·1· ·that in these areas for the 175 feet around the       ·1· · · ·A.· ·Correct.
·2· ·turbine, that radius, but mainly in the areas         ·2· · · ·Q.· ·And ultimately based on your reading of
·3· ·where the turbine is going to be delivered and        ·3· ·the construction incident analysis, your reading
·4· ·staged, these are the areas that need to be           ·4· ·of that says that Borneke was called to the
·5· ·properly compacted so that it can effectuate the      ·5· ·site, shown the area, but due to location they
·6· ·delivery and the staging of these pieces of           ·6· ·couldn't address it again with a bulldozer due
·7· ·equipment; right?                                     ·7· ·to tight quarters?
·8· · · ·A.· ·Yeah.· It needs to be able to support        ·8· · · ·A.· ·Yeah.· The way it reads is that they
·9· ·the weight of the delivery truck.                     ·9· ·would be concerned for damage to the turbine
10· · · ·Q.· ·And by being able to support the             10· ·component.
11· ·weight, the idea is this ground in this tight         11· · · · · · MR. TERRY:· Okay.· I believe that's all
12· ·radius won't sink in underneath the trucks or         12· ·I have right now.· I appreciate your time today.
13· ·the equipment while it's staged; right?               13· ·I am sure Mr. Sullivan will have some
14· · · ·A.· ·That would be the goal.                      14· ·follow-ups.
15· · · ·Q.· ·And then an additional goal would be to      15· · · · · · If anyone wants to take a break, now
16· ·provide proper drainage in these areas as well?       16· ·might be a good time or we can probably keep
17· · · ·A.· ·Yes.                                         17· ·going.
18· · · ·Q.· ·Okay.· And in these areas Don Borneke        18· · · · · · MR. SULLIVAN:· Do you mind if we take a
19· ·as we saw in the contract from the access road        19· ·couple minutes?
20· ·and its play with the erection area based on the      20· · · · · · MR. TERRY:· Sure, not a problem.· Is
21· ·radii, they had an ongoing obligation to              21· ·that okay by everyone else?· Just maybe less
22· ·maintain these areas?                                 22· ·than five minutes?
23· · · ·A.· ·The -- The way the contract referenced       23· · · · · · MS. VAN HECKE:· Yeah.
24· ·that would be ongoing access -- ongoing               24· · · · · · MR. TERRY:· Thank you.
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·1· ·maintenance for public roads and then                 ·1· · · · · · · · · ·(Whereupon, a short break was
·2· ·maintenance on the delivery road and then kind        ·2· · · · · · · · · · taken.)
·3· ·of the as needed within the 175.                      ·3· · · · · · MR. SULLIVAN:· Mr. Black, I have a few
·4· · · ·Q.· ·Okay.· Got it.· But ultimately               ·4· ·questions for you.
·5· ·Don Borneke on this project had a responsibility      ·5· · · · · · · · · · ·EXAMINATION
·6· ·to ensure the land was properly prepared so that      ·6· ·BY MR. SULLIVAN:
·7· ·it did not sink in underneath the weight of the       ·7· · · ·Q.· ·With regard to this project, you
·8· ·materials or the trucks, right?                       ·8· ·were the senior project manager and the
·9· · · ·A.· ·They did.                                    ·9· ·superintendent was James Langston, is that
10· · · ·Q.· ·And part of this goal would be so that       10· ·right?
11· ·there is not a depressed area where water could       11· · · ·A.· ·I was the project manager at that time.
12· ·pool and eventually freeze, right?                    12· ·It was a different position or different title,
13· · · ·A.· ·Yeah.· And the drainage is referencing       13· ·and James -- Jaime Langston would have been the
14· ·because if there is low spots water will sit          14· ·erection superintendent.
15· ·there and over time and it will do -- it will         15· · · ·Q.· ·So when you have been referring to
16· ·have a detrimental impact.· So that's kind of         16· ·superintendent throughout this deposition, are
17· ·the goal of that 5 percent drainage spec.             17· ·you referring to Jaime Langston?
18· · · ·Q.· ·And all of these things are things that      18· · · ·A.· ·It would -- Andrew Kruse was also part
19· ·Mortenson contracted Borneke to perform because       19· ·of that.· He was a superintendent on the project
20· ·Borneke is the expert in excavation, right?           20· ·and then Jaime Langston at that time, I believe,
21· · · ·A.· ·Yes.                                         21· ·was the lead superintendent.
22· · · ·Q.· ·And Mortenson relied on Borneke's            22· · · ·Q.· ·At time of the incident you mean?
23· ·expertise to -- and expected that these tasks         23· · · ·A.· ·I believe so, yes.
24· ·were performed properly and reasonably, right?        24· · · ·Q.· ·Okay.· So for example, in the safety
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·1· ·report that you were reviewing earlier it does        ·1· ·deliveries; so if there was not, then it would
·2· ·identify James Langston is the superintendent.        ·2· ·have been accepted with a proof roll in some
·3· ·So he would have been the superintendent on the       ·3· ·capacity by the component delivery company.· So
·4· ·day of the incident as far as you know?               ·4· ·they have to look at the site and determine if
·5· · · ·A.· ·Yeah.· That would probably be the most       ·5· ·they feel comfortable driving on them.
·6· ·accurate to represent.                                ·6· · · ·Q.· ·You said proof roll, r-o-l-l?
·7· · · ·Q.· ·And he is a Mortenson employee, right?       ·7· · · ·A.· ·Yes, and sometimes that is -- On some
·8· · · ·A.· ·He is.                                       ·8· ·sites that's done on every single site prior to
·9· · · ·Q.· ·Do you know if James Langston is still       ·9· ·getting out there.· On others it's kind of on an
10· ·employed at Mortenson or not?                         10· ·as-needed basis.· So they have a loaded truck of
11· · · ·A.· ·I believe he is, but I can't confirm         11· ·X pounds that they feel simulates that -- the
12· ·100 percent.                                          12· ·future delivery.
13· · · ·Q.· ·Have you ever spoken to him about this       13· · · ·Q.· ·Okay.· Is it safe to say that --
14· ·case or the incident?                                 14· ·Mortenson obviously was the general contractor
15· · · ·A.· ·We would have spoken on it at the time,      15· ·on the project, right?
16· ·but I don't recall the nature of any of those         16· · · ·A.· ·Correct.
17· ·conversations.                                        17· · · ·Q.· ·And in terms of the scheduling of tasks
18· · · ·Q.· ·You haven't -- When was the last time        18· ·primarily with delivery and then also with later
19· ·you saw James Langston if you know?                   19· ·erection, that was done by Mortenson?
20· · · ·A.· ·Probably March 2019, maybe February of       20· · · ·A.· ·It would have been an agreed upon
21· ·2019.                                                 21· ·schedule between Mortenson, the owner, and the
22· · · ·Q.· ·Which is when you said you stopped           22· ·turbine supplier which would have identified the
23· ·doing the windmill work, right?                       23· ·scheduled deliveries up front and then as you
24· · · ·A.· ·Correct, at the completion of that           24· ·get closer it starts to be a little bit --
                                                      81                                                         83

·1· ·project.                                              ·1· ·you're scheduling deliveries out within a week.
·2· · · ·Q.· ·This would have been the last project,       ·2· · · ·Q.· ·The soil inspectors were a third-party
·3· ·the Mendota project?                                  ·3· ·company, is that right?
·4· · · ·A.· ·Correct.                                     ·4· · · ·A.· ·Yes.· I believe it was Element on that
·5· · · ·Q.· ·Now, the order of the way it worked on       ·5· ·project.
·6· ·this project was for each windmill erection site      ·6· · · ·Q.· ·Okay.· And do you remember who the
·7· ·the erection areas were prepared before the           ·7· ·delivery company was?
·8· ·equipment was delivered, right?                       ·8· · · ·A.· ·I don't.· Someone contracted through
·9· · · ·A.· ·Correct.                                     ·9· ·Siemens Gamesa.
10· · · ·Q.· ·And when the grading and compaction          10· · · ·Q.· ·And that's basically just a truck
11· ·work was done, it was reviewed by Mortenson when      11· ·company?
12· ·Borneke was done with that work; is that right?       12· · · ·A.· ·Yes.· They are pretty specialized just
13· · · ·A.· ·For grading and compaction -- So for         13· ·because of the nature of the components they are
14· ·compaction there would have been soil testing         14· ·handling, but the trucking contract goes through
15· ·done for the backfill material.· We would have        15· ·the turbine supplier and up to the owner.
16· ·done our own -- so with quality control there is      16· · · ·Q.· ·Okay.· You don't -- As you sit here, do
17· ·quality control and quality assurance, right?         17· ·you recall what specific site is at issue in
18· · · ·Q.· ·Um-hum.                                      18· ·this case with regard to the injury that
19· · · ·A.· ·So it's likely there would have been         19· ·Mr. Georgeff is alleging?
20· ·some quality assurance done.· Ultimately the --       20· · · ·A.· ·I remember it being east of the
21· ·the kind of decider of what is acceptable and         21· ·laydown yard and the office, but I couldn't tell
22· ·I -- I referenced this previously.· I can't           22· ·you which site it was.
23· ·recall specifically if there is actually a soil       23· · · ·Q.· ·You didn't take any pictures at the
24· ·testing requirement for the turbine component         24· ·time of what that site looked like, did you, on
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·1· ·that day?                                             ·1· · · ·Q.· ·When it comes to the actual crane
·2· · · ·A.· ·I didn't.                                    ·2· ·erection, who decides when and what exactly
·3· · · ·Q.· ·Did you actually see the site after          ·3· ·takes place?· On any given site that is.
·4· ·Georgeff fell?                                        ·4· · · ·A.· ·It would be defined in a construction
·5· · · ·A.· ·I know I approached it as that               ·5· ·schedule that would be part of the contract
·6· ·ambulance was -- I have a memory of an ambulance      ·6· ·documents and then that would kind of be
·7· ·at that site, so I would have visited -- visited      ·7· ·coordinated as you're approaching some of those
·8· ·it that day.· I can also say that seeing that my      ·8· ·because given the nature of the work and where
·9· ·name wasn't on that construction analysis             ·9· ·it's done you don't want to be too far in
10· ·incident I think I left for vacation either the       10· ·advance because that gives -- gives the
11· ·next day or the following day which was why I         11· ·opportunity for the sites to, you know, suffer,
12· ·was not a part of it.· So I didn't do a detailed      12· ·I guess, from the weather, from the elements.
13· ·look at that site.                                    13· · · ·Q.· ·Right.· Would you agree with me that --
14· · · ·Q.· ·I see.· Did you observe the snow or the      14· ·Huh?
15· ·area where he actually fell?· What do you             15· · · ·A.· ·I said to the grade.· I am sorry.· The
16· ·recall, if anything?                                  16· ·grade was the word I was looking for.
17· · · ·A.· ·I don't recall.                              17· · · ·Q.· ·Right, right.
18· · · ·Q.· ·Okay.· Did you have any input at all         18· · · · · · You would agree with me that one of
19· ·then in the creation of this incident analysis?       19· ·these erection areas could be graded to the
20· · · ·A.· ·No.· I think I was copied on it and          20· ·specifications of the contract and a weather
21· ·returned from vacation to see it.                     21· ·event can come up with rain and so forth and a
22· · · ·Q.· ·And do you remember how long you were        22· ·week could pass and it would no longer be within
23· ·gone?                                                 23· ·the specification potentially; right?
24· · · ·A.· ·A week.                                      24· · · ·A.· ·Yeah, I agree with that.
                                                      85                                                         87

·1· · · ·Q.· ·Have you ever spoken to Kevin Hogan          ·1· · · · · · MR. TERRY:· Objection, hypothetical.
·2· ·about this report?                                    ·2· ·Sorry.
·3· · · ·A.· ·We would have talked about it at the         ·3· ·BY MR. SULLIVAN:
·4· ·time just to understand what they determined was      ·4· · · ·Q.· ·Now, with respect to each one of these
·5· ·the root cause and just to kind of understand,        ·5· ·29 sites, we are talking about, you know, crane
·6· ·you know, mitigation moving forward.                  ·6· ·pad sites at each one plus this 175-foot
·7· · · ·Q.· ·Do you have any specific recollection        ·7· ·erection area around that; right?
·8· ·of any conversation with Kevin about the              ·8· · · ·A.· ·Yes.
·9· ·incident or this case or anything?                    ·9· · · ·Q.· ·Each one would have been -- There is
10· · · ·A.· ·Nothing specific, no.                        10· ·some background noise and I am not sure what
11· · · ·Q.· ·And then what about Lonnie Sears, did        11· ·that is.· Maybe it's me but --
12· ·you ever speak to him about this case?                12· · · ·A.· ·Is that on my side?
13· · · ·A.· ·Not after the fact.· I don't really          13· · · ·Q.· ·I don't know.· I just want to make sure
14· ·remember any specific conversations on the            14· ·that you can hear me.· It's definitely not me
15· ·incident.                                             15· ·but --
16· · · ·Q.· ·Okay.· Lonnie Sears was Georgeff's           16· · · ·A.· ·I can hear you fine.
17· ·direct foreman, is that right?                        17· · · · · · MR. TERRY:· Yeah, Chris, we can also
18· · · ·A.· ·That sounds right.· He was the -- one        18· ·hear -- I can still hear you, too.· I don't know
19· ·of the general foremen, so I believe that.            19· ·what it is though.
20· · · ·Q.· ·Now, so he would have been a union           20· · · · · · MR. SULLIVAN:· Oh, you can hear it,
21· ·employee that was contracted by Mortenson but         21· ·too?· It's almost like someone talking on a
22· ·still a Mortenson employee, is that fair to say?      22· ·phone.
23· · · ·A.· ·He would have been on Mortenson              23· · · · · · MR. TERRY:· I don't know, but, you
24· ·payroll, yes.                                         24· ·know, we can still hear you though.
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·1· · · · · · MR. SULLIVAN:· Okay.                         ·1· ·put that together with the support of the
·2· · · · · · THE WITNESS:· Is that better when I          ·2· ·general foreman just because they know the crane
·3· ·mute?                                                 ·3· ·travel paths best.
·4· · · · · · MR. SULLIVAN:· It's good now, yeah.· It      ·4· · · ·Q.· ·You said the general foreman in this
·5· ·seemed like when you were giving answers is when      ·5· ·case was Lonnie Sears?
·6· ·I was hearing background.· That's what made it        ·6· · · ·A.· ·Lonnie Sears and Brian McBride.
·7· ·hard for me to hear, that's all.· I am good now.      ·7· · · ·Q.· ·Okay.· I don't see that Brian McBride
·8· ·Thank you.                                            ·8· ·was involved with the construction incident
·9· · · · · · THE WITNESS:· Okay.                          ·9· ·report.· Do you have any idea if he was there
10· ·BY MR. SULLIVAN:                                      10· ·that day working on site?
11· · · ·Q.· ·With regard to each one of these sites,      11· · · ·A.· ·I don't.· I know he was part of the
12· ·before the components were delivered Borneke          12· ·up-front planning efforts.
13· ·would have done its grading, excavating work and      13· · · ·Q.· ·Okay.· And then I missed -- You said
14· ·then it would have been reviewed either by the        14· ·Andrew was another superintendent.· What is his
15· ·soil tester or someone from Mortenson, is that        15· ·last name?
16· ·fair to say?                                          16· · · ·A.· ·Kruse, K-r-u-s-e.
17· · · ·A.· ·Before the components arrived that           17· · · ·Q.· ·Okay.
18· ·would be fair to say, yes.                            18· · · · · · MR. TERRY:· And, Chris, that's the
19· · · ·Q.· ·Right.                                       19· ·person we are deposing tomorrow.
20· · · ·A.· ·Yeah, maybe not right at the end of          20· · · · · · MR. SULLIVAN:· Perfect.
21· ·their work, but at some point before the              21· ·BY MR. SULLIVAN:
22· ·components arrived, that is correct.                  22· · · ·Q.· ·Andy Black, did you have any role
23· · · ·Q.· ·Okay.· And then while the components         23· ·yourself in reviewing any of the work by
24· ·were actually being -- There is a span of time.       24· ·Borneke?
                                                      89                                                         91

·1· ·I am sure it probably varied in terms of how          ·1· · · ·A.· ·Not more than in passing.
·2· ·long it took from when the components were            ·2· · · ·Q.· ·Okay.· Do you have any knowledge that
·3· ·delivered before they were erected, right?            ·3· ·any of the excavation or grading or compaction
·4· · · ·A.· ·Yes.                                         ·4· ·work that Borneke did on this project was
·5· · · ·Q.· ·Do you know what that typically was,         ·5· ·inadequate or insufficient in some way?
·6· ·that time?                                            ·6· · · ·A.· ·No.· I mean, I remember there being wet
·7· · · ·A.· ·Gosh, it could be a week to several          ·7· ·sites that were, I would say, not super atypical
·8· ·weeks.                                                ·8· ·given the conditions that were present.· I don't
·9· · · ·Q.· ·Okay.· And in terms of the schedule,         ·9· ·remember repeated failures of test reports.
10· ·once the components had been delivered is it up       10· · · ·Q.· ·And let's say if the initial grading
11· ·to Mortenson to put together the construction         11· ·work was done and there was a rain event, what
12· ·schedule for the actual erection and where to go      12· ·would happen?· Was it Mortenson that would call
13· ·in order and so forth?                                13· ·out Borneke to repair something or fix, you
14· · · ·A.· ·Yes, and that's all known up front.          14· ·know, damage that had been caused by weather?
15· ·It's kind of -- Once you get going it's kind of       15· ·Is that what happened?
16· ·dictated by progress which is a lot of times          16· · · ·A.· ·It would be collaborative.· The
17· ·limited by the environmental factors.· So if a        17· ·superintendents, Borneke and Mortenson, would
18· ·crane can't move from Site A to B, you know, B        18· ·evaluate those together looking at that
19· ·it's going to sit a little bit longer.                19· ·short-term schedule and determine with the
20· · · ·Q.· ·Right.· And did you have any                 20· ·support of the general foreman what needs to be
21· ·involvement in that or was that someone else at       21· ·done.
22· ·Mortenson in terms of what order of things?           22· · · ·Q.· ·And do you have any information that
23· · · ·A.· ·We would have looked at it up front          23· ·Borneke had refused to do any work that
24· ·with -- It was probably Andrew and James that         24· ·Mortenson had called them back out to perform if
                                                      90                                                         92

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·1· ·something had happened in the interim weather         ·1· ·Mortenson employee, isn't it, the pre-task plan
·2· ·related or otherwise?                                 ·2· ·card?
·3· · · ·A.· ·No.· If the crews and the                    ·3· · · ·A.· ·So every -- The expectation is that
·4· ·superintendent determined something needed to be      ·4· ·every crew on site does it.· So like for a
·5· ·done, they would comply.                              ·5· ·Mortenson employee they would have a Mortenson
·6· · · ·Q.· ·Okay.· The morning meetings were             ·6· ·pre-task card.· Borneke would have their own job
·7· ·conducted by Mortenson, right?                        ·7· ·hazard analysis or JJ is another word for it,
·8· · · ·A.· ·It would be a plan-of-the-day meeting        ·8· ·but the expectation is that everyone is using
·9· ·and it would be -- Every primary group on site        ·9· ·Mortenson's or their own internal form.
10· ·would have a role in it walking through what          10· · · ·Q.· ·And the pre-task plan card is actually
11· ·their plans were for the day and coordinating in      11· ·posted on the site, isn't it?
12· ·general.                                              12· · · ·A.· ·Yes.
13· · · ·Q.· ·And who would then conduct those             13· · · ·Q.· ·Okay.· And do you -- You don't have any
14· ·meetings or does it vary?                             14· ·recollection or do you have a recollection of
15· · · ·A.· ·Yeah.· I mean, it -- It's in the             15· ·what that pre-task plan card was, what it said
16· ·Mortenson office, so I guess by default               16· ·for the day in question?
17· ·Mortenson.· So it would be the superintendent         17· · · ·A.· ·I don't.
18· ·and then each of the foremen for the specific         18· · · ·Q.· ·Do you recall any discussion -- or
19· ·crews, then Borneke and then the other trade          19· ·strike that.
20· ·partners on site.                                     20· · · · · · Other than what you have already talked
21· · · ·Q.· ·You don't have any recollection of the       21· ·about, do you remember November 15, 2018, the
22· ·plan-of-the-day meeting for the day of this           22· ·weather conditions, what you actually were doing
23· ·incident in November, do you?                         23· ·before you heard about this incident, anything
24· · · ·A.· ·I do not.                                    24· ·like that?
                                                      93                                                         95

·1· · · ·Q.· ·And did you attend those usually or          ·1· · · ·A.· ·I don't.
·2· ·not?                                                  ·2· · · ·Q.· ·Okay.· Do you remember the snow event
·3· · · ·A.· ·Yep.                                         ·3· ·at all?
·4· · · ·Q.· ·Did you always attend them?                  ·4· · · ·A.· ·I remember it being -- It was a snowy
·5· · · ·A.· ·90 percent attended.                         ·5· ·cold winter.· The specific event I don't recall.
·6· · · ·Q.· ·Okay.· And what is the pre-task plan         ·6· · · ·Q.· ·Obviously it can snow in winter, it's
·7· ·card?                                                 ·7· ·not a surprise.
·8· · · ·A.· ·That would be -- So the pre-task             ·8· · · · · · MR. TERRY:· At least in the Chicago
·9· ·planning is a form that each crew is expected to      ·9· ·area, yeah.
10· ·do once each day that assesses their work area,       10· ·BY MR. SULLIVAN:
11· ·goes through the common hazards associated with       11· · · ·Q.· ·So you don't have any idea one way or
12· ·their tasks and then anything that's specific to      12· ·the other whether the plaintiff in this case,
13· ·that day.· They mark it down.· It's basically a       13· ·Georgeff, would have seen the pre-task planning
14· ·communication tool for the foremen to walk            14· ·card when he showed up at the site that day, do
15· ·through with their crew of this is what we            15· ·you?
16· ·should be looking out for today, so please be         16· · · ·A.· ·Do I know if he would have seen it?
17· ·aware of it.                                          17· · · ·Q.· ·Yeah.
18· · · ·Q.· ·Okay.                                        18· · · ·A.· ·I would assume so and I -- the
19· · · ·A.· ·And then as conditions change they           19· ·expectation is that folks assess each site as
20· ·revisit.                                              20· ·they -- So if they are not -- If they don't walk
21· · · ·Q.· ·And pre-task plan cards do include           21· ·on to a site and see one that's already
22· ·things like weather conditions, right?                22· ·completed, they perform their own.· The nature
23· · · ·A.· ·Correct.                                     23· ·of finding one that's existing is that someone
24· · · ·Q.· ·So it is something that's created by a       24· ·has already kind of talked through it and then
                                                      94                                                         96

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·1· ·you're also aware of the hazards of their             ·1· · · ·A.· ·So it's -- There is several different
·2· ·operations, especially if you're not a part of        ·2· ·erection crews.· There is a crew that's
·3· ·their crew.· It kind of helps bring you up to         ·3· ·associated with the lower and the middle
·4· ·speed of what is going on.· So that's why you         ·4· ·component of the tower and then there is a
·5· ·would sign on to one of theirs.· If one is not        ·5· ·separate one that completes the remainder of
·6· ·completed the expectation is you're evaluating        ·6· ·them, so they put the top and then they assemble
·7· ·it on your own.                                       ·7· ·the blade.
·8· · · ·Q.· ·And are they supposed to be signed by        ·8· · · · · · So it would be different crews for
·9· ·the crew members that arrive at the site?             ·9· ·different days.· Within that crew would be a
10· · · ·A.· ·Yes.                                         10· ·general foreman, a foreman and then the rest of
11· · · ·Q.· ·And it is something that would have          11· ·the labor force, and then there would be some
12· ·weather conditions, like whether or not there is      12· ·transient people that are in and out throughout
13· ·snow and ice that has been identified and to be       13· ·the day being safety, superintendents, quality.
14· ·aware of it; right?                                   14· ·You know, they each have their part, but they
15· · · ·A.· ·Yes.· That's something that I would          15· ·are not there for the duration of it.
16· ·expect to be a part of that conversation.             16· · · ·Q.· ·Now, on this project you would not
17· · · ·Q.· ·And something that would be on the           17· ·expect the excavating contractor to be present
18· ·pre-task plan card, right?                            18· ·on the site when the erection was actually
19· · · ·A.· ·Yes.· There is a place for you to --         19· ·taking place, would you?
20· ·You know, it asks you all the probing questions       20· · · ·A.· ·I would not unless they were called out
21· ·and then there is even a little sketch area for       21· ·for something specific.
22· ·you to visually identify where the hazards are.       22· · · ·Q.· ·Okay.· Called out by someone at
23· · · ·Q.· ·Okay.· Do you have any recollection of       23· ·Mortenson, right?
24· ·ever reviewing the site, I think it's T11,            24· · · ·A.· ·Yeah.· Likely a general foreman.
                                                      97                                                         99

·1· ·before this incident?                                 ·1· · · ·Q.· ·And the crane operator, was that a
·2· · · ·A.· ·No.· I would have been there at some         ·2· ·Mortenson employee or someone else?
·3· ·point over the course of construction; but            ·3· · · ·A.· ·On that project that would have been a
·4· ·within a reasonable proximity to the actual           ·4· ·Mortenson employee.
·5· ·event, unlikely.                                      ·5· · · ·Q.· ·Okay.· Is it also a union position do
·6· · · ·Q.· ·And the picture that you have been           ·6· ·you know?
·7· ·shown on the incident report is basically the         ·7· · · ·A.· ·Yeah, that would be an operator from
·8· ·only picture we have.· Do you know when that was      ·8· ·the Local 150 union.
·9· ·taken and who took it or any of that stuff?           ·9· · · ·Q.· ·And in terms of trying to figure out,
10· · · ·A.· ·No.· I would assume it was completed         10· ·you know, which people made which decisions, you
11· ·during the -- during the incident analysis which      11· ·know, looking at this particular day we know
12· ·would have been within a day or several days          12· ·that they had already begun erecting one of the
13· ·later.                                                13· ·mid-sections and then there was another piece
14· · · ·Q.· ·You never talked to anyone at Borneke        14· ·yet to go.
15· ·about this incident after it took place, did          15· · · · · · You know, who would have been on that
16· ·you?                                                  16· ·site T11 who would have made the decision to go
17· · · ·A.· ·Not that I recall.                           17· ·ahead and erect the first, you know, piece onto
18· · · ·Q.· ·With regard to the actual erection when      18· ·the base?
19· ·it's actually taking place, who was on site to        19· · · ·A.· ·Yeah, I mean, it's kind of the crew --
20· ·make sure that happens?                               20· ·that would have been scheduled for the day's
21· · · ·A.· ·Who is actually doing the erection --        21· ·activities, right, and then each crew goes out
22· · · ·Q.· ·That's correct.                              22· ·and visits their site and determines if it's
23· · · ·A.· ·-- or in general?                            23· ·suitable for work that day.
24· · · ·Q.· ·Actually doing it.                           24· · · ·Q.· ·For example, do you know if
                                                      98                                                        100

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·1· ·James Langston would have been on site at T11         ·1· ·the actual morning meeting of November 15,
·2· ·along with Lonnie Sears while that was taking         ·2· ·2018 --
·3· ·place?                                                ·3· · · ·A.· ·I do not.
·4· · · ·A.· ·He could have been.· That decision kind      ·4· · · ·Q.· ·-- correct?
·5· ·of does come down to, you know, you're                ·5· · · · · · And do you know if you were even there?
·6· ·empowering the folks that are actually doing the      ·6· · · ·A.· ·I do not.
·7· ·work to make those decisions.· So it would            ·7· · · ·Q.· ·Do you know if Nick Georgeff had ice
·8· ·have -- Lonnie Sears absolutely would have been.      ·8· ·cleats that were available to him if he wanted
·9· ·Jaime may have stopped by if there was a reason       ·9· ·to use them on that day?
10· ·for him to visit.                                     10· · · ·A.· ·I think we -- I think we ordered a
11· · · ·Q.· ·But it was not your job to be on each        11· ·whole bunch of ice cleats of different sizes for
12· ·pad site when the actual erection was going on,       12· ·available -- They were available if folks
13· ·was it?                                               13· ·determined they needed them.
14· · · ·A.· ·Mine personally?                             14· · · ·Q.· ·And they were already on site before
15· · · ·Q.· ·Correct.                                     15· ·this incident, right?· You didn't order them
16· · · ·A.· ·No.                                          16· ·after the fact, did you?
17· · · ·Q.· ·Okay.· So when you were on site -- When      17· · · ·A.· ·I believe they were, yeah.
18· ·I say on site, the whole project was over             18· · · ·Q.· ·Was Brian McBride and Jaime Langston
19· ·100 acres, wasn't it?                                 19· ·basically same position, different scheduling?
20· · · ·A.· ·Yes.                                         20· ·What was the difference in their position, do
21· · · ·Q.· ·There was a headquarters-type trailer        21· ·you know?
22· ·or something you were in normally?                    22· · · ·A.· ·Brian McBride would have been the
23· · · ·A.· ·Yes.· There is a -- Yeah.· We call it        23· ·general foreman, so he would have been from the
24· ·the laydown yard and that housed a bunch of           24· ·local union --
                                                     101                                                        103

·1· ·trailers.                                             ·1· · · ·Q.· ·Okay.
·2· · · ·Q.· ·Which is also the same place that would      ·2· · · ·A.· ·-- or -- He would have been a union
·3· ·have had these morning meetings, right?               ·3· ·member that was brought into the local for that
·4· · · ·A.· ·Yes.                                         ·4· ·project to act as a supervisory position.
·5· · · ·Q.· ·Did you have any involvement in the          ·5· · · ·Q.· ·Would he be considered below
·6· ·determination of what PPE is required by the          ·6· ·Jaime Langston?
·7· ·employees?                                            ·7· · · ·A.· ·Yes.
·8· · · ·A.· ·There is like a minimum required from        ·8· · · ·Q.· ·Okay.· And you would have been
·9· ·Mortenson which is the steel-toed boots, vests        ·9· ·considered above Jaime Langston in hierarchy,
10· ·gloves, hard hat, glasses, and then there is          10· ·right?
11· ·some other like as-needed PPE that is available       11· · · ·A.· ·Parallel.· Different functions.
12· ·if crews determine it's needed.                       12· · · ·Q.· ·With regard to the picture that you
13· · · ·Q.· ·Okay.· There was a mention in the            13· ·reviewed -- I could put it up again if you would
14· ·report about ice cleats.· Do you recall anything      14· ·like, but just a couple general questions about
15· ·about whether ice cleats were discussed as being      15· ·that.· You can see obviously the ice in the
16· ·necessary equipment?                                  16· ·picture, right?
17· · · ·A.· ·On that specific day, no; but, I mean,       17· · · ·A.· ·Yes.
18· ·I remember them being talked about a lot on that      18· · · ·Q.· ·And you don't recall seeing the ice
19· ·project.· There was enough for every -- you           19· ·that day particularly yourself?
20· ·know, everyone on site, a couple different            20· · · ·A.· ·I don't recall.
21· ·varieties, and so that would have been                21· · · ·Q.· ·Do you know how long that ice had been
22· ·anticipated to be part of the morning discussion      22· ·there?
23· ·of does this site require ice cleats or not.          23· · · ·A.· ·I do not.
24· · · ·Q.· ·I assume you have no recollection of         24· · · ·Q.· ·Do you know the specific cause for it?
                                                     102                                                        104

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·1· · · ·A.· ·I do not.                                    ·1· ·going to show you the CIA.· Under proper PPE I
·2· · · ·Q.· ·Do you know how long the piece that had      ·2· ·am going to read it and then ask you a question.
·3· ·been laying on top of that ice had been removed       ·3· ·Team member had all the required PPE per site
·4· ·from it to expose the ice?                            ·4· ·policies, however, was not wearing ice cleats.
·5· · · · · · MR. TERRY:· Objection to relevance.          ·5· ·While the project site does offer the use of ice
·6· · · · · · MS. VAN HECKE:· You can go ahead and         ·6· ·cleats to further protect team members, it was
·7· ·answer.                                               ·7· ·not a policy.· Did I read that correctly?
·8· · · · · · THE WITNESS:· I do not.                      ·8· · · ·A.· ·You did, yes.
·9· ·BY MR. SULLIVAN:                                      ·9· · · ·Q.· ·So when you were asked questions about
10· · · ·Q.· ·Are you aware that anyone on the day of      10· ·ice cleats, you would agree that the document,
11· ·the incident had noticed ice as a hazard and          11· ·the incident analysis, states that my client had
12· ·then contacted Borneke to do anything about it?       12· ·all the required PPE and that that ice cleats
13· · · ·A.· ·I don't know.                                13· ·were not required on the site; right?
14· · · ·Q.· ·Borneke was paid for this project,           14· · · ·A.· ·Yes.· They would have been available,
15· ·right?                                                15· ·but not required.
16· · · · · · MR. TERRY:· Object to relevance.             16· · · · · · MR. TERRY:· Okay.· That's all I have.
17· · · · · · You can answer obviously, sir.               17· · · · · · Ms. Van Hecke, would you like to
18· · · · · · THE WITNESS:· Yes, they were.                18· ·explain signature or would you like me to or do
19· ·BY MR. SULLIVAN:                                      19· ·you just want to waive?
20· · · ·Q.· ·Are you aware that Mortenson alleged         20· · · · · · MS. VAN HECKE:· What was the question?
21· ·that Borneke failed to do something such that         21· · · · · · MR. TERRY:· I said do you want me to
22· ·they shouldn't get paid or they were alleged to       22· ·explain signature to the witness or do you just
23· ·have breached the contract in any way on this         23· ·want to waive on his behalf or do you want to
24· ·project?                                              24· ·reserve?
                                                     105                                                        107

·1· · · ·A.· ·I am not aware of that happening.            ·1· · · · · · MS. VAN HECKE:· Yes, we would like to
·2· · · ·Q.· ·Do you know if Ice Melt salt was             ·2· ·read and sign.
·3· ·available to any of the Mortenson employees?          ·3· · · · · · MR. TERRY:· I am sorry?
·4· · · ·A.· ·Yeah.· It was generally available on --      ·4· · · · · · MS. VAN HECKE:· Yes, we would like to
·5· ·at sites.· Yeah, it would have been.                  ·5· ·read and sign.
·6· · · ·Q.· ·You have never worked for a grading          ·6· · · · · · MR. TERRY:· You would like to reserve,
·7· ·company yourself, have you, or excavation             ·7· ·okay.
·8· ·company?                                              ·8· · · · · · MS. VAN HECKE:· Yes.
·9· · · ·A.· ·I have not.                                  ·9· · · · · · (FURTHER DEPONENT SAITH NOT.)
10· · · ·Q.· ·And since you moved to your new role at      10· · · · · · · · · ·(Whereupon, the proceedings
11· ·Mortenson you don't interact with Borneke             11· · · · · · · · · · adjourned at 3:04 p.m.)
12· ·anymore, is that fair to say?                         12
13· · · ·A.· ·That's correct.                              13
14· · · ·Q.· ·And so this would have been the last         14
15· ·project in which you interacted with Borneke,         15
16· ·right?                                                16
17· · · ·A.· ·Yes.                                         17
18· · · · · · MR. SULLIVAN:· I think that's all I          18
19· ·have, sir.· I appreciate your time.· Thank you.       19
20· · · · · · MR. TERRY:· Mr. Black, I do have one         20
21· ·follow-up and I actually mean that.                   21
22· · · · · · · · ·FURTHER EXAMINATION                     22
23· ·BY MR. TERRY:                                         23
24· · · ·Q.· ·You were asked about ice cleats.· I am       24
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·1· ·STATE OF ILLINOIS· · ·)

·2· · · · · · · · · · · · ·)· ·SS:

·3· ·COUNTY OF C O O K· · ·)

·4· · · · · I, MICHELLE L. BARTA, a certified

·5· ·shorthand reporter for the State of Illinois,

·6· ·do hereby certify that heretofore, to-wit,

·7· ·on the 14th day of March 2022, personally

·8· ·appeared before me via Zoom videoconference,

·9· ·ANDREW BLACK, in a cause now pending and

10· ·undetermined in the United States District Court

11· ·for the Northern District of Illinois, wherein

12· ·NICK GEORGEFF is the Plaintiff, and DON BORNEKE

13· ·CONSTRUCTION, INC., is the Defendant.

14· · · · · I further certify that the said

15· ·ANDREW BLACK was first duly sworn to testify the

16· ·truth, the whole truth and nothing but the truth

17· ·in the cause aforesaid; that the testimony then

18· ·given by said witness was reported

19· ·stenographically by me and afterwards reduced to

20· ·typewriting by Computer-Aided Transcription, and

21· ·the foregoing is a true and correct transcript

22· ·of the testimony so given by said witness as

23· ·aforesaid.

24· · · · · I further certify that the signature to

                                                     109

·1· ·the foregoing deposition was waived by the

·2· ·counsel for the witness.

·3· · · · · I further certify that I am not counsel

·4· ·for nor in any way related to the parties to

·5· ·this suit, nor am I in any way interested in the

·6· ·outcome thereof.

·7· · · · · IN TESTIMONY WHEREOF:· I have hereunto

·8· ·set my verified digital signature this 29th day

·9· ·of March, 2022.

10

11

12

13

14· · · · · · · ·__________________________· ________

15· · · · · · · ·MICHELLE L. BARTA, C.S.R., R.P.R.

16· · · · · · · ·LIC. NO. 084-004033

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      Joseph Barnes                                                          October 13, 2022
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·1· · · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE NORTHERN DISTRICT OF ILLINOIS
·2· · · · · · · · · · · · · WESTERN DIVISION

·3·   ·NICK GEORGEFF,· · · · · · · · · )
· ·   · · · · ·Plaintiff,· · · · · · · )
·4·   · · · · · · · · · · · · · · · · ·)
· ·   ·vs.· · · · · · · · · · · · · · ·)· Case No. 3:20-cv-50313
·5·   · · · · · · · · · · · · · · · · ·)
· ·   ·DON BORNEKE CONSTRUCTION, INC., )
·6·   · · · · ·Defendant.· · · · · · · )
· ·   ·***************************************************************
·7·   · · · · · · · · · · · ·ORAL DEPOSITION OF

·8· · · · · · · · · · · · · · JOSEPH BARNES

·9· · · · · · · · · · · · ·(Reported Remotely)

10· · · · · · · · · · · · · October 13, 2022

11· ·***************************************************************

12· · · · · · · · · ORAL DEPOSITION of JOSEPH BARNES, produced as a

13· ·witness at the instance of the Defendant, and duly sworn, was

14· ·taken in the above-styled and numbered cause on the 13TH day of

15· ·October, 2022, from 1:00 P.M. to 3:58 P.M., before Christy

16· ·Nowotny, CSR, CVR-CM in and for the State of Texas, reported by

17· ·stenographic means, remotely via Zoom video teleconference,

18· ·pursuant to the Texas Rules of Civil Procedure and the

19· ·provisions stated on the record or attached hereto.

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·1· · · · · · · · · ·A P P E A R A N C E S                      ·1· · · · · · · · · · · · · · · EXHIBITS
·2· ·FOR PLAINTIFF:                                             ·2· ·EXHIBIT· · · · ·DESCRIPTION· · · · · · · · · · · · · ·PAGE
·3· · · · · MR. CHARLES A. TERRY                                ·3· ·Exhibit 1· · · Photo· · · · · · · · · · · · · · · · · ·51
·4· · · · · ANESI, OZMON, RODIN, NOVAK & KOHEN, LTD.            ·4· ·Exhibit 2· · · Incident Report· · · · · · · · · · · · ·58
·5· · · · · 161 North Clark Street, 21st Floor                  ·5
·6· · · · · Chicago, Illinois 60601                             ·6
·7· · · · · (312)779-6610                                       ·7
·8· · · · · E-mail: cterry@anesilaw.com                         ·8
·9                                                              ·9
10· ·FOR DEFENDANT:                                             10
11· · · · · MR. CHRISTIAN SULLIVAN                              11
12· · · · · SWANSON, MARTIN & BELL, LLP                         12
13· · · · · 2525 Cabot Drive, Suite 204                         13
14· · · · · Lisle, Illinois 60532                               14
15· · · · · (630)799-6970                                       15
16· · · · · E-mail: csulliva@smbtrials.com                      16
17                                                              17
18                                                              18
19                                                              19
20                                                              20
21                                                              21
22                                                              22
23                                                              23
24                                                              24
25                                                              25


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·1· · · · · · · · · · · · · · · · INDEX                         ·1· · · · · · · · · · · · P R O C E E D I N G S
·2· · · · · · · · · · · · · · · · · · · · · · · · · · · ·Page   ·2· · · · · · · · · THE REPORTER:· All right.· Wee are on the
·3· ·Appearances................................· · · · · ·2    ·3· ·record.· Today's date is October 13, 2022.· The time is
·4· ·Exhibits...................................· · · · · ·4    ·4· ·1:00 p.m. Central Standard Time.· This is the oral deposition
·5· ·JOSEPH BARNES                                              ·5· ·of Joe Barnes, and it is being conducted remotely by agreement
·6· ·EXAMINATION BY MR. SULLIVAN................· · · · · ·6    ·6· ·of the parties.· The witness is appearing via Zoom video
·7· ·EXAMINATION BY MR. TERRY...................· · · · ·101    ·7· ·teleconference and is located in Conroe, Texas.· This is in the
·8· ·FURTHER EXAMINATION BY MR. SULLIVAN........· · · · ·122    ·8· ·matter of Nick Georgeff versus Don Borneke Construction, Inc.
·9· ·FURTHER EXAMINATION BY MR. TERRY...........· · · · ·124    ·9· ·in the United States District Court of the Northern District of
10· ·Reporter's Certificate.....................· · · · ·126    10· ·Illinois, Western Division, Case No. 3:20-cv-50313.
11                                                              11· · · · · · · · · My name is Christy Nowotny, Texas CSR No. 11536,
12                                                              12· ·with Magna Legal Services.· I'm administering the oath and
13                                                              13· ·reporting the deposition remotely by stenographic means from my
14                                                              14· ·residence within the state of Texas.
15                                                              15· · · · · · · · · Mr. Barnes, can I get you to raise your right
16                                                              16· ·hand for me?· You do affirm and declare under penalty of
17                                                              17· ·perjury that the testimony you give in the cause now pending
18                                                              18· ·will be the truth, the whole truth, and nothing but the truth.
19                                                              19· · · · · · · · · THE WITNESS:· I do.
20                                                              20· · · · · · · · · THE REPORTER:· Thank you.· Would counsel please
21                                                              21· ·state their appearances for the record?
22                                                              22· · · · · · · · · MR. TERRY:· Sure.· Charles Terry for the
23                                                              23· ·plaintiff.
24                                                              24· · · · · · · · · MR. SULLIVAN:· Chris Sullivan for the defendant.
25                                                              25· · · · · · · · · THE REPORTER:· All right.· The witness has been




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·1· ·sworn.· Please proceed.                                                  ·1· ·years ago, and have adopted four children out of child
·2· · · · · · · · · · · · · · JOSEPH BARNES                                   ·2· ·protective services.
·3· · · · · · having been duly sworn, testified as follows:                   ·3· · · · Q.· ·Hey, that's commendable.
·4· · · · · · · · · · ·EXAMINATION BY MR. SULLIVAN                            ·4· · · · A.· ·They're our babies.· We love them.· They're awesome.
·5· · · · Q.· · (By Mr. Sullivan) Thank you.· Good afternoon,                 ·5· · · · Q.· ·I thought three was hard.
·6· ·Mr. Barnes.· My name is Chris Sullivan.· I represent Don                 ·6· · · · A.· ·That's a good start, my friend.· We should have a
·7· ·Borneke Construction.· Could you please state your full name             ·7· ·coffee one day.· I'll get you going.
·8· ·and spell it for the court reporter please?                              ·8· · · · Q.· ·What did you reviewed to prepare for today's
·9· · · · A.· ·Joseph Barnes, J-O-S-E-P-H, B-A-R-N-E-S.                       ·9· ·deposition?
10· · · · Q.· ·I'm glad to see you're feeling better.· I understand           10· · · · A.· ·It's in the front of my report.· There's a -- there's
11· ·you were sick the other day.· So I'm glad you're doing well.             11· ·a -- quite a list, a lot of documents.· The depositions --
12· · · · A.· ·Well, I -- I thank you for being so -- so nice for             12· ·would you like me to go over each one of them, or do you want
13· ·this.· I'm still -- still very ill.· I have a fever of about             13· ·to take it from the report?
14· ·103 right now, so if I sound foggy, I apologize.                         14· · · · Q.· ·No.· I'm going to take it from the report.· It -- on
15· · · · Q.· ·Yeah.· I'm sorry to hear that.· If you need to take a          15· ·page 6 of your report --
16· ·break, let me know.                                                      16· · · · A.· ·Yes.
17· · · · A.· ·Thank you.· You're very kind.· Thank you.                      17· · · · Q.· ·-- it includes documents reviewed; right?
18· · · · Q.· ·You have been deposed before in a lawsuit I assume;            18· · · · A.· ·Correct.
19· ·correct?                                                                 19· · · · Q.· ·And is that a complete list?
20· · · · A.· ·Yes, sir.                                                      20· · · · A.· ·Yes, sir.
21· · · · Q.· ·Okay.· The only thing I ask is you listen carefully            21· · · · Q.· ·And to prepare for this deposition today is there
22· ·to what I'm asking you, and let me know if you don't understand 22· ·anything else you reviewed?
23· ·the question.· I'm in Illinois.· You are in Texas.· There could          23· · · · A.· ·No.
24· ·be issues with the connection or so forth.· So let me know if            24· · · · Q.· ·Okay.· Where do you currently work?
25· ·you don't understand something, and I'll repeat or rephrase it.          25· · · · A.· ·I am the safety director for Mesa Southern Well

                                                                     Page 7                                                                          Page 9
·1· ·If you answer a question, I have to assume you understood the  ·1· ·Servicing, and then up until this week I had a second director
·2· ·question when you answered it unless you tell me otherwise; is ·2· ·position at Third Coast Services.
·3· ·that okay?                                                     ·3· · · · Q.· ·Okay.· I missed what -- safety director, what was the
·4· · · · A.· ·Yes, sir.                                            ·4· ·first job at Mason something?
·5· · · · Q.· ·Let's see.· How do you spell Conroe, Texas?          ·5· · · · A.· ·Mesa, M-E-S-A, Mesa Southern Well Servicing.
·6· · · · A.· ·C-O-N-R-O-E.                                         ·6· · · · Q.· ·Okay. what is Barco Services?
·7· · · · Q.· ·And where is that?                                   ·7· · · · A.· ·That's Barnes Company.· That's -- that's me.
·8· · · · A.· ·It's north of Houston -- north of Houston about      ·8· · · · Q.· ·Okay.· Is that your own independent business?
·9· ·20 miles.                                                      ·9· · · · A.· ·Yes, sir.
10· · · · Q.· ·Okay.· Okay.· And would it be considered a suburb of 10· · · · Q.· ·Okay.· Let me back up a little bit.· Did you grow up
11· ·Houston?                                                       11· ·in Texas?
12· · · · A.· ·Yes, sir.                                            12· · · · A.· ·No, Missouri.
13· · · · Q.· ·Okay.· How old are you, sir?                         13· · · · Q.· ·Okay.· What town in Missouri?
14· · · · A.· ·51.                                                  14· · · · A.· ·Neosho, N-E-O-S-H-O.
15· · · · Q.· ·And what's your address?                             15· · · · Q.· ·And where is that?
16· · · · A.· ·811 Highway 45 South, No. 272, Conroe, Texas 77301. 16· · · · A.· ·Do you remember hearing about the -- the big tornado
17· · · · Q.· ·Okay.· Do you have any plans to move in the next     17· ·in Joplin, Missouri a few years back that wiped out --
18· ·year?                                                          18· · · · Q.· ·Yeah.· I lived in Tulsa, so I know where Joplin is.
19· · · · A.· ·No.· I hope not.                                     19· · · · A.· ·Oh, okay.· So like 15 minutes south of Joplin.
20· · · · Q.· ·Okay.· And are you married?· Do you have any         20· · · · Q.· ·Okay.· Got it.· And you went to high school there?
21· ·children?· Who else lives with you?                            21· · · · A.· ·Yes, sir.· Are you from Tulsa originally?
22· · · · A.· ·I -- I'm married, and I have nine children.          22· · · · Q.· ·No.· Illinois, and then I moved to Tulsa for --
23· · · · Q.· ·Wow.· Congrats.                                      23· · · · A.· ·My uncle went to law school in Tulsa.
24· · · · A.· ·Well, my wife and I, we -- we had our older group,   24· · · · Q.· ·Yeah.· I lived until freshman year of high school. I
25· ·and then we became foster parents and adoptive parents five 25· ·thought it was a nice town.· It's --




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·1· · · · A.· ·It's great, Casa Bonita.                                      ·1· · · · Q.· ·Okay.· And your other current position other than
·2· · · · Q.· ·Yeah.· It's getting bigger.· I haven't been there             ·2· ·your independent company is what again?
·3· ·since 1990, so it's a long time ago.                                    ·3· · · · A.· ·Director of safety at Third Coast Services.
·4· · · · A.· ·Yeah.                                                         ·4· · · · Q.· ·And what is Third Coast Services?
·5· · · · Q.· ·What post high school education do you have?                  ·5· · · · A.· ·They're -- they do heavy civil construction and
·6· · · · A.· ·I have a Bachelor's in Healthcare Administration. I           ·6· ·electrical construction for highway stuff and intersections.
·7· ·have an MBA.· I have a Master of Science in Occupational Safety ·7· · · · Q.· ·And what is considered heavy construction?
·8· ·and Health.                                                             ·8· · · · A.· ·Like big equipment, large equipment, like a -- big
·9· · · · Q.· ·Okay.· Let me back up.· Where did you get the                 ·9· ·tractors and equipment, bucket trucks they can stand up poles
10· ·Bachelor of Arts in Healthcare?                                         10· ·and that kind of thing.
11· · · · A.· ·American Intercontinental.                                    11· · · · Q.· ·Are they for road projects?
12· · · · Q.· ·And what is -- where is that school?                          12· · · · A.· ·Yes.
13· · · · A.· ·Hoffman Estates, Illinois.                                    13· · · · Q.· ·Usually or always?
14· · · · Q.· ·Okay.· I know where that is.                                  14· · · · A.· ·Well, they -- they do both, but primarily they work
15· · · · A.· ·Oh, yeah.                                                     15· ·for the state of Texas for the Department of Transportation.
16· · · · Q.· ·And Master of Science in what?                                16· · · · Q.· ·Okay.· And where is Third Coast Services located?
17· · · · A.· ·Occupational Safety and Health.                               17· · · · A.· ·It's in Magnolia, Texas.
18· · · · Q.· ·And when did you receive that degree and where?               18· · · · Q.· ·Okay.· How long have you worked there?
19· · · · A.· ·2015 at Columbia Southern.                                    19· · · · A.· ·I started there in February of 2020.
20· · · · Q.· ·And where is Columbia Southern located?                       20· · · · Q.· ·Are those your only two current jobs other than Barco
21· · · · A.· ·Alabama.                                                      21· ·Services?
22· · · · Q.· ·Okay.                                                         22· · · · A.· ·I -- I'm a paramedic, and every now and then I'll go
23· · · · A.· ·And I'm currently at the University of Alabama                23· ·work a shift at the emergency room or jump on an ambulance once
24· ·Birmingham doing my Masters in Engineering.                             24· ·in a while, but primarily yes.
25· · · · Q.· ·You said -- what type of engineering?                         25· · · · Q.· ·Have you ever -- are you a member of any unions,

                                                                   Page 11                                                                        Page 13
·1· · · · A.· ·Advanced Safety by Design.                                    ·1· ·first of all?
·2· · · · Q.· ·There was one other degree you mentioned.· What was           ·2· · · · A.· ·No, sir.
·3· ·that?                                                                   ·3· · · · Q.· ·Have you ever been a union member?
·4· · · · A.· ·I have an MBA as well.                                        ·4· · · · A.· ·No, sir.
·5· · · · Q.· ·Okay.· And when and where was that?                           ·5· · · · Q.· ·Have you ever worked for an excavation company?
·6· · · · A.· ·That was at Columbia Southern.· I graduated that in           ·6· · · · A.· ·That does exclusively excavation, nothing else?
·7· ·'16.                                                                    ·7· · · · Q.· ·Yes.
·8· · · · Q.· ·What is safety by design?                                     ·8· · · · A.· ·No.· Oh, wait.· You asked me if I had another job.
·9· · · · A.· ·Forgive me.· Safety by design deals with the                  ·9· ·I'm -- I'm sorry.· I left one out.· I work at Texas A&M
10· ·processes of planning before you actually start construction.           10· ·University engineering extension teaching certification towards
11· · · · Q.· ·Okay.                                                         11· ·excavation and safety professionals, that kind of thing.
12· · · · A.· ·Implementing safety features in as you go.                    12· · · · Q.· ·Certification for what?
13· · · · Q.· ·Is that considered engineering in terms of, you know,         13· · · · A.· ·Certified safety and health official, we actually
14· ·like we -- I would normally think of electrical engineering,            14· ·teach -- some of the members of OSHA come to our courses.
15· ·chemical engineering?                                                   15· · · · Q.· ·And this is all OSHA related standards that you're
16· · · · A.· ·Yes.· It's a -- it's an actual engineering degree,            16· ·teaching?
17· ·yes.                                                                    17· · · · A.· ·OSHA and ANSI as well.
18· · · · Q.· ·What are your job duties for Mesa Southern Well               18· · · · Q.· ·Okay.· But you've never worked for an excavation
19· ·Servicing?                                                              19· ·company you said; right?
20· · · · A.· ·I lead a safety staff in two states.· I authored              20· · · · A.· ·That does exclusively excavation?
21· ·their entire safety program.· I administrate their safety               21· · · · Q.· ·Yes.
22· ·program.· I do inspections of their sites as well as coordinate         22· · · · A.· ·No.· Every company I work with does excavation, but
23· ·the training for other people.                                          23· ·it's not their exclusive position.
24· · · · Q.· ·How long have you had that job?                               24· · · · Q.· ·Have you ever done any hands-on work in the field as
25· · · · A.· ·Since 2014, I think.                                          25· ·an excavator?




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                                                                  Page 14                                                                    Page 16
·1· · · · A.· ·Yes.                                                  ·1· · · · A.· ·Not on a wind farm, no.
·2· · · · Q.· ·Describe that for me.                                 ·2· · · · Q.· ·Okay.· Are there any wind farms in Texas?
·3· · · · A.· ·My grandfather's construction company, I grew up --   ·3· · · · A.· ·Yes.· There's a lot of wind farms in Texas.
·4· ·his construction company is called Verlona Construction.        ·4· · · · Q.· ·Okay.
·5· · · · Q.· ·How do you spell that?                                ·5· · · · A.· ·I'm scared of heights, so I stay away from them.
·6· · · · A.· ·V-E-R-L-O-N-A, when he left the FBI, he opened up his ·6· · · · Q.· ·What is the -- your job duty as safety director, what
·7· ·own property company as well as doing remodeling, that kind of  ·7· ·does that involve?
·8· ·thing, and he would buy homes that were going to be torn down,  ·8· · · · A.· ·I'm in charge of all things safety, as well as
·9· ·and then we'd buy -- he would buy streets, and we would prepare ·9· ·regulatory liaison between any OSHA official or EPA official or
10· ·the entire street and move the homes to them.                   10· ·TCEQ official.· I write the policies for the safety program
11· · · · Q.· ·This is a business that your father had when you were 11· ·related to the organization, do audits, inspections, and advise
12· ·a child?                                                        12· ·senior leadership on any changes that need to be made.
13· · · · A.· ·Grandfather.                                          13· · · · Q.· ·Any plans to leave this career once you get this new
14· · · · Q.· ·And what did you do for them exactly?                 14· ·degree?
15· · · · A.· ·Everything, we did everything.· My brothers and my    15· · · · A.· ·Oh, no.· No.
16· ·uncles, we did everything.                                      16· · · · Q.· ·What's the reason for the extra degree?
17· · · · Q.· ·What type of projects are you talking about?          17· · · · A.· ·Well, there's a couple reasons.· Number -- number
18· · · · A.· ·So as I said, he would buy a neighborhood that was    18· ·one, I invented a couple of things for the oil field and then
19· ·dilapidated.· He'd knock down all the properties.· We would go  19· ·couldn't sell them because I didn't have an engineer to stamp
20· ·in and -- and build curb sites, foundations, and then he'd buy  20· ·them.· So I didn't like that, so that was one of the reasons
21· ·houses and have them moved in, and we'd plant the houses on the 21· ·for getting a degree.· But it was just the next logical step
22· ·new foundations and the new parking areas.                      22· ·for what I do.· You know, a greater education for what I do.
23· · · · Q.· ·Okay.· Any other experience doing excavation work     23· · · · Q.· ·You're not studying theology; are you?
24· ·yourself?                                                       24· · · · A.· ·Yes.
25· · · · A.· ·In -- in all my jobs as a safety director we do       25· · · · Q.· ·Okay.· I saw that somewhere.

                                                                  Page 15                                                                    Page 17
·1· ·excavations virtually every day, and so -- so yes.· Are you            ·1· · · · A.· ·Ohio Christian, yes.
·2· ·talking about sitting on the tractor digging or supervising?           ·2· · · · Q.· ·So you're attending two universities at once then?
·3· · · · Q.· ·Both.                                                        ·3· · · · A.· ·I -- I take one class one semester and do the other
·4· · · · A.· ·I haven't sat on the tractor digging in some years.          ·4· ·class.· And so I go back and forth, yes.
·5· ·But as far as, you know, being there for the excavations, yeah,        ·5· · · · Q.· ·So currently you're going to -- what is it Ohio
·6· ·it's very often.                                                       ·6· ·Christian you said?
·7· · · · Q.· ·When was the last time you sat on a tractor digging          ·7· · · · A.· ·I'm on -- I'm on leave from Ohio Christian while I'm
·8· ·if you know, estimate?                                                 ·8· ·working on University of Alabama.
·9· · · · A.· ·Give me -- yeah.· It's probably been maybe about             ·9· · · · Q.· ·Okay.· And what do you plan to do with a Master of
10· ·2016.                                                                  10· ·Arts in Practical Theology?
11· · · · Q.· ·And what company would that have been for?                   11· · · · A.· ·Be a better father.
12· · · · A.· ·Mesa Southern, one of the components of Mesa Southern 12· · · · Q.· ·Well, that's always good.
13· ·is plugging and abandoning for the state of Texas.· So we have         13· · · · A.· ·Yeah.
14· ·to expose underground facilities, cap them off, and then build         14· · · · Q.· ·I could use a -- some help with that myself.
15· ·foundations over the top of them.                                      15· · · · A.· ·Well, yeah.· We all could; right?
16· · · · Q.· ·Plugging and abandoning?                                     16· · · · Q.· ·But it has no application to your other work?
17· · · · A.· ·Yes, sir.                                                    17· · · · A.· ·The only application would be that, you know, as a
18· · · · Q.· ·Is that for like closed mines or something?                  18· ·safety professional, we're everything from the janitor to -- to
19· · · · A.· ·No, sir.· If somebody drilled a well back in the             19· ·the -- you know, to the liaison.· That means guys come to us
20· ·50s, and now it's -- it's either leaking, or it's just                 20· ·with their personal problems, and I've been there when
21· ·unsafe, we have to excavated it, and then you -- you cap it            21· ·somebody's been killed and not known what to say, and so that
22· ·off.· You cover it with foundation and cement and then put dirt        22· ·was one of the reasons for doing this.
23· ·back over the top of it.                                               23· · · · Q.· ·Okay.· How big of a company is, first of all, Mesa
24· · · · Q.· ·Okay.· Have you ever performed work on a wind farm           24· ·Southern Well Servicing?
25· ·like the one at issue in this case?                                    25· · · · A.· ·It's almost the largest workover company in the -- in




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·1· ·the United States.· It's becoming that way.· We have rigs in            ·1· · · · Q.· ·Is that what you mean by bilingual?
·2· ·Texas, New Mexico, and Utah, and we're owned by Finley                  ·2· · · · A.· ·Yes, sir.
·3· ·Resources, and I -- I think Mr. Finley owns 900 wells, I think.         ·3· · · · Q.· ·And your wife's name is what?
·4· · · · Q.· ·And this is oil wells?· What kind of wells are these?         ·4· · · · A.· ·Esmerelda, same last name.
·5· · · · A.· ·Well, that's -- those are his -- those are his                ·5· · · · Q.· ·And you said Barnes Company; does that just mean the
·6· ·personal wells, but production wells, and then we do workover           ·6· ·same thing?
·7· ·and facility maintenance and repair.                                    ·7· · · · A.· ·Yeah.· Barco, Barnes company, yeah.
·8· · · · Q.· ·And workover is what?· I don't know what that means.          ·8· · · · Q.· ·Okay.· I thought I saw Barco Services?
·9· · · · A.· ·So if you have a -- a well that's not functioning             ·9· · · · A.· ·It is Barco Services EMS, and it's environmental,
10· ·well, it's not producing anymore, we go in there, and we pull           10· ·medical, and safety.
11· ·the pipe out of the ground and replace it, or we would clean it         11· · · · Q.· ·Okay.· How long have you had that business?
12· ·out so to speak and make repairs.                                       12· · · · A.· ·Oh, my, in one form or the other since '06.
13· · · · Q.· ·Okay.· But these are all oil wells, though; right?            13· · · · Q.· ·Okay.
14· · · · A.· ·Oil or gas, yes.                                              14· · · · · · · · · MR. TERRY:· I'm -- I'm sorry.· What was the last
15· · · · Q.· ·Okay.· You're not in the shale industry; are you?             15· ·question and answer?· I heard something about '06, and then it
16· · · · A.· ·The shale, yeah, we're there, the Eagle Ford Shale,           16· ·broke up a little bit, Chris -- you can just verify if you
17· ·and the Permian Basin, and I forget the name of the one in              17· ·want, Chris.· That's fine.
18· ·Utah.                                                                   18· · · · · · · · · MR. SULLIVAN:· Yeah.· I just asked him when he
19· · · · Q.· ·But they -- they have a -- is that a different type           19· ·-- how long Barco Services had been around.· He said since
20· ·of well for that?                                                       20· ·2006.
21· · · · A.· ·No.· It's the same types of well.                             21· · · · · · · · · MR. TERRY:· Since 20 -- okay.· Got it.· Yeah. I
22· · · · Q.· ·Okay.· What about Third Coast Services?                       22· ·misheard.· Thank you.
23· · · · A.· ·What was the question, sir?                                   23· · · · Q.· · (By Mr. Sullivan) Uh-huh.· It's always just been
24· · · · Q.· ·How big of a company is that?                                 24· ·you; is that right, Mr. Barnes?
25· · · · A.· ·Oh, it -- it's a smaller company.· It's -- I think            25· · · · A.· ·Unless I've needed some help.· I -- I contract some

                                                                   Page 19                                                                         Page 21
·1· ·there's 130 people.· There's about 30 crews.                            ·1· ·people to help me.
·2· · · · Q.· ·And I don't know if you told me, how long have you            ·2· · · · Q.· ·Okay.· What kind of safety training do you do and for
·3· ·been at each one of these companies?                                    ·3· ·whom?
·4· · · · A.· ·I went at Mesa Southern I think September of '14,             ·4· · · · A.· ·So at Texas A&M I teach all the collegiate courses
·5· ·and, again, I've been at Third Coast, February of '20.                  ·5· ·toward the professional certifications.· It's on the -- the
·6· · · · Q.· ·Okay.· And do you have a separate business then as --         ·6· ·resume.· And then -- well, that's not -- that's for Texas A&M.
·7· ·as an expert witness in lawsuits?                                       ·7· ·For me personally, I teach OSHA 10 and OSHA 30 for construction
·8· · · · A.· ·Yes.· Yes.                                                    ·8· ·and general industry, HAZWOPER, CPR and first aid, rescue and
·9· · · · Q.· ·Is that what Barco Services is?                               ·9· ·escape.· I think -- I think that's about everything I teach. I
10· · · · A.· ·Well, Barco Services does safety in general as well           10· ·also teach EMT.
11· ·as -- that's one aspect of what we do.· We also do training.            11· · · · Q.· ·Okay.· How long have you been an EMT?
12· ·When I say we, I mean me, by the way, so.                               12· · · · A.· ·1991, maybe.
13· · · · Q.· ·Right.· That was my next question.                            13· · · · Q.· ·Did you ever work as part of an emergency response
14· · · · A.· ·Uh-huh.                                                       14· ·crew in an ambulance or anything?
15· · · · Q.· ·Is it a corporation?· What is Barco Services?                 15· · · · A.· ·Oh, yes.· I've -- I've always maintained some kind of
16· · · · A.· ·It's a d/b/a.                                                 16· ·affiliation with somebody.
17· · · · Q.· ·Okay.· And then you're the only employee?                     17· · · · Q.· ·Okay.· And who are you affiliated with currently?
18· · · · A.· ·Other than my wife, yes.                                      18· · · · A.· ·Right now, ShurMedical Training Institute.
19· · · · Q.· ·Okay.· What does your wife do for the -- Barco                19· · · · Q.· ·S-U-R-E?
20· ·Services?                                                               20· · · · A.· ·S-H-U-R and medical.· That's one word,
21· · · · A.· ·Administrative, she has a -- she's bilingual, and she         21· ·S-H-U-R-M-E-D-I-C-A-L, ShurMedical Training Institute.
22· ·has a Master's degree in Human Resources.· So she helps us with 22· · · · Q.· ·What do you have to do to become OSHA certified in
23· ·those kind of questions.                                                23· ·order to teach classes?
24· · · · Q.· ·The -- Spanish is the other language?                         24· · · · A.· ·So -- so there's no such thing as an OSHA
25· · · · A.· ·Yes.                                                          25· ·certification.· There's OSHA -- OSHA authorization.




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                                                                                                                             Pages 22 to 25
                                                            Page 22                                                                          Page 24
·1· · · · Q.· ·Okay.                                                 ·1· · · · Q.· ·Okay.· Okay.· Where is that case pending?
·2· · · · A.· ·And, by example, for construction if you want to      ·2· · · · A.· ·Just not Chicago, I'd have to look it up. I
·3· ·teach OSHA 10 and 30 for construction, you have to take the     ·3· ·apologize.· I don't have it on there.
·4· ·OSHA 510 course at a -- at a -- one of the OTIs, one of the     ·4· · · · Q.· ·Okay.
·5· ·college programs, and then you have to take -- take the OSHA    ·5· · · · A.· ·Then --
·6· ·500 course at one of the college programs.· To be general       ·6· · · · Q.· ·Yeah, I missed that, it says Jackson versus Reliable
·7· ·industry you have to take the 501 and the 511 to get authorized ·7· ·Carriers, Inc.· That's Illinois as well?
·8· ·to teach and then sign a contract with the training center.     ·8· · · · A.· ·Yeah.· That one's -- that one's long gone.
·9· · · · Q.· ·What do you mean by training center?· What is --      ·9· · · · Q.· ·Okay.· Do you know where that was pending?
10· · · · A.· ·So there's 27 OTIs, 27 approved university programs   10· · · · A.· ·No, sir.· I'm not sure where that -- I think that was
11· ·throughout the nation from OSHA.· OSHA has selected 27          11· ·Chicago, but it was like 2018 I believe.
12· ·programs.· For example, in my area there's Texas A&M and the 12· · · · Q.· ·Okay.
13· ·University of Texas Arlington.· So the program has to come      13· · · · A.· ·And then the Ronaldo Ramirez versus Serac, that
14· ·through one of the OTIs.                                        14· ·closed in '20 I believe.
15· · · · Q.· ·Looking at your report, you do include a case         15· · · · Q.· ·And you don't recall where the one was pending?
16· ·history.· It goes back to -- it looks like 2009; is that right? 16· · · · A.· ·No, sir.
17· · · · A.· ·I believe so, yes, sir.                               17· · · · Q.· ·How many of these cases -- well, do any of these
18· · · · Q.· ·And did you testify in court anywhere before 2009?    18· ·cases involve a wind farm like we have here?
19· · · · A.· ·No, sir.                                              19· · · · A.· ·No, sir.
20· · · · Q.· ·Okay.· So that's when you started testifying in court 20· · · · Q.· ·Do you know, from your recollection of these cases on
21· ·in lawsuits, 2009?                                              21· ·your list, how many involved excavation as the issue in the
22· · · · A.· ·Yes, sir.                                             22· ·case?
23· · · · Q.· ·And is this a comprehensive list?                     23· · · · A.· ·You have to give me just one minute, sir.
24· · · · A.· ·I looked at it this morning, and now this is my 20th  24· · · · Q.· ·Sure.
25· ·deposition.                                                     25· · · · A.· ·They're -- they're actually listed on the -- on --

                                                               Page 23                                                                       Page 25
·1· · · · Q.· ·Okay.                                                     ·1· ·under the -- the styling.
·2· · · · A.· ·And there's a -- I've been given a few more cases,        ·2· · · · Q.· ·Right.· Yeah, I did see that.· I didn't really see
·3· ·but I can give you an updated through Mr. Terry.                    ·3· ·anything that said excavation directly, so I just want you
·4· · · · Q.· ·Do you have any other cases with Terry's firm, Anesi      ·4· ·to -- maybe I misread it.· I don't know.
·5· ·Ozmon?                                                              ·5· · · · A.· ·No.· Yeah.· I'm not questioning.· I just wanted to
·6· · · · A.· ·No, sir.                                                  ·6· ·look and see.· Cosse versus LaFarge in Louisiana, that was an
·7· · · · Q.· ·Most of these are obviously here in Texas; right?         ·7· ·excavation case.
·8· · · · A.· ·Yes, sir.· Yeah.· A lot of them are in Texas.· I like     ·8· · · · Q.· ·Do you know what the issue was?
·9· ·the Chicago, though.· Just remember me.                             ·9· · · · A.· ·Yes.· The -- a dump truck driver was driving on a
10· · · · Q.· ·And the estimate here that you put down was               10· ·temporary road, and the road gave way underneath him, and he
11· ·90 percent on behalf of the plaintiff in terms of your              11· ·rolled into a ditch full of water.
12· ·testimony; correct?                                                 12· · · · Q.· ·Okay.· I take it you were critical of the excavator
13· · · · A.· ·That's correct.                                           13· ·in that case?
14· · · · Q.· ·It looks like only one other Illinois case; right?        14· · · · A.· ·Yes.
15· · · · A.· ·I'd have to look real fast.                               15· · · · Q.· ·And that case is no longer pending?
16· · · · Q.· ·Maybe two?                                                16· · · · A.· ·No, sir.
17· · · · A.· ·Two, three, four, I see four.                             17· · · · Q.· ·Okay.· Are there any others?
18· · · · Q.· ·Any current cases other than this case?                   18· · · · · · · · · MR. TERRY:· I'm just going to objection to the
19· · · · A.· ·In Illinois?                                              19· ·relevance.· You can answer obviously, Joe.
20· · · · Q.· ·Yes.                                                      20· · · · · · · · · THE WITNESS:· Yes?
21· · · · A.· ·No.· These three cases are over.                          21· · · · A.· ·We have -- we have a new case, Kelly Wright versus
22· · · · Q.· ·And -- and these don't have the dates; do they?           22· ·Webber Construction.· That's an excavation safety case that's
23· · · · A.· ·No, sir.· I -- I can get those if you need them.          23· ·ongoing.
24· ·Hampton versus UPS is -- is current.· That's in Illinois, and       24· · · · Q.· · (By Mr. Sullivan) And where's that pending?
25· ·they're alphabetical by the way.                                    25· · · · A.· ·That's in Houston.




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                                                                                                                     Pages 26 to 29
                                                          Page 26                                                                  Page 28
·1· · · · Q.· ·Okay.· Harris County?                                   ·1· · · · · · · · · MR. TERRY:· You asked him if his report is
·2· · · · A.· ·Yes, sir.                                               ·2· ·complete, I think.
·3· · · · Q.· ·And what's the issue in that case in terms of the       ·3· · · · · · · · · MR. SULLIVAN:· Yes.
·4· ·excavation?                                                       ·4· · · · · · · · · MR. TERRY:· I shouldn't be helping you, Chris,
·5· · · · A.· ·Unprotected open excavation.                            ·5· ·but I like you, so.
·6· · · · Q.· ·What does that mean?                                    ·6· · · · · · · · · MR. SULLIVAN:· Oh, yeah.· I appreciate that.
·7· · · · A.· ·If you have an excavation that has any -- any kind of   ·7· ·Well, you can help me a lot of different ways too, you know.
·8· ·opportunity for somebody to fall into, you have to protect it     ·8· · · · · · · · · THE WITNESS:· Y'all need -- y'all need some time
·9· ·under OSHA regs.                                                  ·9· ·alone?
10· · · · Q.· ·You mean cover it up -- up the hole?· Is that what      10· · · · Q.· · (By Mr. Sullivan) Is your report complete, sir?
11· ·you mean, like an hole in the ground?                             11· · · · A.· ·Yes, sir.
12· · · · A.· ·Yeah.· You have to have some kind of control, warning   12· · · · Q.· ·Does it contain all your opinions in this case?
13· ·device.· Either under the hierarchy you have to control the       13· · · · A.· ·Yes, sir.
14· ·site, or you have to put up some kind of barricade system to      14· · · · Q.· ·You don't anticipate amending it or anything; do you?
15· ·make sure that it's, you know, visible all the time and people    15· · · · A.· ·Not at this time, no.
16· ·are well warned.                                                  16· · · · Q.· ·And I can't remember -- you said you did not
17· · · · Q.· ·Okay.· So this is your first wind farm case, though;    17· ·interview anyone for this report; did you?
18· ·is that true?                                                     18· · · · A.· ·No, sir.
19· · · · A.· ·Yes, sir.· Did -- did you want me to go through the     19· · · · Q.· ·Did you rely on any written materials, like textbooks
20· ·rest of these, or -- or no?                                       20· ·or periodicals?
21· · · · Q.· ·Do you see any others that involve excavation?          21· · · · A.· ·What kind of books, sir?
22· · · · A.· ·I'm -- I'm only -- I'm only a few pages in.· I'm        22· · · · Q.· ·Anything related -- well, is there anything that you
23· ·sorry.· Oh, that's you.· Reed versus Wise Construction, it's in   23· ·can think of that you relied on for this report?
24· ·Virginia.· That one is closed.                                    24· · · · A.· ·I think I have all the -- everything listed, the OSHA
25· · · · Q.· ·Okay.· And what did that involve briefly?               25· ·standard, the 1926 and the 1910 standards.

                                                             Page 27                                                                  Page 29
·1· · · · A.· ·Again, unprotected open excavation that people          ·1· · · · Q.· ·Okay.
·2· ·walking -- a guy fell into it and got hurt real bad.              ·2· · · · A.· ·There's one letter of interpretation from the OSHA --
·3· · · · Q.· ·Okay.                                                   ·3· ·attorney for OSHA, and I'm trying to think if there's anything
·4· · · · A.· ·It was a -- it was more of a -- not an excavation as    ·4· ·else.· That -- I think that's everything.
·5· ·in a ditch, but they excavated the area to put in a sidewalk      ·5· · · · Q.· ·Okay.· What is the 1926 standard?
·6· ·and parking lot.                                                  ·6· · · · A.· ·The construction standard for OSHA.
·7· · · · Q.· ·Okay.· And that's it; right?                            ·7· · · · Q.· ·That's the general construction standard; right?
·8· · · · A.· ·Let me -- just one second.· Yes, sir.· I believe so.    ·8· · · · A.· ·No, sir.· That's the construction standard.
·9· · · · Q.· ·Okay.· Did you interview anyone as part of your         ·9· · · · Q.· ·Applicable to what trades?
10· ·investigation to prepare this report?                             10· · · · A.· ·Anything that's construction beyond the -- the point
11· · · · A.· ·No, sir.                                                11· ·of -- of remodeling.
12· · · · Q.· ·Okay.· Your report is complete; right?                  12· · · · Q.· ·Okay.· And what's the 1910 standard?
13· · · · A.· ·I'm sorry.· I'm sorry.                                  13· · · · A.· ·General industry.
14· · · · Q.· ·Let me just say if you need to take a break, just let   14· · · · Q.· ·Okay.· And besides the construction industry, 1910
15· ·me know.· I have no problem with that.                            15· ·would apply to what?
16· · · · A.· ·If you see my face getting red, I should probably       16· · · · A.· ·Excuse me.· Anything that's not marine or like
17· ·take a break.                                                     17· ·farming, agricultural.
18· · · · Q.· ·Well, it's -- you know, the video is not the best, so   18· · · · Q.· ·Okay.· Does OSHA have any standards specific to
19· ·it's hard to tell.                                                19· ·excavation?
20· · · · A.· ·Yeah.· I'm not supposed to be red, but --               20· · · · A.· ·Yes.· Yes.
21· · · · Q.· ·If you feel bad, just let me know.                      21· · · · Q.· ·What standard -- what are those?
22· · · · A.· ·Thank you, sir.                                         22· · · · A.· ·It's in the 1910 standard as well as the 1926 subpart
23· · · · Q.· ·I forgot what I just asked.                             23· ·P.
24· · · · A.· ·The report.                                             24· · · · Q.· ·Okay.· Let's see.· I'll get to that in a minute. I
25· · · · Q.· ·Yeah.                                                   25· ·think you put in your report you were paid $3800 so far; is




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                                                                Page 30                                                             Page 32
·1· ·that right?                                                          ·1· · · · A.· ·That's correct.
·2· · · · A.· ·Yes, sir.                                                  ·2· · · · Q.· ·Have you ever been convicted of a felony crime?
·3· · · · Q.· ·And for future work, what is your structure and so         ·3· · · · A.· ·No, sir.
·4· ·forth?                                                               ·4· · · · Q.· ·Have you ever been convicted of a misdemeanor crime
·5· · · · A.· ·Oh, I -- I get paid 175 an hour for review and case        ·5· ·involving dishonesty?
·6· ·report production.· I think that's in there.· It should be in        ·6· · · · A.· ·No, sir.
·7· ·there.                                                               ·7· · · · Q.· ·Are you aware of any certifications for an excavation
·8· · · · Q.· ·So the $3800 covers what?                                  ·8· ·company?
·9· · · · A.· ·It's a retainer to work against as I'm working             ·9· · · · A.· ·Specifically what -- what are you referring to?
10· ·through the -- through the case.                                     10· · · · Q.· ·For example, do -- are you aware of any states that
11· · · · Q.· ·Okay.· So everything is billed hourly then?                11· ·require that excavation workers be certified?
12· · · · A.· ·Correct.                                                   12· · · · A.· ·Not -- not aware of any -- I'm sorry.· I didn't mean
13· · · · Q.· ·Okay.· And other than testifying here today and at         13· ·to cut -- cut you off.· I'm not aware of that in Texas, no.
14· ·trial, do you anticipate any other work?                             14· · · · Q.· ·Okay.· Are you aware of that in any other state?
15· · · · A.· ·On this case?                                              15· · · · A.· ·No, sir.
16· · · · Q.· ·Yes.                                                       16· · · · Q.· ·Did you do any review of note -- I'm sorry -- weather
17· · · · A.· ·No, sir.                                                   17· ·records in -- as part of your preparation for the report?
18· · · · Q.· ·And it's the same rate regardless of it's a report or      18· · · · A.· ·Yes, sir.
19· ·a deposition or trial?                                               19· · · · Q.· ·And what was that?· What did that involved?
20· · · · A.· ·It's a different price for deposition and trial, and       20· · · · A.· ·Online search for the area, I forget the -- the
21· ·I apologize.· The -- the service that has us has changed the         21· ·actual service that was online that -- that gave me the weather
22· ·rates.· I don't have it at the top of my mind, but it's in the       22· ·reports for that area for the timeline.
23· ·report at the end.· I can find it for you.· I just don't have        23· · · · Q.· ·Okay.· And, of course, you reviewed the plaintiff's
24· ·that -- I don't have that page with me.· I just have the             24· ·deposition testimony; right?
25· ·report.                                                              25· · · · A.· ·Correct.

                                                             Page 31                                                                Page 33
·1· · · · Q.· ·Okay.· So it's not 175 anymore?                            ·1· · · · Q.· ·And you saw that he testified it was snowing the date
·2· · · · A.· ·Oh, it was 135.· The service raised it.                    ·2· ·he was injured; correct?
·3· · · · Q.· ·Oh, I see, and what is the service that you're             ·3· · · · A.· ·I believe he said there was a -- a light snow that
·4· ·talking about?                                                       ·4· ·morning if I remember correctly, but, yes.
·5· · · · A.· ·The Expert Institute.                                      ·5· · · · Q.· ·Did you see any of the weather records to corroborate
·6· · · · Q.· ·What is the Expert Institute?                              ·6· ·that?
·7· · · · A.· ·It's a service that provides links between attorneys       ·7· · · · A.· ·I don't recall, but I don't doubt his testimony.
·8· ·and special experts, those kind of things.                           ·8· · · · Q.· ·In the cases that you've been involved with before up
·9· · · · Q.· ·Okay.· Have you ever testified in court on behalf of       ·9· ·to the present, has Mortenson Construction had anything to do
10· ·or in support of an excavation company?                              10· ·with any of them?
11· · · · A.· ·No, sir.· Let me -- let me rephrase that -- respond        11· · · · A.· ·No, sir.
12· ·to that.· Do you mean exclusively an excavation company?             12· · · · Q.· ·And before this case had you ever heard of my client,
13· · · · Q.· ·Yes.                                                       13· ·Borneke Construction?
14· · · · A.· ·Yes.· No, sir.                                             14· · · · A.· ·No, sir.
15· · · · Q.· ·Have you ever been found unqualified to testify as an      15· · · · Q.· ·Have you ever testified in Minnesota?
16· ·expert by any court?                                                 16· · · · A.· ·No, sir.
17· · · · A.· ·No, sir.                                                   17· · · · Q.· ·You reviewed the contract and the scope of work;
18· · · · Q.· ·You obviously did not travel to the wind farm site at      18· ·correct?
19· ·issue in this case; correct?                                         19· · · · A.· ·Briefly, yes, sir.
20· · · · A.· ·Correct, sir.                                              20· · · · Q.· ·As part of your job do you ever write scope of work
21· · · · Q.· ·Did you -- you said you have not interviewed any           21· ·contract documents for your businesses?
22· ·witnesses, so I -- does that mean that you have not spoken to        22· · · · A.· ·No, sir.· No.· I don't write the scope.
23· ·the plaintiff in this case either?                                   23· · · · Q.· ·Okay.· What was your understanding of Georgeff's role
24· · · · A.· ·No, sir.                                                   24· ·on this project?
25· · · · Q.· ·I mean, that's correct you have not spoken to him?         25· · · · A.· ·Of -- of Georgeff's role?




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·1· · · · Q.· ·Yes.                                                        ·1· ·protecting those that could enter their site, be it another
·2· · · · A.· ·He was an employee of Mortenson, of the guys who were ·2· ·contractor or the general public.
·3· ·building the turbine.                                           ·3· · · · Q.· ·And ANSI A10.33.2 applies to what industries?
·4· · · · Q.· ·Did you see the testimony about him being a walking         ·4· · · · A.· ·All industries.
·5· ·steward?                                                              ·5· · · · Q.· ·So basically in construction, for example, all
·6· · · · A.· ·I believe so, sir.                                          ·6· ·subcontractors should have an ANSI A10 plan?
·7· · · · · · · · · MR. TERRY:· I'm going to object to relevance.          ·7· · · · A.· ·Yes.· And to extend that, A -- A10.34 actually is
·8· · · · Q.· · (By Mr. Sullivan) It wasn't your understanding that        ·8· ·whenever they're doing work where somebody could be adjacent to
·9· ·he was on a -- an erection crew; was it?                              ·9· ·construction, then they have to have a specific program lined
10· · · · A.· ·I -- I don't recall that he was on an erection crew,        10· ·out, and they actually give you a reference template in A.34,
11· ·no.· And -- and, again, forgive me if I seem foggy.· I -- I           11· ·which is the follow-up to A.33.
12· ·apologize.                                                            12· · · · Q.· ·Okay.· I forgot to ask you earlier, how many times
13· · · · Q.· ·Sure.· Let's see here.· You, of course, have your           13· ·have you actually testified at trial, if you know?
14· ·report in front of you; right?                                        14· · · · A.· ·I -- I think it's five.
15· · · · A.· ·Yes, sir.                                                   15· · · · Q.· ·Okay.· And that is between when and when?
16· · · · Q.· ·Can we turn to page 8 please?· What is the reason for       16· · · · A.· ·2009 and currently.
17· ·citing each of these standards?                                       17· · · · Q.· ·And the last time was when?
18· · · · A.· ·Say that one more time.                                     18· · · · A.· ·This year -- well, I -- I had a sworn testimony in
19· · · · Q.· ·What's the reason that you cited each of these              19· ·front of a judge this year sometime around March maybe.
20· ·standards?                                                            20· · · · Q.· ·Okay.
21· · · · A.· ·I believe they're meant to be relevant in this              21· · · · A.· ·And then a trial last year I believe.
22· ·situation.                                                            22· · · · Q.· ·And where was that?
23· · · · Q.· ·All right.· What is ANSI A10.33.2?                          23· · · · A.· ·Before COVID -- forgive me.· Before COVID.· COVID's
24· · · · A.· ·It is the ANSI guideline on how to put together your        24· ·got everything kind of out of whack.
25· ·safety program as it relates to your own organization and other       25· · · · Q.· ·Sure.

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·1· ·organizations that you'll be working around.                          ·1· · · · A.· ·Yeah, but before COVID.
·2· · · · Q.· ·Now, Mortenson had a safety program; didn't it?             ·2· · · · Q.· ·Was it like 20 -- do you know what year?
·3· · · · A.· ·Yes, sir.· They did.                                        ·3· · · · A.· ·When did COVID kick up?· Was it March of 2020?
·4· · · · Q.· ·Are you critical of Mortenson's safety program at           ·4· · · · Q.· ·2020, yeah.
·5· ·all?                                                                  ·5· · · · A.· ·So '19, yeah.
·6· · · · A.· ·No, sir.                                                    ·6· · · · Q.· ·'19, okay.· And have you ever testified at trial in
·7· · · · Q.· ·Did you see any safety program that Borneke had?            ·7· ·Illinois before in Illinois court?
·8· · · · A.· ·I -- I don't recall.· I can look on the list and see        ·8· · · · A.· ·No, sir.
·9· ·if I looked -- I don't recall specifically if they had -- if          ·9· · · · Q.· ·And if you recall, where were these cases -- the five
10· ·they had -- if -- well, go ahead with your question.                  10· ·that you testified at trial?
11· · · · Q.· ·Sure.· How is ANSI A10 applicable to my client?             11· · · · A.· ·In '09 it was in Huntsville, Texas.
12· · · · A.· ·To your client as in Borneke?                               12· · · · Q.· ·Okay.
13· · · · Q.· ·Yes.                                                        13· · · · A.· ·One was in Bexar County, Texas.· I don't remember the
14· · · · A.· ·Yes, sir.· Whenever they are going to do work in            14· ·county, but it was in Dallas, Texas, another one.· One was
15· ·their specialty around other organizations, they have to have a       15· ·Zoom; two were Zoom.
16· ·plan.                                                                 16· · · · Q.· ·Okay.· And where were those at; do you know?
17· · · · Q.· ·And are you critical of them for not having a plan?         17· · · · A.· ·I think they were in Dallas as well.
18· · · · A.· ·I have not seen any plan that's been produced               18· · · · Q.· ·Okay.· So pretty much everything has been in Texas?
19· ·specific to other contractors working within their -- their           19· · · · A.· ·All the testimony, yes, sir.
20· ·zone of what they were doing.                                         20· · · · Q.· ·Okay.· And what is the hierarchy of safety controls?
21· · · · Q.· ·But are you testifying that they should have had some       21· · · · A.· ·So that -- this hierarchy of safety controls was
22· ·sort of plan?                                                         22· ·developed by the National Safety Council in the 1950s, and
23· · · · A.· ·Absolutely.                                                 23· ·it's the basis for every safety program throughout the United
24· · · · Q.· ·And what is the plan should have said in your view?         24· ·States.· If elimination is available, elimination is the only
25· · · · A.· ·How they were going to roll out their services while        25· ·safety control that's proper.· And then there's a step down




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·1· ·from elimination being the most proper, all the way down to we    ·1· ·those hazards, and then if you require PPE, you have to have a
·2· ·can't do anything else, so we'll just put people in PPE.          ·2· ·written certification.
·3· · · · Q.· ·And that's the pyramid chart you have on page 11;       ·3· · · · Q.· ·So is it your testimony that Borneke should have had
·4· ·right?                                                            ·4· ·a separate certification in that regard from Mortenson?
·5· · · · A.· ·Yes, sir.                                               ·5· · · · A.· ·From themselves, they do their own hazard assessment.
·6· · · · Q.· ·Is that just a general principle, OSHA principal?       ·6· ·You're required as an organization to do your own hazard
·7· · · · A.· ·Well, it was developed by the National Safety           ·7· ·assessment for the area for which you're working.
·8· ·Council, and has been adopt -- adopted by not only OSHA, but      ·8· · · · Q.· ·Require by whom?
·9· ·the EPA, and you -- you name the organization -- the United       ·9· · · · A.· ·By OSHA under 1910.132(d)(2).
10· ·States Military.· We all follow the same hierarchy.               10· · · · Q.· ·You don't take part in OSHA investigations; do you?
11· · · · Q.· ·Okay.· Have you ever served in the military yourself,   11· · · · A.· ·I have in the past, yes.
12· ·sir?                                                              12· · · · Q.· ·And is it on behalf of OSHA?
13· · · · A.· ·Yes, sir.                                               13· · · · A.· ·Yes.
14· · · · Q.· ·And where and when?                                     14· · · · Q.· ·Okay.· Have you ever actually been an employee of
15· · · · A.· ·From '91 to '99, I was in the Army Reserves as a        15· ·OSHA?
16· ·medic.                                                            16· · · · A.· ·No, sir.· I've taught their -- I've taught the OSHA
17· · · · Q.· ·As a medic?                                             17· ·inspectors and the OSHA officers before.
18· · · · A.· ·Yes, sir.                                               18· · · · Q.· ·What have you done for OSHA investigations in terms
19· · · · Q.· ·Is there any other employment that you've had that      19· ·of --
20· ·you have not told me about?                                       20· · · · A.· ·There was a fatality -- I'm sorry.· I didn't mean to
21· · · · A.· ·Just I've always maintained some kind of medical        21· ·talk over you.· There was fatality -- a double fatality in
22· ·ambulance something my whole life -- adult life.                  22· ·south Texas of -- of two brothers in a confined space.
23· · · · Q.· ·Okay.· Do you have any businesses other than Barco      23· · · · Q.· ·And what did you do for them to help them -- to help
24· ·that are just your own business?                                  24· ·OSHA?
25· · · · A.· ·My wife and I own real estate.                          25· · · · A.· ·I -- I did the inspection and wrote a report.

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·1· · · · Q.· ·What kind of real estate?                             ·1· · · · Q.· ·So you were retained by OSHA?
·2· · · · A.· ·Rental properties.                                    ·2· · · · A.· ·No.· I was asked -- because I was -- I was working
·3· · · · Q.· ·Okay.                                                 ·3· ·with A&M, I was asked, you know, if I could look into it, and I
·4· · · · A.· ·Yeah.· We -- we do small, boutique remodeling work    ·4· ·did.
·5· ·for ourselves as well as other small business real estate       ·5· · · · Q.· ·Okay.· How are you paid by Texas A&M?
·6· ·owners.                                                         ·6· · · · A.· ·As an -- as an instructor.· I'm -- I'm adjunct
·7· · · · Q.· ·Is that all in Texas?                                 ·7· ·faculty.· They pay me by the hour.
·8· · · · A.· ·Yes.                                                  ·8· · · · Q.· ·You agree with me that Nick Georgeff was not
·9· · · · Q.· ·Can you explain, going back to page 8 of your report, ·9· ·Borneke's employee; right?
10· ·how 29 CFR 1910 is applicable to my client?                     10· · · · A.· ·That's correct.
11· · · · A.· ·So we're dealing with walking/working surfaces.· They 11· · · · Q.· ·Did you do a search to see if there were any OSHA
12· ·created the walking/working surface.                            12· ·investigations related to this incident in this case?
13· · · · Q.· ·So are you saying they had a duty to provide a        13· · · · A.· ·I believe so, but I don't think I ever found any.
14· ·written certification?                                          14· · · · Q.· ·And you know that my client has never been cited by
15· · · · A.· ·Well, are -- are you talking about 1910?· I went to   15· ·OSHA related to this case; right?
16· ·the bottom.· I'm sorry.· I went to 1910.22.· You're talking     16· · · · A.· ·OSHA --
17· ·about 132?                                                      17· · · · · · · · · MR. TERRY:· I'm going to object to relevance.
18· · · · Q.· ·Yes, sir.· Yes, sir.                                  18· · · · Q.· · (By Mr. Sullivan) Was Mortenson required to report
19· · · · A.· ·Okay.                                                 19· ·the incident to OSHA?
20· · · · Q.· ·I'm sorry.· What are you opining that they should     20· · · · · · · · · MR. TERRY:· Same objection.
21· ·have done in regard to that standard?                           21· · · · A.· ·Under the 1904 standard, was Mortenson required to
22· · · · A.· ·So in the 1910.132 standard whenever you have a       22· ·report the incident?
23· ·project you have to do a hazard assessment of what could be the 23· · · · Q.· · (By Mr. Sullivan) Yes.
24· ·forecastable hazards of that location, and you identify, based  24· · · · A.· ·Only -- only to the point to see if Borneke had
25· ·again on the hierarchy of safety control, how you will control  25· ·reported it themselves.




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·1· · · · Q.· ·Why do you say that?                                           ·1· · · · A.· ·I -- I believe that's outside of my scope to make
·2· · · · A.· ·Because it happened on their location.· They were in           ·2· ·that -- that call.· OSHA does regulate; OSHA does fine, and
·3· ·control of the site, and they should have reported it.· So               ·3· ·OSHA does take people to court based on the regulations.
·4· ·Borneke and Mortenson would have both reported, and OSHA would ·4· · · · Q.· · (By Mr. Sullivan) You're not offering any opinions
·5· ·have done investigation, and under the CPL 02-124, determined            ·5· ·in this case about what the legal standard of care was for my
·6· ·who was controlling and who had the responsibility.· But I               ·6· ·client; are you?
·7· ·don't think that it was reported by -- by Borneke or Mortenson,          ·7· · · · A.· ·The legal standard of care, only as it relates to the
·8· ·either one.                                                              ·8· ·OSHA regulations.
·9· · · · Q.· ·Why do you say that Borneke had control of the site?           ·9· · · · Q.· ·Do you have an opinion that OSHA should have fined or
10· · · · A.· ·So they -- they had -- they had general authority              10· ·cited Borneke in this case?
11· ·over the site to make corrections.· They had Mr. Borneke doing           11· · · · A.· ·Yes.
12· ·I believe weekly inspections of the site.· So they had general           12· · · · Q.· ·But not Mortenson?
13· ·supervisory authority over the site to make corrections, and             13· · · · A.· ·No, not Mortenson.
14· ·they had the authority and the ability to make safety changes            14· · · · Q.· ·Why not Mortenson?
15· ·if they needed to.                                                       15· · · · A.· ·It was the Borneke excavation that was left open and
16· · · · Q.· ·Did you see the testimony from the foreman for                 16· ·that had sagging and substandard construction areas that caused
17· ·Mortenson in which he said that once Borneke's work was                  17· ·the event.· Under the CPL they would have been the creating
18· ·complete, and they had started the erection phase, they did not          18· ·employer.
19· ·want Borneke on-site?                                                    19· · · · Q.· ·Was Mortenson the exposing employer?
20· · · · A.· ·Yes, sir.· Yes, sir, I did that.                               20· · · · A.· ·Was Mortenson the exposing -- yes, Mortenson would
21· · · · Q.· ·And did you see the testimony that in this case on             21· ·have been the exposing employer.
22· ·the day it took place, it was only Mortenson employees that              22· · · · · · · · · MR. TERRY:· Okay.· I'm going to object to
23· ·were working; correct?                                                   23· ·relevance because, Chris, you had your opportunity to
24· · · · A.· ·Yes.                                                           24· ·third-party Mortenson.· So I'm just going to have a standing
25· · · · · · · · · MR. TERRY:· Hold on.· I'm going to object to              25· ·objection to that.

                                                                    Page 43                                                                        Page 45
·1· ·mischaracterizes testimony.· You mean on the site as a whole or ·1· · · · · · · · · MR. SULLIVAN:· Okay.
·2· ·this specific site, Chris?                                               ·2· · · · Q.· · (By Mr. Sullivan) What are the duties of an exposing
·3· · · · · · · · · MR. SULLIVAN:· The site where this incident took          ·3· ·employer?
·4· ·place.                                                                   ·4· · · · A.· ·The duties of an exposing employer, if they --
·5· · · · Q.· · (By Mr. Sullivan) What is a multi-employer work-site          ·5· ·forgive me.· Give me just a second.· The exposing employer has
·6· ·policy?· Can you explain that for me?                                    ·6· ·to make sure that their -- just give me -- let me -- let me
·7· · · · A.· ·Yes, sir.· Under OSHA when you have multiple                   ·7· ·rethink.· Sorry.· Getting kind of fuzzy.· The exposing employer
·8· ·employers working on -- on one general location, they have a             ·8· ·works their own hierarchy of safety controls to make sure that
·9· ·CPL set up to determine one of four classes of -- of employer,           ·9· ·they're following through the appropriate controls for their
10· ·controlling, creating, exposing, and correcting, and under               10· ·locations.
11· ·their CPL, they determine how they mesh together.                        11· · · · Q.· ·Okay.· It -- well, let me back up.· You agree with me
12· · · · Q.· ·How do you determine if it's -- if it's really a               12· ·that -- I understand you're alleging that my client created the
13· ·multi-employer site?                                                     13· ·hazard, and I'll -- and I'll ask you some questions about that.
14· · · · A.· ·More than one employer.                                        14· ·But would you agree with me that Mortenson first identified the
15· · · · Q.· ·So any employer, does that mean any construction site          15· ·hazard that caused plaintiff's injury?
16· ·that involves more than one employer can -- is a                         16· · · · · · · · · MR. TERRY:· Going to object to relevance, and
17· ·multi-employer?                                                          17· ·object to the form.
18· · · · A.· ·Absolutely, yes.                                               18· · · · A.· ·If you have some -- I'm sorry.· If you have something
19· · · · Q.· ·You agree with me that OSHA standards are not                  19· ·for me look at, I'd be glad to look at that.
20· ·required by the law; right?                                              20· · · · Q.· · (By Mr. Sullivan) Well, do you know who first
21· · · · A.· ·I'm sorry?                                                     21· ·noticed the ice that was at issue in this case that led to
22· · · · Q.· ·OSHA standards are not required by a court of law;             22· ·plaintiff's fall?
23· ·correct?                                                                 23· · · · A.· ·I -- I don't recall who first noticed the ice.· The
24· · · · · · · · · MR. TERRY:· I'm going to object to legal                  24· ·situation that -- the formation of the sag was from the
25· ·opinion.                                                                 25· ·construction.· So everything started with -- with faulty




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·1· ·construction.                                                              ·1· ·Mr. Borneke doing weekly checks.· I don't see how that's
·2· · · · Q.· ·Is it your opinion that -- well, strike that.                    ·2· ·possible from an experienced and highly qualified excavator.
·3· · · · · · · · · You -- you know that the contract required                  ·3· · · · Q.· ·Well, you saw that when each of these components were
·4· ·excavation within 175-foot radius of the tower; right?                     ·4· ·laid down, there was wood cribbing underneath -- that covered
·5· · · · A.· ·That's correct.                                                  ·5· ·up the area where it was actually sitting, so it was not just
·6· · · · Q.· ·And so is it your opinion that any ice within that               ·6· ·sitting on the bare ground; correct?
·7· ·175-foot radius would be my client's fault?                                ·7· · · · A.· ·That's true, which makes -- which makes me even more
·8· · · · A.· ·We're not -- we're not specifically dealing with ice.            ·8· ·concerned, because if you're sitting on the cribbing, it's not
·9· ·We're specifically dealing with a project that was built to                ·9· ·sitting on the ground crunching and -- and moving pore space.
10· ·last the duration and -- and the lifetime of what they needed              10· ·So it's substandard excavation beneath the whole piece of
11· ·to do, and it only lasted -- I forget the timeline -- but a few            11· ·equipment allow for pooling and -- and sinkage.· So that's
12· ·weeks versus the lifetime of the project.                                  12· ·really even more concerning that it was on cribbing and not
13· · · · Q.· ·Do you agree with me that -- well, strike that.                  13· ·specifically on the ground.
14· · · · · · · · · You know that when the excavation work was done             14· · · · Q.· ·Do you know how deep the rut or depressed area that's
15· ·on each pad site it was approved by Mortenson before the -- the 15· ·at issue in this case was?
16· ·components were delivered; right?                                          16· · · · A.· ·I do not.· I know that when they -- they initiated
17· · · · A.· ·That -- that is true, but Mr. Borneke took it upon               17· ·the construction, because there is the knowledge that this was
18· ·himself to keep coming back and checking.· So I think he was               18· ·farm area, and I think it was corn farm, you know, there's so
19· ·fully aware that there was going to be issues.                             19· ·much tilling that's happened over the years, and -- and the
20· · · · Q.· ·You agree with me that an area can be perfectly                  20· ·ground has been churned up so much, their original grubbing
21· ·excavated, and then conditions will change if it becomes                   21· ·should've probably been in the neighborhood of 3 feet just to
22· ·saturated with rain; correct?                                              22· ·get to something before they started coming back and
23· · · · A.· ·Yes.· That's one of the -- that's one of the things              23· ·compacting.· So if the rut was less than 2 or 3 feet then it
24· ·that an excavator would plan for as far as the -- the drainage             24· ·was never brought down to -- to the proper length to begin
25· ·to keep the water off the site, and I haven't seen anything                25· ·with.

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·1· ·that would show me that a swale was cut or how the drainage was ·1· · · · Q.· ·You don't know if the ice was visible at all when the
·2· ·supposed to be taken from the location.                                    ·2· ·component piece was actually laying down before they erected
·3· · · · Q.· ·You don't know the weight of any of these components;            ·3· ·it; do you?
·4· ·do you?                                                                    ·4· · · · A.· ·If you have a picture -- there's a picture in my --
·5· · · · A.· ·Not off the top of my head, no.                                  ·5· ·in my report.· Can we look at that picture?
·6· · · · Q.· ·Do you place any blame on Mortenson in this case at              ·6· · · · Q.· ·Well, for -- yes but --
·7· ·all?                                                                       ·7· · · · A.· ·Do you have that picture?
·8· · · · · · · · · MR. TERRY:· Relevance.· You can answer,                     ·8· · · · Q.· ·Yes.· Just -- let me just ask you a follow-up
·9· ·obviously.                                                                 ·9· ·question.· Is that the only picture you've seen?
10· · · · A.· ·No.· Under -- under the OSHA regs, they have the                 10· · · · A.· ·No.· I believe I've seen others.· I think there were
11· ·right to rely on the specialist that they hired to do the --               11· ·a couple of others.· I just don't have them with me.
12· ·the project, and then that reliance then sets with Borneke.                12· · · · Q.· ·And tell me what picture you're looking at?
13· · · · Q.· · (By Mr. Sullivan) But if -- as the exposing                     13· · · · · · · · · MR. TERRY:· Form.· Go ahead.
14· ·employer, if they know of a hazardous condition, don't they                14· · · · Q.· · (By Mr. Sullivan) Just to be clear, this is one from
15· ·have a duty to create reasonable measures so that there own                15· ·the Morten -- Mortenson Construction incident analysis report;
16· ·employees don't become injured by this condition?                          16· ·correct?
17· · · · A.· ·The reasonable measure would be to have Borneke                  17· · · · A.· ·My report.
18· ·repair or correct whatever was not done right in the first                 18· · · · Q.· ·Oh, maybe you put -- you put the same picture in your
19· ·place.                                                                     19· ·report; right?
20· · · · Q.· ·And did you see any evidence that once -- well,                  20· · · · A.· ·I believe so, yes, sir.
21· ·strike that.                                                               21· · · · Q.· ·Go ahead.· What were you going to say about the
22· · · · · · · · · You agree with me that this -- the ice that was             22· ·picture please?
23· ·underneath this midsection piece was not discovered until the              23· · · · A.· ·So if you -- if you look at the -- at the picture --
24· ·component was lifted off the ground?                                       24· ·we're looking at the one with the -- the piece of the turbine's
25· · · · A.· ·I -- again, I don't know how that's possible with                25· ·tower?




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·1· · · · Q.· ·Yes.· It's page 17 of your report; right?             ·1· ·at the top left corner of that plate, it's already sunken --
·2· · · · A.· ·Correct.· Correct.· Yes.· There's a couple things.    ·2· ·sunk below the plate next to it right there.
·3· ·Number -- number one, external to the area that looks like the  ·3· · · · Q.· ·And -- and what does that show?
·4· ·shape of the tower section, that soil is -- is seeping.· So     ·4· · · · A.· ·That the ground underneath it is sagging.
·5· ·it's clearly Class C soil, and the -- and the greater concern,  ·5· · · · Q.· ·So you would expect to see ice underneath that as
·6· ·that should've been picked up right away whether or not there's ·6· ·well?
·7· ·a piece of equipment laying over it, that saturation of the     ·7· · · · A.· ·There should -- it should be marshy, wet, Class C
·8· ·soil was happening external to where the piece of equipment was ·8· ·soil saturated right there.· In fact, if you look past the
·9· ·cribbed.· But to the far end of that picture, we see the spoil  ·9· ·cribbing towards the end, you can already see that past the
10· ·pile, which my -- all intents and purposes, made that area a    10· ·cribbing there's already more sinkholes happening on that
11· ·bowl.                                                           11· ·specific side as well as to the one to the left.
12· · · · Q.· ·And what is the spoil pile?                           12· · · · Q.· ·And what do you contend my client should've done to
13· · · · A.· ·The -- the stacked dirt that you can see in the -- in 13· ·fix that?
14· ·the distance.                                                   14· · · · A.· ·The -- at the very least, they should have barricaded
15· · · · Q.· ·Okay.· And so it's your opinion that my client put    15· ·if they couldn't affect some kind of move to eradicate it and
16· ·that there as part of the excavation process?                   16· ·eliminate it.· Under the hierarchy, they should have controlled
17· · · · A.· ·I would expect that more likely than not they did it  17· ·the site.· Now, I don't know when these barricades -- these
18· ·as part of the tuneups.                                         18· ·rope barricades were put up, but something like that to the
19· · · · Q.· ·But you don't know if my client was ever actually     19· ·very minimal standards, should've been appropriate for this
20· ·asked to do a tuneup on this particular site; do you?           20· ·site.
21· · · · A.· ·No.· That was speculation on my part completely.      21· · · · Q.· ·Right.· And wouldn't that be Mortenson's job, since
22· · · · Q.· ·And do you know -- well, strike that.                 22· ·they were the one controlling the work at the time of the
23· · · · · · · · · You don't know if this ice was actually visible  23· ·incident?
24· ·when the component was resting on it; do you?                   24· · · · A.· ·Actually Borneke was the one -- the contractor that
25· · · · A.· ·I don't know if the ice was visible, but I have no    25· ·created it.· So they would be the ones that would actually

                                                           Page 51                                                                          Page 53
·1· ·doubt that the -- this seepage in the soil was visible.· If the   ·1· ·eradicate it and take it down to elimination.· So if the
·2· ·cribbing is the same as what's next to it, then, yes, it should   ·2· ·planning was to actually do what they were hired to do and --
·3· ·have been visible.· And you can see under the -- the other        ·3· ·and removed the actual hazard, then they should have barricaded
·4· ·component that's sitting there, there's already a pool starting   ·4· ·off what they were doing.
·5· ·under that one as well, right in the middle.                      ·5· · · · Q.· ·But they would've had to have notice of the condition
·6· · · · Q.· ·All right.· I'll share my screen with you for a         ·6· ·in order to do that; right?
·7· ·second.· All right.· Can you see this picture?                    ·7· · · · A.· ·It's impossible, in my opinion, for you not to have
·8· · · · (EXHIBIT 1 WAS MARKED FOR IDENTIFICATION.)                   ·8· ·noticed when you see just sagging and standing and potholes
·9· · · · A.· ·Yes, sir.· I believe that's the same picture.           ·9· ·right next to equipment.· I don't see how they could say they
10· · · · Q.· ·All right.· And let me go over there.· Do you see       10· ·didn't have notice in my opinion.
11· ·that better?                                                      11· · · · Q.· ·Okay.· Do you know how long the ice had been exposed
12· · · · A.· ·Yes.                                                    12· ·on the day of the incident before the injury?
13· · · · Q.· ·Now, you don't know exactly when this was taken;        13· · · · A.· ·Forgive me.· I -- I -- I'm kind of fuzzy on when this
14· ·correct?                                                          14· ·happened, but I think there was a light snow that morning,
15· · · · A.· ·No, sir.· I -- I don't.                                 15· ·and -- and I think it was gone by the end of the day or the
16· · · · Q.· ·And, of course, we already -- at the time of the        16· ·next day.
17· ·incident, there was snow covering the ice.· You saw that in the   17· · · · Q.· ·Right.· But I -- my question is in this specific
18· ·testimony; correct?                                               18· ·area -- the testimony as I understand it is that Georgeff fell
19· · · · A.· ·That's correct.                                         19· ·on this sheet of ice that's in this picture?
20· · · · Q.· ·You said you can all -- you can already start to see    20· · · · A.· ·Yes.
21· ·ice on the other component.· Where -- what are you -- if you      21· · · · Q.· ·And it was covered with snow at the time, but do you
22· ·could point it out, I'm not sure I understand that.               22· ·know how long it had been exposed -- the ice had been exposed
23· · · · A.· ·So on the laydown plates on the right-hand side,        23· ·from lifting the component piece before the injury?
24· ·right in the middle of it, right -- stop right there, you see     24· · · · A.· ·As in relation to Mr. -- when Mr. Georgeff walked
25· ·the water on top of the laydown plate, and then if you'll look    25· ·across it?




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·1· · · · Q.· ·Yes.                                                             ·1· ·the area was safe.
·2· · · · A.· ·No, sir.                                                         ·2· · · · Q.· · (By Mr. Sullivan) Okay.· But that wasn't the
·3· · · · Q.· ·And you agree with me that Mortenson had the ability             ·3· ·question.· Did you see any testimony that Mortenson had called
·4· ·to stop work if it believed this ice was too dangerous to                  ·4· ·Borneke out to address this that day before the incident?
·5· ·continue working?                                                          ·5· · · · A.· ·Not that I recall.· I think it happened early, early
·6· · · · A.· ·I believe that they had the ability to rely on their             ·6· ·morning.· It may have been even dark, and there was a light
·7· ·specialist that they had hired.· I don't know that specifically            ·7· ·dusting of snow.
·8· ·Mr. Georgeff would have seen that as a deep puddle of water                ·8· · · · Q.· ·This is the only picture you -- you viewed of the
·9· ·with ice in it or just a mere, you know, shallow spot that he              ·9· ·actual area where he fell; correct?
10· ·could have stepped on.· I can remember growing up as a -- as a             10· · · · A.· ·I don't recall.· There -- there wasn't many pictures.
11· ·boy in Missouri the little shallow spots of ice you just step              11· ·I don't recall.
12· ·on and crunch under your feet versus an actual small --                    12· · · · Q.· ·You don't recall any other ones besides this one,
13· ·small -- I won't call it a lake, but a small depression                    13· ·though; do you?
14· ·that's -- that's sunk.                                                     14· · · · A.· ·Of the area that he fell?
15· · · · Q.· ·Yeah.· And we don't know how deep this was; do we?               15· · · · Q.· ·Yeah.
16· · · · A.· ·We don't know how deep it was.· We can see to the                16· · · · A.· ·There may have been one or two more, but I -- I just
17· ·right.                                                                     17· ·don't recall.· I'm sorry.
18· · · · · · · · · MR. TERRY:· Hold on.· I just want -- I just want            18· · · · · · · · · MR. TERRY:· And, Chris -- Chris, just for the
19· ·to object, Chris.· I think you're mischaracterizing the                    19· ·record, we sent him any that were from the depo, like the ones
20· ·evidence.· There was clear testimony this was covered with snow 20· ·that showed the trucks that we used in the deposition.· Like I
21· ·on the day of the occurrence.                                              21· ·don't have any other photos that weren't marked in the
22· · · · · · · · · MR. SULLIVAN:· Okay.· Sure.                                 22· ·depositions.· Also the ones that sent you are the ones that he
23· · · · · · · · · MR. TERRY:· So is this a hypothetical, or is                23· ·reviewed, so.
24· ·this an actual question?                                                   24· · · · · · · · · MR. SULLIVAN:· Right.· Right.· I think we both
25· · · · · · · · · MR. SULLIVAN:· It's an actual question.· Looking            25· ·know this is the only one that shows the area where he fell.

                                                                      Page 55                                                                     Page 57
·1· ·at this picture, we don't know how deep this depression was; do ·1· · · · Q.· · (By Mr. Sullivan) You agree with me that Borneke did
·2· ·we?                                                             ·2· ·not have the ability to tell Mortenson to stop working; did it?
·3· · · · · · · · · MR. TERRY:· This was taken after the fact when   ·3· · · · A.· ·Of course they did.
·4· ·the snow already melted, though.                                ·4· · · · Q.· ·And what do you say that?
·5· · · · · · · · · MR. SULLIVAN:· Okay.                             ·5· · · · A.· ·Any -- any specialist that you bring out, you hire
·6· · · · · · · · · MR. TERRY:· Anyway, I made my objection. I       ·6· ·them for their specialty.· If -- if you're not going to listen
·7· ·think it's misrepresenting the evidence, but that's -- that's   ·7· ·to their advice when they tell you, hey, this is an unsafe
·8· ·okay.                                                           ·8· ·condition, why would you bring them out to begin with.· So they
·9· · · · A.· ·Would -- would you like me to answer, sir?            ·9· ·most definitely had the ability to tell Mortenson you need to
10· · · · Q.· · (By Mr. Sullivan) Please.                            10· ·stop, or you need to fire us.
11· · · · A.· ·So if you'll look at the -- the plates underneath the 11· · · · Q.· ·Do you have a copy of the Mortenson Construction
12· ·existing tower section, the one right next to the one that's    12· ·incident analysis report in front of you?
13· ·sagging, that looks to be a -- a good hand size above the       13· · · · A.· ·Not in front of me, sir.· And I'm not in my office,
14· ·actual water line of that ice, and -- and I'm sure if you took  14· ·if you could put it up, I'd -- I'd be glad to read it with you.
15· ·it straight across it would be pretty level to the other side   15· · · · · · · · · MR. TERRY:· Chris, do you want me to share my
16· ·that's all chunked out with the Class C soil.· So my estimation 16· ·screen?
17· ·is at the very minimum it's at least as deep as that space      17· · · · · · · · · MR. SULLIVAN:· Yeah.· Sure.· Why not if you've
18· ·between the plate to the top of the water line.                 18· ·got it.
19· · · · Q.· ·Did you see in your review of any of the testimony of 19· · · · · · · · · MR. TERRY:· All right.· Let me pull it up.· Hold
20· ·the records in this case that anyone called out my client to    20· ·on.
21· ·try to rectify this condition after it was noticed by Mortenson 21· · · · · · · · · MR. SULLIVAN:· You might as well do something
22· ·and before Georgeff showed up on the site?                      22· ·while you're doing nothing.· That's a line from a movie I
23· · · · · · · · · MR. TERRY:· Relevance.· You can answer.          23· ·think.
24· · · · A.· ·I remember testimony that Mr. Borneke took it upon    24· · · · · · · · · MR. TERRY:· I like it.· I'm going to have to use
25· ·himself weekly to make sure he was following up and making sure 25· ·that.




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·1· · · · · · · · · THE WITNESS:· I missed it.· I missed it.                ·1· ·have, not that he remembered they actually did.· Subject to
·2· · · · · · · · · MR. TERRY:· He said I'm going to have to do             ·2· ·that, you can obviously answer.
·3· ·something while I'm doing nothing.                                     ·3· · · · A.· ·I don't recall the specifics of it, but I remember
·4· · · · · · · · · THE WITNESS:· Oh, there you go.· It sounds like         ·4· ·the phrase icy conditions.
·5· ·my -- my wife talking.                                                 ·5· · · · Q.· · (By Mr. Sullivan) And my question is, you blame
·6· · · · · · · · · MR. TERRY:· There you go.· It should be on the          ·6· ·Borneke for the icy conditions; right?
·7· ·screen.· Can you guys see that?                                        ·7· · · · A.· ·Not for the icy conditions, for the substandard
·8· · · · · · · · · THE WITNESS:· Yes, sir.                                 ·8· ·condition of the lot.
·9· · · · · · · · · MR. TERRY:· Chris, where do you want me to go?          ·9· · · · Q.· ·But if it did its job, there wouldn't be ice; is that
10· · · · · · · · · MR. SULLIVAN:· Let's see.· Well, actually just          10· ·what you're saying?
11· ·the top part.                                                          11· · · · A.· ·No.· If they would -- if it did its job, there'd be
12· · · · · · · · · MR. TERRY:· All right.                                  12· ·runoff, there'd be proper drainage, there'd be some swale cuts
13· · · · (EXHIBIT 2 WAS MARKED FOR IDENTIFICATION.)                        13· ·somewhere that the water would've left the location.
14· · · · Q.· · (By Mr. Sullivan) Okay.· You did review this as part        14· · · · Q.· ·Did you see any -- anywhere in the record that
15· ·of your report; right, sir?                                            15· ·Mortenson had any criticisms of Borneke's work?
16· · · · A.· ·Yes, sir.                                                    16· · · · · · · · · MR. TERRY:· Relevance?
17· · · · Q.· ·And do you know why this was created?                        17· · · · A.· ·Again, I -- I don't recall that they had criticism of
18· · · · A.· ·The -- the employee was injured.                             18· ·their work, but, again, they're hiring a specialist.· If I
19· · · · Q.· ·And this report should have gone to OSHA; right?             19· ·hired a surgeon to operate on the inside of me, I don't know
20· · · · · · · · · MR. TERRY:· I'm going to object to relevance.           20· ·that I'd have criticism of it as long as he got it done.
21· ·You can obviously answer.                                              21· · · · Q.· · (By Mr. Sullivan) Can you -- you know what --
22· · · · A.· ·It depends.· Under OSHA's catastrophic --                    22· · · · · · · · · MR. TERRY:· Chris, do you want me to keep
23· ·catastrophic injury law, if Mr. Georgeff was admitted into the         23· ·sharing my screen?
24· ·hospital past the emergency room and initial analysis, there           24· · · · · · · · · MR. SULLIVAN:· No.· Just stop, it's easier for
25· ·should've been a report.                                               25· ·me to do it.· Sorry.

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·1· · · · Q.· · (By Mr. Sullivan) But he wasn't admitted to the      ·1· · · · · · · · · MR. TERRY:· Okay.
·2· ·hospital was he?· He went to the ER?                            ·2· · · · Q.· · (By Mr. Sullivan) Do you agree with me that this
·3· · · · A.· ·Immediately admitted and did -- never left or came    ·3· ·injury would not have happened if Georgeff was wearing ice
·4· ·back, then there was required to be a report.                   ·4· ·cleats?
·5· · · · Q.· ·Does -- this report says it's an OSHA reportable      ·5· · · · · · · · · MR. TERRY:· Objection; relevance.· They were not
·6· ·injury?                                                         ·6· ·required on this job.
·7· · · · A.· ·Correct.· An OSHA recordable injury could be a        ·7· · · · A.· ·I'm sorry.· No.· I don't agree with that.
·8· ·chipped tooth.                                                  ·8· · · · Q.· · (By Mr. Sullivan) And why is that?
·9· · · · Q.· ·Okay.· And what's OSHA form 301?                      ·9· · · · A.· ·I've actually worn ice cleats and still fallen in --
10· · · · A.· ·The -- the incident -- like this is their version of  10· ·in the ice and snow.
11· ·the 301.                                                        11· · · · Q.· ·The point of them is to reduce the risk of injury
12· · · · Q.· ·And what is a 301?                                    12· ·like this, though; right?
13· · · · A.· ·It's an accident injury report template that OSHA put 13· · · · A.· ·Correct.· And, again, the -- that would be at the
14· ·out -- provides that an employer can use.                       14· ·very bottom of the hierarchy of safety controls.· That would
15· · · · Q.· ·And you saw what the pre-task plan cards are; right?  15· ·say, as the contractor, the excavator, I couldn't eliminate the
16· · · · A.· ·Yes.· I've seen pre-task plan cards, yes.             16· ·hazard, I couldn't substitute, I couldn't engineer any controls
17· · · · Q.· ·And did you see that in this case the testimony of    17· ·out, and the last thing we can do to protect people is make
18· ·the foreman was that it would've said that there was icy        18· ·them wear PPE.· That is the lowest form of safety, and it only
19· ·conditions?                                                     19· ·says everything else is not possible, and that's not the case
20· · · · A.· ·I'm sorry.· Did you want me to read this section?     20· ·in this situation.
21· · · · Q.· ·No.· Did you -- do you recall any of the testimony    21· · · · Q.· ·So does that mean that you don't think Mortenson
22· ·that the pre-task plan cards warned Mortenson employees of icy 22· ·should have mandated ice cleats?
23· ·conditions?                                                     23· · · · · · · · · MR. TERRY:· Same objection; relevance.
24· · · · · · · · · MR. TERRY:· I'm going to object to speculation.  24· ·Mortenson -- Mortenson's not a party to the case.
25· ·I think the superintendent or foreman said that they should     25· · · · A.· ·Go ahead?· I've not seen their hazard assessment




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·1· ·either, whether they required PPE.· If I was doing Mortenson's    ·1· · · · A.· ·Sure -- sorry.· I -- I would -- I would agree to that
·2· ·hazard assessment, I don't think that I would've required the     ·2· ·with -- with some caveat.· Number one, and with you -- when
·3· ·ice cleats if I relied on the contractor to excavate and          ·3· ·you're walking on ice cleats on the muddy dirt, your ice cleats
·4· ·properly maintain the site.                                       ·4· ·become ineffective after a few steps because they're caked up.
·5· · · · · · · · · MR. TERRY:· Chris, you were moving real slow for   ·5· ·Anybody who has played football has kind of -- kind of lived
·6· ·a second.· I thought you were frozen.                             ·6· ·that lifestyle.
·7· · · · · · · · · MR. SULLIVAN:· No.· No.· I'm just going to show    ·7· · · · · · · · · But also in your second bullet point on the same
·8· ·you this myself I.· Believe it's easier.                          ·8· ·document it says, while the project site does offer the use of
·9· · · · Q.· · (By Mr. Sullivan) I'm putting the incident report      ·9· ·ice cleats to further protect team, it's not a policy.· So it's
10· ·back up.· You see that; right?                                    10· ·been my experience that the ice cleats make your feet heavier,
11· · · · A.· ·Yes, sir.· You went fast.                               11· ·put more stress on your knees, and get caked up real quick if
12· · · · Q.· ·And this is a report created by Mortenson's safety --   12· ·you're in -- in muddy, soggy soils.
13· ·I forgot what his name is -- safety --                            13· · · · Q.· ·Well, my question wasn't about ice cleats because, in
14· · · · A.· ·Hogan, I forget -- I don't remember his name.           14· ·fact, he wasn't wearing any ice cleats?
15· · · · Q.· ·That's right.· Kevin Hogan; right?                      15· · · · A.· ·That's correct.· I apologize if I misunderstood you.
16· · · · A.· ·Yes.                                                    16· · · · Q.· · (By Mr. Sullivan) So he's on notice when he shows up
17· · · · Q.· ·Let me show you -- this is their view of what the       17· ·and reads the pre-task plan card and sees the snow that there
18· ·cause was and contributing factors; right?                        18· ·may be ice around?
19· · · · A.· ·Yes.· They've done a five whys, an Ishikawa if you      19· · · · · · · · · MR. TERRY:· Same objections.
20· ·will.                                                             20· · · · A.· ·Yes, sir.· He's -- I -- I fully believe he would have
21· · · · Q.· ·What is Ishikawa?                                       21· ·seen the snow, yes.
22· · · · A.· ·A five whys representation that turns into a            22· · · · Q.· · (By Mr. Sullivan) And anyone who has seen snow
23· ·fishbone, which they have I think on the next page.               23· ·recognizes there could also be ice; correct?
24· · · · Q.· ·Is that part of a standard OSHA investigation?          24· · · · · · · · · MR. TERRY:· I'm going to object to form.
25· · · · A.· ·No.· It's one of the -- one of the -- the               25· ·Speculation.

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·1· ·investigative tools you could use to do an investigation.         ·1· · · · A.· ·If the expectation was for him to be on a -- on a
·2· · · · Q.· ·Okay.· Now, when it says hazard identification, it      ·2· ·flat surface, no.· If the expectation was for him to be on a
·3· ·says the pre-task card for the site highlighted the presence of   ·3· ·surface that had a lot of bad areas then maybe.
·4· ·icy conditions but did not specify locations on the pad.          ·4· · · · Q.· · (By Mr. Sullivan) Are you critical of the foreman at
·5· · · · A.· ·I'm sorry.· You want me to read -- can you read that    ·5· ·all for not stopping his work so that the plaintiff would not
·6· ·one more time?                                                    ·6· ·have been exposed to this ice?
·7· · · · Q.· ·Do you see this line right here?                        ·7· · · · · · · · · MR. TERRY:· Same objection.· He's not a party to
·8· · · · A.· ·Yes.· Yes.                                              ·8· ·the case.
·9· · · · Q.· ·It says it highlighted the presence of icy              ·9· · · · A.· ·No.· I believe that the -- the foreman also as a --
10· ·conditions; do you see that?                                      10· ·as a member of the Mortenson team relied on the specialist to
11· · · · A.· ·Yes.                                                    11· ·make the site safe.
12· · · · Q.· ·And you know that this job site required Mortenson      12· · · · Q.· · (By Mr. Sullivan) You agree with me the foreman
13· ·employees to actually sign the pre-task plan cards at the         13· ·could have stopped the work, though, and coned off the area
14· ·individual sites before they actually walked onto the site;       14· ·once he found ice?
15· ·right?                                                            15· · · · · · · · · MR. TERRY:· Same objection.
16· · · · A.· ·That's common practice, yes.                            16· · · · A.· ·Yeah.· Any -- anybody can have stop-work authority.
17· · · · Q.· ·And we also know from plaintiff's testimony that it     17· ·That's true.
18· ·was snowing when he arrived; correct?                             18· · · · Q.· · (By Mr. Sullivan) And -- and the report actually
19· · · · A.· ·I -- I believe so.· I -- I don't doubt you.· I don't    19· ·talks about it's the foreman's responsibility to ensure that
20· ·doubt you.                                                        20· ·the crew walks the site prior to commencing work and that any
21· · · · Q.· ·Okay.· And so I guess what I'm getting at, do you       21· ·adverse ground conditions must be identified in the pre-task
22· ·have any view of that -- strike that.                             22· ·plan card and marked off by cones; right?
23· · · · · · · · · Wouldn't you agree with me that Georgeff was on    23· · · · · · · · · MR. TERRY:· Same objection.
24· ·notice of potential for snow and ice to walk on?                  24· · · · A.· ·If -- if I'm putting an analysis together, the
25· · · · · · · · · MR. TERRY:· Objection; form.· Speculation.         25· ·foreman was -- they were required to walk the site to look for




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·1· ·hazards, but then again we go back to the site was covered with          ·1· ·there.· I mean, again, that makes it a bowl right immediately
·2· ·a light dusting of snow.· Walking the site, unless they were             ·2· ·adjacent to where these pieces of heavy equipment are sitting.
·3· ·specifically walking where he fell, wouldn't have mattered.              ·3· · · · Q.· ·Okay.· You don't know if standing water was ever
·4· · · · Q.· · (By Mr. Sullivan) Right.· But once they identify the          ·4· ·noticed on this pad site before they began the erection work
·5· ·hazard, they need to put cones there; isn't that true?                   ·5· ·that day; do you?
·6· · · · · · · · · MR. TERRY:· Same objections.· Not a party to the          ·6· · · · A.· ·Noticed by whom, sir?
·7· ·case.                                                                    ·7· · · · Q.· ·Anyone.
·8· · · · A.· ·The -- yes.· They -- they could have a situation               ·8· · · · A.· ·I -- I don't know.· I just can't rectify in my mind
·9· ·where they could have put cones there if they understood that            ·9· ·how a professional like Mr. Borneke would not have caught that,
10· ·that was a deep hole and not just a light covering of ice over           10· ·though.
11· ·a rough area of the terrain.                                             11· · · · Q.· ·And you don't know how long this area was in this
12· · · · Q.· · (By Mr. Sullivan) And your testimony is that even if          12· ·condition either; do you?
13· ·a Borneke employee had reviewed this site while the basement             13· · · · A.· ·I do not.· I know that the ground around it in those
14· ·piece was still laying there, and on top of the cribbing, and            14· ·darker areas is saturated.· So it's Class C soil again, so it
15· ·the ice was not exposed, they should have known that there was           15· ·should have been immediately caught by an excavator.
16· ·a danger underneath the basement piece; is that right?                   16· · · · Q.· ·Even while the ice was covered up; correct?
17· · · · A.· ·Can you rephrase your question please?                         17· · · · A.· ·Well, I mean, if -- if ice covered the whole ground,
18· · · · Q.· ·We know that before they lifted up the piece and took          18· ·I -- I wouldn't -- wouldn't dare say that, you know, they could
19· ·off the cribbing, the ice was not exposed.· So if Mortenson had          19· ·see under the ice, no.
20· ·-- I'm sorry.· Borneke, one of my client's employees, had                20· · · · Q.· ·What I'm saying is while the piece that had covered
21· ·reviewed this site while the pieces were laid there, and you             21· ·this ice was still there, what should my client have done?· Was
22· ·can't see the ice, your testimony is that it should have                 22· ·it too late at that point?· That's what I'm trying to figure
23· ·recognized there was a depressed area and ice underneath there? 23· ·out.
24· · · · A.· ·I may be able to answer that question a little bit             24· · · · A.· ·Oh, no.· They -- it's not too late.· He could have
25· ·better if you bring the picture backup.                                  25· ·barricaded it off, had them move that -- at least one thing,

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·1· · · · Q.· ·Sure.· Do you see it?                                          ·1· ·move that smaller section, which is I -- I think the motor part
·2· · · · A.· ·Yes.· Can you make it bigger?                                  ·2· ·of the -- the turbine; I'm not professing to be turbine expert
·3· · · · Q.· ·Is that big enough?                                            ·3· ·at all, but scrapped that down to good soil, retightened it,
·4· · · · A.· ·A little bit bigger, please.· Okay.· Good.· Do you             ·4· ·re-compacted it, and reset it.· And if he couldn't get around
·5· ·see the cribbing stacked at the top of that section?                     ·5· ·because the piece of equipment was there, if they didn't want
·6· · · · Q.· ·Over here?                                                     ·6· ·him to, then he should have barricaded it off and communicated
·7· · · · A.· ·Yes.                                                           ·7· ·a new plan with Mortenson.· He's the expertise.· He's the
·8· · · · Q.· ·Yes.                                                           ·8· ·specialist.
·9· · · · A.· ·Do you see just past that, immediately in front of             ·9· · · · Q.· ·Okay.· So my question is he should have recognized
10· ·the cribbing and to the left.                                            10· ·there's a piece that was like this right next to this, and
11· · · · Q.· ·You mean like right there?                                     11· ·that's what had covered up this ice?
12· · · · A.· ·Yeah.· You just went over it.· That whole ground               12· · · · A.· ·Correct.
13· ·is -- is wrong.· It's bad.· It's -- it's not right.· And any             13· · · · Q.· ·If he -- if he had gone to the site before they
14· ·excavator whose looking at that site each day, whether there             14· ·decided -- before the erection phase and recognize there was
15· ·was a piece of section laying on the dirt right where the ice            15· ·ice under there, he should have asked them to lift up the piece
16· ·was or not, should have seen that and said, wait a minute,               16· ·so he could address the land; is that what you're saying?
17· ·we've got some stuff we've got to go back and redo and make it           17· · · · · · · · · MR. TERRY:· No, and that -- that
18· ·right.                                                                   18· ·mischaracterizes the testimony.· Objection; mischaracterizes
19· · · · Q.· ·What is it that's wrong with this?                             19· ·testimony.· You can answer, Joe.
20· · · · A.· ·You've got standing water right there, next to that            20· · · · A.· ·He could, at the very minimum, barricaded it off and
21· ·one tank.· That's actually the -- the section that holds the --          21· ·brought them in for a meeting to say what plan can we do to
22· ·the arms.· And then right above the cribbing you've also got             22· ·make sure that this is going to be doing safely.· As an expert
23· ·standing water.· And immediately past the cribbing you have the 23· ·with excavation, I mean, he could clearly see -- I mean, look
24· ·spoil pile which pushes the water back towards the sections of           24· ·at the dirt to the left of this.· This is saturated dirt.
25· ·the turbine, which I just can't get past why that would be               25· ·That's why it's dark.· That's why it's clumpy.· It's Class C




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·1· ·dirt.· He could have said, guys, it's not going to be safe to   ·1· · · · Q.· ·You agree with me that there's nothing in the
·2· ·have your people here; what are you willing to pay for; what    ·2· ·contract that guarantees the soil is going to be able to
·3· ·can we get done, but I can't have your guys coming up on that. ·3· ·actually support changing weather conditions and the weight of
·4· · · · Q.· · (By Mr. Sullivan) And in your mind it makes no       ·4· ·these turbine components?
·5· ·difference if Mortenson had told Borneke we don't want you to   ·5· · · · A.· ·I -- I think that's an excellent point.· That's why
·6· ·come back unless you're asked to come back?                     ·6· ·you hire a specialist because they're the guys that would tell
·7· · · · A.· ·Then Borneke should've walked off the job and         ·7· ·you whether or not they could make it support the weight of
·8· ·reported them.                                                  ·8· ·this equipment.
·9· · · · · · · · · MR. TERRY:· And I'm going to object to           ·9· · · · Q.· ·Okay.
10· ·mischaracterizes the testimony.· No one ever said that.         10· · · · A.· ·I'm sorry.· Excuse me.
11· · · · Q.· · (By Mr. Sullivan) You agree with me that Borneke at  11· · · · Q.· ·You saw the testimony of the foreman from Mortenson;
12· ·the time of this incident did not have an obligation to remove  12· ·right?
13· ·snow and ice generally; did it?                                 13· · · · A.· ·Can you remind me of his name?
14· · · · A.· ·I believe they had an obligation for maintenance,     14· · · · Q.· ·Sears.
15· ·which would have included the removal of snow and ice.          15· · · · A.· ·Sears, yes.· Okay.· Go ahead.
16· · · · Q.· ·Why do you say would have included the snow and ice 16· · · · Q.· ·And he said he had no problem doing the work under
17· ·removal?                                                        17· ·the conditions that were there.· Do you remember that
18· · · · A.· ·So they -- they built the walking/working surface for 18· ·testimony?
19· ·that pad, and under the standard that we read earlier,          19· · · · · · · · · MR. TERRY:· Relevance.
20· ·1910.22.(a)(3), walking/working surfaces are maintained free of 20· · · · A.· ·Well, I -- I remember the -- I remember him
21· ·hazards to include snow and ice.· It's on page 8, last          21· ·testifying.· I don't remember specifically from that testimony,
22· ·sentence.                                                       22· ·but, again, I'd go back to the fact that he's not the
23· · · · Q.· ·So there was no need for them, in your opinion, to    23· ·specialist, and he could have been relying on what the
24· ·have a separate contract for snow and ice removal; huh?         24· ·specialist did.
25· · · · A.· ·Not under the standard, no.                           25· · · · Q.· · (By Mr. Sullivan) What do you contend that Borneke

                                                                     Page 71                                                                        Page 73
·1· · · · Q.· ·Was Borneke correcting employer?                                ·1· ·should've done to make sure that this depressed area did not
·2· · · · A.· ·They should have been.                                          ·2· ·form specifically?
·3· · · · Q.· ·You don't have any information or opinion about                 ·3· · · · A.· ·So -- I'm sorry.· So they should have, at the very
·4· ·whether Georgeff was looking at where he was walking at the               ·4· ·minimum, because we know what this property was, when they did
·5· ·time --                                                                   ·5· ·their grubbing knowing that there's going to be vegetation and
·6· · · · · · · · · MR. TERRY:· I'm going to -- speculation.· It's             ·6· ·root systems and all that kind of stuff and that the soil has
·7· ·clear in his testimony.· The plaintiff can speak for himself.             ·7· ·been churned many, many times, they should've excavated deep to
·8· ·You can answer, Joe.                                                      ·8· ·make sure they got down to solid soil, and then come back and
·9· · · · A.· ·That -- that's what I was going to say.· I couldn't             ·9· ·reset and recompacted and recompacted, and then got their grade
10· ·speculate what was going through his mind at the time.· He                10· ·so that they could have good runoff.· And then for sure not
11· ·could've been thinking about groceries.· I don't know.· Excuse            11· ·pile -- put your spoil pile right around the edge of the site
12· ·me.                                                                       12· ·to turn the water back into the site itself.
13· · · · Q.· · (By Mr. Sullivan) You say in your report on page 23            13· · · · Q.· ·And where should the spoil pile have been put in your
14· ·that this accident occurred because of the complacent attitude            14· ·opinion?
15· ·of Don Borneke Construction.· What was complacent about Don 15· · · · A.· ·Well, they should've easily put the spoil pile --
16· ·Borneke Construction?                                       16· ·number one, if -- if it was our construction site, we would put
17· · · · A.· ·So Mr. Borneke was -- was for all intents and                   17· ·the spoil pile in a single pile, and we would put it
18· ·purposes, auditing the site at least once a week.· And, again,            18· ·significantly away from the site in a lower area.
19· ·I can't rectify in my mind how a professional with that much              19· · · · Q.· ·This assumes that you had authority to actually use
20· ·experience could not see areas that were sagging, areas that              20· ·other land to do that; right?
21· ·eventually held water, and marshy land, as well as having the             21· · · · A.· ·Well, they could have put it in an area that they had
22· ·spoil piles moving around the site creating a bowl.                       22· ·the drainage going to instead of the area around the entire
23· · · · Q.· ·Have you ever physically inspected any wind farm site           23· ·site or around the edge of that site where the water was
24· ·for excavation analysis purposes?                                         24· ·pooling.
25· · · · A.· ·Not a wind farm, but several lay down pipe yards.               25· · · · Q.· ·Are you critical of Mortenson for approving of the




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·1· ·excavation work that Borneke performed?                                   ·1· ·specialist could've done, so, no.
·2· · · · · · · · · MR. TERRY:· Relevance.                                     ·2· · · · Q.· ·Well, they could have stopped and got rid of the ice,
·3· · · · A.· ·Well -- I'm sorry.                                              ·3· ·though; right?· The hazard itself was the ice?
·4· · · · · · · · · MR. TERRY:· Go ahead.· I'm sorry, Joe.                     ·4· · · · A.· ·The testimony that I recall was that they weren't
·5· · · · A.· ·No.· It was my fault.· I'm sorry.· No.· Again, they             ·5· ·allowed to get close to the heavy, expensive components of the
·6· ·-- you know, they -- they had the -- the ability to rely on               ·6· ·turbine, which is why they had the specialists there to begin
·7· ·their specialist, and for them approving the site, I'm sure it            ·7· ·with.
·8· ·was more than anything else, you know you're a highly reputable           ·8· · · · Q.· ·Well, no one was allowed to get close to the heavy,
·9· ·organization, and we approve it because we rely on you to be a            ·9· ·expensive equipments of the turbine?
10· ·good specialist.                                                          10· · · · A.· ·Correct.· So the -- the excavator, the specialist
11· · · · Q.· · (By Mr. Sullivan) If -- hypothetical -- I'm asking a           11· ·involved, should at that point have said, we have to strategize
12· ·hypothetical -- hypothetical here.· If general contractor                 12· ·with you to make a new plan to make our work -- you know, now
13· ·prevents the excavation specialist -- specialists from coming             13· ·that we've got to go back and redo something, make it
14· ·back and performing something he thinks is necessary, you think 14· ·appropriate.
15· ·they should walk off the job; is that right?                              15· · · · Q.· ·And that assumes that they were made aware of it
16· · · · · · · · · MR. TERRY:· Assumes facts not in evidence.                 16· ·after it was exposed in this incident?
17· ·Incomplete hypothetical.· Lacks the foundation for that                   17· · · · A.· ·In -- in my mind, there's no way that an expert like
18· ·hypothetical.· You can answer, Joe.                                       18· ·Mr. Borneke could've not been aware of it.
19· · · · A.· ·So if I understand right if a -- a general contractor           19· · · · Q.· ·Okay.
20· ·hires a specialist, and then the specialist tells them you have           20· · · · · · · · · THE WITNESS:· I apologize.· I don't mean to keep
21· ·to do some -- something, part a, and they refuse, should they             21· ·coughing in your ear, Christy.· I apologize.
22· ·walk off the job, absolutely.                                             22· · · · Q.· · (By Mr. Sullivan) And should -- should Mortenson
23· · · · · · · · · MR. TERRY:· Hey, Chris, do you mind if we take a           23· ·have put ice melt salt on the ice once it identified the ice?
24· ·quick restroom break.                                                     24· · · · · · · · · MR. TERRY:· Relevance.
25· · · · · · · · · MR. SULLIVAN:· Sure.· That's fine.                         25· · · · A.· ·I can't speak to that.· I don't know.

                                                                     Page 75                                                                      Page 77
·1· · · · · · · · · MR. TERRY:· All right.· Perfect.· I just need a            ·1· · · · Q.· · (By Mr. Sullivan) I mean should Mortenson at least
·2· ·couple minutes.                                                           ·2· ·have told Borneke to come look at this icy area and stopped
·3· · · · · · · · · MR. SULLIVAN:· Yeah.                                       ·3· ·work?
·4· · · · · · · · · THE REPORTER:· We are off the record at 2:41               ·4· · · · · · · · · MR. TERRY:· Same objection.· Not a party to the
·5· ·p.m.                                                                      ·5· ·case.
·6· · · · (The deposition was in recess from 2:41 to 2:47.)                    ·6· · · · A.· ·I believe they trusted that Mr. Borneke doing the
·7· · · · · · · · · THE REPORTER:· All right.· We are back on the              ·7· ·drive-bys once a week with having them look at those sites.
·8· ·record at 2:47 p.m.                                                       ·8· · · · Q.· · (By Mr. Sullivan) But doesn't -- don't -- don't they
·9· · · · Q.· · (By Mr. Sullivan) Mr. Barnes, I wanted to ask you a            ·9· ·have a duty once they identify a hazard to stop work before the
10· ·bit about Mortenson here.· Do you -- I can't remember if you              10· ·hazard is -- I mean, until the hazard is corrected?
11· ·specifically said this.· Do you have an opinion on whether                11· · · · · · · · · MR. TERRY:· Same objection.
12· ·Mortenson committed any safety violation?                                 12· · · · A.· ·That makes me -- I'm sorry.· That makes me speculate
13· · · · · · · · · MR. TERRY:· Relevance.                                     13· ·on what they knew and how much they knew based on their
14· · · · A.· ·If they committed any safety violation, I want -- I             14· ·ability.
15· ·want to think through it thoroughly.· I -- I just don't think             15· · · · Q.· · (By Mr. Sullivan) Well, you saw testimony Leonard
16· ·they did as far as their role in -- in -- in building a wind              16· ·Brayne.
17· ·turbine, obviously I don't have the information on that.· They            17· · · · A.· ·Remind me of Mr. Brayne.
18· ·did an appropriate investigation.· They did an acknowledgment 18· · · · · · · · · MR. TERRY:· I think it was Leonard Brayne.
19· ·that there could have been some PPE, but it was not required. 19· · · · · · · · · MR. SULLIVAN:· Well, however you say it, Brayne,
20· ·I -- I don't at this point, no.                                           20· ·B-R-A-Y-N-E.
21· · · · Q.· · (By Mr. Sullivan) Okay.· Did Mortenson have a duty             21· · · · Q.· · (By Mr. Sullivan) He's one of the people whose
22· ·to correct the hazard itself when it identified it?                       22· ·depositions you read; right?
23· · · · A.· ·Well, they -- they couldn't correct because they                23· · · · A.· ·Correct.
24· ·weren't the specialists.· They wouldn't have the ability to --            24· · · · Q.· ·He said that the ice was there exposed to the crew
25· ·to do the correction themselves at the level of what a                    25· ·for 30 minutes, maybe an hour.· Before that no one had seen the




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·1· ·ice.· So --                                                             ·1· · · · · · · · · MR. TERRY:· I'll object to mischaracterizes the
·2· · · · A.· ·Correct.                                                      ·2· ·evidence.· He said they realized the ice -- they slipped on it,
·3· · · · Q.· ·And what -- and the only people on the site at that           ·3· ·and it was covered with a thin layer of snow before Nick came.
·4· ·time were Mortenson employees.· So didn't Mortenson at least            ·4· ·Come on, Chris.· You can answer if you remember that made up
·5· ·have a duty to stop work and call Borneke and discuss how to            ·5· ·testimony.
·6· ·rectify this hazard?                                                    ·6· · · · A.· ·I -- I don't -- I don't recall specifically, if you
·7· · · · A.· ·So we're putting the heart -- the cart before the             ·7· ·could rephrase your question.· I apologize.
·8· ·horse.· There would've been this sagging place for ice to be            ·8· · · · Q.· · (By Mr. Sullivan) The foreman testified he had
·9· ·had this site been prepared properly.· So if they had not seen          ·9· ·walked on that ice himself before Georgeff showed up and --
10· ·the site with the sagging and recognize that was an issue of            10· · · · · · · · · MR. TERRY:· Same objection.
11· ·unstable sub-foundation then, no.· The people who would                 11· · · · Q.· · (By Mr. Sullivan) -- the crew did.· He testified to
12· ·recognize that would've been specialist who knows what to look 12· ·that.
13· ·at when they see a site that's got substandard foundation      13· · · · · · · · · MR. TERRY:· Same objection.
14· ·underneath the top that's sagging.· So, no, Mr. Borneke would           14· · · · Q.· · (By Mr. Sullivan) So shouldn't he have stopped work
15· ·have caught that.· The guys from Mortenson would have said,             15· ·before Georgeff showed up knowing that?
16· ·hey, the excavator has been out here.· We're good to go.                16· · · · · · · · · MR. TERRY:· Same objection.
17· · · · · · · · · Now, if it pooled and leveled off because there          17· · · · Q.· · (By Mr. Sullivan) Knowing that?
18· ·was water and ice, who is to say they didn't think that Borneke         18· · · · A.· ·So this is probably outside of my zone of specialty,
19· ·had already been out there and made some repairs.· I mean,              19· ·but I have an opinion I will give you.· I believe that
20· ·we're -- we're speculating on what the specialist did from what         20· ·Mr. Georgeff was there early in the morning, and there was some
21· ·the guys who hired the specialist knew, and I just don't really         21· ·dusting of snow.· The foreman was there when there was light,
22· ·think I can comment on that very well.                                  22· ·and it was probably solid.· So I'm -- I'm going to speculate
23· · · · Q.· ·But anyone would see a sheet of ice and recognize             23· ·that he walked across it because it was solid, and he saw it,
24· ·that as a hazard; right?                                                24· ·as I would've as a kid in Missouri, and then, again,
25· · · · A.· ·I -- I wouldn't argue with you.· I'm a Texas boy. I           25· ·Mr. Georgeff came there and slid on what was covered with snow.

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·1· ·see ice, I'm going to think it's a hazard.· When I was a kid in ·1· ·We're -- we're trying to compare two guys, with two different
·2· ·Missouri, I'd have probably slid across it.                     ·2· ·views, from two different vantage points, at two different
·3· · · · Q.· ·So if we agree that the ice itself -- the sheet of    ·3· ·times of the day.· So it's hard to put them together and say,
·4· ·ice is a hazard, shouldn't Mortenson have done something rather ·4· ·yeah, one is right and one is wrong.
·5· ·than just keep working?                                         ·5· · · · Q.· ·And you saw Georgeff's testimony that it had been
·6· · · · · · · · · MR. TERRY:· Relevance.· Same objections.         ·6· ·snowing all morning; right?
·7· · · · A.· ·I believe they did something.· I believe they         ·7· · · · A.· ·Yes, sir.· I don't remember specifically exactly what
·8· ·relied -- relied on their specialist to make it right since     ·8· ·he said, but that sounds familiar.
·9· ·they were in charge of maintenance.                             ·9· · · · Q.· ·So in the hierarchy of controls it doesn't mean
10· · · · Q.· · (By Mr. Sullivan) But they didn't do anything once   10· ·that -- elimination is the best, but these other areas,
11· ·they noticed -- noticed the ice.· They just kept working.· And  11· ·substitution, engineering controls, and PPE, all of those have
12· ·then Borneke showed up to inspect or check people's cards or    12· ·to work together to prevent injury; don't they?
13· ·whatever he was doing, and he slipped?                          13· · · · A.· ·No, sir.· That's not how the hierarchy works.· It's a
14· · · · · · · · · MR. TERRY:· Same objection.· Asked and answered. 14· ·top-down system.· If you can't eliminate the problem, then you
15· · · · A.· ·I -- I believe we're trying to make a speculation     15· ·move down the ladder, till you get to -- PPE is the -- the last
16· ·that they were working on top of the ice right there at that    16· ·option that you have.· And if we're saying that this foreman
17· ·one spot.· I think they were working on the site.· I don't know 17· ·was okay with this ice, he walked on it, even though I guess
18· ·that I have any information that they were all traversing       18· ·there's distribution -- you guys are disputing between
19· ·across this ice, doing their job every day.· All that we do     19· ·yourselves, we're trying to assume that this was the only spot
20· ·know is that Mr. Georgeff went across the ice that was covered  20· ·on location that had ice, and that's not true.· We looked at
21· ·in snow that morning.                                           21· ·your picture a couple of times, and we see standing water that
22· · · · Q.· · (By Mr. Sullivan) Right.· But the foreman, if you    22· ·I have no doubt was frozen above the cribbing and next to the
23· ·look at his testimony, he said he was walking on that ice that  23· ·other components and off to the side, and it looks like the
24· ·whole morning.· His whole crew was.· They didn't have a         24· ·spoil pile is only about a truck and a half to two trucks away
25· ·problem.· They were continuing with their work.                 25· ·from the -- the tops of these pieces of equipment.· So it's




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·1· ·hard to come back and say that -- that the hierarchy was all of          ·1· ·clear?
·2· ·these things when elimination was appropriate.                           ·2· · · · A.· ·He -- I'm sorry.· He had a specialist that should've
·3· · · · Q.· ·So the way it works in your -- your opinion is that            ·3· ·been there to take care of the job, and he had already been
·4· ·since elimination was possible by not creating the condition in          ·4· ·there.· So if I understand correctly, when Mr. Georgeff fell,
·5· ·the first place; right?                                                  ·5· ·not only did he fall, he was there for some time before he was
·6· · · · A.· ·That's -- that's one option.· It was also possible by          ·6· ·actually rescued off that ice.· So cordoning off the area would
·7· ·remediating the condition to elimination.· Eradication to                ·7· ·have probably involved cordoning off the entire section, which,
·8· ·elimination was possible as well as doing it right the first             ·8· ·again, would've required Borneke to get it right because they
·9· ·time.                                                                    ·9· ·didn't do it right the first time.
10· · · · Q.· ·So because it could have either been eliminated or             10· · · · Q.· ·And in your view, it was possible to excavate this
11· ·remediated, there was no need to even consider PPE; is that              11· ·with drainage such that water never would've pooled in this
12· ·right?                                                                   12· ·area where he fell; is that right?
13· · · · · · · · · MR. TERRY:· Argumentative.                                13· · · · A.· ·Well, I -- I never use the word never, but, yeah,
14· · · · A.· ·I don't know that there's -- forgive me.· I don't              14· ·they could've adequately provide the right kind of swale across
15· ·know that there's any PPE that would have protected this type            15· ·the sides and well-positioned their spoil piles as well as got
16· ·of fall.· In fact, if I remember correctly the testimony of              16· ·their grade and compaction right.
17· ·Mr. Georgeff, he stopped walking when he was realizing he was            17· · · · Q.· ·Did you see anything specifically in the contract
18· ·slipping, and when he turned to take a step, one foot stayed             18· ·that they breached in your opinion?· Are you offering any
19· ·planted.· So if he had been wearing cleats, that might have              19· ·opinions about breach of contract, first of all?
20· ·made the injury even worse.· And that's just me speaking as a            20· · · · A.· ·The contract is outside of my scope, sir.
21· ·paramedic.· I -- I'm not speaking as a safety person.                    21· · · · Q.· ·So you're not offering opinions about breach of
22· · · · Q.· · (By Mr. Sullivan) But is your opinion that PPE                22· ·contract; correct?
23· ·wasn't necessary because, in your view, there should have been 23· · · · A.· ·No.· I'm -- I'm not an attorney.
24· ·elimination?                                                             24· · · · Q.· ·And so on -- as a result of this incident, you
25· · · · A.· ·Yeah.· If they -- if they didn't have the issue to             25· ·believe Borneke should've been cited by OSHA?

                                                                    Page 83                                                                   Page 85
·1· ·start with, they would've never have even been considering a             ·1· · · · A.· ·I believe that they're open to citation by OSHA, yes.
·2· ·sag, full of ice and full of water, or any -- you know, any              ·2· · · · Q.· ·And specifically what section should they be cited
·3· ·discussion about ice cleats.                                             ·3· ·with?
·4· · · · Q.· ·You agree with me that Borneke had no control over             ·4· · · · A.· ·Failure of the excavation contractor, so they would
·5· ·the work Mortenson did?                                                  ·5· ·have been cited under subpart P.
·6· · · · A.· ·I -- I think Mortenson was erecting the tower, and             ·6· · · · Q.· ·And explain that please.· Subpart P of what, just so
·7· ·Borneke had nothing to do with that, if that's what you're               ·7· ·I have it?· And point that --
·8· ·asking.                                                                  ·8· · · · A.· ·19 -- 29 CFR 1926 subpart P, the excavation standard.
·9· · · · Q.· ·Do you recall seeing any evidence that Mortenson had           ·9· · · · · · · · · MR. TERRY:· And I'm sorry.· Just to be clear, I
10· ·asked Borneke to address this specific ice?                              10· ·think, Chris, you said B.· Joe, you said be P.
11· · · · · · · · · MR. TERRY:· Same objection.                               11· · · · · · · · · THE WITNESS:· P as in Paul.
12· · · · A.· ·The specific one spot of ice or the total --                   12· · · · · · · · · MR. TERRY:· P as in Paul, okay.
13· · · · Q.· · (By Mr. Sullivan) The one spot where the injury               13· · · · Q.· · (By Mr. Sullivan) Is that on page 8 of your report?
14· ·occurred.                                                                14· · · · A.· ·I don't believe so.
15· · · · A.· ·Okay.· No.· No.· I don't.· I -- I think if they had,           15· · · · Q.· ·Where do you see that in your report, that specific
16· ·they'd have probably talked to them about the other areas as             16· ·section?
17· ·well.                                                                    17· · · · A.· ·Well, the actual standard for -- for excavation is
18· · · · Q.· ·So do you disagree with the conclusion in the                  18· ·subpart P.
19· ·Mortenson Construction incident analysis that says the                   19· · · · Q.· ·Did you --
20· ·Mortenson foreman should have coned off the area that he                 20· · · · A.· ·If you want to go just off the report, 1926.651(h)(3)
21· ·identifies as a hazard?                                                  21· ·is on page 8.
22· · · · · · · · · MR. TERRY:· Same objection.                               22· · · · Q.· ·Uh-huh.
23· · · · A.· ·That's a rearview mirror view, and, yes, I disagree            23· · · · A.· ·And it deals with the appropriate drainage.· If
24· ·with that.                                                               24· ·excavation work interrupts the natural drainage of surface
25· · · · Q.· · (By Mr. Sullivan) Because of what, just so I'm                25· ·water, diversion ditches, dikes, or other suitable means shall




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·1· ·be used to prevent water -- surface water from entering the             ·1· · · · A.· ·I -- I haven't seen any documentation that they
·2· ·excavation and to provide adequate drainage of the area                 ·2· ·actually made a formal report to OSHA either.
·3· ·adjacent to the excavations.· So we know at the top of that             ·3· · · · Q.· · (By Mr. Sullivan) And you don't know if Mortenson
·4· ·section there's standing water, and there's no way for it to            ·4· ·made a report to OSHA either; do you?
·5· ·escape past the spoil pile, so they would've been cited for             ·5· · · · · · · · · MR. TERRY:· Asked and answered.· Relevance.
·6· ·improper excavation.                                                    ·6· · · · A.· ·I -- I don't recall.
·7· · · · Q.· ·This is 1926.651(h)(3) that you just read?                    ·7· · · · Q.· · (By Mr. Sullivan) And what is it you contend that
·8· · · · A.· ·Correct.                                                      ·8· ·Borneke should've done to mitigate if it was called back once
·9· · · · Q.· ·And how would -- what does -- what does subpart P             ·9· ·the ice was observed?
10· ·say, or is this part of subpart P?                                      10· · · · · · · · · MR. TERRY:· Incomplete hypothetical.· You can
11· · · · A.· ·That is part of subpart P, Sir.                               11· ·answer.
12· · · · Q.· ·And what is the citation for subpart P?· Is it --             12· · · · A.· ·They should have had a strategy meeting after the
13· · · · A.· ·They would have used the drainage.· They would have           13· ·area was controlled.
14· ·used 65 -- and you're having me speak for OSHA at this point.           14· · · · Q.· · (By Mr. Sullivan) Controlled meaning work stopped
15· ·Among other things, they would've cited 651(h)(3) because the 15· ·and coned off.
16· ·drainage was to the front of a spoil pile right back into the           16· · · · A.· ·However -- however, they determined was the best way
17· ·section of the excavation.· In fact, if I could read from --            17· ·to control the area.· I don't think it was specific to just the
18· ·from subpart P, that if there was a --                                  18· ·fall.· I think they had more than just that to be concerned
19· · · · Q.· ·Where are you reading from?                                   19· ·with, that one area of the fall.· We can see in your picture
20· · · · A.· ·I -- I'm reading from 1926 subpart P excavations that         20· ·that above the fall in the spoil pile there was all -- all
21· ·I'm reading from.                                                       21· ·other kinds of symptoms of a bad underlay.
22· · · · Q.· ·Is that in your report?                                       22· · · · Q.· ·So in your view, there should have been more injuries
23· · · · A.· ·No.· This is the whole standard for -- for                    23· ·because the -- the whole area was unsafe; is that right?
24· ·excavations.                                                            24· · · · · · · · · MR. TERRY:· Objection; argumentative.
25· · · · Q.· ·Okay.· And what exactly --                                    25· ·Mischaracterizes his report and testimony.

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·1· · · · A.· ·Subpart P.                                                    ·1· · · · A.· ·There would be no way for me to answer that.
·2· · · · Q.· ·What's -- is this part of the CFR?                            ·2· · · · Q.· · (By Mr. Sullivan) You agree with me that Georgeff
·3· · · · A.· ·Yes.· Yes.· Definitely.                                       ·3· ·has a duty to watch out for ice and watch where he's going to
·4· · · · Q.· ·And what is the full cite?                                    ·4· ·make sure he doesn't slip; right?
·5· · · · A.· ·1926, subpart P, subpart title:· Excavations.                 ·5· · · · A.· ·Are you asking me if I believe this gentleman should
·6· · · · Q.· ·Why didn't you put that in your report?                       ·6· ·have walked safely across the yard?
·7· · · · · · · · · MR. TERRY:· Argumentative.· Mischaracterizes the         ·7· · · · Q.· ·No.· I -- I'm asking the question I asked.
·8· ·report.· He put the general quote so to speak, and then not the         ·8· · · · A.· ·I'm sorry.· I don't understand your question.
·9· ·subchapter.                                                             ·9· · · · · · · · · MR. SULLIVAN:· Could you read it back?· I don't
10· · · · Q.· · (By Mr. Sullivan) Go ahead, sir.                             10· ·remember the exact wording.· Could you please read it back?
11· · · · A.· ·Yes.· So under C, requirements, there's two parts,            11· · · · (Requested portion of the record read back.)
12· ·number 4 and number 5.· Number 4, in a layered system that's 12· · · · · · · · · THE REPORTER:· Did you -- did you guys hear me?
13· ·where you have different stratas of dirt and then that kind of          13· · · · · · · · · MR. SULLIVAN:· Yes.
14· ·thing.· The system --                                                   14· · · · · · · · · MR. TERRY:· We did, yeah.· Thank you.
15· · · · · · · · · MR. TERRY:· Hold on.· Hold on, Joe.· Joe, his            15· · · · A.· ·I would -- I would agree that he has an -- an
16· ·question was why wasn't this specific thing cited in your               16· ·obligation -- I don't know if I would call it a duty.· I think
17· ·report.                                                                 17· ·he has a -- a duty to himself to -- to walk safely.
18· · · · A.· ·Oh, I'm sorry.· As you said, this is more of a book,          18· · · · Q.· · (By Mr. Sullivan) Okay.· But just so we're clear,
19· ·and what's in the report is more just the section, the one              19· ·you place 100 percent of the blame on Borneke for the injury in
20· ·standard that would -- that would be appropriate for this               20· ·this case, and 0 percent on any other party; is that true?
21· ·citation.                                                               21· · · · A.· ·I believe that if they had done it right the first
22· · · · Q.· · (By Mr. Sullivan) And, of course, you know Borneke           22· ·time, we wouldn't be here for the injury at all.
23· ·was never cited by OSHA; correct?                                       23· · · · Q.· ·So what does that mean in relation to my question?
24· · · · A.· ·Yes, sir.                                                     24· ·100 percent of the blame on Borneke; right?
25· · · · · · · · · MR. TERRY:· Relevance.· Inadmissible.                    25· · · · A.· ·Yes.· And I don't fault Mr. Georgeff for walking




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·1· ·across the yard and falling.· I fault the specialist who had              ·1· · · · A.· ·Well, you're asking me -- I'm sorry.· You're asking
·2· ·the ability to build it right the first time and to catch any             ·2· ·me to speculate what these guys were thinking, and I can't do
·3· ·issues as symptoms and make corrections before somebody fell. ·3· ·that.
·4· · · · Q.· ·And you don't believe Mortenson has any                         ·4· · · · Q.· · (By Mr. Sullivan) Well, but you're the expert on
·5· ·responsibility whatsoever?                                                ·5· ·safety, though, and so if the foreman sees ice and recognizes
·6· · · · A.· ·Mortenson wasn't the specialist hired to design --              ·6· ·that ice is a hazard, he should eliminate it before work
·7· ·put this together.· It was Borneke.                                       ·7· ·continues?
·8· · · · Q.· ·A -- an exposing employer cannot just rely on the               ·8· · · · · · · · · MR. TERRY:· Asked and answered multiple times.
·9· ·employer that's allegedly created the hazard and continue to              ·9· · · · A.· ·Then again, we're putting two different times of day
10· ·expose its own employees to the hazard; can it?                           10· ·together with two different situations.· I believe Mr. Georgeff
11· · · · · · · · · MR. TERRY:· Form.· Same objections.                        11· ·was there as it -- the light -- before the light was coming up
12· ·Argumentative.                                                            12· ·with a dusting of snow.· So his vantage point of the ice
13· · · · A.· ·Were that true any employee in the history of OSHA              13· ·would've been different than the foreman who is working during
14· ·that ever got electrocuted because they -- they believed that             14· ·the day with crews and solid ice.
15· ·the piece of equipment they were getting ready to touch was               15· · · · Q.· · (By Mr. Sullivan) You agree with me that Borneke did
16· ·safe would have been their own fault.                                     16· ·not have the authority to move any pieces around to correct any
17· · · · Q.· · (By Mr. Sullivan) Well, but Mortenson was the                  17· ·conditions underneath them; right?
18· ·exposing employer in this situation; right?                               18· · · · A.· ·I would agree that they could not move the sections.
19· · · · · · · · · MR. TERRY:· Same objections.                               19· ·I mean, not that I'm aware of.
20· · · · A.· ·Any employer -- I'm sorry.· Any employer when there's           20· · · · Q.· ·And would you consider Mortenson to be an entity that
21· ·a hazardous condition will be called the exposing employer.               21· ·created the condition by placing the components on the ground?
22· ·That doesn't mean that they're at fault.· That means that their           22· · · · · · · · · MR. TERRY:· Same objections.
23· ·employees were there.                                                     23· · · · A.· ·Oh, absolutely not.· They -- they didn't build the
24· · · · Q.· · (By Mr. Sullivan) And any exposing employer has a              24· ·site.· They didn't prep the site to hold the weight.· They told
25· ·duty to eliminate the hazard; right?                                      25· ·the excavation expert, the specialist in excavation, this is

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·1· · · · · · · · · MR. TERRY:· Same objection.                                ·1· ·what we're doing.· Prepare the site so it's going to hold this.
·2· · · · A.· ·If they recognize -- I'm sorry.· I'm sorry, Charles.            ·2· ·So to say that they were the creating employer implies that
·3· ·If they recognize it as a true hazard and -- and not a                    ·3· ·they built the location, and they didn't.· They put the
·4· ·condition that they trusted that was safe, then I would agree             ·4· ·components on it after it was built in my understanding.
·5· ·that the exposing employer could say something.                           ·5· · · · Q.· ·You wrote in your report that based on my research
·6· · · · Q.· · (By Mr. Sullivan) And not just say something, but              ·6· ·and experience, the weather conditions for the area at the time
·7· ·eliminate the hazard; right?                                              ·7· ·of the work were mild.· Where -- where do you derive that from?
·8· · · · · · · · · MR. TERRY:· Same objection.                                ·8· · · · A.· ·Yes, sir.· You asked me that a little earlier.· We
·9· · · · A.· ·No.· You -- you're mischaracterizing the four jobs.             ·9· ·did -- or I did research to see what the rain was like in that
10· ·That would be the correct employer that would eliminate the               10· ·area, and it wasn't anything like a deluge had happened.· It
11· ·hazard.                                                                   11· ·wasn't a typhoon coming through there.· It was -- it was more
12· · · · Q.· · (By Mr. Sullivan) Would you agree that if the                  12· ·or less what was expected for the time of year that they were
13· ·exposing employer has authority to correct the hazard it must             13· ·doing this project.
14· ·do so?                                                                    14· · · · Q.· ·What do you mean by mild, though?· I mean, I'd
15· · · · · · · · · MR. TERRY:· Same objection.                                15· ·consider mild to be warm such that ice wouldn't form.· What do
16· · · · A.· ·I would agree if they have the special --                       16· ·you mean by mild?
17· ·specialization and skill that they could recognize it to -- as            17· · · · A.· ·I'm sorry.
18· ·the same degree as the specialist who was hired to -- to put it           18· · · · · · · · · MR. TERRY:· Asked and answered.· Asked and
19· ·together, then yes.· But I don't agree that the average worker            19· ·answered.
20· ·and even the foreman out there on that location has the special 20· · · · A.· ·By -- I mean by -- by mild is there was no excessive
21· ·skills that Mr. Borneke has.                                              21· ·rainfall to the degree that the area would have been so
22· · · · Q.· · (By Mr. Sullivan) But they would have enough to                22· ·situated that they couldn't do their work.· The expert in
23· ·recognize that ice should be eliminated before they keep                  23· ·excavation would definitely take into consideration when
24· ·working, though; don't thing?                                             24· ·they're putting their project together if there is going to be
25· · · · · · · · · MR. TERRY:· Same objection.                                25· ·excessive amounts of water or rain that they make corrections




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·1· ·towards the area so that they don't have these issues.                   ·1· ·that what you mean by that?
·2· · · · Q.· · (By Mr. Sullivan) You've not inspected the soil               ·2· · · · A.· ·So you had the head of the company looking at his own
·3· ·obviously at the area; correct?                                          ·3· ·excavation, undoubtedly, in my mind, saw that there were
·4· · · · A.· ·No, sir.· That wouldn't be possible.                           ·4· ·situations that were improper, had smaller equipment because
·5· · · · Q.· ·When's the last time you were in Illinois?                     ·5· ·nobody was supposed to get the big equipment next to those
·6· · · · A.· ·This is -- this is what?· This is October?                     ·6· ·heave, expensive components.· But no one said anything about
·7· · · · · · · · · MR. TERRY:· Objection.                                    ·7· ·the smaller skid steer style pieces of equipment that could
·8· · · · A.· ·I'm sorry.· I was there in September.                          ·8· ·have, if nothing else, put a load of -- of gravel or something
·9· · · · Q.· · (By Mr. Sullivan) What were you here for in                   ·9· ·right there to -- to try to mitigate that hole that was forming
10· ·September?                                                               10· ·until they could get that piece moved and -- and redo that
11· · · · A.· ·I was the guest speaker at a risk management                   11· ·whole site down to the -- to the proper soil.
12· ·conference for Zurich North American.                                    12· · · · Q.· ·Well, you saw in the report created by Mortenson that
13· · · · Q.· ·Is that in Schaumburg at Zurich headquarters?                  13· ·the area was too close to the pieces; right?
14· · · · A.· ·Yes, sir.                                                      14· · · · A.· ·For the large pieces of equipment to get to I believe
15· · · · Q.· ·Have you ever been employed by Zurich?                         15· ·it said.
16· · · · A.· ·No, sir.                                                       16· · · · Q.· ·And so it's not an excuse that Borneke created?
17· · · · · · · · · MR. TERRY:· Chris, I think that's a better                17· · · · A.· ·No.· He's the specialties.· He's the one that
18· ·question for you.· Bad joke.                                             18· ·should've recommend -- made that recommendation.· I know we
19· · · · · · · · · MR. SULLIVAN:· That was a bad joke.· I'm going            19· ·can't take the bulldozer up there, but I've got a skid steer
20· ·to pretend I didn't hear it.                                             20· ·and a dump truck full of dirt.· I can saturate that, you know,
21· · · · Q.· · (By Mr. Sullivan) You write that Don Borneke's                21· ·area with good dirt or soil and then compact it down to remove
22· ·conduct was inexcusable; right?                                          22· ·the water from the pore spaces.· He had that option available
23· · · · A.· ·What page are you on, sir?                                     23· ·to him with a small piece of equipment, and he had the
24· · · · Q.· ·Page 12.                                                       24· ·equipment, and he had the skill, yet it wasn't done.· So that's
25· · · · A.· ·I wrote what?                                                  25· ·an excuse that's inexcusable for his specialty.

                                                                    Page 95                                                                    Page 97
·1· · · · Q.· ·You write, the claim of Don Borneke Construction that          ·1· · · · Q.· ·And so if Borneke says when we reviewed the site, it
·2· ·a bulldozer would not fit close enough to the section was an             ·2· ·looked fine, it's your testimony that they must've seen
·3· ·excuse.· An excuse thus inexcusable.· What do you mean by that? ·3· ·situations that were improper, and if they say it was not then
·4· · · · A.· ·I'm still trying find you, sir.· Where -- exactly              ·4· ·they were incompetent or -- or what?
·5· ·where are you?· Page 12, what part?                                      ·5· · · · A.· ·They would be inept or dishonest, yes.
·6· · · · Q.· ·The bottom, the end of the paragraph, it should be             ·6· · · · Q.· ·Have you ever heard of Borneke before this case?
·7· ·noted --                                                                 ·7· · · · A.· ·No, sir.· I'm -- I'm not up north.
·8· · · · A.· ·What page?                                                     ·8· · · · Q.· ·Every employer has a duty of safety to its own
·9· · · · · · · · · MR. TERRY:· Five -- five or six lines up from             ·9· ·employees; right?
10· ·the bottom of page 12.                                                   10· · · · A.· ·You're -- you're referring to USC 654.581, the
11· · · · A.· ·Okay.· Oh, it should be noted that -- oh, no.· That's          11· ·general duty clause?
12· ·his website.                                                             12· · · · · · · · · MR. TERRY:· Form.
13· · · · · · · · · MR. TERRY:· No, Joe, you were in the right spot.          13· · · · Q.· · (By Mr. Sullivan) Correct.
14· ·The bottom of that paragraph, the sentence starts the claim of           14· · · · A.· ·And when you tie that to CPL 02-124, and OSHA
15· ·DBC.                                                                     15· ·identifies what employers are what identification, then that
16· · · · A.· ·Oh, the claim of DBC was an excuse.· An excuse thus            16· ·crosses the lines of who is called employee and who they have
17· ·inexcusable in that DBC is an excavation contractor with access          17· ·to protect.
18· ·to smaller skid steers and the like readily available, no                18· · · · Q.· ·So in your scenario then, Georgeff was Borneke's
19· ·doubt, on the very location.· I think it answers the question            19· ·employee?
20· ·in the last part of the sentence in that they had smaller                20· · · · A.· ·No, but they were required to protect him with their
21· ·pieces of equipment that they could've used to make the area             21· ·own work.
22· ·more safe in the space that they had, a situation that they              22· · · · Q.· ·And just so I'm clear about notice, if Borneke
23· ·created.                                                                 23· ·testifies they didn't have notice of this condition, you say
24· · · · Q.· · (By Mr. Sullivan) Was there anything inexcusable              24· ·that's impossible?
25· ·about their conduct?· Is that -- that's what I'm wondering.· Is          25· · · · A.· ·No.· I say in my mind I don't see how that's possible




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·1· ·with the expertise of Mr. Borneke.                                          ·1· ·these -- these locations.· However, in this situation it looks
·2· · · · Q.· ·What courses do you teach at Texas A&M specifically?              ·2· ·to me that they didn't put the grubbing correctly.· They didn't
·3· · · · A.· ·They're on the -- the resume.· I teach OSHA 500 and               ·3· ·anticipate the water.· And I don't see that the water was that
·4· ·501 that we talked about earlier to become an OSHA outreach                 ·4· ·excessive to begin with.· My research shows it was -- it was
·5· ·instructor for construction.· I teach the recertification class             ·5· ·kind of normal for the area.· So that points back to they
·6· ·for those who have been teaching OSHA themselves.· I teach the              ·6· ·didn't get it right to start with.
·7· ·general industry train the trainer courses, accident                        ·7· · · · Q.· ·What weather records did you look at specifically to
·8· ·investigation, machine guarding, permit required, confined                  ·8· ·find that it was mild and normal for the area?
·9· ·space, fall protection, H2S development, and then I teach                   ·9· · · · A.· ·I -- I think we may have talked about that.· I did
10· ·excavation -- is that on there?· I teach excavation, safety                 10· ·research.· I searched the area.· And, again, I forget the
11· ·management systems, accident investigation, OSHA recordkeeping. 11· ·website that I used, but I searched the area online to find out
12· · · · Q.· ·Okay.· What is the excavation that you teach in your              12· ·what the weather was like for that timeline.
13· ·course?                                                                     13· · · · Q.· ·And so if a Borneke employee or any witness says
14· · · · A.· ·I teach the course for excavation.· How to look at                14· ·there was a deluge in the week beforehand, you would disagree
15· ·the soil samples.· How to look at the site and see if it's                  15· ·with that?
16· ·going to have problems that you can forecast, sagging,                      16· · · · A.· ·So that -- I wouldn't challenge his integrity, but I
17· ·fissures, pooling, pregnant sides, pregnant walls, bubbling up              17· ·would say that if there was a proper grade and drainage, a
18· ·and seeping, all the -- all the things that are symptoms of                 18· ·deluge in itself, unless it was massive, would've drained off
19· ·a -- of an excavation that could be a dangerous area or was                 19· ·appropriately.· But with the spoil pile right there at the head
20· ·improperly prepared.                                                        20· ·of the -- of the system, it wasn't going anywhere.· It was
21· · · · Q.· ·And what should Borneke have done to compact it so                21· ·going to sit there and make a bowl.
22· ·that I could handle the changing weather conditions and the                 22· · · · Q.· ·Any other criticisms that you haven't already
23· ·weight of these turbines?                                                   23· ·mentioned?
24· · · · A.· ·So we know that compaction is merely moving whatever              24· · · · A.· ·I don't believe so, sir.
25· ·is sitting in the poor spaces.· It would be that water.· It                 25· · · · · · · · · MR. TERRY:· Other than what's in his report

                                                                       Page 99                                                                       Page 101
·1· ·would be that air.· So if we know that there's water coming, or             ·1· ·obviously too; right?
·2· ·we know we're having water, then compaction -- and -- and,                  ·2· · · · A.· ·That's correct.· Whatever the -- the opinions are in
·3· ·again, we're -- we're saying that -- that it was put together   ·3· ·the report.
·4· ·appropriately to begin -- then we know that more water requires ·4· · · · Q.· · (By Mr. Sullivan) And all your opinions are in the
·5· ·more compaction, more regular being on the site to move the     ·5· ·report?
·6· ·water in the pore spaces to maintain the integrity of the                   ·6· · · · A.· ·Yes, sir.
·7· ·location, and he would know that as a specialist.                           ·7· · · · · · · · · MR. SULLIVAN:· All right.· Go ahead, Charlie.
·8· · · · Q.· ·So you're critical of compaction and drainage and                 ·8· · · · · · · · · · · EXAMINATION BY MR. TERRY
·9· ·where they put the waste pile?                                              ·9· · · · · · · · · MR. TERRY:· All right.· Is it all right if we
10· · · · A.· ·Well, they -- they -- improper placement of the spoil             10· ·keep going, Ms. Court Reporter?· All right.· Perfect. I
11· ·pile.· Their compaction, unless they did their grubbing                     11· ·shouldn't be long.
12· ·appropriately, would've never -- they - they could have -- they             12· · · · Q.· · (By Mr. Terry) Joe, first and foremost, is
13· ·could've driven it every day, and if they had not grubbed it                13· ·excavation one of the areas that's at the forefront of almost
14· ·appropriately and got down below the vegetation levels of this              14· ·everything you do in your career, both from an educational
15· ·farmland, there's nothing they could have done.· It was                     15· ·standpoint but also a professional standpoint?
16· ·definitely going to fail, and it proved it failed because it                16· · · · A.· ·Every company I've ever worked with, we did
17· ·only lasted, you know, a short portion of the project and not               17· ·excavation, and I teach it at the school.
18· ·the entire project.                                                         18· · · · Q.· ·Okay.· So when you were asked questions about whether
19· · · · Q.· ·But you can't expect excavation to hold up throughout             19· ·you had ever specifically worked for an excavation company, is
20· ·changing weather conditions and different large equipment                   20· ·it fair to say that that is a misleading question because you
21· ·driving on it; right?                                                       21· ·have worked for companies that specialize in excavation, but
22· · · · A.· ·No.· I expect a specialist to anticipate what's going             22· ·not only excavation?
23· ·to happen based on what he's going to use it for and what the               23· · · · A.· ·That's correct.· I never did work for a company that
24· ·environment's going to be moving forward for the project. I                 24· ·only did excavation.
25· ·have no doubt that Mr. Borneke is -- is very adept at building              25· · · · Q.· ·But you have worked for companies that have




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·1· ·specialized in excavation among other things; right?                    ·1· ·company, Borneke should've really looked at where the soil was
·2· · · · A.· ·That's correct.                                               ·2· ·starting to become sufficient for what they needed to do, get
·3· · · · Q.· ·And you yourself have worked in the excavation field          ·3· ·down to that level, and then start compacting?
·4· ·in the past; right?                                                     ·4· · · · A.· ·That's correct.· This isn't a typical piece of land
·5· · · · A.· ·Yes.· I -- I've made many -- many a parking lot.              ·5· ·we're just stripping off.· This is farmland that's been churned
·6· · · · Q.· ·Okay.· And you are a -- a trained professional who,           ·6· ·and churned and churned who knows how many times.· It would've
·7· ·in fact, teaches OSHA as well as other safety courses at Texas          ·7· ·been a deeper excavation.
·8· ·A&M and lecture nationwide on construction safety and OSHA;             ·8· · · · Q.· ·All right.· And could this have been done --
·9· ·right?                                                                  ·9· ·hypothetically, there's the argument by Borneke that they
10· · · · A.· ·That's correct.· Next week I'll be in Nashville,              10· ·couldn't have done this because they had to allow the land to
11· ·Tennessee doing the exact same thing.                                   11· ·be able to be reclaimed by the farm.· Could this have been done
12· · · · Q.· ·Okay.· And although you've never worked on a wind             12· ·in such way that after their work was performed, the soil could
13· ·farm, have you, in fact, worked on private projects in which            13· ·have been returned and farming could've resumed?
14· ·you or your company had to perform tasks similar to that of             14· · · · A.· ·That's very common.· Take the topsoil off, and
15· ·Borneke in this case?                                                   15· ·whatever you need, move it away, and bring it back when it's
16· · · · A.· ·Yes.                                                          16· ·done.
17· · · · Q.· ·Okay.· So not only have you taught on these topics,           17· · · · Q.· ·Okay.· And so is this why you believe that this was a
18· ·you've, in fact, been down and dirty, so to speak, doing the            18· ·foreseeable condition that could have been prevented at the
19· ·same tasks and know what's required of an excavating company 19· ·initial construction had they actually not just compacted the
20· ·doing these tasks?                                                      20· ·ground, but dug up what they needed to, and then compacted?
21· · · · A.· ·Yes, sir.                                                     21· ·This, in and of itself, shouldn't have happened?
22· · · · Q.· ·All right.· I'm not going to go over all of your              22· · · · A.· ·That's correct.
23· ·opinions because the report is voluminous.· I think it pretty           23· · · · Q.· ·All right.· And then second, you discussed the site
24· ·much speaks for itself, but I just want to go over the                  24· ·tuneups and inspections, and this would be the second main
25· ·highlights pretty much that are on pages 2 and 3.· And No. 1 --         25· ·point of your opinions I believe; right?

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·1· ·well, first, correct me if I'm wrong.· Is it pretty much your           ·1· · · · A.· ·Yes.
·2· ·opinion in this case that both the work performed by DBC, Don           ·2· · · · Q.· ·Okay.· And when you discuss the inspections and the
·3· ·Borneke Construction, I use DBC, precipitated the dangerous             ·3· ·tuneups, is this something that you were referring to solely at
·4· ·conditions that caused this incident?                                   ·4· ·the time when the ice was exposed, you know, about 30 minutes
·5· · · · A.· ·That's true.· Had it been done right the first time,          ·5· ·before this accident, or is this something that you believe
·6· ·we wouldn't be here.                                                    ·6· ·should have been being performed on a frequent basis by the
·7· · · · Q.· ·Okay.· And this can further be broken down into how           ·7· ·quality control manager, Nick Borneke?
·8· ·the work should have been performed to begin with, and how it           ·8· · · · A.· ·Well, I would call him the competent person, but,
·9· ·should have been remedied had they seen these conditions;               ·9· ·yes, when you do tuneups it's like going to the doctor, and
10· ·right?                                                                  10· ·getting your blood pressure checked, and find out, oh, my blood
11· · · · A.· ·That's correct.                                               11· ·pressure's high; now, I need medication.· These are symptoms
12· · · · Q.· ·Okay.· So, first, on No. 1 you talk about DBC's               12· ·that the expert should have caught, and they could have, you
13· ·expertise, how this was foreseeable, and then at the end of the 13· ·know, made the remediations before there was a problem.
14· ·paragraph you state, the deteriorating condition of the pad     14· · · · Q.· ·Okay.· So you were asked questions about whether
15· ·site that sunk and allowed water to accumulate in it and ice to         15· ·Borneke actually knew about this ice, whether they were called
16· ·form was an expectation that could have been controlled and             16· ·back to the site to address the ice.· In your opinion is that
17· ·prevented at the initial construction.· That's one of your              17· ·irrelevant because the site, in and of itself, when you look at
18· ·opinions in this case; right?                                           18· ·the photographs were giving indications that the ground was
19· · · · A.· ·That's correct.· That goes back to -- to the                  19· ·sinking under the weight of the equipment?
20· ·grubbing.· If they get -- get down to the appropriate level and         20· · · · A.· ·Yeah.· There were symptoms that it was sinking under
21· ·get rid of all this old Class C soil and got to something               21· ·the weight of the equipment and just sinking in general.
22· ·strong and hard then we wouldn't be here.                               22· · · · Q.· ·Okay.· So whether or not they saw the ice, they had
23· · · · Q.· ·Okay.· So to break it down just in layman's terms             23· ·all of the evidence there, as a qualified excavator, to know
24· ·essentially, what you're saying is instead of just stripping            24· ·that the ground was failing underneath this and causing a
25· ·down the topsoil and compacting, as a trained excavation                25· ·depressed area?




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·1· · · · A.· ·I can't imagine that they didn't recognize it, no.              ·1· ·normal job site?
·2· ·Not as a -- not as a trained specialty group like that, no.               ·2· · · · A.· ·Yes.
·3· · · · Q.· ·Okay.· And is it a well-known hazard by excavators              ·3· · · · Q.· ·All right.· And then going on to your third opinion,
·4· ·that when depressed areas form on job sites water can pool and ·4· ·I think this is your overall opinion in which you discuss the
·5· ·potentially freeze underneath them?                                       ·5· ·175-foot radius, and how this is important to you because this
·6· · · · A.· ·That's correct.                                                 ·6· ·was contractually referred to as the erection area where the
·7· · · · Q.· ·All right.· So is this also why you believe, going              ·7· ·work was being performed; right?
·8· ·back to your first point, this was a foreseeable and                      ·8· · · · A.· ·Yes.
·9· ·preventable condition?                                                    ·9· · · · Q.· ·All right.· And then you say that the sagging area
10· · · · A.· ·That's right.                                                   10· ·filled with water and later froze does not correlate with known
11· · · · Q.· ·Okay.· And even if they do not have notice of the               11· ·construction requirement of the design.· Can you please -- and
12· ·ice, in your opinion being a trained excavator on the site                12· ·-- and, again, taking notice completely out of the equation,
13· ·every day, they should've at least seen that the conditions               13· ·can you just elaborate what you mean by this in terms of the
14· ·were failing underneath the equipment; correct?                           14· ·design and construction of the work?
15· · · · · · · · · MR. SULLIVAN:· Objection.                                  15· · · · A.· ·Sure.· These -- these are the areas that they were --
16· · · · A.· ·Yes.· I'm sorry.· I apologize.· Yes.· Yes, I agree.             16· ·the expectation of the most heavy work with the most vibration
17· · · · Q.· · (By Mr. Terry) Okay.· And you, in fact, in your                17· ·and traffic.· So with that knowledge they should have been
18· ·review of the testimony saw that Nick Borneke was, in fact, as            18· ·built so that they would not fail for the entire duration of
19· ·the competent person and the quality control manager, doing               19· ·the project and then some.
20· ·these routine inspections on the -- this specific site and the            20· · · · Q.· ·Okay.· And have you worked on projects in which
21· ·jobs site as a whole; is that fair?                                       21· ·excavation had to be performed where top levels of soil had to
22· · · · A.· ·That's my understanding.· He was going out there                22· ·be removed, such that what you're talking about today, you get
23· ·to -- too look at the site, and I just can't imagine him not              23· ·down to a level where it is sufficient to compact, it's
24· ·seeing these symptoms.                                                    24· ·compacted, weather conditions change such as heavy rain, and
25· · · · Q.· ·Okay.· And in your field, you've seen jobs where                25· ·heavy equipment comes in, but the ground still holds up?

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·1· ·excavators have remained on site for the duration of the                  ·1· · · · A.· ·I don't think I understood your question.· Can you
·2· ·project and jobs where excavators leave the day the work is               ·2· ·rephrase it one more time?· It was pretty long.
·3· ·done; right?                                                              ·3· · · · Q.· ·What I'm trying to just get like if you've worked
·4· · · · A.· ·That's correct.                                                 ·4· ·on -- I think you've already talked about this, but you've
·5· · · · Q.· ·On this job, Borneke remained on site throughout the            ·5· ·worked on jobs in which -- and you've, in fact, participated in
·6· ·duration of the project and at least through the duration of              ·6· ·jobs in which your company that you were working for had to
·7· ·this incident; is that fair?                                              ·7· ·perform very similar tasks to that of Borneke in this case;
·8· · · · A.· ·Yes.                                                            ·8· ·right?
·9· · · · Q.· ·Okay.· And as a trained excavation professional,                ·9· · · · A.· ·Correct.
10· ·would you expect they would have, in fact -- take the testimony           10· · · · Q.· ·Okay.· And had they done their job such that they
11· ·out of it.· Just from your expertise, would you expect the                11· ·stripped away the topsoil, they got down to a level where they
12· ·excavation company on site responsible for maintenance to be              12· ·believed the soil was good enough to compact, even if there was
13· ·doing routine inspections looking for these signs and symptoms? 13· ·a large amount of rain, would you expect -- or, you know,
14· · · · A.· ·Absolutely.                                                     14· ·changing weather conditions, would you expect that because they
15· · · · Q.· ·All right.· And by not recognizing them, would they             15· ·prepared the ground properly, the conditions would be able to
16· ·deviate from the proper standard of care for an excavation                16· ·support the weight of not only the trucks delivering the
17· ·subcontractor in their field?                                             17· ·equipment but also the equipment being staged on the site?
18· · · · · · · · · MR. SULLIVAN:· Objection; calls for a legal                18· · · · A.· ·Yes.· That's why we hire the specialist.
19· ·conclusion, and object to the foundation grounds.                         19· · · · Q.· ·And is this how you've seen it happen in your
20· · · · A.· ·Can you repeat your question, sir?                              20· ·experience?
21· · · · Q.· · (By Mr. Terry) Sure.· Subject to Chris's objections,           21· · · · A.· ·That's correct.· Yes.
22· ·would you agree that a trained excavation contractor who is               22· · · · Q.· ·And have you been on jobs involving this type of work
23· ·performing these inspections but fails to realize the signs and           23· ·in both good and poor weather conditions?
24· ·symptoms of a failing excavation would be deviating from what a           24· · · · A.· ·Yes.
25· ·properly trained and safe excavating company would do on a                25· · · · Q.· ·And in both those conditions, both good and poor




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·1· ·weather, has the ground held up because the work was performed ·1· ·adequate to get rid of the water?
·2· ·properly?                                                               ·2· · · · · · · · · MR. SULLIVAN:· Objection; foundation.· Calls for
·3· · · · A.· ·Yes.                                                          ·3· ·speculation.
·4· · · · Q.· ·All right.· And then you continue in this same area           ·4· · · · A.· ·The drain -- sorry, sir.· The drainage should have
·5· ·that it says, there is no reason short of failed processes by           ·5· ·handled the water.
·6· ·DBC as to why the area should not have maintained its integrity         ·6· · · · Q.· · (By Mr. Terry) All right.· And then real -- well,
·7· ·during construction activity.· And, again, in your opinion, is          ·7· ·hold on.· I'm trying not to touch on things that we've already
·8· ·the failing of the ground condition combined with the pooling           ·8· ·touched on, so just bear with me a second.
·9· ·and freezing of water, something that should never have                 ·9· · · · · · · · · I want to direct your attention to the
10· ·occurred if a qualified contractor properly prepares the                10· ·photograph that Mr. Sullivan has been showing you.· It's on
11· ·ground?                                                                 11· ·page 17 of your report.· Based on your review of this
12· · · · A.· ·Yeah.· If he -- if they'd have grubbed down far               12· ·photograph and being a expert in excavation and construction
13· ·enough to get the right soil and started working their way back         13· ·safety, do you believe that by looking at -- well, first of
14· ·up, we wouldn't have this issue.                                        14· ·all, can you tell by looking at this photograph whether or not
15· · · · Q.· ·Okay.· And even hypothetically speaking, if the               15· ·the ground was, in fact, stripped down to the proper level and
16· ·compaction fails or the grade fails, would you expect that the          16· ·then compacted?
17· ·other requirements, such as the drainage, hold up such that             17· · · · A.· ·No.
18· ·even if there is a depressed area, the 5 percent grade will             18· · · · Q.· ·Is it -- I -- I think I asked that poorly.· Is your
19· ·allow the water to pool away as opposed to in the work area?            19· ·answer -- and it's a two-part question.· One, can you, in fact,
20· · · · A.· ·Yeah.· That's a secondary safety -- you know, to              20· ·tell if that was done in this photograph?
21· ·control the integrity of the site to keep the water off of it           21· · · · A.· ·I wouldn't think so, no.· You've got too many sagging
22· ·because, you know, water is the enemy of excavation just like           22· ·areas, and you've got saturated Class C soil right at the edge.
23· ·vibration is.· So, you know, we control the vibration by                23· · · · Q.· ·Okay.· So your opinion is that based on looking at
24· ·getting down to solid soil and building back up.· We control            24· ·this photograph you can tell that the topsoil was not properly
25· ·the water through proper drainage.                                      25· ·stripped away, down to a level that was sufficient to be

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·1· · · · Q.· ·Was there anything that you saw in the record that            ·1· ·compacted, and based on that, that's how you're coming to the
·2· ·suggests -- because your next point goes on to that Borneke had ·2· ·opinion -- well, that's a poor question.· Let me just ask this.
·3· ·the foreknowledge of the activities of the nature expected, and         ·3· · · · · · · · · By looking at this photograph, how can you tell
·4· ·this would allow for forecastable planning.· And that nothing           ·4· ·that the ground was not properly stripped away and compacted
·5· ·short of disaster and full site deluge should there be this             ·5· ·such that it would be able to support the activities that were
·6· ·condition.· So my question for you is, is there anything in the         ·6· ·going to be performed on this project and the weather
·7· ·record or your investigation that shows you that there was this         ·7· ·conditions expected for the Midwest?
·8· ·full-fledged disaster or deluge or hurricane or anything that           ·8· · · · A.· ·There's sagging and pooling in -- in more than one
·9· ·should have led to this condition on this job site but for poor         ·9· ·area on this picture.
10· ·planning?                                                               10· · · · Q.· ·Okay.· And would that typically happen if the ground
11· · · · A.· ·No.· I haven't -- I haven't seen any flooding or              11· ·is stripped away down to a adequate sublevel and then
12· ·deluge of rain or anything like that.                                   12· ·compacted?
13· · · · Q.· ·And even taking your separate investigation out of            13· · · · A.· ·No.· If you get down to the right cohesive soil and
14· ·it, did you see anything in the testimony of any of the workers         14· ·build back up, you shouldn't have these issues.
15· ·that there was a monsoon the night before this?                         15· · · · Q.· ·And then going back to the pages 2 and 3, No. 4, you
16· · · · A.· ·Not that I recall, no.                                        16· ·talk about expertise.· Why is Borneke's expertise in this field
17· · · · Q.· ·Okay.· And even if, hypothetically, Mortenson was             17· ·something that is of such importance to you in terms of the
18· ·hosing off their equipment on the construction site, is this a          18· ·excavation work?
19· ·well-known task on a construction site that certain pieces of           19· · · · A.· ·They're trained on what to look for.· They're trained
20· ·equipment are going to be cleaned off before they're installed?         20· ·to identify symptoms.· They're also trained to know how to get
21· · · · A.· ·Absolutely, and that wouldn't be anywhere near enough         21· ·down to the proper soil and then work their way back up.
22· ·water to cause an issue.                                                22· ·That's what they were hired to do.
23· · · · Q.· ·So even -- so even if they were doing this, would you         23· · · · Q.· ·Okay.· And then No. 5, you talk about the interplay
24· ·agree that the conditions, if prepared properly by Borneke,             24· ·between the plans and DBC's work.· Can you please elaborate on
25· ·should not have given way, and the drainage should have been            25· ·this, and like what you mean here?· What I mean is, is it your




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·1· ·opinion that the plans were wrong, or is it your opinion that           ·1· ·before it rises?
·2· ·DBC just didn't do their job properly and kind of did a surface         ·2· · · · A.· ·Absolutely.· If -- if I had a pitbull inside of a
·3· ·level excavation?                                                       ·3· ·fenced yard and told you to go in there and paint a house, you
·4· · · · A.· ·Well, I -- I don't agree that the plans were wrong.           ·4· ·could either wear a dog body suit, and you'd still get hurt, or
·5· ·I think they probably more likely than not just did a surface           ·5· ·you could just remove the pitbull.· That's our situation here.
·6· ·excavation and didn't get down as deep as they needed to to a           ·6· ·They could have just removed the hazard.· Elimination was a
·7· ·cohesive level.                                                         ·7· ·proper control, and it wasn't done.
·8· · · · Q.· ·And I think your last sentence of this opinion clears         ·8· · · · Q.· ·All right.· And then continuing on to page 12, you
·9· ·up what you mean.· You said that DBC was the professional who ·9· ·say that drainage, trenching, erosion control, and grade was
10· ·was an expert on building wind farms, but more important, DBC           10· ·available.· It seems like this is to eliminate the hazard
11· ·bore the responsibility to construct ground conditions at the           11· ·before if it even becomes one, so to speak; right?
12· ·location capable of sustaining the expected activities in               12· · · · A.· ·That's correct.
13· ·conjunction with known environmental challenges; right?                 13· · · · Q.· ·All right.· And is that what you mean by elimination?
14· · · · A.· ·Correct.· They -- they weren't hidden from the fact           14· ·They could have used any of these methods that a proper and
15· ·of what was going to be done there, and they had the                    15· ·safe excavation company would have used, and then you eliminate
16· ·opportunity to know the weather conditions they were going to           16· ·the hazard before it even arises?
17· ·be facing.                                                              17· · · · A.· ·They'd have used all those methods.
18· · · · Q.· ·Okay.· So basically plans are important, but DBC is           18· · · · Q.· ·All right.· And then can you further elaborate on how
19· ·the expert in this field, and as conditions change or as                19· ·an excavating contractor, knowing what's coming in terms of
20· ·different things rise, DBC needs to properly work based on the          20· ·equipment, vehicles, materials, work to be performed, should be
21· ·various problems that arise?                                            21· ·able to foresee what is coming and use this to their benefit in
22· · · · A.· ·Yes.· As -- as things change, they -- they're                 22· ·terms of preparing the ground?
23· ·required to reclassify if they needed to.                               23· · · · A.· ·Yeah.· So -- so they knew the region.· They knew
24· · · · Q.· ·Okay.· And then can you talk about the creating and           24· ·what -- the pieces of equipment that were going to be brought
25· ·correcting employer?· You were asked a lot about this, and              25· ·in.· They no doubt understood the weight.· That's why they were

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·1· ·whether or not Mortenson would have been an exposing employer. ·1· ·brought in as a specialist.· And if there's any foreseeable
·2· ·What do you mean just in 30 second elevator pitch language              ·2· ·issues, they had two options.· Say nothing about it and just
·3· ·about DBC being the creating and the correcting employer on             ·3· ·compact ground with a -- with a little bit of topsoil moved, or
·4· ·this location?                                                          ·4· ·go to the client that hired them and say maybe we should
·5· · · · A.· ·So DBC created the excavation that led to the sagging         ·5· ·consider another strategy.
·6· ·site, which created the problem that we had the accident and            ·6· · · · Q.· ·And then just to wrap up a little bit too -- well,
·7· ·the fall.· The correcting employer, they were the ones who              ·7· ·before we get there, in terms of the contractor knowing what
·8· ·would've come back and dug it back down to the appropriate              ·8· ·was coming in that same question, would you expect that given
·9· ·level of cohesive soil and rebuilt it back.· They would be the          ·9· ·the conditions you saw in that photograph, had they did what
10· ·correcting employer again.                                              10· ·you suggested, stripped down the soil down to a good level, and
11· · · · Q.· ·Okay.· And then No. 7, and, again, not only with your         11· ·then compacted, then prepared, then provide the adequate
12· ·research, but based on the testimony that you saw that                  12· ·5 percent grade and drainage, that this depressed area would
13· ·corroborated this, why is this important?                               13· ·never have formed to begin with?
14· · · · A.· ·This is -- discusses the weather conditions. I                14· · · · A.· ·No, it wouldn't.· I don't expect it to have formed at
15· ·didn't find anything in just a -- a general search for Lee              15· ·all.
16· ·County that showed that there was a massive amount of -- of             16· · · · Q.· ·All right.· And then just to wrap up, I wanted to
17· ·rain over the night before or the week before such that the             17· ·direct your attention to your first sentence of your
18· ·conditions would have deteriorated to where they couldn't use           18· ·conclusion, and I believe that's on page 21 where you say
19· ·the site.                                                               19· ·Occam's razor would suggest there was nothing mystical about
20· · · · Q.· ·Okay.· Just a few more questions.· On page 11 of your         20· ·the deteriorating site Borneke built.· It was merely improperly
21· ·report you give this chart that says hierarchy of controls, and         21· ·prepared.· And I think we talked about this, but is this your
22· ·I just want to make sure we're talking about the same thing.            22· ·general opinion in this case, and if so, can you elaborate on
23· ·Elimination, when I think of elimination I think of something           23· ·it?
24· ·that's already happened and you fix it.· Are you using                  24· · · · A.· ·Yeah.· I -- I believe there's no fantastic sequence
25· ·elimination to mean that the hazard can be eliminated even              25· ·of events that created this site to deteriorate overnight or --




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·1· ·or have issues that nobody could find or see.· There were         ·1· ·even exposed?
·2· ·symptoms that were happening.· The site was deteriorating.· It    ·2· · · · A.· ·Yeah.· An excavator is an expert in dirt work.· They
·3· ·was deteriorating way before it was supposed to have issues.      ·3· ·should be looking at the dirt.
·4· ·And the simplest explanation is usually the best explanation,     ·4· · · · Q.· ·Okay.· And overall, just about you a little bit, you
·5· ·and it's usually the truth.· This thing wasn't prepared right     ·5· ·are a construction safety expert, and you have taught OSHA
·6· ·to begin with.· Had it been, we wouldn't be here.                 ·6· ·classes on safety nationwide; right?
·7· · · · Q.· ·Okay.· And ultimately, is it your opinion that the      ·7· · · · A.· ·That's correct.
·8· ·condition which caused Mr. Georgeff to slip and fall, all be it   ·8· · · · Q.· ·All right.· And your work in the construction field,
·9· ·the ice sheet, was preventable had Borneke performed its          ·9· ·and you've, in fact, worked on excavation projects?
10· ·excavation work to begin with on this project?                    10· · · · A.· ·That's correct.
11· · · · A.· ·Yeah.· No sagging site, no pooling water, no frozen     11· · · · Q.· ·Okay.· And based on your experience, would you expect
12· ·ice, no slip and fall.                                            12· ·ground conditions which were prepared properly by excavation
13· · · · Q.· ·And they could have done this with both proper          13· ·experts, such as DBC holds itself out to be, would you expect
14· ·drainage, compaction, trenching, and whole bunch of other         14· ·that ground to depress under staged equipment such that there
15· ·things that we talked about; is that fair?                        15· ·are areas where water can pool and freeze?
16· · · · A.· ·That's fair.                                            16· · · · A.· ·You -- you broke up the last bit of that.· Can you --
17· · · · Q.· ·Okay.· So take notice out of it.· Is this a condition   17· ·can you say that one more time?
18· ·that they caused by their improper excavation work in your        18· · · · Q.· ·Sure.· Based on your experience, would you expect
19· ·opinion?                                                          19· ·that ground conditions, which were prepared by an excavation
20· · · · A.· ·Fair.                                                   20· ·expert such as DBC, would you expect this ground condition to
21· · · · Q.· ·All right.· It is also your opinion that had the        21· ·become depressed under staged equipment such that there was an
22· ·ground simply became a little bit depressed, if there was that    22· ·area where water could pool and freeze?
23· ·adequate grade and drainage, the water wouldn't have pooled       23· · · · A.· ·No.· That should have held up.
24· ·even with the depressed area?                                     24· · · · Q.· ·Okay.· And would you expect that drainage and grade
25· · · · A.· ·Yeah.· That's the secondary control to get the water    25· ·of an area where a qualified excavation contractor performed

                                                         Page 119                                                                            Page 121
·1· ·off of there.                                                   ·1· ·their work was sufficient to remediate any water that came,
·2· · · · Q.· ·Okay.· So is it further your opinion that not only    ·2· ·whether it be from cleaning equipment or natural elements?
·3· ·did Borneke not adequately perform their tasks in terms of      ·3· · · · A.· ·Yeah.· The grade was appropriate.
·4· ·compaction and grade, but also in drainage and multiple other   ·4· · · · Q.· ·Okay.· And have all your opinions today been given to
·5· ·aspects?                                                        ·5· ·a reasonable degree of certainty in your field as both a
·6· · · · A.· ·Yeah.· I've -- I've not seen any pictures of any      ·6· ·construction safety expert as well as an excavation expert?
·7· ·swale cuts or anything where they could have either directed    ·7· · · · A.· ·Correct.· Yes.
·8· ·the water off the site or controlled it in a better way.        ·8· · · · Q.· ·All right.· And based on all of that, do you have an
·9· · · · Q.· ·Okay.· And then further, is it your opinion that had  ·9· ·opinion as to whether this incident can occur but for Borneke
10· ·Borneke been properly inspecting and maintaining its work, even 10· ·improperly doing its tasks?
11· ·without seeing ice, they should have seen depressed areas and 11· · · · A.· ·No.· Not without a -- a force of nature just
12· ·improper conditions for work that was going to be performed on  12· ·destroying the site from above, no.
13· ·this project?                                                   13· · · · Q.· ·All right.· Would you agree that just because OSHA
14· · · · A.· ·I -- I can't imagine not being able to see it as a    14· ·did not cite somebody does not mean they were not unsafe?
15· ·specialist.                                                     15· · · · A.· ·Not at all.
16· · · · Q.· ·Okay.· So when you were talking earlier about they    16· · · · Q.· ·All right.· Would you agree that there's plenty of
17· ·would've known about this, you didn't even mean ice.· You just  17· ·times there's a horrible accident where people were very
18· ·meant the dangerous conditions which could lead to ice, albeit  18· ·unsafe, and OSHA doesn't issue a citation?
19· ·depressed areas under equipment?                                19· · · · A.· ·Yes.· There's very few OSHA inspectors.
20· · · · A.· ·Yeah.· I think the secondary situation of the ice     20· · · · Q.· ·All right.· Would you agree that just because this
21· ·is -- is just that.· It's secondary.· There was already         21· ·was approved by Mortenson -- well, scratch that.
22· ·problems forming.                                               22· · · · · · · · · Is it common in the construction industry for
23· · · · Q.· ·Okay.· I mean, this is something that as a trained    23· ·the general contractor to rely on the work of the
24· ·excavation expert, you would expect them to be able to          24· ·subcontractor?
25· ·recognize the signs and symptoms and fix it before the ice is   25· · · · A.· ·Absolutely.· They -- they hire them for that reason.




                                                                                                                                                        YVer1f
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Joseph Barnes                                                                                                                   October 13, 2022
                                                                                                                                Pages 122 to 125
                                                                  Page 122                                                                      Page 124
·1· · · · Q.· ·And when general contractors go in and, quote,                ·1· ·pictures and there's no evidence of what that excavation work
·2· ·unquote, approve the work of a subcontractor, are the actually          ·2· ·looked like before the components were delivered?
·3· ·going in with the same knowledge and expertise as the                   ·3· · · · A.· ·No.· My understanding was it was a corn farm.
·4· ·subcontractor, or are they giving it a once over to say, yeah,          ·4· · · · Q.· ·No.· I mean after -- after the excavation work and
·5· ·I assume you did your work properly because you're the                  ·5· ·before the delivery of the components?
·6· ·excavation expert?                                                      ·6· · · · A.· ·No.· I haven't seen that at all.
·7· · · · A.· ·I would say in general, they're giving it the once            ·7· · · · Q.· ·And you don't know exactly how long that was in this
·8· ·over because they're not specialist themselves.                         ·8· ·case and what weather took place in between that time?
·9· · · · Q.· ·And is that, based on your review of the testimony,           ·9· · · · A.· ·No.
10· ·what you believe happened here?                                         10· · · · Q.· ·And you agree with me that Borneke could not have
11· · · · A.· ·I do.                                                         11· ·lifted the component itself to correct anything underneath?
12· · · · · · · · · MR. TERRY:· Okay.· I believe those are all the           12· · · · · · · · · MR. TERRY:· Asked and answered.· Relevance.· You
13· ·follow-ups I have.· I'm sure Mr. Sullivan may have a few                13· ·can answer.
14· ·follow-ups.                                                             14· · · · A.· ·I don't know that they had the authority to move the
15· · · · · · · · · THE WITNESS:· Yes, sir.                                  15· ·equipment.· I would think not.
16· · · · · · · · ·FURTHER EXAMINATION BY MR. SULLIVAN                       16· · · · · · · · · MR. SULLIVAN:· That's all I have.· Thank you.
17· · · · Q.· · (By Mr. Sullivan) I just had a couple questions,             17· · · · · · · · · FURTHER EXAMINATION BY MR. TERRY
18· ·Mr. Barnes.· Did you see the testimony that Mortenson actually 18· · · · Q.· · (By Mr. Terry) One -- one follow-up -- follow-up
19· ·hired a soil analysis expert?                                           19· ·question, and for once an attorney actually means that.· Did
20· · · · A.· ·I -- I recall that, but I don't remember exactly what         20· ·any of Mr. Sullivan's questions today or his follow-ups change
21· ·the testimony was.                                                      21· ·any of your opinions that you've either put in your report or
22· · · · Q.· ·And this soil analysis expert actually made the call          22· ·given today in your deposition?
23· ·that the Borneke excavation work was sufficient for them to             23· · · · A.· ·No, sir.
24· ·even begin delivery of the components?                                  24· · · · · · · · · MR. TERRY:· Okay.· I believe that's everything.
25· · · · A.· ·So he tested the soil on the -- on the top of the --          25· ·We don't need to worry about signature because it's Federal

                                                                  Page 123                                                                      Page 125
·1· ·of the -- the layout of the site; is that correct?                      ·1· ·Court right, or do we still need to?
·2· · · · Q.· ·Yes.                                                          ·2· · · · · · · · · MR. SULLIVAN:· I don't think so.
·3· · · · A.· ·So he wasn't able to see what they did when they              ·3· · · · · · · · · MR. TERRY:· I don't think so.· Mr. Barnes, you
·4· ·excavated the site down to the grubbing of the appropriate              ·4· ·are finished today.· Thank you for taking the time, and we'll
·5· ·area?· I -- I say that because I do soil sampling, and when I           ·5· ·be in touch.
·6· ·take a soil sample, I go out there with a little shovel and             ·6· · · · · · · · · THE WITNESS:· Thank you.· Nice to meet you, Mr.
·7· ·take a little bit of dirt out and do soil sampling.· So he              ·7· ·Sullivan.
·8· ·wasn't there when -- that -- if I understand what you're                ·8· · · · · · · · · MR. SULLIVAN:· Thank you.
·9· ·saying, he wasn't there when they stripped it down to the               ·9· · · · · · · · · MR. TERRY:· Oh, wait.· Christy, I can't hear
10· ·appropriate cohesive level and then built back up.· He tested           10· ·you.
11· ·the soil after it was done to see what class it was.                    11· · · · · · · · · THE REPORTER:· Can you hear me now?· Do you want
12· · · · Q.· ·No.· My understanding from the testimony is Mortenson         12· ·to order a copy of this transcript, Mr. Terry?
13· ·actually hired a soil expert after the excavation work was done         13· · · · · · · · · MR. TERRY:· Well, I -- I believe Mr. Sullivan is
14· ·to make sure the ground could actually hold the weight of the           14· ·-- if he's ordering the original, I'll take a copy.
15· ·components before they were delivered.                                  15· · · · · · · · · THE REPORTER:· Okay.· And we are off the record
16· · · · A.· ·So he did a compaction test and a soil test.· I think         16· ·at 3:58 p.m.
17· ·your picture would show that somebody probably needs to talk to 17· · · · · · · · · (Proceedings ended at 3:58 P.M.)
18· ·him because that was saturated Class C soil which allowed for           18
19· ·this sagging and pooling.                                               19
20· · · · Q.· ·So you would be critical of the expert if the expert          20
21· ·would have approved it after the initial work?                          21
22· · · · A.· ·Well, that's hard to say because I don't know what he         22
23· ·did other than just scooping up a little bit of soil from the           23
24· ·top and saying, yes, to this Class B.· You're good to go.               24
25· · · · Q.· ·You would agree with me that you have not seen any            25
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Joseph Barnes                                                                          October 13, 2022
                                                                                               Page 126
                                                                         Page 126
·1·   · ·     · ·     · ·     · ·   · · REPORTER'S CERTIFICATION
· ·   · ·     · ·     · ·     · ·   · ·DEPOSITION OF JOSEPH BARNES
·2·   · ·     · ·     · ·     · ·   · · · · October 13, 2022
·3·   · ·     · ·     · ·     · ·   I, Christy Nowotny, Certified Shorthand Reporter
· ·   ·in     and     for     the   State of Texas, hereby certify to the following:
·4
· ·   · · · · · · · · That the witness, JOSEPH BARNES, was duly sworn
·5·   ·by the officer and that the transcript of the oral deposition
· ·   ·is a true record of the testimony given by the witness's;
·6
· ·   · · · · · · · · I further certify that pursuant to FRCP Rule 30
·7·   ·(f) (1) that the signature of the deponent:
·8·   · ·____ was requested by the deponent or a party before the
· ·   ·completion of the deposition and that the signature is to be
·9·   ·before any notary public and returned within 30 days from the
· ·   ·date of receipt of the transcript.· If returned, the attached
10·   ·Changes and Signature Page contains any changes and the reasons
· ·   ·therefor;
11
· ·   · ·__x__ was not requested by the deponent or a party before the
12·   ·completion of the deposition.
13·   · · · · · · · · I further certify that I am neither counsel for,
· ·   ·related to, nor employed by any of the parties or attorney in
14·   ·the action in which this proceeding was taken, and further that
· ·   ·I am not financially or otherwise interested in the outcome of
15·   ·the action.
16·   · · · · · · · · Certified to by me this 13TH day of October,
17·   ·2022.
18
19·   ·   ·   ·   ·   ·   ·   __________________________
· ·   ·   ·   ·   ·   ·   ·   Christy Nowotny, Texas CSR (11536), CVR-CM
20·   ·   ·   ·   ·   ·   ·   Expiration Date: 03-31-24
· ·   ·   ·   ·   ·   ·   ·   Magna Legal Services
21·   ·   ·   ·   ·   ·   ·   Firm Registration No. 633
· ·   ·   ·   ·   ·   ·   ·   1635 Market Street, Suite 800
22·   ·   ·   ·   ·   ·   ·   Philadelphia, Pennsylvania 19103
23
24
25
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                                                     Mortenson Construction
                                                Construction Incident Analysis (CIA)
Mortenson Construction is committed to continuous learning from past incidents. The CIA will be utilized to help educate others on past issues/incidents. A CIA is to be completed
for the following Safety/Quality events:

     1.    An OSHA Recordable Injury (Mortenson or Subcontractor)                                                     6. An Event that significantly affects customer relations
     2.    A Property Damage with overall cost in excess of $5,000                                                    7. Event is a recurring problem
     3.    A Serious Near miss (with high severity potential)                                                         8. Rework of quality issue that results in an Injury
     4.    Unplanned disruption that result in schedule disruption                                                    9. Quality Event with overall cost in excess of $25,000
     5.    Diamond Event - Incident or Potential Incident that resulted/may have had a Significant Impact             10. Significant Environmental Event


 Operating Group                                                                         Wind Energy
 Project                                                                                 Mendota Hills Wind
 Contractor                                                                              Mortenson
 Investigation Team                                                                      James Langston-Supt.
                                                                                         Kevin Hogan- Safety
                                                                                         Lonnie Sears- Foreman
 Incident Type                                                                           OSHA Recordable Injury
 Type of Work and Crew                                                                   Base Mid Erection
 Date of Incident                                                                        11/15/18
 Time of Incident                                                                        12:13 PM
 SWI/IWP/Pre-Task Plan Card Completed (Y/N)                                              Yes
 List Applicable Inspections Completed                                                   N/A
 Job Title of Workers Involved                                                           Iron Worker
 Orientation 1, 2, 3 Completed                                                           1st, 2nd, and 3rd complete
 List Applicable Task Training Completed                                                 SWI Trained
 Workers Time in Industry                                                                15 Years
 Workers Time in Position                                                                7 Months
 Worker’s Time on Site                                                                   ~1 ½ Months
 Crew Size                                                                               5




     I.          Description of Incident:

                 Team member slipped and fell on ice resulting in an injury to his right ankle.

     II.         Investigation Findings:

                                                                                                                                                                           pg. 1
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 a. Narrative/ Explanation

        i. At the time of the incident the team member was checking on the base-
           mid/offload crew at site T-1. Upon exiting his vehicle, he began to walk towards
           the work area alongside a mid-section. While walking to the work area the team
           member stated that he had realized he was on a sheet of ice covered with a thin
           layer of snow. While attempting to exit the ice patch, his left foot slipped out from
           under him and his right foot caught a dry patch. This in turn caused his right
           ankle to twist and become injured.
           The site had been previously addressed with a bulldozer to mitigate walking /
           working hazards, however the ice accumulation had occurred too close to the
           WTG section for the dozer to operate safely leaving the ice un-addressed. The
           existing hazard was not properly delineated nor was its location identified on the
           Pre-Task Plan Card. Additionally, snow had begun to fall that morning covering
           the ice with a layer of snow which made its identification difficult prior to stepping
           on the ice.

           The CIA team investigated several factors which commonly lead to slips, trips,
           and falls. Below are the findings, and reasoning as to why the factor was not
           considered a contributing factor to this incident.

                     •   Awareness of surroundings: Based on the statement from the
                         injured team member, he became aware of the ground conditions
                         he was on prior to the incident but still ended up slipping as he tried
                         to leave the area.

                     •   Proper PPE: Team member had all the required PPE, per site
                         policies; however, was not wearing ice cleats. While, the project
                         site does offer the use of ice cleats to further protect team
                         members, it was not a policy.

                     •   It was confirmed that the team member was not running/rushing;
                         rather casually walking.

 b. Contributing Factors (5 Whys)

         i. Site Preparation- Due to the location of the ice, a dozer could not refinish the
            area because it was too close to the tube section and crane pad.
        ii. Hazard Identification – The pre-task card for that site highlighted the presence of
            icy conditions, but did not identify specific locations on the pad.
       iii. Adverse ground conditions- The site received enough snow that morning to cover
            the ground with a few inches. This layer of snow concealed some hazards that
            existed on site, specifically the ice adjacent to the mid-section.

 c. Root Cause(s) (5 Whys)

        i. Team member was not wearing traction devices for icy conditions
                                                                                              pg. 2
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                         1. Site was lacking policy on when ice cleats were mandated




TOOLS/                MATERIALS/                       PLAN/ PROCEDURE/
EQUIPMENT             DESIGN                           EXECUTION
                                                                                        Injured
                                                                - Site Preparation       Ankle


                                     NO traction control /      - Adverse Ground
                                     footwear policy for        Conditions
                                     icy conditions


MANPOWER/              MANAGEMENT/                      ENVIRONMENT
QUALIFICATIONS         POLICY



  III.    Lessons Learned:

                  i. Site Preparation: It is the foreman responsibility to ensure the crew walks the
                     site prior to commencing work. Any area that cannot be refinished by a dozer and
                     contains adverse ground conditions needs to be delineated by identification on
                     the pre-task plan card and by standard cones.

                  ii. Adverse ground conditions: The project team needs to ensure that any
                      potential for adverse ground conditions are discussed at the site wide level. In
                      addition, foreman need to be trained on the proper process for pre-task planning
                      to ensure all changed conditions are planned and the risk mitigated. Lastly, the
                      project team is identifying select tasks that will require ice cleats for 100% of the
                      crew when icy conditions are present.

  IV.     Corrective Actions / Preventative Measures


   #     Action                                               Responsible            Due By Date
                                                              Party(s)               Date     Completed
   1     Site wide safety stand down to discuss               Jamie Langston         11/16/18 11/16/18
         walking working surfaces.


                                                                                                        pg. 3
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2   Reinforce 360 walk around work area during      Jamie Langston       11/16/18 11/16/18
    PTPC, identifying path of travel and specific
    hazards present in work area.
3   Toolbox Talk focusing on slips, trips, and      Joshua Maier/Kevin   11/16/18 11/16/18
    falls while working in icy conditions.          Hogan
4   Identify tasks where 100% traction control      Jamie Langston       11/20/18 11/26/18
    devices are to be required.
5   Identify tasks where traction control devices   Jamie Langston       11/20/18 11/20/18
    will be used intermittently and implement
    devices which can be donned / doffed
    quickly.
6   Provide each foreman with ice melt salt and     Jamie Langston       11/26/18 11/26/18
    cones to address adverse conditions in
    frequently traveled areas on site.




                                                                                             pg. 4
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                                                                             Leonard Breyne 02/23/2022

·1· · · · · IN THE UNITED STATES DISTRICT COURT            ·1· · · · · · · · · · · · I N D E X

·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS               ·2· ·WITNESS· · · · · · · · · · · · · · · · PAGE

·3· · · · · · · · · ·EASTERN DIVISION                      ·3· ·LEONARD BREYNE

·4· ·NICK GEORGEFF,· · · · · · )                           ·4· · EXAMINATION BY MR. TERRY· · · · · · · · 8

·5· · · · · Plaintiff,· · · · ·)                           ·5· · EXAMINATION BY MR. SULLIVAN· · · · · · ·109

·6· · ·vs.· · · · · · · · · · ·)· Civil Action             ·6· · FURTHER EXAMINATION BY MR. TERRY· · · · 132

·7· ·DON BORNEKE CONSTRUCTION, )· No. 3:20-CV-50313        ·7

·8· ·INC.,· · · · · · · · · · ·)                           ·8

·9· · · · · Defendant.· · · · ·)                           ·9

10                                                         10· · · · · · · · · · E X H I B I T S

11· · · · · The deposition of LEONARD BREYNE, called       11· ·NUMBER· · · · · · · · · · · · · · · · · PAGE

12· ·for examination pursuant to the Rules of Civil        12

13· ·Procedure for the United States District Courts       13· · · · · · · (No exhibits were marked)

14· ·pertaining to the taking of depositions, before       14

15· ·Michelle L. Barta, a certified shorthand              15

16· ·reporter in the State of Illinois, on the             16

17· ·23rd day of February 2022, at 1:03 p.m.,              17

18· ·via videoconference per Executive Order 2020-14       18

19· ·pursuant to subpoena.                                 19

20                                                         20

21                                                         21

22· ·Reported by:· Michelle L. Barta, C.S.R., R.P.R.       22

23· ·License No:· 084-004033                               23

24                                                         24

                                                       1                                                          3

·1· ·REMOTE APPEARANCES:                                   ·1· · · · · · THE COURT REPORTER:· This deposition

·2                                                         ·2· ·is being taken by means of Zoom videoconference.

·3· · · · ANESI, OZMON, RODIN, NOVAK & KOHEN, by           ·3· ·The attorneys participating in this deposition

·4· · · · MR. CHARLES TERRY                                ·4· ·acknowledge that I am not physically present

·5· · · · 161 North Clark Street, 21st Floor               ·5· ·with the witness.· The parties and their counsel

·6· · · · Chicago, Illinois· 60601                         ·6· ·consent to the oath being administered remotely

·7· · · · (312) 372-3822                                   ·7· ·and waive any objections to this manner of

·8· · · · Cterry@anesilaw.com                              ·8· ·reporting.

·9· · · · · · ·Representing the Plaintiff;                 ·9· · · · · · Will all counsel present please state

10                                                         10· ·your name and indicate your agreement on the

11· · · · SWANSON, MARTIN and BELL, by                     11· ·record beginning with plaintiff's counsel?

12· · · · MR. CHRISTIAN A. SULLIVAN                        12· · · · · · MR. TERRY:· Charles Terry, so

13· · · · 2525 Cabot Drive, Suite 204                      13· ·stipulated.· And for the record, I don't want to

14· · · · Lisle, Illinois· 60532                           14· ·hear that I talk too fast.· You have me beat I

15· · · · (630) 799-6900                                   15· ·think.

16· · · · csullivan@smbtrials.com                          16· · · · · · MR. SULLIVAN:· Chris Sullivan, I will

17· · · · · · ·Representing the Defendant.                 17· ·agree to that, too.· Thank you.

18                                                         18· · · · · · · · · ·(Whereupon, the witness was duly

19                                                         19· · · · · · · · · · sworn.)

20                                                         20· · · · · · MR. TERRY:· Sir, can you please state

21                                                         21· ·and spell your first and last name for the

22                                                         22· ·record?

23                                                         23· · · · · · THE WITNESS:· Leonard Breyne,

24                                                         24· ·L-e-o-n-a-r-d, B-r-e-y-n-e.

                                                       2                                                          4

                                McCorkle Litigation Services, Inc.                                            1..4
                                 Chicago, Illinois· (312) 263-0052                                                    YVer1f
                                                                                                                               G
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                                                                               Leonard Breyne 02/23/2022


·1· · · · · · MR. TERRY:· And you pronounce your last      ·1· ·point you need a break, let us know.· We are
·2· ·name Breyne?                                          ·2· ·happy to take as many as you need.· The only
·3· · · · · · THE WITNESS:· Breyne, yeah, like the         ·3· ·caveat to that is if a question is pending,
·4· ·first.                                                ·4· ·meaning we have asked a question and you have
·5· · · · · · MR. TERRY:· Let the record reflect this      ·5· ·not yet answered it, you have to answer the
·6· ·is the discovery deposition of Leonard Breyne         ·6· ·question before we take a break.· Okay?
·7· ·taken pursuant to subpoena and agreement of the       ·7· · · · · · THE WITNESS:· Yes.
·8· ·parties.                                              ·8· · · · · · MR. TERRY:· Just two more.· If you
·9· · · · · · Let the record also reflect this             ·9· ·answer a question we are going to assume you
10· ·deposition is being taken via Zoom but still          10· ·understood what it meant.· So if you don't
11· ·pursuant to all applicable local rules.               11· ·understand a question, please ask.· Does that
12· · · · · · Sir, have you ever given a deposition        12· ·make sense?
13· ·before?                                               13· · · · · · THE WITNESS:· Yes.
14· · · · · · THE WITNESS:· No, sir.                       14· · · · · · MR. TERRY:· Okay.· And then the last
15· · · · · · MR. TERRY:· All right.· I am going to        15· ·one, the point of today because you have never
16· ·go over a few ground rules with you.· I call          16· ·given a deposition before is if this matter goes
17· ·them rules.· If you break them the world is not       17· ·to trial we would like to know what you know and
18· ·going to end, we are not going to yell at you.        18· ·what you would testify to.· So if you don't know
19· ·We might just remind you of them from time to         19· ·the answer to a question or if you don't
20· ·time.· Okay?                                          20· ·remember, that's fine, you can just say so; but
21· · · · · · THE WITNESS:· Okay.                          21· ·we would ask you to do your best to answer all
22· · · · · · MR. TERRY:· The first one, in a normal       22· ·the questions because the purpose is just to
23· ·setting when we are not in Zoom it's hard enough      23· ·find out what you know and what you don't know.
24· ·for this court reporter, Ms. Barta, to do her         24· ·Okay?
                                                       5                                                          7

·1· ·job when we are talking over each other.· It's        ·1· · · · · · THE WITNESS:· Yes.
·2· ·even more important when we are via Zoom to try       ·2· · · · · · MR. TERRY:· Perfect.
·3· ·not to talk over each other; meaning if a             ·3· · · · · · · · · · LEONARD BREYNE,
·4· ·question is still being asked, do your best to        ·4· ·having been first duly sworn, was examined and
·5· ·let the full question come out before you             ·5· ·testified via Zoom videoconference as follows:
·6· ·answer.· Okay?                                        ·6· · · · · · · · · · · EXAMINATION
·7· · · · · · THE WITNESS:· Okay.                          ·7· ·BY MR. TERRY:
·8· · · · · · MR. TERRY:· And we will try to give you      ·8· · · ·Q.· ·Sir, what is your date of birth?
·9· ·the same courtesy.· Inevitably there will be          ·9· · · ·A.· ·January 20, 1962.
10· ·times when we talk over each other.· Let's just       10· · · ·Q.· ·I am the 21st.
11· ·try to limit that.· Okay?                             11· · · ·A.· ·Oh, really?
12· · · · · · THE WITNESS:· Okay.                          12· · · ·Q.· ·Yeah.
13· · · · · · MR. TERRY:· Try to keep all your             13· · · · · · Sir, what is your current address?
14· ·answers out loud and by that I mean yes, no or        14· · · ·A.· ·481 State Route 251, Rutland, Illinois,
15· ·otherwise.· Nah-uhs and un-uhns don't come over       15· ·61358.
16· ·well on the transcript, so just if that happens       16· · · ·Q.· ·And how long have you lived at this
17· ·we might remind you, but try to keep that in          17· ·address?
18· ·mind you have to give a verbal yes, no or             18· · · ·A.· ·Approximately 12 years.
19· ·otherwise answer.· Okay?                              19· · · ·Q.· ·Do you have any plans to move in the
20· · · · · · THE WITNESS:· Okay.                          20· ·next year or so?
21· · · · · · MR. TERRY:· If at any point you need a       21· · · ·A.· ·No.
22· ·break, please let me or Mr. Sullivan know.· This      22· · · ·Q.· ·Okay.· Who do you live at this address
23· ·is not an endurance test.· This is just a --          23· ·with?
24· ·trying to find out what you know.· So if at any       24· · · ·A.· ·My wife and my son.
                                                       6                                                          8

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·1· · · ·Q.· ·We don't have to get into specifics          ·1· ·it safe to say you were doing various
·2· ·about them, but what is your wife's name?             ·2· ·construction work for various companies?
·3· · · ·A.· ·Juanita.                                     ·3· · · ·A.· ·Yes.
·4· · · ·Q.· ·Does anyone else live at that address        ·4· · · ·Q.· ·Okay.· Do you remember what the last
·5· ·with you?                                             ·5· ·company was that you worked for prior to joining
·6· · · ·A.· ·My son.· He is 22 years old.                 ·6· ·the union?
·7· · · ·Q.· ·Is your son, the 22 year old, is he          ·7· · · ·A.· ·I do not recall that.
·8· ·your only child?                                      ·8· · · ·Q.· ·Do you remember like any of the
·9· · · ·A.· ·No.                                          ·9· ·companies that stick out to you, the ones that
10· · · ·Q.· ·How many other children do you have?         10· ·you were with the longest or the ones that you
11· · · ·A.· ·Seven.                                       11· ·did the most important work in your mind,
12· · · ·Q.· ·Congratulations.· Big family.                12· ·anything like that?· I know it's a long time ago
13· · · ·A.· ·Yeah.                                        13· ·but...
14· · · ·Q.· ·Let me ask -- And again, I apologize.        14· · · ·A.· ·Not really.· I just can't remember
15· ·One other thing.· These are a little bit of an        15· ·besides Carney Plumbing Company.· I worked for
16· ·intrusive question, some of them.· Again, we are      16· ·a plumbing company and that was --
17· ·just trying to find out who you are, what you         17· ·B&B Construction for a little while.· That's
18· ·know and what you'll testify to.· So I will try       18· ·about it, out in Nebraska.
19· ·to keep the background to a minimum.· Just a few      19· · · ·Q.· ·So it's safe to say though that in
20· ·more.                                                 20· ·those 18 years before you joined the union you
21· · · · · · What is your highest level of                21· ·were doing general construction work and you
22· ·education?                                            22· ·have been doing that ever since you joined the
23· · · ·A.· ·High school.                                 23· ·union as well?
24· · · ·Q.· ·And where did you go to high school?         24· · · ·A.· ·Yes, sir.
                                                       9                                                         11

·1· · · ·A.· ·Wenona High School in Wenona, Illinois.      ·1· · · ·Q.· ·When you joined the union in 1998, what
·2· · · ·Q.· ·And when did you graduate from there?        ·2· ·union did you join?
·3· · · ·A.· ·1980.                                        ·3· · · ·A.· ·I joined Iron Workers Local 380 out of
·4· · · ·Q.· ·And after high school did you join the       ·4· ·Champaign, Illinois.
·5· ·union or what did you do after high school?           ·5· · · ·Q.· ·And are you still a member of that
·6· · · ·A.· ·I worked in the construction business        ·6· ·union?
·7· ·and then I didn't join the union until I was          ·7· · · ·A.· ·No.· I was transferred to Joliet
·8· ·about 36.                                             ·8· ·Local 444.
·9· · · ·Q.· ·And when you were working in the             ·9· · · ·Q.· ·Are you still a member of Local 444?
10· ·construction field after high school, was it          10· · · ·A.· ·Yes, sir.
11· ·nonunion work?                                        11· · · ·Q.· ·When did you get transferred from 380
12· · · ·A.· ·Yes.                                         12· ·to 444 approximately?
13· · · ·Q.· ·And what were you doing?                     13· · · ·A.· ·I believe 2006.
14· · · ·A.· ·About everything.· I did construction,       14· · · ·Q.· ·Are those the only two locals that you
15· ·framing, plumbing, concrete work, roofing.· Just      15· ·have ever been a part of?
16· ·a plethora of different jobs.                         16· · · ·A.· ·Yes.· As a member, yes.
17· · · ·Q.· ·Was this for one company or a multitude      17· · · ·Q.· ·Possibly as maybe like a traveling
18· ·of companies?· How did it work?                       18· ·worker somewhere else, is that what you're
19· · · ·A.· ·Multitude of companies.                      19· ·referring to?
20· · · ·Q.· ·All right.· So this would be -- You          20· · · ·A.· ·Yes.· I have worked all over the
21· ·said you graduated high school in 1980.· When         21· ·country.
22· ·did you join the union?                               22· · · ·Q.· ·And so just for sake of time, you're
23· · · ·A.· ·1998.                                        23· ·basically describing where various union members
24· · · ·Q.· ·So from approximately 1980 to 1998, is       24· ·can travel to different states and work on
                                                      10                                                         12

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·1· ·projects and you're like a temporary member of        ·1· · · ·Q.· ·And was this through your local that
·2· ·that local then; right?                               ·2· ·you got this position or how did that work
·3· · · ·A.· ·Yes.                                         ·3· ·because I know it was a traveling position?
·4· · · ·Q.· ·When you joined the union in 1998, did       ·4· · · ·A.· ·I was sent out through the local to
·5· ·you have to undergo an apprenticeship?                ·5· ·work for them as just a local hand and through
·6· · · ·A.· ·No, I did not because I worked for a         ·6· ·my performance and stuff they offered me a
·7· ·company and I worked beyond the allowed time for      ·7· ·position.
·8· ·what we call a permit hand to work and I was          ·8· · · ·Q.· ·And approximately what years did you
·9· ·waived into the union.                                ·9· ·work for them?
10· · · ·Q.· ·So another way to ask that is based on       10· · · ·A.· ·I believe it would be 2008 to 2012.
11· ·your experience and based on the amount of work       11· · · ·Q.· ·And obviously a lot of different tasks
12· ·you performed in the construction field the           12· ·go into building a wind farm.· What was
13· ·union felt comfortable in giving you full             13· ·Gemma Renewable's task?· Were they a GC?· Were
14· ·journeyman status in 1998, right?                     14· ·they an ironworking company?· Were they an
15· · · ·A.· ·Yes, sir.                                    15· ·excavator?· What was Gemma's tasks on these
16· · · ·Q.· ·And have you been a journeyman               16· ·projects?
17· ·ironworker ever since?                                17· · · ·A.· ·They were in charge of the erection of
18· · · ·A.· ·Yes, sir.                                    18· ·the wind towers and -- and the civil work.· They
19· · · ·Q.· ·All right.· When you started working --      19· ·are like the general of the project.
20· ·Well, you know, that's a long time ago.· Let's        20· · · ·Q.· ·Would they also employ ironworkers who
21· ·just go from 2006 to present since you have been      21· ·would be actually installing and erecting these
22· ·with Local 444.· Can you describe is there a          22· ·wind towers?
23· ·type of work that you get more of than others,        23· · · ·A.· ·Yes.
24· ·like some people are always on wind farms, some       24· · · ·Q.· ·So Gemma in your work with them not
                                                      13                                                         15

·1· ·people are always on buildings or is it kind of       ·1· ·only were you a foreman so a supervisory
·2· ·just the whole plethora of things that you do?        ·2· ·position, but you also had your own workers
·3· · · ·A.· ·There was a plethora of things, but          ·3· ·hands on doing these same tasks that you were
·4· ·when I traveled I worked for a wind farm company      ·4· ·doing at the subject project we are here to talk
·5· ·as a general foreman, and that was                    ·5· ·about; right?
·6· ·Gemma Renewable Power.· Then I -- Other than          ·6· · · ·A.· ·Yes.
·7· ·working out of my hall, I worked for                  ·7· · · ·Q.· ·How many projects would you say that
·8· ·Lilja Corporation out of California that worked       ·8· ·you worked on with Gemma in some type of wind
·9· ·on glass furnaces.· They made glass bottles and       ·9· ·farm capacity?
10· ·glass products or they rebuilt the furnaces that      10· · · ·A.· ·Four.
11· ·made glass bottles and products.                      11· · · ·Q.· ·And on all of these were you a foreman?
12· · · ·Q.· ·Got it, okay.                                12· · · ·A.· ·Either a foreman or a general foreman,
13· · · · · · Because you said something that's            13· ·yes.
14· ·pertinent to this case, you said that you             14· · · ·Q.· ·And how many wind farm projects would
15· ·traveled as a foreman for wind farm companies.        15· ·you say you have worked on in total in your
16· ·When was this?                                        16· ·career?· A best estimate is fine.
17· · · ·A.· ·So 2000 and -- Let me think.· 2012, I        17· · · ·A.· ·Basically over -- over a dozen.
18· ·believe, was the last time I worked with              18· ·Approximately 15 or better.· I have done five in
19· ·Gemma Renewable Power.                                19· ·the last three years.
20· · · ·Q.· ·I am sorry.· Can you spell the first         20· · · ·Q.· ·So it's safe to say that you have
21· ·name of the company?                                  21· ·worked in both supervisory positions as well as
22· · · ·A.· ·Gemma, G-e-m-m-a.                            22· ·non-supervisory positions as an ironworker on
23· · · ·Q.· ·Gemma Renewable?                             23· ·over 15 or so wind farm projects over the years,
24· · · ·A.· ·Yes.                                         24· ·correct?
                                                      14                                                         16

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·1· · · ·A.· ·That's correct.                              ·1· ·supervisory personnel?
·2· · · ·Q.· ·And in this time you have become             ·2· · · ·A.· ·I was a foreman on the last project.
·3· ·familiar with what is required of various             ·3· ·This project I am just a worker.
·4· ·subcontractors on these projects?                     ·4· · · ·Q.· ·Okay.· Prior to working with
·5· · · ·A.· ·Yes, basically.                              ·5· ·White Construction, who was your employer before
·6· · · ·Q.· ·You know what the ironworkers are hired      ·6· ·that?
·7· ·to do so to speak and you know what other people      ·7· · · ·A.· ·Basically -- Let's see.· Last year --
·8· ·are hired to do like the excavators, right?           ·8· ·I have done, let me think, three other jobs with
·9· · · ·A.· ·Yes.                                         ·9· ·White Construction in the last -- since 2000
10· · · ·Q.· ·And we will get a little bit more into       10· ·and -- last year, year before -- 2019 I believe.
11· ·that in a little bit, but just to get a little        11· · · ·Q.· ·And were all of these wind farm
12· ·bit more of information about your background,        12· ·projects?
13· ·sir, have you ever served in the military?            13· · · ·A.· ·Yes.
14· · · ·A.· ·No, sir.                                     14· · · ·Q.· ·So between 2019 and present, is it safe
15· · · ·Q.· ·Have you ever served in any civil            15· ·to say that White Construction was your main
16· ·service capacity like police or firefighter?          16· ·employer out of the hall?
17· · · ·A.· ·No, sir.                                     17· · · ·A.· ·Yes.· Yes.· I have had some small
18· · · ·Q.· ·All right.· And please don't be              18· ·miscellaneous projects, but yeah, White has been
19· ·offended.· We ask this question of everybody in       19· ·my main employer.
20· ·every deposition.· Have you ever been convicted       20· · · ·Q.· ·What about between, let's just say,
21· ·of a felony or a crime involving fraud or             21· ·2012 and 2019?· I know you worked for Mortenson
22· ·dishonesty?                                           22· ·for a period of time, right?
23· · · ·A.· ·Of fraud and dishonesty?· No, sir.           23· · · ·A.· ·Yeah.· I did a couple of wind farms
24· · · ·Q.· ·Okay.· And have you ever filed for           24· ·with them and --
                                                      17                                                         19

·1· ·bankruptcy?                                           ·1· · · ·Q.· ·I apologize.· What was the time frame
·2· · · ·A.· ·No, sir.                                     ·2· ·you worked with Mortenson give or take?
·3· · · ·Q.· ·Who is your current employer?                ·3· · · ·A.· ·Oh, man.· Let me think.· Project -- The
·4· · · ·A.· ·I am working for White Construction.         ·4· ·project before the one we are discussing today
·5· · · ·Q.· ·I am sorry, did you say White?               ·5· ·is when I started with Mortenson, so I worked
·6· · · ·A.· ·Yes, White Construction.                     ·6· ·two projects with them.
·7· · · ·Q.· ·And how long have you been working with      ·7· · · ·Q.· ·And then this accident happened in
·8· ·them?                                                 ·8· ·October of -- or November of 2018.· So would you
·9· · · ·A.· ·Approximately eight months straight          ·9· ·have worked on a project sometime in 2017 or
10· ·right now.                                            10· ·2018 prior to this one with Mortenson?
11· · · ·Q.· ·And is this on a wind farm project?          11· · · ·A.· ·I believe I was hired in the springtime
12· · · ·A.· ·Yeah.· I just finished up one last           12· ·of -- or the summertime of 2018 for Mortenson,
13· ·Friday and I was transferred to another one           13· ·and when we finished that project I transferred
14· ·Monday.                                               14· ·over to the other project in Paw Paw.
15· · · ·Q.· ·And the new one that you're transferred      15· · · ·Q.· ·Okay.· And when you say the Paw Paw
16· ·to, I think I understood your answer but I just       16· ·project, that's the one where -- It's safe to
17· ·want to be clear, this is another wind farm           17· ·say you're familiar with why we are here and the
18· ·you're talking about; right?                          18· ·incident we are here to talk about with my
19· · · ·A.· ·Yes.                                         19· ·client Nick Georgeff; right?
20· · · ·Q.· ·And is this still with                       20· · · ·A.· ·Yes.
21· ·White Construction?                                   21· · · ·Q.· ·And that's the subject project that
22· · · ·A.· ·Yes.                                         22· ·you're talking about at Paw Paw, right?
23· · · ·Q.· ·And what was your position with White?       23· · · ·A.· ·Yes.
24· ·Was it just an ironworker or was it any               24· · · ·Q.· ·Okay.· So before we get into that, I
                                                      18                                                         20

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·1· ·just want a little bit more of a background           ·1· · · ·A.· ·Yes.
·2· ·about your work history.                              ·2· · · ·Q.· ·So the idea is each union stays in
·3· · · · · · Can you give me a general rundown what       ·3· ·their own lane so to speak, like the excavators
·4· ·you were doing between your time with Gemma that      ·4· ·wouldn't step on the ironworkers' toes and the
·5· ·ended in approximately 2012 through when you          ·5· ·same is true for the reverse; right?
·6· ·started with Mortenson in 2018 or so?                 ·6· · · ·A.· ·Yeah.· I mean, operators that work for
·7· · · ·A.· ·I went and traveled on the road with         ·7· ·the excavating company wouldn't step on the
·8· ·Lilja Corporation and worked on furnaces, the         ·8· ·ironworkers' toes and vice-versa.
·9· ·blast furnaces, as a night general foreman and a      ·9· · · ·Q.· ·So from a general standpoint though
10· ·foreman.                                              10· ·what I said about the ironworkers doing the iron
11· · · ·Q.· ·And was this the majority of your work       11· ·work and the excavators doing the excavating
12· ·between those years?                                  12· ·work and them staying in their own lanes for the
13· · · ·A.· ·Yes, and other than that I ran a             13· ·most part is generally true, right?
14· ·project at Pilkington Glass Company in Naplate,       14· · · ·A.· ·Yes.
15· ·Illinois, as a general foreman for ISI,               15· · · ·Q.· ·And I am going to use Mortenson as an
16· ·Illinois Services.                                    16· ·example because that is who you were working for
17· · · ·Q.· ·And the company you worked for between       17· ·on this project, is that okay?
18· ·2012 and 2018 when you were traveling, can you        18· · · ·A.· ·Yes.
19· ·spell that name for us?                               19· · · ·Q.· ·When an excavating company is hired for
20· · · ·A.· ·L-i-j-i-a, I believe.                        20· ·these wind farm projects -- Well, first of all,
21· · · ·Q.· ·All right.· Perfect.· Thank you.             21· ·these wind farms projects are built in the
22· · · · · · So we have gone over, you know, a good       22· ·middle of nowhere on farmland, right?
23· ·background and just from generally speaking we        23· · · ·A.· ·That's correct.
24· ·have already established on these wind farms you      24· · · ·Q.· ·And before the excavating company gets
                                                      21                                                         23

·1· ·worked in both what I call the actual                 ·1· ·out there it's rough farmland that's actually
·2· ·non-supervisory like the work positions as well       ·2· ·areas of it are converted into workable land,
·3· ·as supervisory positions even though sometimes        ·3· ·right?
·4· ·the supervisory positions still require you to        ·4· · · ·A.· ·Yes.
·5· ·get your hands dirty, right?                          ·5· · · ·Q.· ·So the excavating company is hired to
·6· · · ·A.· ·Correct.                                     ·6· ·essentially prepare the ground for what is going
·7· · · ·Q.· ·So you're familiar with what your            ·7· ·to be coming?
·8· ·responsibilities are as an ironworking company        ·8· · · ·A.· ·Yeah.· Prepare the site, yes.
·9· ·on these job sites, right?                            ·9· · · ·Q.· ·Yeah.· They grade the land to make it
10· · · ·A.· ·Correct.                                     10· ·level, right?
11· · · ·Q.· ·And you have had numerous interactions       11· · · ·A.· ·Yes.· They will put access roads in,
12· ·with various subcontractors in which you discuss      12· ·grade -- grade, excavate for the bolt cages and
13· ·who is responsible for what, right?                   13· ·stuff like that and backfill.
14· · · ·A.· ·Yes, correct.                                14· · · ·Q.· ·Yeah.· Additionally they do things like
15· · · ·Q.· ·And you're generally familiar with how       15· ·compacting the land in various areas to make
16· ·things are run in a construction site?                16· ·sure --
17· · · ·A.· ·Yes, generally pretty much familiar.         17· · · ·A.· ·Yes.
18· ·Yes.                                                  18· · · ·Q.· ·-- it's properly prepared for the
19· · · ·Q.· ·And what I am getting at is, you know,       19· ·equipment that's coming?
20· ·the ironworkers, they are hired to do the             20· · · ·A.· ·Yes.
21· ·ironworking; right?                                   21· · · ·Q.· ·Okay.· And then in addition to things
22· · · ·A.· ·Yes.                                         22· ·like access roads and things like you just
23· · · ·Q.· ·And then the excavating company is           23· ·talked about, they also prepare erection areas,
24· ·hired to do the excavating work, right?               24· ·like where the actual building of the turbine is
                                                      22                                                         24

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·1· ·going to be; right?                                   ·1· ·farmland except for approximately maybe 20 feet
·2· · · ·A.· ·Yes.· That's what we call a tower site,      ·2· ·around the tower itself and the access lane.
·3· ·yes.                                                  ·3· · · ·Q.· ·Okay.· So again though, like the
·4· · · ·Q.· ·Yeah.· So the tower site, the tower is       ·4· ·whole -- Let's just say the whole project is a
·5· ·kind of in the center of the erection site;           ·5· ·big square.· There is going to be various little
·6· ·right?                                                ·6· ·circles inside that square and access roads that
·7· · · ·A.· ·Yes.                                         ·7· ·are converted from farmland into the working
·8· · · ·Q.· ·And then on a radius going out in each       ·8· ·area and then the rest of that square is never
·9· ·direction for however many feet the project           ·9· ·even touched because who cares about the
10· ·specifies, that is the erection area that's           10· ·farmland so long as it's not where people are
11· ·going to be built so that the ironworkers and         11· ·going to be working; right?
12· ·all the different trades can come in and do what      12· · · ·A.· ·Exactly.· Yes.· We do -- They do
13· ·needs to be done; right?                              13· ·trenching.· Electricians have to trench
14· · · ·A.· ·Yes.· They will lay out an area so we        14· ·underground cables between towers and towers and
15· ·can lay components down and start erecting the        15· ·they build a crane for us to move our cranes
16· ·towers.                                               16· ·from site to site.
17· · · ·Q.· ·And from a general standpoint, prior to      17· · · ·Q.· ·Okay.
18· ·the excavating company coming in and creating         18· · · ·A.· ·But other than that, the rest of the
19· ·these erection areas like we have talked about,       19· ·farmland is never touched.
20· ·this is rough farmland prior to them coming out       20· · · ·Q.· ·Got it.
21· ·there; right?                                         21· · · · · · So then let's just talk about briefly
22· · · ·A.· ·Yeah.· It's just a farm.· Yes.               22· ·access roads.· So the access roads at the risk
23· · · ·Q.· ·Yeah.· And the excavating company is         23· ·of asking an obvious question because it's in
24· ·hired to convert this unsafe farmland into safe       24· ·the name, these access roads are roads that
                                                      25                                                         27

·1· ·work area for the turbines and all the workers,       ·1· ·provide access to the turbine site off the main
·2· ·right?                                                ·2· ·road; right?
·3· · · ·A.· ·Yes.                                         ·3· · · ·A.· ·That is correct.
·4· · · ·Q.· ·And on this specific project the             ·4· · · ·Q.· ·And these access roads are cleared,
·5· ·excavating company was Borneke, right?                ·5· ·graded, compacted and prepared by the excavating
·6· · · ·A.· ·Yes.· I do remember it was Borneke,          ·6· ·company so that semi trucks and various trades
·7· ·yes.                                                  ·7· ·can get to and from the turbine; right?
·8· · · ·Q.· ·And so the same tasks that we just           ·8· · · ·A.· ·That is correct.
·9· ·talked about, the grading, the compacting, the        ·9· · · ·Q.· ·And then at the actual turbine, like
10· ·preparing of erection areas, this was all             10· ·you just said the radius around it, that is the
11· ·Borneke who was performing this work on this          11· ·whole erection area that the access road leads
12· ·project?                                              12· ·up to; right?
13· · · ·A.· ·Yes.                                         13· · · ·A.· ·Yes.
14· · · ·Q.· ·And again, a vast majority of the area       14· · · ·Q.· ·And the erection area is actually where
15· ·where these turbines are going to be erected in       15· ·the ironworkers and all the other trades are
16· ·like the site as a whole are never going to be        16· ·going to be erecting these turbines, hence the
17· ·touched by the excavating company, like a vast        17· ·name erection area?
18· ·majority of the land, it's just very specific         18· · · ·A.· ·Yes.
19· ·areas that are actually converted into workable       19· · · ·Q.· ·And these areas are very important in
20· ·land; right?                                          20· ·terms of needing to be properly graded and
21· · · ·A.· ·Yeah.· The access lane and                   21· ·prepared, right?
22· ·approximately 300 feet around the tower is            22· · · ·A.· ·Yeah.· They need to be compacted and
23· ·converted into the construction site and then         23· ·graded, yeah, so we have areas to move.· It's in
24· ·when it's done it's all reclaimed back into the       24· ·their contract with the farmers to have excess
                                                      26                                                         28

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·1· ·amount where we do not disturb their fields.          ·1· ·conditions like large ruts; right?
·2· · · ·Q.· ·Exactly.· There is areas that you are        ·2· · · ·A.· ·Yeah.· The compaction is to maintain
·3· ·not allowed to touch, but then the areas like         ·3· ·the weight around the tower area to support,
·4· ·the erection sites are the areas where it needs       ·4· ·yeah, the heavy pieces that come in, the heavy
·5· ·to be graded, compacted, maintained, things like      ·5· ·trucks and the cranes and everything else.
·6· ·that; right?                                          ·6· · · ·Q.· ·And part of the idea behind the
·7· · · ·A.· ·That is correct.                             ·7· ·compaction is because it is known that heavy
·8· · · ·Q.· ·And additionally, the excavating             ·8· ·pieces of equipment and large trucks, large
·9· ·company is required to provide proper drainage        ·9· ·cranes, all these things are going to be coming
10· ·at these erection sites; right?                       10· ·and if the ground is compacted properly the idea
11· · · · · · MR. SULLIVAN:· Objection to foundation.      11· ·is that the ground won't sink underneath this
12· · · · · · Go ahead though.                             12· ·stuff; right?
13· · · · · · THE WITNESS:· Around the -- yes.             13· · · ·A.· ·Yes.· Yes.· Can you hear me?
14· ·Around the foundation, yeah.                          14· · · ·Q.· ·No, I can.· I apologize.· I just -- We
15· ·BY MR. TERRY:                                         15· ·also sometimes check our notes as we go, so
16· · · ·Q.· ·Yeah.· The idea is -- and you have seen      16· ·unless we --
17· ·this on other projects; right?                        17· · · ·A.· ·Okay.
18· · · ·A.· ·Yes.                                         18· · · ·Q.· ·Unless we completely freeze, we are
19· · · ·Q.· ·The idea behind it is you don't want         19· ·still here.
20· ·water pooling near the erection area or near the      20· · · ·A.· ·Okay.
21· ·turbine sites, right?                                 21· · · ·Q.· ·All right.· So you would agree though
22· · · ·A.· ·It usually is pretty much graded away        22· ·that providing proper drainage, grading and
23· ·to drain away from the tower itself and the           23· ·compacting of land are all very important tasks
24· ·crane pad.                                            24· ·that need to be performed prior to the work
                                                      29                                                         31

·1· · · ·Q.· ·Let's talk about the compacting that         ·1· ·commencing in these erection sites; right?
·2· ·you have seen being performed and the compacting      ·2· · · ·A.· ·Yes.
·3· ·that needs to be performed at these erection          ·3· · · ·Q.· ·The excavating company comes in first
·4· ·sites.                                                ·4· ·and they prepare the ground for trades like the
·5· · · · · · You would agree that compacting of           ·5· ·ironworkers or the truck drivers to later come
·6· ·ground is really important because it helps           ·6· ·in and do the work they need to do?
·7· ·prepare the ground for what is going to be            ·7· · · ·A.· ·Yes.
·8· ·coming later, right?                                  ·8· · · ·Q.· ·And it's important for the excavating
·9· · · ·A.· ·Yes.· We bring in some pretty heavy          ·9· ·company to do their work right the first time so
10· ·pieces and equipment so it does -- it needs to        10· ·that the ground is properly prepared for
11· ·be compacted so it does not sink.                     11· ·whatever is coming, right?
12· · · ·Q.· ·Exactly.· You can't just clear               12· · · ·A.· ·Yes.· There -- After we build the
13· ·farmland, not compact it and expect the ground        13· ·foundation they dig a pretty large hole to put
14· ·not to sink in; right?                                14· ·the tower foundations down and they have to make
15· · · ·A.· ·Yes, pretty much.                            15· ·sure that that is compacted because that's in
16· · · ·Q.· ·The idea is you want to compact the          16· ·with the area of the cranes and the trucks will
17· ·ground so that the ground can support the weight      17· ·drive in so that they don't sink back in when
18· ·of the crane, the semi trucks and all the             18· ·they backfill that tower foundation.
19· ·equipment that's going to be coming late; right?      19· · · ·Q.· ·And the same thing would be true for
20· · · ·A.· ·Yes.                                         20· ·where the various pieces of equipment like the
21· · · ·Q.· ·And the whole idea behind this, the          21· ·base sections or the midsections or the blades,
22· ·compacting, the grading, the drainage is so that      22· ·that needs to be compacted properly, too,
23· ·the erection areas and the turbine sites aren't       23· ·because you don't want the ground sinking in
24· ·covered in standing water or poor ground              24· ·underneath these and allowing these pieces of
                                                      30                                                         32

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·1· ·equipment to roll around; right?                      ·1· ·foundation area that it has been disturbed.
·2· · · ·A.· ·Yes.                                         ·2· ·BY MR. TERRY:
·3· · · ·Q.· ·You would agree that if the ground           ·3· · · ·Q.· ·Exactly.· And that's the idea.· The
·4· ·sinks in underneath a base or a midsection and        ·4· ·whole project itself where it's located is on
·5· ·it rolls it can possibly kill somebody?               ·5· ·farm ground, but these areas near the erection
·6· · · ·A.· ·Yes.· They usually just sink, but yes.       ·6· ·site and the foundation, these are the areas
·7· ·Yeah, if it does -- Being on a hillside or            ·7· ·that need to be properly prepared for the
·8· ·something and rolls away, yes, there has been         ·8· ·delivery of the various equipment; right?
·9· ·accidents.                                            ·9· · · ·A.· ·Yes.
10· · · ·Q.· ·Okay.· And if the ground is not              10· · · ·Q.· ·And there are certain things that you
11· ·properly prepared, like you just said things can      11· ·have seen grading and excavating companies do in
12· ·happen where the equipment sinks into the ground      12· ·the past to properly prepare the ground such as
13· ·partially; right?                                     13· ·compacting, putting down gravel, various other
14· · · ·A.· ·Yes.                                         14· ·things that need to be done from time to time to
15· · · ·Q.· ·And this would cause a depressed area        15· ·prepare the ground properly; right?
16· ·in the ground that water can pool in for              16· · · ·A.· ·Yes.
17· ·example?                                              17· · · ·Q.· ·And these are all things that can be
18· · · ·A.· ·Yes.                                         18· ·done and with proper preparation can prevent
19· · · ·Q.· ·Or someone can just simply trip in it,       19· ·certain dangerous conditions like large holes or
20· ·it can create -- The idea is if the ground is         20· ·depressed areas, right?
21· ·not properly prepared and the equipment sinks         21· · · ·A.· ·Yes, it can.
22· ·into the ground it creates a potentially              22· · · ·Q.· ·You would agree that on a wind farm
23· ·dangerous situation later on; right?                  23· ·project -- again, I am not talking about the
24· · · ·A.· ·Yeah.· If there is trenches and stuff        24· ·project as a whole.· I am talking about where
                                                      33                                                         35

·1· ·like that, yes, it's hazardous walking and            ·1· ·people are going to be staging equipment, where
·2· ·working conditions, yes.                              ·2· ·the foundation is going to be.· Those specific
·3· · · ·Q.· ·Just generally speaking from your            ·3· ·areas you would agree that if the ground is
·4· ·experience on 15-plus different wind farm             ·4· ·properly prepared for these pieces of equipment
·5· ·projects both as a foreman and as a non-foreman,      ·5· ·to come in and for -- and to the compaction
·6· ·you would agree that large areas of depressed         ·6· ·requirements, large depressed areas and sheets
·7· ·land that was formed by equipment sinking into        ·7· ·of ice do not generally occur; right?
·8· ·the ground this could be unsafe; right?               ·8· · · ·A.· ·They should -- should not, yes.
·9· · · ·A.· ·Yeah.· It will create tripping hazards       ·9· · · ·Q.· ·Exactly.· And that's the idea behind
10· ·for the workers around the area.                      10· ·it.· The general contractor hires an excavating
11· · · ·Q.· ·Yeah.· And like we said, it can also         11· ·company to prepare the land so that large
12· ·create areas for large pools of water to              12· ·depressed areas and sheets of ice don't form,
13· ·accumulate and form; right?                           13· ·right?
14· · · ·A.· ·Yes.                                         14· · · ·A.· ·Yeah.· There is an access to water
15· · · ·Q.· ·And these depressed areas are things         15· ·runoff, drainage, to keep it away from the tower
16· ·that can be possibly prevented with proper            16· ·itself to drain away from the components, yes.
17· ·ground preparation, right?                            17· · · ·Q.· ·All right.· So you would agree that if
18· · · · · · MR. SULLIVAN:· Objection to foundation.      18· ·there are large sheets of ice or large depressed
19· · · · · · Go ahead.                                    19· ·areas on a job site, this is not a normal or
20· · · · · · THE WITNESS:· Yeah, but, you know,           20· ·safe condition that should be allowed; right?
21· ·it's -- I can't really -- It's -- I don't know        21· · · ·A.· ·No.· Somebody should have been informed
22· ·how to say this, but it's like farm ground.           22· ·and had some equipment out there to clean it up.
23· ·You're out in a -- out there.· You can't do           23· · · ·Q.· ·And just from a general standpoint, not
24· ·every secure inch, but you do around the              24· ·this specific area, but on other projects if
                                                      34                                                         36

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·1· ·there was a large depressed area or large sheets      ·1· ·it up and straighten it out for further work.
·2· ·of ice this is something that on prior projects       ·2· · · ·Q.· ·Okay.· Of course, but on this project
·3· ·you would expect to be addressed immediately;         ·3· ·Don Borneke was on site every day.· You would
·4· ·right?                                                ·4· ·agree with that, right?
·5· · · ·A.· ·Yeah.· I would expect whoever was on         ·5· · · ·A.· ·Yeah, he was on the project site.· He
·6· ·that site to call the excavating company or           ·6· ·just was not on every site every day.· There
·7· ·their boss and have them bring some equipment         ·7· ·is -- You know, they were working other areas at
·8· ·out to clean up that area so -- to relieve the        ·8· ·the time probably.· I mean, an excavating
·9· ·presence of a hazard.                                 ·9· ·company doesn't just leave their equipment
10· · · ·Q.· ·Exactly.· And this can be done by            10· ·sitting on one site that you're working on.
11· ·direct snow and ice removal or it can done by         11· ·They have got other things that they have got to
12· ·simply regrading and re-preparing the land,           12· ·do, but somebody you know -- but if there is a
13· ·right?                                                13· ·potential hazard and there is bad conditions
14· · · ·A.· ·Yeah.                                        14· ·they need to be informed and then they need to
15· · · · · · MR. SULLIVAN:· Objection, foundation.        15· ·bring in equipment and straighten it out.
16· · · · · · Go ahead.                                    16· · · ·Q.· ·Fair.· So exactly.· If there is a
17· · · · · · THE WITNESS:· I am sorry.                    17· ·hazard that's noticed, they can either notice it
18· · · · · · MR. SULLIVAN:· Your answer, it will          18· ·themselves and fix it or they can be notified of
19· ·stand.· You already gave your answer.· Thank          19· ·it and fix it; right?
20· ·you.                                                  20· · · ·A.· ·Yes, that's correct.
21· ·BY MR. TERRY:                                         21· · · ·Q.· ·Okay.· Not only that though, but on the
22· · · ·Q.· ·And again, by preparing the ground           22· ·project their job is to prepare the ground so
23· ·properly on these projects this is how these          23· ·that these large pieces of equipment don't sink
24· ·dangerous conditions are avoided?                     24· ·into the ground; right?
                                                      37                                                         39

·1· · · ·A.· ·Yeah, but they always need to be             ·1· · · ·A.· ·Yes.
·2· ·maintained after a certain amount of time just        ·2· · · ·Q.· ·Okay.
·3· ·to relieve some of the hazards that develop           ·3· · · ·A.· ·They are hired to prepare the site,
·4· ·during the excavation -- or not the excavation,       ·4· ·yes.
·5· ·but the erection of the towers.                       ·5· · · ·Q.· ·And you have seen various ways for this
·6· · · ·Q.· ·Exactly.· So the ground is prepared and      ·6· ·to be performed on projects.· On some projects
·7· ·then the excavating company needs to maintain         ·7· ·gravel is used and put down so that it can help
·8· ·the land from time to time to remedy potential        ·8· ·the ground in anticipation for these pieces of
·9· ·hazards that have arose after the fact, right?        ·9· ·equipment and stuff like that?
10· · · ·A.· ·Yes.                                         10· · · ·A.· ·Usually that's where we put the
11· · · ·Q.· ·Okay.· So it's kind of twofold.· One,        11· ·equipment.· The gravel is just used for the
12· ·prepare the ground properly so that hazards           12· ·crane pads themselves and the access roads.· The
13· ·don't form; and two, if they do form, come back       13· ·area is just usually graded off and compacted
14· ·and fix it?                                           14· ·to -- to support the weight of the equipment
15· · · ·A.· ·Yes, but they -- they need to be             15· ·coming in and out.
16· ·notified if there is a hazard that -- so they         16· · · ·Q.· ·So then for the actual area where the
17· ·can bring their equipment back in and take care       17· ·equipment is going to go, it's about compaction.
18· ·of the problem.                                       18· ·You compact the ground properly so that the
19· · · ·Q.· ·Of course.                                   19· ·equipment does not just sink into the ground and
20· · · ·A.· ·You understand what I am saying?             20· ·cause a large depressed area, right?
21· · · ·Q.· ·Yes, of course.                              21· · · ·A.· ·Yes, and then we are not sinking trucks
22· · · ·A.· ·I mean, they are not on the site 24/7        22· ·and pulling trucks apart and stuff like that
23· ·with us, but they should be informed and have         23· ·trying to get them out of the hole.
24· ·some equipment available to come back and clean       24· · · ·Q.· ·Let's go to the subject project itself,
                                                      38                                                         40

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·1· ·Mendota Hills Wind Farm.· What was Mortenson's        ·1· ·performed was still adequate; right?
·2· ·role in this project in your own words?               ·2· · · ·A.· ·Unless work was being performed on
·3· · · ·A.· ·Basically the general erection foreman.      ·3· ·the -- Like unless the ironworkers or something
·4· ·They erect the towers and they should have been       ·4· ·we were -- we were erecting and picking up
·5· ·liable doing -- contacting the civil work and         ·5· ·components, they usually have to sign a job
·6· ·electrical work and stuff like that.                  ·6· ·safety analysis sheet and get permission from
·7· · · ·Q.· ·Okay.· So Mortenson --                       ·7· ·the foreman to enter the job site so they are
·8· · · ·A.· ·All the contractors would be like a          ·8· ·not interfering or in a hazardous position when
·9· ·subcontractor under them.                             ·9· ·they come into the site.
10· · · ·Q.· ·Got it.· So Mortenson was the entity         10· · · ·Q.· ·Okay.· So yeah.· Again, the idea is you
11· ·that was actually responsible for erecting the        11· ·don't want people walking underneath cranes when
12· ·various turbines, right?                              12· ·things are going to be picked up; right?
13· · · ·A.· ·Yeah, and preparing the sites.· Having       13· · · ·A.· ·Exactly.· Don't want them driving into
14· ·the sites prepared properly, too, yeah.               14· ·the components or anything like that.
15· · · ·Q.· ·Yeah.· And then Borneke -- Well,             15· · · ·Q.· ·So other than when a crane is being
16· ·Borneke was the excavating company on this            16· ·used or some type of very what I like to use the
17· ·project; right?                                       17· ·word heavy, you know, work is being performed,
18· · · ·A.· ·Yes.· They would have been like a            18· ·there aren't controlled access sites, meaning
19· ·subcontractor hired by Mortenson to perform the       19· ·subcontractors like Borneke can go around and
20· ·work that needed to be done.                          20· ·make sure areas they have previously addressed
21· · · ·Q.· ·Yeah.· And some of this work that            21· ·were still good.· If they wanted to, that was an
22· ·needed to be done was like what we have talked        22· ·option to them; right?
23· ·about before on this project, the creating of         23· · · ·A.· ·Yeah.· Yes.· All they had to do is,
24· ·access roads; right?                                  24· ·like I said, we -- When the ironworkers get
                                                      41                                                         43

·1· · · ·A.· ·Yes.                                         ·1· ·there and we start off-loading and erecting and
·2· · · ·Q.· ·As well as the creating of erection          ·2· ·doing stuff like that and we are performing work
·3· ·areas?                                                ·3· ·in the area, we are made to fill out a job
·4· · · ·A.· ·Yes.                                         ·4· ·safety analysis sheet and it tells us the steps
·5· · · ·Q.· ·Okay.· And in addition to creating the       ·5· ·that we are doing.· I don't know if you're
·6· ·erection areas, the things we talked about rang       ·6· ·familiar with anything like that.· For anybody
·7· ·true for this project as well.· They needed to        ·7· ·to come across -- We put a barrier up and for
·8· ·properly compact the land so that it was              ·8· ·anybody to come across that barrier they have to
·9· ·prepared for the deliveries that were going to        ·9· ·read the job safety analysis sheet, sign it, and
10· ·be coming, right?                                     10· ·there is usually a phone number on there to
11· · · ·A.· ·Yes.                                         11· ·contact the foreman that's on that site to get
12· · · ·Q.· ·On this project there was no controlled      12· ·permission to come into the site --
13· ·access zones where people could not go, right?        13· · · ·Q.· ·Okay.
14· · · ·A.· ·No.                                          14· · · ·A.· ·-- so we know who is there, who comes
15· · · ·Q.· ·Yeah.· So meaning there is various           15· ·in instead of, you know, something -- they park
16· ·sites.· There were 29 sites for this project,         16· ·in the wrong place and we swing something and it
17· ·right?                                                17· ·hits their vehicle.· Do you understand what I am
18· · · ·A.· ·Yes.                                         18· ·saying?· Or they get in a position where they
19· · · ·Q.· ·So at the different 29 sites we have         19· ·are in a hazard, but they usually got to notify
20· ·already established there were not controlled         20· ·the foreman on the site.
21· ·access areas, so while different contractors may      21· · · ·Q.· ·Okay.· So again though, for example,
22· ·be working in different areas, nothing was            22· ·let's take the access roads.· The various
23· ·preventing them from having somebody drive            23· ·subcontractors can take the access roads up to
24· ·around and make sure the work they have already       24· ·the site, up to the actual turbine site so long
                                                      42                                                         44

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·1· ·as they don't go in the controlled area so to         ·1· ·so the components and equipment can sit there
·2· ·speak and they can look at what is going on and       ·2· ·because you cannot put any components and
·3· ·turn around and go to another site if they            ·3· ·equipment on that site until the foundation is
·4· ·needed to?                                            ·4· ·poured, passes the test, passes the strength
·5· · · ·A.· ·Yes.· That's usually approximately like      ·5· ·test and it is backfilled.
·6· ·300 feet away behind the crane pad that we            ·6· · · ·Q.· ·And then the same thing is true that we
·7· ·usually zone off.                                     ·7· ·talked about just from a general standpoint, the
·8· · · ·Q.· ·And so this area outside of that is an       ·8· ·vast majority of the actual farmland will never
·9· ·area that people can go to look at the work they      ·9· ·be touched, but the erection site itself is
10· ·have already performed and make sure it's still       10· ·where all the work that's going to be performed
11· ·good, right?                                          11· ·and this is the area that needs to be graded and
12· · · ·A.· ·Yes.                                         12· ·compacted; right?
13· · · ·Q.· ·Not only that, as long as the crane is       13· · · ·A.· ·Yeah.· Most of the compaction happens
14· ·not at the site, like let's say the crane is at       14· ·basically around where the foundation is dug up.
15· ·some other site, let's say the crane is at T1,        15· ·The rest of the 300 foot radius that we use is
16· ·nothing was preventing the excavating company         16· ·just graded to level or graded to have runoff
17· ·from going on T11 or T12 and making sure the          17· ·and it's -- you know, just graded and smooth it
18· ·work they previously performed was still good;        18· ·out so we can bring equipment in and out of
19· ·right?                                                19· ·there.
20· · · ·A.· ·Yes.· There is no -- no reason why           20· · · ·Q.· ·Okay.
21· ·they -- Yeah, they can have access to that.           21· · · ·A.· ·But most of the compaction and
22· ·It's just going to have to be an arrangement.         22· ·everything is done over the foundation area that
23· ·If there is no other work being performed on,         23· ·has been dug up and disturbed.
24· ·yeah, you can have full access to that T12 or         24· · · ·Q.· ·You would agree that the ground at
                                                      45                                                         47

·1· ·T11 tower.                                            ·1· ·least has to be compacted and prepared enough so
·2· · · ·Q.· ·So we have talked about, you know, like      ·2· ·that the various pieces of equipment and the --
·3· ·the erection sites from a general standpoint on       ·3· ·like the cranes and the trucks as well as the
·4· ·your previous projects.· Is the same kind of          ·4· ·pieces of equipment that are going to be
·5· ·thing that you have been describing for these         ·5· ·delivered don't sink into the ground, right?
·6· ·erection sites true for this project as well,         ·6· · · ·A.· ·Yes.· I mean, we are bringing in stuff
·7· ·it's where the erection is going to be taking         ·7· ·that's weighing 160,000 pounds on a truck and,
·8· ·place, where the equipment is going to be staged      ·8· ·you know, you're looking at 200,000 pounds and
·9· ·and it's for an area in each direction out of         ·9· ·you bring that in on a non-compacted area and
10· ·the turbine?                                          10· ·it's going to sink and it's going to get stuck.
11· · · ·A.· ·Yes.                                         11· ·Then we are not going to be able to get the
12· · · ·Q.· ·And in the middle of the erection area       12· ·component off and stuff like that.
13· ·is where the foundation actually goes, right?         13· · · ·Q.· ·Yeah, and so that's the idea.· There is
14· · · ·A.· ·Yes.                                         14· ·certain areas that are compacted more than
15· · · ·Q.· ·Can you describe what the foundation         15· ·others like the crane pad or the foundation
16· ·is?                                                   16· ·itself, right?
17· · · ·A.· ·The foundation is a concrete                 17· · · ·A.· ·Yeah.· Yeah.· That's the major
18· ·foundation.· It's usually -- You have to dig a        18· ·compaction area that needs to be compacted.
19· ·hole maybe 100 feet in diameter so we can put         19· · · ·Q.· ·But then there's other areas like the
20· ·the rebar and the bolt cage and the concrete,         20· ·erection site as a whole that also needs to be
21· ·and then that's backfilled and compacted.· Then       21· ·compacted because like you said 200,000 pounds
22· ·they -- After that then they will perform --          22· ·of equipment is coming in and the ground needs
23· ·compact a crane pad so the crane can sit on           23· ·to be ready for this, right?
24· ·there and areas around it need to be compacted        24· · · ·A.· ·Yes.· That's usually -- It doesn't take
                                                      46                                                         48

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·1· ·up the whole erection site.· Usually the heavier      ·1· ·300 foot radius, but where the crane is and
·2· ·stuff is within 65 feet of the center pin of the      ·2· ·where this equipment is being dropped, this is
·3· ·crane on the crane pad.· So say 65 feet from the      ·3· ·all area that needs to be properly prepared so
·4· ·center of the crane pad to the tower will be          ·4· ·the ground does not sink in underneath it;
·5· ·your heaviest equipment and off -- Let me think.      ·5· ·right?
·6· ·90 feet so we can pick the heavy components with      ·6· · · ·A.· ·That is correct.
·7· ·the crane.                                            ·7· · · ·Q.· ·And if the ground does sink in let's
·8· · · ·Q.· ·Okay.· So within this let's just -- So       ·8· ·say underneath the crane for example, that means
·9· ·within this let's say 90 feet, this is the area       ·9· ·the ground wasn't properly prepared, right?
10· ·that really needs to be compacted because this        10· · · · · · MR. SULLIVAN:· Objection to foundation.
11· ·is where the heaviest equipment is going to be,       11· · · · · · Go ahead.
12· ·right?                                                12· ·BY MR. TERRY:
13· · · ·A.· ·Yeah.· What really needs to be               13· · · ·Q.· ·You can answer.
14· ·compacted is the foundation area -- the ground        14· · · ·A.· ·Yeah.· I mean, there is other -- Yeah.
15· ·that has been disturbed by being dug up.              15· ·I mean, if the crane -- Well, you know, the
16· · · ·Q.· ·And then the same thing with the areas       16· ·crane pad and the crane sinks, yeah, the
17· ·where the equipment is going delivered or no?         17· ·foundation is -- the crane pad is not prepared
18· · · ·A.· ·Yeah.                                        18· ·properly.
19· · · ·Q.· ·Like the heavy equipment.                    19· · · ·Q.· ·And you know this just from your
20· · · ·A.· ·Some of the components usually end up        20· ·15 years of experience in the construction
21· ·in the area of the -- on the foundation area the      21· ·field, you have seen things done right and you
22· ·same as the crane because the foundation is           22· ·have seen things done poorly; right?
23· ·usually 70 or 80 feet wide at the base.               23· · · ·A.· ·Yeah.· You don't want to drop over a
24· · · ·Q.· ·So what you're saying is -- and I just       24· ·300-foot tall crane and, you know, tens of
                                                      49                                                         51

·1· ·want to make sure I understand correctly -- the       ·1· ·millions of dollars and flip it over and kill
·2· ·crane and the equipment that's coming in to           ·2· ·somebody.· That thing has to be pretty much hard
·3· ·build the turbine all go close enough to the          ·3· ·compacted to whatever specifications that were
·4· ·actual foundation so that the ground around it        ·4· ·allotted in the contract.
·5· ·is compacted enough to support it?                    ·5· · · ·Q.· ·Exactly.· And then the same thing for
·6· · · ·A.· ·Yes.                                         ·6· ·where -- again, it's right by the foundation
·7· · · ·Q.· ·So the ground is prepared for these          ·7· ·where these large pieces of equipment are, same
·8· ·things, but they are just placed close enough in      ·8· ·thing there, like the base or the midsection,
·9· ·the compaction area so that the standards meet        ·9· ·this area also needs to be properly graded and
10· ·what it needs to meet; right?                         10· ·compacted so that the ground doesn't sink in
11· · · ·A.· ·Yeah.                                        11· ·underneath those pieces?
12· · · ·Q.· ·So the crane is put on the crane pad         12· · · ·A.· ·Yes.
13· ·which is close to the foundation, right?              13· · · ·Q.· ·And if the ground does sink in
14· · · ·A.· ·Um-hum.                                      14· ·underneath the base or the mid and so that there
15· · · ·Q.· ·Is that a yes?                               15· ·is large ruts and depressed areas, the
16· · · ·A.· ·Yes.· I am sorry.                            16· ·compaction wasn't done to the proper
17· · · ·Q.· ·No, it's okay.                               17· ·specifications because it's --
18· · · · · · And then the same thing with the pieces      18· · · · · · MR. SULLIVAN:· Objection.
19· ·like the base or the mid or the blades, all of        19· ·BY MR. TERRY:
20· ·these are put close enough so that they are also      20· · · ·Q.· ·Let me finish -- because it's so close
21· ·in the compacted area, too; right?                    21· ·to the foundation area?
22· · · ·A.· ·Yeah.· They are put within the radius        22· · · · · · MR. SULLIVAN:· Foundation objection.
23· ·of the crane to pick them up so we can erect it.      23· · · · · · Go ahead.
24· · · ·Q.· ·Exactly.· So maybe not the whole             24· · · · · · THE WITNESS:· Yes, I believe.
                                                      50                                                         52

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·1· ·BY MR. TERRY:                                         ·1· ·some amount of ruts that form and these need to
·2· · · ·Q.· ·And again, this is also from -- It's         ·2· ·be re-addressed?
·3· ·just common sense in your field.· The area where      ·3· · · ·A.· ·Yes, but once -- They are not -- Yeah,
·4· ·this large equipment is going to be coming in         ·4· ·but you cannot re-address it until that piece is
·5· ·needs to be properly compacted so that it             ·5· ·picked up and moved.· Then you can bring some
·6· ·doesn't -- the ground doesn't sink in                 ·6· ·equipment in to clear out the ruts that were
·7· ·underneath, it's just common sense from your          ·7· ·underneath that piece of equipment or piece of
·8· ·15 years in the industry; right?                      ·8· ·tower section as I call it.
·9· · · ·A.· ·Yes.· It needs to be solid to support        ·9· · · ·Q.· ·Okay.· So we are talking about two
10· ·the weight.                                           10· ·different things.· Let's just talk about the
11· · · ·Q.· ·You said it needs to be able to support      11· ·ground preparation first.· So what you have
12· ·the weight?                                           12· ·stated and I think is accurate, correct me if I
13· · · ·A.· ·Yeah.· It needs to be solid enough to        13· ·am wrong, the ground around the foundation where
14· ·support the weight.                                   14· ·the crane is, where the deliveries are being
15· · · ·Q.· ·Exactly.· And you have seen other            15· ·made, that needs to be compacted so that things
16· ·projects where the area around the foundation is      16· ·like the crane and the base and the mid don't
17· ·properly compacted and the base and the               17· ·sink into the ground; right?
18· ·mid-sections don't sink into the ground, right?       18· · · ·A.· ·Yes.
19· · · ·A.· ·Yeah.· It could be the next site down        19· · · ·Q.· ·The ground needs to be compacted so
20· ·the road.· I mean, farm grounds are -- are            20· ·much that like you said it can support the
21· ·peculiar places to be working; but yeah, I mean,      21· ·weight, right?
22· ·one site could be totally different from another      22· · · ·A.· ·Yes.
23· ·site and it can only be, you know, just down the      23· · · ·Q.· ·And then in your experience proper
24· ·road.· One site can be more clay, one site can        24· ·compacting of the ground in these areas prevent
                                                      53                                                         55

·1· ·have more sand, you know what I mean.                 ·1· ·these pieces of equipment from sinking into the
·2· · · ·Q.· ·Yeah, of course.· And this is why it's       ·2· ·ground?
·3· ·so important like you said to properly prepare        ·3· · · ·A.· ·Yes.
·4· ·and compact the ground so that to use your own        ·4· · · ·Q.· ·And it also -- The idea behind it is if
·5· ·words it can support the weight, right?               ·5· ·you compact it so that the pieces don't sink
·6· · · ·A.· ·Yes.                                         ·6· ·into the ground, there is not going to be these
·7· · · ·Q.· ·And in your experience -- Let's just         ·7· ·depressed areas when you move the pieces of
·8· ·talk about this area that we are talking about        ·8· ·equipment; right?
·9· ·now where the crane goes, where the equipment is      ·9· · · ·A.· ·Yes.
10· ·staged, where the foundation is.· If the              10· · · ·Q.· ·And on this project the preparing of
11· ·compacting is done properly the idea is that          11· ·the ground the compacting of it, this was
12· ·large ruts and depressed areas won't form,            12· ·Borneke's responsibility?
13· ·right?                                                13· · · ·A.· ·I believe -- Yes.· They were the
14· · · ·A.· ·Well, you're always going to have a          14· ·subcontractors that did the excavating, yes.
15· ·rut, but if -- you're always going to end up          15· · · ·Q.· ·And in addition to this, and we've
16· ·with a -- Most of the time you're going to end        16· ·talked about the compaction for a while now, but
17· ·up with a rut unless it's dry, dry dirt.· You         17· ·also you said that the land needs to be graded
18· ·know, when it gets wet and rainy you're going to      18· ·away from the foundation so that water doesn't
19· ·end up with a rut and it needs to be graded away      19· ·pool by the foundation where people are working;
20· ·so that the rain -- the water does not pool up        20· ·right?
21· ·and stand underneath the components.                  21· · · ·A.· ·Yes.· They usually are graded away from
22· · · ·Q.· ·Okay.· So the idea is essentially what       22· ·it to -- when it rains so the runoff can get
23· ·you're saying, the ground needs to be prepared,       23· ·away from the towers and the foundation and
24· ·but when the trucks come in there is going to be      24· ·everything and the crane pad.
                                                      54                                                         56

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·1· · · ·Q.· ·And you would agree that water pooling       ·1· ·yes.
·2· ·near a foundation or where people are working         ·2· · · ·Q.· ·I am going to show you what was marked
·3· ·can be a dangerous condition, right?                  ·3· ·as Exhibit 3B during another deposition for
·4· · · ·A.· ·Yes.                                         ·4· ·Brad Bennett's deposition.· I will zoom in for
·5· · · ·Q.· ·It can cause damage to equipment or it       ·5· ·you because I know it's a little small on the
·6· ·can cause a slipping or tripping hazard, right?       ·6· ·screen, but have you seen this document before?
·7· · · ·A.· ·Yes.                                         ·7· ·It's a site map for the Mendota Hills Wind Farm.
·8· · · ·Q.· ·It can also lead to areas where ruts         ·8· · · ·A.· ·Okay.
·9· ·form more easily, right?                              ·9· · · ·Q.· ·Have you seen this before?
10· · · ·A.· ·Yes.                                         10· · · ·A.· ·Yeah.· I had a site map in my hand
11· · · ·Q.· ·And that's why the grading and the           11· ·before years ago, yes.
12· ·drainage is so important so that this water           12· · · ·Q.· ·Okay.· You know, this site map, this
13· ·doesn't pool in areas where work is going to be       13· ·shows the project we are here to talk about
14· ·performed?                                            14· ·today; right?
15· · · ·A.· ·Yes.                                         15· · · ·A.· ·Um-hum, yes.
16· · · ·Q.· ·And not only do these excavating             16· · · ·Q.· ·And it shows what appears to be
17· ·companies like Borneke come in and prepare the        17· ·29 various turbine sites, right?
18· ·ground, but they come back as needed to maintain      18· · · ·A.· ·Yes.
19· ·the area as well; right?                              19· · · ·Q.· ·And then the area surrounding each
20· · · ·A.· ·Yes.· Usually they are informed and          20· ·turbine site would be erection area, right?
21· ·they will come back and -- to maintain that           21· · · ·A.· ·Yeah, in the green dots.
22· ·properly.                                             22· · · ·Q.· ·Yeah, okay.· And then I want to ask
23· · · ·Q.· ·Yeah.· Whether it's that they are            23· ·you a question.· There was a little bit of a
24· ·informed of a condition or they just see it           24· ·discrepancy between the incident report and what
                                                      57                                                         59

·1· ·themselves, if there is something unsafe like a       ·1· ·has been testified to so far and I just want to
·2· ·large rut or depressed area, this is something        ·2· ·see if you remember.· There is testimony by my
·3· ·that the excavating company would come back and       ·3· ·client that he believes he fell at Site T11
·4· ·try to remedy; right?                                 ·4· ·which would be by Bingham Road and Butler Road
·5· · · · · · MR. SULLIVAN:· Objection, foundation         ·5· ·as it came across.
·6· ·and misstates prior testimony.                        ·6· · · · · · Do you happen to remember if this
·7· · · · · · Go ahead.                                    ·7· ·sounds accurate based on where you were that
·8· ·BY MR. TERRY:                                         ·8· ·day?
·9· · · ·Q.· ·You can answer.                              ·9· · · ·A.· ·Yes.· I -- That sounds like it's pretty
10· · · ·A.· ·Yeah, but usually like I said before,        10· ·accurate right there.· I believe that is T11,
11· ·it's -- if you're working on a project in the         11· ·yeah.
12· ·area and you got ruts and stuff and usually the       12· · · ·Q.· ·Okay.· Because there was a note made of
13· ·foreman of that project -- or that's running          13· ·T1, but Nick thinks that was a typo and he
14· ·that should call up because -- and have them          14· ·remembers the area being the T11.
15· ·come in and grade it back out for the -- you          15· · · ·A.· ·It's T11, not T1.
16· ·know, get rid of the hazards that have                16· · · ·Q.· ·Okay.· So you do remember that it was
17· ·developed.                                            17· ·T11, not T1?
18· · · ·Q.· ·Okay.· But the idea is near the              18· · · ·A.· ·Yeah.· I remember the site.
19· ·foundation site and where the turbine is              19· · · ·Q.· ·Okay, perfect.
20· ·actually going to be staged and erected, these        20· · · · · · So I am going to take that off the
21· ·are the areas that you talked about it's so           21· ·screen and then I am going to show you another
22· ·important to compact it so much that the ground       22· ·exhibit that was marked at Mr. Bennett's
23· ·doesn't sink underneath it; right?                    23· ·deposition which is Exhibit No. 4.· This is just
24· · · ·A.· ·Yes.· Especially around the foundation,      24· ·a zoomed out Google Earth image, okay?
                                                      58                                                         60

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·1· · · ·A.· ·Okay.                                        ·1· ·graded, this little area out of the whole
·2· · · ·Q.· ·And then you can see down at the bottom      ·2· ·project; right?
·3· ·of Page 1 we have Beemerville Road and in the         ·3· · · ·A.· ·Yeah.
·4· ·middle we have Bingham Road, right?                   ·4· · · ·Q.· ·Okay.
·5· · · ·A.· ·Yes.                                         ·5· · · ·A.· ·I mean, roughly -- Like I say, I think
·6· · · ·Q.· ·So this would be a zoomed out area of        ·6· ·it's -- Depending what the contract says, I
·7· ·the project that we are here to talk about,           ·7· ·think it's around 300 feet around the turbine
·8· ·right?                                                ·8· ·that needs to be cleared and compacted and
·9· · · ·A.· ·Yes.· I believe so, yes.                     ·9· ·graded.· Compaction is really just around the
10· · · ·Q.· ·Okay.· And then these roads that break       10· ·foundation area.· The rest needs to be cleared
11· ·off of Bingham and Beemerville that go up to the      11· ·out and graded.
12· ·wind turbines, these would be like the access         12· · · ·Q.· ·And I believe the contract for this
13· ·roads we talked about; right?                         13· ·site either called for 175 or 185 feet.· Does
14· · · ·A.· ·Yes.                                         14· ·that sound about right to you?
15· · · ·Q.· ·Okay, got it.                                15· · · ·A.· ·Pardon me?
16· · · · · · And then if we go on to Page 2 of this       16· · · ·Q.· ·I said I believe the contract for this
17· ·exhibit, you see Bingham Road on the side right       17· ·site calls for either 175 or 185 feet as opposed
18· ·here; right?                                          18· ·to 300.· Could that be accurate based on your --
19· · · ·A.· ·Yes.                                         19· · · ·A.· ·Yeah, from the -- Yeah.
20· · · ·Q.· ·And then we see -- and I don't know          20· · · ·Q.· ·Okay.
21· ·what site this.· This is just for general             21· · · ·A.· ·Whatever the contract was agreed upon,
22· ·testifying purposes.· This curved road that           22· ·yeah.
23· ·leads up to the turbine, this would be the            23· · · ·Q.· ·So you're just using 300 as a base
24· ·access road; right?                                   24· ·point --
                                                      61                                                         63

·1· · · ·A.· ·Yes.                                         ·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·And then this area by the actual             ·2· · · ·Q.· ·-- but it could be a little more, it
·3· ·turbine, this is what we have been talking            ·3· ·could be a little less?
·4· ·about.· In the direct center where the turbine        ·4· · · ·A.· ·Yeah.
·5· ·sits on, that's the foundation; right?                ·5· · · ·Q.· ·And then in this erection area you said
·6· · · ·A.· ·Yes.                                         ·6· ·for maybe like -- I think you said 60, maybe
·7· · · ·Q.· ·And then the area surrounding that           ·7· ·80 feet around the foundation that's the whole
·8· ·would be like the erection area, right?               ·8· ·area that you think really needs to be
·9· · · ·A.· ·Yes.                                         ·9· ·compacted, and then the further area outside
10· · · ·Q.· ·And then if we look out all around           10· ·just needs to be kind of graded and drained away
11· ·this, all this green area like the really dark        11· ·from the foundation; right?
12· ·green, this is just the general farmland that         12· · · ·A.· ·Exactly.
13· ·will never even be touched by any -- any company      13· · · ·Q.· ·But then the area near the foundation,
14· ·for that matter; right?                               14· ·where the crane is going to go, where the
15· · · ·A.· ·Yes.                                         15· ·equipment is going to be staged, this is the
16· · · ·Q.· ·So if the ground is uneven way over          16· ·really important area that needs to be compacted
17· ·here to the left or way over here to the right        17· ·and the ground needs to be prepared for the
18· ·or if water is pooling, one, who cares and two,       18· ·equipment; right?
19· ·people will probably never even know because          19· · · ·A.· ·Yeah.· Usually it's -- If it's not
20· ·work is not being performed there; right?             20· ·disturbed by digging from the foundation and
21· · · ·A.· ·That's right.                                21· ·stuff which I said, you know, usually I think
22· · · ·Q.· ·But in this area by the turbine near         22· ·it's a 70 -- 80-foot hole across and, you know,
23· ·the foundation in the erection site, this is          23· ·that stuff -- the outer part -- if it's not
24· ·where it needs to be compacted and properly           24· ·disturbed, it just needs to be graded and more
                                                      62                                                         64

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·1· ·of the compaction is right around that                ·1· ·there or large pieces of equipment weighing tens
·2· ·foundation hole.                                      ·2· ·of thousands of pounds are going to be staged
·3· · · ·Q.· ·And the compaction area is where the         ·3· ·prior to erection.· This is no secret.· It's
·4· ·crane is going to be and where the equipment is       ·4· ·like this on every project, right?
·5· ·going to be staged, right?                            ·5· · · ·A.· ·That's correct.
·6· · · ·A.· ·If it falls within that 70 feet or           ·6· · · ·Q.· ·All right.· And more importantly, on
·7· ·whatever of the -- yeah --                            ·7· ·this project and I am sure on most projects
·8· · · ·Q.· ·Okay.                                        ·8· ·there is certain documents that tells the
·9· · · ·A.· ·-- of the foundation, however big the        ·9· ·various contractors what tasks are going to be
10· ·foundation was -- hole was when they built it.        10· ·performed on each day, right?
11· · · ·Q.· ·And then like we have talked about           11· · · ·A.· ·Yes.
12· ·generally, prior to Borneke coming in at this         12· · · ·Q.· ·And on this project they were called
13· ·site or at the various sites, the sites               13· ·the plans of the day, right?
14· ·generally look like the rest of the farm area         14· · · ·A.· ·I believe so.· I wasn't involved in any
15· ·and then Borneke, the excavating company, comes       15· ·of that.· I don't know how -- Different
16· ·in, clears it, grades it and maintains it;            16· ·companies call it different things, but yes,
17· ·right?                                                17· ·they usually have a meeting every morning.
18· · · ·A.· ·Yes.                                         18· · · ·Q.· ·And would this meeting include all the
19· · · ·Q.· ·So in this situation Borneke is              19· ·contractors or would it include one of the
20· ·literally creating an access road for trucks to       20· ·contractors?· How did that work or would it vary
21· ·drive on, right?                                      21· ·from day to day?
22· · · ·A.· ·Yeah, radiuses for the longer trucks so      22· · · ·A.· ·It would probably vary day to day.
23· ·they can make it around the corners and stuff         23· · · ·Q.· ·Okay.· I am still here.· I am just
24· ·without going in the pit.                             24· ·looking over.
                                                      65                                                         67

·1· · · ·Q.· ·Like the turnaround area, right?             ·1· · · · · · I want to show you what was marked as
·2· · · ·A.· ·Yeah, radius.· The turning area, yeah.       ·2· ·Exhibit 9 for Mr. Bennett's deposition.· Can you
·3· · · ·Q.· ·Got it.· And then in addition to             ·3· ·see my screen here?
·4· ·creating these access roads they are literally        ·4· · · ·A.· ·Yes.
·5· ·creating the areas where the turbine is going to      ·5· · · ·Q.· ·So this is a two-page document.· Let's
·6· ·go and where the work is going to be performed,       ·6· ·start with Page 2.· This shows what looks to be
·7· ·right?                                                ·7· ·like a rough terrain crane being stuck in the
·8· · · ·A.· ·Yeah.                                        ·8· ·ground and having to be pulled out by a tractor,
·9· · · ·Q.· ·And if they don't compact the ground         ·9· ·right?
10· ·properly near the foundation the ground can sink      10· · · ·A.· ·Yes.
11· ·in and it can cause catastrophic events, right?       11· · · ·Q.· ·And you see the large ruts that are
12· · · ·A.· ·Yeah.                                        12· ·formed by the truck and kind of how the tire's a
13· · · ·Q.· ·Let's keep talking about these erection      13· ·third or halfway down into the ground?
14· ·areas for a second.· It's known what is going to      14· · · ·A.· ·Yes.
15· ·be done at these areas.· Like it's no surprise        15· · · ·Q.· ·Was this a common occurrence on this
16· ·that turbines are going to be erected at a            16· ·project, ruts being bad and ground conditions
17· ·turbine site, right?                                  17· ·being so bad that cranes or trucks got stuck?
18· · · ·A.· ·That's correct.                              18· · · ·A.· ·Yes.· That crane got stuck quite a bit,
19· · · ·Q.· ·And it's no surprise that cranes are         19· ·a few times.
20· ·going to be placed near the erection site?            20· · · ·Q.· ·And this was not just on one area, this
21· · · ·A.· ·That's correct.                              21· ·was on multiple areas of the project?
22· · · ·Q.· ·And again, I am asking you very obvious      22· · · ·A.· ·Yeah, I believe so.· Yeah.
23· ·questions, but they are important.· It's no           23· · · ·Q.· ·Okay.· And after this happened, would
24· ·surprise that workers are going to be working         24· ·the excavating company then go to where it was
                                                      66                                                         68

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·1· ·stuck and regrade the land or try to compact it       ·1· ·and drove him to the ambulance though, right?
·2· ·down a little bit?                                    ·2· · · ·A.· ·No.· Safety man put -- Mortenson's
·3· · · ·A.· ·I have no idea on that, what the             ·3· ·safety personnel put him in a pickup truck and
·4· ·purpose would be for that.                            ·4· ·drove him to the end of the access road so the
·5· · · ·Q.· ·But you do know that this happened at        ·5· ·ambulance from Paw Paw could pick him up and
·6· ·numerous sites on this project as a whole,            ·6· ·take him to Mendota Hospital.
·7· ·right?                                                ·7· · · ·Q.· ·Were you at the actual site where Nick
·8· · · ·A.· ·Yeah.· That crane got stuck quite a few      ·8· ·fell?
·9· ·times on that site.                                   ·9· · · ·A.· ·Yeah.· I was on a trailer behind that
10· · · ·Q.· ·So the idea is the ground conditions         10· ·hub sitting there.
11· ·being poor on this site, this was no secret to        11· · · ·Q.· ·When you say the hub, you mean this big
12· ·anybody; right?                                       12· ·kind of --
13· · · ·A.· ·No.· It's farm ground.                       13· · · ·A.· ·Yeah.
14· · · ·Q.· ·So then we spoke in double negatives.        14· · · ·Q.· ·-- triangular piece in the background,
15· ·So the answer to my question is yes, it wasn't a      15· ·right?
16· ·surprise that the cranes were getting stuck and       16· · · ·A.· ·Yes.
17· ·semis were getting stuck, this was a common           17· · · ·Q.· ·So you were within earshot, so to
18· ·occurrence on this project?                           18· ·speak, of where Nick fell; right?
19· · · ·A.· ·Yes.                                         19· · · ·A.· ·Yes.
20· · · ·Q.· ·Did you hear complaints being made           20· · · ·Q.· ·So now I am going to ask you some basic
21· ·about the ground conditions on this project           21· ·questions about this photograph then.· On the
22· ·prior to this accident?                               22· ·day of the accident, was there snow on the
23· · · ·A.· ·No.                                          23· ·ground?
24· · · ·Q.· ·Let's go to Page 1 of this.· This is a       24· · · ·A.· ·Yeah.· It covered that -- all that ice
                                                      69                                                         71

·1· ·photograph that shows the area that Nick fell in      ·1· ·up.
·2· ·at least as he relates.· Is this -- Obviously         ·2· · · ·Q.· ·So that's the idea behind my question.
·3· ·there was snow covering it on the day of the          ·3· ·On the day of the accident this ice was here but
·4· ·accident, but does this appear to be the area         ·4· ·it was covered by a thin layer of snow, right?
·5· ·where Nick fell?                                      ·5· · · ·A.· ·Yes.
·6· · · · · · MR. SULLIVAN:· I am just going to            ·6· · · ·Q.· ·Do you happen to know who took this
·7· ·object to the foundation.· You haven't                ·7· ·picture?
·8· ·established he was even there that day and what       ·8· · · ·A.· ·I have no idea.
·9· ·his role was and so forth.                            ·9· · · ·Q.· ·On the day of the accident is it safe
10· · · · · · MR. TERRY:· I thought we established on      10· ·to say that these orange cones and the tape and
11· ·a prior deposition that he's the one who              11· ·the spray paint were not there?
12· ·literally drove Nick to the hospital, but I           12· · · ·A.· ·Yeah.· None of that stuff was there.
13· ·guess I can ask ABC questions.                        13· · · ·Q.· ·This was all put there after the fact,
14· ·BY MR. TERRY:                                         14· ·right?
15· · · ·Q.· ·Sir, do you happen to remember an            15· · · ·A.· ·Yes.· I was probably at the hospital
16· ·incident where my client fell at a job site?          16· ·with Nick when they did all that.
17· · · ·A.· ·Yes.                                         17· · · ·Q.· ·So in other words of stating it, there
18· · · ·Q.· ·Were you there on the project that day?      18· ·was a large sheet of ice covered by snow with no
19· · · ·A.· ·Yes.                                         19· ·blatant warnings about it prior to him falling;
20· · · ·Q.· ·Did you end up driving Nick to the           20· ·right?
21· ·hospital after he fell?                               21· · · ·A.· ·Yeah.
22· · · ·A.· ·I didn't drive him to the hospital. I        22· · · ·Q.· ·In the middle of this picture we see
23· ·followed the ambulance to the hospital with him.      23· ·the large sheet of ice here, right?
24· · · ·Q.· ·Okay.· You put him in your pickup truck      24· · · ·A.· ·Yes.
                                                      70                                                         72

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·1· · · ·Q.· ·To the right we see what has been -- Do      ·1· ·ground?
·2· ·you know what this piece of equipment is?· Other      ·2· · · ·A.· ·No.· The cribbing wasn't sunk like --
·3· ·people have said it was a midsection.· Do you         ·3· ·You know, you put a -- You put cribbing on each
·4· ·know what this is?                                    ·4· ·end of the tube so the tube would just -- It's
·5· · · ·A.· ·That's a midsection.                         ·5· ·like that midsection underneath.· It wasn't
·6· · · ·Q.· ·And underneath it it looks like there        ·6· ·touching the ground.· So like the whole thing
·7· ·might be some type of staging.· Is that what          ·7· ·didn't sink in.
·8· ·that is?                                              ·8· · · ·Q.· ·No, of course.· The whole base didn't
·9· · · ·A.· ·Yeah.· We had cribbing to hold it up         ·9· ·sink into the ground, but the ground sunk
10· ·off the ground.                                       10· ·underneath it a little bit to allow this
11· · · ·Q.· ·And then on the left over here, do you       11· ·depressed area to form; right?
12· ·see these --                                          12· · · ·A.· ·Yeah.· It just looks like it was just a
13· · · ·A.· ·That's the start of the crane pad.           13· ·low spot that filled up with ice and water --
14· · · ·Q.· ·So all of this area, this is close           14· · · ·Q.· ·Okay.
15· ·enough to the crane pad where you would expect        15· · · ·A.· ·-- water and then ice.
16· ·the compaction to be done to a higher standard        16· · · ·Q.· ·Yeah.· And you believe this low spot
17· ·to prepare the ground for delivery and                17· ·was caused by the base that was there prior to
18· ·everything; right?                                    18· ·it being stood up and erected, right?
19· · · ·A.· ·Yeah.                                        19· · · ·A.· ·Ask me that again.· What do you mean?
20· · · ·Q.· ·This is well within the 60 or 80 or          20· · · ·Q.· ·Sure.· That was a poor way to ask it.
21· ·100 feet, whatever specification you said             21· · · · · · I just want to make sure you think that
22· ·before.· This looks to be just a few feet away        22· ·in this area prior to there being snow and ice
23· ·from the crane pad; right?                            23· ·here this is where the base was staged, right?
24· · · ·A.· ·Yes.                                         24· · · ·A.· ·Yes.
                                                      73                                                         75

·1· · · ·Q.· ·Okay.· How big was -- You were on the        ·1· · · ·Q.· ·And this is an area -- While looking at
·2· ·project.· How big would you estimate this sheet       ·2· ·the photograph, this is an area that needed to
·3· ·of ice was?                                           ·3· ·be properly compacted before the delivery of
·4· · · ·A.· ·Probably 10, 12 foot wide.· I couldn't       ·4· ·these components were made; right?
·5· ·tell you how long.· Probably about 30 foot long       ·5· · · ·A.· ·Well, obviously it should have been
·6· ·maybe.· You said it was covered with snow.            ·6· ·graded better so that water didn't pool up
·7· · · ·Q.· ·Do you know what would have been here        ·7· ·underneath there.
·8· ·prior to being just an open area with ice there?      ·8· · · ·Q.· ·Okay.· But you think this is an area
·9· ·Would another piece of equipment have been            ·9· ·that just from the get-go should have been
10· ·staged there?                                         10· ·graded area?
11· · · ·A.· ·The base section was sitting at that         11· · · ·A.· ·Yeah.· Just by looking at it the
12· ·part -- at that spot and it was already up, set       12· ·water -- I mean, you don't see the ice
13· ·on the foundation so that exposed all that ice        13· ·underneath the other piece.· You don't see the
14· ·and that -- and that ruts and stuff and that          14· ·ice anywhere else.· You just see the ice right
15· ·depression.                                           15· ·underneath that base.
16· · · ·Q.· ·So what do you believe caused this           16· · · ·Q.· ·Exactly.· So you think that if you look
17· ·depression?· Is it the base sinking into the          17· ·to the right you see the cribbing underneath the
18· ·ground?                                               18· ·midsection, right?
19· · · ·A.· ·No.· The base didn't -- The base did         19· · · ·A.· ·Um-hum.
20· ·not sink into the ground.· It's just -- It just       20· · · ·Q.· ·And if we -- Is that a yes?
21· ·pooled underneath there.· The base was sitting        21· · · ·A.· ·Yes.
22· ·on cribbing and the cribbing was into the ground      22· · · ·Q.· ·Trust me.· We are both going to do
23· ·when we picked that base.                             23· ·that.· I did it at one point today, so don't
24· · · ·Q.· ·You said the cribbing went into the          24· ·apologize.
                                                      74                                                         76

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·1· · · · · · If we zoom in way in the back of this        ·1· ·because once it comes in it's very hard to fix
·2· ·photograph it's a little blurry, but behind this      ·2· ·these problems after the fact; right?
·3· ·midsection that's what you're talking about, in       ·3· · · ·A.· ·Well, yeah, but if there is a condition
·4· ·the background you don't see ice and water            ·4· ·like this that -- being a foreman on that
·5· ·pooling; right?                                       ·5· ·project I probably would have called somebody up
·6· · · ·A.· ·No.                                          ·6· ·to have the excavator come in here or some kind
·7· · · ·Q.· ·And then over to the left -- Well, you       ·7· ·of bobcat, something, to clean that out before
·8· ·said no.· You would agree with my question,           ·8· ·we proceeded any farther than what we did.
·9· ·right?                                                ·9· · · ·Q.· ·Okay.· So this is a condition --
10· · · ·A.· ·Yes.· There is probably some down            10· · · ·A.· ·Get rid of the hazard.
11· ·around that berm back.· There might be some           11· · · ·Q.· ·So this is a condition, this depressed
12· ·water and ice buildup in the far background, but      12· ·area, that you think is a hazard even without
13· ·nothing that close.                                   13· ·the ice?
14· · · ·Q.· ·Yeah.· And then if we look over between      14· · · ·A.· ·Well, it just makes a sloppy mess to
15· ·this sheet of ice and the crane pad, again we         15· ·walk around in.· I mean, you wouldn't want to
16· ·don't see water and ice pooling and forming           16· ·walk through mud and water up to your knees. I
17· ·here; right?                                          17· ·don't appreciate doing it when I am on the
18· · · ·A.· ·No.· It looks like it's at a higher          18· ·projects.
19· ·elevation.                                            19· · · ·Q.· ·So this is part of the area that was
20· · · ·Q.· ·And then the same thing underneath this      20· ·prepared by Borneke prior to the equipment being
21· ·midsection, if we look through and underneath         21· ·delivered, right?
22· ·it, we don't see water and ice forming                22· · · ·A.· ·Yes.
23· ·underneath this; in fact, we can literally see        23· · · ·Q.· ·And we see various areas on this site,
24· ·where the depression starts next to the cribbing      24· ·T11, that was in fact done properly like near
                                                      77                                                         79

·1· ·for this midsection, right?                           ·1· ·the crane pad, near the mid; right?
·2· · · ·A.· ·Basically.                                   ·2· · · ·A.· ·Yeah.
·3· · · ·Q.· ·So you would agree that this area where      ·3· · · ·Q.· ·And then it's just -- Is it your
·4· ·this depression formed is -- in your opinion is       ·4· ·opinion that this area where we see the
·5· ·just an area that wasn't properly graded?             ·5· ·depression just wasn't properly graded with the
·6· · · · · · MR. SULLIVAN:· Objection to foundation.      ·6· ·adequate drainage away from the area and that's
·7· ·He is not qualified to give opinions, but go          ·7· ·why this water pooled?
·8· ·ahead.                                                ·8· · · · · · MR. SULLIVAN:· Objection, foundation,
·9· · · · · · THE WITNESS:· It's just it pooled up         ·9· ·speculation.
10· ·there.                                                10· · · · · · Go ahead.
11· ·BY MR. TERRY:                                         11· · · · · · THE WITNESS:· Yes.· For some reason
12· · · ·Q.· ·And how do you think that could have         12· ·there is a rut there.· There is a depression in
13· ·been prevented?                                       13· ·that area that made the water pool up.· If it
14· · · · · · MR. SULLIVAN:· Objection, foundation.        14· ·was -- Obviously if it was graded in a different
15· · · · · · Go ahead.                                    15· ·direction or something it wouldn't have pooled
16· · · · · · THE WITNESS:· If it was graded away so       16· ·up there and had a place to run off instead of
17· ·the water ran off someplace else besides pooling      17· ·into a puddle.
18· ·up there.                                             18· ·BY MR. TERRY:
19· ·BY MR. TERRY:                                         19· · · ·Q.· ·Exactly.· And these are things that you
20· · · ·Q.· ·And these are all things that you as         20· ·as the ironworker and the foreman on numerous
21· ·the ironworking company being a foreman on            21· ·job sites would expect the excavating company to
22· ·numerous jobs, working on 15 other wind farm          22· ·do before you even start your work there?
23· ·projects, you would expect this to be done prior      23· · · ·A.· ·Well, yeah, or clean it up after we
24· ·to the delivery of these pieces of equipment          24· ·move that piece.
                                                      78                                                         80

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·1· · · ·Q.· ·Yeah.· So you can either -- So you can       ·1· ·area then; right?
·2· ·either prepare the ground properly the first          ·2· · · ·A.· ·Yes.· By physics, yes, you know.
·3· ·time so that this doesn't happen or you can come      ·3· · · ·Q.· ·Well, just from common sense
·4· ·in after the fact when you realize there is a         ·4· ·perspective on these projects, you would agree
·5· ·problem and fix it after the fact, right?             ·5· ·that drainage and grading is provided so that
·6· · · ·A.· ·Yeah.· Usually, you know, if we put          ·6· ·things like this do not happen; right?
·7· ·something down when it's dry and the ground is        ·7· · · ·A.· ·Yes.
·8· ·dry and then we have the weather, you're going        ·8· · · ·Q.· ·And if it was properly graded and
·9· ·to end up with some conditions that weren't seen      ·9· ·drained prior to this water pooling and then
10· ·before and -- and yeah, then when it rains and        10· ·freezing this big sheet of ice here wouldn't
11· ·stuff there is conditions that come up so that        11· ·have formed to begin with?
12· ·that's when the excavating company needs to be        12· · · ·A.· ·It should --
13· ·informed by somebody and you bring some               13· · · · · · MR. SULLIVAN:· Objection, foundation.
14· ·equipment out or have some equipment there and        14· ·BY MR. TERRY:
15· ·clean that up.                                        15· · · ·Q.· ·I am sorry.· What did you say?
16· · · ·Q.· ·Not only that though, let's take away        16· · · ·A.· ·I said it shouldn't have.
17· ·that for a second.· What you talked about before      17· · · ·Q.· ·Should not have, right?
18· ·is important.· You agree that for some reason         18· · · ·A.· ·Yeah.
19· ·there is a rut here that should have been graded      19· · · ·Q.· ·And if it should not have formed to
20· ·away or that should have been provided with           20· ·begin with, then we wouldn't even have to get to
21· ·adequate drainage prior to the water even             21· ·the point of telling Borneke to come back.· If
22· ·forming, right?                                       22· ·they graded and drained properly to begin with
23· · · ·A.· ·Yes.                                         23· ·this doesn't happen, right?
24· · · ·Q.· ·So when you're stating that they should      24· · · · · · MR. SULLIVAN:· Objection, foundation,
                                                      81                                                         83

·1· ·have been notified, that's after the fact,            ·1· ·speculation.
·2· ·that's if it even gets to this point; right?          ·2· · · · · · Go ahead.
·3· · · ·A.· ·Yeah, because if -- if it was just from      ·3· · · · · · THE WITNESS:· Yeah.· If it was pushed a
·4· ·the truck sinking when we brought that piece in       ·4· ·higher elevation or something, yeah, that water
·5· ·it would just be in ruts.· It wouldn't be like a      ·5· ·would have pushed out of there and we wouldn't
·6· ·big pool like that.                                   ·6· ·have had that pool of water -- pool of ice.
·7· · · ·Q.· ·Yeah.· If it was just a large rut, that      ·7· ·BY MR. TERRY:
·8· ·would be like what we see in Photograph 2 where       ·8· · · ·Q.· ·And the company that was responsible
·9· ·the tires of -- where the tires of the crane are      ·9· ·for grading and draining on this project in this
10· ·stuck, right?                                         10· ·area particularly before this even happened was
11· · · ·A.· ·Yes.                                         11· ·Borneke, right?
12· · · ·Q.· ·If we go back to Photograph 1 which          12· · · ·A.· ·Yes.
13· ·shows the area that my client fell, this is           13· · · ·Q.· ·So had Borneke done their job properly
14· ·literally just an area that is depressed that         14· ·the first time, provided the draining, provided
15· ·allowed water and ice to accumulate; right?           15· ·the grading, that wouldn't have happened?
16· · · ·A.· ·That's what it looks like to me, yes.        16· · · · · · MR. SULLIVAN:· Objection, foundation,
17· · · ·Q.· ·And this is something that from the          17· ·speculation.
18· ·get-go before the equipment is even being             18· ·BY MR. TERRY:
19· ·delivered should have been graded and drained,        19· · · ·Q.· ·You can answer.
20· ·right?                                                20· · · ·A.· ·I mean, like I said before, when you do
21· · · ·A.· ·Yes.                                         21· ·it and it's dry and then when you get the
22· · · ·Q.· ·And had this been graded and drained         22· ·weather, a lot of conditions change.· Yeah.· If
23· ·from the beginning, this water wouldn't be able       23· ·it -- I don't know.· If it was grading and it
24· ·to pool because there is drainage away from this      24· ·pushed away and it pushed itself away, yeah, it
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·1· ·wouldn't have happened.                               ·1· ·depressed than the area surrounding it, right?
·2· · · ·Q.· ·Well, and the idea is when we look at        ·2· · · ·A.· ·Yes.
·3· ·the photograph, in that photograph --                 ·3· · · ·Q.· ·And you said, you know, something along
·4· · · · · · MR. SULLIVAN:· Can you hold on for a         ·4· ·the lines of if it rains or if it's -- you know,
·5· ·second?· My computer is frozen up here.· I can't      ·5· ·weather conditions change after the fact that
·6· ·see anything anymore.                                 ·6· ·that can change the makeup of the ground; right?
·7· · · · · · MR. TERRY:· Chris, do you just want to       ·7· · · ·A.· ·Yes.
·8· ·take a two-minute break?                              ·8· · · ·Q.· ·So you would agree that even if it did
·9· · · · · · MR. SULLIVAN:· Yeah.· I may have to          ·9· ·rain prior to this, which it did, the area
10· ·disconnect and reconnect because my computer          10· ·surrounding this sheet of ice are not depressed
11· ·froze up and I can't do anything.· The mouse is       11· ·like the area where the ice is; right?
12· ·not working.                                          12· · · ·A.· ·Yes.
13· · · · · · MR. TERRY:· Okay.· Chris, let's take         13· · · ·Q.· ·So the area that's supporting the
14· ·like a -- Mr. Breyne, let's just take like a          14· ·midsection over here, this is okay; right?
15· ·five-minute break and we will come back in a          15· · · ·A.· ·Yeah.· It looks like it's higher ground
16· ·little bit.                                           16· ·than what that depressed area is.
17· · · · · · THE WITNESS:· Okay.· How long is this        17· · · ·Q.· ·Yeah, and the same thing on the area to
18· ·going to take?· I have got to be somewhere at         18· ·the left of the sheet of ice in the photo near
19· ·3:00 o'clock.                                         19· ·the crane pad, right?
20· · · · · · MR. TERRY:· Okay.· I will do my best to      20· · · ·A.· ·Yes.
21· ·get through this in the next 15, 20 minutes. I        21· · · ·Q.· ·So that just further shows that what
22· ·will push through it and then, Chris, how long        22· ·you said is true, had this area been properly
23· ·would you have approximately?                         23· ·graded to begin with or had it provided the
24· · · · · · MR. SULLIVAN:· Oh, hard to say.· Maybe       24· ·proper drainage to begin with this sheet of ice
                                                      85                                                         87

·1· ·15, 20 minutes.                                       ·1· ·wouldn't have formed because the water wouldn't
·2· · · · · · MR. TERRY:· Okay.· So --                     ·2· ·have been there; right?
·3· · · · · · THE WITNESS:· I am going to have -- I        ·3· · · · · · MR. SULLIVAN:· Objection, foundation.
·4· ·am going to text my wife and tell her that she        ·4· · · · · · THE WITNESS:· Yeah, but --
·5· ·is going to have to wait.· I am going to have to      ·5· · · · · · MR. SULLIVAN:· Go ahead.
·6· ·pick her up from work.· I will tell her to hang       ·6· · · · · · THE WITNESS:· -- it wouldn't have
·7· ·tight.                                                ·7· ·formed.· No.· I mean, you can see behind, you
·8· · · · · · MR. TERRY:· Okay.· We will just do our       ·8· ·know, in the background there is not standing
·9· ·best to plow through this and get you out of          ·9· ·water back there or standing ice.
10· ·here, but it might be a little bit after 3:00,        10· ·BY MR. TERRY:
11· ·but we will do our best.· We will just take a         11· · · ·Q.· ·Exactly.· And that just shows that
12· ·like a two-minute break and come back then,           12· ·certain areas were prepared properly and certain
13· ·okay?                                                 13· ·areas weren't, right?
14· · · · · · THE WITNESS:· Okay.· Thank you.              14· · · · · · MR. SULLIVAN:· Foundation.
15· · · · · · MR. TERRY:· Thank you.                       15· · · · · · Go ahead.
16· · · · · · · · · ·(Whereupon, a short break was         16· · · · · · THE WITNESS:· I believe -- Yeah. I
17· · · · · · · · · · taken.)                              17· ·mean, I -- It was -- Obviously it was prepared
18· ·BY MR. TERRY:                                         18· ·enough for us to take that mid in there.· As far
19· · · ·Q.· ·Sir, I just want to ask you a couple         19· ·as I know about after we put that mid up because
20· ·more questions about the area that we were just       20· ·I remember slipping on that ice when I hooked
21· ·talking about and then I will move on and try to      21· ·that mid up, you know, the rest of the area was
22· ·finish up here really quickly.                        22· ·not -- that I recall was not iced up like that
23· · · · · · You would agree that the area that we        23· ·area was when we took that base -- put that base
24· ·see here with the sheet of ice is lower or more       24· ·up, I am sorry.
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·1· ·BY MR. TERRY:                                         ·1· ·set.· Somebody should have informed them, and I
·2· · · ·Q.· ·Yeah.· So this, whatever you said it         ·2· ·know they weren't -- I know they weren't on the
·3· ·was, about 12 foot by 30 foot sheet of ice, had       ·3· ·site at the time.· I remember they weren't on
·4· ·this area been properly graded and the drainage       ·4· ·the site with any equipment, but somebody should
·5· ·provided from day one it wouldn't have formed,        ·5· ·have gotten a hold of them and told them hey, we
·6· ·right --                                              ·6· ·need to get this taken care of, get this ice out
·7· · · · · · MR. SULLIVAN:· Foundation.                   ·7· ·of here to make it safer.
·8· · · · · · THE WITNESS:· Yes.                           ·8· · · ·Q.· ·Okay.· But nonetheless, this is
·9· ·BY MR. TERRY:                                         ·9· ·something that they could have done, too, they
10· · · ·Q.· ·-- in your opinion?                          10· ·could have driven around the site and used their
11· · · ·A.· ·Yes.                                         11· ·eyes and saw a large sheet of ice and realize
12· · · ·Q.· ·And these tasks are the responsibility       12· ·it's something that they need to fix; right?
13· ·of Borneke based on what you saw in this job          13· · · ·A.· ·Well, yeah, but that thing was
14· ·site, right?                                          14· ·probably -- wasn't even exposed a half hour or
15· · · ·A.· ·Yes.                                         15· ·so prior to the accident, maybe an hour.
16· · · ·Q.· ·Okay.· And this proper grading and           16· · · ·Q.· ·Okay.· But nonetheless, you would agree
17· ·drainage in these erection sites where this           17· ·that in the areas surrounding this ice the land
18· ·sheet of ice formed, these are all tasks that         18· ·surrounding it is not depressed, it is just this
19· ·are common and expected of the excavating             19· ·one area; right?
20· ·company on these projects; right?                     20· · · ·A.· ·Yes.· Exactly.· I agree with that.
21· · · ·A.· ·Yes.                                         21· · · ·Q.· ·So then the area surrounding it where
22· · · ·Q.· ·And if the excavating company does           22· ·there is no ice and no depressed area, this area
23· ·their job properly from day one, the idea is          23· ·was properly prepared; right?
24· ·things like this don't happen; right?                 24· · · ·A.· ·If there was no ice there, yeah, it
                                                      89                                                         91

·1· · · ·A.· ·Well, it's got to be maintained. I           ·1· ·was -- it was graded away.
·2· ·mean, they just can't go in there and do it and       ·2· · · ·Q.· ·Okay.· But then the area, just that one
·3· ·then not sit there and maintain after the             ·3· ·spot where the ice is forming, this is an
·4· ·weather conditions change.                            ·4· ·example of an area that wasn't properly graded
·5· · · ·Q.· ·Okay.· So let's break that down.· First      ·5· ·and drained to begin with; right?
·6· ·of all, you would expect them to do it right,         ·6· · · · · · MR. SULLIVAN:· Foundation objection.
·7· ·grade and provide drainage from the get-go;           ·7· · · · · · Go ahead.
·8· ·right?                                                ·8· · · · · · THE WITNESS:· To me, yeah.· It
·9· · · ·A.· ·Yes.                                         ·9· ·didn't -- It didn't drain away, so obviously it
10· · · ·Q.· ·But also you would expect them just to       10· ·wasn't -- wasn't done properly or some other
11· ·come back from time to time if needed and             11· ·circumstances made that depression; but like I
12· ·maintain the area as well, right?                     12· ·said, when we picked that base up the base was
13· · · ·A.· ·Yes.                                         13· ·not sitting on the ground to make that
14· · · ·Q.· ·Okay.· And if they don't do either of        14· ·depression.
15· ·these things, if they don't properly prepare the      15· ·BY MR. TERRY:
16· ·ground or if they don't come back and properly        16· · · ·Q.· ·But again, before we even get to
17· ·maintain the areas then they are not doing their      17· ·somebody telling Borneke hey, come over here and
18· ·job; right?                                           18· ·fix this, this should have been graded and
19· · · ·A.· ·Well, I -- You know, like in that            19· ·maintained and drained from day one, and if that
20· ·situation once we picked that base up they            20· ·was done we wouldn't even be in a situation
21· ·should have been informed that they needed to         21· ·where they need to be notified; right?
22· ·bring some kind of equipment in there to              22· · · · · · MR. SULLIVAN:· Objection to the --
23· ·straighten that out.· They are -- There is no         23· · · · · · THE WITNESS:· Yes.
24· ·access to take care of that until that base was       24· · · · · · MR. SULLIVAN:· -- foundation.· Go
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·1· ·ahead.                                                ·1· · · ·A.· ·No.· I was -- I was out of the trailer
·2· ·BY MR. TERRY:                                         ·2· ·and we were -- I was -- We were bringing stuff
·3· · · ·Q.· ·You can answer.· You said yes, right?        ·3· ·out of the base and I was landing it on the
·4· · · ·A.· ·Yes.· Graded to the point where the          ·4· ·trailer, our tooling, and -- I had a radio and I
·5· ·water would have ran away from that area where        ·5· ·heard a crane operator say somebody needs to
·6· ·we have the equipment and the components placed,      ·6· ·help him.· I did see Nick over there and I did
·7· ·yeah, that never would have happened.                 ·7· ·see him turn to walk away, but I -- my focus was
·8· · · ·Q.· ·Yeah.· And you can tell that that's          ·8· ·on doing my task and I was like one of the first
·9· ·true because the area surrounding this area was       ·9· ·guys over to get to Nick to help him when he was
10· ·properly graded because water is not pooling          10· ·laying on the ground.
11· ·there, right?                                         11· · · ·Q.· ·And when you helped him, was he still
12· · · ·A.· ·Yes.                                         12· ·on the sheet of ice or he crawled off at that
13· · · ·Q.· ·It's just in this area one that wasn't       13· ·point?
14· ·properly graded from day one and had it been          14· · · ·A.· ·No, no.· We were -- We were on the
15· ·graded right from day one we wouldn't be here,        15· ·sheet of ice.
16· ·right?                                                16· · · ·Q.· ·Okay.
17· · · · · · MR. SULLIVAN:· Objection, foundation,        17· · · ·A.· ·I didn't let him move.
18· ·calls for speculation.                                18· · · ·Q.· ·You didn't what?
19· ·BY MR. TERRY:                                         19· · · ·A.· ·I did not let him move.· I went and had
20· · · ·Q.· ·You can answer.                              20· ·another co-worker go get my jacket and we tried
21· · · ·A.· ·Probably not.                                21· ·to get him to sit on the jacket to get him up
22· · · ·Q.· ·Okay.                                        22· ·under the ice and I kind of held him until we
23· · · ·A.· ·Did you hear me?                             23· ·got safety personnel there.
24· · · ·Q.· ·Yes, I did.                                  24· · · ·Q.· ·What did you see?· Like could you
                                                      93                                                         95

·1· · · · · · And this is why this is an example of        ·1· ·visually see that something was wrong with his
·2· ·something that's preventable.· This is why            ·2· ·ankle?
·3· ·grading and the drainage are done from day one        ·3· · · ·A.· ·Oh, yeah.
·4· ·because things like this are preventable in most      ·4· · · ·Q.· ·Can you describe what you saw?
·5· ·circumstances, right?                                 ·5· · · ·A.· ·I would say his right ankle was at a --
·6· · · · · · MR. SULLIVAN:· Objection, foundation,        ·6· ·What do I -- How do I want to say it?· I have
·7· ·calls for speculation.                                ·7· ·got to picture it.· At a distinctive angle that
·8· · · · · · THE WITNESS:· Yeah.· The -- Yeah, it         ·8· ·wasn't right.· You know what I mean?· It was --
·9· ·could have been preventable if it was graded          ·9· ·definitely had -- I knew right away that it
10· ·away and that water had a chance to go                10· ·definitely was a serious injury.
11· ·someplace else.                                       11· · · ·Q.· ·So this is something that you could not
12· ·BY MR. TERRY:                                         12· ·only hear him telling you, but you could
13· · · ·Q.· ·And that's why grading and drainage are      13· ·actually see his ankle visibly out of place?
14· ·so important on these projects?                       14· · · ·A.· ·Yeah.· Nick didn't even know what went
15· · · ·A.· ·Exactly.                                     15· ·on.· He just didn't even know his ankle was
16· · · ·Q.· ·Okay.                                        16· ·messed up and I just -- Yeah.· Once I got to him
17· · · ·A.· ·Not only for personal health reasons --      17· ·and I looked down and his leg was twisted and I
18· ·I mean, more for personnel reasons, but for           18· ·knew that he had broken something.
19· ·equipment and stuff like that.                        19· · · ·Q.· ·Was he telling you he was in pain?· Was
20· · · ·Q.· ·Let's talk about the accident itself.        20· ·he telling you -- Was he screaming, anything
21· ·You said you were behind this hub in the              21· ·like that or did it just kind of appear he was
22· ·background where my client fell, right?               22· ·in shock?· Like what did you see that he was
23· · · ·A.· ·Yes.                                         23· ·doing?· What did you observe?
24· · · ·Q.· ·Okay.· Did you see him fall or no?           24· · · ·A.· ·As a matter of fact, he was pretty
                                                      94                                                         96

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·1· ·calm.· He was like kind of in shock.· He was          ·1· · · ·A.· ·The safety personnel's truck.
·2· ·like what happened and I just kept telling him        ·2· · · ·Q.· ·Was that Hogan?
·3· ·not to look at his leg and -- You know, I was         ·3· · · ·A.· ·I can't remember the man's name.
·4· ·just trying to keep him comfortable, keep my          ·4· · · ·Q.· ·That's okay.· But overall you were
·5· ·eyes on him, like I said, put a jacket on him,        ·5· ·helping Nick -- Just to summarize, you were
·6· ·keep him warm until we had personnel get there        ·6· ·helping Nick.· Somebody from the site came over,
·7· ·that are more trained to -- I didn't let him          ·7· ·put a splint on him and you actually helped Nick
·8· ·move.· I didn't want him to move anywhere. I          ·8· ·get in the back of the pickup truck and you
·9· ·didn't want him to try anything until we had          ·9· ·waited with him until the ambulance came?
10· ·somebody there to get a splint on him.· We            10· · · ·A.· ·Yeah.· Pretty much, yes.· My
11· ·called the ambulance and called the first aid         11· ·superintendent came on the job, and since Nick
12· ·personnel.                                            12· ·was the union steward and as the union -- rules
13· · · ·Q.· ·So can you kind of walk me through that      13· ·are that nobody goes to the hospital.· You're
14· ·a little bit?· You said like a splint, the            14· ·hurt, you got to go to the hospital, the steward
15· ·ambulance.· Walk me through what happened, you        15· ·has to go with you.· Well, I was appointed the
16· ·know, after you were there with him up until the      16· ·steward at the moment and I went to the hospital
17· ·point you got him in the ambulance.                   17· ·so he didn't have to go by himself and stayed in
18· · · ·A.· ·Well, I sat there with him.· Like I          18· ·the emergency room with him.
19· ·said, I had some other guys went and grab -- I        19· · · ·Q.· ·How long were you in the emergency room
20· ·had an extra jacket and stuff in my truck and I       20· ·with Nick for?· Were you there until he was
21· ·had them grab my jacket to cover him up.· I just      21· ·discharged or how did that work?
22· ·kind of held him, tried to keep him off the ice       22· · · ·A.· ·Yes, I was there until he was
23· ·so he wouldn't get cold.· Once the personnel          23· ·discharged.· His wife came to pick him up when
24· ·came, office personnel, everybody, everybody          24· ·he got discharged and then I left.
                                                      97                                                         99

·1· ·come running down that crane path on that high        ·1· · · ·Q.· ·You said his wife came and picked him
·2· ·spot that you saw there and they started to come      ·2· ·up?
·3· ·out to where I was at.· I told them don't come        ·3· · · ·A.· ·Yes.
·4· ·out here, this is a sheet of ice.· Everybody          ·4· · · ·Q.· ·So you were with Nick in the hospital
·5· ·that stepped on that sheet of ice danced around       ·5· ·from the time he was injured until he was
·6· ·and almost fell themselves until they got to us.      ·6· ·discharged to his wife?
·7· · · · · · They told me the ambulance was coming.       ·7· · · ·A.· ·Yeah.· Basically by the time we got to
·8· ·The safety man came and proceeded to put some         ·8· ·the hospital because I had to follow the
·9· ·kind of a splint on his leg and then we had to        ·9· ·ambulance in a pickup truck until we got to the
10· ·pick him up.· They pulled a pickup truck by that      10· ·hospital.· The time he got in there until the
11· ·midsection and we picked him up and they carried      11· ·time he was discharged and his wife and helped
12· ·him and put him in the back of a pickup truck, a      12· ·him walk out so he can get into his car.
13· ·four-door pickup truck.· They drove him to the        13· · · ·Q.· ·Got it.· Okay.
14· ·access road for the ambulance to transfer him to      14· · · · · · But overall, the ground conditions at
15· ·the ambulance -- the gurney and the ambulance.        15· ·this area you said it was so bad that an
16· ·I argued with them about moving him because I         16· ·ambulance couldn't get to where he was?
17· ·knew the ambulance was going to come and they         17· · · ·A.· ·No, no.· The ambulance could have
18· ·were going to have the gurney, but they said          18· ·pulled right down in there and got where the
19· ·they needed to move him.· So they put him in a        19· ·pickup truck was.· I don't know why the safety
20· ·pickup truck and transferred him up the access        20· ·personnel needed to get him in the pickup truck.
21· ·road to the main road so he can meet the              21· ·I argued with him and I told him that the
22· ·ambulance.                                            22· ·ambulance was coming, they can drive down here,
23· · · ·Q.· ·Do you know whose truck it was that you      23· ·get the gurney over here, we can get him on the
24· ·put him in?                                           24· ·gurney and get him in the ambulance instead of
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·1· ·just picking him up and, you know -- and putting      ·1· ·the trailer and I ran over there to help him.
·2· ·him in anymore pain than he already was in, but       ·2· · · ·Q.· ·So he was kind of walking in that area
·3· ·they -- that's what the safety personnel and          ·3· ·between the hub and the midsection along the
·4· ·superintendent said and so everybody grabbed a        ·4· ·long portion of the ice, right?
·5· ·hand on him to help him to get in the back of a       ·5· · · ·A.· ·Yeah.· He was like, yeah, about end of
·6· ·pickup truck which I thought was stupid.              ·6· ·that -- end of the midsection that you have in
·7· · · ·Q.· ·Okay.                                        ·7· ·the photo there and he was walking to the other
·8· · · ·A.· ·I thought.                                   ·8· ·end of it which would be approximately, I don't
·9· · · ·Q.· ·Okay.· But nonetheless, I am just going      ·9· ·know, 70, 75 feet away.
10· ·to -- I asked you about that, so I am going to        10· · · ·Q.· ·And you remember the sheet of ice being
11· ·move on to -- Out of the sake of time for you, I      11· ·covered by a thin layer of snow on this day even
12· ·know you have other obligations, so I am going        12· ·though the photo doesn't show it, right?
13· ·to move on.                                           13· · · ·A.· ·Yeah, because when I hooked up that
14· · · · · · Have you ever seen the incident report       14· ·base and we hooked up and did some work on the
15· ·that was filled out as it relates to this             15· ·bottom of the mid that me and my partner in my
16· ·accident?                                             16· ·truck, we both slipped and skidded around on
17· · · ·A.· ·No.                                          17· ·that ice as soon as --
18· · · ·Q.· ·Were you involved in any investigation       18· · · ·Q.· ·Did you hook up the mid -- or the base
19· ·or anything like that?                                19· ·that morning?
20· · · ·A.· ·No.                                          20· · · ·A.· ·Yes.
21· · · ·Q.· ·If I told you the names James Langston,      21· · · ·Q.· ·And then the idea was --
22· ·Kevin Hogan, do any of them sound familiar as to      22· · · ·A.· ·We were just --
23· ·whose pickup truck it was that you put Nick           23· · · ·Q.· ·Go ahead.
24· ·into?                                                 24· · · ·A.· ·We were just finishing parking it.· We
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·1· · · ·A.· ·No.                                          ·1· ·were just finishing anchoring it down when Nick
·2· · · ·Q.· ·What about Lonnie Sears?                     ·2· ·came out.
·3· · · ·A.· ·Lonnie Sears was ironworker foreman on       ·3· · · ·Q.· ·So you just got done with the base and
·4· ·the site.                                             ·4· ·you were about to hook up to the midsection,
·5· · · ·Q.· ·I am just going to summarize what the        ·5· ·right?
·6· ·incident report said and I want to make sure          ·6· · · ·A.· ·Yes.
·7· ·it's kind of clear that it's the same thing that      ·7· · · ·Q.· ·But ultimately you said that you didn't
·8· ·you understand happened.· It basically says that      ·8· ·even see the sheet of ice because it was covered
·9· ·Nick was checking on the base/mid offload crew        ·9· ·by a thin layer of snow.· So that part is
10· ·at site T1 and upon exiting he began walking          10· ·accurate, right?
11· ·towards the midsection and that's when he             11· · · ·A.· ·Yes.· Yeah, like we didn't know that
12· ·realized he was on a sheet of ice covered by a        12· ·ice was there when we first started.
13· ·thin layer of snow and he fell as he tried to         13· · · ·Q.· ·There was a comment made about the
14· ·get off of it.· Does that sound accurate to you?      14· ·possibility of using ice cleats.· Were ice
15· · · ·A.· ·All I did is seen him turn and walk          15· ·cleats required on this project that you know
16· ·away and I think he was heading down the other        16· ·of?
17· ·end to help Lonnie Sears hook up the midsection.      17· · · ·A.· ·I never seen no ice cleats.
18· · · ·Q.· ·Okay.                                        18· · · ·Q.· ·So it's safe to say that those were not
19· · · ·A.· ·And he walked like -- He didn't like         19· ·a requirement for this project, right?
20· ·walk across the ice, he walked long ways on that      20· · · ·A.· ·No.· I mean, they had them out.· Safety
21· ·ice.· Like he was going from one end of that          21· ·usually has them out, but I never did see
22· ·midsection that you saw in the picture to the         22· ·anybody with them or anything like that.
23· ·other end, and that's -- All I heard was the          23· · · ·Q.· ·There was comments made in the incident
24· ·call on the radio.· I looked over.· I jumped off      24· ·report that this area had previously been
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·1· ·addressed with a bulldozer but ice had                ·1· ·project; right?
·2· ·accumulated too close to the WTG section for the      ·2· · · ·A.· ·Yes.
·3· ·dozer to operate safely.                              ·3· · · ·Q.· ·They were the company that was
·4· · · · · · You would agree that in that picture I       ·4· ·responsible for grading, blading, and providing
·5· ·showed you hypothetically a smaller piece of          ·5· ·adequate drainage in areas that we saw in that
·6· ·equipment could have been used to fix this area,      ·6· ·photograph; right?
·7· ·right?                                                ·7· · · ·A.· ·Yes.
·8· · · ·A.· ·Yeah.· They would could have brought in      ·8· · · ·Q.· ·They were the ones that were operating
·9· ·a small bobcat or something if, you know, they        ·9· ·the bulldozers, creating the access roads and
10· ·would been informed by the foreman on that            10· ·creating and maintaining the lay down areas;
11· ·project, they noticed it was a hazard, we could       11· ·right?
12· ·have called in and I am sure somebody would have      12· · · ·A.· ·Yes.
13· ·brought a piece of smaller equipment, maybe some      13· · · ·Q.· ·And the same thing with the erection
14· ·sand, something to throw down on that.                14· ·areas and the foundation areas, right?
15· · · ·Q.· ·But ultimately you said that the area        15· · · ·A.· ·Yes.
16· ·where this happened was exposed shortly before        16· · · ·Q.· ·And they were -- and as you see in the
17· ·Nick fell and that's where the base was that you      17· ·picture provided drainage and grading for areas
18· ·just hooked up, right?                                18· ·in this erection area, just not the -- Scratch
19· · · ·A.· ·Yes.                                         19· ·that.· That's a poor way to ask that question.
20· · · ·Q.· ·So ultimately this area where the ice        20· · · · · · You would agree that when you look at
21· ·formed, there was a deposition that proceeded         21· ·the picture there is plenty of areas in that
22· ·and somebody said that it might have been formed      22· ·erection site that aren't depressed and don't
23· ·by the use of crane mats or something like that.      23· ·have water and ice accumulated, right?
24· ·Is it your understanding that this ice formed         24· · · ·A.· ·Yes.
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·1· ·underneath a base section?                            ·1· · · ·Q.· ·So those are areas in which it looks
·2· · · ·A.· ·Yeah.· That's where the base section         ·2· ·like the grading and the drainage were formed --
·3· ·sat.                                                  ·3· ·were properly, right?
·4· · · ·Q.· ·So this area, this depressed area,           ·4· · · ·A.· ·Yes.· I would imagine, yeah.· If there
·5· ·wasn't formed by the use of crane mats or             ·5· ·is no water standing there, everything ran off,
·6· ·anything like that, it was formed underneath a        ·6· ·yeah.
·7· ·base that was previously staged there; right?         ·7· · · ·Q.· ·And taking aside someone coming out
·8· · · ·A.· ·Yeah, but I don't remember -- Like we        ·8· ·after the fact and fixing it, is it your opinion
·9· ·off-loaded that area, but I don't remember using      ·9· ·that this is an area that should have been
10· ·crane mats to off-load it right there.· I just        10· ·graded and drained properly from day one so that
11· ·don't remember.                                       11· ·this can never form to begin with?
12· · · ·Q.· ·Let me ask you a couple more questions.      12· · · · · · MR. SULLIVAN:· Objection, foundation,
13· ·Have you ever spoken with Nick since the              13· ·asked and answered already.
14· ·accident after the hospital or anything like          14· · · · · · THE WITNESS:· Yeah.
15· ·that?                                                 15· ·BY MR. TERRY:
16· · · ·A.· ·No.                                          16· · · ·Q.· ·And had this been properly graded and
17· · · ·Q.· ·Do you happen to know like how he is         17· ·drained like the areas surrounding it, this ice
18· ·doing today?· Like do you grab drinks with him        18· ·would never have formed to begin with and we
19· ·or catch up or anything like that?                    19· ·wouldn't be here likely; right?
20· · · ·A.· ·No.· Just word of mouth through other        20· · · · · · MR. SULLIVAN:· Foundation, asked and
21· ·guys that know him; but no, he lives probably         21· ·answered.
22· ·almost an hour and a half, two hours from me.         22· ·BY MR. TERRY:
23· · · ·Q.· ·Just overall from a general standpoint,      23· · · ·Q.· ·You can answer.
24· ·Borneke was the excavating company hired on this      24· · · ·A.· ·Yes.
                                                     106                                                        108

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·1· · · · · · MR. TERRY:· I believe those are all the      ·1· ·anywhere on that site.
·2· ·questions I have for you at this time.· I am          ·2· · · ·Q.· ·Did you ever interact with anyone from
·3· ·sure Mr. Sullivan does have a few follow-ups.         ·3· ·Borneke?
·4· ·Thank you, sir.                                       ·4· · · ·A.· ·No.
·5· · · · · · THE WITNESS:· Yes.                           ·5· · · ·Q.· ·Did you ever complain to anyone at --
·6· · · · · · MR. SULLIVAN:· I realize you have a          ·6· ·Well, strike that.
·7· ·time crunch.· It wasn't my doing.                     ·7· · · · · · Your direct boss was who?
·8· · · · · · MR. TERRY:· I didn't know that either,       ·8· · · ·A.· ·Lonnie Sears.
·9· ·Chris.· I am not trying to obviously leave you        ·9· · · ·Q.· ·Okay.· And that also would have been
10· ·with no time.· If we need to reconvene, we can        10· ·Nick's boss, right?
11· ·but --                                                11· · · ·A.· ·Yeah.· He was -- Lonnie Sears was the
12· · · · · · MR. SULLIVAN:· No, understood.               12· ·foreman of the base -- off-load base mid
13· · · · · · · · · · ·EXAMINATION                         13· ·erection.
14· ·BY MR. SULLIVAN:                                      14· · · ·Q.· ·And you were considered what?
15· · · ·Q.· ·Mr. Breyne --                                15· · · ·A.· ·A worker.
16· · · ·A.· ·Breyne.                                      16· · · ·Q.· ·For the base mid erection?
17· · · ·Q.· ·-- Breyne, you were not the foreman,         17· · · ·A.· ·Off-load base mid erection, yeah.
18· ·right?· You were a journeyman?                        18· · · ·Q.· ·In Lonnie Sears' team, right?
19· · · ·A.· ·No.· I was just a worker.                    19· · · ·A.· ·Yes, yes, yes.
20· · · ·Q.· ·And so you were in the same position as      20· · · ·Q.· ·And you and nick and Lonnie were all
21· ·Nick Borneke, right?· I mean, Nick Georgeff,          21· ·employees of Mortenson, right?
22· ·Nick Georgeff?                                        22· · · ·A.· ·Yes.
23· · · ·A.· ·Yes.                                         23· · · ·Q.· ·Mortenson was required to identify
24· · · ·Q.· ·Did you know him at all prior to this        24· ·hazards, weren't they?
                                                     109                                                        111

·1· ·project?                                              ·1· · · ·A.· ·I would believe so, yes.· That occurred
·2· · · ·A.· ·No.                                          ·2· ·that -- Yeah, that occurred.· When things don't
·3· · · ·Q.· ·You don't have any experience working        ·3· ·happen I brought that up before.· Like the
·4· ·for an excavating company, do you?                    ·4· ·foreman or whatever on the site should have
·5· · · ·A.· ·No.                                          ·5· ·been -- informed somebody to come in and clean
·6· · · ·Q.· ·And you don't hold yourself out as an        ·6· ·that up.
·7· ·expert in excavation, do you?                         ·7· · · ·Q.· ·Right.
·8· · · ·A.· ·No.                                          ·8· · · ·A.· ·Clean up after ruts are made and stuff
·9· · · ·Q.· ·You have not seen the contract between       ·9· ·like that -- when Borneke is out doing something
10· ·the Mendota Hills owner of the project and            10· ·else at a different site.
11· ·Mortenson, have you?                                  11· · · ·Q.· ·Right.· You're not aware that anyone
12· · · ·A.· ·No.· No, sir.                                12· ·ever notified Borneke of this ice patch, are
13· · · ·Q.· ·And you haven't seen the contract            13· ·you?
14· ·between Mortenson and Borneke, have you?              14· · · ·A.· ·No.
15· · · ·A.· ·No, sir.                                     15· · · ·Q.· ·And you don't have any reason to
16· · · ·Q.· ·How long had you worked with Nick            16· ·believe that Borneke would not have come out to
17· ·before this took place?                               17· ·fix it if they were notified of this, do you?
18· · · ·A.· ·Just on that project.                        18· · · ·A.· ·I have no reason to recollect they
19· · · ·Q.· ·So it had been, what, a month,               19· ·wouldn't if -- You know, that's usually --
20· ·something like that?· How long?                       20· ·That's their job.· If they were informed, they
21· · · ·A.· ·We were probably a couple months in.         21· ·probably would have came out.
22· · · ·Q.· ·Now, Borneke was not on that site.· You      22· · · ·Q.· ·Right.· Now, you were asked about the
23· ·said it was T11 on that day, correct?                 23· ·pieces in the creation of ruts and depressed
24· · · ·A.· ·I do not believe I remember seeing them      24· ·areas and so forth.· The weather changed on this
                                                     110                                                        112

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·1· ·worksite often, right?                                ·1· · · ·A.· ·No, just put on each end and then the
·2· · · ·A.· ·Yeah.                                        ·2· ·piece is suspected.· It's not covered -- You
·3· · · ·Q.· ·I mean, you had rainy days, you had          ·3· ·just put cribbing on one end of the tube and
·4· ·colder days.· In this particular case you had         ·4· ·then cribbing on the other end of the tube and
·5· ·rain that was followed by colder weather that         ·5· ·you lay the tube down on top of it and then it
·6· ·turned into snow, right?                              ·6· ·sits there and it's suspended.
·7· · · ·A.· ·Yeah.                                        ·7· · · ·Q.· ·Let me just pull up --
·8· · · ·Q.· ·Would you agree with me that just            ·8· · · ·A.· ·There is no -- There is nothing in
·9· ·because one of these pieces sinks into the            ·9· ·between the middle or anything like that in
10· ·ground it doesn't mean it was not excavated           10· ·between that.
11· ·properly at the beginning before the stuff was        11· · · ·Q.· ·Okay.
12· ·laid down?                                            12· · · · · · MR. TERRY:· Chris, do you want me to
13· · · ·A.· ·Well, yeah, I would agree to that            13· ·pull up the photo?
14· ·point, but the water needs to get pushed out          14· · · · · · MR. SULLIVAN:· That would be nice.
15· ·someplace.· Most of them crane pads on that site      15· ·Actually it will make it easier.· I have a
16· ·were just -- they weren't elevated what I want        16· ·different copy of it.
17· ·to say.· They weren't elevated.· They were just       17· ·BY MR. SULLIVAN:
18· ·right there on the dirt and then they just --         18· · · ·Q.· ·Okay.· You see that, sir?
19· ·and they just put crane mats down and brought         19· · · ·A.· ·Yeah.
20· ·the cranes on it.                                     20· · · ·Q.· ·You see that?
21· · · · · · A lot of those sites that I work on          21· · · ·A.· ·So that piece right there --
22· ·they are usually a little elevated and they are       22· · · ·Q.· ·Um-hum.
23· ·packed with gravel and stuff and then they put        23· · · ·A.· ·Okay.· That's your cribbing.
24· ·your crane pads down to bring your crane on.          24· · · ·Q.· ·Right.· This stack that's at the end,
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·1· ·These were basically just on the dirt.                ·1· ·right?
·2· · · ·Q.· ·Right, but you don't know if the             ·2· · · ·A.· ·Yes.
·3· ·contract said they needed to use gravel or            ·3· · · ·Q.· ·But what's this other stuff that goes
·4· ·anything; right?                                      ·4· ·under the whole length of the tube?
·5· · · ·A.· ·No.· I have no idea.· That was the           ·5· · · ·A.· ·Nothing.
·6· ·first one I have ever really been on that never       ·6· · · ·Q.· ·Well, if you zoom in it's --
·7· ·had like gravel put on the crane pad.                 ·7· · · ·A.· ·You put a stack on one end and you put
·8· · · ·Q.· ·Let me ask you about the base section.       ·8· ·a stack on the other end.· The tube is heavy
·9· ·You said earlier that the base section wasn't         ·9· ·enough and good enough it will support itself.
10· ·just laying on the dirt, right?                       10· · · ·Q.· ·Can you see the picture?
11· · · ·A.· ·No.· It was on that cribbing.                11· · · ·A.· ·Yeah.
12· · · ·Q.· ·And the cribbing is what?                    12· · · ·Q.· ·You see where the arrow is now?· That's
13· · · ·A.· ·What holds it up.· It's like 8 by 8          13· ·not just dirt, right?· There is some kind of
14· ·mats and some 4 by 6 oak that we make into like       14· ·pads.
15· ·a V and put them on each end of the tube and the      15· · · ·A.· ·That might be waffle mats.· Yeah, swamp
16· ·tube suspends itself over those mats.                 16· ·mat.
17· · · ·Q.· ·Okay.· And what are the mats made of?        17· · · ·Q.· ·What are those?
18· · · ·A.· ·Oak.                                         18· · · ·A.· ·Those are just some swamp mats on that
19· · · ·Q.· ·And is it -- In looking at that              19· ·piece.
20· ·picture, is it the same stuff that's underneath       20· · · ·Q.· ·What is a swamp mat?
21· ·the other piece?                                      21· · · ·A.· ·It looked like dirt before now that you
22· · · ·A.· ·Yeah, yeah.                                  22· ·pointed it out.· Sorry.· It's a waffle mat.
23· · · ·Q.· ·Okay.· And it's laid down the whole          23· ·It's a thin mat that are about -- What are them?
24· ·length of the piece then, right?                      24· ·12 feet wide.
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·1· · · ·Q.· ·Right.· Okay.· And what is it made of?       ·1· · · ·A.· ·They finished the project what they
·2· · · ·A.· ·Wood.                                        ·2· ·were doing I think -- No.· I don't think I ever
·3· · · ·Q.· ·And were these the same mats that were       ·3· ·went back to that because I had to take over
·4· ·underneath the other base piece where the ice         ·4· ·Nick's job.
·5· ·is?                                                   ·5· · · ·Q.· ·Did you ever speak to the safety person
·6· · · ·A.· ·No, because -- No.· I don't remember         ·6· ·from Mortenson about this case?
·7· ·them being underneath there because if they were      ·7· · · ·A.· ·No.· No.· Nobody talked to me about the
·8· ·that ice would have been all broke up when we         ·8· ·accident or nothing.
·9· ·pulled them up to get to the other piece.             ·9· · · ·Q.· ·In the way that this project was set
10· · · ·Q.· ·You said it was only half an hour to an      10· ·up, the area is graded first before the
11· ·hour that you had lifted up the base piece and        11· ·equipment ever comes in; right?
12· ·moved it out of the way?                              12· · · ·A.· ·Yes.
13· · · ·A.· ·An hour or so.                               13· · · ·Q.· ·And Borneke, the excavator, is required
14· · · ·Q.· ·And were you involved in that?· Did you      14· ·to be out of the area by the time the equipment
15· ·watch that happen?                                    15· ·is actually set up; right?
16· · · ·A.· ·Yes.                                         16· · · ·A.· ·Yeah.· They are supposed to be out --
17· · · ·Q.· ·And was there anything underneath the        17· ·Yeah.· You can't -- Yeah.· They need to have
18· ·base pad other than the cribbing that you             18· ·their equipment out of there before we start
19· ·recall?                                               19· ·bringing the big trucks in, yeah.
20· · · ·A.· ·I don't recall.· I remember we threw         20· · · ·Q.· ·I mean, there is not enough room for
21· ·some mat -- some of those mats at the end to          21· ·them to even be there when the pieces are being
22· ·cover up that ice in the end, but in the middle       22· ·erected using the cranes; is that true?
23· ·I don't believe -- I can't remember if there was      23· · · ·A.· ·Well, there is -- I mean, they park up
24· ·any there or not; but if there was, then we           24· ·off the access road and stuff; but yeah, for to
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·1· ·would have had to pull them up or they would be       ·1· ·be in on -- in the middle of the site, no, they
·2· ·in that picture, and if I would have pulled them      ·2· ·are -- and like I said before, for them to come
·3· ·up, that ice would have been all broke up.· It        ·3· ·into the site with a piece of equipment or
·4· ·wouldn't have been a sheet of ice.· Do you            ·4· ·anything they usually have to be informed,
·5· ·understand what I am saying?                          ·5· ·inform the foreman of the site or ask to come in
·6· · · ·Q.· ·Right.· But you had just -- You don't        ·6· ·from the foreman of the site --
·7· ·recall if there were any mats down there or not,      ·7· · · ·Q.· ·Right.
·8· ·is that right?                                        ·8· · · ·A.· ·-- which would have been Lonnie Sears.
·9· · · · · · MR. TERRY:· Objection, he just               ·9· · · ·Q.· ·That would have to take place for them
10· ·answered.                                             10· ·to even show up on the path site, the erection
11· · · · · · THE WITNESS:· I don't recall seeing          11· ·site; correct?
12· ·mats there.· I don't recall at the time.              12· · · ·A.· ·Yeah.· Probably would have had a
13· ·BY MR. SULLIVAN:                                      13· ·foreman to come or something like that.
14· · · ·Q.· ·And you don't know how long after this       14· · · ·Q.· ·And you're not aware that anyone ever
15· ·incident that the picture was taken, whether it       15· ·called Borneke out to Site T11 that day, are
16· ·was that day or the day after?· You don't know,       16· ·you?
17· ·right?                                                17· · · ·A.· ·I am not aware at all.
18· · · ·A.· ·No.· I have no idea.                         18· · · ·Q.· ·Was there any -- Do you recall any
19· · · ·Q.· ·And by the way, the cones that are here      19· ·discussion from anyone at Mortenson about the
20· ·now to mark it off as a hazardous area, that was      20· ·incoming snow or that it was going to get cold
21· ·done by Mortenson; right?                             21· ·or anything like that?
22· · · ·A.· ·I believe so.· I never went back to          22· · · ·A.· ·No.
23· ·that site after the accident.                         23· · · ·Q.· ·Was there a -- I forgot what it's
24· · · ·Q.· ·Okay.· Did you ever --                       24· ·called -- like a warning sign about weather when
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·1· ·you arrive at the T11 site?                           ·1· ·that there was ice underneath and they should
·2· · · ·A.· ·No.                                          ·2· ·halt the project, mark it off and call someone
·3· · · ·Q.· ·You're not aware of that?                    ·3· ·to get it corrected?
·4· · · ·A.· ·No, no.                                      ·4· · · ·A.· ·I never heard anyone from Mortenson say
·5· · · ·Q.· ·Obviously you knew it was snowing that       ·5· ·any of that.
·6· ·day, correct?                                         ·6· · · ·Q.· ·Did you hear anyone -- Well, strike
·7· · · ·A.· ·Oh, yeah.· I work outside all the time.      ·7· ·that.
·8· ·Yeah, we deal with it all the time.                   ·8· · · · · · Was there anyone other than Mortenson
·9· · · ·Q.· ·And if there is snow, there is also a        ·9· ·employees at that time at that site?
10· ·possibility for ice; right?                           10· · · ·A.· ·No.
11· · · ·A.· ·Yes.                                         11· · · ·Q.· ·Okay.· Did you after the base -- Strike
12· · · ·Q.· ·And of course it's -- Anyone should be       12· ·that.
13· ·more careful walking on snow and ice --               13· · · · · · Let me go back.· Did you have anything
14· · · ·A.· ·Yeah.                                        14· ·to do with hooking up equipment to pick up the
15· · · ·Q.· ·-- if they are aware that there is snow      15· ·base piece?
16· ·and ice coming down, right?                           16· · · ·A.· ·Yes.· We put the stripping shoe on the
17· · · ·A.· ·Frozen ground, whatever.                     17· ·end of it and then hooked it up to lift it.
18· · · ·Q.· ·You don't know how long that ice had         18· · · ·Q.· ·And it is your job to hook the
19· ·been there, do you, by the way?                       19· ·equipment up so it could pick it up?
20· · · ·A.· ·No.· I have no idea, bud.· We just           20· · · ·A.· ·Yes.
21· ·pulled up at the site and started putting pieces      21· · · ·Q.· ·Did you walk on the ice at any point
22· ·up.                                                   22· ·before it was lifted up?
23· · · ·Q.· ·And you're not aware that anyone             23· · · ·A.· ·Yeah.· It was icy at the end of the
24· ·informed Nick when he arrived look out for snow       24· ·base.· We slipped on it.· I think it was the
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·1· ·and ice or anything of that nature?                   ·1· ·base or to hook up the mid.· We slipped on it.
·2· · · ·A.· ·No.                                          ·2· ·Me and my partner slipped on it.
·3· · · ·Q.· ·You didn't talk to Nick before he fell,      ·3· · · ·Q.· ·You can't remember if it's the base or
·4· ·did you?                                              ·4· ·the mid?
·5· · · ·A.· ·No.· No.· I was -- I was doing my job.       ·5· · · ·A.· ·I think we threw some mats down because
·6· · · ·Q.· ·By the way, what was your job at that        ·6· ·it was icy out at the base and then we went over
·7· ·moment?                                               ·7· ·to do the mid.· That's when we slipped if I
·8· · · ·A.· ·Well, like I said, I was landing our         ·8· ·recall right.
·9· ·tooling.· It was coming out of the base because       ·9· · · ·Q.· ·Is that before Nick fell?
10· ·it was done on to a trailer that was parked           10· · · ·A.· ·Yes.
11· ·behind -- kind of behind the hub and -- kind of       11· · · ·Q.· ·Did you or anyone else say that you
12· ·in between the hub and the base itself.· I was        12· ·should stop and address the ice before you guys
13· ·just landing stuff on the -- that we were done        13· ·continued?
14· ·with, cords and stuff and tooling on to the           14· · · ·A.· ·No.· Nobody -- We just -- No.· We just
15· ·trailer.                                              15· ·went on to -- After we did that, we went back to
16· · · ·Q.· ·Okay.· Did anyone -- After picking up        16· ·working on the base.
17· ·the base section it was actually put in an            17· · · ·Q.· ·Okay.· Was Lonnie -- What was
18· ·upright position and bolted done, was it?             18· ·Lonnie Sears doing when the base was being
19· · · ·A.· ·Yeah.                                        19· ·lifted?
20· · · ·Q.· ·And that had already taken place before      20· · · ·A.· ·He was directing the crane.
21· ·Nick arrived?                                         21· · · ·Q.· ·Okay.· Is that part of the job as the
22· · · ·A.· ·Yes.                                         22· ·foreman?
23· · · ·Q.· ·And did you hear anyone from Mortenson       23· · · ·A.· ·Yeah.
24· ·observe after the base section was lifted up          24· · · ·Q.· ·And in terms of the responsibility, you
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·1· ·know, who had the responsibility to halt it if        ·1· ·was suspended over it.
·2· ·there was a dangerous condition that needed to        ·2· · · ·Q.· ·Right.· And looking at the picture, not
·3· ·be done?· Was that Lonnie?                            ·3· ·that it's up anymore, but looking at that, first
·4· · · ·A.· ·Well, they say anybody on the job site,      ·4· ·of all, you don't know how deep the depression
·5· ·but yeah, Lonnie would have been the foreman of       ·5· ·was where the ice had formed over, do you?
·6· ·the site.                                             ·6· · · ·A.· ·No.
·7· · · ·Q.· ·Okay.· You didn't hear Lonnie say oh,        ·7· · · ·Q.· ·You don't know if it's two inches or a
·8· ·there is ice here, we should stop and get this        ·8· ·foot --
·9· ·addressed, nothing like that?                         ·9· · · ·A.· ·No, I don't.
10· · · ·A.· ·No.· Not that I recall.                      10· · · ·Q.· ·-- right?
11· · · ·Q.· ·And you don't recall anyone else             11· · · ·A.· ·I don't.
12· ·suggesting to Lonnie or anyone else wait a            12· · · ·Q.· ·And do you recall that underneath the
13· ·minute, there is ice here, we need to stop and        13· ·cribbing where the base piece had been that
14· ·get this addressed?                                   14· ·there was some sort of big depression from the
15· · · · · · MR. TERRY:· Objection, asked and             15· ·thing sinking in?
16· ·answered 42 times.                                    16· · · ·A.· ·I can't remember.
17· · · · · · THE WITNESS:· No, I don't recall.            17· · · ·Q.· ·Okay.· Do you know if there was ice in
18· ·BY MR. SULLIVAN:                                      18· ·the area where the cribbing was under the base
19· · · ·Q.· ·You agree with me that -- Well, you          19· ·piece?
20· ·said that these pieces weigh what, hundreds of        20· · · ·A.· ·Yeah, I believe there was.
21· ·thousand of pounds; right?                            21· · · ·Q.· ·Okay.
22· · · ·A.· ·Yeah.                                        22· · · · · · MR. TERRY:· Well, Chris, hold on.· I am
23· · · ·Q.· ·And if they are already put down             23· ·going to object to you misrepresenting the
24· ·sometimes they are sitting there for over a day,      24· ·photograph.· There is ice 50 feet long in the
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·1· ·right?                                                ·1· ·photograph.· He's already testified that it's in
·2· · · ·A.· ·Yeah.· Sometimes they are sitting for        ·2· ·the whole depressed area.· Now you're trying to
·3· ·quite a while.                                        ·3· ·misrepresent the photograph to make it seem
·4· · · ·Q.· ·Like what, a week, a month?                  ·4· ·there's only ice under the cribbing.
·5· · · ·A.· ·Yeah, a week sometimes.· Yeah, a couple      ·5· · · · · · MR. SULLIVAN:· I am asking a different
·6· ·weeks.                                                ·6· ·question, counsel.
·7· · · ·Q.· ·And of course if you get heavy rain          ·7· · · · · · MR. TERRY:· I think you're
·8· ·after it's been set down the ground softens           ·8· ·misrepresenting the photograph on the record and
·9· ·underneath, right?                                    ·9· ·I -- I just want that to be clear because there
10· · · ·A.· ·It could, yes.                               10· ·clearly shows like a sheet of ice, not just
11· · · ·Q.· ·And that could create a depression           11· ·underneath one area.
12· ·because of the shear weight of this thing,            12· · · · · · MR. SULLIVAN:· Okay.· Are you done
13· ·right?                                                13· ·objecting, counsel?
14· · · ·A.· ·Well, not that whole length because we       14· · · · · · MR. TERRY:· Are you done testifying for
15· ·only have cribbing on the ends.· I mean, like I       15· ·the witness?
16· ·told you before, that piece itself since we only      16· · · · · · MR. SULLIVAN:· Are you kidding me?
17· ·crib up the ends of it, that piece itself wasn't      17· ·Please.· This is ridiculous.
18· ·sitting on the ground.                                18· · · · · · MR. TERRY:· I agree.· Move on.
19· · · ·Q.· ·Okay.                                        19· · · · · · MR. SULLIVAN:· No, no.· You -- No.
20· · · ·A.· ·It's suspended in the air because of         20· ·Based on what the witness is testifying, I am
21· ·the cribbing on two ends.                             21· ·asking questions.
22· · · ·Q.· ·And when you picked this --                  22· · · · · · MR. TERRY:· Okay.
23· · · ·A.· ·The depression would be underneath           23· ·BY MR. SULLIVAN:
24· ·where the cribbing would sit, not where the tube      24· · · ·Q.· ·Mr. Breyne, your testimony is that the
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·1· ·base and even the midsection was not touching         ·1· ·or right before.· It was just like this squall
·2· ·the ground on the whole length of the piece;          ·2· ·came in, just a real quick boom and covered
·3· ·right?                                                ·3· ·everything up.
·4· · · ·A.· ·Yes, just sitting on the cribbing.           ·4· · · ·Q.· ·Wasn't it Mortenson's job to remove
·5· · · ·Q.· ·Okay.· And you don't know how far up         ·5· ·snow if it got too deep?
·6· ·off the ground it was, do you?                        ·6· · · · · · MR. TERRY:· Objection, calls for
·7· · · ·A.· ·Well, we put eight-inch mat and then         ·7· ·speculation.
·8· ·four by sixes on the end, so you're looking at        ·8· · · · · · THE WITNESS:· I don't know whose job it
·9· ·what, 12 inches.                                      ·9· ·would be to remove the snow if it got too deep.
10· · · ·Q.· ·My question is do you recall that there      10· ·I mean, that's -- You know, never ran into it
11· ·was a depression deeper where the cribbing was        11· ·where it got too deep where we couldn't do
12· ·after the base piece was lifted?                      12· ·anything, you know.
13· · · ·A.· ·I do not recall because once that's          13· ·BY MR. SULLIVAN:
14· ·picked up I usually follow it over to the base        14· · · ·Q.· ·Do you recall anyone or -- Well, on
15· ·and start putting the anchor bolts on.                15· ·this project do you recall snow of that depth
16· · · ·Q.· ·Okay.                                        16· ·that you would have to move it out of the way?
17· · · ·A.· ·Once it's picked up and in the air, you      17· · · ·A.· ·Later on.· I mean, later on in
18· ·know, a fork truck comes in and cleans up --          18· ·different sites, yeah, where they had -- It was
19· ·picks up the cribbing and -- and stuff like           19· ·all cleared off by the time we got there.
20· ·that, and then we were -- I am over guiding the       20· · · ·Q.· ·And do you know who it was that removed
21· ·base down on the anchor bolts.· So my attention       21· ·the snow and ice out of the way?
22· ·is not drawn to looking at the ground over            22· · · ·A.· ·I have no idea.· I would imagine it was
23· ·there.                                                23· ·the excavating companies.
24· · · ·Q.· ·Okay.                                        24· · · ·Q.· ·But you don't know?
                                                     129                                                        131

·1· · · ·A.· ·Do you understand?                           ·1· · · ·A.· ·They are the ones with the dozers and
·2· · · ·Q.· ·Yes, sir.                                    ·2· ·the equipment so...
·3· · · · · · Do you have any recollection of how          ·3· · · ·Q.· ·You don't know who actually had that
·4· ·long it takes to pick up the base piece and then      ·4· ·task though --
·5· ·have it installed?                                    ·5· · · ·A.· ·No.
·6· · · ·A.· ·About 30 minutes from being hooked up        ·6· · · ·Q.· ·-- is that fair to say?
·7· ·to getting it up and moving it over and put it        ·7· · · · · · Correct?· Is that correct?
·8· ·down.· Probably an hour.                              ·8· · · ·A.· ·Yeah, I don't know who would have that
·9· · · ·Q.· ·An hour total you're saying?                 ·9· ·task.
10· · · ·A.· ·Yeah.· From the time you pick it up to       10· · · ·Q.· ·You didn't know anyone at Borneke, did
11· ·put it down, get it bolted down, approximately        11· ·you?
12· ·an hour.                                              12· · · ·A.· ·No.
13· · · ·Q.· ·And on this particular day it was            13· · · ·Q.· ·Do you remember ever speaking to anyone
14· ·snowing that whole time, wasn't it?                   14· ·at Borneke on this project?
15· · · ·A.· ·No.                                          15· · · ·A.· ·Not that I know of.
16· · · ·Q.· ·What do you recall about that?               16· · · · · · MR. SULLIVAN:· That's all I have, sir.
17· · · ·A.· ·I just remember just like a squall came      17· ·Thank you.· I appreciate it.
18· ·in there right before we started everything and       18· · · · · · MR. TERRY:· Mr. Breyne, I just have two
19· ·I believe it just stopped and -- just enough to       19· ·minutes of follow-ups and then we will be done
20· ·cover the ground with -- with snow.                   20· ·and I mean that.
21· · · ·Q.· ·Okay.· So you're saying it started           21· · · · · · · · ·FURTHER EXAMINATION
22· ·snowing right when you were doing the base,           22· ·BY MR. TERRY:
23· ·picking it up?                                        23· · · ·Q.· ·You were asked questions about whether
24· · · ·A.· ·I can't remember if it was right then        24· ·or not you're an excavating expert or whether or
                                                     130                                                        132

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·1· ·not you have worked for an excavating company.        ·1· ·to remove all the mats that are in the way.
·2· ·You would agree that you have worked on these         ·2· ·Once that piece is picked up, they come over and
·3· ·wind farm projects for the last 15, 20 years;         ·3· ·they remove the mats.
·4· ·right?                                                ·4· · · ·Q.· ·Okay.· And your knowledge is that there
·5· · · ·A.· ·Yes.                                         ·5· ·were only mats and cribbing at the ends of the
·6· · · ·Q.· ·And you have worked on at least              ·6· ·base section which is where we see the depressed
·7· ·15 projects to your knowledge, right, give or         ·7· ·area with the sheet of ice, right?
·8· ·take?                                                 ·8· · · ·A.· ·I believe so.
·9· · · ·A.· ·Yeah, give or take a few.· Yeah.· I am       ·9· · · ·Q.· ·Okay.
10· ·pretty close to that.                                 10· · · ·A.· ·To my knowledge, I think that's the
11· · · ·Q.· ·And while you might not work for an          11· ·only places we had cribbing on that -- mats at.
12· ·excavating company, it's safe to say that during      12· · · ·Q.· ·And you further believe this because
13· ·your time on these numerous projects you have         13· ·when you look at the photograph there was one
14· ·come to understand what is customary on these         14· ·large sheet of ice as opposed to scattered areas
15· ·projects; right?                                      15· ·that would have been broken up had you removed
16· · · ·A.· ·Yes.                                         16· ·the mats, right?
17· · · ·Q.· ·Okay.· And when you're giving testimony      17· · · ·A.· ·Yeah.· If the fork truck would have ran
18· ·today about what you believe could have been          18· ·through there he would have broke up that ice.
19· ·done or where you believe areas could have been       19· · · ·Q.· ·Okay.
20· ·graded better, this is just based on your             20· · · ·A.· ·You know, if he came down the ends and
21· ·general 15-plus years of experience as well as        21· ·picked up the mats from the ends he wouldn't
22· ·your 15-plus projects just based on your general      22· ·have broke up that ice underneath.
23· ·construction knowledge; right?                        23· · · ·Q.· ·Yeah, exactly.
24· · · ·A.· ·Yes, in and around it and seeing it and      24· · · · · · You were ask the questions about the
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·1· ·been there.                                           ·1· ·ground being able to soften up.· Again, based on
·2· · · ·Q.· ·Okay.· You were asked questions about        ·2· ·your understanding that this base only had
·3· ·whether or not you believed there were mats           ·3· ·cribbing on the ends, this is also part of the
·4· ·under the base section.· I believe you                ·4· ·basis for your testimony that this area should
·5· ·testified -- I just want to be clear.· You            ·5· ·have been graded better from the beginning
·6· ·believed the base section only had mats and           ·6· ·because the depressed area would only be at the
·7· ·cribbing at the end of it, right?                     ·7· ·ends of this section if it's set up how you say
·8· · · ·A.· ·I believe so.                                ·8· ·it is, right?
·9· · · ·Q.· ·Okay.· And you were one of the -- Go         ·9· · · ·A.· ·Yeah.· There shouldn't have been --
10· ·ahead.                                                10· ·underneath it -- Nothing ever touches the ground
11· · · ·A.· ·I just believe there was just mats on        11· ·from end to end.· Say the piece was 65 feet
12· ·the ends.· I can't remember if there was              12· ·long.· You put a cribbing and they are four foot
13· ·anything in the middle, but you usually don't         13· ·wide and you put them on each end, so you're
14· ·leave stuff laying in the middle of them.             14· ·looking at, what, 59 feet now, something like
15· · · ·Q.· ·Yeah.· And you were the person who           15· ·that.· 57 feet.· The rest of it does not touch
16· ·helped pick up the base section that morning,         16· ·the ground when you're sitting on the ground to
17· ·right?                                                17· ·make a depression like that.
18· · · ·A.· ·Yes.                                         18· · · ·Q.· ·Okay.· And that's what you believe to
19· · · ·Q.· ·So you would have had an opportunity if      19· ·be the case with the base section which exposed
20· ·there were mats underneath the full thing to          20· ·the sheet of ice, right?
21· ·pick those up and you don't remember doing that       21· · · ·A.· ·Come back?
22· ·as you sit here today, right?                         22· · · ·Q.· ·Yeah.· So you believe that the base
23· · · ·A.· ·Yeah.· We usually have a fork truck on       23· ·section which was removed from on top of the
24· ·the job, on the project.· That was their job is       24· ·sheet of ice only had cribbing at the ends to
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·1· ·state it simply, right?                               ·1· ·STATE OF ILLINOIS· · ·)

·2· · · ·A.· ·Yes.                                         ·2· · · · · · · · · · · · ·)· ·SS:

·3· · · ·Q.· ·And that's why you believe this area         ·3· ·COUNTY OF C O O K· · ·)

·4· ·wasn't properly graded or drained to begin with       ·4· · · · · I, MICHELLE L. BARTA, a certified

·5· ·because there was a large sheet of ice                ·5· ·shorthand reporter for the State of Illinois,

·6· ·throughout the whole area, not just underneath        ·6· ·do hereby certify that heretofore, to-wit,

·7· ·the ends; right?                                      ·7· ·on the 23rd day of February 2022, personally

·8· · · ·A.· ·Yeah.· I mean, yeah, it was from one         ·8· ·appeared before me via Zoom videoconference,

·9· ·end to the other it was a sheet of ice.               ·9· ·LEONARD BREYNE, in a cause now pending and

10· · · ·Q.· ·Yeah.· And so that makes it look like        10· ·undetermined in the United States District Court

11· ·this one area just wasn't properly graded or          11· ·for the Northern District of Illinois, wherein

12· ·drained from the beginning as opposed to              12· ·NICK GEORGEFF is the Plaintiff, and DON BORNEKE

13· ·something being formed later on, right?               13· ·CONSTRUCTION, INC., is the Defendant.

14· · · · · · MR. SULLIVAN:· Foundation.                   14· · · · · I further certify that the said

15· · · · · · Go ahead.                                    15· ·LEONARD BREYNE was first duly sworn to testify

16· · · · · · THE WITNESS:· Yeah.· I believe so.           16· ·the truth, the whole truth and nothing but the

17· ·Some kind of a -- Something created that              17· ·truth in the cause aforesaid; that the testimony

18· ·depression where that water pooled up.                18· ·then given by said witness was reported

19· ·BY MR. TERRY:                                         19· ·stenographically by me and afterwards reduced to

20· · · ·Q.· ·And had this been graded and drained         20· ·typewriting by Computer-Aided Transcription, and

21· ·from day one, the water wouldn't have been able       21· ·the foregoing is a true and correct transcript

22· ·to pool form and freeze, right?                       22· ·of the testimony so given by said witness as

23· · · · · · MR. SULLIVAN:· Objection, foundation.        23· ·aforesaid.

24· · · · · · THE WITNESS:· Yeah.                          24· · · · · I further certify that the signature to

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·1· · · · · · MR. TERRY:· Okay.· That's all I have.        ·1· ·the foregoing deposition was waived by the

·2· ·I appreciate it.                                      ·2· ·deponent.

·3· · · · · · Chris, do you have anything further or       ·3· · · · · I further certify that I am not counsel

·4· ·should I explain signature?                           ·4· ·for nor in any way related to the parties to

·5· · · · · · MR. SULLIVAN:· Go ahead.· Thanks.            ·5· ·this suit, nor am I in any way interested in the

·6· · · · · · MR. TERRY:· Sir, you have the                ·6· ·outcome thereof.

·7· ·opportunity if you want to to read this               ·7· · · · · IN TESTIMONY WHEREOF:· I have hereunto

·8· ·transcript to make sure that Ms. Barta took down      ·8· ·set my verified digital signature this 10th day

·9· ·everything accurately.· You don't have to.· Most      ·9· ·of March, 2022.

10· ·witnesses waive their signature, meaning they         10

11· ·assume Ms. Barta took everything down                 11

12· ·accurately.                                           12

13· · · · · · If you want to read it you say reserve       13

14· ·and she will send you a copy.· If you trust that      14· · · · · · · ·__________________________· ________

15· ·she took everything down accurately, just say         15· · · · · · · ·MICHELLE L. BARTA, C.S.R., R.P.R.

16· ·waive and you're done.                                16· · · · · · · ·LIC. NO. 084-004033

17· · · · · · THE WITNESS:· I will waive.                  17

18· · · · · · MR. TERRY:· Perfect.· Well, then that's      18

19· ·everything.· You can go ahead and hop off.· We        19

20· ·do appreciate your time and accommodation today.      20

21· · · · · · THE WITNESS:· Okay.· Thank you.              21

22· · · · · · MR. SULLIVAN:· Thank you.                    22

23· · · · · · · · · ·(Whereupon, the proceedings           23

24· · · · · · · · · · adjourned at 3:28 p.m.)              24

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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

NICK GEORGEFF,                  )
                                )
         Plaintiff,             )
                                )
     v.                         )                       Case No. 3:20-cv-50313
                                )
DON BORNEKE CONSTRUCTION, INC., )
                                )
         Defendant.             )

              DEFENDANT’S AMENDED ANSWER AND AFFIRMATIVE
             DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT

               Defendant, DON BORNEKE CONSTRUCTION, INC., by and through its counsel,

SWANSON, MARTIN & BELL, LLP, for its Amended Answer and Affirmative Defenses to

Plaintiff’s First Amended Complaint, states as follows:

                                 JURISDICTION AND VENUE

       1.      This is a personal injury action involving an individual plaintiff and a corporate

defendant.

       Answer:         Defendant admits the allegations contained in paragraph 1.

       2.      The plaintiff is a citizen of the State of Illinois, residing in Plainfield, IL.

       Answer:         Defendant lacks sufficient information to form a belief as to the truth

or falsity of the allegations contained in paragraph 2 and therefore denies same.

       3.      The defendant is a citizen of the State of Minnesota with its principal place of

business located in Eagle Lake, Minnesota.

       Answer:         Defendant admits only that it is a Minnesota corporation and its office

address is 41537 50th Street in Janesville, Minnesota and denies the remaining allegations

contained in paragraph 3.




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       4.      The jurisdiction of this Court is invoked pursuant to 28 USC 1332 as the matter in

controversy exceeds $75,000.00 and is between citizens of different states.

       Answer:          Defendant lacks sufficient information to form a belief as to the truth

or falsity of the allegations contained in paragraph 4 and therefore denies same.

       5.      The events and omissions giving rise to this claim occurred in Lee County, Illinois,

thus pursuant to 28 U.S.C. 1391(b), this Court is the appropriate venue for this action.

       Answer:          Defendant admits only that this Court is the appropriate venue and

denies any remaining allegations contained in paragraph 5.

                             COUNT I – DIRECT NEGLIGENCE

       6.      On and before November 15, 2018, the plaintiff was employed by M.A. Mortenson

Company and engaged in a construction project on a wind farm in or near the Village of Compton,

Lee County, Illinois.

       Answer:          Defendant lacks sufficient information to form a belief as to the truth

or falsity of the allegations contained in paragraph 6 and therefore denies same.

       7.      Prior to said date, M.A. Mortenson Company hired the defendant to grade,

maintain, repair and remove snow and ice from the dirt roadways used by persons, vehicles, and

equipment on the construction.

       Answer:          Defendant admits only that it entered into a subcontract agreement

with M.A. Mortenson Company on December 29, 2017, subject to its terms and conditions

and denies the remaining allegations contained in paragraph 7.




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       8.     On and before said date defendant was in charge of and responsible for grading,

maintaining, repairing, and removing snow and ice from the dirt roadways used by persons,

vehicles and equipment on the construction site.

       Answer:        Defendant admits only to those duties and responsibilities provided in

its subcontract agreement with M. A. Mortenson Company dated December 29, 2017 and

denies the remaining allegations contained in paragraph 8.

       9.     On and before said date defendant operated vehicles and equipment on the dirt

roadways.

       Answer:        Defendant admits that it operated various vehicles and equipment on

the subject windfarm site at various times; defendant lacks sufficient information to form a

belief as to the truth or falsity of the remaining allegations contained in paragraph 9 and

therefore denies same.

       10.    On said date, the plaintiff was walking on a dirt roadway on the construction site in

the performance of his work.

       Answer:        Defendant lacks sufficient information to form a belief as to the truth

or falsity of the allegations contained in paragraph 10 and therefore denies same.

       11.    At all relevant times, the defendant had a duty to exercise reasonable care in the

grading, maintaining, repairing and removal of snow and ice from said dirt roadway.

       Answer:        Defendant admits only to those duties imposed by law or contract,

denies any breach of those duties and denies the remaining allegations contained in

paragraph 11.




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       12.    Notwithstanding and in violation of said duty, defendant, through its agents,

servants, and employees, was then and there guilty of the following careless and negligent acts

and/or omissions:

              a)     Failed to properly grade, maintain and repair the dirt roadway;

              b)     Failed to remove or to properly remove snow and ice from the dirt roadway;

              c)     Failed to make a reasonable inspection of the dirt roadway when the

                     defendant knew or should have known the such inspection was necessary to

                     prevent injury to persons using the dirt roadway;

              d)     Failed to use ordinary care to see that the dirt roadway was reasonable safe

                     for the use of those lawfully on the property;

              e)     Caused tracks and ruts to form on the dirt roadway creating a danger to

                     persons using the dirt roadway;

              f)     Allowed tracks and ruts to remain on the dirt roadway creating a danger to

                     persons using the dirt roadway;

              g)     Caused unnatural accumulations of ice to form in tracks and ruts on the dirt

                     roadway creating a danger to persons using the dirt roadway;

              h)     Allowed unnatural accumulations of ice to remain in tracks and ruts on the

                     dirt roadway creating a danger to persons using the dirt roadway;

              i)     Was otherwise careless and negligent.

       Answer:       Defendant denies the allegations contained in paragraph 12, including

subparagraphs (a) through (i).




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       13.     As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions, at said time and place plaintiff slipped and feel on an unnatural accumulations

of ice, causing him to suffer severe bodily injury and to sustain damages of a personal and

pecuniary nature, including but not limited to pain, suffering, disability, loss of a normal life, loss

of earnings and loss of earning potential, expenses for medical care and services, and other

damages, all of which are continuing an permanent in nature.

       Answer:          Defendant denies the allegations contained in paragraph 13.

               WHEREFORE, plaintiff respectfully requests judgment be entered in his favor and

against the defendant in a dollar amount in excess of $75,000.00, plus costs of suit.

       Answer:          Defendant denies that Plaintiff is entitled to judgment or relief in any

amount whatsoever and specifically denies the relief sought in the ad damnum to Count I.

                              COUNT II – PREMISES LIABILITY

       14.     On and before November 15, 2018, the plaintiff was employed by M.A. Mortenson

Company and engaged in a construction project on a wind farm in or near the Village of Compton,

Lee County, Illinois.

       Answer:          Defendant lacks sufficient information to form a belief as to the truth

or falsity of the allegations contained in paragraph 14 and therefore denies same.

       15.     Prior to said date, M.A. Mortenson Company hired the defendant to grade,

maintain, repair and remove snow and ice from the dirt roadways used by persons, vehicles, and

equipment on the construction site.




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       Answer:         Defendant admits only that it entered into a subcontract agreement

with M.A. Mortenson Company on December 29, 2017 subject to its terms and conditions

and denies the remaining allegations contained in paragraph 15.

       16.     On and before said date defendant possessed, operated, managed, maintained,

designed, inspected, planned and/or controlled the dirt roadways used by persons, vehicles, and

equipment on the construction site.

       Answer:         Defendant admits only to those duties and responsibilities provided in

its subcontract agreement with M.A. Mortenson Company dated December 29, 2017, denies

violating those duties and denies the remaining allegations contained in paragraph 16.

       17.     On said date, the plaintiff was walking on a dirt roadway on the construction site in

the performance of his work.

       Answer:         Defendant lacks sufficient information to form a belief as to the truth

or falsity of the allegations contained in paragraph 17 and therefore denies same.

       18.     On said date the defendant, well knowing its duty in this regard, carelessly and

negligently caused and permitted said dirt roadway to become and remain in a dangerous condition

for persons walking on the dirt roadway, in that the dirt roadway was in a state of disrepair with

tracks, ruts, and unnatural accumulations of ice present, although the defendant knew or in the

exercise of ordinary and reasonable care should have known of the dangerous condition.

       Answer:         Defendant denies the allegations contained in paragraph 18.

       19.     At said time and place the defendant knew or could reasonably expect that persons

on the property would not discover or realize the danger or would fail to protect against the danger

in the performance of their work.


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        Answer:         Defendant denies the allegations contained in paragraph 19.

        20.      As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions, at said time and place plaintiff slipped and fell on an unnatural accumulation of

ice, causing him to suffer severe bodily injury and to sustain damages or a personal and pecuniary

nature, including but not limited to pain, suffering, disability, loss of a normal life, loss of earnings

and loss of earning potential, expenses for medical care and services, and other damages, all of

which are continuing and permanent in nature.

        Answer:         Defendant denies the allegations contained in paragraph 20.

                 WHEREFORE, plaintiff respectfully request judgment be entered in his favor and

against the defendant in a dollar amount in excess of $75,000.00, plus costs of suit.

        Answer:         Defendant denies that Plaintiff is entitled to judgment or relief in any

amount whatsoever and specifically denies the relief sought in the ad damnum to Count II.

                         DEFENDANT’S AFFIRMATIVE DEFENSES

        Defendant, Don Borneke Construction, Inc. (“Borneke”), by and through its attorneys,

Swanson, Martin & Bell, LLP, for its affirmative defenses, states as follows:

                                  I.      Contributory Negligence

        1.       This incident arises from a slip and fall on ice on a windfarm construction project

known as Mendota Hills in Lee County, Illinois. (Am. Compl., ¶ 13).

        2.       On or about November 15, 2018, Plaintiff slipped on ice that was allegedly

unnaturally accumulated while walking on the windfarm turbine erection area of site T-11. (Am.

Compl., ¶ 13).




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        3.      At the time and place of the incident, Plaintiff had a duty to exercise ordinary care

and caution for his own safety and well-being.

        4.      In violation of the aforementioned duty, Plaintiff was negligent in one or more of

the following ways:

                a.      Failed to keep a proper look out while walking during a snow event at the

                        site of T-11 on the Mendota Hills Windfarm site on or about November 15,

                        2018;

                b.      Failed to utilize personal protective equipment, such as ice cleats, which

                        were available for his use;

                c.      Failed to maintain proper control of his body and objects on his person;

                d.      Was otherwise careless and negligent.

        5.      The injuries sustained by Plaintiff, if any, were proximately caused by the aforesaid

negligent acts or omissions on the part of Plaintiff, Nick Georgeff.

        6.      In the event that this Court renders judgment in favor of Plaintiff, Defendant is

entitled to a reduction of damages pursuant to 735 ILCS 5/2-1116, based upon the percentage of

fault attributable to Plaintiff, and if that percent of fault is determined to be more than fifty percent

(50%), then Defendant is entitled to judgment in its favor.

                                     II.     Open and Obvious

        1.      Plaintiff seeks damages for injuries allegedly caused by Defendant, Borneke

Construction.

        2.      At all relevant times, Plaintiff had a duty to exercise ordinary care, perception,

intelligence and judgement to avoid open and obvious risks that a reasonable person would have


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taken in light of the open and obvious nature of the condition, said condition being ice and snow

during a snow event.

        3.      Notwithstanding Plaintiff’s duty as aforesaid, at all times relevant hereto the

Plaintiff was guilty of failing to take the necessary precautions that a reasonable person exercising

ordinary perception and intelligence would have taken to avoid an open and obvious risk that could

have been avoided without incident.

        4.      Borneke is entitled to a reduction in any damages awarded to Plaintiff based on

Plaintiff’s failure to avoid open and obvious risk.

        5.      Plaintiff is obligated to avoid open and obvious risk, and thus, these claims should

be barred, or in the alternative, reduced if Plaintiff failed to avoid these open and obvious risks.

                                   III.         Third Party Conduct

        1.      The Plaintiff’s alleged injuries were proximately caused by third parties over

whom Borneke has no control, namely Mortenson Construction.

        2.      At the time and place of the incident, Borneke had no control over the allegedly

defective premises.

        3.     Therefore, Plaintiff cannot recover from Borneke, as alleged.

                                          IV.     Lack of Notice

        1.     Despite the exercise of reasonable diligence, Borneke did not have actual or

constructive notice of the alleged condition, which caused Plaintiff’s injuries.

        2.     Therefore, Plaintiff cannot establish that Borneke’s conduct caused the hazardous

condition alleged, or that Borneke had legally sufficient notice of the alleged condition such that

liability can be established.


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                              V.      Natural Accumulation of Ice

       1.      The allegations of liability against Borneke in this matter arise from the

occurrence of a natural accumulation of ice.

       2.      Plaintiff’s injuries, occurred as a result of the natural accumulation of ice at the

site T-11 of the Mendota hills Windfarm Project of the at the time and place at issue.

       3.      Therefore, as a matter of law, Borneke had no duty to warn of such condition

caused by the natural accumulation of ice and is not liable for any alleged injuries.

       Wherefore, Defendant, Don Borneke Construction, Inc., prays for judgment in its favor

and against Plaintiff, as Plaintiff’s own negligence, or the negligence of third party, Mortenson

Construction, was the sole proximate cause and/or greater than fifty percent (50%) of the

proximate cause of his alleged injuries. In the alternative, Defendant prays that this Court reduce

the jury’s verdict, if any, by Plaintiff’s proportionate share of negligence that proximately caused

his alleged injuries, plus costs and any further relief deemed just and equitable by the Court.

                                               Respectfully submitted,

                                               SWANSON, MARTIN & BELL, LLP

                                      By:      /s/ Christian A. Sullivan
                                               One of its Attorneys

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(630) 799-6970
Attorney No. 6278557
csulliva@smbtrials.com

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·1· · · · · IN THE UNITED STATES DISTRICT COURT                  ·1· · · · · · · · · · I N D E X
·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS                     ·2· ·WITNESS· · · · · · · · · · · · · · · EXAMINATION
·3· · · · · · · · · · EASTERN DIVISION                           ·3· ·ANDREW KRUSE
·4· ·NICK GEORGEFF,· · · · · · · · ·)                            ·4· · ·BY MR. TERRY· · · · · · · · · · · · · 5
·5· · · Plaintiff,· · · · · · · · · )                            ·5· · ·BY MR. SULLIVAN· · · · · · · · · · · 75
·6· · ·vs.· · · · · · · · · · · · · ) Civil Action               ·6· · ·BY MR. TERRY, FURTHER· · · · · · · · 87
·7· ·DON BORNEKE CONSTRUCTION, INC.,) No. 3:20-CV-50313          ·7
·8· · · · · · · ·Defendant.· · · · ·)                            ·8
·9· · · · · The deposition of ANDREW KRUSE, called               ·9
10· ·for examination pursuant to the Rules of Civil              10· · · · · · · · · · ·E X H I B I T S
11· ·Procedure for the United States District Courts             11· ·NUMBER· · · · · · · · · · · · · ·IDENTIFICATION
12· ·pertaining to the taking of depositions, before             12· · · · · · · ·(N0 EXHIBITS WERE MARKED.)
13· ·Margaret A. Ritacco, a certified shorthand                  13
14· ·reporter in the State of Illinois, on the                   14
15· ·15th day of March 2022, at 1:0O p.m., via                   15· ·BENNETT Deposition
16· ·videoconference per Executive Order 2020-14                 16· · ·Exhibit No. 3 (Referred to)· · · · · · ·39
17· ·pursuant to notice.                                         17· · ·Exhibit No. 4 (Referred to)· · · · · · ·40
18                                                               18· · ·Exhibit No. 8 (Referred to)· · · · · · ·56
19                                                               19
20                                                               20
21                                                               21
22                                                               22
23· ·Reported by:· MARGARET A. RITACCO, CSR                      23
24· ·License No.:· 084-002796                                    24

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·1·   ·APPEARANCES:                                              ·1· · ·THE REPORTER:· My name is Margaret Ritacco, CSR.
·2·   · · · ANESI, OZMON, RODIN, NOVAK & KOHEN, by
· ·   · · · MR. CHARLES A. TERRY,                                ·2· ·This deposition is being taken pursuant to
·3·   · · · 161 North Clark Street, 21st Floor                   ·3· ·Governor Pritzker's Executive Order 2020-14.
· ·   · · · Chicago, Illinois· 60601
·4·   · · · (312) 372-3822                                       ·4· ·All parties to this proceeding, including the
· ·   · · · cterry@anesilaw.com                                  ·5· ·court reporter, are attending via videoconference.
·5·   · · · · · ·Representing the Plaintiff;
·6                                                               ·6· · · · · Will the parties please introduce
· ·   ·   ·   ·   SWANSON, MARTIN and BELL, by                   ·7· ·yourselves, state who you represent, and that
·7·   ·   ·   ·   MR. CHRISTIAN A. SULLIVAN,
· ·   ·   ·   ·   2525 Cabot Drive, Suite 204                    ·8· ·you are in agreement with these procedures,
·8·   ·   ·   ·   Lisle, Illinois· 60532                         ·9· ·starting with plaintiff's counsel.
· ·   ·   ·   ·   (630) 799-6900
·9·   ·   ·   ·   csullivan@smbtrials.com                        10· · · ·MR. TERRY:· Charles Terry for the plaintiff,
· ·   ·   ·   ·   · · ·Representing Defendant,                   11· ·Nick Georgeff, we agree.
10·   ·   ·   ·   · · ·Borneke Construction;
11                                                               12· · · ·MR. SULLIVAN:· Chris Sullivan for defendant,
· ·   ·   ·   ·   FAEGRE, DRINKER, BIDDLE & REATH LLP., by       13· ·Borneke Construction, we also agree.
12·   ·   ·   ·   MS. CYRI VAN HECKE,
· ·   ·   ·   ·   90 South Seventh St.                           14· · · ·MS. VAN HECKE:· Cyri Van Hecke for
13·   ·   ·   ·   3300 Wells Fargo Center                        15· ·third-party, Mortenson Construction, we agree.
· ·   ·   ·   ·   Minneapolis, Minnesota· 55402
14·   ·   ·   ·   (612) 766-8140                                 16· · · · · · · · · · (Witness sworn.)
· ·   ·   ·   ·   cyri.vanhecke@faegredrdinker.com               17· · · ·MR. TERRY:· Sir, can you please state and
15·   ·   ·   ·   · · ·Representing Third-Party Defendant,
· ·   ·   ·   ·   · · ·Mortenson Construction.
                                                                 18· ·spell your name for the record?
16                                                               19· · · ·THE WITNESS:· Andrew Kruse, A-N-D-R-E-W, last
17
18
                                                                 20· ·name, K-R-U-S-E.
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·1· · · · · · · · · · ANDREW KRUSE,                        ·1· ·asking questions, and we'll take as many as you
·2· ·called as a witness herein, having been first         ·2· ·need.
·3· ·duly sworn, was examined and testified as             ·3· · · · · · The only caveat is if there's a
·4· ·follows:                                              ·4· ·question pending, you must answer the question.
·5· · · · · · · · · · · EXAMINATION                        ·5· ·Okay?
·6· ·BY MR. TERRY:                                         ·6· · · ·A.· ·Okay.
·7· · · ·Q.· ·Let the record reflect this is the           ·7· · · ·Q.· ·If you answer a question, we're going
·8· ·deposition of Andrew Kruse taken pursuant to          ·8· ·to assume you understood what it meant.· So if
·9· ·notice and agreement of the parties.· Let the         ·9· ·you don't understand, please ask us to repeat,
10· ·record also reflect this deposition is being          10· ·rephrase, or ask it in a different way.· Does
11· ·taken via Zoom, but still pursuant to all             11· ·that make sense?
12· ·applicable rules.                                     12· · · ·A.· ·Yes, it does.
13· · · · · · Before I get into some of the ground         13· · · ·Q.· ·Then, just a couple of more.· I'm going
14· ·rules and stuff, sir, do you mind if I call you       14· ·to start with some background questions.· Some
15· ·by your first name?· Or what do you prefer that       15· ·people wonder why we ask these.· It's just to
16· ·I call you today?                                     16· ·get a little bit of an insight as to who you
17· · · ·A.· ·Yeah, Andrew works great.                    17· ·are, and the reason is if this matter goes to
18· · · ·Q.· ·Andrew?                                      18· ·trial, this deposition is the one time for us
19· · · ·A.· ·Uh-huh.                                      19· ·prior to that to find out who you are, what you
20· · · ·Q.· ·Got it.· Have you ever given a               20· ·know, and what you'll testify to.
21· ·deposition before, Andrew?                            21· · · · · · So, I'll try to keep the background
22· · · ·A.· ·No, sir.                                     22· ·questions to a minimum, but that's the purpose
23· · · ·Q.· ·I'm sure Ms. Van Hecke has gone over         23· ·of going through this process, what a deposition
24· ·some of the ground rules with you, but I'm just       24· ·actually is.
                                                       5                                                          7

·1· ·going to repeat a few.· I use this old adage at       ·1· · · · · · Then the last one, I know the incident
·2· ·every dep.· If you break some of the rules,           ·2· ·we're here to talk about happened a few years
·3· ·nothing bad is going to happen, but it just           ·3· ·ago now.· So if at any point you don't remember,
·4· ·helps the process go smoother.· So, please try        ·4· ·or you don't know, that is fine, just say so.
·5· ·to do your best to follow them, and the biggest       ·5· ·This is not a memory test.· This is not trying
·6· ·one for today's purposes is try not to talk over      ·6· ·to trip you up or anything like that.
·7· ·each other.· So if someone is asking a question,      ·7· · · · · · Again, it's just finding out what you
·8· ·even if it's long-winded or boring, do your best      ·8· ·know and what you don't know.· And if you don't
·9· ·just to wait for the full question to come out        ·9· ·know something, that's fine, but I would ask you
10· ·prior to answering.                                   10· ·if you could give your best estimates as to
11· · · · · · Does that make sense?                        11· ·something, based on your experience and
12· · · ·A.· ·Yes, sir.                                    12· ·expertise, that you would do that.
13· · · ·Q.· ·And then try to keep all your answers        13· · · · · · Does that make sense?
14· ·out loud, meaning, yes, no, or otherwise.             14· · · ·A.· ·Yes, it does.
15· ·Uh-huh and uh-uh don't come over well on the          15· · · ·Q.· ·I'll just start with a little bit of
16· ·transcript.· Okay?                                    16· ·background.· Sir, what's your date of birth?
17· · · ·A.· ·Yes, sir.                                    17· · · ·A.· ·July 27, 1992.
18· · · ·Q.· ·Third rule, don't call me, sir.· I'm         18· · · ·Q.· ·What is your current address?
19· ·kidding.· If you need a break at any time,            19· · · ·A.· ·246 Schrum, that would be S-C-H-R-U-M,
20· ·please let me know.· I don't expect this to be        20· ·Drive, in the city of Whitmore Lake, Michigan.
21· ·awfully long.· Hopefully, we'll have you out of       21· · · ·Q.· ·Who do you live at this address with?
22· ·here in a couple hours.· Nonetheless, this is         22· · · ·A.· ·My spouse.
23· ·not an endurance test.· If you need a break,          23· · · ·Q.· ·How long have you lived at this
24· ·just let myself or Mr. Sullivan know, whoever's       24· ·address?
                                                       6                                                          8

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·1· · · ·A.· ·Since 2016.                                  ·1· · · ·A.· ·Or by project base, which can be either
·2· · · ·Q.· ·Do you have any plans to move in the         ·2· ·less or more frequent, depending.
·3· ·next year or so?                                      ·3· · · ·Q.· ·Can you walk me through what some of
·4· · · ·A.· ·No, I don't.                                 ·4· ·these entail?· Are they like kind of
·5· · · ·Q.· ·Who is your current employer?                ·5· ·overarching, like OSHA-like classes, or are they
·6· · · ·A.· ·Mortenson Construction.                      ·6· ·more project specific?· How do they work?
·7· · · ·Q.· ·I just want to make sure in case,            ·7· · · ·A.· ·Project specific.· And I -- I guess the
·8· ·again, this matter goes to trial, we need to          ·8· ·content would revolve around the task at hand,
·9· ·know where to issue subpoenas and stuff like          ·9· ·or the scope of work to be performed, along the
10· ·that.· And we'll get into all that in a second.       10· ·lines of safety.
11· · · · · · Sir, what's your highest level of            11· · · ·Q.· ·Okay, got it.· Just a little bit more
12· ·education?                                            12· ·about your background, and we'll get into your
13· · · ·A.· ·I have a bachelor's degree.                  13· ·work with Mortenson.
14· · · ·Q.· ·Where is that from and when?                 14· · · · · · Have you ever served in the military,
15· · · ·A.· ·Northern Michigan University, and I          15· ·sir?
16· ·graduated in 2014.                                    16· · · ·A.· ·No, I have not.
17· · · ·Q.· ·What is that degree in?                      17· · · ·Q.· ·And don't take offense to this
18· · · ·A.· ·Construction management.                     18· ·question, we truly ask it of everybody.
19· · · ·Q.· ·Do you have any other certifications,        19· · · · · · Have you ever been convicted of a
20· ·degrees, trade school degrees, things like that?      20· ·felony or a crime involving fraud or dishonesty?
21· · · ·A.· ·No.                                          21· · · ·A.· ·No, I have not.
22· · · ·Q.· ·Have you ever been a member of a union?      22· · · ·Q.· ·And the same thing for the next
23· · · ·A.· ·No, I have not.                              23· ·question, have you ever been -- have you ever
24· · · ·Q.· ·Have you ever taken any, like, OSHA          24· ·declared bankruptcy?
                                                       9                                                         11

·1· ·classes?· Are you OSHA certified, things like         ·1· · · ·A.· ·No.
·2· ·that?                                                 ·2· · · ·Q.· ·Where did you work after graduating
·3· · · ·A.· ·I don't.                                     ·3· ·from NMU?
·4· · · ·Q.· ·I'm sorry?                                   ·4· · · ·A.· ·Mortenson Construction.
·5· · · ·A.· ·I don't have a formal OSHA                   ·5· · · ·Q.· ·Have you worked with them continually
·6· ·certification.                                        ·6· ·since 2014?
·7· · · ·Q.· ·Okay.· You said you do not have any          ·7· · · ·A.· ·Yes.· In 2014, I was a part-time
·8· ·formal OSHA certifications?                           ·8· ·employee, with my job title as an intern.· And
·9· · · ·A.· ·Correct.                                     ·9· ·then in January of 2015, I joined full time, and
10· · · ·Q.· ·Do you have any informal, like               10· ·I have been employed to current date.
11· ·on-the-job training, things like that, that           11· · · ·Q.· ·When you started in January of 2015,
12· ·would kind of be like Mortenson's equivalent?         12· ·what was your title?
13· · · · · · You kind of had like a guarded answer,       13· · · ·A.· ·Field engineer.
14· ·that's why I want to see what you have.               14· · · ·Q.· ·Can you just walk me through the
15· · · ·A.· ·That's exactly what I was alluding to.       15· ·different titles you've had between 2015 and
16· ·Yes, exposure to and participated in Mortenson's      16· ·present?
17· ·safety trainings, which closely align with some       17· · · ·A.· ·Sure.· In 2015, field engineer, then
18· ·OSHA training.· No -- no formal records to            18· ·project engineer I.· Somewhere between 2017-ish,
19· ·share, though.                                        19· ·project engineer II to assistant superintendent
20· · · ·Q.· ·How often does Mortenson put on these        20· ·in 2018 time frame.· And then superintendent I
21· ·types of training that you would undergo, on          21· ·until about, oh, sometime in 2020, supt. II to
22· ·average?                                              22· ·the current status of senior supt. I.
23· · · ·A.· ·Yearly.                                      23· · · ·Q.· ·So, then, at the time of the incident
24· · · ·Q.· ·Okay.                                        24· ·we're here to talk about in November of 2018,
                                                      10                                                         12

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·1· ·were you a superintendent I?                          ·1· ·not transition into the erection phase as much.
·2· · · ·A.· ·No, I was an assistant superintendent.       ·2· ·That's kind of why I said that.
·3· · · ·Q.· ·Got it, okay.· So can you kind of walk       ·3· · · ·Q.· ·Got it.· So on the 2018 project -- and
·4· ·me through the difference between what a field        ·4· ·when I say that, you under that as the Mendota
·5· ·engineer and what a project engineer does?            ·5· ·Hills project?
·6· · · ·A.· ·Sure.· A field engineer -- mostly what       ·6· · · ·A.· ·I do, yes.
·7· ·the -- what the title would allude to, quality        ·7· · · ·Q.· ·The Mendota Hills project, is it safe
·8· ·control in the field.· Project engineer, a            ·8· ·to say you would have worked from the, no pun
·9· ·little bit more inclusive of quality control          ·9· ·intended, ground up, like beginning of the
10· ·overall between kind of from a project level,         10· ·project with excavation, clearing, grading,
11· ·and more customer-focused roles, right, more of       11· ·things like that, up until erection?
12· ·a leader in that aspect.                              12· · · ·A.· ·Yes, sir.
13· · · ·Q.· ·And then what about like a project           13· · · ·Q.· ·Then would this have also included --
14· ·engineer II?· What would be the difference with       14· ·well, let me ask you this.
15· ·that?                                                 15· · · · · · How does your interaction work as an
16· · · ·A.· ·It has some variance depending on what       16· ·assistant superintendent between Mortenson and
17· ·team you're applied to.· At least for my              17· ·the various subcontractors?
18· ·position, it was a lead engineer position, so         18· · · ·A.· ·Directing work.
19· ·kind of managing the other field engineers, and       19· · · ·Q.· ·Then in this role as an assistant
20· ·project engineers Is, and then leading that           20· ·superintendent, would you have to be familiar
21· ·quality control as well as taking on some other       21· ·with various subcontractors' contracts, and
22· ·site duties.                                          22· ·scopes of work, and things like that?
23· · · ·Q.· ·And then for these three, you know,          23· · · ·A.· ·Definitely scopes of work.· Contracts,
24· ·positions, the field engineer, project engineer       24· ·a little less fluent.
                                                      13                                                         15

·1· ·I and II, are these all on-site roles?                ·1· · · ·Q.· ·So at least like the attachments to the
·2· · · ·A.· ·Yes, they are.                               ·2· ·contract describes what work the various
·3· · · ·Q.· ·And then in -- because we're here to         ·3· ·subcontractors are going to be doing, things
·4· ·talk about an incident that happened in 2018,         ·4· ·like that?
·5· ·can you walk us through some of your duties and       ·5· · · ·A.· ·Yes.
·6· ·responsibilities as an assistant superintendent?      ·6· · · ·Q.· ·And, then, not only that, but also
·7· · · ·A.· ·Sure.· Depending on the phase of the         ·7· ·being in the field and making sure the
·8· ·project, assistant superintendents plan and           ·8· ·subcontractors are actually doing this work?
·9· ·execute work, notably foundation, scope, all the      ·9· · · ·A.· ·Yeah.· Work -- execution of the work is
10· ·way -- you know, starting with the civil              10· ·the main -- I guess the main role of that
11· ·activities through foundations, not to be             11· ·superintendent.· So, what task is to be
12· ·confused that civil is, you know, dirt work and       12· ·performed, kind of the duration of said task,
13· ·road building, and then foundations is more of        13· ·and then the sequence of the work along the way.
14· ·the concrete rebar scope.· And then up to the         14· · · ·Q.· ·Got it.· And then on these projects,
15· ·erection phase, which has a little bit more           15· ·being the wind farm project, let me ask you, how
16· ·moving parts to it, like cranes, turbine              16· ·many of these have you worked on in your career?
17· ·components, and kind of everything until the          17· · · ·A.· ·About a dozen, until current date.
18· ·close out, so.                                        18· · · ·Q.· ·Got it.· Okay.· Let's say from 2014
19· · · ·Q.· ·Would your role as an assistant              19· ·until 2018 time frame, approximately?
20· ·superintendent -- I know you said up to -- would      20· · · ·A.· ·Six or seven.
21· ·it also include erection phase, or would it only      21· · · ·Q.· ·And in those six or seven, have you
22· ·go up until that?                                     22· ·worked with Don Borneke Construction prior to
23· · · ·A.· ·It would include erection phase at the       23· ·the Mendota Hills project?
24· ·project in question, in 2018.· My experience did      24· · · ·A.· ·I don't believe I had before.
                                                      14                                                         16

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·1· · · ·Q.· ·Prior to this project, is it safe to         ·1· ·where some areas were previously farms, that had
·2· ·assume you worked with other excavation and           ·2· ·been reclaimed, so-to-speak, to farmland, that
·3· ·grounding companies, though?                          ·3· ·had to be reconverted to a workable area, and
·4· · · ·A.· ·Yes.                                         ·4· ·then other areas just had to be created?
·5· · · ·Q.· ·And you worked with other excavation         ·5· · · ·A.· ·Absolutely correct.
·6· ·and companies like that on wind farms, correct?       ·6· · · ·Q.· ·Okay.· And whether it's reclaimed
·7· · · ·A.· ·Yes.                                         ·7· ·farmland -- do you know what I mean when I say
·8· · · ·Q.· ·So is it safe to say that you, as            ·8· ·reclaimed farmland?
·9· ·working for Mortenson in various roles prior to       ·9· · · ·A.· ·Yes.
10· ·and up until this project, had become familiar        10· · · ·Q.· ·So whether it's reclaimed farmland or
11· ·with the various tasks of the various                 11· ·just farmland that's never been touched before,
12· ·subcontractors, including excavating companies?       12· ·Mortenson understands that this land needed to
13· · · ·A.· ·Yes.                                         13· ·be converted into a workable area, and that's
14· · · ·Q.· ·And just from a general standpoint, you      14· ·why an excavator is hired in part, right?
15· ·were comfortable understanding what work the          15· · · ·A.· ·Yes.
16· ·subcontracts these excavating companies had to        16· · · ·Q.· ·And prior to any ironworkers, or
17· ·perform and how they had to perform it?               17· ·electricians, or even delivery trucks coming, on
18· · · ·A.· ·Yeah.· For the most part, I'm familiar       18· ·this project, for example, Don Borneke comes in
19· ·with their work.                                      19· ·and converts these areas into workable land?
20· · · ·Q.· ·Yeah.· And from a general standpoint,        20· · · ·A.· ·Correct, they follow the civil plans.
21· ·you know, things change maybe in the minutia          21· · · ·Q.· ·And some of the tasks include things
22· ·details from project-to-project, and that's why       22· ·like grading, maintaining, providing drainage,
23· ·you have to brush up with the scopes of work and      23· ·compacting the land, all of these things in
24· ·things like that, right?                              24· ·various areas?
                                                      17                                                         19

·1· · · ·A.· ·Yes.                                         ·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·On these projects, including the             ·2· · · ·Q.· ·On these projects, I understand, you
·3· ·Mendota Hills one, is it safe to say that             ·3· ·know, there are huge, vast farmlands, the vast
·4· ·Mortenson hires these excavating companies            ·4· ·majority of which is never touched, but the work
·5· ·because the excavating companies are the experts      ·5· ·on this project is specified to very small
·6· ·in their field?                                       ·6· ·locations, like access roads, and erection areas
·7· · · ·A.· ·Yeah, that's the -- the work they            ·7· ·that are all laid out in the plans prior to work
·8· ·perform.                                              ·8· ·commencing, right?
·9· · · ·Q.· ·Yeah.· And Mortenson relies on these         ·9· · · ·A.· ·Yes.
10· ·excavating companies to do this work properly,        10· · · ·Q.· ·And these areas, whether it be an
11· ·reasonably, so that it can effectuate the             11· ·access rode, a laydown yard, a turbine erection
12· ·completion of the project, right?                     12· ·area, these are all things that the excavating
13· · · ·A.· ·Yes.                                         13· ·company would be directly responsible for
14· · · ·Q.· ·Just from a general standpoint,              14· ·preparing and maintaining for the work that's
15· ·Mortenson understands that prior to these             15· ·coming, right?
16· ·excavating companies coming in, this is usually       16· · · ·MS. VAN HECKE:· Objection to responsible.
17· ·untouched or reclaimed farmland that needs to be      17· · · ·THE WITNESS:· Preparing for, yes.· On the
18· ·converted into workable land, right?                  18· ·maintaining side, there's maybe some more
19· · · ·A.· ·Yes.· Mendota Hills was a bit of a           19· ·influence there on what maintenance requirements
20· ·different job site, though.· There were some          20· ·exist, just because once work starts, say
21· ·existing infrastructure already in place from a       21· ·turbine components delivered or unloaded,
22· ·previous wind farm, and also some new                 22· ·erection begins.· There's certain things that we
23· ·infrastructure being built at that time.              23· ·would direct Borneke to do in forms of
24· · · ·Q.· ·So Mendota Hills was kind of an area         24· ·maintenance, or perform, or self-perform, I
                                                      18                                                         20

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·1· ·guess, in that matter.                                ·1· ·going to be erected, right?
·2· ·BY MR. TERRY:                                         ·2· · · ·A.· ·Correct.
·3· · · ·Q.· ·So it kind of -- are you saying it's         ·3· · · ·Q.· ·In these areas, this land for a radius
·4· ·like a combination of both?· Once works starts,       ·4· ·out of each direction of the turbine needs to be
·5· ·Mortenson may direct Borneke to some areas for        ·5· ·graded, compacted, and proper drainage needs to
·6· ·maintenance, but also if Borneke sees something       ·6· ·be provided, right?
·7· ·that needs to be maintained, they can maintain        ·7· · · ·A.· ·Yeah, depending on the civil site plan.
·8· ·that on their own as well?                            ·8· ·You'll have a specified, you know, radius or
·9· · · ·MR. SULLIVAN:· Objection, that misstates          ·9· ·cleared area, a specified --
10· ·testimony.                                            10· · · ·Q.· ·Yeah.
11· · · · · · Go ahead.                                    11· · · ·A.· ·-- a specified graded area, including a
12· · · ·MR. TERRY:· You can answer.                       12· ·crane pad, that has different requirements, and
13· · · ·MS. VAN HECKE:· Just so you know, Andrew,         13· ·then the road and road shoulders, that kind of
14· ·I'll just take a pause and let him know.              14· ·tie -- tie that from like a county road, or, you
15· · · · · · Andrew, when somebody makes an               15· ·know, a state highway in this case, or whatever
16· ·objection, unless I instruct you not to, you can      16· ·we may be talking about.
17· ·go ahead and answer.                                  17· · · ·Q.· ·Yeah, of course, and we actually took
18· · · ·THE WITNESS:· Okay.· Hey, Charlie, can you        18· ·the deposition of Andy Black yesterday.
19· ·repeat that?                                          19· · · · · · Are you familiar with Andy Black?
20· ·BY MR. TERRY:                                         20· · · ·A.· ·I am, yes.
21· · · ·Q.· ·Sure.· I just want to make sure I            21· · · ·Q.· ·It's safe to say that you understand
22· ·understand what you're saying.                        22· ·he's a project manager for Mortenson who worked
23· · · · · · I understand that once work starts, the      23· ·on this project as well?
24· ·direction may come from Mortenson that certain        24· · · ·A.· ·Yes, we were coworkers at the time.
                                                      21                                                         23

·1· ·things need to be maintained or repaired, but         ·1· · · ·Q.· ·And he testified to this as well, and
·2· ·also there's an ongoing component, if Borneke         ·2· ·he kind of said it as, you know, these erection
·3· ·sees something, they also have to -- that needs       ·3· ·areas on this project had a radius of 175 feet
·4· ·to be remedied, they have to do that as well as       ·4· ·out from turbine.
·5· ·long as it's in their scope of work, right?           ·5· · · · · · Does that sound about accurate?
·6· · · ·A.· ·For the most part, yes.                      ·6· · · ·A.· ·Without knowing the exact distance,
·7· · · ·Q.· ·All right.                                   ·7· ·that sounds right on.
·8· · · ·A.· ·Without being able to talk specifics,        ·8· · · ·Q.· ·Okay.
·9· ·it's a little hard to just generally, you know,       ·9· · · ·A.· ·What it should have been, yeah.
10· ·go through all the differences that could exist.      10· · · ·Q.· ·And then he said maybe at the outer
11· ·But, yes, maintenance as directed, or, you know,      11· ·edges of this 175-foot radius, the
12· ·being brought back into, you know, within the         12· ·specifications aren't as stringent as they are
13· ·plans is Borneke's responsibility.                    13· ·closer to the center where the work is going to
14· · · ·Q.· ·Got it.· Okay.· And then, you know, to       14· ·be performed, where delivery trucks are going to
15· ·your point, let's talk a little more                  15· ·be coming, or equipment is going to be staged.
16· ·specifically.                                         16· · · · · · Does that sound accurate?
17· · · · · · For erection areas, I'll try to direct       17· · · ·A.· ·Yes.
18· ·most of my attention to that and the access           18· · · ·Q.· ·So in this area, let's just say where
19· ·roads, because I know there's some overlap            19· ·the actual work is going to be performed, where
20· ·between access roads and the radii, the erection      20· ·delivery trucks are going to be coming in and
21· ·areas, and that's where this incident occurred.       21· ·out, and where equipment is going to be staged,
22· · · · · · So for the erection area, Borneke is         22· ·this is the area that needs to be properly
23· ·hired to literally create or recreate and             23· ·graded and compacted so that it's prepared for
24· ·reclaim farmland, an area where a turbine is          24· ·the work that's coming, right?
                                                      22                                                         24

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·1· · · ·A.· ·Yes, sir.· And most notable would be         ·1· ·compacting, so that the ground can support the
·2· ·offload activities.· You can think of the             ·2· ·weight of these trucks and the equipment that's
·3· ·grading in terms of what would be suitable for        ·3· ·being staged, right?
·4· ·heavy haul trucks to be able to drive in,             ·4· · · ·A.· ·Yes, sir.
·5· ·unload, and then be able to, you know, drive out      ·5· · · ·Q.· ·And they also have to provide the
·6· ·the other side of the turbine.· So that's mainly      ·6· ·drainage, whether it be front to back,
·7· ·what the preparation is that takes place at           ·7· ·side-to-side, left to right, whatever it may be,
·8· ·these sites.                                          ·8· ·so that way the drainage, the idea is it doesn't
·9· · · ·Q.· ·Exactly.· And that's what most people        ·9· ·pool in the center where the crane is going to
10· ·have testified to in this matter.                     10· ·be and where the turbine is going to be, right?
11· · · · · · Essentially, and correct me if I'm           11· · · ·A.· ·Yes.
12· ·wrong, the areas where the trucks are actually        12· · · ·Q.· ·You agree some of the ideas behind
13· ·coming in, dropping off the equipment, and where      13· ·this, among, I'm sure, a plethora of other
14· ·the equipment is being staged, needs to be            14· ·things, are if the ground is properly prepared
15· ·graded and compacted such that the ground -- and      15· ·and compacted in these areas where deliveries
16· ·the idea is it won't just simply sink in or cave      16· ·are going to be made and equipment is going to
17· ·in underneath the trucks and the equipment,           17· ·be staged, then the ground won't sink in
18· ·right?                                                18· ·underneath these things, such that there's large
19· · · ·A.· ·Yeah.· Yep.                                  19· ·ruts or depressed areas where water can pool and
20· · · ·Q.· ·And, additionally, in these areas, you       20· ·form, or that can simply cause tripping hazards.
21· ·want -- the excavating company is contracted to       21· ·You'd agree with that, right?
22· ·provide drainage at least away from the turbine       22· · · ·A.· ·I guess I have some hesitation to agree
23· ·erection area so that way water doesn't pool in       23· ·with that.· I would just say the site can be
24· ·the erection area, right?                             24· ·properly prepared, and then throughout work,
                                                      25                                                         27

·1· · · ·A.· ·Yes.· Generally, the turbine area is         ·1· ·tripping hazards, kind of to what your statement
·2· ·graded -- grades away from the turbine in the         ·2· ·there was, you know, tripping hazards can
·3· ·center, or the pedestal, and that would provide       ·3· ·present themselves with just any amount of work
·4· ·drainage to the outside.· I would just make one,      ·4· ·that takes place on that site.· So it can be
·5· ·you know, comment.                                    ·5· ·prepared in such a way, yes, but that doesn't
·6· · · ·Q.· ·Okay.                                        ·6· ·mean it would necessarily stay in that state
·7· · · ·A.· ·Not every turbine area is like a flat        ·7· ·while any work is performed.
·8· ·ground site, so you might have terrain that           ·8· · · ·Q.· ·Okay.· But, again, in the area, like
·9· ·flows from one side of the site to the other, or      ·9· ·where the actual work is going to be performed,
10· ·drains front to back.· Very dependent, based on       10· ·the delivery, and the crane pad, things like
11· ·the site.                                             11· ·this, these are all areas with more stringent
12· · · ·Q.· ·Exactly.· So each site is different          12· ·standards that require more prep work, so that
13· ·based on the site, and that's what, you know,         13· ·in a perfect world, they would stay as prepared
14· ·specific specifications are for each site,            14· ·as possible for the work that's coming, right?
15· ·right?                                                15· · · ·A.· ·Yes, as prepared as possible.
16· · · ·A.· ·Correct.                                     16· · · ·Q.· ·And, again, things happen on a
17· · · ·Q.· ·And at each site, depending on what the      17· ·construction site.· You know, it rains, trucks
18· ·certain specifications are, it's up to the            18· ·come in and out.· But the idea is -- the idea
19· ·excavating company to perform their work up to        19· ·behind all of this is, if the excavation company
20· ·these specifications on each individual site,         20· ·is doing their job and preparing the ground
21· ·right?                                                21· ·properly, the ground will be able to support the
22· · · ·A.· ·Yes, to follow the civil plans.              22· ·weight of these trucks, and support the weight
23· · · ·Q.· ·Yeah.· And they have to follow these         23· ·of the equipment being staged, and effectuate
24· ·civil plans with things such as grading and           24· ·the actual delivery and erection, right?
                                                      26                                                         28

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·1· · · ·A.· ·Could you repeat that?                       ·1· ·erection to the best of the possible
·2· · · ·MR. TERRY:· Sure.                                 ·2· ·circumstances, right?
·3· · · · · · Margie, I hate to do it, but do you          ·3· · · ·A.· ·Yes, suitable for work.
·4· ·mind reading it back?· I don't know if I can get      ·4· · · ·Q.· ·One of the things that would make these
·5· ·it back out again.                                    ·5· ·erection areas suitable for work would be so
·6· · · · · · · · · ·(Record read.)                        ·6· ·that, for example, the crane pad doesn't sink
·7· · · ·THE WITNESS:· Thank you very much.                ·7· ·into the ground and the crane tips over.· That
·8· · · · · · Surely, I -- it depends on the soil          ·8· ·would be catastrophic, right?
·9· ·type conditions and the existing conditions that      ·9· · · ·A.· ·That would be a catastrophic example,
10· ·you have on the site.· Not to go too far down         10· ·yes.
11· ·this rabbit hole, but you can do the same prep        11· · · ·Q.· ·And, obviously, you know, the crane pad
12· ·work on two different sites, one with sand or         12· ·we already established a different
13· ·one with clay, but due to a variety of different      13· ·specification, but nonetheless, the crane pads
14· ·factors, you'll have very different results.          14· ·are made such that no matter what the ground
15· · · · · · So the only thing I would say to that        15· ·conditions are at the site, the crane is not
16· ·is, yes, the civil contractor to do -- to work        16· ·going to sink into the ground and tip over,
17· ·in accordance with the civil plans is the             17· ·right?
18· ·expectation.· However, the results of the site        18· · · ·A.· ·Yes, Charlie.· The crane pads are
19· ·may vary drastically, based on outside controls.      19· ·actually a Mortenson specification that we give
20· ·BY MR. TERRY:                                         20· ·to the civil contractor, whereas the civil plans
21· · · ·Q.· ·And these results may vary, but              21· ·are, I believe on this project, was from
22· ·nonetheless there are agreed upon specifications      22· ·Westwood, which is a third-party civil engineer
23· ·for each site, and each site has these varying        23· ·that can design typical sites and typical
24· ·ground conditions, and these conditions are           24· ·layouts.
                                                      29                                                         31

·1· ·known when the specifications are made, and it's      ·1· · · ·Q.· ·But no matter who's giving Borneke the
·2· ·expected that the civil contractor will comply        ·2· ·specifications, whether it be Mortenson for the
·3· ·with these specifications so that the ground is       ·3· ·crane pads or Westwood for the actual ground
·4· ·prepared for each various condition, right?           ·4· ·conditions, it's still up to Borneke to
·5· · · ·A.· ·The ground conditions are estimated,         ·5· ·implement these plans and see to it that they're
·6· ·based on a geotech of a single point, so maybe        ·6· ·complied with in the field, right?
·7· ·not fully known until you open it up.· But I          ·7· · · ·A.· ·It is up -- it is up Borneke to install
·8· ·would say they adjust to some of those site           ·8· ·them in the field.
·9· ·conditions that presents themselves during the        ·9· · · ·Q.· ·Yeah.· Like Mortenson is not out there
10· ·work.                                                 10· ·building crane pads.· That's Borneke's job,
11· · · ·Q.· ·And this adjustment is on the civil          11· ·right?
12· ·contractor, Borneke in this example, to make and      12· · · ·A.· ·Right.
13· ·know what the best tasks and routes to take are       13· · · ·Q.· ·And the same thing for like grading and
14· ·on each site, because they are the experts in         14· ·compacting erection areas.· While it may be
15· ·that field, right?                                    15· ·someone else giving the specs, it's still
16· · · ·A.· ·Correct.· We would rely on Borneke to        16· ·Borneke doing the task at each site, right?
17· ·basically give us the best product that's             17· · · ·A.· ·Yes.
18· ·possible at these locations.                          18· · · ·Q.· ·And part of the idea behind it is, if
19· · · ·Q.· ·And the best product at these                19· ·the ground is compacted and prepared where the
20· ·locations, whether it be mud, whether it be           20· ·equipment is going to be staged, the hope is
21· ·clay, the idea is where the work is being             21· ·that the equipment won't hopefully sink into the
22· ·performed and where it's being erected and            22· ·ground or fall off the cribbing due to ground
23· ·delivered, the ground should be compacted and         23· ·conditions being depressed, right?
24· ·graded so that it can effectuate delivery and         24· · · ·A.· ·Correct.
                                                      30                                                         32

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·1· · · ·Q.· ·So these are very important areas that       ·1· ·175-foot radius in each direction.· And that
·2· ·need to be properly prepared and compacted so         ·2· ·whole area would make up the erection area,
·3· ·things like this don't happen or they're              ·3· ·right?
·4· ·prevented as much as possible, right?                 ·4· · · ·A.· ·Yeah, the erection area or the turbine
·5· · · ·A.· ·Yes, prevented as much as possible.          ·5· ·pad location, turbine pad site.
·6· · · ·Q.· ·Let's talk about the -- you know, we've      ·6· · · ·Q.· ·On this project, there were sites T1,
·7· ·been kind of talking about generalities using         ·7· ·T2, all the way up to T29.· Does that sound
·8· ·Borneke.· Let's talk about this site in               ·8· ·right?
·9· ·particular.                                           ·9· · · ·A.· ·Yeah.
10· · · · · · Would you agree that on this Mendota         10· · · ·Q.· ·And each T site is a different location
11· ·Hills wind farm project Don Borneke was the           11· ·of a turbine, right?
12· ·contracted excavating company?                        12· · · ·A.· ·Yes.
13· · · ·A.· ·Yes.                                         13· · · ·Q.· ·I'm still here.· I'm just looking at
14· · · ·Q.· ·And your role on this project was            14· ·some of the things we've already talked about to
15· ·assistant superintendent, right?                      15· ·see if I need to go over it.
16· · · ·A.· ·That's correct.                              16· · · ·A.· ·No worries.
17· · · ·Q.· ·Would your role have intertwined kind        17· · · ·Q.· ·In these erection areas, and I'm going
18· ·of with the work that Borneke was performing at       18· ·to use that word, because that's what the
19· ·the various sites?                                    19· ·contract refers to it as, is an erection area.
20· · · ·A.· ·Yes.                                         20· · · · · · In these erection areas, at the center
21· · · ·Q.· ·As the assistant super, it's important       21· ·is literally where the foundation of the turbine
22· ·for you to see -- not only see what they're           22· ·is, right?
23· ·doing, but know what they're supposed to be           23· · · ·A.· ·Generally, yes.
24· ·doing, so that way you can make sure it's being       24· · · ·Q.· ·I mean, it might be here or there,
                                                      33                                                         35

·1· ·implemented on this project specifically?             ·1· ·depending on the actual site, but the idea is
·2· · · ·A.· ·Yes.                                         ·2· ·the radius outside of the foundation is what
·3· · · ·Q.· ·On this project, some of these               ·3· ·makes up that erection area, right?
·4· ·responsibilities for, you know, the various           ·4· · · ·A.· ·Yes.
·5· ·erection sites, would be things such as               ·5· · · ·Q.· ·And the foundation is literally what
·6· ·clearing, and grubbing, and grading the land?         ·6· ·the turbine is going to be sitting on?
·7· · · ·A.· ·Yep.                                         ·7· · · ·A.· ·Yes, the concrete.
·8· · · ·Q.· ·And some of the other things would be        ·8· · · ·Q.· ·Then in this erection area on this
·9· ·grading and maintaining the various erection          ·9· ·project, at each T site, 1 through 29, this, you
10· ·areas, maintaining, whether it be based on            10· ·know, the area we talked about kind of closer to
11· ·Mortenson's direction or their own observations?      11· ·the actual turbine, maybe not on the outer edges
12· · · ·A.· ·Yes.                                         12· ·of that 175-foot radius, but these closer
13· · · ·Q.· ·And you, as the super for Mortenson,         13· ·perimeters is what makes up like the working
14· ·you would walk around and make sure these things      14· ·area, and the delivery area, and the staging
15· ·were being done by Borneke, right?                    15· ·area, things like that?
16· · · ·A.· ·Yes.                                         16· · · ·A.· ·Yes, the -- the erection area.
17· · · ·Q.· ·We've already talked about kind of what      17· · · ·Q.· ·In this erection area, this is where
18· ·an erection area is, but in layman's terms, it's      18· ·workers, like ironworkers, are going to be
19· ·literally where the turbine is going to be            19· ·coming later on?
20· ·built, right?                                         20· · · ·A.· ·Yes.
21· · · ·A.· ·Correct.                                     21· · · ·Q.· ·This is where various semis are going
22· · · ·Q.· ·And I can tell you with certainty that,      22· ·to be delivering bases, midsections, hubs,
23· ·you know, the radius around each -- and I'll          23· ·things like that?
24· ·show the contract in a little bit -- was for a        24· · · ·A.· ·Yep.
                                                      34                                                         36

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·1· · · ·Q.· ·This is also where those things are          ·1· ·be performing.
·2· ·going to be staged for a week, maybe two weeks,       ·2· · · ·Q.· ·I appreciate that.
·3· ·until they're actually erected?                       ·3· · · · · · He also testified that in this tighter
·4· · · ·A.· ·Yep.                                         ·4· ·circle, so-to-speak, that this is where the
·5· · · ·Q.· ·And the ground in these areas, as to         ·5· ·equipment would be delivered and staged, so this
·6· ·T-1, T-2, all the way up to T-29, needs to be         ·6· ·is further reason why this ground needs to be
·7· ·prepared to the specifications so that these          ·7· ·compacted and graded, so that way it adequately
·8· ·erection areas can support the weight of these        ·8· ·supports the weight of the trucks and equipment,
·9· ·various pieces of equipment and the trucks while      ·9· ·so that way, like depressed areas just don't
10· ·they're delivering and also staging the               10· ·form underneath it, right?
11· ·equipment?                                            11· · · ·A.· ·Correct.
12· · · ·A.· ·Yes.                                         12· · · ·Q.· ·I'm going to get to the contract in a
13· · · ·Q.· ·I'm going to add at each of these            13· ·second, but I just want to show you a few
14· ·specific sites on this project, again we talked       14· ·documents based on your work with this project.
15· ·about it generally, but specifically, one of the      15· · · · · · This was previously marked as
16· ·tasks was providing adequate grading -- grading       16· ·Brad Bennett's Deposition Exhibit 3.
17· ·and drainage, right?                                  17· · · · · · Can you see my screen, sir?
18· · · ·A.· ·Yes.                                         18· · · ·A.· ·I can.
19· · · ·Q.· ·And you'd agree that one of the              19· · · ·Q.· ·Does this appear -- I zoomed in a
20· ·benefits of providing adequate drainage was that      20· ·little bit.· Does this appear to be an accurate
21· ·water -- or the idea is that hopefully water          21· ·copy of the site map for the Mendota Hills wind
22· ·won't pool in the center where people are going       22· ·farm project?
23· ·to be working, or equipment is going to be            23· · · ·A.· ·Yes, it does.
24· ·staged, because if water pools in the winter,         24· · · ·Q.· ·As we were talking about, it shows the
                                                      37                                                         39

·1· ·for example, it can freeze and cause more             ·1· ·sites T1, T2.· It kind of weaves around a little
·2· ·hazards, right?                                       ·2· ·bit, but all the way down to T29, somewhat at
·3· · · ·A.· ·Yes, that is one of the benefits of          ·3· ·the bottom by the laydown yard?
·4· ·adequate drainage.                                    ·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·And another one is it just simply            ·5· · · ·Q.· ·Then these various T sites are, again,
·6· ·prevents standing water that can cause a whole        ·6· ·like we've established, showing on the map, are
·7· ·plethora of problems on these projects, right?        ·7· ·literally where the turbines are going to
·8· · · ·A.· ·Yes.                                         ·8· ·erected, and the surrounding area would be the
·9· · · ·Q.· ·Andy Black testified yesterday that the      ·9· ·erection area, right?
10· ·175-foot radius around the turbine, and I think       10· · · ·A.· ·Yes.
11· ·we talked about this a little bit, but that           11· · · ·Q.· ·Then I want to show you what was also
12· ·whole area is what makes up the erection area.        12· ·marked as Exhibit 4 during Brad Bennett's
13· ·And then, again, that tighter circle is where         13· ·deposition.
14· ·the compacting, grading, and drainage really          14· · · · · · Can you see my screen?
15· ·matters more, because that's where all the            15· · · ·A.· ·I can.
16· ·important work is going to be performed.              16· · · ·Q.· ·Do you see down at the bottom here, I
17· · · · · · Does that sound right?                       17· ·zoomed out, I'll zoom in.· We have Beemerville
18· · · ·A.· ·Correct.· And it's also part of that --      18· ·Road?
19· ·when we backfill the foundation.· So before           19· · · ·A.· ·Yep.
20· ·erection and after backfill, there's a --             20· · · ·Q.· ·Then we have Bingham, kind of in the
21· ·there's a 2 percent, I believe, you know, taper       21· ·middle, and Fitch over to the left, right?
22· ·to the site, so it kind of helps you setup for        22· · · ·A.· ·Yep.
23· ·drainage, as you -- post erection for                 23· · · ·Q.· ·So just generally, does this appear to
24· ·restoration activities that Borneke would also        24· ·be at least part of the wind farm project that
                                                      38                                                         40

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·1· ·we're here to talk about?                             ·1· · · · · · Have you seen the contract for this
·2· · · ·A.· ·Yes, I believe it is.                        ·2· ·project prior to today, or are you unsure?
·3· · · ·Q.· ·Then we see these main roads, and we         ·3· · · ·A.· ·I am unsure.
·4· ·see like all these little roads that branch off.      ·4· · · ·Q.· ·But you are for sure that you would
·5· ·Would these kind of be a spur and access roads        ·5· ·have seen the scope of work between Borneke and
·6· ·for the various turbines?                             ·6· ·Mortenson at some point?
·7· · · ·A.· ·Yep.                                         ·7· · · ·A.· ·I'm not sure, but I --
·8· · · ·Q.· ·Then if I go on to Page 2 of this            ·8· · · ·Q.· ·Okay.
·9· ·exhibit, this shows, I think it's T-11, or at         ·9· · · ·A.· ·-- I believe it was referenced plenty
10· ·least close to it, but nonetheless, it's just         10· ·of times.· I don't know if I, you know, would
11· ·for illustrative purposes, this shows Bingham         11· ·have read it word-for-word, if that makes sense.
12· ·Road and an access road that curves off it all        12· · · ·Q.· ·Okay.· Got it.· If you didn't read it
13· ·the way up until a turbine, right?                    13· ·word-for-word, who would have relayed to you
14· · · ·A.· ·Yeah.· I think that -- yeah, that's          14· ·what specifically Borneke needs to be doing in
15· ·what it looks like.                                   15· ·the field so that way you can make sure it's
16· · · ·Q.· ·Then you have this dark green area to        16· ·being implemented?· Would that be like a
17· ·the left and to the right, and kind of                17· ·combination of you and Andy Black?
18· ·underneath the turbine.· This would be like           18· · · ·A.· ·Yes, conversations with Andy Black, as
19· ·untouched farmland that never really gets worked      19· ·well as, you know, with reference to the
20· ·on, for the most part, right?                         20· ·contract as well as the civil drawings.
21· · · ·A.· ·Yes.                                         21· · · ·Q.· ·Got it.· As it pertains to like
22· · · ·Q.· ·Then these areas surrounding the             22· ·contract interpretation, or, you know, the scope
23· ·turbine that look a little more clear, this           23· ·of work, from a contract standpoint
24· ·would be like the erection area?                      24· ·specifically, is it safe to say that you would
                                                      41                                                         43

·1· · · ·A.· ·The erection area would probably be a        ·1· ·kind of defer to Andy Black, seeing that he was
·2· ·little bit bigger, about -- yeah.· Tough to say       ·2· ·the project manager on this site?
·3· ·from this aerial, but it looks like some of that      ·3· · · ·A.· ·Typically, yes.
·4· ·has been restored.                                    ·4· · · ·Q.· ·So when you say you've seen the scope
·5· · · ·Q.· ·So this would, at least, show part of        ·5· ·of work, you may not know it as in detail or
·6· ·the erection area.· Whether or not more of it         ·6· ·as -- what's the word I'm looking for --
·7· ·was restored, it's just like the general sense        ·7· ·intimately as Mr. Black did, you would maybe
·8· ·that that area surrounding it would be part of        ·8· ·rely on it more from a general standpoint, and
·9· ·erection area, right?                                 ·9· ·also rely on things such as drawings, and things
10· · · ·A.· ·Yes.                                         10· ·like that?
11· · · ·Q.· ·Then this road leads up and until the        11· · · ·A.· ·Yes, exactly.
12· ·erection area, and there's like a turnaround          12· · · ·Q.· ·All right.· Got it.· I'm just going to
13· ·area, and things like that in there as well?          13· ·scroll to the scope of work section, then, to
14· · · ·A.· ·Yes.                                         14· ·see maybe if it jogs your memory, and if you
15· · · ·Q.· ·And, again, I know it might not be           15· ·kind of looked at it before, and ask you some
16· ·perfect, because some of the ground has been          16· ·questions about it.· Okay?
17· ·reclaimed and restored to its prior condition,        17· · · ·A.· ·Sure.
18· ·but just from a general standpoint, you would         18· · · ·Q.· ·So this is an 11-page exhibit to the
19· ·agree that that's kind of like the makeup of          19· ·contract.· Can you still see my screen?
20· ·these sites, right?                                   20· · · ·A.· ·I can.
21· · · ·A.· ·Yes.                                         21· · · ·Q.· ·And, again, you can see at the top,
22· · · ·Q.· ·Then I want to show you the contract         22· ·this is the Mendota Hills Repowering Project.
23· ·for this project.· Then have you -- well, let me      23· ·It talks about Mortenson's project number, and
24· ·ask you this.                                         24· ·this would be the scope of work for Don Borneke,
                                                      42                                                         44

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·1· ·the excavating company, right?                        ·1· · · ·A.· ·Yes.
·2· · · ·A.· ·Yes.                                         ·2· · · ·Q.· ·And then if we skip ahead a little bit,
·3· · · ·Q.· ·As I'm scrolling through it, it shows        ·3· ·and if we go into turbine erection areas on
·4· ·things like the general requirements on Page 2,       ·4· ·Page 9, these -- this would be -- and, again, we
·5· ·clearing and grubbing, the trailer and laydown        ·5· ·talked about this with multiple people,
·6· ·yard.· If we keep going, things like access           ·6· ·including Mr. Black, but this would be, like,
·7· ·roads, and if we keep going further, you know,        ·7· ·part of the contract that would actually discuss
·8· ·project maintenance, and foundation, and turbine      ·8· ·the responsibility of Don Borneke at these
·9· ·erection areas.                                       ·9· ·erection areas, right?
10· · · · · · Does this appear to be something that        10· · · ·A.· ·Yes.
11· ·you would have looked at in the past to               11· · · ·Q.· ·Then, as we talked about earlier, the
12· ·understand the various scopes of work of Don          12· ·radius for the erection area on this project
13· ·Borneke on this project?                              13· ·would be 175 feet?
14· · · ·A.· ·Yes.                                         14· · · ·A.· ·Yep.
15· · · ·Q.· ·Then we can kind of skip some of the         15· · · ·Q.· ·Then there are certain things that need
16· ·minutia of this.· But under turbine access            16· ·to be done on these various sites.· And I think
17· ·roads, do you see 2.6 right here?· I'll zoom in       17· ·this is what you were talking about for each
18· ·to the specific section, but do you see that?         18· ·site, actual limits of clearing, and required
19· · · ·A.· ·Yes, I do.                                   19· ·slope will be as per the contract documents, and
20· · · ·Q.· ·If we go on to the next page,                20· ·coordination with Mortenson's superintendents
21· ·Subsection N at the top, do you see that?             21· ·for component location.
22· · · ·A.· ·Yes, I do.                                   22· · · · · · So, it kind of varies from
23· · · ·Q.· ·And it says:· Subcontractor shall            23· ·site-to-site.· Is this what you were talking
24· ·construct temporary access roads/radii required       24· ·about?
                                                      45                                                         47

·1· ·to facilitate delivery of turbines to each wind       ·1· · · ·A.· ·That's exactly it.· Yeah, different
·2· ·turbine foundation location on site.· And then        ·2· ·sites deal with different work around, you know.
·3· ·temporary access roads/radii shall be aggregate       ·3· · · ·Q.· ·And during the deposition of
·4· ·based.                                                ·4· ·Mr. Black yesterday, he said, like, for example,
·5· · · · · · Did I read that first -- about half of       ·5· ·the last part, for component locations.· You
·6· ·that, correctly?                                      ·6· ·know, Mortenson and Borneke were kind of working
·7· · · ·A.· ·Yes.                                         ·7· ·hand-in-hand, so-to-speak.· Like, Borneke would
·8· · · ·Q.· ·And when talking with Andy Black             ·8· ·know exactly where the crane pad was going to
·9· ·yesterday, he said, you know, part of the             ·9· ·be, exactly where the trucks would be driving,
10· ·requirement was to, as it says here, create           10· ·exactly where the equipment would be staged.
11· ·these access roads and this radius that kind of       11· ·And these are the areas that really need to be
12· ·goes in through the erection areas that help          12· ·focused on, because they're hyper-specific and
13· ·facilitate deliveries, staging, and turnaround        13· ·hyper-defined per each various erection site.
14· ·of the trucks, and that was to be performed by        14· · · · · · Does that make sense?
15· ·Don Borneke.                                          15· · · ·A.· ·Yes, probably.· Maybe not exact.· When
16· · · · · · Does that sound accurate to you?             16· ·it comes to like a road, the 16-foot wide
17· · · ·A.· ·Yes, it does.                                17· ·roadway, or the radii, and the erection areas,
18· · · ·Q.· ·So this kind of -- this area, at least       18· ·and the crane pads, you know, we would stake
19· ·of the erection -- this area, at least of the,        19· ·those out for them, so there's definitely no
20· ·you know, access roads part of the scope of           20· ·disparity there.· Would I say within a couple of
21· ·work, would kind of also feed into the erection       21· ·feet up to, you know -- some leeway each way of
22· ·area because there needs to be this radii or --       22· ·where these components may have ended up, or
23· ·these radii that helps turn around the trucks,        23· ·where equipment may have been driving, or being
24· ·and also help stage and deliver the equipment?        24· ·transported.· Some of that is steel fitted.
                                                      46                                                         48

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·1· · · ·Q.· ·Got it.· So when I said exact, I might       ·1· ·no more than a 5 percent grade across the
·2· ·have been too much of a lawyer there, I should        ·2· ·area?
·3· ·say.· It's more like you, as Mortenson, would         ·3· · · ·A.· ·Right.
·4· ·stake out where the various things were going,        ·4· · · ·Q.· ·And, then, additionally, things such as
·5· ·and then Borneke would come in, and at least          ·5· ·in subsections, bumps shall be leveled and holes
·6· ·within a reasonable variation of that, prepare        ·6· ·filled to accommodate equipment travel, right?
·7· ·the land for what's coming next?                      ·7· · · ·A.· ·Yes.
·8· · · ·A.· ·Very accurate, yes.                          ·8· · · ·Q.· ·Then the same thing, the cleared areas
·9· · · ·Q.· ·And in this area, things such as the         ·9· ·shall be maintained, compacted, and provide
10· ·crane pad are going to be staked out, things          10· ·positive drainage at all times to facilitate
11· ·like the access road, as well as where various        11· ·turnaround area for turbine delivery and
12· ·pieces of equipment are going to be delivered         12· ·components through the duration of the project,
13· ·and staged, right?                                    13· ·right?
14· · · ·A.· ·Yes.                                         14· · · ·A.· ·Yes.
15· · · ·Q.· ·In all of these staked out areas, and        15· · · ·Q.· ·So, again, this is kind of what we were
16· ·we'll skip the crane pad because I know that's a      16· ·talking about before, the bumps and the holes
17· ·different specification, but like for the access      17· ·shall be filled and leveled, and the compaction
18· ·road that's staked out and in the erection areas      18· ·and drainage need to be maintained, at least in
19· ·that are staked out, these are all things that        19· ·these areas where equipment is going to be
20· ·need to be properly prepared and compacted, so        20· ·delivered or trucks are going to be turning
21· ·that it can support the weight of the delivery        21· ·around and staging equipment.
22· ·trucks as well as the staging of equipment,           22· · · · · · Does that sound right?
23· ·right?                                                23· · · ·A.· ·Yes, it does.
24· · · ·A.· ·Yes.                                         24· · · ·Q.· ·And in these areas you would expect --
                                                      49                                                         51

·1· · · ·MR. TERRY:· Then, guys, I'm sorry.· Do you        ·1· ·again, this is in that tighter area where
·2· ·guys mind if we just take a quick, like               ·2· ·actually work is being performed and deliveries
·3· ·five-minute break?· Can we go off the record for      ·3· ·are being made, that's what I'm talking about
·4· ·a second?                                             ·4· ·for the next question.
·5· · · · · · · · · ·(Recess was taken.)                   ·5· · · · · · In these areas, this is where you would
·6· · · ·MR. TERRY:· Back on the record.                   ·6· ·expect the ground to be compacted on this
·7· ·BY MR. TERRY:                                         ·7· ·project such that it does not simply sink in
·8· · · ·Q.· ·So, sir, I know you said that from           ·8· ·underneath a staged piece of equipment, like a
·9· ·specific contractual interpretations you would        ·9· ·base or a midsection, right?
10· ·defer to Mr. Black, but nonetheless, as it            10· · · ·A.· ·Yes.
11· ·pertains to like actual work being performed on       11· · · ·Q.· ·And the same thing, you would expect
12· ·these sites and in the field, you were one of         12· ·the ground to be prepared in these areas to be
13· ·the Mortenson individuals who were overseeing         13· ·able to support the weights of the various semi
14· ·Borneke's work, and had to know what they were        14· ·trucks delivering these pieces of equipment, so
15· ·contracted to perform, and help implement that        15· ·that there's not these large depressed areas, or
16· ·in the field, right?                                  16· ·trucks getting stuck, or things like that,
17· · · ·A.· ·Yes.                                         17· ·right?
18· · · ·Q.· ·And, again, I'll show you the scope of       18· · · ·A.· ·Yes.
19· ·work, because it's talking about the erection         19· · · ·Q.· ·Now, I just want to talk generally,
20· ·areas.                                                20· ·sir.· On this project, you would agree that you
21· · · · · · In these erection areas, you would           21· ·were able to observe Borneke's work and the
22· ·agree -- you've already talked about the              22· ·types of equipment they had, the people they
23· ·175-foot radius, and in this area, if possible,       23· ·had, things like this for the most part?
24· ·for each site, there needs to be, for example,        24· · · ·A.· ·Yes.
                                                      50                                                         52

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·1· · · ·Q.· ·And you understand on this project,          ·1· ·thought needed to be done, right?
·2· ·they had pieces of equipment that were large,         ·2· · · ·A.· ·Yes.
·3· ·and pieces of equipment that were small, right?       ·3· · · ·Q.· ·But the point of it is, just from a
·4· · · ·A.· ·Yes.                                         ·4· ·general standpoint, if it was something
·5· · · ·Q.· ·They had things like bulldozing on the       ·5· ·excavation, whether it be prep work, or whether
·6· ·large end, and skid steers or Bobcat, I think         ·6· ·it be remedying work, it was Borneke that was
·7· ·they're the same thing, but on the small end?         ·7· ·doing this type of excavation work, not
·8· · · ·A.· ·Yes.                                         ·8· ·Mortenson?
·9· · · ·Q.· ·And, hypothetically, if an area was too      ·9· · · ·A.· ·That's correct.
10· ·tight for a bulldozer to get into, something          10· · · ·Q.· ·And just more so from a general
11· ·smaller like a Bobcat or a skid steer, in             11· ·standpoint, we've already, I think, established
12· ·practice, could potentially be used, right?           12· ·that if an area is properly graded with proper
13· · · ·MR. SULLIVAN:· Objection, foundation.             13· ·drainage, one of the benefits on this project
14· · · · · · Go ahead.                                    14· ·and the hopes is that water will not pool in
15· · · ·MR. TERRY:· You can answer, sir.                  15· ·these areas, right?
16· · · ·THE WITNESS:· It could be, yes.                   16· · · ·A.· ·Yes.
17· ·BY MR. TERRY:                                         17· · · ·Q.· ·All right.· And if water does not pool,
18· · · ·Q.· ·And, again, you know, at the beginning       18· ·there's hopefully not large lakes of water or
19· ·we talked about the various trades knowing what       19· ·large areas of water that pool and freeze,
20· ·each company is going to be doing.· You would         20· ·right?
21· ·agree that on this project, ironworkers did the       21· · · ·A.· ·Yes.
22· ·ironwork, and the excavating company did the          22· · · ·Q.· ·And these are all tasks that Borneke
23· ·excavating work, right?                               23· ·was contracted to prepare and try to prevent if
24· · · ·A.· ·Yes.                                         24· ·possible on this project, right?
                                                      53                                                         55

·1· · · ·Q.· ·Like Mortenson wasn't going around and       ·1· · · ·A.· ·Yes.
·2· ·grading and compacting erection areas, right?         ·2· · · ·Q.· ·I want to -- I thought I was still
·3· · · ·A.· ·That's correct.                              ·3· ·sharing my screen, okay.
·4· · · ·Q.· ·If there was something that needed to        ·4· · · · · · I want to move on to an exhibit that's
·5· ·be performed, such as a reassessment, or a            ·5· ·been used in various depositions.· I'll just
·6· ·re-compaction, or a regrading, or anything like       ·6· ·refer to it as Exhibit 8 for Mr. Bennett's
·7· ·that, that's something that Borneke would bring       ·7· ·deposition.
·8· ·their equipment over to do, right?                    ·8· · · · · · Sir, are you familiar with what this
·9· · · ·A.· ·Yes, depending on -- depending on the        ·9· ·document on the screen is showing, the
10· ·scope, you know, what the issue was or what they      10· ·Construction Incident Analysis?
11· ·were coming back for.· Yeah, any of like a            11· · · ·A.· ·I'm not -- I'm familiar with the CIA.
12· ·civil -- what I could loosely call a tune-up,         12· ·Not this one specifically.
13· ·would be coming from Borneke.                         13· · · ·Q.· ·Have you seen this one before?
14· · · ·Q.· ·Okay.· Got it.· So from a tune up            14· · · ·A.· ·Maybe a long -- you know, years ago.
15· ·perspective, so-to-speak, like when it come to        15· ·Not -- not recently.
16· ·actual civil work, like the ground -- let's just      16· · · ·Q.· ·Got it.· As Mortenson's -- one of their
17· ·use the excavating work, because that's the word      17· ·assistant superintendents on this project, you
18· ·that's stuck in my head.· Is that okay by you?        18· ·would have been one of the individuals helping
19· · · ·A.· ·Sure.                                        19· ·oversee Mortenson's work -- I mean Borneke's
20· · · ·Q.· ·For the excavating work, this is             20· ·work on this project and knowing what they were
21· ·something that, if there was excavation work,         21· ·doing at various sites, right?
22· ·this is something that Borneke would have to          22· · · ·A.· ·Yes.
23· ·come in and do, whether it was based on               23· · · ·Q.· ·When I talk about the subject incident,
24· ·Mortenson's request, or something that they just      24· ·you know, are you familiar with the incident
                                                      54                                                         56

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·1· ·we're here to talk about involving my client,         ·1· ·kind of resulting in a broken leg, I couldn't
·2· ·Nick Georgeff?                                        ·2· ·tell you much more.· But that's how I would have
·3· · · ·A.· ·Loosely.· I was -- you know, I only          ·3· ·found out and known about this.
·4· ·heard from other individuals.                         ·4· · · ·Q.· ·But as it pertains to specifics, like
·5· · · ·Q.· ·Would you have been involved in at           ·5· ·if this sheet of ice looked like this on the day
·6· ·least the prep work with Borneke on these             ·6· ·of the occurrence, or any of the facts in the
·7· ·various sites, like T-1 through T-29?                 ·7· ·incident report, you don't really know one way
·8· · · ·A.· ·Yes, on the foundation scope, as well        ·8· ·or another because you weren't there; is that
·9· ·as, like, ahead of offload.                           ·9· ·fair to say?
10· · · ·Q.· ·Okay.                                        10· · · ·A.· ·Yes, that's fair to say.
11· · · ·A.· ·So road construction, radii                  11· · · ·Q.· ·I do want to ask you one question about
12· ·construction, and basically making sure, you          12· ·it, nonetheless.
13· ·know, that the sites are built ready to take          13· · · ·A.· ·Sure.
14· ·parts.· To that point, I was involved.                14· · · ·Q.· ·We've already established that -- well,
15· · · ·Q.· ·Okay.· Got it.· So once they were            15· ·two questions.· One, on this site, and it says
16· ·actually erected, you were not involved.· But up      16· ·right here, proper PPE.· Would you agree that
17· ·until delivery and things like that, it was kind      17· ·while ice cleats were available, they were not
18· ·of like the scope we were talking about earlier?      18· ·required prior to this incident?
19· · · ·A.· ·Yeah, and, Charlie, I don't know if          19· · · ·A.· ·That's correct.
20· ·you're aware of it, but I wasn't on the project       20· · · ·Q.· ·And based on this document, and, again,
21· ·in November.                                          21· ·you've seen these before, you know how to
22· · · ·Q.· ·Okay.                                        22· ·interpret them, right?
23· · · ·A.· ·I was basically sent to another              23· · · ·A.· ·Yes.
24· ·project.· I took some personal time at the end        24· · · ·Q.· ·Okay.· It says that the team member,
                                                      57                                                         59

·1· ·of October, and then for the month of November,       ·1· ·meaning my client, Nick Georgeff, had all the
·2· ·actually right around that like November 15th         ·2· ·required PPE per site policies, right?
·3· ·date, I was on another project in Oregon.             ·3· · · ·A.· ·Yes.
·4· · · ·Q.· ·Okay.                                        ·4· · · ·Q.· ·And, then, as we've already
·5· · · ·A.· ·So, when it comes to the specifics           ·5· ·established, on this project, any excavation
·6· ·about like this incident, or that site, I don't       ·6· ·work that needed to be performed would have been
·7· ·have some of those clarifications.                    ·7· ·performed by Don Borneke, right?
·8· · · ·Q.· ·So it's safe to say, then, that you did      ·8· · · ·A.· ·Yes.
·9· ·not observe my client falling or anything like        ·9· · · ·Q.· ·So at the top of Page 2, where it says:
10· ·that?                                                 10· ·The site had previously been addressed with a
11· · · ·A.· ·No, I did not.                               11· ·bulldozer to mitigate walking/working hazards;
12· · · ·Q.· ·Did you ever talk with him after this        12· ·however, the ice accumulation had occurred too
13· ·accident?                                             13· ·close to the WTG section for the dozer to
14· · · ·A.· ·No.                                          14· ·operate safely, leaving the ice unaddressed.
15· · · ·Q.· ·Did you ever talk with anyone about the      15· ·One, did I read that correctly?
16· ·specifics about this accident that you remember,      16· · · ·A.· ·Yes.
17· ·that you can recall specific conversations            17· · · ·Q.· ·Two, on this site, you know, the
18· ·about?                                                18· ·pre-existing being addressed with a bulldozer,
19· · · ·A.· ·I do believe I checked in with the           19· ·this is one of the tasks that you would have
20· ·team, and that individual would have been one of      20· ·overseen Don Borneke performing on the various
21· ·the engineers at the time.· And I just said,          21· ·sites, right?
22· ·hey, how have things been going?· To which he         22· · · ·A.· ·Correct.
23· ·briefly described that we had an injury, and to       23· · · ·Q.· ·And this work of the bulldozer was
24· ·the specifics of what he told me was, other than      24· ·something that would have been a task that only
                                                      58                                                         60

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·1· ·Don Borneke was performing on these sites, to         ·1· ·the dozer could not safely operate because it
·2· ·prepare these sites, right?                           ·2· ·was too close to the WTG section, right?
·3· · · ·A.· ·Wait.· Are you talking about in this         ·3· · · ·A.· ·Yep.
·4· ·instance --                                           ·4· · · ·Q.· ·And when we look at this first page,
·5· · · ·Q.· ·Yes.                                         ·5· ·this thing in the front, would this be the WGT?
·6· · · ·A.· ·-- like when you say previously              ·6· · · ·A.· ·More specifically, that is the hub.
·7· ·addressed with a bulldozer?                           ·7· · · ·Q.· ·Okay.
·8· · · ·Q.· ·Yeah, exactly.· So when it says              ·8· · · ·A.· ·But it is a turbine component part of
·9· ·previously addressed, this is something that          ·9· ·the tower, called the hub.
10· ·would have been -- this site would have been          10· · · ·Q.· ·Got it.· So the WTG, that stands for
11· ·addressed and prepared with Don Borneke's             11· ·wind turbine generator, right?
12· ·equipment prior to the delivery even, right?          12· · · ·A.· ·Correct.
13· · · ·A.· ·Correct.· And then, I guess, Charlie,        13· · · ·Q.· ·So that's essentially the whole
14· ·just for maybe some clarity, that's -- you know,      14· ·turbine, where it's going to be erected and
15· ·the sites were built --                               15· ·things like that, right?
16· · · ·Q.· ·Yes.                                         16· · · ·A.· ·Yep.
17· · · ·A.· ·-- the components were unloaded.             17· · · ·Q.· ·And then this, to the right, is -- I
18· ·Pertaining specifically to the CIA, when I read       18· ·think this is a mid -- this hub in front, these
19· ·the site has been previously addressed with a         19· ·are all components of the WTG?
20· ·bulldozer to mitigate walking/working hazards,        20· · · ·A.· ·Yes.
21· ·that, to me, tells me that the bulldozer had          21· · · ·Q.· ·So, again, when it says -- and in this
22· ·been since returned, knocked down any ruts, or,       22· ·picture, because you were one of the assistant
23· ·you know, basically hazards that existed, that        23· ·superintendents, I'm going to zoom in for a
24· ·were identified, and gave that site a tune-up,        24· ·second, do you see this, what looks like a pad
                                                      61                                                         63

·1· ·as I would say.· Knock it down.                       ·1· ·of lumber on the left side of this photograph?
·2· · · ·Q.· ·Exactly.                                     ·2· · · ·A.· ·Crane mats, yes.
·3· · · ·A.· ·And then, yes.                               ·3· · · ·Q.· ·There's been testimony in this case
·4· · · ·Q.· ·In this tune-up -- and Andy Black            ·4· ·that this was the crane pad on this site.· Does
·5· ·testified to this yesterday as well -- based on       ·5· ·that appear accurate to you, or at least
·6· ·your reading of this document, this tune-up,          ·6· ·possible, based on what it looks like in the
·7· ·so-to-speak, is something that would have been        ·7· ·corner?
·8· ·done -- Mortenson would have called Borneke out       ·8· · · ·A.· ·Yes, it appears possible.
·9· ·to the site and said, hey, this site needs a,         ·9· · · ·Q.· ·And based on your work on the other
10· ·quote, unquote, tune-up, right?                       10· ·sites on this project, you know, the crane would
11· · · ·A.· ·Yep.                                         11· ·have to be somewhat close to these various
12· · · ·Q.· ·And this tune-up, again, is excavating       12· ·pieces, so that it can actually pick it up and
13· ·work, so it would have been performed by              13· ·swing it to where it needs to go, right?
14· ·Borneke, right?                                       14· · · ·A.· ·Yes.
15· · · ·A.· ·Yes.                                         15· · · ·Q.· ·These cranes have a limited radius,
16· · · ·Q.· ·So like Andy Black testified to              16· ·meaning they can't just swing out, you know,
17· ·yesterday, I want to make sure you're on the          17· ·200 feet, it will tip over, right?
18· ·same page, you read this to say this site was         18· · · ·A.· ·Depending on the type of crane, yes.
19· ·originally addressed, and then it was                 19· · · ·Q.· ·What about the cranes used on this
20· ·readdressed by Don Borneke at some point later        20· ·project?
21· ·on, right?                                            21· · · ·A.· ·For the base mid-operation, as
22· · · ·A.· ·Correct.                                     22· ·specified here, yeah, limited radius when
23· · · ·Q.· ·And when Don Borneke readdressed this,       23· ·handling these components.
24· ·there was a realization that there's ice, but         24· · · ·Q.· ·So let me ask you one other question.
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·1· ·During the deposition of -- or two other ones on      ·1· ·screen, Tuesday, October 23rd, 2018?
·2· ·this.                                                 ·2· · · ·A.· ·Yes.
·3· · · · · · During the deposition of my client, as       ·3· · · ·Q.· ·And this is the type of document, while
·4· ·well as one of his coworkers, they testified          ·4· ·maybe you might not have been on this project
·5· ·that based on their understanding of the site         ·5· ·anymore, you're comfortable reading, from a
·6· ·map, you know, and when various work was being        ·6· ·general standpoint, based on your time with
·7· ·performed, they believed that site T1 here --         ·7· ·Mortenson and your continued employment with
·8· ·there's a typo, it should be T11 -- if they were      ·8· ·them?
·9· ·in the middle of November, would it be more           ·9· · · ·A.· ·Yes.
10· ·likely true than not that they were already           10· · · ·Q.· ·So if we go down to offload, and we see
11· ·starting to erect site T11 as opposed to T1?          11· ·the various, you know, base, mid, is it safe to
12· · · ·A.· ·I do not know.                               12· ·say that this is when -- if you look at the
13· · · ·Q.· ·You have no reason to disagree with          13· ·first column, Monday, October 29th, the base
14· ·that, you just don't know because you were            14· ·would have been offloaded at site T11 on
15· ·already off the project?                              15· ·October 29th?
16· · · ·A.· ·Correct.                                     16· · · ·A.· ·Yes.
17· · · ·Q.· ·Got it.· But nonetheless, again, on the      17· · · ·Q.· ·Okay.· And then if we go on to Page 2,
18· ·back page where it says the part about unable to      18· ·which is a pod from November 1st, 2018, right?
19· ·readdress the ice, you also read this as ice          19· · · ·A.· ·Okay.
20· ·occurred too close to the WGT section and all         20· · · ·Q.· ·Does that appear accurate to you?
21· ·the components here.· Borneke was called back         21· · · ·A.· ·Yes, it is.
22· ·out to give the site a tune-up, but they were         22· · · ·Q.· ·Then if we go down to the third row,
23· ·unable to specifically tune-up this sheet of ice      23· ·Friday, November 18th, or the third column, can
24· ·due to its location, right?                           24· ·you see that?
                                                      65                                                         67

·1· · · ·A.· ·Yes.                                         ·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·So it was kind of one of those things,       ·2· · · ·Q.· ·If we scroll down to offload, and we
·3· ·they were called out to the site as a whole, but      ·3· ·see mid right here, it says that the mid was
·4· ·they left this specific area unaddressed due to       ·4· ·offloaded at site T11 on November 2nd, 2018,
·5· ·its location?                                         ·5· ·right?
·6· · · ·A.· ·Yes.                                         ·6· · · ·A.· ·No, that would show that the mid is
·7· · · ·Q.· ·Okay.· Got it.· I want to ask you a          ·7· ·planning to be offloaded on the next day.
·8· ·question about -- before I forget, have you seen      ·8· · · ·Q.· ·Okay.· So this would show --
·9· ·plans of the day before on these projects?            ·9· · · ·A.· ·So --
10· · · ·A.· ·Like a pod?                                  10· · · ·Q.· ·Go ahead.
11· · · ·Q.· ·Yeah.                                        11· · · ·A.· ·What you're showing is Thursday here,
12· · · ·A.· ·Yes.                                         12· ·and that would show as Friday, so the next day.
13· · · ·Q.· ·And you know how to read them; is that       13· · · ·Q.· ·Okay.· So when this shows T11 mid
14· ·fair to say?                                          14· ·offload Friday, November 2nd, what are you
15· · · ·A.· ·Yes.                                         15· ·interpreting that to mean?
16· · · ·Q.· ·If we look at this pod, P-O-D, it says       16· · · ·A.· ·Charlie, if you would, just scroll back
17· ·Tuesday, October 30, 2018, right?                     17· ·up to the headers.· I just want to make sure the
18· · · ·A.· ·Okay.                                        18· ·dates are lining up.
19· · · ·MS. VAN HECKE:· You're not sharing your           19· · · ·Q.· ·Yeah.· So the last column right here is
20· ·screen.                                               20· ·November 2nd.
21· · · ·MR. TERRY:· Oh.· Unfortunately you have to        21· · · ·A.· ·And what's the current date of this?
22· ·look at me another second.· Thank you, Cyri.          22· ·November 1st?
23· ·BY MR. TERRY:                                         23· · · ·Q.· ·Yeah.
24· · · ·Q.· ·If we go to the pod, do you see my           24· · · ·A.· ·Okay.· So this is distributing on the
                                                      66                                                         68

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·1· ·1st.· The center column would be the plan of          ·1· ·document he's probably seen a hundred times in
·2· ·that date, and then Friday, November 2nd, would       ·2· ·his career.· The objection is noted, though,
·3· ·be the plan of the next day.                          ·3· ·Chris.· Thank you.
·4· · · ·Q.· ·Got it.· Okay.                               ·4· · · ·THE WITNESS:· Charlie, yeah, I would
·5· · · ·A.· ·Looking at the offload column that you       ·5· ·expect that -- yeah, based on that offload time
·6· ·referenced, specifically T11 as called out,           ·6· ·frame, that post offload, whatever, you know,
·7· ·would be the plan for tomorrow, saying it was         ·7· ·site needed to be addressed, that's why the
·8· ·November 1st after T15 and T16 were unloaded.         ·8· ·bulldozer came back and would have done a
·9· · · ·Q.· ·Got it.· So at least based on these          ·9· ·tune-up at the site before, you know, the next
10· ·documents, the plan was -- or these two pages --      10· ·scope of work.
11· ·to offload the mid at site T11 on November 2nd,       11· · · ·MR. TERRY:· Okay.
12· ·right?                                                12· ·BY MR. TERRY:
13· · · ·A.· ·Yep.                                         13· · · ·Q.· ·And while you might not have been here
14· · · ·Q.· ·And then if we go back to the first          14· ·on this project, you've seen these types of
15· ·page, the plan was to offload the base at site        15· ·tune-ups being requested and also performed on
16· ·T15 and T11 on Monday, October 29th?                  16· ·these projects from time to time?
17· · · ·A.· ·Yes.                                         17· · · ·A.· ·Yes.
18· · · ·Q.· ·Okay.· And, again, this is just for          18· · · ·Q.· ·And this is commonplace.· You know that
19· ·general -- I don't think we've established this       19· ·as the Mortenson's assistant superintendent on
20· ·yet, but these plans of the day show the plans        20· ·this project, that if a tune-up to a site needs
21· ·literally of what work is going to be performed       21· ·to be performed, it's going to be the excavating
22· ·on a day, as well as the plans for the next day       22· ·company that performs it, right?
23· ·or two, right?                                        23· · · ·A.· ·Yes.
24· · · ·A.· ·Yes.· The scheduled work.· Yes.              24· · · ·Q.· ·And based on your reading of the CIA
                                                      69                                                         71

·1· · · ·Q.· ·So based on these documents, at least,       ·1· ·that I showed you, it shows that a tune-up was
·2· ·it appears the base of the mid section were           ·2· ·performed, but in the specific area where the
·3· ·delivered to T11, or planned to be, at least, on      ·3· ·ice is, it could not be performed due to the
·4· ·Monday, October 29, and Friday, November 2nd,         ·4· ·location of the ice despite Borneke coming out
·5· ·accordingly, right?                                   ·5· ·and fixing the surrounding areas?· That's your
·6· · · ·A.· ·Yes.                                         ·6· ·reading of it, at least, right?
·7· · · ·Q.· ·So if we just go off the plans of the        ·7· · · ·A.· ·Yes.
·8· ·day, these pieces were delivered approximately        ·8· · · ·Q.· ·And this reading is based on your
·9· ·two weeks before the 15th of November, which is       ·9· ·almost a decade of experience with Mortenson and
10· ·the date of my client's accident, right?              10· ·your knowledge of this site specifically?
11· · · ·A.· ·That would appear to be true.                11· · · ·A.· ·Yeah.
12· · · ·Q.· ·So then based on the CIA, sometime in        12· · · ·Q.· ·Okay.· I promise I'm wrapping up now,
13· ·that two week period, Borneke would have been         13· ·maybe just another five minutes and
14· ·called out to the site T11 to do a tune-up.           14· ·Mr. Sullivan will have a few follow-ups for you.
15· ·Like, you know, the words you've used, they           15· · · · · · Overall, sir, you would agree that on
16· ·would have tuned up the areas surrounding the         16· ·this project Mortenson hired Borneke and it
17· ·sheet of ice, saw the sheet of ice, but               17· ·relied on their expertise for the excavation
18· ·determined they can't fix it due to its               18· ·work that was going to be performed, right?
19· ·location, right?                                      19· · · ·A.· ·Yes.
20· · · ·MR. SULLIVAN:· I'm going to object, that          20· · · ·Q.· ·And Borneke has been hired by Mortenson
21· ·calls for speculation and misstates his prior         21· ·on numerous projects because they are the
22· ·testimony.· He said he wasn't even there in the       22· ·experts in the excavation field for this area,
23· ·month of November.                                    23· ·correct?
24· · · ·MR. TERRY:· I'm just asking him to read a         24· · · ·A.· ·Yes, they're one of our preferred
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·1· ·subcontractors for the civil scope of work.           ·1· ·notes.
·2· · · ·Q.· ·Yeah.· And while there may be numerous       ·2· · · ·MR. SULLIVAN:· Sure.
·3· ·ones that you've used, you understand based on        ·3· · · ·MR. TERRY:· Mr. Kruse, I appreciate your time
·4· ·your time with Mortenson that Borneke has been        ·4· ·today.· Thank you very much.· I may have a few
·5· ·used on prior projects as well?                       ·5· ·follow-ups after Mr. Sullivan.
·6· · · ·A.· ·Absolutely.                                  ·6· · · ·THE WITNESS:· Sure thing.· Thank you.
·7· · · ·Q.· ·And this work continues to be given to       ·7· · · ·MR. SULLIVAN:· Mr. Kruse, good afternoon.
·8· ·Borneke on some projects, and also predated the       ·8· · · ·THE WITNESS:· Hello.
·9· ·date of this accident, the project, right?            ·9· · · ·MR. SULLIVAN:· I represent Borneke
10· · · ·A.· ·Yes.                                         10· ·Construction.· I have a few follow-up questions
11· · · ·Q.· ·And the reason I'm asking this is, it's      11· ·for you here.
12· ·safe to say that not only from the specific           12· · · · · · · · · · ·EXAMINATION
13· ·contract and the scope of work on this project,       13· ·BY MR. SULLIVAN:
14· ·but just from a general business relationship         14· · · ·Q.· ·What was your relationship to
15· ·standpoint, Mortenson understood what they were       15· ·James Langstson?
16· ·contracting Borneke to perform, and Borneke           16· · · ·A.· ·Jamie was an erection supt, and I'd say
17· ·understood what they were being contracted to         17· ·a close coworker at the time of the project.· So
18· ·perform.· That's a safe assumption, right?            18· ·coworker, officially, and we work similarly
19· · · ·A.· ·Yes.                                         19· ·side-by-side.· Him through more of the erection
20· · · ·Q.· ·And on this project specifically,            20· ·side of things, primarily, and myself, coming
21· ·Borneke and Mortenson coordinated such that           21· ·from, you know, inception of the project through
22· ·Borneke knew where the crane pad was going to be      22· ·foundations, kind of up to that erection point,
23· ·staked out, knew where the erection areas were        23· ·to where I left.
24· ·going to be staked out, and knew where the            24· · · ·Q.· ·So does that mean he basically takes
                                                      73                                                          75

·1· ·staging areas in the erection areas were going        ·1· ·over for what you were doing at the point of the
·2· ·to be staked out, right?                              ·2· ·erection?
·3· · · ·A.· ·Not all of them might have been staked.      ·3· · · ·A.· ·More specifically erection focused, so
·4· ·But, yes, knew where the -- knew where those          ·4· ·those tasks and crews.
·5· ·locations were going to be.                           ·5· · · ·Q.· ·Meaning after delivery?
·6· · · ·Q.· ·Borneke and Mortenson, let me ask it         ·6· · · ·A.· ·Yes.
·7· ·another way, coordinated where the actual more        ·7· · · ·Q.· ·Was he considered your boss or not?
·8· ·stringent standards needed to be applied so that      ·8· · · ·A.· ·No.
·9· ·the deliveries could be effectuated and the           ·9· · · ·Q.· ·But he was a superintendent, right?
10· ·materials could be staged, right?                     10· · · ·A.· ·Correct.
11· · · ·A.· ·Yes.                                         11· · · ·Q.· ·But Andy Black was your direct
12· · · ·Q.· ·Did you ever, after the date of this         12· ·supervisor; is that right?
13· ·incident, come back to work on this project?· Or      13· · · ·A.· ·Yes, sir.
14· ·once you were off, you were off?                      14· · · ·Q.· ·So he would have been Langston's
15· · · ·A.· ·I never returned to work.                    15· ·supervisor also?
16· · · ·Q.· ·Got it.· Okay.                               16· · · ·A.· ·Yes.· And Christian, maybe to just kind
17· · · · · · I think I asked you this.· Just to be        17· ·of show you, on these projects, like the
18· ·safe.· Did you perform any role, whether it be        18· ·individual who approves your time card is the
19· ·answering questions or otherwise, as it pertains      19· ·project manager.· However, there is another kind
20· ·to the investigation or the drafting of the CIA?      20· ·of relationship, I guess, a superior ranking.
21· · · ·A.· ·No, I was not involved in any of that.       21· ·Superintendents at Mortenson report to a FOM, a
22· · · ·MR. TERRY:· Chris, if you want to take over       22· ·field operations manager, when it comes to like
23· ·we can -- now might be a good time.· I think I'm      23· ·craft, craft hiring, kind of work flow, and
24· ·pretty much wrapped up, and I'll check over my        24· ·maybe some of the nuances or specifics of the
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·1· ·trade -- of the task to be performed.                ·1· · · ·A.· ·Yes, I would.
·2· · · ·Q.· ·Okay.· And --                               ·2· · · ·Q.· ·Have you worked with him on any
·3· · · ·A.· ·Whereas Andy Black stays more in the PM     ·3· ·projects since then, since this one?
·4· ·contractual side of things.                          ·4· · · ·A.· ·No, I haven't.
·5· · · ·Q.· ·Who would have been the FOM, as you         ·5· · · ·Q.· ·Was there any instance in which you
·6· ·said?                                                ·6· ·recall asking Brad Bennett to bring his
·7· · · ·A.· ·The FOM?                                    ·7· ·employees out to perform one of these tune-ups
·8· · · ·Q.· ·FOM.                                        ·8· ·that you mentioned?
·9· · · ·A.· ·At the time it would have been Chandler     ·9· · · ·A.· ·Not specifically at a pad site.· I do
10· ·Thomas.                                              10· ·remember some comments about maybe a -- to
11· · · ·MR. TERRY:· I'm sorry, Chris, what word did      11· ·rework a radius, or some of the, you know,
12· ·you use?· The who?                                   12· ·delivery pad for certain components.· It can
13· · · ·MR. SULLIVAN:· F-O-M, he said, right?            13· ·happen pretty often, just touching up things
14· · · ·THE WITNESS:· F-O-M, field operations            14· ·here and there.
15· ·manager.                                             15· · · ·Q.· ·Would you say that each time you asked
16· · · ·MR. TERRY:· Got it.· Sorry about that.           16· ·or someone on your team asked Borneke to
17· · · ·THE WITNESS:· No worries.                        17· ·readdress something for whatever reason, they
18· ·BY MR. SULLIVAN:                                     18· ·did that for you without any problem?
19· · · ·Q.· ·And was this someone that was on site?      19· · · ·A.· ·Yes, I would say that's accurate.
20· · · ·A.· ·No.                                         20· · · ·Q.· ·You don't have any reason to assert
21· · · ·Q.· ·Was this someone in Minnesota?              21· ·that Borneke failed to fulfill its contractual
22· · · ·A.· ·Working kind of -- not a specific           22· ·obligations on this project, do you?
23· ·location for that field operation managers.          23· · · ·A.· ·No, I don't.
24· ·Visits -- visits sites from time-to-time,            24· · · ·Q.· ·You are not aware of any incident in
                                                     77                                                         79

·1· ·check-in kind of as project -- along with            ·1· ·which Mortenson alleged or asserted that Borneke
·2· ·projects as needed.· Spend some time at the          ·2· ·failed to do something it should have done, do
·3· ·headquarters in Minnesota as well as remote.         ·3· ·you?
·4· · · ·Q.· ·Do you have any recollection of any         ·4· · · ·A.· ·No.
·5· ·conversations with James Langston about this         ·5· · · ·Q.· ·And you would agree with me that --
·6· ·incident?· This case?· Anything like that?· The      ·6· ·well, strike that.
·7· ·plaintiff?                                           ·7· · · · · · You don't have any specific
·8· · · ·A.· ·No.· Just to be more specific, we           ·8· ·recollection of individual pad sites and their
·9· ·talked about it, I guess, a little bit in            ·9· ·condition at any point, do you?
10· ·recent, in just saying do you remember this?         10· · · ·A.· ·No.
11· ·But no specifics to really share.                    11· · · ·Q.· ·Including T11, that I guess we're
12· · · ·Q.· ·Okay.· And you don't have any               12· ·talking about here?
13· ·recollection of conversations with Andy Black        13· · · ·A.· ·I don't have any specifics about T11.
14· ·about it, do you?                                    14· · · ·Q.· ·Would you agree with me that if a pad
15· · · ·A.· ·No.                                         15· ·site, prior to delivery of components, is
16· · · ·Q.· ·Do you have any recollection of             16· ·graded, and compacted, and drained in accordance
17· ·interaction with Borneke on this project at all?     17· ·with the contract, the ground, subsequent to
18· · · ·A.· ·Yes.                                        18· ·delivery and as time passes depending on weather
19· · · ·Q.· ·Did you have like one point of contact,     19· ·conditions, may get to a point where it's not
20· ·or someone you worked with at Borneke you            20· ·sufficient any longer, correct?
21· ·recall?                                              21· · · ·A.· ·That's correct.
22· · · ·A.· ·Yeah, that was Brad Bennett.                22· · · ·Q.· ·And that doesn't mean that it was
23· · · ·Q.· ·Would you say you had a good working        23· ·improperly graded at the beginning, does it?
24· ·relationship with Brad Bennett?                      24· · · ·A.· ·No.· And an example of that would
                                                     78                                                         80

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·1· ·have -- what's shown on that exhibit, that            ·1· · · ·A.· ·Superintendents in safety.
·2· ·showed a rainout day.· That would be a primary        ·2· · · ·Q.· ·Would you be considered a supervisory
·3· ·example of what you're talking about, where work      ·3· ·staff?
·4· ·couldn't be performed.                                ·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·And rainout date, obviously, is you're       ·5· · · ·Q.· ·So you would have conducted some of
·6· ·getting too much rain, and the ground softens up      ·6· ·those meetings, you think?
·7· ·and so forth, right?                                  ·7· · · ·A.· ·Yes.
·8· · · ·A.· ·Yes.                                         ·8· · · ·Q.· ·And that was pre-task plan cards being
·9· · · ·Q.· ·It doesn't matter if it was graded           ·9· ·created?
10· ·properly before the rain, does it?                    10· · · ·A.· ·Not at that meeting, but we would have
11· · · ·A.· ·No, it does not.                             11· ·talked about the creation and kind of, you know,
12· · · ·Q.· ·With regard to the picture that you          12· ·when those need to be used.
13· ·were shown, you were only shown, I think, the         13· · · ·Q.· ·Those meetings took place every day,
14· ·one picture with the ice, right?                      14· ·right?
15· · · ·A.· ·Yep.                                         15· · · ·A.· ·Yes, every morning.
16· · · ·Q.· ·You don't have any recollection of that      16· · · ·Q.· ·Just called morning meetings, is that
17· ·picture before today, do you?                         17· ·what they're called?
18· · · ·A.· ·I don't.                                     18· · · ·A.· ·Stretch and bend, more loosely.
19· · · ·Q.· ·And you don't have any recollection of       19· · · ·Q.· ·But they took place every day, right?
20· ·interacting with Borneke on that site, do you?        20· · · ·A.· ·Yes.
21· · · ·A.· ·No.                                          21· · · ·Q.· ·And weather conditions, or changing
22· · · ·Q.· ·You don't know how long that ice had         22· ·weather conditions, or upcoming weather
23· ·been there as of the point of the injury in this      23· ·conditions for the day, those are things that
24· ·case, or the incident, do you?                        24· ·are supposed to be noted on pre-task plan cards
                                                      81                                                         83

·1· · · ·A.· ·No.                                          ·1· ·at each site, right?
·2· · · ·Q.· ·And you don't know the cause of the ice      ·2· · · ·A.· ·Yes.
·3· ·necessarily, do you?                                  ·3· · · ·Q.· ·And if a Mortenson employee shows up to
·4· · · ·A.· ·No, I don't.                                 ·4· ·that site, he's supposed to sign the card that
·5· · · ·Q.· ·Do you -- strike that.                       ·5· ·he's aware of it, right?
·6· · · · · · You don't know what may have been done,      ·6· · · ·A.· ·Yes.
·7· ·what may not have been done, to do a tune-up on       ·7· · · ·Q.· ·And that would have included something
·8· ·that site at all, do you?                             ·8· ·like it's snowing today, or it's going to snow
·9· · · ·A.· ·No.                                          ·9· ·today, right?
10· · · ·Q.· ·And as you sit here, you don't know          10· · · ·A.· ·Yes.
11· ·what the weather conditions were on                   11· · · ·Q.· ·In the order of operations on this
12· ·November 15th at that site, do you?                   12· ·project, the grading and compaction was required
13· · · ·A.· ·No, I don't.                                 13· ·to be done by Borneke before the delivery of the
14· · · ·Q.· ·Did you have any involvement in safety       14· ·components, right?
15· ·meetings with the employees at Mortenson on this      15· · · ·A.· ·Correct.
16· ·site?                                                 16· · · ·Q.· ·Is it fair to say that Borneke's job
17· · · ·A.· ·Yes, if -- if like the morning               17· ·was done unless and until Mortenson called it
18· ·instructions and morning safety meetings, yes, I      18· ·back out to correct something?
19· ·was very involved.                                    19· · · ·A.· ·Yes.· In a perfect world, Borneke
20· · · ·Q.· ·And are those usually conducted by           20· ·prepares the site for delivery.· It doesn't have
21· ·Mortenson employees?                                  21· ·to touch it until the tower is erected, and then
22· · · ·A.· ·Usually conducted by Mortenson, like         22· ·comes back for restoration.
23· ·supervisory staff.                                    23· · · ·Q.· ·But there were times when Mortenson
24· · · ·Q.· ·Okay.                                        24· ·identified or maybe even in the moving of
                                                      82                                                         84

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·1· ·equipment or something, change in weather             ·1· ·for this work on this contract -- for this
·2· ·conditions, anything like that, and you would         ·2· ·project, right?
·3· ·call Borneke back out to fix something?               ·3· · · ·MR. TERRY:· Objection to relevance.
·4· · · ·A.· ·Right.· Might need to maintain               ·4· · · · · · You can obviously answer, sir.
·5· ·something or touch it up, yep.                        ·5· · · ·THE WITNESS:· I don't know.· That's -- that's
·6· · · ·Q.· ·You're not aware of any instance in          ·6· ·not my wheelhouse.
·7· ·which Borneke failed to comply with any request       ·7· · · ·MR. SULLIVAN:· Okay.· I think that's all I
·8· ·by Mortenson in that regard, are you?                 ·8· ·have, sir.· I appreciate your time.
·9· · · ·A.· ·No.                                          ·9· · · ·THE WITNESS:· No problem, thank you.
10· · · ·Q.· ·Are you aware, with regard to the ice        10· · · ·MR. TERRY:· I just have two follow-ups for
11· ·that you see in that picture, if Borneke even         11· ·you, and I mean that, or at least two category
12· ·had notice of that particular ice?                    12· ·of follow-ups, which will be two minutes.
13· · · ·A.· ·I don't know.                                13· · · ·THE WITNESS:· Sure.
14· · · ·Q.· ·Do you know if ice melt salt was             14· · · · · · · · ·FURTHER EXAMINATION
15· ·available to the Mortenson employees?                 15· ·BY MR. TERRY:
16· · · ·A.· ·I don't know if it was.                      16· · · ·Q.· ·Based on the CIA, when you were asked
17· · · ·Q.· ·Do you know who Lonnie Sears is?             17· ·questions about the pre-task plan cards, based
18· · · ·A.· ·I do.                                        18· ·on this CIA, it says on the second page, the
19· · · ·Q.· ·He was the direct foreman for George         19· ·existing hazard was not properly delineated nor
20· ·Georgeff; is that right?                              20· ·was its location identified on the pre-task plan
21· · · ·A.· ·I believe so.· Lonnie -- I believe           21· ·card.· Additionally, snow had begun falling --
22· ·Lonnie's title at that project was ironworker         22· ·had begun to fall that morning covering the ice
23· ·foreman or general foreman, which would have          23· ·with a thin layer of snow, which made its
24· ·been in some relationship to Nick Georgeff.           24· ·identification difficult prior to stepping on
                                                      85                                                          87

·1· · · ·Q.· ·Did you know Nick Georgeff?                  ·1· ·the ice, right?
·2· · · ·A.· ·I did not, personally.                       ·2· · · ·A.· ·Yep.
·3· · · ·Q.· ·Did you ever interact with Lonnie Sears      ·3· · · ·Q.· ·So based on this document, not only did
·4· ·regarding this incident, or, I guess, anything        ·4· ·the pre-task plan card not delineate the ice,
·5· ·related to it?                                        ·5· ·but it also documents that the ice was covered
·6· · · ·A.· ·No.                                          ·6· ·with a thin layer of snow, right?
·7· · · ·Q.· ·And you never talked to him about this       ·7· · · ·A.· ·Yeah.· The pre-task, in a more, you
·8· ·case or anything, did you?                            ·8· ·know, general sense, Charlie.· The pre-task may
·9· · · ·A.· ·No.· I guess the only caveat I would         ·9· ·have specified something like watch out for
10· ·say is we -- I worked with Lonnie the next year       10· ·slippery conditions, or something more general
11· ·at a project called Green River, where we talked      11· ·that that CIA points out, it wasn't directly
12· ·about an incident where somebody broke their leg      12· ·identified.
13· ·due to slips, slippery conditions, and that was       13· · · ·Q.· ·Exactly.· And then you were asked
14· ·about the extent of those conversations.              14· ·questions about whether an area was properly
15· · · ·Q.· ·And --                                       15· ·graded, or prepared and no longer was it
16· · · ·A.· ·More or less something to look out for.      16· ·properly graded and prepared, and you said,
17· · · ·Q.· ·Is Lonnie Sears still a Mortenson            17· ·yeah, exactly, that's what tune-ups are for,
18· ·employee, if you know?                                18· ·right?
19· · · ·A.· ·I don't believe Lonnie is, but I would       19· · · ·A.· ·Yes.
20· ·not know that for certain.                            20· · · ·Q.· ·And based on -- and you said yes?
21· · · ·Q.· ·Do you know if James Langston is still       21· · · ·A.· ·Yep.
22· ·a Mortenson employee?                                 22· · · ·Q.· ·Sorry.· I think I started talking over
23· · · ·A.· ·Yes, he is.                                  23· ·you, and I just to want make sure the court
24· · · ·Q.· ·Borneke was paid, as far as you know,        24· ·reporter got your answer.
                                                      86                                                          88

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·1· · · · · · On the picture I showed you based on          ·1· · · ·MS. VAN HECKE:· I do.· I do.· When you send

·2· ·the CIA, this appears to be what exactly               ·2· ·Andy Black's to me, I'll tell you that we don't

·3· ·happened here.· A tune-up was requested and            ·3· ·need to sign it.

·4· ·Borneke came out to the area, but because of the       ·4· · · ·MR. TERRY:· Can you do me a favor,

·5· ·size of the dozer, it could not properly               ·5· ·Ms. Van Hecke.· Can you just send me an e-mail

·6· ·readdress the area near the turbine ports,             ·6· ·stating that you waive signature on Mr. Black's,

·7· ·right?                                                 ·7· ·and then I'll forward it to the court reporter,

·8· · · ·A.· ·Again, Charlie, I don't know that.            ·8· ·or you could even do it.· Either way.

·9· ·That's what I infer from that CIA, the way it's        ·9· · · ·MS. VAN HECKE:· Do I have her -- I'll send it

10· ·written.                                               10· ·to you.· You forward it to whoever you need to

11· · · ·Q.· ·And this is based on your -- one, your        11· ·forward on to.

12· ·understanding of how the project was run, right?       12· · · ·MR. TERRY:· I was going to say, do you really

13· · · ·A.· ·Yes.                                          13· ·want to read all this?

14· · · ·Q.· ·You understand, based on your time on         14· · · ·MS. VAN HECKE:· I really don't want to.

15· ·this project, that Borneke would have been the         15· · · ·MR. TERRY:· Mr. Kruse, I appreciate your

16· ·only subcontractor performing excavating work,         16· ·time.· You can go ahead and hop off.· I do have

17· ·right?                                                 17· ·a question for Ms. Van Hecke.

18· · · ·A.· ·Yes.                                          18· · · · · · Margie, while we're still on the

19· · · ·Q.· ·And then this is also based on your           19· ·record, I will take the original for this.

20· ·years with Mortenson, understanding how these          20· · · ·MR. SULLIVAN:· I'll take a copy, please.

21· ·documents are written, right?                          21· ·Thank you.

22· · · ·A.· ·Yes.                                          22· · · · · (Proceedings concluded at 2:46 p.m.)

23· · · ·Q.· ·So based on all of that, based on your        23

24· ·experience, and based on your time on this             24

                                                       89                                                            91

·1· ·project and understanding that Borneke was the         ·1· ·STATE OF ILLINOIS.· · )

·2· ·only company who would perform this work anyway,       ·2· · · · · · · · · · · · ·)· ·SS:

·3· ·you would read this document to say that a             ·3· ·COUNTY OF C O O K· · ·)

·4· ·tune-up was performed, so-to-speak, but near the       ·4· · · · · I, MARGARET A. RITACCO, a notary public

·5· ·turbine components, this could not be addressed        ·5· ·within and for the County of Cook and State of

·6· ·due to the location and size of the dozer,             ·6· ·Illinois, do hereby certify that heretofore,

·7· ·right?                                                 ·7· ·to-wit, March 15th, 2022, personally appeared before

·8· · · ·A.· ·Yeah.                                         ·8· ·me, via videoconference, ANDREW KRUSE, in a cause

·9· · · ·Q.· ·But we've already established, and            ·9· ·now pending and undetermined in the in the United

10· ·hypothetically speaking, if a bulldozer was too        10· ·States District Court Northern District of Illinois,

11· ·big for an area, a smaller piece of equipment,         11· ·Eastern Division, wherein NICK GEORGEFF is the

12· ·or even manpower can potentially be used in a          12· ·Plaintiff, and DON BORNEKE CONSTRUCTION, INC., is

13· ·pinch, right?                                          13· ·the Defendant.

14· · · ·A.· ·I suppose.                                    14· · · · · I further certify that the said

15· · · ·MR. TERRY:· Okay.· I believe that's all I          15· ·ANDREW KRUSE was first duly sworn to testify the

16· ·have.                                                  16· ·truth, the whole truth and nothing but the truth

17· · · ·MR. SULLIVAN:· Nothing further for me.· Thank      17· ·in the cause aforesaid; that the testimony then

18· ·you.                                                   18· ·given by said witness was reported

19· · · ·MR. TERRY:· Ms. Van Hecke, would you like to       19· ·stenographically by me in the presence of the

20· ·reserve signature again?                               20· ·said witness, and afterwards reduced to

21· · · ·MS. VAN HECKE:· No.                                21· ·typewriting by Computer-Aided Transcription, and

22· · · ·MR. TERRY:· Do you want to change your mind        22· ·the foregoing is a true and correct transcript

23· ·about yesterday?· I can e-mail the court               23· ·of the testimony so given by said witness as

24· ·reporter.                                              24· ·aforesaid.

                                                       90                                                            92

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·1· · · · · I further certify that the signature to

·2· ·the foregoing deposition was waived by counsel

·3· ·for the respective parties.

·4· · · · · I further certify that the taking of this

·5· ·deposition was pursuant to notice and that there

·6· ·were present at the deposition the attorneys

·7· ·hereinbefore mentioned.

·8· · · · · I further certify that I am not counsel

·9· ·for nor in any way related to the parties to

10· ·this suit, nor am I in any way interested in the

11· ·outcome thereof.

12· · · · · IN TESTIMONY WHEREOF:· I have hereunto

13· ·set my hand and affixed my notarial seal this

14· ·1st day of April 2022.

15

16

17

18

19· · · · · · · ·__________________________· ________

20· · · · · · · ·NOTARY PUBLIC, COOK COUNTY, ILLINOIS

21· · · · · · · ·LIC. NO. 084-002796

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·1· · · · · IN THE UNITED STATES DISTRICT COURT            ·1· · · · · · · · · · I N D E X

·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS               ·2· ·WITNESS· · · · · · · · · · · · · · · EXAMINATION

·3· · · · · · · · · · EASTERN DIVISION                     ·3· ·MARK SIKEL

·4· ·NICK GEORGEFF,· · · · · · · · ·)                      ·4· · ·BY MR. TERRY· · · · · · · · · · · · · · 5

·5· · · Plaintiff,· · · · · · · · · )                      ·5· · ·BY MR. SULLIVAN· · · · · · · · · · · · 76

·6· · ·vs.· · · · · · · · · · · · · ) Civil Action         ·6· · ·BY MR. TERRY - FURTHER· · · · · · · · ·81

·7· ·DON BORNEKE CONSTRUCTION, INC.,) No. 3:20-CV-50313    ·7

·8· · · · · · · ·Defendant.· · · · ·)                      ·8

·9· · · · · The deposition of MARK SIKEL, called           ·9

10· ·for examination pursuant to the Rules of Civil        10· · · · · · · · · · ·E X H I B I T S

11· ·Procedure for the United States District Courts       11· ·NUMBER· · · · · · · · · · · · · ·IDENTIFICATION

12· ·pertaining to the taking of depositions, before       12· ·SIKEL Deposition

13· ·Margaret A. Ritacco, a certified shorthand            13· · ·Exhibit No. 1· · · · · · · · · · · · · ·49

14· ·reporter in the State of Illinois, on the             14

15· ·10th day of March 2022, at 1:03 p.m., via             15

16· ·videoconference per Executive Order 2020-14           16

17· ·pursuant to notice.                                   17

18                                                         18

19                                                         19

20                                                         20

21                                                         21

22                                                         22

23· ·Reported by:· MARGARET A. RITACCO, CSR                23

24· ·License No.:· 084-002796                              24

                                                       1                                                             3

·1· ·APPEARANCES:                                          ·1· · · ·THE REPORTER:· My name is Margaret Ritacco, CSR.
·2· · · · ANESI, OZMON, RODIN, NOVAK & KOHEN, by           ·2· ·This deposition is being taken pursuant to
·3· · · · MR. CHARLES A. TERRY                             ·3· ·Governor Pritzker's Executive Order 2020-14.
·4· · · · 161 North Clark Street, 21st Floor               ·4· ·All parties to this proceeding, including the
·5· · · · Chicago, Illinois· 60601                         ·5· ·court reporter, are attending via videoconference.
·6· · · · (312) 372-3822                                   ·6· · · · · Will the parties please introduce
·7· · · · cterry@anesilaw.com                              ·7· ·yourselves, state who you represent, and that
·8· · · · · · ·Representing the Plaintiff;                 ·8· ·you are in agreement with these procedures,
·9                                                         ·9· ·starting with plaintiff's counsel.
10· · · · SWANSON, MARTIN and BELL, by                     10· · · ·MR. TERRY:· Charles Terry for the plaintiff,
11· · · · MR. CHRISTIAN A. SULLIVAN                        11· ·we agree.
12· · · · 2525 Cabot Drive, Suite 204                      12· · · ·MR. SULLIVAN:· Chris Sullivan for Borneke
13· · · · Lisle, Illinois· 60532                           13· ·Construction, we agree.
14· · · · (630) 799-6900                                   14· · · ·THE WITNESS:· Mark Sikel for Borneke
15· · · · csullivan@smbtrials.com                          15· ·Construction, I agree.
16· · · · · · ·Representing the Defendant.                 16· · · · · · · · · ·(Witness sworn.)
17                                                         17· · · ·MR. TERRY:· Sir, would you mind stating your
18                                                         18· ·first and last name, and spelling the last name
19                                                         19· ·for the record?
20                                                         20· · · ·THE WITNESS:· ·Mark Sikel, S-I-K-E-L.
21                                                         21
22                                                         22
23                                                         23
24                                                         24
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                                                                                                                                  J
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·1· · · · · · · · · · · MARK SIKEL,                         ·1· ·answer a question, we are going to assume you
·2· ·called as a witness herein, having been first          ·2· ·understood what it meant.· So, please, only
·3· ·duly sworn, was examined and testified as              ·3· ·answer questions you understand.· If you answer
·4· ·follows:                                               ·4· ·one, again, the answer will stand, and we will
·5· · · · · · · · · · · EXAMINATION                         ·5· ·assume you understood what it meant.· So if you
·6· ·BY MR. TERRY:                                          ·6· ·have a question about it, please, just ask.· I'm
·7· · · ·Q.· ·Let the record reflect this is the            ·7· ·happy to rephrase, ask a similar but different
·8· ·discovery deposition of Mark Sikel taken               ·8· ·question, or have the court reporter read it
·9· ·pursuant to notice and agreement of the parties.       ·9· ·back.
10· ·Let the record also reflect this deposition is         10· · · · · · Does that make sense?
11· ·being taken via Zoom, but still pursuant to all        11· · · ·A.· ·Yes.
12· ·applicable rules.                                      12· · · ·Q.· ·We've already gotten your name.· What's
13· · · · · · Have you ever given a deposition              13· ·your date of birth, sir?
14· ·before, sir?                                           14· · · ·A.· ·2/7/1974.
15· · · ·A.· ·I have not.                                   15· · · ·Q.· ·What is your current address?
16· · · ·Q.· ·I'm sure Mr. Sullivan has gone over a         16· · · ·A.· ·2347 Abbywood Lane, North Mankato,
17· ·few of the ground rules.· I'm just going to            17· ·Minnesota.
18· ·remind of you a few.                                   18· · · ·Q.· ·What was the city, did you say?
19· · · · · · The biggest one today is because we are       19· · · ·A.· ·North Mankato.
20· ·via Zoom, do your best to wait for the full            20· · · ·Q.· ·How long have you lived at this
21· ·question to come out prior to answering.               21· ·address?
22· ·Attorneys can be longwinded, boring, and               22· · · ·A.· ·Fifteen years, give or take.
23· ·predictable in their questions.· But it really         23· · · ·Q.· ·Do you have any plans to move in the
24· ·make Ms. Ritacco's job harder to take everything       24· ·next year or so?
                                                        5                                                           7

·1· ·down if we're talking over each other.· So,            ·1· · · ·A.· ·No.
·2· ·please, just do your best to not interrupt             ·2· · · ·Q.· ·Who do you live there with?
·3· ·anybody, and we will try to give you the same          ·3· · · ·A.· ·With my wife and kids.
·4· ·courtesy.                                              ·4· · · ·Q.· ·I'm not going to get into much about
·5· · · · · · Does that make sense?                         ·5· ·them.· One other thing I should have mentioned,
·6· · · ·A.· ·Yes.                                          ·6· ·I'm sure Mr. Sullivan went over this with you,
·7· · · ·Q.· ·If you are giving an answer to a              ·7· ·but the point of the deposition is to find out
·8· ·question, please try to keep your answers out          ·8· ·what you will testify to if this matter goes to
·9· ·loud, meaning yes, no, or otherwise.· Uh-uhs and       ·9· ·trial.
10· ·uh-huhs don't come over well on the transcript.        10· · · · · · A lot of it, what we'll talk about
11· ·We might remind you of this if it comes out, so        11· ·today, is relating to the actual things at
12· ·don't take offense to us reminding you of any of       12· ·issue, but, also, we just like to get a little
13· ·the rules.· It's just trying to keep things            13· ·bit of background about you.· So I promise I
14· ·going smoothly.· Okay?                                 14· ·will try to be brief in that regard and get to
15· · · ·A.· ·Yes.                                          15· ·the substance.
16· · · ·Q.· ·If you need a break at any time, by all       16· · · · · · But that's why I'm asking some of these
17· ·means, please, let me know.· I don't think we          17· ·questions.· Okay?
18· ·will be awfully long today.· With that being           18· · · ·A.· ·Yes.
19· ·said, this is not an endurance test.· If you           19· · · ·Q.· ·So that I don't have to do any math,
20· ·need a break, just let me know, and we will go         20· ·how old are you as you sit here today?
21· ·ahead and take one.· Okay?                             21· · · ·A.· ·Forty-eight.
22· · · ·A.· ·Yes.                                          22· · · ·Q.· ·What's your spouse's name?
23· · · ·Q.· ·Then the last one that I'm going to go        23· · · ·A.· ·Tara Sikel.
24· ·over, I'm sure I'm forgetting a few, but if you        24· · · ·Q.· ·How long have you been married?
                                                        6                                                           8

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·1· · · ·A.· ·Twenty years.                                 ·1· ·center.
·2· · · ·Q.· ·Congratulations.                              ·2· · · ·Q.· ·When you say estimating, would you guys
·3· · · ·A.· ·Thanks.                                       ·3· ·supply lumber for, like, general contractors, or
·4· · · ·Q.· ·Are your children, are they minors?           ·4· ·for at-home projects, or a combination of both?
·5· · · ·A.· ·Yeah, well -- well, one of them.              ·5· · · ·A.· ·Combination.
·6· · · ·Q.· ·Okay.                                         ·6· · · ·Q.· ·And you worked with them from
·7· · · ·A.· ·One of the three.                             ·7· ·approximately '99 until 2009.· Did you have,
·8· · · ·Q.· ·Got it.· I don't have to get personal         ·8· ·like, the same general role throughout that
·9· ·about them, but just out of curiosity, do they         ·9· ·whole time?
10· ·live at the home with you?                             10· · · ·A.· ·Can you repeat?· You cut out.
11· · · ·A.· ·Yeah.· One is away at college, but,           11· · · ·Q.· ·Yeah, sure.
12· ·yeah, the other two live.                              12· · · · · · Was your role between '99 to 2009 with
13· · · ·Q.· ·Okay.· Got it.· So, what's your highest       13· ·St. Peter Lumber generally the same for those
14· ·level of education?                                    14· ·ten years?
15· · · ·A.· ·BA.                                           15· · · ·A.· ·Yes, it was.
16· · · ·Q.· ·Where is that from?                           16· · · ·Q.· ·And then what did you do after St.
17· · · ·A.· ·Saint John's University --                    17· ·Peter Lumber?
18· · · ·Q.· ·Is that --                                    18· · · ·A.· ·I came to Borneke Construction.
19· · · ·A.· ·-- Minnesota.                                 19· · · ·Q.· ·Do you know when you came to
20· · · ·Q.· ·When did you get the degree and what is       20· ·Don Borneke Construction?
21· ·it in?                                                 21· · · ·A.· ·2009.
22· · · ·A.· ·1996 in Biology.                              22· · · ·Q.· ·What was your title when you came over?
23· · · ·Q.· ·After you graduated from college, did         23· · · ·A.· ·Estimator.
24· ·you do anything with your biology degree?              24· · · ·Q.· ·Have you been full time with
                                                        9                                                          11

·1· · · ·A.· ·I did not.                                    ·1· ·Don Borneke ever since?
·2· · · ·Q.· ·What did you do after graduating?             ·2· · · ·A.· ·Yes.
·3· · · ·A.· ·Worked in the construction industry,          ·3· · · ·Q.· ·What is your current title?
·4· ·residential homes, for 15 years.                       ·4· · · ·A.· ·Estimator/project manager.
·5· · · ·Q.· ·What company was this with?                   ·5· · · ·Q.· ·In between 2009 and present, have you
·6· · · ·A.· ·John Sikel Construction for three             ·6· ·had any other roles?
·7· ·years, who is -- that's my dad.· And then              ·7· · · ·A.· ·No.
·8· ·St. Peter Lumber for 12 years in sales.                ·8· · · ·Q.· ·Can you walk me through -- obviously,
·9· · · ·Q.· ·When you worked with John Sikel               ·9· ·based on the word, we can kind get a sense of
10· ·Construction, what was your role?                      10· ·what an estimator does.· But can you walk us
11· · · ·A.· ·Carpentry, estimating.                        11· ·through the difference between an estimator and
12· · · ·Q.· ·And you did that, is it fair to say,          12· ·a project manager?
13· ·between approximately '96 and '99?                     13· · · ·A.· ·Estimating purposes, I just generate a
14· · · ·A.· ·Yes.                                          14· ·dollar value for bidding purposes.· And then if
15· · · ·Q.· ·All right.· And then you worked with          15· ·we are selected by the prime contractor, then I
16· ·St. Peter Lumber until about what, 2011 or so?         16· ·switch over to project managing mode, which go
17· · · ·A.· ·Actually, no.· Until about 2009.              17· ·through contracts, and then into the project
18· · · ·Q.· ·All right.· What were you doing with          18· ·itself, pre-construction, and then manage the
19· ·St. Peter Lumber?· You said sales?                     19· ·project.
20· · · ·A.· ·Estimating and sales.                         20· · · ·Q.· ·When you say manage the project, are
21· · · ·Q.· ·Forgive me, because I don't know              21· ·you typically on site or ae you offsite?
22· ·St. Peter Lumber, is this like a hardware store?       22· · · ·A.· ·Offsite.
23· ·Is it a lumber store?                                  23· · · ·Q.· ·So managing would be more of the back
24· · · ·A.· ·Yeah, just like -- it's a home building       24· ·of the scene stuff as opposed to like in the
                                                      10                                                           12

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·1· ·field, right?                                          ·1· · · ·A.· ·Correct.
·2· · · ·A.· ·That's correct.                               ·2· · · ·Q.· ·And that's the Mendota Hills Wind Farm
·3· · · ·Q.· ·So like ordering, change orders, price        ·3· ·project?
·4· ·adjustments, all that stuff?                           ·4· · · ·A.· ·Yes.
·5· · · ·A.· ·Correct.                                      ·5· · · ·Q.· ·As an estimator and project manager,
·6· · · ·Q.· ·How long have you acted as a project          ·6· ·are you almost always working on various wind
·7· ·manager at Don Borneke?· Like, when was first          ·7· ·farm projects?
·8· ·the first time you started doing that,                 ·8· · · ·A.· ·Yes.
·9· ·approximately?                                         ·9· · · ·Q.· ·Do you really do any other type of
10· · · ·A.· ·2009, towards the end of the year.            10· ·projects, or is that the main crux of it?
11· · · ·Q.· ·So is it fair to say you started out as       11· · · ·A.· ·That's the main.
12· ·an estimator, and then within the same year, you       12· · · ·Q.· ·All right.
13· ·started acting as somewhat of a project                13· · · ·A.· ·Yeah.
14· ·manager/estimator, and you continue that until         14· · · ·Q.· ·In your role, is it important for
15· ·present?                                               15· ·you -- and, again, some of these questions may
16· · · ·A.· ·That's correct.                               16· ·seem obvious, but we just have to ask them.
17· · · ·Q.· ·Before we get more into that -- those         17· · · · · · Is it important for you to be
18· ·roles and your work with Don Borneke, just a few       18· ·intimately familiar with, like, contracts, the
19· ·more background questions.· We ask this of             19· ·attachments to the contracts?
20· ·everybody, so please don't take offense to them.       20· · · ·A.· ·Yes.
21· · · · · · Have you ever been convicted of a             21· · · ·Q.· ·And it's important for you to
22· ·felony or a crime involving fraud or dishonesty?       22· ·understand, based on the contract, and, like,
23· · · ·A.· ·I have not, no.                               23· ·the scope of work documents, what Borneke is
24· · · ·Q.· ·Have you ever served in the military?         24· ·actually being contracted to perform; is that
                                                       13                                                          15

·1· · · ·A.· ·No.                                           ·1· ·fair?
·2· · · ·Q.· ·Have you ever filed bankruptcy?               ·2· · · ·A.· ·Yes.
·3· · · ·A.· ·No.                                           ·3· · · ·Q.· ·Do you also work in terms of, like,
·4· · · ·Q.· ·As a project manager specifically, what       ·4· ·negotiating the contract, or anything like that?
·5· ·type of things -- can you just kind of walk me         ·5· · · ·A.· ·Yes.
·6· ·through your day-to-day?· Let's say, like, after       ·6· · · ·Q.· ·Would this kind of be more in your,
·7· ·you know you've gotten the bid and you've been         ·7· ·like, estimating role, or does that come into
·8· ·selected by the contractor.                            ·8· ·more of your project management role, or kind of
·9· · · ·A.· ·Lining up materials for the project,          ·9· ·a hybrid of both?
10· ·lining up crews for the project.· Every phase in       10· · · ·A.· ·Yeah, it's a combination.· I have to
11· ·a project is different, as you can probably            11· ·make sure that the contract meets up with what
12· ·understand.· So, the day-to-day and the first          12· ·we did, the two scopes workup.
13· ·month of the project is substantially different        13· · · ·Q.· ·And in terms of negotiating, like, for
14· ·from day-to-day a month in.                            14· ·example, let's use this subject project, would
15· · · ·Q.· ·Do you --                                     15· ·this be, like, back and forth with Mortenson and
16· · · ·A.· ·Usually it's communications --                16· ·whatever suppliers you might need stuff from?
17· · · ·Q.· ·Go ahead.                                     17· · · ·A.· ·Can you repeat that?
18· · · ·A.· ·-- you know.· A couple of times a day         18· · · ·Q.· ·Sure.· Like, let's use this subject
19· ·there's communication with the project team,           19· ·project, for example.· When you say negotiate,
20· ·from the owner, which in this case was Mortenson. 20· ·you know, a contract, is this something you
21· · · ·Q.· ·And I know you said in this case it was       21· ·would do with, like, Mortenson, to go back and
22· ·Mortenson, and so when we talk about the subject       22· ·forth about the various tasks and then try to
23· ·project, or the subject wind farm, you                 23· ·figure out pricing and stuff like that?
24· ·understand what I'm talking about, correct?            24· · · ·A.· ·Yeah, that's correct.
                                                       14                                                          16

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·1· · · ·Q.· ·And in these negotiations, things like        ·1· · · ·A.· ·Yes, for the most part.
·2· ·inclusions and exclusions come up?                     ·2· · · ·Q.· ·And there's some gray area in that some
·3· · · ·A.· ·Correct.                                      ·3· ·things might not necessarily be talked about, or
·4· · · ·Q.· ·So it's fair to say that prior to work        ·4· ·you kind of come up with them on the fly, but
·5· ·even being performed, you, as a project manager        ·5· ·the general gist of what is going to be done,
·6· ·for Borneke, negotiates what's going to be             ·6· ·that is usually agreed upon prior to commencing
·7· ·performed and what's not going to be performed,        ·7· ·work, because you need to know what you're
·8· ·and, like, a fair cost for all of that?                ·8· ·contracted for, right?
·9· · · ·A.· ·That's correct.                               ·9· · · ·A.· ·That's correct, but with every job,
10· · · ·Q.· ·Okay.· And then additionally, like            10· ·you're going to have a handful of change orders
11· ·interacting with general contractors, like             11· ·and so forth.
12· ·Mortenson in this case, you guys are discussing        12· · · ·Q.· ·Yeah, of course.· And, like, for
13· ·who is going to be responsible for what tasks,         13· ·example, if there needs to be more gravel, or if
14· ·right?                                                 14· ·some other tasks needs to be performed, that
15· · · ·A.· ·That's correct.                               15· ·will be implemented through a change order, but
16· · · ·Q.· ·Have you ever had any -- well, I should       16· ·the general, you know, we're going to excavate,
17· ·have asked this before.                                17· ·grade, and compact this land, that's, like, part
18· · · · · · Are you a member of any union?                18· ·of the initial bid, for the most part, right?
19· · · ·A.· ·No, I am not, personally.                     19· · · ·A.· ·Yes.
20· · · ·Q.· ·Have you ever had any formal union            20· · · ·Q.· ·And you understand that, like, on these
21· ·training or anything like that?                        21· ·construction sites, as the project manager who
22· · · ·A.· ·No.                                           22· ·helps bid and estimate these projects, you are
23· · · ·Q.· ·Have you ever had any formal education        23· ·only bidding and estimating for the excavating
24· ·as it pertains to construction management or           24· ·work, so-to-speak, right?
                                                       17                                                          19

·1· ·anything like that?                                    ·1· · · ·A.· ·Yes.
·2· · · ·A.· ·No.                                           ·2· · · ·Q.· ·Like, you understand that other trades
·3· · · ·Q.· ·Do you have OSHA certifications?              ·3· ·stay in their own lane, so-to-speak?· Like
·4· · · ·A.· ·No.                                           ·4· ·ironworkers do ironwork, and you're bidding for
·5· · · ·Q.· ·But just from about a general                 ·5· ·the excavating work, right?
·6· ·standpoint, you've been working with Borneke for       ·6· · · ·A.· ·Yes.
·7· ·the last 13 years or so; is that fair?                 ·7· · · ·Q.· ·And then, you know, I saw -- and I'm
·8· · · ·A.· ·Yes.                                          ·8· ·not going to share this because I shared this
·9· · · ·Q.· ·And prior to this, you also worked in         ·9· ·with a couple of other Borneke employees
10· ·similar fields doing estimating and sales?             10· ·already, but just from the website, Don Borneke
11· · · ·A.· ·That's correct.                               11· ·has been performing these wind farm projects
12· · · ·Q.· ·And from your last 13 years with              12· ·since about 2000; does sound about right?
13· ·Don Borneke, is it fair to say you've become           13· · · ·A.· ·Yes.
14· ·pretty familiar with how things are ran on a           14· · · ·Q.· ·So they performed, would you say, close
15· ·construction, and, like, the interactions              15· ·to a hundred various wind farm projects?
16· ·between the general contractor and                     16· · · ·A.· ·Probably more, just a few more.
17· ·subcontractors like yourself?                          17· · · ·Q.· ·And how many have you been a part of,
18· · · ·A.· ·Yes.                                          18· ·give or take?
19· · · ·Q.· ·And is it safe to say that in this            19· · · ·A.· ·Thirty.
20· ·role, going into a project, both parties               20· · · ·Q.· ·So you guys, do you work for a general
21· ·typically know what is required of each other          21· ·contractor more than another, like Mortenson, or
22· ·and what is not required of each other, meaning        22· ·whoever else it may be, or is it kind of a whole
23· ·Mortenson knows what Mortenson is going to do,         23· ·combination of contractors?
24· ·and Borneke knows what Borneke is going to do?         24· · · ·A.· ·There's a few.· Mortenson over the 20
                                                       18                                                          20

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·1· ·years has probably been our biggest client, but.       ·1· ·percent, are never going to be touched.· But,
·2· · · ·Q.· ·Okay.· So it's safe to say that you           ·2· ·like, things such as the access road, or the
·3· ·have at least somewhat of a history with               ·3· ·erection areas, or the lay-down yards, these are
·4· ·Mortenson; is that correct?                            ·4· ·all the main areas where Borneke has to ensure
·5· · · ·A.· ·That's correct.                               ·5· ·its work is performed and performed well, right?
·6· · · ·Q.· ·And from this history, while things may       ·6· · · ·A.· ·Yes.
·7· ·change from job-to-job, Mortenson has an               ·7· · · ·Q.· ·Like for the erection area, for
·8· ·understanding of what Borneke does, and Borneke        ·8· ·example, this is literally where the turbine is
·9· ·has an understanding of what Mortenson does?           ·9· ·going to be erected, right?
10· · · ·A.· ·That's correct.                               10· · · ·A.· ·Correct.
11· · · ·Q.· ·We'll get into the specifics about this       11· · · ·Q.· ·And in this erection area -- and we'll
12· ·project in a little bit, but just from a general       12· ·get to the contract in a second -- but for a
13· ·standpoint, Borneke is usually hired on these          13· ·radius going out in each direction of the
14· ·wind farm projects as the excavating company,          14· ·turbine, for this project it was a 175 feet.
15· ·right?                                                 15· ·But that whole radius in that area makes up the
16· · · ·A.· ·That's correct.                               16· ·erection area, right?
17· · · ·Q.· ·And Borneke is hired because they've          17· · · ·A.· ·Yes.
18· ·done a whole number of these, and they're, like,       18· · · ·Q.· ·And in this erection area, the ground
19· ·experts in this field, right?                          19· ·needs to be prepared prior to ironworkers being
20· · · ·A.· ·That's correct.                               20· ·able to go in, right?
21· · · ·Q.· ·And Borneke knows what needs to be            21· · · ·A.· ·Correct.
22· ·done, what doesn't need to be done, and how to         22· · · ·Q.· ·And this would include things such as
23· ·do these things safely and reasonably, right?          23· ·clearing and grubbing, if necessary?
24· · · ·A.· ·That's correct.                               24· · · ·A.· ·Yes.
                                                       21                                                          23

·1· · · ·Q.· ·And, again, we'll get into the                ·1· · · ·Q.· ·The same thing for grading the land,
·2· ·specifics later, but some of the tasks, you            ·2· ·providing drainage, but also compacting the
·3· ·know, that kind of seem to carry over from             ·3· ·land, right?
·4· ·project-to-project are things like site                ·4· · · ·A.· ·Yes.
·5· ·clearing, creating lay-down yards, creating            ·5· · · ·Q.· ·Then from time to time throughout the
·6· ·access roads, excavating, backfilling,                 ·6· ·project, typically these erection areas, there
·7· ·compacting, and the whole plethora of other            ·7· ·is a portion of the contract that requires
·8· ·things.                                                ·8· ·Borneke to maintain these areas as well, right?
·9· · · · · · Does this sound about right, though?          ·9· · · ·A.· ·Yes, up until a certain point.
10· · · ·A.· ·Yes.                                          10· · · ·Q.· ·And then the whole idea is -- let's
11· · · ·Q.· ·All right.· And just from a general           11· ·just talk about the prep work with, you know,
12· ·standpoint, when you are bidding on this work,         12· ·grading, compacting, drainage.· You want these
13· ·you understand that Borneke is taking                  13· ·areas to be free and clear from ruts, or
14· ·essentially untouched farmland and converting a        14· ·standing water, and things like this, right?
15· ·small portion of that into a workable area,            15· · · ·A.· ·Yes, up until a certain point.
16· ·right?                                                 16· · · ·Q.· ·I think we can all agree that by
17· · · ·A.· ·Yes.                                          17· ·preparing the ground, the idea is you will do
18· · · ·Q.· ·And, like, for example, at the various        18· ·your best to prepare it so that large areas of
19· ·sites of the windmills, Borneke is hired to, in        19· ·standing water or large depressed areas don't
20· ·the erection areas, for example, like, grade,          20· ·form, that's why Borneke is hire, right?
21· ·compact, maintain, and provide drainage?               21· · · ·A.· ·Up until a certain point.
22· · · ·A.· ·Yes.                                          22· · · ·Q.· ·Well, what's that point?
23· · · ·Q.· ·And, again, a vast majority of these          23· · · ·A.· ·That point is when the turbine
24· ·farms, like 99, probably even more than that           24· ·components are actually delivered, that's the
                                                       22                                                          24

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·1· ·end of our maintenance.· And then --                   ·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·Okay.                                         ·2· · · ·Q.· ·And one of the ideas behind that is --
·3· · · ·A.· ·-- and then we'll come in afterwards.         ·3· ·and I know a plethora of things go into this --
·4· · · ·Q.· ·Yeah, but you do agree that you have to       ·4· ·but if the land is properly prepared, the idea
·5· ·prepare the land for this delivery, right?             ·5· ·is it might be less likely to have problems
·6· · · ·A.· ·Yes.                                          ·6· ·later on, like ruts or depressed areas, and
·7· · · ·Q.· ·And you have to prepare the land so           ·7· ·obviously things can change, but if the land is
·8· ·that it's adequate for not only delivery, but          ·8· ·prepared, it is more likely to perform better?
·9· ·also work being performed in these erection            ·9· · · ·A.· ·It's more likely, but it's not -- not a
10· ·areas?                                                 10· ·necessity.· It's not guaranteed.
11· · · ·A.· ·Yes, but we can only control so much.         11· · · ·Q.· ·No, nothing is guaranteed in the
12· ·There's other contractors that are using this          12· ·construction field, medical, or legal field, I
13· ·area when we're not on site.· So we can't              13· ·always say.· And there's always a whole slew of
14· ·control where they park machinery or how they          14· ·things that can happen.
15· ·affect drainage on the erection area.                  15· · · · · · But in a perfect world, the idea is if
16· · · ·Q.· ·But, again, my question still remains,        16· ·you prepare the ground properly, it will perform
17· ·part of the responsibility is to prepare the           17· ·properly for what comes next, right?
18· ·land?· Even if you think that that ends at a           18· · · ·A.· ·Under the right conditions.
19· ·certain point, is to prepare the land for what         19· · · ·Q.· ·And you agree that if the areas are
20· ·is coming next essentially --                          20· ·properly graded, at least when they're graded
21· · · ·A.· ·Correct.                                      21· ·and compacted, there's not supposed to be large
22· · · ·Q.· ·-- because prior to you coming in --          22· ·ruts or depressed areas in these erection areas,
23· ·I'm sorry, you said correct?                           23· ·right?
24· · · ·A.· ·Yes.                                          24· · · ·A.· ·No, that's not correct.· It depends
                                                       25                                                          27

·1· · · ·Q.· ·Then because prior to you coming in,          ·1· ·upon the conditions.
·2· ·this is untouched farmland essentially, right?         ·2· · · ·Q.· ·Well, we will have a field day with the
·3· · · ·A.· ·Correct.                                      ·3· ·scope of work when we get to it in a second,
·4· · · ·Q.· ·And you agree from a general                  ·4· ·then, if that's your testimony.
·5· ·standpoint, just generally speaking, if areas          ·5· · · · · · So you're telling me that you're not
·6· ·are properly graded and compacted, one of the          ·6· ·supposed to prepare the grounds so there's no
·7· ·ideas is this will help prevent depressed areas        ·7· ·depressed areas or ruts in erections sites?
·8· ·or large ruts to form, right?                          ·8· · · ·A.· ·That's the intent, but if you have
·9· · · ·A.· ·Not necessarily, no.                          ·9· ·three days of solid rain, you're going to have
10· · · ·Q.· ·So then why do you -- well, if that's         10· ·issues if you drive heavy machinery or try to
11· ·not the case, why are excavators even hired?           11· ·put crane mats on that subgrade.
12· · · ·A.· ·Well, there's certain conditions where        12· · · ·Q.· ·And, again, my question still remains,
13· ·you really can't even put grade -- if you have a       13· ·things happen on a construction site, sometimes
14· ·hundred percent flat farm field, sometimes you         14· ·it rains, right?
15· ·can't produce drainage, the proper drainage.           15· · · ·A.· ·Yes.
16· ·Or, like I said, if another contractor                 16· · · ·Q.· ·Sometimes it snows?
17· ·influences the grade, and we're not on site,           17· · · ·A.· ·Yes.
18· ·then you're not going to get the proper                18· · · ·Q.· ·Sometimes it's dry?
19· ·drainage.                                              19· · · ·A.· ·Correct.
20· · · ·Q.· ·Okay.· But from a general standpoint,         20· · · ·Q.· ·Borneke has been doing this for over --
21· ·you agree that part of the reasons why you are         21· ·in your testimony, approximately a hundred wind
22· ·hired is to grade and compact the land so that         22· ·farm projects, and they've probably seen
23· ·it's able to effectuate delivery and erection of       23· ·everything from rain, snow, dryness, and
24· ·the turbines, right?                                   24· ·everything in between, right?
                                                       26                                                          28

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·1· · · ·A.· ·Correct.                                      ·1· ·process.
·2· · · ·Q.· ·And their job is, to the best of their        ·2· · · ·Q.· ·But as the excavating company who's
·3· ·abilities, to prepare for these various                ·3· ·done this a hundred times, Borneke knows what is
·4· ·conditions?                                            ·4· ·going to come and be delivered to the various
·5· · · ·A.· ·That's correct.                               ·5· ·sites, right?
·6· · · ·Q.· ·And to the best of their abilities,           ·6· · · ·A.· ·Yes.
·7· ·prepare the ground for these various condition?        ·7· · · ·Q.· ·Borneke knows that a crane is going to
·8· · · ·A.· ·That's correct.                               ·8· ·come in these erection areas, right?
·9· · · ·Q.· ·Otherwise, you guys would be irrelevant       ·9· · · ·A.· ·Yes.
10· ·if you're -- if you're not needed, you're not          10· · · ·Q.· ·Borneke knows that various semi trucks
11· ·needed, but you are needed, right?                     11· ·are going to come in and deliver heavy pieces of
12· · · ·A.· ·Correct.                                      12· ·equipment, right?
13· · · ·Q.· ·And, again, from a general standpoint,        13· · · ·A.· ·Yes.
14· ·when you go and prepare these erection areas,          14· · · ·Q.· ·And to the best of Borneke's ability,
15· ·some of the things you need to do is provide           15· ·they're supposed to prepare the ground for this,
16· ·proper drainage and grading, right?                    16· ·right?
17· · · ·A.· ·Correct, up to a certain point.               17· · · ·A.· ·Yes.
18· · · ·Q.· ·Sure.· Let's keep qualifying, that's          18· · · ·Q.· ·And to the best of their ability, if
19· ·okay.· But, initially, you need to compact the         19· ·they prepare the ground properly, the idea is
20· ·land so that it's prepared for things to come,         20· ·the ground does not just simply cave in
21· ·right?                                                 21· ·underneath trucks or pieces of equipment, right?
22· · · ·A.· ·Correct.                                      22· · · ·A.· ·Well, that's the intent.
23· · · ·Q.· ·And as an excavating company, you             23· · · ·Q.· ·Of course.· So you'd agree with me,
24· ·understand that it's important to make sure the        24· ·then?
                                                       29                                                          31

·1· ·ground conditions are safe for things that are         ·1· · · ·A.· ·Up until a certain point.· We can't
·2· ·going to be coming later, right?                       ·2· ·control when other contractors go on the site.
·3· · · ·A.· ·Yeah, up until a certain point.               ·3· ·We can't stop them from entering the erection
·4· · · ·Q.· ·Well, again, before you come in --            ·4· ·area if we've had a three day rain or if the
·5· ·fine, let's -- let's go that route.                    ·5· ·ground is too saturated to maintain the
·6· · · · · · So is it your testimony that when             ·6· ·stability.
·7· ·you're done as the excavating company, you could       ·7· · · ·Q.· ·Well, would the same ring true for a
·8· ·care less what happens to the ground after you         ·8· ·crane pad?· Are you saying at a certain point if
·9· ·leave, as long as you give it a once over?             ·9· ·the crane tips over, who cares, we did our job?
10· · · ·A.· ·Once -- once the area has been signed         10· · · ·A.· ·Yeah, I mean, we don't have any control
11· ·off, we move on, unless we're called back to           11· ·of that.
12· ·that site to help out.· But, generally, once the       12· · · ·Q.· ·So you're telling me on a job site that
13· ·erection area is complete and it's signed off,         13· ·you, Borneke, performs, if a crane tips over,
14· ·then the other contractors move in and do their        14· ·it's not your problem?
15· ·work.                                                  15· · · ·A.· ·That's not our problem.· That's
16· · · ·Q.· ·Yes, of course.· But you'd still agree,       16· ·engineering, geotech, and so forth to hit the --
17· ·though, that as the excavating company, part of        17· ·hit the proper density of a subgrade.
18· ·your job is to prepare the land for what is            18· · · ·Q.· ·Well, part of your responsibility as
19· ·coming next, and that includes delivery and            19· ·the excavating company is to prepare the ground
20· ·erection, right?                                       20· ·and compact it so that this does not happen,
21· · · ·A.· ·Up until delivery.· Once delivery             21· ·right?
22· ·occurs, generally Mortenson will come in with          22· · · ·A.· ·Yeah, we're not responsible for the
23· ·their cranes.· And they have their own dozers to       23· ·testing on these projects, and that -- that
24· ·help with maintaining the site during that             24· ·falls under Mortenson's scope.· So if there's a
                                                       30                                                          32

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·1· ·specific density that the subgrade must meet,          ·1· ·crane pad, Borneke had to do so to spec, and
·2· ·that's -- that's on them.                              ·2· ·part of the idea behind that is so the crane
·3· · · ·Q.· ·But you're the company that prepares          ·3· ·does not tip over underneath the crane pad,
·4· ·the ground to specification, right?                    ·4· ·right?
·5· · · ·A.· ·Correct.                                      ·5· · · ·A.· ·That's correct.
·6· · · ·Q.· ·So whatever specifications are, that's        ·6· · · ·Q.· ·Then, additionally, while a whole
·7· ·fine, but it's still on Borneke to prepare it to       ·7· ·plethora of things can happen on these job
·8· ·those specifications, right?                           ·8· ·sites, you'd agree from a general standpoint
·9· · · ·A.· ·Correct.                                      ·9· ·Borneke has to prepare the erection areas for
10· · · ·Q.· ·So, again, my question remains, then,         10· ·delivery?
11· ·there are specifications for erection areas,           11· · · ·A.· ·That's correct.
12· ·right?                                                 12· · · ·Q.· ·And part of this -- again, I know
13· · · ·A.· ·As far as levelness, yes.                     13· ·you're going to qualify it -- but the idea
14· · · ·Q.· ·And compaction, I saw it in the               14· ·behind this is to prepare the ground so that it
15· ·contract?                                              15· ·simply does not cave in underneath the weight of
16· · · ·A.· ·Yeah, but I'm not sure that it has to         16· ·semi trucks or equipment, right?
17· ·meet a certain percentage of density.                  17· · · ·A.· ·Yeah, under certain conditions.
18· · · ·Q.· ·What about for crane pads?                    18· · · ·Q.· ·Yeah, under certain conditions, and
19· · · ·A.· ·Crane pads is a different story.              19· ·those conditions are what's coming next?
20· · · ·Q.· ·But you'd agree that -- you're kind of        20· · · ·A.· ·Is that a question?
21· ·saying two things here.· At one point you're           21· · · ·Q.· ·Yes.
22· ·saying if the crane tips over, who cares.· But         22· · · ·A.· ·Oh.· Yeah, we -- we prepare up until
23· ·now you're saying we're going to do it to spec.        23· ·turbine component delivery.
24· · · · · · So which one --                               24· · · ·Q.· ·And by preparing it, you're preparing
                                                       33                                                          35

·1· · · ·MR. SULLIVAN:· I'm going to object.· It            ·1· ·the ground so that it can hopefully support the
·2· ·mischaracterizes his testimony.· He never said         ·2· ·turbine delivery, right?
·3· ·if a crane tips over, who cares.· That was your        ·3· · · ·A.· ·Under -- under the right conditions.
·4· ·words.                                                 ·4· · · ·Q.· ·And, sir, I get what you're trying to
·5· · · ·MR. TERRY:· I'll use his words.· He said it's ·5· ·do, and it's not helping this process move any
·6· ·not his problem.                                       ·6· ·faster.· Just please answer the questions that
·7· · · ·MR. SULLIVAN:· Go ahead.                           ·7· ·are asked.
·8· ·BY MR. TERRY:                                          ·8· · · · · · I'm asking you -- you understand that
·9· · · ·Q.· ·I'm just trying to figure out which one       ·9· ·on these projects, if you don't prepare the
10· ·is it?· Do you prepare the specs so the crane          10· ·ground, no work can be done, right?
11· ·doesn't tip over, or do you not?                       11· · · ·A.· ·That's correct.
12· · · ·A.· ·We follow the guidelines and build the        12· · · ·Q.· ·And part of your job is to make sure
13· ·erection areas to spec.                                13· ·that when these pieces of equipment come, they
14· · · ·Q.· ·Okay.· And part of that is ensuring           14· ·don't just sink into the ground and roll away,
15· ·that the crane pad is built to spec, and the           15· ·right?
16· ·idea behind it is so the crane does not tip            16· · · ·A.· ·I can't control the conditions.
17· ·over, right?                                           17· · · ·Q.· ·So you're telling me -- the same thing
18· · · ·A.· ·Are we talking about the crane pads or        18· ·you said with the crane.· If it tips over, it's
19· ·the erection areas?                                    19· ·not your problem.· The same thing with the
20· · · ·Q.· ·Well, the crane pad is in the erection        20· ·pieces of equipment that come in?
21· ·area, and right now, we're talking about the           21· · · ·A.· ·I'm not responsible for the weather or
22· ·crane pad specifically.· So the crane pad.             22· ·the conditions that -- that heavy rains or
23· · · ·A.· ·Okay, and what's the question?                23· ·winter-like conditions would bring to an
24· · · ·Q.· ·You would agree that by creating the          24· ·erection area site.
                                                       34                                                          36

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·1· · · ·Q.· ·I'm not saying you're responsible for         ·1· ·areas, right?
·2· ·making it rain or making it snow.· What I'm            ·2· · · ·A.· ·Correct, and --
·3· ·saying is your job at Borneke is to help make          ·3· · · ·Q.· ·And -- I'm sorry.
·4· ·the ground able to support the weights of the          ·4· · · ·A.· ·And that's part of the maintenance.
·5· ·crane, the weights of the trucks, to the best of       ·5· · · ·Q.· ·It's also part of the prep?
·6· ·your ability?                                          ·6· · · ·A.· ·Yes, up until the components are
·7· · · ·A.· ·To help --                                    ·7· ·delivered, and then maintenance takes over.
·8· · · ·Q.· ·Otherwise --                                  ·8· · · ·Q.· ·And, sir, I'm going to ask you to
·9· · · ·A.· ·-- to help to the best of our ability,        ·9· ·answer my questions in the way I ask them, and
10· ·that's correct.                                        10· ·Mr. Sullivan can ask you any follow-up that he
11· · · ·Q.· ·Otherwise, you'd agree there's no point       11· ·likes, so you can get any qualifications out
12· ·in having an excavating company if you're just         12· ·that you want.· But you're not answering my
13· ·going to say, well, we can't do anything about         13· ·questions in the way that I'm asking them.
14· ·it anyway, so why do anything?                         14· ·You're answering a different question every
15· · · ·A.· ·Yes.                                          15· ·time.· Just please answer the questions that I
16· · · ·Q.· ·So you do agree that Borneke is               16· ·ask you.
17· ·supposed to prepare the ground so that it does         17· · · ·MR. SULLIVAN:· I think he has answered those.
18· ·not sink in underneath the weight of semi trucks       18· ·He's answered your question.
19· ·or equipment?· Again, certain things might             19· · · ·MR. TERRY:· He's not, and if we have to break
20· ·happen like rain or snow, but the idea is              20· ·and have this done with someone supervising the
21· ·Borneke prepares the ground to the best possible       21· ·deposition, so be it.· But every questions,
22· ·standards, so that way these things don't happen       22· ·there's a 30 second qualification for a yes or
23· ·or they happen less, right?                            23· ·no answer.
24· · · ·A.· ·Yes, that's our intent.                       24· · · ·MR. SULLIVAN:· I happen to disagree, but go
                                                       37                                                          39

·1· · · ·Q.· ·That's your intent.· That's what you          ·1· ·ahead, that's fine.
·2· ·are contracted to perform?                             ·2· · · ·MR. TERRY:· Okay.
·3· · · ·A.· ·Up to a certain point, yes.                   ·3· ·BY MR. TERRY:
·4· · · ·Q.· ·Well, again, this is going to be fun          ·4· · · ·Q.· ·Let's get into this project
·5· ·going through the scope of work, because a             ·5· ·specifically.
·6· ·certain point says throughout the duration of          ·6· · · · · · You understand that on the Mendota
·7· ·the project?                                           ·7· ·Hills project, Borneke was the excavating
·8· · · ·A.· ·No, it says up until turbine component        ·8· ·company, right?
·9· ·delivery.                                              ·9· · · ·MR. SULLIVAN:· Mark, did you freeze on us?
10· · · ·Q.· ·We will get into that in a second.            10· · · ·MR. TERRY:· Chris, can you still hear me?
11· · · · · · You agree that as the excavating              11· · · ·MR. SULLIVAN:· Yes.
12· ·company and the project manager for the                12· · · ·MR. TERRY:· Okay.· Let's go off the record
13· ·excavating company, you understand that various        13· ·for a second.
14· ·trades are going to be coming in after you             14· · · · · · · ·(Zoom technical difficulties.)
15· ·prepare the ground, and the ground needs to be         15· · · · · · · · · ·(Recess taken.)
16· ·prepared in a way so that the work can be              16· · · ·MR. TERRY:· Back on the record.
17· ·performed, right?                                      17· ·BY MR. TERRY:
18· · · ·A.· ·That's correct.                               18· · · ·Q.· ·Mark, before get into the specific
19· · · ·Q.· ·Okay.                                         19· ·project actually, both Mr. Brad Bennett and
20· · · ·A.· ·But it also requires maintenance to           20· ·Mr. Nick Borneke gave depositions in this
21· ·maintain.                                              21· ·matter, and they both testified that part of the
22· · · ·Q.· ·Of course.· And additionally, preparing       22· ·responsibility of Borneke Construction is to
23· ·the ground, this compacting, this grading, it's        23· ·prepare the ground for the deliveries in the
24· ·also important to provide drainage in these            24· ·work that is coming next.
                                                       38                                                          40

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·1· · · · · · Do you disagree with this?                    ·1· ·as the equipment.
·2· · · ·A.· ·No.                                           ·2· · · · · · Do you disagree with this?
·3· · · ·Q.· ·And both of them testified that in            ·3· · · ·A.· ·No.
·4· ·preparing the ground, they're supposed to              ·4· · · ·Q.· ·And they both testified that part of
·5· ·compact it, and grade it, so that way, equipment       ·5· ·Borneke's responsibility is to prepare, for
·6· ·doesn't sink into the ground, to the best of           ·6· ·example, crane pads, and that the crane pads
·7· ·their ability.                                         ·7· ·should never, no matter what, tip over, because
·8· · · · · · Do you disagree with this?                    ·8· ·this is prepared to specific specifications.
·9· · · ·A.· ·No.                                           ·9· · · · · · Do you disagree with this still?
10· · · ·Q.· ·And both of them also testified that in       10· · · ·A.· ·I don't understand the question.
11· ·compacting the ground, the idea is that the            11· · · ·Q.· ·Well, before you said if a crane pad or
12· ·ground will not sink underneath the weight of          12· ·if a crane tips over, it's not your problem
13· ·semi trucks or pieces of equipment, such that          13· ·because you can't prepare for everything.· Both
14· ·there's depressed areas where water can pool and       14· ·Brad Bennett and Nick Borneke testified that
15· ·form.                                                  15· ·when you prepare a crane pad, you are preparing
16· · · · · · Do you disagree with this?                    16· ·the ground so that this never happens, because
17· · · ·A.· ·No.                                           17· ·that can't happen.
18· · · ·Q.· ·Okay.                                         18· · · · · · Do you disagree with this?
19· · · ·A.· ·But --                                        19· · · ·A.· ·Yeah, I guess I was just thrown back.
20· · · ·Q.· ·And both of them -- I'm sorry?                20· ·You said crane pad tip over, you kind of threw
21· · · ·A.· ·As long as the conditions are adequate.       21· ·me off.· Can you repeat the question?
22· · · ·Q.· ·Okay.· And both of them also testified        22· · · ·Q.· ·Do you disagree that Borneke is
23· ·that Borneke Construction has been doing this          23· ·preparing the ground underneath the crane pad so
24· ·for 20 plus years, and sometimes conditions on         24· ·that the crane should never tip over?
                                                       41                                                          43

·1· ·sites are good, and sometimes conditions on            ·1· · · ·A.· ·Yes, under the right conditions.
·2· ·sites are bad, and Borneke Construction prepares       ·2· · · ·Q.· ·You do disagree?
·3· ·the ground in the best way they can for the            ·3· · · ·A.· ·No, I -- I agree that the crane should
·4· ·various conditions.                                    ·4· ·not tip over under the right conditions.
·5· · · · · · Do you disagree with this?                    ·5· · · ·Q.· ·Okay.· And, again, you agree, like both
·6· · · ·A.· ·No.                                           ·6· ·Mr. Borneke and Mr. Bennett testified, that if
·7· · · ·Q.· ·So you agree, then, to the best of            ·7· ·the ground is sinking in underneath pieces of
·8· ·Borneke's abilities, based on the various              ·8· ·equipment because it wasn't -- the ground was
·9· ·conditions that present itself on each job site,       ·9· ·not compacted or graded properly, this is
10· ·part of the requirement in these erection areas,       10· ·evidence that the ground was not prepared right;
11· ·like both Nick Borneke and Brad Bennett                11· ·would you agree?
12· ·testified, is to prepare the ground so that            12· · · ·MR. SULLIVAN:· Objection, it misstates
13· ·equipment does not sink into it where depressed        13· ·testimony.
14· ·areas can form.                                        14· · · · · · Go ahead, if you understood the
15· · · · · · You would agree, right?                       15· ·question.
16· · · ·A.· ·Yes.                                          16· · · ·THE WITNESS:· I don't agree.
17· · · ·Q.· ·And the same thing, you would agree,          17· ·BY MR. TERRY:
18· ·like they have both testified, that they               18· · · ·Q.· ·So you think it's normal on job sites
19· ·understand semi trucks are going to drive down         19· ·for Borneke to give ground a once over, and then
20· ·access roads to these erection areas where             20· ·just let pieces of equipment sink into the
21· ·pieces of equipment are going to be offloaded,         21· ·ground?
22· ·and they both testified the idea is if the             22· · · ·A.· ·If the conditions allow that, yes.
23· ·ground is prepared properly, the ground will be        23· · · ·Q.· ·Well, your job is to prepare for the
24· ·able to support the weight of the truck as well        24· ·various conditions, you just testified to that.
                                                       42                                                          44

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·1· · · ·A.· ·To a certain degree.                          ·1· · · ·A.· ·That's correct.
·2· · · ·Q.· ·So to a certain degree, you agree             ·2· · · ·Q.· ·Additionally, things such as drainage,
·3· ·Borneke's role on these projects is to the best        ·3· ·grubbing, and clearing, all this is also part of
·4· ·of their abilities, preparing the ground so that       ·4· ·Borneke's job prior to work commencing at these
·5· ·equipment and trucks don't sink into the ground,       ·5· ·erection areas, right?
·6· ·to the best of Borneke's ability.· You would at        ·6· · · ·A.· ·That's correct.
·7· ·least agree with that, right?                          ·7· · · ·Q.· ·And providing adequate drainage, you
·8· · · ·A.· ·Correct.                                      ·8· ·would agree, is an important part of this
·9· · · ·Q.· ·Okay.· Now let's get into the specific        ·9· ·responsibility?
10· ·project as a whole.                                    10· · · ·A.· ·Correct, when possible.
11· · · · · · Borneke's role on the Mendota Hills           11· · · ·Q.· ·No, not when possible, because that's
12· ·project was the excavating company, right?             12· ·not what the contract says, and we'll get to it
13· · · ·A.· ·Correct.                                      13· ·in a second.
14· · · ·Q.· ·As the project manager, were you on           14· · · · · · You are supposed to provide drainage at
15· ·site, or no?                                           15· ·these erection areas, and that includes
16· · · ·A.· ·No.                                           16· ·sometimes adding or taking away land if
17· · · ·Q.· ·Did you ever go on site?                      17· ·necessary, right?
18· · · ·A.· ·No.                                           18· · · ·A.· ·Yeah.· To a certain extent, yes.
19· · · ·Q.· ·We're going to talk about erection            19· · · ·Q.· ·Because if water pools near a turbine,
20· ·areas, because that's what's at issue here, and        20· ·or if the drainage is not going away from where
21· ·I want to save some time.                              21· ·the turbine is going to go, this could lead to a
22· · · · · · You understand that on a various wind         22· ·whole plethora of problems, right?
23· ·farm, this one in particular, there are various        23· · · ·A.· ·It can, yes.
24· ·turbine sites.· And on this one, they were             24· · · ·Q.· ·For example, it can cause the ground to
                                                       45                                                          47

·1· ·numbered 1 through 29.· You understand that,           ·1· ·soften up more easily?
·2· ·correct?                                               ·2· · · ·A.· ·Yes.
·3· · · ·A.· ·Correct.                                      ·3· · · ·Q.· ·And it can cause damage to various
·4· · · ·Q.· ·And these, on the site map, would be          ·4· ·pieces of equipment?
·5· ·like the letter T1, T2, all the way through 29,        ·5· · · ·A.· ·Correct.
·6· ·right?                                                 ·6· · · ·Q.· ·Or it can simply cause tripping and
·7· · · ·A.· ·Correct.                                      ·7· ·slipping hazards for workers to come later on,
·8· · · ·Q.· ·And at the T sites, this is literally         ·8· ·right?
·9· ·where the turbine is going to be erected, right?       ·9· · · ·A.· ·Yes.
10· · · ·A.· ·Correct.                                      10· · · ·Q.· ·And you agree that if there is proper
11· · · ·Q.· ·Then the surrounding area for a radius        11· ·drainage, one of the benefits is that it is less
12· ·of 175 feet is the erection area, right?               12· ·likely that water will pool and potentially
13· · · ·A.· ·Correct.                                      13· ·freeze, right?
14· · · ·Q.· ·Then the foundation is literally where        14· · · ·A.· ·Yes.
15· ·the turbine is going to be erected, right?             15· · · ·Q.· ·And you also agree that if there is
16· · · ·A.· ·That's correct.                               16· ·proper drainage, and there is not standing
17· · · ·Q.· ·And in the erection area, in addition         17· ·water, it is less likely that ruts will form
18· ·to having the crane be put up there, this is           18· ·because the ground is less soft, right?
19· ·literally where work is going to be performed          19· · · ·A.· ·Yes.
20· ·and deliveries are going to be made, right?            20· · · ·Q.· ·And in addition to this, and we'll get
21· · · ·A.· ·That's correct.                               21· ·to it in the contract in a second, but Borneke
22· · · ·Q.· ·And part of Borneke's job prior to this       22· ·has a responsibility for periodic maintenance of
23· ·happening is to grade and compact the erection         23· ·the areas it has already worked on, right?
24· ·area?                                                  24· · · ·A.· ·Up until turbine component delivery,
                                                       46                                                          48

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·1· ·yes.                                                   ·1· ·between Mortenson and Borneke for the work
·2· · · ·Q.· ·So after turbine component delivery,          ·2· ·Borneke agrees to perform, right?
·3· ·you don't care what happens, it's not your job?        ·3· · · ·A.· ·Correct.
·4· · · ·A.· ·I care, but it's not our -- it's not in       ·4· · · ·Q.· ·And it spells out what is negotiated
·5· ·our contract to maintain after the components          ·5· ·and agreed upon by the parties, right?
·6· ·are delivered.                                         ·6· · · ·A.· ·Correct.
·7· · · ·Q.· ·Well, I'm glad you said that, because         ·7· · · ·Q.· ·And any work that is stated in this
·8· ·the contract says otherwise, and we'll get into        ·8· ·document, including the scope of work, is work
·9· ·that.                                                  ·9· ·that Borneke bid for, contracted for, and
10· · · · · · I want to show you what's been marked         10· ·undertook the responsibility to perform, right?
11· ·as exhibit -- or what will be marked as                11· · · ·A.· ·Correct.
12· ·Exhibit 1 for your deposition.· Sir, this is a         12· · · ·Q.· ·And you'd agree that any work in this
13· ·59-page document, and it says M.A. Mortenson           13· ·project, any work in this contract, in the scope
14· ·Company Subcontract Agreement.· It lists               14· ·of work, needs to be performed suitably,
15· ·Mortenson as the contractor, and a Don Borneke         15· ·reasonably, safely, and properly, right?
16· ·as a subcontractor.· And under Section 1 it            16· · · ·A.· ·Correct.
17· ·discusses the Mendota Hills Repowering Project.        17· · · ·Q.· ·Now let's go on -- just look through
18· · · · · · Does this appear to be the contract of        18· ·the document.· You agree that Page 1 discusses
19· ·the subject project?                                   19· ·the various documents that are part of this,
20· · · ·A.· ·Yes.                                          20· ·like we talked about, the scope of work, and
21· · · · · · · · · ·(Whereupon, SIKEL Deposition           21· ·various other things, correct?
22· · · · · · · · · · Exhibit No. 1 was marked for          22· · · ·A.· ·Yes.
23· · · · · · · · · · identification.)                      23· · · ·Q.· ·And then Part 2, if we literally go
24                                                          24· ·down to scope of work, it says, in summarizing,
                                                       49                                                          51

·1· ·BY MR. TERRY:                                          ·1· ·scope of work is attached in Exhibit A, right?
·2· · · ·Q.· ·And does this appear to be a true and         ·2· · · ·A.· ·Okay, yep.
·3· ·accurate copy of that contract?                        ·3· · · ·Q.· ·Do you agree?
·4· · · ·A.· ·It looks like it, yes.                        ·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·And if we scroll through it, just for         ·5· · · ·Q.· ·And then if we go on to Page 3, as we
·6· ·sake of completeness, for example, on Page 3, we       ·6· ·talked about, this is your electronic signature
·7· ·have your signature as well as the electronic          ·7· ·on this document, right?
·8· ·signature of Andy Black from Mortenson?                ·8· · · ·A.· ·Yes.
·9· · · ·A.· ·Yes.                                          ·9· · · ·Q.· ·Do you remember looking at, agreeing
10· · · ·Q.· ·And then if we scroll further, we have        10· ·to, and signing this contract on behalf of
11· ·various term and conditions, as well as the            11· ·Borneke?
12· ·scope of work, right?                                  12· · · ·A.· ·No, I don't remember it, but my
13· · · ·A.· ·Yes.                                          13· ·signature is there, so.
14· · · ·Q.· ·And I'll keep scrolling just for a            14· · · ·Q.· ·Do you remember your work on the -- for
15· ·second.· We have the purchase price, document          15· ·the Mendota Hills Repowering Project?
16· ·list, safety programs, quality assurance               16· · · ·A.· ·Specifically what work?
17· ·programs, insurance requirements, and a whole          17· · · ·Q.· ·Your work.
18· ·bunch of other things going all the way to the         18· · · ·A.· ·Yeah, I remember the project.
19· ·application for payment.                               19· · · ·Q.· ·So you remember bidding for it,
20· · · · · · So, now that we've scrolled this, does        20· ·negotiating, contracting for it?
21· ·this appear to be a true and accurate copy of          21· · · ·A.· ·Yes, I remember parts of it, yeah.
22· ·the contract?                                          22· · · ·Q.· ·And part of that would be signing the
23· · · ·A.· ·Yes.                                          23· ·contract when everything is agreed to?
24· · · ·Q.· ·And these contracts are agreements            24· · · ·A.· ·Yeah.· Yeah.· Okay.
                                                       50                                                          52

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·1· · · ·Q.· ·And so you'd agree with that, that this       ·1· · · ·Q.· ·And, then, again, if we continue
·2· ·is your signature agreeing to the --                   ·2· ·forward on to Page 14, this is, again, yours and
·3· · · ·A.· ·I agree it's my signature.· I don't           ·3· ·Andy Black's signature agreeing to these various
·4· ·remember signing this piece of paper                   ·4· ·terms, correct?
·5· ·three-and-half years ago, so.                          ·5· · · ·A.· ·Correct.
·6· · · ·Q.· ·That's okay, but let me finish my             ·6· · · ·Q.· ·And if we go on to Page 17, this is
·7· ·question.                                              ·7· ·under supplementary terms and conditions, you
·8· · · ·A.· ·Okay.                                         ·8· ·can see that, correct?
·9· · · ·Q.· ·Do you agree that this is your                ·9· · · ·A.· ·Correct.
10· ·signature on behalf of Borneke, agreeing to            10· · · ·Q.· ·If we go on to the third page of those
11· ·comply with the terms of the contract by               11· ·terms and conditions, can you see Subpart H?
12· ·Borneke's work on this project, right?                 12· · · ·A.· ·Yes.
13· · · ·A.· ·Yes.                                          13· · · ·Q.· ·Right where my mouse is.
14· · · ·Q.· ·Okay.· I want to skip ahead a little          14· · · ·A.· ·Yes.· Yes, sir.
15· ·bit, just a couple of things I want to talk            15· · · ·Q.· ·You agree that it says:· Subcontractor
16· ·about before we get into the scope of work.            16· ·shall coordinate all deliveries with the
17· · · · · · You agree that this, on Page 10, would        17· ·Mortenson on site superintendent, right?
18· ·be the insurance requirements for this project,        18· · · ·A.· ·Yes.
19· ·correct?                                               19· · · ·Q.· ·You agree that coordinating with
20· · · ·A.· ·Yes.                                          20· ·Mortenson for deliveries from -- as the
21· · · ·Q.· ·I want to just ask you the difference         21· ·excavating company, is a very important task to
22· ·here, employer's liability versus commercial           22· ·do, right?
23· ·general liability.                                     23· · · ·A.· ·Yes.
24· · · · · · Is employer's liability kind of like          24· · · ·Q.· ·And part of this is you need to make
                                                       53                                                          55

·1· ·workmen's comp coverage?                               ·1· ·sure the roads you prepared, the erection areas,
·2· · · ·A.· ·Yes.                                          ·2· ·are able to support the various deliveries and
·3· · · ·Q.· ·And on this project, were you also            ·3· ·the components used to make the deliveries,
·4· ·insuring the Mortenson workers under your policy       ·4· ·right?
·5· ·as well?                                               ·5· · · ·A.· ·Yes.
·6· · · ·A.· ·I'm sure what is covered under the            ·6· · · ·Q.· ·Okay.· So Borneke knows when the
·7· ·umbrella, yes.                                         ·7· ·deliveries are going to be made, and they, in
·8· · · ·Q.· ·So if a Mortenson employee would be           ·8· ·fact, coordinate with Mortenson, right?
·9· ·injured, the workers' compensation would               ·9· · · ·A.· ·Correct.
10· ·typically be handled through your insurance,           10· · · ·Q.· ·Now let's go on to Page 20.
11· ·then?                                                  11· · · · · · You agree that this is the scope of
12· · · ·A.· ·I agree -- I believe so, yes.                 12· ·work, correct?
13· · · ·Q.· ·So this first million up here for             13· · · ·A.· ·Correct.
14· ·employer's liability, that would be for things         14· · · ·Q.· ·And this is an 11-page document, as you
15· ·like workmen's compensation, right?                    15· ·can see at the bottom, right?
16· · · ·A.· ·Correct.                                      16· · · ·A.· ·Yes.
17· · · ·Q.· ·And then underneath the commercial            17· · · ·Q.· ·But it's all part of the contract.· For
18· ·general liability, it looks like there's a five        18· ·ease, I didn't break them up.· You understand
19· ·million underlying and a five million in excess.       19· ·that this is still the 11-page scope of work for
20· ·Does that appear correct?                              20· ·this Mendota Hills Repowering Project, correct?
21· · · ·A.· ·Yes.                                          21· · · ·A.· ·Correct.
22· · · ·Q.· ·And these are all things that Borneke         22· · · ·Q.· ·Let's go under the general requirements
23· ·agrees to provide for this project, correct?           23· ·on Page 1, Section 2.1 general.· Do you see
24· · · ·A.· ·Correct.                                      24· ·that?
                                                       54                                                          56

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·1· · · ·A.· ·Yes.                                          ·1· ·subgrade, placement and compaction of aggregate
·2· · · ·Q.· ·Under D, you agree it says:                   ·2· ·material, right?
·3· ·Subcontractor agrees to procure, provide, and          ·3· · · ·A.· ·Correct.
·4· ·pay for all materials, equipment, tools,               ·4· · · ·Q.· ·So this is what we were talking about
·5· ·consumables, labor, transportation, supervision,       ·5· ·before.· Sometimes Borneke has to come in, strip
·6· ·temporary office requirements, administration,         ·6· ·the ground, compact it, put more ground on top,
·7· ·and other costs required to complete the work.         ·7· ·and compact it again, right?
·8· · · · · · Did I read that correctly?                    ·8· · · ·A.· ·Correct.
·9· · · ·A.· ·Yes.                                          ·9· · · ·Q.· ·So sometimes even if the ground may not
10· · · ·Q.· ·So, this is kind of commonsense, but in       10· ·be level, or too level, whatever it is, Borneke
11· ·essence, this is saying that Borneke is                11· ·can come in, strip certain areas, prepare it,
12· ·contracted to perform certain work, and they're        12· ·and then put the aggregate back on top and
13· ·responsible to furnish the means to do that            13· ·compact it again, right?
14· ·work, right?                                           14· · · ·A.· ·Yes.
15· · · ·A.· ·Correct.                                      15· · · ·Q.· ·And then under I:· At a minimum,
16· · · ·Q.· ·Now let's go under Page 2 of 11,              16· ·subgrade shall be prepared in accordance with
17· ·Section 2.3.· These are some of the tasks we           17· ·and meet the compaction requirements set forth
18· ·were talking about earlier, like clearing and          18· ·in the design documents prior to installing
19· ·grubbing.· This is one of the things that is           19· ·aggregate material, right?
20· ·common on these projects to have to do some of,        20· · · ·A.· ·Yes.
21· ·right?                                                 21· · · ·Q.· ·And it says:· Subcontractor is aware
22· · · ·A.· ·Correct.                                      22· ·that some areas of the road subgrade may need to
23· · · ·Q.· ·The same thing with creating a                23· ·be addressed with additional subgrade material
24· ·construction trailer/lay-down yard, right?             24· ·or corrected per the design documents, right?
                                                       57                                                          59

·1· · · ·A.· ·Yes.                                          ·1· · · ·A.· ·Correct.
·2· · · ·Q.· ·If we go on to Page 3, turbine access         ·2· · · ·Q.· ·So, again, like what we were talking
·3· ·roads, let's start with Section A.· It says:           ·3· ·about earlier, it's not just to whatever you
·4· ·Subcontractor shall construct access roads to          ·4· ·think is fit, it's to the specifications,
·5· ·each individual wind turbine as detailed in the        ·5· ·Borneke has to do its work, right?
·6· ·design documents, right?                               ·6· · · ·A.· ·Yes.
·7· · · ·A.· ·Correct.                                      ·7· · · ·Q.· ·And that includes sometimes compacting
·8· · · ·Q.· ·And then it says under E, that the            ·8· ·the ground, adding aggregate, and a whole
·9· ·roads shall have a maximum deviation of 9 inches       ·9· ·plethora of other things, right?
10· ·rise or fall within any 100 foot span, and shall       10· · · ·A.· ·Correct.
11· ·be level within one percent across the entire          11· · · ·Q.· ·Okay.· Under N:· Subcontractor shall
12· ·width including the shoulders or as specified in       12· ·construct temporary access roads/radii required,
13· ·design documents, right?                               13· ·and that's R-A-D-I-I, required to facilitate the
14· · · ·A.· ·Yes.                                          14· ·delivery of turbines to each wind turbine
15· · · ·Q.· ·So, again, these are contracts to             15· ·foundation location on site.· Temporary access
16· ·specifications.· Nowhere in here does it say           16· ·road/radii shall be aggregate base.
17· ·Borneke can do this where it thinks possible.          17· ·Subcontractor shall construct an entrance where
18· ·It just says this is what needs to be done,            18· ·the main access or turbine string road meet the
19· ·right?                                                 19· ·public roads.· Subcontractor shall install
20· · · ·A.· ·Correct.                                      20· ·entrances per design document.· Right?
21· · · ·Q.· ·The same thing here, under G:· Access         21· · · ·A.· ·Right.
22· ·road installation within a public right-of-way         22· · · ·Q.· ·So, again, not to whatever you see is
23· ·shall include, but is not limited to, stripping        23· ·fit, or what you think is possible.· Borneke is
24· ·top soil, preparation of subgrade, compaction of       24· ·agreeing to construct temporary access roads,
                                                       58                                                          60

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·1· ·sometimes needing additional aggregate base, and       ·1· · · ·Q.· ·And, again, the idea is despite you
·2· ·these access roads are to facilitate the               ·2· ·saying where possible, Borneke is undertaking a
·3· ·delivery of turbines to each wind turbine              ·3· ·responsibility to provide grading and drainage
·4· ·foundation, right?                                     ·4· ·in these foundation areas, right?
·5· · · ·A.· ·Correct.                                      ·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·And additionally, subcontractor, under        ·6· · · ·Q.· ·And the idea is, you want water to pool
·7· ·P, shall install culverts and drainage features        ·7· ·away from the turbine, away from the erection
·8· ·for access roads, and it continues.                    ·8· ·area, right?
·9· · · · · · So you agree that part of your                ·9· · · ·A.· ·Correct.
10· ·responsibility, in access roads, for example, is       10· · · ·Q.· ·Lets go on to Page 9, turbine erection
11· ·to prepare them and also provide drainage,             11· ·areas.· Borneke understands this is literally
12· ·right?                                                 12· ·where the work is going to be performed, right?
13· · · ·A.· ·Correct.                                      13· · · ·A.· ·Correct.
14· · · ·Q.· ·Okay.· And I'll move on.· And then            14· · · ·Q.· ·Under Subsection A:· Subcontractor
15· ·under -- on Page 7, 2.14, project maintenance.         15· ·shall clear grub and provide all necessary
16· ·And, again, this section is discussing roads and       16· ·grading for a 175-foot radius around the turbine
17· ·the lay-down yard, right?                              17· ·inclusive of cut and fill necessary to achieve
18· · · ·A.· ·Yes.                                          18· ·no more than a 5 percent grade across the area,
19· · · ·Q.· ·But, again, for the roads and the             19· ·right?
20· ·lay-down yards, Borneke is required to maintain        20· · · ·A.· ·Yes.
21· ·its work, correct?                                     21· · · ·Q.· ·And it continues:· Actual limits of
22· · · ·A.· ·Correct.                                      22· ·clearing and required slopes will be as per the
23· · · ·Q.· ·So Borneke continues to have an on site       23· ·contract documents and coordination with
24· ·presence for the duration of the project, right?       24· ·Mortenson's superintendents for component
                                                       61                                                          63

·1· · · ·A.· ·Yes.                                          ·1· ·locations, right?
·2· · · ·Q.· ·And they have workers on site, and have       ·2· · · ·A.· ·Correct.
·3· ·to address issues as they arise, right?                ·3· · · ·Q.· ·So, again, here, the radius that we're
·4· · · ·A.· ·Yes.                                          ·4· ·talking about in these erection areas is
·5· · · ·Q.· ·And they were supposed to maintain            ·5· ·175-feet in each direction around the turbine,
·6· ·their work in these areas?                             ·6· ·right?
·7· · · ·A.· ·Correct.                                      ·7· · · ·A.· ·Yes.
·8· · · ·Q.· ·Let's go on to Page 8, foundation,            ·8· · · ·Q.· ·And in these areas, subcontractor,
·9· ·excavation and backfills.· Again, for B, it            ·9· ·meaning Borneke, right?
10· ·doesn't say Borneke can excavate and backfill as       10· · · ·A.· ·Yes.
11· ·they see fit.· It says they shall excavate and         11· · · ·Q.· ·Needs to clear and grub, correct?
12· ·backfill foundation in accordance with the             12· · · ·A.· ·Yes.
13· ·design documents, right?                               13· · · ·Q.· ·They also need to provide all necessary
14· · · ·A.· ·Correct.                                      14· ·cut and fill so that it's graded properly, and
15· · · ·Q.· ·And it says:· Subcontractor shall bench       15· ·that's at no more than five percent, correct?
16· ·or slope excavation back to OSHA standards,            16· · · ·A.· ·Correct.
17· ·right?                                                 17· · · ·Q.· ·Okay.· So, again, when you said, where
18· · · ·A.· ·Correct.                                      18· ·feasible, or as able to, you agree there are
19· · · ·Q.· ·And then under I, for example -- again,       19· ·specifications in this contract, and those
20· ·here under O, I meant:· Backfill shall be graded       20· ·specifications are by percent for erection
21· ·away from the turbine to create adequate slope         21· ·areas, right?
22· ·away from the turbine as detailed in the design        22· · · ·A.· ·Correct.
23· ·documents, right?                                      23· · · ·Q.· ·And all of this grading is necessary
24· · · ·A.· ·Correct.                                      24· ·and it's an important part of these projects;
                                                       62                                                          64

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·1· ·you'd agree with that, right?                          ·1· · · ·A.· ·Yes.
·2· · · ·A.· ·Yes.                                          ·2· · · ·Q.· ·Okay.· So, again, for whatever the
·3· · · ·Q.· ·This grading and these erection areas,        ·3· ·purpose is, Borneke is required to maintain,
·4· ·like both Mr. Bennett and Mr. Borneke talked           ·4· ·compact, and provide positive drainage at all
·5· ·about, helps prevent water from pooling in these       ·5· ·times in the erection areas, correct?
·6· ·erection areas, right?                                 ·6· · · ·A.· ·Correct.
·7· · · ·A.· ·Yes.· That's the intent.                      ·7· · · ·Q.· ·Okay.· And this responsibility is
·8· · · ·Q.· ·Okay.· And if water does not pool in          ·8· ·through the duration of the project, as it
·9· ·these erection areas, it will help prevent large       ·9· ·states in plain English, correct?
10· ·ruts from forming, or depressed areas where            10· · · ·A.· ·Up until the point of the turbine
11· ·water can pool, right?                                 11· ·component deliveries.
12· · · ·A.· ·Yes.                                          12· · · ·Q.· ·No, it says to facilitate turnaround
13· · · ·Q.· ·And if there's no depressed areas where       13· ·area for turbine deliveries through the duration
14· ·water can pool, there's no areas where water can       14· ·of the project, correct?
15· ·pool and later freeze, then, right?                    15· · · ·A.· ·That's -- that's not how the
16· · · ·A.· ·Yes.                                          16· ·understanding is between Mortenson and Borneke.
17· · · ·Q.· ·Okay.· And all of these are conditions        17· · · ·Q.· ·Well, this is what Borneke contracted
18· ·that Borneke is contracted to perform and try to       18· ·to do in plain English, correct?
19· ·prevent by providing the necessary grading,            19· · · ·A.· ·Up until -- yeah, we maintain up until
20· ·right?                                                 20· ·the point of the component delivery.
21· · · ·A.· ·Yes.                                          21· · · ·Q.· ·Okay.· You agree that the contract says
22· · · ·Q.· ·Now under the subsection, there are           22· ·through the duration of the project, correct?
23· ·three of them.· Let's go down to Number 2 and 3.       23· · · ·A.· ·Yeah.· We can't have dozers sitting
24· · · · · · Number 2 says:· Bumps shall be leveled        24· ·out -- in the erection area when other
                                                       65                                                          67

·1· ·and holes filled to accommodate equipment              ·1· ·subcontractors are performing their work.
·2· ·travel, right?                                         ·2· · · ·Q.· ·But that's not my question.
·3· · · ·A.· ·Yes.                                          ·3· · · · · · Do you agree that this section says:
·4· · · ·Q.· ·So, again, Borneke is undertaking a           ·4· ·Cleared areas shall be maintained, compacted,
·5· ·contractual responsibility to level and fill           ·5· ·and provide positive drainage at all times dot,
·6· ·holes so that equipment can properly travel in         ·6· ·dot, dot, through the duration of the project,
·7· ·these erection areas, right?                           ·7· ·correct?
·8· · · ·A.· ·Yes.                                          ·8· · · ·A.· ·Up until the component delivery.
·9· · · ·Q.· ·This includes cranes, correct?                ·9· · · ·Q.· ·That's not what it says.· Answer my
10· · · ·A.· ·Yes.                                          10· ·simple question.
11· · · ·Q.· ·This includes various pieces of               11· · · · · · You agree that it says, the last six
12· ·equipment, right?                                      12· ·words, through the duration of the project,
13· · · ·A.· ·Yes.                                          13· ·correct?
14· · · ·Q.· ·And this includes trucks making               14· · · ·A.· ·No, I don't agree.
15· ·deliveries, and everything else that is going to       15· · · ·Q.· ·You're saying that's not the plain
16· ·be delivered to the erection areas, and whatever       16· ·words that are on this page?
17· ·work is going to be performed, right?                  17· · · ·A.· ·It says up until the component
18· · · ·A.· ·Yes.                                          18· ·delivery.
19· · · ·Q.· ·Under Subsection 3:· Cleared area shall       19· · · ·Q.· ·That's not what it says, and we'll read
20· ·be maintained, compacted, and provide positive         20· ·it again.
21· ·drainage at all times to facilitate turnaround         21· · · · · · Let's read it, and you tell me if I'm
22· ·area for turbine delivery components through the       22· ·reading it wrong, okay?· I'll start halfway
23· ·duration of the project.                               23· ·through:· Provide positive drainage at all times
24· · · · · · I read that correctly, right?                 24· ·to facilitate turnaround area for turbine
                                                       66                                                          68

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·1· ·delivery components through the duration of the        ·1· ·depressed areas form, right?
·2· ·project.                                               ·2· · · ·A.· ·Yes.
·3· · · · · · Did I read that section correctly?            ·3· · · ·Q.· ·The idea is the erection area will be
·4· · · ·A.· ·You read it correctly.                        ·4· ·able to support the weight of the pieces of
·5· · · ·Q.· ·So those are the words that's on the          ·5· ·equipment while it is staged there, right?
·6· ·page, right?                                           ·6· · · ·A.· ·Yes, under the right conditions.
·7· · · ·A.· ·They are.                                     ·7· · · ·Q.· ·That's not what the contract says.
·8· · · ·Q.· ·Okay.· Thank you.                             ·8· ·Again, you're qualifying.
·9· · · · · · So Borneke is contracted to maintain          ·9· · · · · · The contract says Borneke prepares the
10· ·these areas because they know what work is going       10· ·erection areas, and this includes grading and
11· ·to be performed, right?                                11· ·compacting, correct?
12· · · ·A.· ·Correct.                                      12· · · ·A.· ·Yes.
13· · · ·Q.· ·Okay.· Borneke -- and again, because          13· · · ·Q.· ·And both Mr. Bennett and Mr. Borneke
14· ·you're stating through delivery, let's talk            14· ·testified that if the ground is prepared, the
15· ·about the prep.· Because now we're on the same         15· ·idea is it will not sink in underneath pieces of
16· ·page with the prep.                                    16· ·equipment.
17· · · · · · Borneke prepares these erection areas         17· · · · · · You would agree with this, correct?
18· ·so that it can accommodate deliveries from large       18· · · ·A.· ·Yes.
19· ·semis, right?                                          19· · · ·Q.· ·And they both testified, and you've
20· · · ·A.· ·Yes.                                          20· ·already agreed, that if the ground is properly
21· · · ·Q.· ·And they prepare these erection areas         21· ·prepared, it won't sink in underneath pieces of
22· ·so that they can accommodate huge pieces of            22· ·equipment, and there won't be depressed areas,
23· ·equipment that weigh tens of thousands of              23· ·hopefully, right?
24· ·pounds, right?                                         24· · · ·A.· ·Hopefully, right.
                                                       69                                                          71

·1· · · ·A.· ·Yes.                                          ·1· · · ·Q.· ·Okay.· Part of the reason behind this
·2· · · ·Q.· ·And, again, as both Mr. Bennett and           ·2· ·is if the ground sinks in underneath pieces of
·3· ·Mr. Borneke testified, and like you've testified       ·3· ·equipment, this can damage equipment, right?
·4· ·earlier, the idea is if these areas are properly       ·4· · · ·A.· ·Yes.
·5· ·prepared, hopefully the ground won't cave in           ·5· · · ·Q.· ·Or it can also cause catastrophic
·6· ·underneath them or the equipment being used to         ·6· ·injuries or death if pieces of equipment tip
·7· ·deliver them, right?                                   ·7· ·over or materials roll around, right?
·8· · · ·A.· ·Yes, hopefully.                               ·8· · · ·A.· ·Yes.
·9· · · ·Q.· ·Okay.· And this where grading and             ·9· · · ·Q.· ·Okay.· Not only that, it can cause
10· ·compacting comes in, right?                            10· ·depressed areas where water can pool or tripping
11· · · ·A.· ·Yes.                                          11· ·hazards can arise, right?
12· · · ·Q.· ·And as this shows you, compacting needs       12· · · ·A.· ·Right.
13· ·to be performed in the erection areas, correct?        13· · · ·Q.· ·All of these things are things that
14· · · ·A.· ·Yes.                                          14· ·Borneke's prep work is supposed to try and
15· · · ·Q.· ·And I'll stop sharing my screen now.          15· ·prevent, correct?
16· ·But compacting, we've already established.             16· · · ·A.· ·That's the intent.
17· · · · · · The idea behind compacting, once the          17· · · ·Q.· ·That's the intent.· And that's what you
18· ·ground is graded, is so that the ground is less        18· ·are contracted to perform, correct?
19· ·likely to sink in underneath pieces of equipment       19· · · ·A.· ·Correct.
20· ·and material, correct?                                 20· · · ·Q.· ·Okay.· And you'd agree that if Borneke
21· · · ·A.· ·Yes, that's the intent.                       21· ·is not performing the tasks required of it under
22· · · ·Q.· ·And the intent is if it's compacted           22· ·the contract, then it is not performing the
23· ·properly, the ground will hopefully not sink in        23· ·obligations it affirmatively undertook when it
24· ·underneath pieces of equipment where large             24· ·contracted to perform this work, correct?
                                                       70                                                          72

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·1· · · ·A.· ·Correct.                                      ·1· · · ·A.· ·Correct.
·2· · · ·Q.· ·Okay.· And then the same thing.· As we        ·2· · · ·Q.· ·And this also includes drainage, right?
·3· ·talked about compaction, Borneke also had to           ·3· · · ·A.· ·Yes.
·4· ·grade, compact, but provide drainage in these          ·4· · · ·Q.· ·Okay.· And like both Mr. Bennett and
·5· ·erection areas, right?                                 ·5· ·Mr. Borneke said, if these areas are properly
·6· · · ·A.· ·Correct.                                      ·6· ·prepared, and if there's adequate compaction and
·7· · · ·Q.· ·And, again, the idea is if there's            ·7· ·drainage, the idea is pieces of equipment won't
·8· ·proper drainage in these erection areas, water         ·8· ·sink into the ground, and there won't be
·9· ·will not pool in these erection areas, right?          ·9· ·depressed areas where water would form and pool.
10· · · ·A.· ·Correct.                                      10· ·You agree with this, right?
11· · · ·Q.· ·And Borneke undertook this                    11· · · ·A.· ·Yes, that's the idea.
12· ·responsibility and contracted to provide               12· · · ·Q.· ·Okay.· And that's the idea that Borneke
13· ·drainage in these areas?                               13· ·undertook the responsibility to perform and
14· · · ·A.· ·Correct.                                      14· ·contracted to perform, right?
15· · · ·Q.· ·So you'd agree that the contract I just       15· · · ·A.· ·Right.
16· ·showed you, including the scope of work, are           16· · · ·Q.· ·And by not doing this, they're not
17· ·true and accurate copies of the contract and the       17· ·fulfilling their contractual obligation, right?
18· ·scope of work for this project, right?                 18· · · ·A.· ·I guess, yes.
19· · · ·A.· ·Right.                                        19· · · ·MR. TERRY:· Okay.· Chris, I'm sure you're
20· · · ·Q.· ·And these documents contain the               20· ·going to have a few follow-ups.· I think that's
21· ·contracted to duties and responsibility on this        21· ·all I have right now.· Let me just go through
22· ·project for Borneke, right?                            22· ·and check my notes.
23· · · ·A.· ·Yes.                                          23· · · ·MR. SULLIVAN:· Yeah, let me just ask some
24· · · ·Q.· ·And by not complying with this                24· ·questions while you check your notes.· Whatever
                                                       73                                                          75

·1· ·Exhibit A, the scope of work, or by not                ·1· ·you want to do.
·2· ·completing the tasks in this document, you would       ·2· · · ·MR. TERRY:· Sure.
·3· ·agree Borneke is not fulfilling their                  ·3· · · · · · · · · · ·EXAMINATION
·4· ·contractual obligations, right?                        ·4· ·BY MR. SULLIVAN:
·5· · · ·A.· ·Right.                                        ·5· · · ·Q.· ·Mark, Mortenson signed off on each of
·6· · · ·Q.· ·Okay.· Borneke, you understand, by            ·6· ·these turbine sites for work performed by
·7· ·contracting to perform work, undertook the             ·7· ·Borneke when the compacting and grading work was
·8· ·contractual responsibility for these tasks,            ·8· ·done, right?
·9· ·right?                                                 ·9· · · ·A.· ·Correct.
10· · · ·A.· ·Correct.                                      10· · · ·Q.· ·And we're talking about 29 different
11· · · ·Q.· ·And Borneke was ultimately paid to            11· ·sites, right?
12· ·complete the tasks in this contract, right?            12· · · ·A.· ·Yes.
13· · · ·A.· ·Correct.                                      13· · · ·Q.· ·The site at issue in this case I think
14· · · ·Q.· ·So in the erection areas, as we saw,          14· ·is site T11.· Did you have any knowledge of
15· ·Borneke has to prepare the ground so that it           15· ·that?
16· ·does not sink in underneath pieces of equipment        16· · · ·A.· ·Yes, that's -- that's correct.
17· ·or material, correct?                                  17· · · ·Q.· ·Okay.· So Mortenson would have signed
18· · · ·A.· ·Correct, under the right conditions.          18· ·off and approved of the grading work and
19· · · ·Q.· ·No, that's not what the contract says.        19· ·compacting work that Borneke did on site T11
20· ·You would agree that now you're qualifying in          20· ·when the work was done, right?
21· ·addition to what's in the contract.                    21· · · ·A.· ·That's correct.
22· · · · · · The contract says you need to prepare         22· · · ·MR. TERRY:· Let me object.
23· ·the erection area, and this includes grading and       23· · · · · · Hey, Chris, so I don't interrupt
24· ·compacting, correct?                                   24· ·because we're doing this via Zoom, could I just
                                                       74                                                          76

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·1· ·have a standing objection to relevance on this?        ·1· ·review it and approve it before the components

·2· · · ·MR. SULLIVAN:· Okay.                               ·2· ·were then delivered, right?

·3· · · ·MR. TERRY:· Thanks.                                ·3· · · ·A.· ·That's correct.

·4· ·BY MR. SULLIVAN:                                       ·4· · · ·Q.· ·So that's what happened in each one of

·5· · · ·Q.· ·Do you have any knowledge, Mark, after        ·5· ·these sites, 29 different ones?

·6· ·you -- after Borneke completed its grading and         ·6· · · ·A.· ·Yes.

·7· ·compacting work on site T11 on this project,           ·7· · · ·Q.· ·And each one Mortenson approved?

·8· ·that Mortenson notified you of any problem with        ·8· · · ·A.· ·Yes, to my knowledge.· Yes.

·9· ·grading?                                               ·9· · · ·Q.· ·Did Mortenson have a directive, as far

10· · · ·A.· ·No, not to my knowledge.                      10· ·as you know, about where you were supposed to

11· · · ·Q.· ·Did Mortenson ever complain about your        11· ·be -- where Borneke employees were supposed to

12· ·work on site T11?                                      12· ·be at each site, when the actual delivery was

13· · · ·A.· ·Not to my knowledge, no.                      13· ·taking place and where the erection was taking

14· · · ·Q.· ·Do you have any knowledge that                14· ·place?

15· ·Mortenson complained about the inadequacy of           15· · · ·A.· ·No, I don't think so.

16· ·Borneke's work at any point in this project?           16· · · ·Q.· ·You had no role in delivery of any of

17· · · ·A.· ·No.                                           17· ·the components, correct?

18· · · ·Q.· ·No meaning what, they did not complain?       18· · · ·A.· ·That's correct.

19· · · ·A.· ·Not to my knowledge, no.                      19· · · ·Q.· ·Meaning Borneke did not have a role?

20· · · ·Q.· ·Did Borneke comply with its contractual       20· · · ·A.· ·Borneke did not have a role.

21· ·obligations that you went through in this case?        21· · · ·Q.· ·Borneke did not have a role in erecting

22· · · ·A.· ·Yes.                                          22· ·the components either?

23· · · ·Q.· ·And Mortenson paid Borneke the full           23· · · ·A.· ·That's correct.

24· ·amount owed under the contract; is that right?         24· · · ·Q.· ·And Mortenson did not want Borneke

                                                       77                                                          79

·1· · · ·A.· ·Yes.                                          ·1· ·around when the erecting was being completed in

·2· · · ·Q.· ·Did Mortenson withhold any money for          ·2· ·terms of space.· Isn't there a spacial

·3· ·not performing the contract at any point?              ·3· ·limitation problem?

·4· · · ·A.· ·No.                                           ·4· · · ·A.· ·That's correct.· There's only a limited

·5· · · ·Q.· ·Did Mortenson ever notify Borneke that        ·5· ·amount of room.

·6· ·ice had formed at site T11 or anywhere else on         ·6· · · ·Q.· ·And what was your understanding of how

·7· ·this project?                                          ·7· ·Mortenson conducted the erection process in that

·8· · · ·A.· ·No.                                           ·8· ·regard?

·9· · · ·MR. TERRY:· Object to relevance.                   ·9· · · ·A.· ·I guess that would be a question for my

10· ·BY MR. SULLIVAN:                                       10· ·on site superintendents on the procedures.

11· · · ·Q.· ·Are you aware that Mortenson ever             11· · · ·Q.· ·Okay.· And you were never on site on

12· ·notified you of any defect in the grading or           12· ·this project, right?

13· ·compacting at site T11 at any time?                    13· · · ·A.· ·That's correct.

14· · · ·A.· ·No.                                           14· · · ·Q.· ·But if there were complaints by

15· · · ·Q.· ·The way this project worked, there were       15· ·Mortenson, you would have heard about it?

16· ·phases, right?                                         16· · · ·A.· ·Yes.

17· · · ·A.· ·Correct.                                      17· · · ·Q.· ·Okay.· And you're not aware that

18· · · ·Q.· ·And the grading and compacting of the         18· ·Mortenson ever complained about Borneke's work?

19· ·turbine erection sites was supposed to be              19· · · ·A.· ·I'm not aware, no.

20· ·completed before the components were delivered,        20· · · ·Q.· ·Did Mortenson ever tell you that at

21· ·right?                                                 21· ·site T11, or any other site, that the compacting

22· · · ·A.· ·That's correct.                               22· ·was incorrect?

23· · · ·Q.· ·And then when the grading and                 23· · · ·A.· ·No.

24· ·compacting was completed, Mortenson had to             24· · · ·Q.· ·Or that the grading was incorrect?

                                                       78                                                          80

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·1· · · ·A.· ·No.                                             ·1· ·STATE OF ILLINOIS· · ·)

·2· · · ·Q.· ·Or that the drainage was improper?              ·2· · · · · · · · · · · · ·)· ·SS:

·3· · · ·A.· ·No.                                             ·3· ·COUNTY OF C O O K· · ·)

·4· · · ·MR. SULLIVAN:· I think that's all I have.            ·4· · · · · I, MARGARET A. RITACCO, a notary public

·5· ·Thank you, sir.                                          ·5· ·within and for the County of Cook and State of

·6· · · ·MR. TERRY:· Mr. Sikel, I do have two                 ·6· ·Illinois, do hereby certify that heretofore, to-wit,

·7· ·follow-ups.                                              ·7· ·March 10th, 2022, personally appeared before me,

·8· · · · · · · · ·FURTHER EXAMINATION                        ·8· ·via videoconference, MARK SIKEL, in a cause now

·9· ·BY MR. TERRY:                                            ·9· ·pending and undetermined in the In the United

10· · · ·Q.· ·You were asked about whether or not             10· ·States District Court Northern District of Illinois,

11· ·Mortenson ever told you about defects in your            11· ·Eastern Division, wherein NICK GEORGEFF is the

12· ·work.· Do you agree that Mortenson hires                 12· ·Plaintiff, and DON BORNEKE CONSTRUCTION, INC.,

13· ·Don Borneke Construction because they are the            13· ·is the Defendant.

14· ·experts in excavation, right?                            14· · · · · I further certify that the said

15· · · ·A.· ·Yes.                                            15· ·MARK SIKEL was first duly sworn to testify the

16· · · ·Q.· ·And you, as Borneke, do not look for            16· ·truth, the whole truth and nothing but the truth

17· ·Mortenson to tell you how to do your job                 17· ·in the cause aforesaid; that the testimony then

18· ·properly and safely, you are expected to know            18· ·given by said witness was reported

19· ·that as the experts in excavation, right?                19· ·stenographically by me in the presence of the

20· · · ·A.· ·Correct.                                        20· ·said witness, and afterwards reduced to

21· · · ·Q.· ·And, also, you were asked about whether         21· ·typewriting by Computer-Aided Transcription, and

22· ·or not you prepared this ground first, and if            22· ·the foregoing is a true and correct transcript

23· ·there are size constraints to the area, and you          23· ·of the testimony so given by said witness as

24· ·said yes.· You'd agree that these are both               24· ·aforesaid.

                                                         81                                                           83

·1· ·further reasons why the work should be done              ·1· · · · · I further certify that the signature to

·2· ·right the first time, correct?                           ·2· ·the foregoing deposition was waived by counsel

·3· · · ·A.· ·Correct.                                        ·3· ·for the respective parties.

·4· · · ·MR. TERRY:· Okay.· That's all I have.                ·4· · · · · I further certify that the taking of this

·5· · · ·MR. SULLIVAN:· Okay, thanks.                         ·5· ·deposition was pursuant to notice and that there

·6· · · · · · We'll waive signature.                          ·6· ·were present at the deposition the attorneys

·7· · · ·MR. TERRY:· Mr. Sikel, you can hop off.     I        ·7· ·hereinbefore mentioned.

·8· ·appreciate your time.                                    ·8· · · · · I further certify that I am not counsel

·9· · · · · · Margie, I think I have your e-mail a            ·9· ·for nor in any way related to the parties to

10· ·hundred times over, I'll e-mail you the exhibits         10· ·this suit, nor am I in any way interested in the

11· ·and I will take the original.                            11· ·outcome thereof.

12· · · · · · Thank you very much.                            12· · · · · IN TESTIMONY WHEREOF:· I have hereunto

13· · · ·MR. SULLIVAN:· I'll take a copy.                     13· ·set my hand and affixed my notarial seal this

14· · · · · (Proceedings concluded at 2:26 p.m.)              14· ·25th day of March, 2022.

15                                                            15

16                                                            16

17                                                            17

18                                                            18

19                                                            19· · · · · · · ·__________________________· ________

20                                                            20· · · · · · · ·NOTARY PUBLIC, COOK COUNTY, ILLINOIS

21                                                            21· · · · · · · ·LIC. NO. 084-002796

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                                                                         Project to receive spot
                                                                         repairs at project
                                                                         completion using
                                                                         suitable onsite
                                                                         material.
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                                                                                  James Tinjum 04/04/2023

            IN THE UNITED STATES DISTRICT COURT             1                         I N D E X
               NORTHERN DISTRICT OF ILLINOIS                2   WITNESS                                  EXAMINATION
                       EASTERN DIVISION                     3   JAMES TINJUM
                                                            4     BY MR. TERRY                                    6
     NICK GEORGEFF,                   )                     5     BY MR. SULLIVAN                                178
      Plaintiff,                      )                     6     BY MR. TERRY, FURTHER                          200
      vs.                             ) Civil Action        7     BY MR. SULLIVAN, FURTHER                       202
     DON BORNEKE CONSTRUCTION, INC.,) No. 3:20-CV-50313     8

      Defendant.                      )                     9

                                                           10

            The deposition of JAMES TINJUM, called         11

     for examination pursuant to the Rules of Civil        12                       E X H I B I T S
     Procedure for the United States District Courts       13   NUMBER                                IDENTIFICATION
     pertaining to the taking of depositions, before       14   TINJUM Deposition
     Margaret A. Ritacco, a certified shorthand            15     Exhibit No. 1                             19
     reporter in the State of Illinois, on the             16     Exhibit No. 2                             19
     4th day of April, 2023, at 10:02 a.m., via            17     Exhibit No. 3                             22
     videoconference per Executive Order 2020-14           18     Exhibit No. 4                             26
     pursuant to notice.                                   19     Exhibit No. 5                             31
                                                           20

                                                           21

                                                           22

     Reported by:     MARGARET A. RITACCO, CSR             23

     License No.:     084-002796                           24


                                                       1                                                               3

1      APPEARANCES:                                         1       THE REPORTER: My name is Margaret Ritacco, CSR.
2            ANESI, OZMON, RODIN, NOVAK & KOHEN, by         2    This deposition is being taken pursuant to
3            MR. CHARLES A. TERRY                           3    Executive Order 2020-14. All parties to this
4            161 North Clark Street, Suite 2100             4    proceeding, including the court reporter, are
5            Chicago, Illinois       60601                  5    attending via videoconference.
6            (312) 372-3822                                 6            Will the parties please introduce
7            cterry@anesilaw.com                            7    yourselves, state who you represent, and that
8                   Representing the Plaintiff;             8    you are in agreement with these procedures,
9                                                           9    starting with Plaintiff's counsel.
10           SWANSON, MARTIN and BELL, by                  10       MR. TERRY: Sure. Charles Terry for the
11           MR. CHRISTIAN A. SULLIVAN                     11    Plaintiff, we agree.
12           2525 Cabot Drive, Suite 204                   12       MR. SULLIVAN: Chris Sullivan for the
13           Lisle, Illinois· 60532                        13    Defendant, I agree.
14           (630) 799-6900                                14       THE WITNESS: James Tinjum, I agree.
15           csullivan@smbtrials.com                       15                  (Witness sworn.)
16                  Representing Don Borneke               16       MR. TERRY: Sir, could you please state and
17                  Construction, Inc.                     17    spell your name for the record?
18                                                         18       THE WITNESS: James Tinjum T, as in Tom, I
19                                                         19    N-J-U-M, as in Mary.
20                                                         20       MR. TERRY: Perfect. Let the record reflect
21                                                         21    this is the deposition of James Tinjum taken
22                                                         22    pursuant to notice and agreement of the parties.
23                                                         23    Let the record also reflect it's being taken via
24                                                         24    Zoom, but still pursuant to all applicable rules

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                                                                                                       Pages 1 to 4
                                   McCorkle Litigation Services, Inc.
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                                                                           James Tinjum 04/04/2023

 1   of the Federal Rules of Civil Procedure.           1    take it off as we're talking about it. Okay?
 2          Before we get into it.                      2          I separated this document. It is an
 3      Margie, just to be clear, you went completely   3    11-page document, and it looks like your CV.
 4   black.                                             4    I'm just going to scroll through it.
 5                (Zoom technical difficulties.)        5          Does this look like a true and accurate
 6      MR. TERRY: Mr. Tinjum, what do you prefer       6    copy of your CV?
 7   that I call you for today? James? Mr. Tinjum?      7       A. Yes, it does.
 8   Jim?                                               8       Q. Okay. I'll stop sharing, but we'll
 9      THE WITNESS: Dr. Tinjum is fine.                9    talk through it real quick.
10      MR. TERRY: Okay. Well, let me ask you           10         Just jumping all the way to the back
11   this, have you given a deposition before?          11   end first. I see that you are a licensed
12      THE WITNESS: Yes, I have.                       12   professional engineer in the State of Wisconsin;
13      MR. TERRY: Okay. Are you familiar with the      13   is that correct?
14   ground rules?                                      14      A. That is correct.
15      THE WITNESS: Yes, I am.                         15      Q. When did you get this license?
16      MR. TERRY: Okay. I'll just remind you of        16      A. I do not remember the exact date,
17   two, given the medium that we're in.               17   approximately 1999.
18          The first one is the most important --      18      Q. Okay. And is that a license that has
19   well, I guess they're both pretty important.       19   to be renewed?
20          But, nonetheless, do your best to wait      20      A. Yes, it does.
21   for my full question to come out prior to          21      Q. How often and what goes into renewing
22   answering, and me and Mr. Sullivan will give you   22   it?
23   the same courtesy.                                 23      A. In Wisconsin, the renewal is a two-year
24          Does that make sense?                       24   period. And there is a certain amount of

                                                    5                                                       7

 1       THE WITNESS: Yes, it does.                     1    continuing engineering education, professional
 2       MR. TERRY: And then the other one. If for      2    development hours, in addition to an ethics
 3   any reason you don't understand a question,        3    requirement for every two-year renewal.
 4   please let me know. I'm happy to repeat, reask,    4       Q. Okay. Chris and I are all too familiar
 5   rephrase, or have it read back.                    5    with that. It's the bane of our existence most
 6          The only caveat is if you answer a          6    years I'm sure so...
 7   question, we're going to assume you understood     7       MR. SULLIVAN: Mine's due two months.
 8   what I meant; is that fair?                        8       MR. TERRY: Sorry, Chris?
 9       THE WITNESS: Yes, I understand.                9       MR. SULLIVAN: My CLEs are due in two months.
10       MR. TERRY: Okay. I'm just going to jump        10      MR. TERRY: Mine too. Sorry, I digress.
11   right into it.                                     11   BY MR. TERRY:
12                  JAMES TINJUM,                       12      Q. Mr. Tinjum, has your license ever been
13   called as a witness herein, having been first      13   suspended or revoked?
14   duly sworn, was examined and testified as          14      A. It has not.
15   follows:                                           15      Q. Okay. Has it ever lapsed?
16                   EXAMINATION                        16      A. It probably has lapsed at one point or
17   BY MR. TERRY:                                      17   another due to inattentiveness, but then I would
18      Q. Do you have a copy of your CV and your       18   renew it.
19   report in front of you?                            19      Q. Okay. So the most -- is it fair to say
20       A. I have the copy of the report and CV        20   that the most it would have lapsed would have
21   printed in front me.                               21   been, like, oh, shoot, moment in your head, I've
22      Q. Okay. Perfect. I'm just going to             22   got to do my CLEs. Let's get that done in the
23   share my screen for purposes of making sure        23   next week or so?
24   we're talking about the same thing, and I'll       24      A. No. Typically, if it lapsed, it was

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 1   because I just didn't see the email, or forgot     1    turbine foundation, so I was engaged to see if I
 2   about it, and then paid the additional fee to      2    agreed that standard of engineering practice was
 3   expedite the renewal.                              3    performed in the design in that system.
 4      Q. Sounds good. Okay. So then, just             4       Q. Okay. And that was on behalf of the
 5   briefly, I want to go back and talk about your     5    company who installed it or designed it?
 6   education.                                         6       A. That was on behalf of the company that
 7         You received all of your higher              7    designed that foundation system.
 8   education from the University of Wisconsin         8       Q. Okay. And did you find that their
 9   Madison, right?                                    9    design was adequate?
10      A. That is correct.                             10      A. I believe I did. I -- it's been a
11      Q. So you're a Badger?                          11   while ago. But, yes, generally speaking, I
12      A. I am a Badger.                               12   agree with their system design.
13      Q. My cousin went there. It's an awesome        13      Q. So that was, like, a -- a similar issue
14   campus, awesome school.                            14   involving, like, soil, but also different at the
15         So then you have a BS -- bachelor's of       15   same time because it involved an actual foundation
16   science, a master's of science, and a Ph.D. all    16   of a wind turbine, fair?
17   in civil and environmental engineering; is that    17      A. That is correct. It involved soil
18   correct?                                           18   conditions at a wind energy site.
19      A. That is correct.                             19      Q. Got it. And then you said Page 13 of
20      Q. Okay. And then under the -- I just           20   your report, so I might as well just go there
21   want to go into Litigation Support next.           21   real quick.
22         The only two people -- let me phrase it      22         What was the other one?
23   this way. I only see two cases that pertain        23      A. The other one was Kawailoa Wind Farm.
24   directly to wind energy sites.                     24      MR. TERRY: And real quick, Margie, for the

                                                    9                                                       11

1           Would you agree with that? Other than        1   record, that's K-A-W-A-I-L-O-A.
2    this one, which is not listed yet.                  2      THE REPORTER: Got it.
3       A. I am flipping to that.                        3      MR. TERRY: Please proceed. Sorry, about
4       Q. Sure. Take your time.                         4   that Jim -- or Dr. Tinjum.
5           And the point of my question is to           5      THE WITNESS: No worries.
6    also -- just so you know, I'm not going to try      6          So I was engaged by Alliant Energy
7    and trip you up on anything in your CV. I'm         7   Corporation that was the owner of that wind
8    just asking, generally speaking, does it sound      8   farm. And, again, it was related to soil
9    accurate that you provided an expert opinion in     9   conditions and soil response to the foundation
10   a litigation matter two times as it relates to a   10   and wind loading.
11   wind farm other than this case?                    11      Q. Okay. And, I'm sorry, I was looking at
12      A. Yes, it has listed at least two cases        12   something else.
13   of wind energy projects.                           13          Did you say that also related to the
14      Q. Okay. What does the first one relate         14   foundation?
15   to? Like, who were you retained by? What was       15      A. That is correct.
16   the issue? What were you talking about? Just       16      Q. Okay. Got it. And then -- since those
17   give me that about the first one. Generally        17   are, like, at least the two that I saw. You
18   speaking, if it's confidential, that's fine too.   18   know, that's just what I wanted to discuss.
19   Just generally then.                               19          When we move on to the next part of
20      A. Well, per Page 13 of my expert report,       20   your CV, the Representative Consulting Projects,
21   Mountain Air Wind is listed. I was engaged by      21   I see a lot about landfills and other similar
22   a foundation provider. It's called Earth           22   areas.
23   Systems Global. And in that particular case,       23          Would you agree that that would maybe
24   there was differential movement of the wind        24   be, like, the -- one of the main focuses of the

                                                   10                                                       12

                                                                                               Pages 9 to 12
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 1   consulting projects you worked on, whether it      1    solution in that situation?
 2   be, like, membranes to help protect the ground,    2        A. Going from memory, primarily dewatering
 3   or whatever else it may be at a landfill?          3    of the area, so, basically, the primary means
 4      A. Yes. I will characterize my 30-year          4    was to limit the access of water to their
 5   career as initiating primarily in environmental    5    foundation and loading dock area.
 6   related issues. And then over this past decade     6       Q. Okay. So pretty much -- and correct me
 7   and a half, I've been working more on power        7    if I'm wrong, because I probably will be -- but
 8   plants, renewable energy. It's sustainability      8    divert ground water to a further away location
 9   related projects within the overall industry.      9    away from their foundation area?
10      Q. Got it. Okay. One of the representative      10       A. Correct, in an attempt to limit what we
11   consulting projects I saw -- I don't know where    11   call is environmental cycling, where you go
12   exactly it was -- but it said something, like,     12   wet/dry, wet/dry, wet/dry, and/or freeze/thaw.
13   about freeze-thaw foundation conditions and        13   That is one of the more cost effective
14   remediation.                                       14   approaches to helping to mediate that situation.
15         Are you familiar with what I'm -- oh,        15      Q. Got it. Hold on one second.
16   that's your first one.                             16           In all of these consulting projects, in
17         So what did this exactly relate to? I        17   all of your experience, is it fair to say you
18   mean, it sounds very similar to what your          18   have never worked for a construction company
19   opinions are in this situation, at least in        19   actually effectuating the work, like, on the
20   terms of the freeze-thaw and the elasticity of     20   ground, like, excavating, moving the equipment,
21   the ground. Kind of walk me through what this      21   moving the ground? Is that safe to say?
22   was.                                               22       A. Yes. My career has been as an engineer
23      A. Yes. So freeze-thaw, I have several          23   consultant and/or in academics.
24   papers on that specific topic. This particular     24      Q. Okay. So just to phrase it another

                                                  13                                                        15

1    project was for the owner, which was Sargento      1    way, you have never worked for a construction
2    Foods, and they had a part of their building and   2    company, whether it be a QA, quality assurance,
3    loading dock structure that was being impacted     3    or quality control role, or as an actual laborer
4    by freeze-thaw conditions in which there was       4    or a construction worker, fair?
5    undesirable movement in their structure.           5       A. I have not worked for a contractor;
6           And I was retained to investigate the       6    however, I have done QA/QC resident engineering
7    root cause and recommend remediation steps to      7    on behalf of an owner.
8    alleviate that situation.                          8      Q. Okay. Have you ever worked for an
9       Q. Okay. Was this already in the building       9    excavation company directly doing the work on
10   stage? When I say -- that's bad. Let me rephase    10   the site?
11   that.                                              11      A. I have not worked for an excavation
12          Was this already when the building was      12   company directly.
13   completed? Or was this still in the construction   13     Q. One other one that I wanted to talk
14   phase of that plant, or facility?                  14   about real quick on your CV.
15      A. No. Unfortunately, for them, this was        15         Somewhere it says, confidential utility
16   post-construction.                                 16   owner geotechnical report. I'm trying to find
17      Q. It does not sound cheap or fun.              17   exactly where that is.
18      A. It's -- it's not surprising given their      18         Nonetheless, do you remember the
19   soil conditions.                                   19   project that I'm discussing with the confidential
20      Q. Okay. How did you -- so one of the           20   owner and geotechnical report for the utility
21   things you were retained to do in that matter      21   owner?
22   was figure out how to fix the problem, right?      22      A. I am -- you will have to point it to
23      A. That is correct.                             23   me, because many of clients are of a confidential
24      Q. How did you come up -- what was the          24   nature --

                                                  14                                                        16

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 1      Q. Okay. Got it.                                 1   as far as page numbering --
 2      A. -- when I am engaged.                         2      Q. Sure.
 3      Q. Got it. Here we go. About halfway             3      A. -- my CV was included as part of my
 4   down the Representative Consulting, Wind Energy     4   expert report as an exhibit. And then I also
 5   Geotechnical Report and Foundation Design for       5   provided that similar CV separately as an
 6   Confidential Owner -- Confidential Utility          6   independent document, as you called for all
 7   Owner, Wisconsin's Third-Party Review.              7   documents relevant to this. So the page
 8         Do you see that?                              8   numbering might be a little off, because the CV
 9      A. Yes, I do.                                    9   was part of a document once, and it was an
10      Q. What did that relate to?                     10   independent document in the second.
11      A. So that was for a large utility in           11      Q. That's fair. Thank you.
12   the Upper Midwest, and I was asked to do a         12              (Whereupon, TINJUM Deposition
13   third-party review of the geotechnical report,     13               Exhibit Nos. 1 and 2 were
14   conduct it for their site.                         14               marked for identification.)
15      Q. Okay. And did it relate to the issues        15   BY MR. TERRY:
16   we're discussing today? Or no?                     16      Q. Timesheet, do you see my screen?
17      A. It was primarily standard of practice,       17      A. Yes, I do.
18   and if their approach was comprehensive and        18      Q. Okay. It's a three-page document from
19   appropriate for that particular site.              19   GLG.
20      Q. Okay. So, generally, maybe touched on        20         Do you do your expert witness work
21   some of the stuff we're talking about today --     21   through a company by the name of GLG?
22   or, specifically, I should say. But, generally,    22      A. In this case, yes.
23   it was more so overarching, just, hey, does this   23      Q. Okay. And then would this be a similar --
24   report touch on everything it needs to?            24   like a type of timesheet you would have provided

                                                   17                                                      19

 1      A. Correct.                                     1    to them for the time periods -- just basically,
 2      Q. Okay. For Peer-Reviewed Articles and         2    is this how it would look when you provided
 3   Invited Book Chapters, I did not see anything      3    them?
 4   specifically on point other than maybe, like,      4       A. Yes. They have a computer-based
 5   freeze/thaw or, like, water/ground conditions      5    timesheet entry platform that I fill out.
 6   that would relate to the things we're going to     6       Q. Okay. I calculated, when you add up
 7   discuss today.                                     7    all the time worked in minutes, it's about 2,475
 8          Would you agree with that?                  8    minutes, or approximately 41-and-a-quarter
 9      A. I have not published on freeze/thaw          9    hours.
10   specific to a wind farm. I have published on       10          Do you have any reason to dispute that?
11   freeze/thaw in other applications, notably         11   Or would you agree that that's probably about
12   transportation systems and pavement design.        12   what you spent in this matter at least up until
13      Q. Okay. Same question for -- I guess we        13   February 2nd of 2023, when the last timesheet
14   can do it this way -- Items and Conferences and    14   ends?
15   Technical Reports and Publications by Students,    15      A. That would meet my expectations.
16   I didn't see anything of those sections either.    16      Q. Have you spent any more time since
17          Just for sake of time, I'm combining        17   February 2nd of 2023? And if so, can you give
18   them together.                                     18   me your best approximation of how much, including
19      A. Correct.                                     19   your prep for today?
20      Q. Okay. Got it. I'm going to show you          20      A. Yes. I -- this weekend I filled out a
21   what's been -- what will be marked as Exhibit 2.   21   timesheet related to time on Thursday and Friday
22   So 1 will be your CV, 2 will be Timesheets in      22   of last week, approximately eight hours.
23   this matter, and -- bear with me one second.       23      Q. Okay.
24      A. Now, for a point of clarification, just      24      A. Mostly for searching in my archive for

                                                   18                                                      20

                                                                                             Pages 17 to 20
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 1   materials that were requested for this deposition.    1   date that was charged to the defense for your
 2      Q. Sure. So we're approximately -- you're          2   time in this matter.
 3   at 41-and-a-quarter plus 8, give or take, we're       3         Do you have any reason to dispute that?
 4   just shy of 50 hours, 5-0, spent; is that fair?       4      A. I have no reason to dispute that.
 5      A. That is fair.                                   5      Q. Do you know why GLG is billing more
 6      Q. Okay. And then I saw in your report --          6   than $300 per hour more than what you are
 7   I don't know if you were supposed to include          7   actually saying you're billing yourself at?
 8   this or not, but you did -- you charge a rate of      8      A. I'm not privy to their business
 9   350 per hour for all work, right?                     9   practice.
10      A. Three-fifty for engineering work, and I        10      Q. Okay. I mean, that's a crazy markup.
11   believe I have a less -- a basis of approximately    11         Would you agree?
12   half of that for any travel-related effort.          12      A. Based on previous projects, where it's
13      Q. Okay. And then I also received a bill          13   closer to 150 per hour markup, that is more than
14   from GLG.                                            14   some other firms that I have worked for.
15          Are you aware that -- and I'll show you       15      Q. Okay. Well, it doesn't -- this is just
16   this, and you can let me know if you've ever         16   a fun fact that I saw. It was actually kind of
17   seen this before or not. This will be Exhibit 3      17   funny.
18   for your deposition.                                 18         Did you know that they also bank with
19          Have you ever seen a document like this       19   Silicone Valley Bank? That was just kind of a
20   before?                                              20   fun fact I saw based on the invoice. That was
21      A. I have not been provided this document.        21   kind of, like, an, uh-oh. Luckily they were
22      Q. Okay.                                          22   bailed out. But, nonetheless, I saw that, and I
23                                                        23   was, like, huh, what are the odds.
24                                                        24      A. Not relevant to me. As far as I know,

                                                     21                                                     23

 1              (Whereupon, TINJUM Deposition             1    I have been being paid on -- on schedule.
 2               Exhibit No. 3 was marked for             2       Q. No, I know. I just saw that. I
 3               identification.)                         3    thought it was funny. I know it's not relevant
 4   BY MR. TERRY:                                        4    to you.
 5      Q. Nonetheless, Gerson Lehrman Group, Inc.,       5          What's up, Chris?
 6   that's who you work for, or at least who's put       6       MR. SULLIVAN: Well, yeah. I mean, that's
 7   you in contact with Mr. Sullivan for the purposes    7    why we had -- I think they switched their
 8   of this matter, correct?                             8    payment methods.
 9      A. That is correct.                               9       MR. TERRY: I don't blame them.
10      Q. Are you aware that they bill your time         10   BY MR. TERRY:
11   at $675 per hour?                                    11      Q. Anyway, so, again, sir, you have no
12      A. I am not aware of that until now. I            12   reason to dispute that, give or take, so far to
13   know --                                              13   date, you've charged 33,000 -- or the defense
14      Q. Okay.                                          14   has been charged for your time, 50 hours times
15      A. -- that they have a markup, but I do           15   675 per hour, which is approximately $33,750,
16   not ask how much.                                    16   fair?
17      Q. Sure. Nonetheless, you agree, though,          17      A. That would be fair.
18   that the amount that the defense is being charged    18      Q. Plus however much time you spend in
19   for your time, based on this invoice, is $675        19   today's deposition, let's say another three or
20   per hour, fair?                                      20   four hours, so another -- let's say, three
21      A. Based on this document, yes.                   21   hours, another almost $2,100?
22      Q. Okay. So if we do 50 hours, which is           22      A. Yes.
23   give or take how much you've worked in this          23      Q. Okay. How much -- let me ask you this.
24   case, multiple it by $675, you're at $33,750 to      24   How much of your professional practice pertains

                                                     22                                                     24

                                                                                              Pages 21 to 24
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                                                                                      James Tinjum 04/04/2023

 1   to litigation work?                                     1   BY MR. TERRY:
 2      A. So my limited liability company, Tinjum           2      Q. That being said. Can you see my screen
 3   Consulting, LLC, is a part-time business on the         3   here, sir, the List of Cases in the Past Five
 4   side with my day job per se. Off the top of my          4   Years for Tinjum Consulting, LLC?
 5   head, I -- I would say that two-thirds of my            5      A. Yes, I do.
 6   work over the last five years has been litigation       6      Q. And I think this also may be in your
 7   related.                                                7   reports. That's fine.
 8      Q. Okay. So two-thirds -- you would say              8         That being said, I see one case on here
 9   approximately two-thirds of your income would be        9   where you were retained by the plaintiff for
10   related to litigation and the other one-third          10   cases in the past five years.
11   would be related to non-litigation work?               11         Would you agree with that?
12      A. Approximately, yes.                              12      A. Yes.
13      Q. And, again, I'm not asking you for an            13      Q. Okay. Does this include all cases in
14   exact estimate. I appreciate the approximation.        14   which you've provided expert opinions? Or only
15          When did this become the norm in terms          15   cases in which you've provided testimony,
16   of your percentage litigation versus non-litigation,   16   whether it be at trial or deposition?
17   et cetera?                                             17      A. This specific list was for litigation
18      A. Approximately seven or eight years.              18   related expert report and/or deposition.
19      Q. Okay. So it's been pretty consistent.            19      Q. Okay. Got it. So for the last five
20   We can just stick with that then.                      20   years, I guess your historical estimate is
21          Breakdown of -- well, how many open             21   pretty accurate. One out of five is about 80
22   files, litigation-wise, do you currently have,         22   percent for the defense, fair?
23   give or take?                                          23      A. That is fair.
24      A. Including this file, I have three open           24      Q. What is -- I see Slope Stability. I

                                                      25                                                              27

 1   litigation cases.                                      1    can guesstimate what that means.
 2       Q. Okay. Got it. What is the breakdown             2          But it says Grandad Bluff Coalition,
 3   of current plaintiff versus defendant in open          3    expert opinion on slope stability. That is the
 4   files? This one is obviously defendant.                4    only one I see for plaintiff.
 5       A. And these three open files, I have been         5          What did that case relate to? And what
 6   engaged by the defendant in all three.                 6    did you do -- talk about, et cetera?
 7       Q. Okay. What about historically                   7      A. That particular case, I was engaged by
 8   speaking, what would you say your breakdown            8    a community organization that was concerned
 9   has been, give or take?                                9    about the development of a mountain bike trail
10       A. Historically, litigation related, I'd           10   system on Grandad Bluff in LaCrosse, Wisconsin.
11   say approximately, off the top of my head, 75 to       11   And I was retained to do an expert report on any
12   80 percent would be defendant.                         12   concerns related to construction induced stability
13       Q. Got it. Okay. I want to show you what           13   or erosion issues.
14   will be marked as Exhibit 4 for your deposition.       14     Q. Okay. Got it. Before we go into your
15       MR. TERRY: And so, Margie, just so we're           15   report, which will be the next exhibit, I just
16   clear. Today I'll do -- I know the CV is               16   want to clear something up.
17   included in his report, but it will just be            17         You are clearly an expert in civil and
18   easier this way. CV is 1, Timesheets is 2, GLG         18   environmental engineering, fair?
19   Bill is 3, and then Exhibit 4 will be the              19     A. Yes, I would consider myself in those
20   Five-Year Litigation List, and then Exhibit 5, I       20   terms.
21   think, will be the report.                             21     Q. Okay. You are not -- I just want to
22                (Whereupon, TINJUM Deposition             22   clarify what you're not.
23                 Exhibit No. 4 was marked for             23         You are not a construction expert. And
24                 identification.)                         24   what I mean by that is an expert in how construction

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1    companies, whether general contractor or              1       Q. Well, not only that, contractors are
2    subcontractors, do their work, means and methods      2    usually not going to take orders from somebody
3    on a day-to-day basis, fair?                          3    not in the construction field, fair?
4       A. I have a solid understanding of what            4       A. They are responsible to meeting the
5    contractors do for earthwork construction.            5    standards that are posed to them in contract
6       Q. Sure. But you have never actually               6    documents.
7    worked for a construction company doing the           7       Q. So, again, to say it another way, you
8    work, fair?                                           8    were more of a behind-the-scenes, I know quality
9       A. I have not worked for a construction            9    assurance and quality control -- but behind the
10   company doing said work.                              10   scenes in terms of specifications, analysis, as
11      Q. You've never done any manual labor in           11   opposed to front line telling contractors how to
12   the construction field; is that fair?                 12   work, how to do their work, fair?
13      A. I have not been a manual laborer in the         13      A. Correct.
14   construction field.                                   14      Q. Okay. I want to go into your report.
15      Q. So when you say you have a general              15         You have a copy of that in front of
16   understanding of the work that's being performed --   16   you, right?
17   I don't mean this to be offensive -- but,             17      A. I do.
18   essentially, you're one of the examples of those      18      Q. Okay.
19   who don't do it, teach it, fair?                      19              (Whereupon, TINJUM Deposition
20      A. I would not say that's fair.                    20               Exhibit No. 5 was marked for
21      Q. Why not?                                        21               identification.)
22      A. Because the first half of my career was         22   BY MR. TERRY:
23   in consulting --                                      23      Q. I'll share it really quick. But it's
24      Q. Okay.                                           24   21 pages without the exhibits, 31 with, fair?

                                                     29                                                      31

 1      A. -- in the field, once upon a time                1       A. The -- I have my exhibits starting on
 2   taking construction density tests, QA/QC,              2   Page 15.
 3   overseeing the quality of those means and              3      Q. What -- okay. Do you see at the top of
 4   methods in meeting engineered standards for            4   your report where it says Page 1 of 21?
 5   specifications.                                        5       A. Yes.
 6      Q. Okay. But you never told a contractor,           6      Q. Okay. So that's what I'm referring to
 7   hey, you're using that bulldozer wrong. You            7   at least. I guess, when you look at -- so
 8   would tell them something along the lines of, my       8   Exhibit 1 does start on Page 15. But -- so I
 9   scientific analysis of the soil says X, fair?          9   guess the exhibits start on Page 15, as you
10      A. So, in context, the standard of                 10   said.
11   practice is not to tell a contractor how to do        11          But the 21 total pages with exhibits,
12   something, but to indicate when they are not          12   and then -- well, 31 with your CV; 21 with just
13   meeting performance standards.                        13   the normal exhibits, 31 with your CV, fair?
14      Q. All right. And, again, performance              14       A. Yes. The -- the CV was not in that
15   standards wouldn't be about how they're using         15   page numbering system.
16   their tools or how they're doing their work, it       16      Q. Okay. But if you look at the top of
17   would be about behind-the-scenes scientific           17   your CV --
18   analysis of soil or whatever else it may be,          18       A. Oh, yes.
19   fair?                                                 19      Q. Yeah. If you look at the top of your
20      A. Yes, that is correct in the context             20   CV, it does say Page 22 of 31 here, right?
21   that you generally do not tell a contractor           21       A. Correct.
22   their means and methods, because then you take        22      Q. Okay. So we already talked about your
23   on responsibility for telling them how to do          23   CV. Just for sake of not altering your report,
24   something.                                            24   I'll leave it attached to this. It can be

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 1   attached again, that's fine.                       1    you just have to ask.
 2         But you do have a copy of this report        2         Basically, when you go into Page 1 of
 3   in front of you, right?                            3    your report, you'd agree that you start out by
 4      A. I do.                                        4    giving a basic introduction of your -- basic
 5      Q. Okay. So I won't share my screen             5    opinions in the areas of why you were asked to
 6   unless we're not on the same page, no pun          6    address, and these are standard of care for an
 7   intended.                                          7    earthwork subcontractor, soil conditions, root
 8         By the way, sometimes you get it where       8    cause for ice formation, and the relevance of
 9   a report is drafted for you in our field and       9    the information contained in my expert's report,
10   then you agree with the opinions, sometimes you    10   Joe Barnes, fair?
11   draft it yourself.                                 11     A. Yes, that is the generality of why I
12         Safe to say that I thought this was          12   was retained to provide an opinion.
13   written for a baccalaureate, so I'm going to,      13     Q. Okay. And then if you go down, it's
14   again, assume you wrote it yourself; is that       14   broken down into sections.
15   fair?                                              15        Number one would be the Standard of
16      A. I prepared an annotated outline and          16   Care for Earthwork Subcontractor followed,
17   then I wrote this report myself.                   17   meaning you believe DBC, Don Borneke, followed
18      Q. Where is your annotated outline?             18   the standard of care for an earthwork subcontractor,
19      A. The annotated outline, I believe, was        19   right?
20   provided by legal counsel.                         20     A. That is my opinion, yes.
21      MR. SULLIVAN: It's a draft PowerPoint that      21     Q. Okay. And then you go on to say,
22   was in the materials, Charlie.                     22   basically, that there was specifications
23      MR. TERRY: Oh, okay. You mean the draft         23   provided to them that were prepared by an
24   PowerPoint?                                        24   engineer of record, right?

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 1      MR. SULLIVAN: Yep.                               1       A. Correct.
 2      MR. TERRY: Is that what you were referring       2       Q. And then, basically, your opinion is
 3   to, Mr. Tinjum?                                     3   they followed these specifications -- to the
 4      THE WITNESS: That is correct. I typically        4   specifications to the best of your knowledge
 5   do my outline work in PowerPoint form.              5   based on the information you were provided,
 6      MR. TERRY: Fair enough. Okay. Got it.            6   fair?
 7   Okay.                                               7       A. My word would be to the standard of
 8   BY MR. TERRY:                                       8   care, yes.
 9      Q. Was there any substantial edits               9       Q. Okay. To the standard of care.
10   requested by -- or maybe not even substantial,     10          Let me ask you this. There -- is it
11   but -- what's the word I'm looking for --          11   your opinion that their job is to follow these
12   purposeful or meaningful edits suggested or        12   specifications provided no matter what, even if
13   requested to be made by the defense firm in this   13   they believe them to be unsafe?
14   matter, whether it be Chris, or someone else       14       A. Well, I don't know if they believed
15   from his firm?                                     15   that they were unsafe, but the contractor
16      A. So the annotated outline was reviewed        16   standard of care is to follow specifications.
17   by Chris Sullivan, and I had a conversation with   17       Q. That wasn't my question. I appreciate
18   him. There was no edits requested. He just         18   it.
19   asked have I provided all of the required things   19          My question was, specifically, is it
20   in an expert report.                               20   your opinion that they are contracted to perform
21      Q. Fair. Okay. Got it.                          21   the contracted work based on the specifications
22      A. Yes.                                         22   whether or not they believe them to be safe or
23      Q. Trust me, I didn't expect this. But          23   unsafe? It's not up to them to question it,
24   sometimes you get some good answers to that, so    24   it's just up to them to be good soldiers and

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1    perform the work.                                  1      Q. Okay. Do you agree that Don Borneke is
2           Is that your opinion?                       2    an excavation contractor, or earthwork contractor,
3       A. That was not my specific opinion in          3    and I'll use those words interchangeably throughout
4    this report. I did not opine on the safety         4    this because --
5    aspect that I remember.                            5          Well, let me ask you this. Don't you
6       Q. Sure. Well, I'm asking you now. If a         6    agree that Don Borneke was digging and doing
7    contractor looks at the specifications and         7    earthwork that pertained to foundations and
8    believes something may be missing or the           8    other things that would fit -- be categorized as
9    compaction might not be good enough or the soil    9    excavation work?
10   report is troublesome, is it your opinion that     10     A. So earthwork contractor is more of a
11   they should disregard those concerns and just do   11   global term, and it includes multiple practices
12   the work as specified, or they should address      12   within that. I agree that they were engaged as
13   those concerns?                                    13   an excavation service for the excavation for the
14      A. So if there is some gross -- some gross      14   wind turbine foundations in particular.
15   safety violations, those things are typically      15     Q. So when you say excavation work was not
16   discussed openly in the morning, quote, unquote,   16   an issue, you just mean specifically as it
17   toolbox meetings, or similar. So there is --       17   pertains to the access road in the erection
18   especially when you have a relationship between    18   area, fair?
19   a contractor and an engineer at multiple sites,    19     A. Can you repeat that, please?
20   those discussions are more common and fruitful.    20     Q. Sure. When you say that the excavation
21      Q. Okay. So you would expect a qualified,       21   is not applicable, or is not excavation work,
22   safe, competent excavation expert, if they         22   whatever you just said, you're saying that only --
23   thought something was unsafe to specifications     23   that statement only relates to the work that was
24   or the contract, to address that either with the   24   directly related to where Mr. Georgeff fell,

                                                   37                                                             39

 1   engineer of record or the company that hired        1   meaning the erection area and the turnaround
 2   them, fair?                                         2   roads, fair?
 3      A. Yes, I would expect an earthwork              3      A. Yes, I consider the lay-down area for
 4   contractor to follow those specifications.          4   the turbine area to be a non-OSHA qualified
 5      Q. Well, not only follow the                     5   excavation effort.
 6   specifications. If they though something was        6      Q. Jim, I get that. And we're going to be
 7   unsafe about them, to bring them up to the          7   here for ten hours if you just like to hear
 8   contractor that hired them or the engineer of       8   yourself talk after every answer. It was a
 9   record, if they had that ability, fair?             9   simple yes or no.
10      A. If they had that ability, yes, that is       10         The question was, do you agree that
11   fair.                                              11   part of the work was excavation related based on
12      Q. Okay. Let me ask you this. If -- would       12   your definition of it and part of it, specifically
13   you agree that on this job site specifically, it   13   the erection area in the lay-down yard and the
14   would be up to both -- I'll be fair -- both        14   and turnaround area, would not be, fair?
15   Mortenson and Borneke to ensure that the           15      A. Yes.
16   excavation plans were safe and executed            16      Q. Okay. There we go. So there was
17   properly?                                          17   excavation components to Don Borneke's work on
18      A. Well, I do have a question about the         18   this project, just specifically not as it
19   excavation plan.                                   19   relates to the exact location where the ice
20          So as I've opined in this report,           20   formed, in your opinion, fair?
21   earthwork construction, overall, can include       21      A. That was my opinion, yes.
22   excavation, but I characterize this work as --     22      Q. Okay. So would you agree that
23   specific to this incident, as not excavation       23   Don Borneke is not only an excavation expert
24   related.                                           24   company, but also an earthwork general global

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1    firm, whatever word you want to use, contractor      1      A. Yes.
2    in this Midwest region?                              2      Q. Okay. Got it.
3       A. Excavation and earthwork, yes.                 3      MR. TERRY: You know what, guys, I'm sorry,
4       Q. Okay. And, in fact, you read the               4   can we go off the record for a second?
5    depositions in this case, right?                     5      MR. SULLIVAN: Yes.
6       A. I have reviewed the depositions.               6                (Recess taken.)
7       Q. Okay. You're aware that, even when you         7      MR. TERRY: Back on the record.
8    go to their website, they talk about how many        8   BY MR. TERRY:
9    dozens of wind farm projects they've worked on.      9      Q. So, sir, you would expect that
10   They pride themselves to be the experts in          10   Don Borneke, as we were talking about, to know
11   excavation and earthwork, contract work             11   about soil responses in the area, and specifically
12   performed on these wind farms for the Midwest       12   for the projects they're working on, because you
13   region, fair?                                       13   would expect them to be able to read the
14      A. I saw some screenshots of their web           14   specifications and do the work based on those,
15   page as part of some of those deposition records.   15   fair?
16      Q. Okay. And on those screenshots, they          16      A. I would expect them to understand the
17   hold themselves out to be experts for wind farm     17   soil conditions.
18   excavation and earthwork moving, fair?              18      Q. Okay. You would expect them to
19      A. To my memory, yes.                            19   understand the different specifications that are
20      Q. Would you expect that a -- would you          20   required for pad versus an erection area, what
21   expect that a company performing excavation work    21   is safe and what is unsafe between those two
22   on a project to be able to know how to read         22   things based on the soil response and everything
23   plans, whether it be specifications for             23   kind of put together in that one big puzzle.
24   compaction, whether it be specifications for        24   Based on everything they had, they should know

                                                    41                                                       43

 1   excavation, whether it be soil types, soil           1   what's safe, what's not safe, and how to do
 2   categorizations, you always expect them to have      2   their work based on a given area, fair?
 3   a general knowledge of all those things that go      3       A. That's fair.
 4   into their work on a job site?                       4      Q. Okay. So you would agree that they are
 5      A. Yes, I would expect that general               5   qualified to make assessments about the plans,
 6   knowledge.                                           6   if they thought something about them was unsafe,
 7      Q. And if they don't have that general            7   or improper, based on their experience in the
 8   knowledge, you would agree that they probably        8   field?
 9   shouldn't be doing this type of work, fair?          9       A. I would say that the standard of
10      A. It's that knowledge that allows them to       10   practice is for, across the industry, would
11   appropriately bid and receive jobs.                 11   be to allow the contractor to make those types
12      Q. Okay. So you would expect, at least           12   of -- initiate those types of discussions.
13   from a general standpoint, that Don Borneke         13      Q. Especially if they're experts in this
14   would be able to read and evaluate the contract     14   field who have dozens of these types of projects
15   specifications, the geotechnical report, soil       15   in the same geographic region, fair?
16   classification reports, all that stuff; is that     16       A. Yes.
17   fair?                                               17      Q. And you would agree -- and if I ask --
18      A. That is fair.                                 18   I might be asking you hypertechnical similar
19      Q. And you would expect them to be able          19   questions, but they're different, I promise.
20   to, based on their experience in the area, come     20          You'd agree that they're qualified to
21   to some, at least, general predictions or           21   look at weather reports to know what is likely
22   conclusions about the type of soil, the weather,    22   to come and how to respond to that with their
23   stuff like that, based on their 60 plus wind        23   work coming up?
24   farm projects in the same region, fair?             24       A. I would expect a contractor to be in

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 1   tune and cognizant of the upcoming weather           1   ground and see how the soil is responding, see
 2   conditions.                                          2   what's going on underneath the surface, it might
 3      Q. Because that can be highly important,          3   necessitate different types of means or methods
 4   especially in the Midwest, when you're building      4   based on what's going on in the sublayers, or
 5   a wind farm, fair?                                   5   even in the top layer, just based on how it's
 6      A. Yes. And across the seasons, weather           6   saturated or not saturated or whatever it may
 7   can present certain challenges.                      7   be?
 8      Q. And then the same questions as it              8      A. So this answer does need some context.
 9   pertains to the soil reports and the                 9      Q. Yes.
10   geotechnical reports. And, again, if I asked        10      A. Wind farms are very large projects over
11   this, I apologize.                                  11   large acreages, so, yes, soil conditions are
12         Do you agree that Don Borneke would be        12   going to vary and potentially require different
13   qualified to not only look at these, but            13   considerations from one site to the next.
14   qualified to provide opinions if they thought       14      Q. Okay. And this is something that you
15   something was lacking or dangerous or not           15   might not know until you actually get in there,
16   appropriate for the geographic region, fair?        16   open up the ground and start moving earth
17      A. So I would expect them to develop means       17   around, and say, uh-oh, this might be a little
18   and methods specific to the soil conditions.        18   different from the report. Hey, let's have a
19          I might need you to repeat that              19   conversation about this and figure out the best
20   question, so I got you correctly.                   20   way to proceed, fair?
21      Q. Sure. Let me break it down a little           21      A. That is fair.
22   bit, because it is a multiple-point question.       22      Q. Okay. Let me just ask you a general
23         You do agree that Don Borneke is              23   question.
24   qualified and competent to look at the soil         24         You know, you're talking about the

                                                   45                                                      47

1    reports, look at the geotechnical reports, know     1    standard of care for Don Borneke. And I know
2    what they mean, implement what they're              2    it's your opinion that they followed the
3    requesting of them in the field, fair?              3    standard of care, because they followed the
4       A. Yes.                                          4    specifications properly.
5       Q. And the same question, based on that,         5          But hypothetically speaking, if an
6    because they're qualified and competent to look     6    excavation or earthwork contractor does not
7    at them and implement them in the field, you'd      7    properly perform the work on a job site, such as
8    expect them to have that same requirement you'd     8    they're not, you know, compacting to the correct
9    expect of any contractor in the field, if they      9    specifications or responding to the soil,
10   see something that provides maybe pause or          10   whatever it may be, would you agree that if
11   concern or something that may not be appropriate,   11   they're not doing their work properly, then they
12   you'd expect them to use the industry standard      12   would not be providing the standard of care
13   and initiate a conversation, whether it be with     13   required of an earthwork contractor, just
14   the general contractor and engineer of record,      14   hypothetically speaking?
15   whoever drafted these reports, fair?                15       A. In that hypothetical, yes.
16      A. Yes, I agree with that.                       16      Q. Okay. And then I'm going to continue --
17      Q. Okay. And would you also agree that           17   well, we'll go back to the report.
18   sometimes excavation companies, or the earthwork    18         You said that Borneke has to use -- and
19   contracting companies -- I'll use those             19   I'm just speaking generally. If we need to get
20   interchangeably for now. When we get into           20   specific quotes, we will.
21   specific -- different work, that's -- we can        21         But generally, you'd agree that they
22   differentiate it.                                   22   need to use their means and methods to meet the
23         Would you agree that sometimes these          23   earthwork specifications, right?
24   contractors, when they actually open up the         24       A. Correct.

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 1      Q. So at the end of the day, it's up                1   and just generally make sure that they're safe
 2   to Borneke to perform the work up to the               2   and appropriate for the work they're going to be
 3   specifications that are provided to them,              3   performing in this area, fair?
 4   whether it be from geotech reports to contracts,       4     A. Yes.
 5   whatever it may be, all the specifications, it's       5     Q. Okay. And then not only that, in
 6   up to them to implement them in the field, fair?       6   addition to doing those two things, the means
 7      A. It is up to them to implement means and          7   and methods and using their expertise, they also
 8   methods.                                               8   have to execute their work properly, right?
 9      Q. Okay. And they have to use, as we                9     A. Correct.
10   talked about, their expertise to make sure these      10     Q. And then in the last -- the first main
11   specifications are appropriate not only from          11   paragraph on Page 1, it says: The quality
12   project to project, but from site to site, fair?      12   assurance control program was in effect and --
13      A. I'm sorry, just repeat that one more            13   was in effect and enforced by others, primarily
14   time, please.                                         14   Mortenson, right?
15      Q. Sure. You also agree that, based on             15     A. Yes.
16   what we've just been talking about, Borneke           16     Q. So Mortenson signed off on the work
17   would not only have to, you know, come up with        17   that Don Borneke did on this project, based on
18   the means and methods to implement these              18   the testimony you've read, fair?
19   specifications based on their expertise in this       19     A. That's my understanding, yes.
20   field, you'd expect them to use this expertise        20     Q. Okay. But at the end of the day,
21   to make sure that the specifications are              21   Mortenson is not an excavation company, and
22   appropriate, or at least safe, generally              22   that's why they hired Don Borneke, fair?
23   speaking, from project to project, and even site      23     A. Mortenson is an engineer, procure,
24   to site depending on how the ground conditions        24   construct contractor --

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1    may change on a large project, fair?                  1       Q. Okay. Who hired --
2        A. Not necessarily.                               2       A. -- not an earthwork contractor.
3       Q. So you -- so -- I'm just getting a              3       Q. Exactly. Again, it's a simple yes or
4    disconnect here.                                      4    no.
5           A second ago you said an earthwork             5          So the answer would have been Mortenson
6    contractor, including Don Borneke, would have to      6    is not a specialized contractor, and that's why
7    use their expertise to make sure specifications       7    they hired specialized contractors for this work,
8    are safe and appropriate. And if not, have the        8    fair?
9    conversations with the appropriate contractors        9       A. Yeah, subcontractors, correct.
10   or engineers, right?                                  10      Q. Sure. A subcontractor is a contractor.
11       A. Correct. All --                                11   That being said, so at the end of the day,
12      Q. So the --                                       12   Borneke also had their own quality assurance and
13       A. -- I'm saying is is that there are             13   quality control personnel on site, albeit, Nick
14   evolving relationships where there are                14   Borneke, fair?
15   pre-construction activities to review the site.       15      A. I am not specifically remembering a
16   If the contractor input into it more as a             16   specific QA/QC personnel.
17   partnership and -- you know, I'm not sure what        17      Q. Okay. If Nick Borneke, obviously is a
18   this particular relationship was on this site,        18   member of the Borneke family, said that he was
19   where this contractor was allowed to pre-bid or       19   on the site doing quality assurance and quality
20   pre-project. Have those types of discussions.         20   control on a daily basis, would you have any
21      Q. Okay. But my question for you, just             21   reason to dispute that?
22   generally speaking, you'd agree that the              22      A. I would not have reason to dispute
23   industry standard would be for Don Borneke to         23   that.
24   use their expertise to look at these specifications   24      Q. Okay. So at the end of the day,

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 1   although -- and would you have any reason to        1   care required Mortenson to notify Borneke of
 2   dispute the testimony that Mortenson generally      2   problems, and then Borneke would fix them,
 3   signs off on the work, basically says, yeah,        3   right?
 4   we'll just go from the surface.                     4      A. If you could point that out in my
 5          But at the end of the day it's up to         5   report, so I can just get the context.
 6   the specific contractor performing the work to      6      Q. Sure. The last full sentence on
 7   make sure they're doing it safely so that it's      7   Page 1: As issues surface which would
 8   ready to be signed off on?                          8   necessitate repair and/or corrective action,
 9      A. So in the industry it's typical for           9   the standard of care is to notify the
10   a -- somebody separate from the contractor doing   10   subcontractor and allow time and access to
11   the work to assess the quality of that work.       11   address the issue, right?
12      Q. Sure. But while the contractor -- and        12      A. Yes.
13   we'll just use Borneke in this situation --        13      Q. Are you -- do you remember the
14   while they're doing their work, they should do     14   testimony of Nick Borneke that said it was a
15   it up to the required specifications, if they      15   joint effort. Mortenson would tell them about
16   can, so that way when it comes time to sign off    16   certain things, but Borneke would also figure
17   on it they can get the checkmark and they can      17   out things on their own and address them as
18   move on, fair?                                     18   needed. That's why they had quality assurance
19      A. Yes.                                         19   on the site?
20      Q. Okay. So Mortenson's not out there           20      A. I do not specifically remember the
21   telling Borneke, hey, do your work in a            21   exact statement, but that would not surprise me
22   different way; or, hey, do this this way. It's     22   that that was stated.
23   still up to Borneke, like -- as you said, means    23      Q. Okay. So it's not only Mortenson's job
24   and methods, specifications, and execute the       24   to make sure the work is performed properly by

                                                   53                                                       55

1    work, fair?                                        1    Borneke.
2       A. Yes.                                         2          Would you agree, just generally
3       Q. And they also have their own quality         3    speaking and specifically for this project, it's
4    assurance person on the job site, Nick Borneke,    4    a joint effort between the hiring contractor and
5    fair?                                              5    the subcontractor doing the work. If the
6       A. Yes.                                         6    subcontractor realizes something is unsafe, they
7       Q. Okay. So it's -- it's not just               7    can say something, if the general contractor
8    Mortenson doing quality assurance. Mortenson is    8    realizes something is unsafe, they could say
9    signing off on the work, but Borneke is the one    9    something, right? It's a joint effort?
10   actually doing the work and actually has their     10      A. It is a joint effort in those terms,
11   own quality assurance as well, fair?               11   yes.
12      A. It's fair that Borneke or a contractor       12      Q. Okay. Got it. And you agree that
13   would be assessing the level that their work is    13   there are some projects where the earthwork
14   performing to.                                     14   contractor does their work and then they leave
15      Q. And you'd also expect that Borneke be        15   the project until they're called back, if needed,
16   doing that as they're doing their work, fair?      16   fair?
17      A. Repeat that one time, please.                17      A. Yes.
18      Q. Sure. You'd also be expecting Borneke,       18      Q. On this project, Borneke was on the
19   or any excavation earthwork contractor, to be      19   site every single day; and, specifically, Nick
20   doing that as they're performing their work,       20   Borneke also testified that he was on the site
21   fair?                                              21   doing quality assurance every day or most days,
22      A. Yes. It's part of their understanding        22   fair?
23   that they are performing to specifications.        23      A. To my memory, yes.
24      Q. Okay. You say that the standard of           24      Q. Okay. And then you also agree that

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 1   Borneke, if they saw a problem, they had -- and          1    given unknown and uncontrollable factors, right?
 2   they said this in their testimony -- they could          2        A. Yes.
 3   go ahead and fix it if it's their work, fair?            3       Q. Okay. And in your opinion the unknown
 4      A. Yes.                                               4    factors are things like weather, environmental
 5      Q. Okay. And then whether or not you like             5    conditions, and soil heterogeneity, right?
 6   the word tune-up, I get it, but, nonetheless,            6        A. Yes.
 7   you agree that Borneke, including Nick Borneke,          7       Q. Okay. How is -- let me ask you this.
 8   said that they were, in fact, doing tune-ups             8    How is environmental conditions different from
 9   from time to time on this project, meaning going         9    weather, just generally speaking?
10   around, seeing if some of their work needed to           10       A. So weather is things like temperature,
11   be resmoothed or releveled or whatever it may            11   precipitation.
12   be, and doing that, right?                               12      Q. Sure.
13      A. Yes.                                               13       A. Environmental conditions are the result
14      Q. So you agree that it's -- on this                  14   of that weather, such as that freeze/thaw cycles
15   project specifically it was a team effort                15   or wet/dry cycles. Those are environmental cycles.
16   between Mortenson and Borneke, not all on one,           16      Q. Okay. So they go hand in hand, but
17   not all on the other. It's a team effort to              17   essentially weather is the temperature, the
18   make sure the work is not only being performed           18   rain, the sun; and the environmental would be
19   properly, but also making sure that it's being           19   how the earth is responding to that?
20   maintained properly, fair?                               20       A. Yes. That is my technical approach.
21      A. Yes.                                               21      Q. Okay. What is soil heterogeneity? Or
22      Q. Okay. If we go on to Page 2, on the                22   if I'm even pronouncing that correctly.
23   top -- well, it starts on the bottom of Page 1.          23       A. It just means, in simplest terms, that
24   But it says: An Engineer-Procure-Construct               24   Mother Nature gives us a mix of soil conditions

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 1   contractor, so EPC, such as Mortenson understands         1   at a site.
 2   and plans for some level of project variability           2      Q. And is it heterogeneity or heterogeneity?
 3   understanding that when an earthwork subcontractor        3      A. Heterogeneity.
 4   is hired, they are purchasing a defined service           4      Q. Heterogeneity. Okay. All right. And
 5   and not insurance, right?                                 5   you say that all of these things are unknown to
 6     A. Correct.                                             6   Borneke, and that's why you think they employ
 7     Q. Okay. So you agree that despite this,                7   reasonable care and competence given these
 8   Borneke still has an obligation to perform the            8   unknown factors, right?
 9   work as a reasonably safe contractor would,               9      A. Yes.
10   right?                                                   10      Q. Okay. My question for you is, how do
11     A. Yes.                                                11   you reconcile this, when later in your report
12     Q. And this would include having the                   12   you say that the soil response was predictable
13   general knowledge of the plans and the                   13   and this was a predictable outcome based on the
14   specifications to make sure, one, they are safe;         14   site conditions, soil conditions, et cetera?
15   but two, so that way they can implement them in          15      A. So, specific to that location, what I'm
16   the field by their own means and methods, fair?          16   saying is is that, in general, silty, subgrade
17     A. Yes.                                                17   conditions were expected at the site, just not
18     Q. Okay. So they're not supposed to be                 18   knowing where specifically they were expected.
19   perfect, but they are supposed to do the work            19      Q. So, generally speaking, this potential
20   properly, fair, and be knowledgeable experts in          20   outcome was predictable, but maybe not
21   their field doing the work, fair?                        21   specifically at site T11.
22     A. Yes.                                                22          Is that what you're saying?
23     Q. Okay. And then you continue that                    23      A. Yeah, that's a fair characterization of
24   Borneke employed reasonable care and competence          24   my statement.

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 1      Q. Okay. So as an excavation expert, even          1   from site to site, they have, like you said,
 2   before the work starts, anyone who's looking at       2   conditions might change from T1 to T -- however
 3   these reports and knows anything about anything       3   many there were, 30 or whatever it was.
 4   about soil heterogeneity, soil types, geotechnical    4         On each individual turbine site, there
 5   reports, they should know that a response like        5   might be different soil conditions, fair?
 6   this might happen depending on environmental          6      A. At each turbine site and then across
 7   conditions, and to kind of be aware for things        7   the location soil conditions may be different.
 8   that change on the project given the various          8      Q. Okay. So I'll go -- and I understand
 9   sites, fair?                                          9   that you're going to say Mortenson, in the
10      A. That's a fair statement at multiple            10   rider, purports to know this.
11   levels, including the geotechnical report rider --   11         But Borneke would also know that, hey,
12      Q. Sure.                                          12   be on the lookout, there might be this silty
13      A. -- the EPC contractor, and the                 13   type of soil on various sites, right?
14   subcontractors.                                      14      A. They should be aware of that, yes.
15      Q. Oh, okay. So it's a fair statement             15      Q. Okay. And you agree that, from site to
16   that this was a -- whether it be at site T11, or     16   site, turbine site to turbine site, work may
17   somewhere else, that this response was a             17   need to be altered for the means and methods and
18   predictable response based on the type of soil,      18   the specifications.
19   not only for Borneke, but -- we'll do it this        19         Once you actually open up the soil and
20   way -- for Borneke, for Mortenson, and for the       20   say, oh, site T10 didn't have a silty soil, but
21   geotech rider, fair?                                 21   site T11 does. Let's make sure we're addressing
22      A. The elastic settlement would be expected       22   this with either the engineer or Mortenson and
23   and was expected in the geotechnical report.         23   figure out a plan that's safe, fair?
24      Q. Okay. Got it. And this is something            24      A. A plan that's executable, yes.

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 1   you would expect a competent contractor, like         1      Q. Okay. Not only executable, also that
 2   Borneke, to know what that is; to know that,          2   would be -- lead to safe work conditions on the
 3   hey, this might occur on various sites; be on         3   project, fair?
 4   the lookout for it and make sure we're just           4      A. Yes.
 5   doing the work properly based on how the soil         5      Q. Okay. So when you say this is an
 6   responds from site to site, fair?                     6   unknown factor, just to be clear, you're only
 7      A. I'm just going to have to characterize          7   saying, specifically, no one could have
 8   my responses. They may not understand the             8   predicted exactly that site T11 would have this
 9   mechanics of it. They'll understand that              9   response, but generally on the project, this
10   they've seen that before, so would expect things     10   response could be expected somewhere, fair?
11   to happen without necessarily knowing the            11      A. Yes.
12   engineering mechanics of it.                         12      Q. Okay. On the next -- maybe it's the
13      Q. So they might not know the engineering,        13   next page. Oh, yeah, this is what I wanted to
14   like, they might not be a professional engineer      14   talk about. And this is exactly what we're
15   or a civil engineer with a doctorate in this         15   getting into on the next page. We'll get there
16   question, but they -- you know, in this area,        16   in a second. We don't have to go there.
17   but based on their experience, you still expect      17         When you actually say that Barr Engineering
18   them to be able to look at this report and           18   geotechnical report was -- predicted -- like, it
19   understand, generally, what it means and how the     19   predicted this type of response in various areas
20   soil might respond --                                20   of the project, fair?
21      A. Yes.                                           21      A. It stated that there were elastic silts
22      Q. -- in this area, fair?                         22   and it predicted that there was elastic settlement
23      A. Yes.                                           23   specific to the wind turbine foundations.
24      Q. Okay. And based on that, when they go          24      Q. Okay. So this is something that you

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 1   would -- again, the geotech report is something      1    settlement caused that slightly depressed area
 2   that you'd at least expect Don Borneke to have a     2    where then precipitation could collect and
 3   working knowledge of and understand what it's        3    freeze.
 4   saying, specifically what silty soil might do,       4        Q. So when you say elastic -- I just want
 5   fair?                                                5    to make sure I'm understanding you correctly --
 6       A. It is fair that the geotechnical report       6    it's kind of a combination of two things. One,
 7   is typically part of the construction documents.     7    it's a combination of the freeze/thaw, but then
 8      Q. And part of what you'd expect a competent      8    also combined with the weight of the equipment
 9   contractor, like Borneke, to understand and          9    that's staged in this area, fair?
10   implement in the field based on their own means      10       A. So if -- if you allow me to define what
11   and methods, fair?                                   11   elastic settlement is, maybe that will help.
12       A. They would be expected to understand          12       Q. Sure.
13   the soil conditions, yes.                            13       A. So elastic settlement, or compression,
14      Q. Okay. So you would expect Borneke not          14   is a near immediate response to a loading. So
15   only to have read this document, but to have         15   think of a sponge, you have a sponge that's
16   known about it and implemented it in their work      16   filled with water and you put your hand on top
17   on the project from site to site if they see a       17   of it and you push it down, the sponge moves, it
18   different response from a site -- the previous       18   compresses.
19   site, fair?                                          19       Q. Sure. Sure.
20       A. It's fair that they would be expected         20       A. That is an elastic response.
21   to be knowledgeable of all construction documents.   21       Q. Got it. So if we think of it this way --
22      Q. Okay. You go on to number two, the             22   I just want to make sure I'm -- so it's -- when
23   main next heading on Page 2 -- well, 15 to 21.       23   you have a new sponge that's dry, it doesn't
24   It says that, generally, the root cause of an        24   have that elastic response, as easily at least;

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1    exposed, thin layer of ice at turbine erection        1   but when you have it wet, it does have it, fair?
2    site T11 was elastic compression of compacted,        2      A. So it's a very fair follow up. When it
3    fine-grained silt that was -- what is it --           3   is dry, it will not have as much compression as
4    surficially loaded by placement of a heavy tower      4   when it was wet.
5    section at the location of the slip/fall              5      Q. Okay.
6    incident, right?                                      6      A. It's stiffer when it's dry, it is not
7       A. Correct.                                        7   as stiff when it's wet.
8       Q. Okay. That is very hypertechnical, so           8      Q. Okay. So this is why you say it's not
9    I want to break that down. Because I've been          9   just like a sheer pressure causing this. It's
10   dealing with this for the last four years, and I     10   kind of the elasticity caused by the ground
11   barely know what that means. And I want to make      11   condition, but also the weight of the equipment
12   sure that we're all on the same page when this       12   on top. So it's not just the sheer force, it's
13   goes in front of a jury.                             13   the freeze/thaw that caused this when the
14      A. Sure.                                          14   equipment was placed there, fair?
15      Q. You are basically saying that because          15      A. Yes. Multiple factors go into that
16   of the freeze/thaw cycle, the soil was caused to     16   mechanism.
17   retain precipitation and/or melted water, fair?      17      Q. Okay. And this elasticity of the soil
18   Simply put, I know I'm oversimplifying it, but       18   was, as you said in the engineering report, a
19   that's the general statement?                        19   predictable response in certain areas, just not
20      A. Yes, it retains water.                         20   exactly where it would happen, fair?
21      Q. And this is what you believe caused the        21      A. It's fair, but let me provide context.
22   sheet of ice to rise -- or the water to rise and     22   The geotechnical report specifically calculated
23   the sheet of ice to form, fair?                      23   elastic settlement for the wind turbine foundations
24      A. My statement was is that elastic               24   and not necessarily for these prep areas.

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1       Q. Okay. You agree that the wind turbine        1    came from, it could be melted precipitation or
2    foundations are in the same area, generally        2    it could be water that is expelled from the soil
3    speaking, as the erection area, because you have   3    when it is loaded.
4    to have the turbine in the erection area, fair?    4        Q. I got --
5       A. Correct.                                     5        A. I cannot tell you definitively if it
6       Q. Okay. And so in the same general             6    was melt water or if it was water that came out
7    location there is this elasticity noted at each    7    of that wet sponge.
8    turbine site, fair?                                8        Q. So for all you -- exactly. For all you
9       A. Yes.                                         9    know, it could have come out of the wet sponge,
10      Q. Okay. So at each turbine site,               10   it could have come from rain, it could have come
11   Borneke, Mortenson, and the geotech person, but    11   from somebody hosing off equipment. But it just
12   specifically Borneke, would have known the soil    12   pooled in that area due to it being depressed,
13   is going to have an elastic response based on      13   due to the response of the soil, due to its
14   the geotechnical report, based on the soil,        14   elastic qualities, fair?
15   based on everything.                               15       A. That is fair.
16         They should have at least known that,        16       Q. Okay. You say that the soil has a
17   hey, these foundation sites, the erection sites    17   lower elastic moduli, I think.
18   might have this type of elastic response, fair?    18           What does that mean?
19      A. I would expect them to be cognizant of       19       A. So that is the stiffness that I'm
20   that, not just because of this site, but because   20   referring to.
21   of their previous work.                            21       Q. Got it.
22      Q. Okay. And if they had any qualms or          22       A. So stronger soil has higher modulus and
23   problems or concerns, it would not only be up to   23   is stiffer; soil that's wetter, weaker has a
24   Mortenson and the geotech writer to bring them     24   lower moduli, it's less stiff.

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 1   up, Borneke could also address it; hey, we're       1      Q. Okay. And, again, this is also
 2   about to bring in a 50,000-pound piece of           2   something that Borneke, not only given their
 3   equipment, or however heavy it was, I'm             3   expert -- not only given their review of the
 4   concerned that the elasticity in the soil might     4   documents for this project and their knowledge
 5   not be able to support it properly.                 5   of them, but based on their general experience
 6         They could have done that, and that           6   in the area, you'd expect them to know how
 7   would be industry standard if they had those        7   certain soil with, maybe not these terms, but a
 8   concerns, fair?                                     8   lower elastic moduli will respond, fair?
 9      A. Anybody at a site could provide to that       9      A. I think it's fair to especially soft,
10   discussion.                                        10   wet soils, they would expect to have -- expected
11      Q. Okay. Got it. When you're saying that        11   to understand that there's more potential.
12   the elastic part of the soil, I just want to       12      Q. Okay. And then you do -- that's fair.
13   make sure, are you saying that -- well, this is    13   Then you do go on to say that contractors find
14   going to sound like a stupid question, but I       14   it hard or impossible to compact the soil if the
15   have to ask it.                                    15   solar radiation is low.
16         The frozen sheet of ice came from water      16         So pretty much, when the solar -- like,
17   that eventually froze.                             17   when the radiation from sun is lower, the
18         We can agree on that, right?                 18   soil -- the sponge won't dry out, and it's hard
19      A. Yes, I would agree.                          19   to get the soil compacted to a level that's
20      Q. Are you opining where the water came         20   appropriate; is that fair?
21   from? Or are you just saying that the depressed    21      A. That's a very fair understanding.
22   area was formed due to the elastic response?       22      Q. Okay. And, again, this is something
23      A. Both. I can opine that the loading           23   that Borneke, given their expertise and given
24   caused the elastic response. Where the water       24   their review of the documents, would know, and

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1    given just the general, hey, it's August to              1      A. That is correct. The most critical
2    November in the Midwest, fair?                           2   components of the site are the wind turbine
3       A. It's fair that, as I indicated in                  3   foundation and the crane pad.
4    Part II, that the spring and late fall, early            4      Q. Okay. But you also do agree that
5    winter are more problematic with regards to              5   Borneke, just simply put, based on the contract,
6    drying otherwise wet soil.                               6   had an obligation to not only -- it was their
7      Q. Okay. And the point is that this is                 7   obligation to create erection areas, fair?
8    something that would be not only -- I'm just             8      A. Sorry, one last --
9    focusing specifically on Borneke.                        9      Q. Sure.
10         This is something that would be well              10      A. -- the last part of that?
11   known among earthwork excavation contractors,           11      Q. Yeah. They had an obligation to
12   right?                                                  12   create, like, erection areas, right?
13      A. Earthwork contractors will understand             13      A. Yes, they created the erection areas.
14   that soil will compress when loaded.                    14      Q. And the erection area was approximately
15     Q. Okay. And this is something, specifically,         15   a 175-foot radius area that would -- I'm sorry,
16   when an earthwork contractor opens up the soil          16   it was a -- it's a large area. But the
17   at a specific site, like T11, for example, when         17   turnaround area was, like, 175-foot radius that
18   they were moving it around and doing the compaction,    18   allowed for the delivery of components and the
19   creating this erection area, this is something          19   turnaround of the trucks, fair?
20   that they can see that might change from site to        20      A. Yes.
21   site and they have to respond to those changes          21      Q. And this was at each specific site,
22   from site to site, fair?                                22   right?
23      A. Respond in what manner?                           23      A. Yes.
24     Q. Sure. If the elastic moduli or the                 24      Q. And you remember reading the testimony

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 1   changes in the soil, changes from site to site,         1    where it said, Borneke would have access to,
 2   this is something that, just generally speaking,        2    like, the plans of the day, and they would know
 3   earthwork contractors should know of. And if            3    which site was getting deliveries when?
 4   there's changes from site to site, like you say         4       A. Yes.
 5   there might be, they have to respond to that            5       Q. Okay. And you also read the testimony
 6   appropriately and come up with the proper means         6    that said not only that, but these erection
 7   and methods to effectuate the work, fair?               7    sites, granted, they had the 175-foot turnaround
 8      A. Yes.                                              8    area, the 175-foot radius, they specifically
 9      Q. Okay. Then you go on to say there                 9    knew, at least down to a pretty close degree of
10   were no in-force specifications of contract             10   accuracy, where the trucks would come in and
11   conditions, which would have mitigated this             11   turn around and where the equipment would be
12   condition, right?                                       12   staged, fair?
13      A. There were no quantitative specs like             13      A. I would assume so, yes.
14   there was for the wind turbine foundation itself        14      Q. Do you have any reason to dispute the
15   or the crane itself.                                    15   testimony that says that? Or no?
16      Q. Okay. So, basically, the -- we talked             16      A. No.
17   about this a lot in the depositions of all              17      Q. And, in fact, you assume it, right?
18   Mortenson people and all Borneke.                       18      A. Yes.
19         The pad -- the crane pad and the                  19      Q. Okay. So -- and would you have any
20   turbine, like, the actual foundation, has,              20   reason to dispute the testimony, though,
21   like -- I think the word that was used, like,           21   although the specifications between the
22   astronomical specifications, because you don't          22   foundation and the crane pad differ from the
23   want anything to happen there, and catastrophic         23   erection area and the turnaround area, the
24   failures can happen, fair?                              24   turnaround area still needs to be more stringent

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 1   in terms of its preparation so that it can         1    silty soil. We need to make sure that the areas
 2   effectuate the delivery of these trucks and the    2    with silty soil are properly prepared, or an
 3   staging of the equipment?                          3    alternate plan is implemented, if needed, so
 4      A. That erection area has a defined standard.   4    that way the equipment can be delivered and
 5      Q. Okay. And it's probably not -- it's          5    staged, right?
 6   obviously not as high as the foundation, but       6        A. Yes and no. I agree that -- that it
 7   it's obviously not the lowest standard on the      7    can be delivered, but the alternate plan, I don't
 8   project either.                                    8    know if that would be Borneke's responsibility.
 9         It's somewhere in the middle, right?         9       Q. Sure. Maybe not creating the plan, but
10      A. No, I would disagree with that. I            10   at least starting the conversation, like, hey,
11   would say that the access roads and haul roads     11   we opened up the soil on this site and it's
12   have higher standards, the crane pad and the       12   pretty wet, it's pretty soggy. I think the soil
13   wind turbine generator foundation have the         13   might fail underneath it.
14   highest standards, and the laydown area would      14         That's something that an excavation
15   have the lowest standards at the site.             15   contractor, when they open up the soil, should
16      Q. Okay. So if Borneke's own employee           16   be able to see, right?
17   said that this turnaround area would have higher   17       A. Not necessarily fail, but that this
18   specifications than the access road, would you     18   area has soil conditions that are worthy of
19   disagree with them in that regard?                 19   consideration.
20      A. I would, yes.                                20      Q. Okay. So when they open it up, and a
21      Q. Okay. Fair enough. Nonetheless, would        21   contractor who is already aware that, hey, this
22   you agree that the point of these erection areas   22   project will have silty, wet, sponge-like soil,
23   is to make sure the ground is able to support      23   if they get to a specific site and they see this
24   the weight of the trucks delivering the            24   when they're doing the earthwork, they should at

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1    equipment and the equipment being staged?          1    least have a conversation, hey, there might be
2       A. Yes.                                         2    some unfavorable results of the soil at this
3       Q. Okay.                                        3    site, how do we address this, if at all, fair?
4       A. In addition to that egress for delivery      4       A. They could do that if they have, you
5    of equipment and similar.                          5    know, a productive partnership on the site.
6       Q. Sure. And, generally speaking, these         6       Q. Okay. So you agree that had -- so
7    excavation companies know how much these pieces    7    Borneke had the availability, or the option, to
8    of staged equipment weigh, because they've done    8    do that at each individual site if they thought
9    this work on dozens of other projects and they     9    something needed to have that conversation,
10   also have the contract specifications, fair?       10   fair?
11      A. They should have a general fill -- feel.     11      A. I think they could do that. I do not
12   but I believe there's typically a separate         12   specifically remember being that a requirement
13   erection contractor at the site that's lifting     13   in the contract documents of Borneke.
14   that equipment and offloading. It's the general    14      Q. Well, you do remember that the contract
15   standard of practice.                              15   documents at Borneke said that they have to not
16      Q. Let me ask you this. An excavation           16   only do the means and methods of the, you know,
17   contractor, like Borneke, who's done this, I       17   specifications, but do the work so that way it
18   think, 60 times in the Midwest, they would know    18   can properly and, like, safely effectuate
19   that these pieces of equipment and the trucks      19   delivery and staging of equipment in the
20   delivering the pieces of equipment are beyond      20   turnaround areas, fair?
21   heavy, fair?                                       21      A. That sounds like typical language of a
22      A. Yes.                                         22   contract document, but I -- I don't remember the
23      Q. Okay. And they would have to know            23   specific language.
24   that, hey, certain areas are going to have this    24      Q. Sure. We'll get there. But, nonetheless,

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1    the point is, if they thought something might be    1    should address this in a different way.
2    potentially unsafe and their job is to effectuate   2           That was a possibility, fair?
3    safe work, or work that allows the work to be       3       A. It's a possibility if they had data
4    performed in a safe manner, they would have an      4    that would allow for that possibility, such as
5    obligation, if they thought it might be unsafe,     5    compaction tests, roof rolling --
6    to bring that up to somebody, fair?                 6       Q. Okay.
7       A. Unsafe work, yes, generally should be         7       A. -- main size distributions and similar.
8    brought up to somebody.                             8       Q. Let me ask you this. We've already
9       Q. Okay. So when you say there's no              9    established this.
10   specific specification or contract condition        10          They would have had at least a general
11   which sort of mitigated this condition, this is     11   predictably of this response on the project as a
12   something that, hypothetically, if Borneke, when    12   whole based on the engineering reports, fair?
13   they opened up the soil, saw this silty soil        13      A. Yes.
14   response, they could have brought this to           14      Q. And when they open up the soil at a
15   Mortenson's attention, and said, hey, I think we    15   specific site, they're able to make determinations
16   should address this before anything even gets       16   about the soil at that specific site, fair?
17   delivered.                                          17      A. On a gross level. But, again, I don't
18          That was a possibility, fair?                18   believe that there was specific QA/QC data for
19      A. It's a possibility, but with context.         19   this site.
20   I think, generally, with these types of soil        20      Q. That wasn't my question. My question
21   conditions, it's the operational constraints        21   was specifically earthwork contractors, when
22   that are discussed. What that means is running      22   they're doing this work.
23   of delivery vehicles, pulling out the delivery      23          You agree that it changed from site to
24   vehicles that get stuck.                            24   site. You've already established this.

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 1          Usually in the context of these types         1         And that if soil conditions did change
 2   of soil conditions, it's not necessarily a           2   from site to site, they should address this and
 3   safety issue, but they're looking at the             3   alternate their means and methods, if needed, to
 4   operational things, are vehicles potentially         4   effectuate the work based on the changing soil
 5   getting stuck. Are they able to deliver the          5   conditions from site to site, fair?
 6   components, I think, is the primary thought          6      A. I actually do not know what they would
 7   process for those soil conditions.                   7   have done differently other than preparing the
 8      Q. And then a secondary one would be              8   material to spec, which is basically a grading
 9   safety.                                              9   and light compaction to grade specification.
10          Because, like you said, safety should        10      Q. Well, we'll get there in a second.
11   be at the forefront of everyone's mind, fair?       11   But, nonetheless, my question is this.
12      A. Fair. Yes.                                    12         They -- when they are going from site
13      Q. And a depressed area on a job site            13   to site, a qualified knowledgeable subcontractor
14   where water can pool and freeze can potentially     14   in excavation and earthwork, they can see the
15   be unsafe, fair?                                    15   soil response changing from site to site, if
16      A. It could potentially be unsafe, yes.          16   there are such changes, fair?
17      Q. So Borneke had the knowledge and              17      A. Yes, they are generally observant of
18   expertise that silty soil would compress            18   those types of conditions.
19   possibly causing a depressed area.                  19      Q. Okay. Got it. Would you agree that --
20          If they saw this when they opened up         20   you know, you say something in this section
21   the soil, they knew about it, you agree one of      21   about a reinforcement layer followed by a clean
22   the potential remedies would be to tell             22   grandular spill. I can't talk, apparently.
23   Mortenson, hey, at this specific site, soil is      23         That would have been a possible way to
24   more silty than the previous sites, maybe we        24   address the soft silty soil on this site, right?

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 1      A. That would be the extreme engineering           1      A. Yes.
 2   solution, yes.                                        2      Q. Okay. And, again, I just want to be
 3      Q. Okay. But this is also, like I said, a          3   clear.
 4   predictable response to the soil. So this would       4         So part of Borneke's work on this
 5   be, if it was of concern to the excavation            5   project as a whole, OSHA Subpart -- OSHA 1926
 6   contractor, the -- the best way to mitigate any       6   Subpart P, Excavation, would be applicable.
 7   possible concerns about the silty soil, fair?         7         You just don't think it was applicable
 8      A. Sorry. Say that one more time.                  8   for the creation of the erection in the lay-down
 9      Q. Sure. Since the soil response was               9   yard, fair?
10   predictable on this site on the project as a         10      A. Yes.
11   whole, this type of mitigation would have been       11      Q. Okay. Then on the bottom of this page
12   the most predictable or easily, like accessible --   12   you discuss the low hydraulic conductivity,
13   maybe not easily accessible in terms of              13   meaning expeditious infiltration of precipitation
14   practicability, but easily, like, suggestible by     14   and/or snowmelt cannot be reasonably expected.
15   the excavation contractor if there was a concern     15         You say that, right?
16   about the silty soil, fair?                          16      A. Yes.
17      A. I would have to answer this with               17      Q. And, again, I'm not trying to be cute.
18   context.                                             18   This is very, very complicated jargon.
19      Q. Go ahead.                                      19         To say it simply, because of this type
20      A. I think it's predictable by somebody,          20   of soil, you do not think water, or precipitation,
21   such as myself, a professional engineer, the         21   will exit it, or leave it, quickly, right?
22   engineer of record, the engineers at the site on     22      A. Yes.
23   a quantifiable manner, and earthwork contractors     23      Q. Okay. On the top of Page 3, you say
24   see it in play. So they have seen similar types      24   that the turbine erection area is designed to

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1    of soils at other sites --                           1    ensure adequate bearing support for temporary
2       Q. Got you.                                       2    staging of heavy pieces of the wind turbine
3       A. -- and this soil is going to be harder         3    generator system and unload transportation
4    to work.                                             4    vehicles, not to protect employees from
5       Q. Okay. So although the engineer might           5    cave-ins, right?
6    have the scientific analysis of it, the              6       A. Yes.
7    earthwork contractors have the knowledge of the      7       Q. So I guess that what you're saying,
8    geotechnical reports plus the in-the-field, oh,      8    basically, 1926 is not applicable to this very
9    shoot, this soil responds differently than           9    specific work, fair?
10   others, fair?                                        10      A. Yes.
11      A. Yes.                                           11      Q. Okay. But, nonetheless, you do agree
12      Q. And if they had a suggested mitigation,        12   that the erection area and the staging area, the
13   the earthwork contractor could say, hey, we          13   compaction in the ground needs to be adequate,
14   could strip this down, put in some fill in a         14   such that it can, one, support the weight of the
15   layer, and then put it back up, and that should      15   trucks coming in with the equipment; two, support
16   mitigate any possible risk of the silty soil,        16   the turnaround; and three, support the staging
17   right?                                               17   of that equipment, fair?
18      A. That would be proposing contract               18      A. Yes.
19   modifications and additional work, but they          19      Q. Okay. Let me -- you also say something
20   could do that, yes.                                  20   along the lines of this soil is C -- Type C, as
21      Q. Okay. Got it. The next section, OSHA           21   in Charlie, not B, as in boy, right?
22   1926 Subpart P, as in Peter, Excavation, is not      22      A. No, the reverse.
23   applicable to this case.                             23      Q. Oh, okay.
24          You see that, right?                          24      A. I say that the geotechnical report

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1    classifies the site soil as Type B, but the         1      A. Yes.
2    Barnes report classifies it as Type C.              2      Q. And you, again, say the Barr
3       Q. Sorry, it was long day yesterday              3   Engineering report was predictive of this type
4    preparing for this.                                 4   of soil response, right?
5           Yeah. So it's B type soil based on           5      A. Yes.
6    your analysis, not C, fair?                         6      Q. So then are you critical of the
7       A. No. The geotechnical investigation            7   engineers or of Mortenson for not doing
8    report classified it as OSHA B.                     8   different specifications in this area?
9       Q. Yes.                                          9      A. No.
10      A. That was a stamped PE report. So then        10      Q. Okay. So you don't think that it was
11   I would expect the soil to be Type B, generally.   11   a problem, you just think that this was a
12   Whereas as the Barnes report classified it as      12   predictable response, essentially, based on the
13   Type C.                                            13   silty soil, right?
14      Q. Okay. And, again, I get the -- my            14      A. It's a predictable response, yes.
15   question is just simply then.                      15      Q. And anyone -- as we've already established,
16          How do you respond to the fact that         16   anyone who is qualified or knowledgeable in this
17   OSHA said that any soil submerged or seeping is    17   field reading these reports will know this, right?
18   a Type C soil?                                     18      A. The geotechnical engineers would know
19      A. That would be fine.                          19   this, yes.
20      Q. Okay. So you do agree --                     20      Q. Not only the geotechnical engineers.
21      A. I understand that statement, yes.            21   We already talked about it.
22      Q. Okay. So let me -- I know this -- so         22          You'd expect Borneke to get a copy of
23   any soil that is submerged or seeping is Type C,   23   this report and at least have a general knowledge
24   fair?                                              24   of the type of soil response and predictability

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1       A. As classified by OSHA, yes.                   1   of it, fair?
2       Q. Yes. So as classified by OSHA then,           2      A. Yes.
3    would you agree that the soil under the sheet of    3      Q. Okay. So then, based on that, this
4    ice -- let's just talk about that, okay. The        4   predictable response would have been predictable
5    soil under the sheet of ice, when it was water      5   not only to the geotechnical engineer, not only
6    or when it was seeping water, since it's            6   to Mortenson, but also to Borneke, fair?
7    submerged and/or seeping, that specific area        7      A. Yes. Borneke would have an understanding
8    could be categorized as Type C soil by OSHA?        8   based on their other work that this type of soil
9       A. It could be categorized, yes. My              9   could have this response.
10   statement was that site soil, in general, was      10      Q. Sure. The last sentence of this
11   Type B. But as you indicate --                     11   section -- maybe this -- this paragraph, I
12      Q. Okay.                                        12   apologize. It starts groundwater is very
13      A. -- there -- as I indicate, there's           13   shallow.
14   heterogeneity and there's potential for other      14          Do you see that?
15   classifications.                                   15      A. Yes.
16      Q. Okay. And the potential would be that        16      Q. It says: Groundwater is very shallow
17   the soil in or around or underneath the ice        17   at the site, 0.8 to 10 feet below ground
18   would be Type C because of its submerged or        18   surface, which indicates that water retention
19   seeping qualities, right?                          19   and availability can be problematic, right?
20      A. In that classification system, yes.          20      A. Yes.
21      Q. Okay. And then we get into what I want       21      Q. So this is, again, further evidence of
22   to talk about next. Barr Engineering report        22   this predictability that would be known to
23   Page 3, but number four on your report.            23   anyone reading this report, fair?
24          You see that, right?                        24      A. Correct. I am summarizing context

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1    within that report.                                  1   work sink, S-I-N-K, right?
2       Q. Sure. So you're basically saying why           2      A. That is correct. It's not a geotechnical
3    it's predictable here, right?                        3   engineering term.
4        A. Yes.                                          4      Q. Sure. Let me ask you this. Would you
5       Q. Okay. Got it. And then you say, lower          5   agree with me that underneath the sheet of ice
6    on -- and, I'm sorry, apparently I have              6   was a depressed area, the extent of which we
7    something in my throat, but nonetheless -- in        7   don't know because it wasn't measured; but we
8    conclusion, for this section, you say: The           8   can agree on the term depressed area?
9    freeze/thaw cycles damage the structural             9      A. Yes, I have stated that it appeared to
10   integrity of the compacted soil. Even with          10   be a depressed area.
11   compaction quality assurance, you still believe     11      Q. Okay. So you don't like the term
12   it was prone to degrade regardless, fair?           12   sinking, but you will agree with me that it was
13       A. That is fair. And that is based on           13   a depressed area, right?
14   research in publications that I have done on        14      A. Yes.
15   soil response to freeze/thaw?                       15      Q. And depressed area caused by a
16      Q. Sure. And I'm not going to question           16   predictable response of soil in which the
17   your qualifications, Mr. Tinjum. What I'm           17   saturated sponge was compressed with a heavy
18   saying is, this is just further -- based on this    18   piece of a mid-section turbine, fair?
19   type of predictable soil response, anyone reading   19      A. Yes.
20   the report would know that the compaction might     20      Q. Okay. So I'm not trying to be cute,
21   degrade, including the excavator contractor         21   I'm just asking.
22   hired to do the compaction at the site, fair?       22         So this is more so of a semantics or
23       A. Yes and no. An engineer, and an              23   vernacular rebuttal as opposed to, like, a --
24   engineer like myself, with this type of             24   methodology here.

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1    experience would understand this better, but --      1          You just don't think that that's a
2    academically, but contractors would understand       2   recognizable term in the industry, sinking,
3    this because of practice.                            3   fair?
4       Q. So let me put it to you this way. You,         4      A. Correct.
5    obviously, have dedicated your life to this          5      Q. Okay. And then you continue that,
6    field and studying it, and you know from a --        6   ruts, holes, sagging, and weeping surfaces are
7    both in the field, but also more of a book-smart     7   not symptoms of improper site preparation.
8    way, fair?                                           8   Ruts are the visible result of shallow bearing
9       A. From a mechanism based way, yes.               9   capacity failures caused by wet or supersaturated
10      Q. Sure. And then Borneke would know it          10   soil; soil type with ruts more prone; and
11   from both the scientific aspect, but more so        11   damaged surface layers from freeze/thaw cycling,
12   from an in-the-field working way. They had more     12   right?
13   in the field working knowledge, but you'd also      13      A. Yes.
14   expect them to know the general know-how to         14      Q. Okay. But, again, what -- I'll assume --
15   understand and comprehend these reports, fair?      15   for the purposes of these next questions, I'm
16      A. They have practice based experience,          16   assuming that what you say is true and Barnes
17   yes.                                                17   isn't. I'm not saying that I agree with that,
18      Q. Got it. And then you get into your            18   but let's just take your points here and go with
19   rebuttal opinions about Joe Barnes, right?          19   that.
20      A. Correct. That is item five in my              20          Based on your point, all of this was
21   report.                                             21   still a predictable soil response, fair?
22      Q. Yep. All right. So number five,               22      A. Yes. It's not surprising.
23   Rebuttal to August 12, '22 Barnes Report.           23      Q. Okay. And then, in your opinion, even
24         You have a qualm with his use of the          24   if Borneke worked as they were contracted to do,

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1    things such as ruts, sagging, weeping surfaces       1    site were prepared properly, it's his opinion,
2    are not symptoms they were doing their job           2    based on the fact that there was a large
3    improperly, but rather a soil response that was      3    depressed area with a sheet of ice, that this
4    predictable, fair?                                   4    area was not prepared properly with Borneke.
5       A. Yes.                                           5          You would disagree with that, fair?
6       Q. Okay. We'll come back to that in               6       A. Disagree with that statement or that
7    second.                                              7    that statement was made?
8       MR. TERRY: We've been going for about             8       Q. Disagree with the statement.
9    another hour. Let's just take a quick, like,         9       A. Yes.
10   three-minute break, and come back at 11:50, and      10      Q. Okay. And so for all of these, I'm
11   then I'll continue on.                               11   just going to ask you whether or not you agreed
12          Does that work for everybody?                 12   with the statement and its proposition, not
13      THE WITNESS: That works.                          13   whether or not they made it, because I know they
14      MR. TERRY: Perfect. Thanks, everyone.             14   made it. Okay?
15                (Recess taken.)                         15      A. Okay.
16   BY MR. TERRY:                                        16      Q. The same thing that Leonard Breyne
17      Q. Sir, I have a question for you. So we          17   testified, if Borneke performed their job
18   just -- and I'm just going to repeat my last         18   properly, this accident could have been
19   question so we're back on the same page.             19   prevented.
20         In your opinion, even if Borneke               20         You would disagree with this too then,
21   performed the work they were contracted to do,       21   right?
22   wet saturated soil with ruts and depressed areas     22      A. Again, I'm going under the premise that
23   and sagging, et cetera, would not be an indication   23   these were statements, and, yes, I would disagree
24   they were doing their work improperly, fair?         24   with that.

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 1   That's your opinion?                                 1       Q. For all of these, let's go under that
 2      A. Yes.                                           2    premise. Okay?
 3      Q. Okay. So let me ask you this. I'm              3          Also, if he said that Borneke graded
 4   going to go through a few people's testimonies,      4    properly and provided proper drainage from day
 5   and I just want to make sure we're on the same       5    one, the water would never have been able to
 6   page.                                                6    pool there.
 7         Do you remember reading the testimony          7          You disagree with this as well then,
 8   of Leonard Breyne, B-R-E-Y-N-E?                      8    fair?
 9      A. Let me -- I am just looking at my              9       A. Yes.
10   transcripts. B-R-E-Y-N-E?                            10      Q. You also looked at the deposition
11      Q. Yep.                                           11   testimony of Andrew Kruse, K-R-U-S-E, who's the
12      A. Yes, I reviewed it. And just in                12   Mortenson superintendent.
13   advance, there's a lot of different people, so       13         If he testified -- and, again, assuming
14   sometimes you've just got to remind me and what      14   all these are true. If he testified that the
15   they said and who they were.                         15   ground needed to be compacted so that it can
16      Q. Sure. Let me tell you this, okay. I'm          16   support the weight of trucks driving and
17   only going to ask you about people that I            17   unloading equipment in such that it does not
18   know -- actually, there might be one you             18   sink underneath staged pieces of equipment,
19   haven't. But most of them -- the majority of         19   would you agree or disagree with this?
20   the testimony I'm going to ask you about, I'm        20      A. I agree that that should be in the
21   certain you've reviewed. Okay?                       21   specifications.
22      A. Okay.                                          22      Q. Okay. And you would agree then that
23      Q. So let me -- Leonard Breyne, who's an          23   the contractor performing this work would be
24   ironworker, said: Although other areas of the        24   required to perform this work to those

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1    specifications such that the areas do not sink       1           But, nonetheless, based on your
2    underneath the staged equipment or the trucks,       2    understanding, they were contracted to perform
3    fair?                                                3    work that would require them to address changing
4       A. No, not fair with context. Again, as I         4    ground conditions and maintain the site due to
5    have previously stated, that you can grade and       5    specifications of the contract, fair?
6    compact an area and it can go -- undergo             6       A. Yes.
7    environmental cycles, thus leading towards           7       Q. I mean, if they're not doing this,
8    rutting and similar regardless of whether it was     8    simply put, they're not fulfilling their
9    compacted properly or not.                           9    obligations of the earthwork contract on this
10      Q. Okay. So you agree that that was the           10   project, fair?
11   contracted to specifications of Borneke on this      11      A. Yes.
12   project, fair?                                       12      Q. Okay. So would you agree that when the
13      A. Yes.                                           13   ground conditions changed then, such that the
14      Q. You just think other environmental             14   silty soil became hypersaturated by its freeze/thaw
15   weather conditions changed the ground such that      15   cycle, Borneke still had the contractual obligation
16   it was near impossible to perform these contracted   16   to maintain this erection area to effectuate
17   to specifications, fair?                             17   delivery and transport and staging?
18      A. No. What I'm stating is is that if you         18      A. Yes.
19   properly compact and grade an area, environmental    19      Q. And by not doing that and by allowing a
20   conditions can change it post-earthwork.             20   depressed area to form, simply stated, based on
21      Q. Okay. If -- so you agree that Borneke          21   this obligation, they would not be complying
22   has the obligation to perform the work as Andrew     22   with the contractual responsibilities of the
23   Kruse testified -- and we'll address the             23   earthwork excavation contractor on this project,
24   changing conditions later -- but simply put,         24   fair?

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 1   Borneke had the contractual obligation to             1      A. I -- you're going to have to repeat
 2   compact the ground such that it can support the       2   that and just go a little slower.
 3   weight of driving trucks, unloading, and staging      3      Q. Sure. I can rephrase it.
 4   of equipment without sinking underneath them,         4         So simply put, sir, if Borneke is --
 5   fair?                                                 5   they have the obligation to maintain the ground
 6      MR. SULLIVAN: I'm going to object to the --        6   conditions even with the changing of the season,
 7      THE WITNESS: Fair.                                 7   the changing of the environmental conditions,
 8      MR. SULLIVAN: -- to the question, the              8   whatever it may be.
 9   contract speaks for itself.                           9         If they are not doing this, and
10         Go ahead.                                      10   depressed areas are forming, whether or not you
11   BY MR. TERRY:                                        11   believe they would have required different
12      Q. You said, fair?                                12   specifications or removal of subgrade and
13      A. Yes.                                           13   putting stuff in, simply put, by not maintaining
14      Q. Okay. Now, if there are changing               14   this area without depressed areas and without
15   ground conditions on the project, you would also     15   areas that cannot support the weight of the
16   agree that Borneke had an obligation to maintain     16   trucks, they would not be fulfilling their
17   the turnaround and erection areas on this            17   contractual obligation of an excavation
18   project such that it can effectuate not only         18   contractor on this site, fair?
19   deliver, but also erection of the turbine            19      A. No. Again, I believe they were
20   components, fair?                                    20   performing their contractual obligations, which
21      A. Yes.                                           21   means that you have to be given notice and
22      Q. Okay. So if there are changing ground          22   opportunity to perform maintenance and said
23   conditions -- we'll get to practicability or         23   events.
24   changing of the specifications in a second.          24      Q. Okay. So let me ask you --

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 1       A. What I'm saying is is I don't recall                1       A. After the mats were removed, yes, it
 2    them ever not performing maintenance when asked           2   would have been evident.
 3    to do said maintenance.                                   3      Q. Well, not only after the mats were
 4       Q. Let me ask you this. In this                        4   removed. It's pretty easy to see if mats are no
 5    hypersaturated soil, okay --                              5   longer 3 inches above the ground and they're now
 6       A. I assume that it is super saturated,                6   below the ground, fair?
 7    yes.                                                      7       A. I disagree with that characterization.
 8       Q. Sure. In your assumption, in your                   8           Elastic movement, I don't know if it
 9    model, whatever you want to call it, this                 9   was a centimeter, I don't know if it was an
10    loading of this heavy piece of equipment, how            10   inch, I don't know if it was three inches. That
11    long would it take for it to sag, in your                11   can be hard to see when it's obscured with the
12    opinion? Give or take, a couple hours?                   12   equipment that's on it.
13       A. Hours to days.                                     13      Q. Nonetheless, you do think this is
14       Q. Okay. But not weeks, fair?                         14   something that would have been prevalent -- it
15       A. It would initiate that process                     15   would have started at least -- pretty soon
16    relatively rapidly.                                      16   thereafter the equipment was delivered, right?
17       Q. Okay. And more likely true than not,               17       A. Yes, that is elastic compression. It's
18    within hours, right?                                     18   fairly --
19       A. It would initiate within hours, yes.               19      Q. Sure.
20       Q. Okay. So this turbine component was                20       A. -- instantaneous.
21    delivered weeks before this incident.                    21      Q. Okay. And then my question for you
22           Were you aware of that?                           22   is -- again, we've already established Borneke
23       A. I do not remember the exact sequence of            23   was on this project on a daily basis, right?
24    delivery and staging on the site.                        24       A. Yes.

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1       Q. Nonetheless, if this equipment was                   1     Q. And Nick Borneke, among others, was
2    delivered even, let's say, ten days earlier,               2   going from site to site in a pickup truck making
3    approximately, the symptoms would have presented           3   sure that their work was still maintained as
4    themselves, more likely true than not, relatively          4   they were contractually required to, fair?
5    soon thereafter delivery, fair?                            5      A. I believe that was stated in the
6       A. I don't think that you can see                       6   various depositions, yes.
7    underneath a section of tower such as this to              7     Q. So it wasn't just Mortenson telling
8    actually see that it's compressing. It's not               8   them, hey, something is wrong. It's already
9    easily visible.                                            9   what we established, it was both, Borneke could
10      Q. Sure. Let me ask you this. On this                  10   see something was wrong or Mortenson can tell
11   tower, it was staged on top of, like, mats,               11   them something was wrong, right?
12   fair?                                                     12      A. Yes, in general.
13      A. I did not see a picture of that. But                13     Q. Okay. So this staged piece of equipment
14   the resulting pattern of the formation appears            14   was placed down days, maybe even weeks before
15   that there were mats placed.                              15   this subject incident. Borneke would have had
16      Q. Okay. And while there was testimony                 16   that same amount of time, from the time the
17   that the mats were removed, thus revealing the            17   equipment was staged, to go back to this area to
18   ice, so the mats were present, based on the               18   make sure that the staging of the equipment,
19   evidence we have.                                         19   that the ground conditions that they prepared
20           That being said, the mats, if they were           20   were still adequate.
21   underneath the staged equipment, the symptoms of          21         They would have had that window to do
22   them sinking would have been pretty evident               22   that, fair?
23   fairly soon thereafter in the hours after this            23      A. I don't know what they could have done,
24   equipment was placed, fair?                               24   because the equipment was there.

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 1      Q. What equipment was there?                     1     Q. Okay. How thick are they, give or
 2      A. The tower section.                            2   take?
 3      Q. Sure. That's not my question. My              3      A. They're timber. Just going off of
 4   question is, from the time this tower section       4   memory, maybe 12-inch by 12-inch.
 5   was put down, right?                                5     Q. Okay. Well, then underneath the
 6      A. Yeah. I --                                    6   timber, there's actually like mats that would be
 7      Q. To the time it was lifted up, that time       7   placed as well, fair?
 8   period. I'm forgetting what the exact days          8      MR. SULLIVAN: Tell him again.
 9   were, but I know it was approximately ten days      9      THE WITNESS: No. I guess maybe I'm
10   or more. During that window, whenever it was,      10   misunderstanding.
11   was it a minute -- not a minute. It was days.      11         The timber is the mat, typically.
12         During that time window, Borneke, being      12      MR. TERRY: I think that we're understanding
13   on the site every day going from site to site,     13   two other things.
14   doing observations to making sure work was         14   BY MR. TERRY:
15   performed adequately, even if it's your opinion    15     Q. So on this project -- and, you know
16   they wouldn't have been able to see it, they had   16   what, let me do this. I'll show you your report
17   the opportunity to go to that site and make sure   17   real quick, because the photo kind of shows it.
18   that the ground conditions, generally, at that     18   Okay?
19   site were still adequate, fair?                    19      A. Sure.
20      A. They had access to the site in general,      20     Q. Can you see my screen?
21   yes.                                               21      A. Yes, I can.
22      Q. So, hypothetically speaking, if the          22     Q. Do you see these timbers over here
23   mats were depressed enough such that it caused a   23   underneath the section next to the sheet of ice?
24   deviation or a large sheet of ice to form, if      24      A. Correct. Okay. I understand now.

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 1   it's sitting next to another piece of staged       1       Q. Do you see these mats?
 2   equipment that's not depressed, you agree that     2       A. Correct.
 3   that's something that could be differentiated      3       Q. Okay. So what was testified is that
 4   between, hey, this piece of equipment is lower     4    these mats that were underneath this section,
 5   than that one and the mats we're seeing are        5    there was another set of mats where this sheet
 6   lower than the other mats, fair?                   6    of ice was. And that underneath these mats that
 7       MR. SULLIVAN: Objection, speculation. It       7    are still here, they were not depressed, but
 8   assumes that you can even tell by looking.         8    underneath this area they were.
 9       MR. TERRY: You can answer.                     9          So my question for you is, you see
10       MR. SULLIVAN: Go ahead.                        10   these mats, how they may be a few inches thick?
11       THE WITNESS: My answer is, as I previously     11      A. Yes.
12   testified, that I think that it could be quite     12      Q. Okay. If these -- that's what I'm
13   difficult to discern settlement with --            13   talking about when I say mat, not the timbers.
14       MR. TERRY: I -- go ahead. I didn't mean to     14   Okay?
15   cut you off, I apologize. Go ahead.                15      A. Okay.
16       THE WITNESS: By eyesight, my technical         16      Q. So these mats, if these are depressed
17   opinion is that it would be difficult to discern   17   into the ground such that the mats next to them
18   settlement underneath that power section on        18   are not, you'd agree that this would be a
19   mats.                                              19   phenomenon that would be observable on a job
20       MR. TERRY: Okay.                               20   site. You can visibly see some mats are
21   BY MR. TERRY:                                      21   depressed into the ground, some are not. Fair?
22      Q. Let me ask you this. Have you ever           22      MR. SULLIVAN: Objection --
23   seen those mats used on a construction site?       23      THE WITNESS: It's possible --
24       A. Yes.                                        24      MR. SULLIVAN: -- assume facts not in

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 1   evidence.                                         1    I have that document, and for whatever reason,
 2         But go ahead.                               2    left it out of the transcripts.
 3      THE WITNESS: It's possible, but it's           3       Q. That's okay. I'm just going to ask you
 4   hypothetical that you can see it.                 4    a -- I have your OneDrive, so if it's in there,
 5      MR. TERRY: Sure.                               5    it's in there, if it's not, it's not. I just
 6   BY MR. TERRY:                                     6    have a general question for you.
 7      Q. But it is possible that this could be       7            My question for you is, Andy Black
 8   seen, right?                                      8    testified the ground needed to be prepared such
 9      A. It is possible, yes.                        9    that it could support both the weight of trucks
10      Q. And this could be seen by anybody,          10   and equipment being staged and delivered.
11   whether it be Mortenson or whether it be          11           You'd agree with this, actually, right?
12   Borneke, fair?                                    12      A. Yes. It needs to be designed for that
13      A. Yes.                                        13   condition -- those conditions.
14      Q. Okay. So during that time window in         14      Q. Well, not designed, but prepared for
15   this hypothetical situation -- well, let's just   15   those conditions, right?
16   say this.                                         16           He testified that the ground -- we're
17         Assuming that the hypothetical              17   not talking about the specifications here, we're
18   situation I just gave you is true during that     18   talking about the implementation of the
19   time window of delivery and erection, Borneke     19   specifications.
20   could have gone to this site and seen that        20           He testified that the ground would need
21   depression albeit the mats, fair?                 21   to be prepared in such a way that it could
22      A. It is possible.                             22   support both the weight of the trucks and the
23      Q. Okay. Got it. So let's move back on         23   delivered staged equipment.
24   to the testimony you agree with and disagree      24           You'd agree with that, generally

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1    with.                                              1   speaking, right?
2          You'd agree with this actually, I            2      A. Yes.
3    think, based on your testimony today, that Andy    3      Q. Okay. You would also agree -- well,
4    Kruse testified, no matter who provided the        4   let me ask you. You would disagree then if he
5    specifications to Borneke, it was up to them to    5   testified that large ruts and depressed areas
6    implement them in the field, fair?                 6   were evidence the ground was not prepared
7       A. Yes.                                         7   properly.
8      Q. You would also agree that Borneke was         8          You would disagree with Andy Black in
9    provided information about the erection sites,     9   this regard?
10   and pretty close to where the equipment was       10      A. I mean, yes and no. I mean, ruts could
11   going to be staged by stakes, fair?               11   be a sign of improper compaction, but they also
12      A. Yes, that would be fair.                    12   could be a sign of changed conditions and
13     Q. Okay. And then going to Andy Black,          13   environmental cycling.
14   who is the project manager for Mortenson. I       14      Q. Okay. And the change in conditions and
15   don't know if I saw that you reviewed his         15   environmental cycling are things that are still
16   testimony. I'm assuming you did, but I don't      16   contractual obligations of Borneke to maintain
17   think it's listed in your report.                 17   on this project in these erection areas,
18         Do you remember if you reviewed the         18   specifically in the turnaround areas, fair?
19   project manager's testimony from Mortenson,       19      MR. SULLIVAN: Objection.
20   Andrew Black, or Andy Black he went by?           20      THE WITNESS: The maintenance was part of
21      A. I do not specifically remember. I           21   their contract, I believe.
22   would --                                          22      MR. TERRY: Okay.
23     Q. Sure.                                        23   BY MR. TERRY:
24      A. -- have to go to my computer and see if     24      Q. So then based on that, the contractual

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 1   obligations and just based on what you know          1         And we've seen in the testimony that
 2   about their work in this erection area -- and        2   the maintaining of these ground conditions were
 3   you even have it in your report later, that they     3   not only what Mortenson told them, but also if
 4   had to maintain the erection area to facilitate      4   they saw something, fair?
 5   the delivery of the turbine equipment, et cetera.    5      A. Can you just point to my report,
 6         You'd agree that Borneke had this              6   wherever you're characterizing this, so I can
 7   obligation to maintain, and that includes the        7   just get the context.
 8   obligation to maintain changing ground and           8      Q. Well, it's later on. I don't want to
 9   environmental conditions, just generally             9   jump around too much. But Page 8 of 21 at the
10   speaking, that they had that obligation, fair?      10   top. It's on bullet point -- I'll just read it
11      A. Yes.                                          11   to you, because we'll get there in a second.
12      Q. Okay. Would you agree or disagree that        12         But cleared area to be maintained,
13   Borneke was -- well, actually, we've already        13   compacted, and provide positive drainage at all
14   established this.                                   14   times to facilitate turnaround area for turbine
15         You think that Mortenson was the              15   delivery components throughout the duration of
16   quality control person. But also you agreed         16   the project, right?
17   with me today that Borneke was going from site      17      A. Yes. Thank you.
18   to site doing their own quality control on this     18      Q. Okay. No, of course. So Borneke has
19   site.                                               19   this contractual obligation on this project, and
20         It was a team effort between Mortenson        20   this would include the changing ground or
21   and Borneke in this regard, fair?                   21   environmental conditions, fair?
22      A. It's fair that everybody on site is           22      A. Yes.
23   doing some form of quality control of their         23      Q. And you would agree that if Borneke is
24   progress.                                           24   not going around and repairing the bumps and

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1       Q. Okay. And would you agree that Borneke         1   filling the holes and maintaining and compacting
2    was responsible for levelling and filing bumps       2   the cleared area while providing adequate
3    and holes as well as maintaining and compacting      3   drainage at all times, that they were not doing
4    the clean -- the cleared area while providing        4   these things, they would not be complying with
5    adequate drainage at all times?                      5   their contractual obligations, fair?
6           It's in your report, so I'm assuming          6       A. Correct. There's a timeliness to it
7    you agree with it.                                   7   that impacts that response, but yes.
8       A. It's in my report because I believe            8       Q. Sure. And this timelessness is both,
9    that is in the contract documents.                   9   if Mortenson tells them or if they see it, fair?
10      Q. And that would be something that they         10       A. Yes. And they're provided an opportunity
11   were required to do then, right?                    11   to do said maintenance.
12      A. Correct.                                      12       Q. Sure. But also, again, if they see
13      Q. Okay. And would you agree that if             13   something, they can request at that time to do
14   Borneke is not going around and repairing,          14   that maintenance, right?
15   maintaining the ground conditions, and filling      15       A. Yes, they could.
16   bumps and holes, as well as providing adequate      16       Q. Okay. Would you agree that, generally
17   drainage at all times, then they were not           17   speaking -- I think I skipped one.
18   fulfilling their contractual obligations            18          Would you agree that, based on what I'm
19   required of them, fair?                             19   telling you and based on just general construction
20      A. If they were asked to do it, and did          20   knowledge, Borneke knew -- I think we already
21   not do it, yes, they are not following their        21   agreed on this, but Andy Black testified about
22   obligations.                                        22   it.
23      Q. But not only that. Your own report            23          Based on Borneke's review of the daily
24   says that they had an obligation to maintain.       24   reports and timesheets, et cetera, they would

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1    know not only exactly when pieces of equipment       1      Q. Sure.
2    were scheduled to be delivered, but pretty much      2      A. I think I'm going to disagree, but I
3    exactly where they were going to be delivered        3   need to make sure I understand the question.
4    because they were also staked out on the project,    4      Q. Sure. The project manager for
5    fair?                                                5   Mortenson testified that even if a depressed
6        A. That's a fair assessment.                     6   area formed, he believes the drainage should be
7       Q. And then Andy Black, project manager           7   adequate enough such that the water runs away
8    for Mortenson, testified that in these areas,        8   from the depressed area and does not pool.
9    because Mortenson -- or Borneke knows exactly        9         Would you agree or disagree with this?
10   where and exactly when these pieces are going to    10      A. I disagree.
11   be delivered, that they need to prepare the         11      Q. Okay. Nick Borneke is the next person
12   ground in these areas even more stringently than    12   whose deposition you read that I want to talk
13   the surrounding areas in the general vicinity,      13   about. He was the quality control person from
14   so that way the prepared ground can support         14   Borneke on the site, and he testified that
15   delivery, turnaround, and staging.                  15   Borneke was responsible for maintaining the
16          And I don't mean in comparison to the        16   erection area.
17   crane or the access roads, I just mean maybe the    17         You actually agree with this, fair?
18   5 feet next to the -- you know, the area where      18      A. Yes.
19   it's staked out.                                    19      Q. If he also testified that repairing and
20          You would agree with that then, fair?        20   maintaining required Borneke to provide adequate
21       A. No, I would not necessarily agree with       21   drainage such that water did not pool and
22   that. I don't recall having that condition in       22   freeze, would you agree or disagree with this?
23   the contract documents.                             23      A. Can you repeat the context of his
24      Q. Okay. So if Andy Black testified that         24   statement?

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 1   that's his understanding, you would disagree         1      Q. Sure. He testified, generally speaking,
 2   with that then, simply put, fair?                    2   that Borneke was required to provide adequate
 3      A. It's fair that I do not recall seeing          3   drainage such that water did not pool and
 4   special preparation in specific areas in the         4   freeze.
 5   contract documents in the lay-down area overall.     5         Would you agree or disagree with this?
 6      Q. If he specifically said this -- if he's        6      A. Pool, yes. I don't think -- I would
 7   just testifying -- he may have said it               7   disagree with the freezing statement. That is
 8   hypothetically, because I don't know. He's just      8   not a part of the contract documents.
 9   testifying from general industry knowledge,          9      Q. Okay. You would agree that --
10   that, hey, as an excavation contractor knows, in    10   generally speaking, if Borneke is providing
11   this specific area, if a piece of equipment is      11   adequate drainage on this site, would you agree
12   going to be delivered, they should maybe pay a      12   with him that the water should not be pooling
13   little bit more attention to that area than the     13   even in depressed areas?
14   area 5 feet to the left.                            14      A. No, I disagree.
15          Would you generally agree with that          15      Q. Okay. Would you agree or disagree with
16   proposition?                                        16   Nick Borneke that Borneke was responsible for
17      A. Not -- no.                                    17   going from site to site on a weekly basis and
18      Q. Okay. Fair enough. Would you agree or         18   doing quality control of the work and was
19   disagree with him if he testified that even if a    19   repairing what needed to be repaired?
20   depressed area forms, the drainage should be        20      A. That sounds accurate, yes.
21   proper such that the water does not pool and        21      Q. Okay. So, again, Borneke is, in fact,
22   allowed in an area where the water could pool       22   doing their own quality control on a weekly
23   and freeze?                                         23   basis and going from site to site and looking at
24      A. Please repeat that.                           24   what needs to be repaired and just doing it,

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 1   right?                                            1    requirement, or aspect of the contract, would
 2      A. Yes, they're inspecting the site.           2    require them to address it?
 3      Q. Would you agree or disagree that            3       A. Yes.
 4   Borneke was responsible for leveling? And when    4       Q. Okay. And you agree with Nick Borneke,
 5   he testified to this, leveling and filling all    5    when he testified that, generally speaking,
 6   ruts and holes as well as maintaining the         6    Borneke knows when and where its equipment is
 7   compacted area and providing adequate drainage.   7    going to be delivered and how heavy it is, right?
 8          I know you agree with that in regard to    8       A. I would expect that, yes.
 9   other testimony. Do you also agree with it in     9       Q. Okay. And would you agree or disagree
10   terms of Nick Borneke's testimony, fair?          10   with Nick Borneke when he, himself, testified
11      A. Yes, I agree with that overall, as it       11   that if Borneke is doing their work properly
12   was part of the contract documents.               12   there should not be large depressed areas or
13      Q. Sure. Would you -- and then when            13   large ruts?
14   Nick Borneke testified that they're not going     14      A. No, I disagree.
15   around doing this, then they would not be         15      Q. So you disagree with Nick Borneke when
16   fulfilling the obligations of their contract,     16   he also says that if there are large depressed
17   fair?                                             17   areas, or large ruts, that means Borneke was not
18      A. They would not be providing that            18   performing their work properly?
19   maintenance component.                            19      A. Again, the -- my previous premise is is
20      Q. Okay. Would you agree or disagree with      20   that rutting, and similar deflections, could be
21   Nick Borneke when he testified that Borneke was   21   caused by inadequate compaction, or they could
22   required to properly grade an area such that      22   be caused by environmental factors, and other
23   standing water will not form in the erection      23   things, regardless of how the material was
24   area?                                             24   compacted.

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 1      A. Yes.                                         1      Q. Regardless, they would have an
 2      Q. Okay. Would you agree or disagree            2   obligation to maintain this such that those
 3   that -- well, yes, you agree?                      3   areas are addressed, right?
 4      A. I agree with your premise that you do        4      A. The maintenance is part of the
 5   not allow for ponding water.                       5   contract, yes.
 6      Q. Okay. Would you agree --                     6      Q. Okay. So then would you agree or
 7      A. I think that's -- you'd have to read         7   disagree with Nick Borneke, just simply put, if
 8   that back to me to make sure --                    8   there are large ruts and depressed areas, this
 9      Q. Sure.                                        9   is evidence that Borneke was not doing their
10      A. -- I understood your question.              10   work properly.
11      Q. Would you -- and all of this is             11          Would you agree or disagree with this?
12   Nick Borneke's testimony right now.               12      A. Not necessarily.
13          Would you agree or disagree with           13      Q. So you don't necessarily agree, you
14   Nick Borneke when he testified that Borneke       14   don't necessarily -- which one is it? Do you
15   was required to provide adequate grading and      15   agree or disagree with it? That was my
16   drainage such that standing water does not pool   16   question.
17   in the erection area?                             17      A. Again, I'm saying that ruts could
18      A. No. Adequate grading so that generally      18   happen by multiple reasons, so I can't answer
19   does not occur; but then if that occurs, that     19   directly that it was caused by X or Y. It could
20   there's maintenance to address the issue.         20   be one or the other or a combination.
21      Q. Okay. So it's kind of you disagree          21      Q. Sure. Would you agree or disagree with
22   with him that adequate drainage and grading       22   Nick Borneke, when he testified, that if Borneke
23   would do this overall; but if it does start to    23   is doing their job properly, accidents like this
24   happen, you would think that the maintenance      24   should never happen?

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 1      A. I disagree.                                    1   cause.
 2      Q. Okay. Let's keep going through your            2      Q. Not necessarily the root cause, but you
 3   report.                                              3   agree it could be a cause, fair?
 4         Lower on on the same page of your              4      A. It could be a cause, yes.
 5   report, you go into the testimony about the          5      Q. Okay. Fair. So -- and another cause
 6   tune-ups, right?                                     6   could be improper draining or compaction. It
 7      A. Yes. If you could point me to the              7   could be.
 8   area?                                                8         Maybe not the root cause, but it could
 9      Q. I'm trying to find this right now too.         9   be a cause, fair?
10         Okay. Here we go. Page 4, C.                  10      A. Yes.
11      A. Page 4, C. Okay.                              11      Q. Okay. When you go into E, you say the
12      Q. So you say that you don't -- you never        12   area was not caused by load, but rather elastic
13   heard of this term, essentially, on the job site,   13   strain of a heavy element. And you're -- yada,
14   right?                                              14   yada, yada. So we've already talked about this.
15      A. I haven't heard of it in my interactions      15         This goes back to the sponge analogy
16   with any personnel in the industry.                 16   you gave, and this was a predictable type of
17      Q. Okay. Are you denying that Borneke            17   response for this type of soil when you put
18   performed what they referred to as tune-ups on      18   something heavy on saturated soil, fair?
19   this project?                                       19      A. Yes.
20         And when I'm saying that, they refer to       20      Q. Okay. F, elastic-based settlement
21   tune-ups as they're going to the various job        21   versus shear failure. Again, we talked about
22   sites -- or the sites they've already prepared      22   that a lot. We've got the sponge analogy, which
23   and maintaining and repairing them. That's how      23   I appreciate because that makes a lot of sense.
24   they refer to a tune-up.                            24         This was all predictable, though, of

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1          So would you just -- this whole point         1    this type of soil response even in the engineering
2    in your report --                                   2    report, fair?
3          Well, let me ask this. Do you agree or        3       A. Yes, I could predict this.
4    disagree that they were performing those things?    4       Q. Okay. If you were on this job -- well,
5       A. Yes, I understand that they were doing        5    let me ask you this. Do you agree that this
6    those, maintaining and repairing, as necessary --   6    type of soil response, when these heavy pieces
7       Q. Okay.                                         7    of equipment are being staged, do you agree that
8       A. -- based on the fact witnesses.               8    this is something that should have been planned
9       Q. Okay. Your opinion is just that you           9    for and contracted around?
10   never heard of this term before, fair?              10      A. No, I do not believe that.
11      A. Yes, that is correct. It's not, in my         11      Q. Okay.
12   opinion, an industry standard turn -- term that     12      A. It is, or should be, standard of
13   I have heard.                                       13   practice.
14      Q. Sure. That's fair. When you go on to          14      Q. Fair enough. But then your next bullet
15   number -- or letter D then, you say: Full-depth     15   point under F, you say that it's heavily ero --
16   penetration of surface and deep sagging are not     16   the root cause of the elastic-based settlement
17   symptoms of improper drainage, right?               17   caused by a heavily loaded area. We've already
18      A. Yes.                                          18   established that.
19      Q. So if you -- if all of the following          19         And then you say: The allowable
20   people: Nick Borneke, Joe Barnes, Andy Black,       20   bearing capacity is, in part, due to quality of
21   Leonard Breyne, and Andrew Kruse all say that       21   the soil and degree of compaction, right?
22   these are symptoms of improper drainage, you        22      A. Yes.
23   would disagree with them?                           23      Q. So it's a combination of both. Not
24      A. Yes. It's not necessarily the root            24   only is it the quality of the soil, but it's

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1    also due to the level of compaction that was          1   cause, you would just be too professional when
2    either done on not done on this site, fair?           2   it came to differing opinions based on the
3       A. Yes.                                            3   evidence provided, fair?
4       Q. Okay. And then G, you say, DBC had the          4      A. No. In context, I believe that he is
5    responsibility to provide the means and methods       5   an expert in one area, not necessarily geotechnical
6    to prepare the tower erection areas, whereas          6   engineering.
7    standard of care is for the engineer of record        7      Q. Okay. Let me ask you this. You go on
8    to provide the specifications and plan for the        8   to say that Borneke was not the creating
9    construction of tower erection areas, right?          9   employer, under H.
10      A. Correct.                                       10         Because the condition came to be as a
11      Q. Okay. So, again, we've already talked          11   result of the freeze/thaw compared to what they
12   about this a lot. At the end of the day, though,     12   did/did not do, right?
13   you still expect Borneke to be knowledgeable and     13      A. Sorry. Repeat that. I was reading at
14   be able to read all the plans and reports and be     14   the same time.
15   able to come up within their head potential          15      Q. Sure. Basically, Borneke, in your
16   problems or safety issues, if they see them,         16   opinion, is not the creating employer because
17   fair?                                                17   the condition was caused by an environment --
18      A. Yes.                                           18   environmental factors as opposed to something
19      Q. Okay. So they're the ones who are              19   they did directly or did not do, fair?
20   responsible for implementing the plans is            20      A. Yes.
21   basically what this section says. Like, as long      21      Q. So assuming -- let's just assume.
22   as they think the plans are safe, they have an       22   Hypothetically, if Borneke's work, or the lack
23   obligation to go out there and implement them.       23   thereof in terms of maintenance, whatever it
24         That's pretty much what this section is        24   was, did, in fact, cause this depressed area,

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1    referring to, right?                                 1    then they would be the creating employer in that
2       A. They provide the means and methods,            2    situation, fair?
3    correct.                                             3       A. I am not positive. I am -- I took the
4       Q. Okay. You say one of the many                  4    context of creating employer as I thought it
5    technical things missing from Joe Barnes' report     5    was from the Barnes' report, but that's not
6    is the freeze/thaw. You agree you could have         6    found in Lexion when I do that, creating
7    listed more, but you did not.                        7    employer, so I'd have to go back further for
8          This is just the one you decided to            8    that definition.
9    pick on, fair?                                       9       Q. Sure. Let me ask you this. Just
10      A. I guess you need to give me context of         10   generally speaking, are you familiar with the
11   what you mean of me picking on.                      11   term exposing and creating employer under OSHA?
12      Q. Well, you say one of the many                  12      A. Limited.
13   geotechnical considerations that is missing from     13      Q. Okay. Would you agree that Joe Barnes
14   Joe Barnes' report.                                  14   is more qualified, as an OSHA instructor, to
15         As opposed to listing them out, you            15   give opinions about OSHA characterization of
16   just list the freeze/thaw as the lack of the         16   creating and exposing employers than you are?
17   consideration now, fair?                             17      A. Of that aspect of OSHA, yes.
18      A. Yes -- no, I also indicate that                18      Q. Okay. So, in fact, on that aspect of
19   the settlement was characterized by consolidation,   19   OSHA, Joe Barnes would be more qualified than
20   I disagreed with that. And I just put the            20   you are, fair?
21   context of what bearing capacity is.                 21      A. In the terminology, yes. But I'm
22      Q. Got it. So, hypothetically speaking,           22   saying that geotechnical aspects and the root
23   if he did consider this and just came to another     23   cause is what I'm opining on here.
24   opinion that wasn't what he thought was the root     24      Q. But you don't even know what creating

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1    employer means, do you?                            1    what my technical opinion would be.
2       A. I indicated I'm using the definition         2       Q. So how was -- so, basically, what I'm
3    per the terms in the Barnes' report.               3    getting at is -- okay. So I see what you're
4       Q. Okay. So per the terms in the Barnes'        4    saying.
5    report, hypothetically assuming that what          5           So you're saying you pretty much take
6    Don Borneke did directly to cause this             6    all the environmental -- let me ask you this.
7    condition, you would agree then that in that       7    You take all the environmental aspects out of
8    hypothetical based on the definition in the        8    it, and you just look at the pure language of
9    Barnes' report, they would be a creating           9    the contract and the requirements for Borneke to
10   employer, fair?                                    10   maintain the work, Joe Barnes would be correct.
11      A. No, I don't believe I was stating that.      11          But when you put in the environmental
12      Q. Okay. I'm asking you, do you agree or        12   aspects and the changing ground conditions and
13   disagree that if somebody creates a dangerous      13   you look at what you believe to be the root
14   condition on a job site, they are the creating     14   cause, then he's incorrect based on all of that?
15   employer? Or do you not know?                      15       A. My opinion is the root cause is
16      A. I would have to research that further.       16   different than what Joe Barnes -- similar
17      Q. Okay. Well, this is my one time to ask       17   language on what cause was.
18   you, and, you know, if you don't know, you don't   18      Q. Okay. So his belief is that the ground
19   know. That's fine. It's outside of your area       19   was just not prepared properly, and then, if
20   of expertise.                                      20   that is true, then he would be correct.
21         Is this your area of expertise? Or no?       21          But based on the root cause, in your
22   Do you know or don't you know, at this point, as   22   opinion being the environmental factors, based
23   we sit here today?                                 23   on that, he's technically incorrect, fair?
24      A. I know what the root cause is in my          24       A. Joe Barnes indicated that this was a

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 1   technical opinion, and that root cause was          1   consolidation based phenomenon. I disagree.
 2   caused by the loading of that soil and then         2   It's geotechnically incorrect. That's why I
 3   however you define that creating employer for       3   introduced the term elastic settlement and
 4   that loading.                                       4   explain that.
 5      Q. So you know, again, when you said it's        5          So that part of my disagreement is
 6   the root cause of the depression, but you don't     6   the mechanisms of this depression, I am in
 7   know who or what is a creating or exposing          7   disagreement with Mr. Barnes.
 8   employer just based on your knowledge, taking       8       Q. Okay. Let's go on to the next page.
 9   the Barnes report out of it, fair?                  9   K, you say you disagree with Barnes when he
10      A. Yes.                                         10   says, water accumulation that turned into an ice
11      Q. Okay. Under J, I was curious about           11   field and became hidden by snow is foreseeable
12   this. You say -- you go into this long             12   and preventable, right?
13   paragraph, I won't read it. But then at the        13       A. Correct.
14   bottom you say, is technically incorrect.          14       Q. Okay. So you agree that the potential
15          So is he partially correct? Or what?        15   for a depressed area, based on the soil response,
16          Because usually when you say technically    16   was predictable. It's just, again, your opinion
17   incorrect that's a qualification. I'm just         17   in this specific area it was not.
18   trying to figure out what you mean. It's at the    18          It's just generally predictable, not
19   bottom of Page 5, J.                               19   specifically, fair?
20      A. Yes.                                         20       A. Not specifically. But may I add to
21      Q. And then it goes onto the top of Page 6      21   that, is for this to happen a multitude of
22   as well as a few bullets so...                     22   factors have to come together at the same time.
23      A. Yes. So when I say it's not technically      23       Q. Sure. Well, let me ask again. That's
24   correct, and then I follow with the bullets of     24   my question.

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1          In the Midwest it's common that it             1       A. Water might pool, yes.
2    rains and snows, fair?                               2       Q. And then if water pools, if it gets
3       A. Yes.                                           3   cold, the water might freeze, right?
4       Q. And it's common that it gets cold later        4       A. That is correct.
5    in the year such that temperatures go below          5       Q. Okay. All of this is somewhat
6    freezing and standing water can freeze, right?       6   predictable, fair?
7       A. Yes.                                           7       A. Yes, that series could be predicted.
8       Q. And that's not, like, some novel idea.         8       Q. There's a logical corollary if you have
9    I mean, it's the Midwest. Look outside today,        9   those weather events, fair?
10   the weather sucks, right?                           10       A. Corollary, so --
11      A. Yes. It's -- it's the Midwest, if you         11       Q. Sure. Maybe I'm using the wrong words.
12   look out across any field out there now, a          12   There's a logical next step.
13   farmer's field, you're probably going to see low    13          If it's depressed, likely then it
14   areas and ice and accumulations, et cetera.         14   rains, if it rains, it's likely that it freezes
15      Q. And that's what I'm getting at.               15   if it gets cold. It's all very possible given
16         So you say that the general idea that         16   the type of soil and given the predictability of
17   the soil will fail is predictable based on its      17   this type of situation, fair?
18   response, or that a depressed area may form due     18       A. That is very possible, yes.
19   to the sponge analogy, right?                       19       Q. Okay. Let's go on to number six,
20      A. Yes.                                          20   Standard of Care for Earth Wind Compaction at
21      Q. But you just don't think that the next        21   the Site was Followed, right?
22   logical corollary is that in a depressed area       22       A. Yes.
23   water might pool and freeze? You don't think        23       Q. You say: Frozen soil does not compact.
24   that's a possibility, on a job site, when there's   24          You agree that frozen soil does

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 1   a depressed area in the Midwest?                    1    compact, it's just significantly harder to
 2      A. No. I previously testified is that a          2    compact.
 3   ponded area could be water from snowmelt or --      3          Would you agree with that?
 4   and it could be water expelled from that sponge.    4       A. No. The standard of practice in the
 5      Q. Okay.                                         5    industry is not to compact frozen soil. It will
 6      A. I'm trying to be consistent with where        6    not adequately compact.
 7   that water might come from.                         7       Q. Okay. Would you agree, though, that
 8      Q. So it's a predictable response,               8    this soil was prepared prior to the ground
 9   you just don't know if the exact outcome is         9    freezing at the site?
10   predictable?                                        10      A. Yes. My understanding is that the area
11      A. I apologize, I'm not following.               11   was prepared.
12      Q. Sure. What I'm getting at is, you keep        12      Q. Okay. So it could have been compacted
13   saying that this is a predictable response. The     13   more, hypothetically speaking, before it was
14   predictable response is that a depressed area       14   frozen, fair?
15   forms due to the heavy loading on saturated --      15      A. Yes.
16      A. Yes. That is -- I apologize for               16      Q. Okay. And then you say, again,
17   cutting you off, your question.                     17   exposed, fine-grained layers subjected to
18          Yes, it's a predictable response, in my      18   environmental cycles deteriorate in strength and
19   expertise, that that sponge would depress with      19   modulus.
20   loading.                                            20         This is predictable in strength and
21      Q. And would you agree that in this              21   modulus, right?
22   depressed area it's predictable that, if it         22      A. Yes.
23   rains, water might pool in it, just generally       23      Q. Okay. And, again, this is predictable
24   speaking?                                           24   and known, fair?

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1      A. In engineering practice, yes.                       1   these conditions, fair?
2      Q. Not only that. Based on an excavation               2      A. Yes, they would be expected to
3    company's knowledge and the general knowledge of         3   understand how to do this.
4    science behind it plus their experience in the           4      Q. So if Borneke saw and wanted to remedy
5    field, this would be known to them as well,              5   this, this would be their obligation to do the
6    fair?                                                    6   scarifying procedure on this area, fair?
7      A. They would know that it could have a                7      A. That would be an appropriate path
8    response, they would not know the terms of               8   forward.
9    modulus and strength like I do. But, yes, they           9      Q. Okay. Would you agree by not
10   would see, practice based, the evidence of --           10   scarifying the soil, technically, they're not
11     Q. Sure. And Like I said --                           11   complying with their contractual obligation to
12     A. -- to keep --                                      12   maintain the areas?
13     Q. Sure. And like I said at the                       13      MR. SULLIVAN: Objection, it assumes they
14   beginning, I think you're writing this for a            14   ever saw it.
15   Nobel laureate, and I applaud you. But, I mean,         15           Go ahead.
16   it's going over my head. How do you think it's          16      THE WITNESS: No. What I'm saying is is you
17   going to go over with a jury? I mean, that's            17   can't scarify and compact frozen soil. So if
18   neither here nor there.                                 18   the frozen soil is there, you can't just add
19     A. That's a hypothetical. I --                        19   soil to the top of it and compact that new soil.
20     Q. Sure. I'll withdraw the question.                  20      MR. TERRY: Sure.
21     A. -- when I write --                                 21      THE WITNESS: That goes against the
22     Q. I'll withdraw the question. I'll                   22   specification and standard practice.
23   withdraw the question. I apologize.                     23      MR. TERRY: That's what I'm getting at.
24           You go on to say, Contract sections,            24


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 1   you know, those say what it say. Then you say            1   BY MR. TERRY:
 2   the solution would be to scarcify -- or scarify          2      Q. When we talked about it earlier. And,
 3   the top 2 inches to establish an acceptable              3   again, I'm not saying that you just put soil on
 4   interface to the engineer.                               4   top and compact it.
 5          This is what could have been done, in             5          You're saying this is the solution if
 6   your opinion, fair?                                      6   you realize there's a problem and it needs to be
 7       A. Yes. That is what the contract                    7   compacted further, right?
 8   specifications would allow for.                          8      A. Yes. But --
 9       Q. Okay. Scarify, I mean, that doesn't               9      Q. Okay. Go ahead.
10   mean to go up and sneak up on the soil. It              10      A. But the basis is that you cannot put
11   means till it, essentially, to get the water            11   soil on top of previously frozen soil. That
12   out, fair?                                              12   would not be appropriate for standard practice
13       A. That is correct.                                 13   and these specifications.
14       Q. So simply --                                     14      Q. But you could move the obstruction,
15       A. So -- so -- sorry. They -- they disc             15   scarify the soil, and then compact it, fair?
16   it to prepare it for compaction, not necessarily        16      A. Yes.
17   to remove water immediately.                            17      Q. Okay. So, again, during that window we
18       Q. Okay. So, nonetheless, the way to                18   talked about earlier, assuming that window
19   address this is to till it or to disc it and            19   existed, assuming Borneke knew about this, or
20   then compact it, fair?                                  20   should have known about this, they could have
21       A. Yes. I think that would be standard              21   gone out there, asked for this obstruction to be
22   of -- good standard practice.                           22   moved, and then the proper course of action
23       Q. And this would be good standard                  23   would be for them to scarify the soil, fair?
24   practice for an excavation company who notices          24      A. Hypothetically, yes, they could have

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 1   done that.                                           1      Q. And this goes, again, back to the, you
 2       Q. Okay. Fair. We talked about D, but            2   know, let's scarify and then compact it down,
 3   you say something along the lines of fine-grained    3   right?
 4   soil is very sensitive as to compacted moisture      4      A. Scarify it, dry it back, compact it,
 5   condition.                                           5   yes.
 6          Is this just what we were talking about       6      Q. Okay. All right. And then you move on
 7   earlier, the sponge is going compress and let go     7   to Standard of Care, the bullet point, for a
 8   of water essentially?                                8   Wind Industry for Turbine Erection Laydown Areas
 9       A. No. This is slightly different. It            9   is for a smooth surface with less than 5 percent
10   means that saturated, or super saturated, soil,     10   grades to facilitate equipment loadout and
11   you cannot compact it without first drawing the     11   transport vehicle entrance/egress, right?
12   soil back. So it's like driving in mud, it          12      A. Yes.
13   doesn't matter how many times you put a vehicle     13      Q. And you mention on the next page, the
14   over the top of it, it stays mud.                   14   contract did, in fact, called for this, right?
15       Q. Okay.                                        15      A. Yes.
16       A. So you would have to remove water            16      Q. Okay. And then you say that the very
17   first. It doesn't matter how many times you put     17   capacity and foundation stiffness are not
18   a compacter over top of it, it's not going to       18   primary design consideration for turbine
19   compact.                                            19   erection areas, right?
20       Q. So this goes back to the scarification       20      A. Correct.
21   process essentially?                                21      Q. You agree that this is kind of
22       A. Of soil, yes.                                22   misleading, though, because each individual
23       Q. And then you say signs of problems           23   area has their own specifications, fair?
24   would be pumping in silty soil, rolling and         24      A. I don't characterize it as misleading.

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 1   deflection in silty and clayey soil, and then        1      Q. Well, no one said that the erection
 2   water wicking to the surface, right?                 2   site had to be to the same specifications as the
 3      A. Yes.                                           3   foundation. That's why I'm saying it's
 4      Q. And these would all be signs of                4   misleading, because no one ever said that.
 5   problems that a qualified excavation company         5         You agree that they're supposed have
 6   would be able to realize on a site given their       6   different specifications, right?
 7   expertise in the area, fair?                         7      A. Yes, they have different specifications.
 8      A. A qualified resident engineer or QA/QC         8      Q. And the specifications of the
 9   personnel.                                           9   foundation -- or of the erection area is
10      Q. Well, you'd expect that a qualified           10   supposed to be able to facilitate deliveries,
11   engineer -- well, let me ask you this. Would        11   support the weight of the trucks, and the staged
12   you expect that Borneke, given their experience,    12   equipment such that depressed areas do not form.
13   would know that silty soil -- I mean, we've         13         That's the contractual requirements for
14   already established that you'd expect them to       14   this work, fair?
15   know some of these things.                          15      A. Yes.
16        Would you expect them to know these            16      Q. Okay. And then, again, you discuss why
17   problems based on their experience in the field?    17   you should not place fill over frozen and
18   Maybe not in these exact terms, but knowing what    18   deteriorated soil.
19   the soil looks like and how they respond?           19         And this, again, goes back to the
20      A. Yes.                                          20   scarifying of the soil, right?
21      Q. Okay. And the on F you say, if                21      A. Yes.
22   fine-grained soil is near saturation, no amount     22      Q. And this, again, goes back to the
23   of compaction will adequately densify, right?       23   hypothetical, which Borneke could have
24      A. Yes.                                          24   potentially done this before this incident

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1    happened, if they were going from site to site      1      MR. TERRY: You can answer, sir.
2    and saw a deteriorating condition, fair?            2      THE WITNESS: Yes, per the contract language
3       A. Yes.                                          3   that I previously pointed out.
4       Q. Okay. And then you say, compaction            4      MR. TERRY: Okay.
5    tests could confirm if appropriate means and        5   BY MR. TERRY:
6    methods were employed, right?                       6      Q. Would you agree that although you think
7       A. Yes.                                          7   the root cause of this freeze/thaw cycle,
8       Q. Who would be responsible for checking         8   there's also a possibility that Borneke simply
9    Borneke's compaction? Borneke seems to think it     9   did not compact and prepare the ground enough?
10   would be them.                                     10   That's a possibility and a possible cause in
11      A. You would have to explain why Borneke        11   addition to your root cause, fair?
12   thinks it's them.                                  12      A. It's a theoretical partial cause.
13      Q. Well, just based on my understanding,        13      Q. Okay. Fair enough. We're going to
14   when you look at it. Borneke said, yeah, it was    14   move on to number seven quickly. I'm almost
15   up to us to make sure we were compacting           15   done, I promise.
16   everything to specifications.                      16      MR. TERRY: Let's just take one more quick
17          Would you agree or disagree with that?      17   break, and we'll come back and finish up.
18      MR. SULLIVAN: Well, I'm going to object to      18      THE WITNESS: All right.
19   it misstates testimony. It was signed off by       19      MR. SULLIVAN: How long?
20   Mortenson. It's a generalized statement that       20      MR. TERRY: We can come back in 4 minutes,
21   misstates prior testimony.                         21   12:55. Does that work?
22           Go ahead.                                  22      MR. SULLIVAN: Yep.
23      MR. TERRY: You can answer without the           23      MR. TERRY: Perfect.
24   testifying objection.                              24               (Recess taken.)

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1           Go ahead.                                    1   BY MR. TERRY:
2       THE WITNESS: So my sub-bullet point is is        2     Q. Moving on to number seven. You say
3    that there were not quantitative compaction         3   that DBC completed the work in accordance with
4    limits. So when there are not quantitative          4   the contract documents, right?
5    compaction limits, this is a subjective term.       5      A. That is my technical opinion, yes.
6       MR. TERRY: Okay.                                 6     Q. Your technical opinion is that they
7    BY MR. TERRY:                                       7   were required to clear, grub, and provide all
8       Q. So this is subjective. So, basically,         8   necessary grading for a 175-ft radius around the
9    Borneke should compact to a standard they think     9   turbine inclusive of cut and fill to achieve no
10   appropriate, and then see if Mortenson signs off   10   more than 5 percent grade, right?
11   on it?                                             11      A. Yes.
12      A. No, not necessarily. It's saying two         12     Q. And it also said that they had to clear
13   things. Is -- first, these turbine erection        13   the area debris to the edges and that bumps
14   areas are designed and constructed to a lower      14   shall be leveled and holes filled to accommodate
15   standard of care than those other areas that       15   equipment travel, right?
16   typically have quantitative specifications.        16      A. Correct.
17      Q. Well, we've already established that.        17     Q. And then it also says that you think
18   That doesn't change the fact that compaction       18   relevant testimony of fact witnesses indicated
19   needs to be adequate enough such that it           19   that DBC followed the standard, right?
20   facilitates delivery and staging of equipment      20      A. Yes.
21   and that depressed areas do not form, fair?        21     Q. And then your report says, cleared area
22      MR. SULLIVAN: Objection, the contract does      22   to be maintained, compacted, and provide positive
23   not say anything about depressed areas.            23   drainage at all times to facilitate turnaround area
24          Go ahead.                                   24   for turbine delivery components throughout the

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 1   duration of the project, right?                    1       Q. Okay. Fair. And then you agree that
 2       A. Yes.                                        2    you say that the compacted and maintained area
 3      Q. And you say that it appears that they        3    was maintained up until the time it was turned
 4   were compacted and maintained with positive        4    over to the erection team.
 5   drainage when the turbine erection areas were      5          That's what your report says, right?
 6   turned over to the erection team, right?           6       A. Yes. And --
 7       A. Correct.                                    7       Q. Okay.
 8      Q. But, again, there's this window, this        8       A. -- in context, I believe that's not
 9   hypothetical window that we've been talking --     9    from me, a fact witness, but from reading of
10   it's not even a hypothetical window.               10   fact witness testimony.
11          The window that was between delivery        11      Q. Sure. But they had an obligation to
12   and the erection is the time period where          12   maintain it throughout the duration of the
13   Borneke still had a contractual obligation to      13   project, not just after it was delivered, fair?
14   maintain these areas, fair?                        14      A. The specifications call for that
15       A. Yes.                                        15   throughout maintenance.
16      Q. And if they were not doing this, then        16      Q. Throughout the duration, not just
17   they would not be complying with the contractual   17   through delivery, right?
18   obligation even if it was, quote, unquote,         18      A. Yes.
19   turned over, because they had the opportunity to   19      Q. Okay. Let me ask you this. There was
20   go back and look at this, potentially, fair?       20   testimony -- you get into this later -- but you
21       A. If they were given that opportunity,        21   get into the CIA, the construction incident
22   that's fair.                                       22   analysis, right?
23      Q. Okay. And you don't have any testimony       23      A. Correct.
24   to dispute the fact that they were given this      24      Q. And you address the fact that this

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1    ability or possibility, fair?                       1   ice occurred too close to the wind turbines,
2       A. Not to my recollection.                       2   et cetera, et cetera.
3       Q. Okay. And then underneath you say,            3         You remember reading that, right?
4    Indications -- do you see that long paragraph?      4      A. I remember reading those statements.
5    It says, the deformity existed for a short          5      Q. There was testimony from the Mortenson
6    period of time. The DBC was not allowed access      6   employee who put together this report that,
7    to perform maintenance, et cetera, et cetera?       7   based on his experience filling out these
8       A. Yes.                                          8   reports, that it's his understanding that it
9       Q. You do agree, though, that this is            9   says something along the lines of, the
10   something that you said would probably present     10   excavation team was called back out to the site,
11   itself near immediately given the elastic type     11   and due to the location of the ice and a
12   of soil and the heaviness of the load being put    12   bulldozer not being able to fit, this condition
13   down, right?                                       13   was not remedied.
14      A. Yes.                                         14         Do you remember reading that in the
15      Q. And we also talked about the hypothetical    15   testimony?
16   situation in which, if a contractor saw the mats   16      MR. SULLIVAN: Objection, that misstates the
17   being depressed lower than the ground, or other    17   report.
18   mats, if they saw this, this would have given      18         Go ahead.
19   them the potential situation in which they could   19      MR. TERRY: I didn't say the report, I said
20   have remedied this by having the equipment moved   20   the testimony, Chris.
21   and scarifying the soil and then compacting it,    21      THE WITNESS: That sounds familiar, yes.
22   right?                                             22      MR. TERRY: Okay.
23      A. Hypothetically, yes, that would have         23   BY MR. TERRY:
24   kicked in a series of remedial activities.         24      Q. So if this is, in fact, true, okay, and

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1    we assume that the incident analysis, when it         1   moving this so we can get back in here and fix
2    says, you know, the ice was noticed and it was        2   this.
3    too close to the site and a bulldozer couldn't        3          They could have done that, right?
4    do it, then you would agree that, based on that,      4      MR. SULLIVAN: Objection, assuming they even
5    Borneke would have notice of this condition.          5   had notice of it.
6    And as the contractor providing excavation            6          Go ahead.
7    services, they would have an obligation to            7      THE WITNESS: Hypothetically, yes, they could
8    remedy this in combination with Mortenson, fair?      8   have asked for that sequence of activities to be
9        MR. SULLIVAN: Objection, misstates testimony.     9   done.
10          Go ahead.                                     10      MR. TERRY: Okay.
11       THE WITNESS: They could remedy this situation    11   BY MR. TERRY:
12   with time, access, and other contractor relocating   12      Q. And, hypothetically speaking, that
13   equipment immediately next to the depressed area.    13   would have been fulfilling their contractual
14       MR. TERRY: Okay.                                 14   obligations, because they were contracted to
15   BY MR. TERRY:                                        15   maintain the areas, right?
16       Q. So it wouldn't just be on -- well, in         16      A. They were contracted to meet those
17   fact, this would be their contractual obligation     17   specifications.
18   because they had an obligation to maintain and       18      Q. Okay. So would you agree then that,
19   fill bumps, ruts, et cetera. They have an            19   just based on the pure language of the contract,
20   obligation to create a smooth surface free of        20   by not addressing this area, if they had notice
21   standing water, right?                               21   of it, they would not be fulfilling their
22       A. They have that obligation, yes.               22   contractual obligations to maintain the area?
23       Q. So their contractual obligation, if           23      A. I agree with your premise that with
24   they did have notice of this, would be to repair     24   notice, they would have that obligation.

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1    it in some way, shape, or form, in combination       1       Q. Okay. You also mentioned in this
2    with Mortenson or other contractor on the site,      2    report that the, excuse me, the Barr Engineering
3    fair?                                                3    geotechnical report did not recommend specific,
4         A. Yes, in time --                              4    quantitative compaction and proof-rolling
5        Q. And if they had --                            5    requirements for the turbine erection areas;
6         A. -- with access.                              6    thus, DBC was not contracted to compact the
7         THE REPORTER: I'm sorry, I couldn't --          7    turbine erection areas to a quantitative
8         MR. TERRY: I'm sorry.                           8    relative compaction specification, right?
9    BY MR. TERRY:                                        9       A. Yes.
10       Q. Did you say with time and with access?        10      Q. Nonetheless, Borneke was the hired
11        A. Yes.                                         11   expert excavation earth moving contractor who
12       Q. Okay. So, yes, with time and with             12   was required to compact and prepare the ground
13   access.                                              13   to specifications adequate enough to perform the
14        A. And you have -- this is not an               14   work, and/or, if unable to, maintain it
15   immediate item to rectify, and I also previously     15   throughout the duration of the project, fair?
16   testified and wrote that you cannot just place       16      A. Yes.
17   fill on top of frozen soil. There's other            17      Q. Okay. And then under the CIA, you
18   remedial measures.                                   18   basically agree with the findings of the CIA,
19           So this takes time --                        19   right?
20       Q. Sure.                                         20      A. Yes. And my point eight, I largely am
21        A. -- and access.                               21   quoting the CIA.
22       Q. Let me ask you this. They could have          22      Q. Okay. But, again, you would agree
23   said, hey, this piece of turbine equipment is        23   that, hypothetically, if this condition was
24   still down here. Mortenson, when do you plan on      24   remedied or -- yeah, if this condition was

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 1   remedied before they even encountered it, then       1   the math that we went over earlier, you know,
 2   we'd never even get to this point, fair?             2   30,000 and change, is what you've been -- what
 3      A. With time and access, yes, this could          3   your time has been billed at to Don Borneke in
 4   have been remedied -- remediated, excuse me.         4   this construction, plus whatever you bill today,
 5      Q. Okay. Then we can skip ahead a little          5   fair?
 6   bit, because you get into your background again.     6       A. Provided the information today, yes,
 7   We already talked a lot about this.                  7   fair.
 8         You say that your geotechnical                 8      Q. And then, lastly, in your report you
 9   engineering program, you're a professor in that      9   get into your conclusion, right?
10   program -- I'm sorry, you're the director of the    10       A. Yes.
11   geological engineering program at the University    11      Q. And, again, you kind of go over what we
12   of Wisconsin Madison, right?                        12   went over. But you think Borneke followed the
13      A. Correct.                                      13   standard of care of an excavation contractor on
14      Q. And, again, you have a lot of                 14   this project, right -- or an earth moving
15   experience in terms of lab experience, lab          15   contractor?
16   reports, quality assurance, quality control, but    16       A. Correct. Yes.
17   you never actually performed the work of an         17      Q. And you think that it is more of a
18   excavation contractor, fair?                        18   thaw/freeze elasticity issue as opposed to
19      A. Yes.                                          19   simply the ground caving or sinking in, right?
20      Q. And then you go into what you teach,          20       A. Yes.
21   the articles you wrote. But, again, nothing         21      Q. Okay. And you disagree with the
22   about your on-the-job experience as an excavator    22   testimony of the people we've discussed,
23   actually implementing the specifications in the     23   Nick Borneke, Andy Kruse, Andrew Black, and Joe
24   field, fair?                                        24   Barnes, in the specific areas which we've

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1       A. I have not worked for a contractor,           1    already discussed, fair?
2    fair.                                               2       A. And specific technical areas, yes.
3       Q. And then we go into what you reviewed,        3       Q. Okay. You also agree that although
4    current and relevant cases, right?                  4    this is a freeze/thaw elasticity issue, this is
5       A. Yes.                                          5    something that was predictable and known even by
6       Q. And then, again, you list -- if we            6    Nick -- or even by Don Borneke, based on their
7    continue on, you list everything you've             7    review of the geotechnical reports, the soil
8    reviewed, right?                                    8    reports, and everything provided to them.
9       A. Yes.                                          9          Even before the work started, this was
10      Q. And then, in addition, you talk about         10   a predictable response for this type of soil,
11   the articles and references in the cited            11   fair?
12   opinions, right?                                    12      A. In my opinion, yes, I would have
13      A. Yes.                                          13   predicted this.
14      Q. And then you get into how much you            14      Q. And you would expect Don Borneke to
15   charge per hour, and we've already established      15   have knowledge that this type of soil might have
16   that. No matter what you charge per hour, the       16   this type of response, fair?
17   invoice being charged to Don Borneke Construction   17      A. Based on their practice-based
18   by your expert finding service, whatever you        18   experience, yes, I would expect them to
19   want to call it, $675 per hour, fair?               19   understand difficult soil conditions.
20      A. As presented to me today, yes.                20      Q. And based on this, based on the
21      Q. And you have no reason to dispute that,       21   information they were provided prior to work
22   do you?                                             22   performing, you would expect them to understand,
23      A. I have no reason to dispute that.             23   hey, this is this type of soil, it might have
24      Q. So based on what I'm showing you today,       24   this type of response, just be on the lookout

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 1   for this, fair?                                     1   Exhibit 3 is just your own example.
 2      A. They could have a general understanding       2         What about Exhibit 4?
 3   that this type of response could be possible,       3      A. Exhibit 4 was from the geotechnical
 4   yes.                                                4   report.
 5      Q. Well, not could have. You said earlier        5      Q. And this is where we talked about --
 6   you would expect them to. As a qualified            6   you see in your highlighted section, you
 7   excavation earth moving contractor, you would       7   highlight the clay of low plasticity, silt of
 8   expect them to have this type of general            8   high plasticity, and silt. So these are the
 9   knowledge.                                          9   types of things that you would expect, based on
10         Maybe not the same level you do, but,        10   this and other things in the report, to be
11   generally speaking, enough to know what the        11   predictable, right?
12   expected predictable response is, fair?            12      A. Yes.
13      A. General knowledge, yes.                      13      Q. So this is also something that you
14      Q. Okay. I want to go over, just briefly,       14   would expect a qualified excavation contractor
15   speaking of the exhibits.                          15   to have a knowledge of as to the predictability
16         Exhibit 1, this one is just basically        16   of this outcome, fair?
17   the silty and the clayey, C-L-A-Y-E-Y, soil at     17      A. General knowledge, yes.
18   Mendota Hills with a low hydraulic conductivity    18      Q. Okay. What about Exhibit 5?
19   and thus expected low drainage ability, right?     19      A. What about it?
20      A. Yes.                                         20      Q. Was that provided to you? Or aware of?
21      Q. So this is a chart that would have been      21      A. No, that would not typically be
22   provided and available to Borneke prior to the     22   provided.
23   work being performed, fair?                        23      Q. Would this be something that would be
24      A. This is a publically available chart.        24   generally available?

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 1      Q. And this is something that you would         1        A. It is a publically available document.
 2   expect a qualified excavation earth moving         2       Q. So had Borneke chosen to look for
 3   contractor to look at in preparation for the       3    something like this, or had they, based on their
 4   their work and at least understand on a general    4    experience, known, hey, this area freezes and
 5   level, fair?                                       5    thaws, freezes and thaws, they could have looked
 6      A. I would not expect them to look at this      6    this up too and got further predictable
 7   level of graph prior to a project.                 7    knowledge of what was going to happen, fair?
 8      Q. But this would probably have been            8        A. It's potential.
 9   provided to them in materials, fair?               9       Q. Okay.
10      A. This type of graph would not be              10       A. I will characterize that in that this
11   provided to them in the materials.                 11   is the type of material that I teach in my wind
12      Q. Okay. Fair enough. But, nonetheless,         12   energy courses so...
13   the report that gave the type of soil and the      13      Q. Sure.
14   predictable response, that would have been         14       A. Even the engineers don't routinely know
15   provided to them, and that's something you would   15   this. It's part of the learning process.
16   have expected them to understand on a general      16      Q. And even if they don't routinely know
17   level, fair?                                       17   this specifically, it doesn't negate the fact
18      A. The general level, yes, silty, clayey        18   that they were provided reports, the soil and
19   soil was presented to them.                        19   response report that would have predicted some
20      Q. Okay. What about Exhibit 2A or 2B,           20   similar response to what happened on this job
21   would you expect either of these to be provided    21   site prior to the work even being performed,
22   to them?                                           22   fair?
23      A. No.                                          23       A. Yes.
24      Q. Okay. What about Exhibit -- well,            24      Q. Would you agree that on this job site,

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 1   just generally speaking -- well, we'll get to       1      Q. Okay. And the incident report, based
 2   that in a second. Hold on.                          2    on the testimony that you said you remember --
 3          All right. So, hypothetically speaking,      3    or recall, I think was the word you used --
 4   if there was this knowledge of this condition to    4    based on the testimony that you recall in
 5   Borneke, this would be a condition, we've           5    combination with the incident report, the likely
 6   already established, would be remedied in some      6    scenario is that Borneke was called back out to
 7   way, shape, or form through a combination of        7    the site, and nothing was done about it due to
 8   effort between Borneke and Mortenson, whereas       8    the location of the ice and close proximity to
 9   Borneke would actually perform the excavation       9    the turbine, fair?
10   work, fair?                                         10     MR. SULLIVAN: Objection, misstates testimony.
11       A. Yes, with time and access.                   11            Go ahead.
12       Q. Okay. So Mortenson would have some           12     THE WITNESS: I recall testimony about the
13   responsibility and so would Borneke, fair?          13   accessibility to the site because of the staged
14       A. It is a contractual relationship out         14   equipment -- or staged material that was still
15   there, yes.                                         15   there.
16       Q. So Mortenson would not be the sole           16     MR. TERRY: Okay.
17   proximate cause of this issue, in your opinion,     17   BY MR. TERRY:
18   fair?                                               18     Q. Just overall, you agree that Borneke is
19       MR. SULLIVAN: Objection, calls for a legal      19   a knowledgeable excavation earth moving contractor
20   conclusion.                                         20   who's well-qualified to perform the work in this
21       MR. TERRY: You can answer.                      21   area, fair?
22       THE WITNESS: I did not assess a blame, I        22     A. Yes.
23   provided a root cause.                              23     Q. You agree that they are well-qualified
24                                                       24   from a general standpoint to read and understand

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1    BY MR. TERRY:                                        1   the documents and come up with their own
2       Q. I'm asking you, based on that, and just        2   conclusions about the predictability of this
3    based on everything, it would not be -- Mortenson    3   type of soil response, fair?
4    would not be the sole proximate cause in the         4      A. That's more of a gray area depending on
5    situation that we're to talk about today.            5   how you define soil predictability.
6           It's a combination effort, fair?              6     Q. Based on their 60 plus projects in the
7       MR. SULLIVAN: Objection, calls for a legal        7   area and based on the information they provided
8    conclusion. There's no foundation for any such       8   to them, you would agree that this predictable
9    testimony, and move to strike if he answers.         9   response should have also been predictable to
10      MR. TERRY: Go and answer.                        10   them in a general sense, fair?
11      THE WITNESS: I -- I, personally, don't think     11      A. I would indicate that it would not be
12   there's an entity to be causatively blamed for      12   surprising.
13   this issue.                                         13     Q. And, in fact, it would probably be
14      MR. TERRY: Okay.                                 14   predictable, because they've probably
15   BY MR. TERRY:                                       15   encountered this on other projects, fair?
16      Q. Despite Borneke being the excavation or       16      A. I would assume that this has been
17   earthwork contractor who had this predictable       17   encountered at other projects.
18   type of response known before they even started     18     Q. So this type of soil response would
19   the work, and based on them having the obligation   19   have been predictable and known to Borneke prior
20   to maintain the areas, you still don't believe      20   to the work even being performed based on the
21   this was anybody's fault?                           21   geotechnical report provided to them as well as
22      A. If anything, I concur with the                22   their knowledge in the field and industry and
23   conclusions in the incident report on some of       23   the geographic region, fair?
24   the mechanisms that could have been in play.        24      A. This type of response would not be

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1    unexpected.                                        1    speaking, for the whole area means that there
2       Q. Answer my question, it's a yes or no.        2    are areas of this soil that could have this type
3    Without the qualification, yes or no?              3    of response in terms of environmental changes,
4       A. Please repeat the question then.             4    correct?
5       Q. Sure. Do you agree that this type of         5       A. Correct.
6    response from Borneke -- scratch that.             6       Q. Not this specific area where the
7          Do you agree that the predictability of      7    incident took place?
8    this type of response to the soil would be         8       A. This specific area is not predictable
9    something that would be known by Borneke in a      9    across the site. This could have predictably
10   general sense given their knowledge and            10   happened somewhere.
11   experience in the industry and the geographic      11      Q. And your opinion is that Borneke did
12   region plus the documents provided to them prior   12   comply with the standard care of a reasonably
13   to their work being started, fair?                 13   competent excavation contractor?
14      A. Yes.                                         14      A. Yes. That was stated in my report.
15      Q. So essentially stating this was              15      Q. And your opinion is that Borneke did
16   predictable to everybody, including Borneke?       16   properly comply with the contract documents,
17      A. This type of response could be               17   meaning compaction and grading and so forth,
18   predicted.                                         18   correct?
19      Q. So to state it another way, this type        19      A. Yes.
20   of soil response was predictable to everyone       20      Q. And a reasonably competent excavation
21   before the work even began, including Borneke,     21   contractor can comply with the requirements of
22   fair?                                              22   the contract and do all those things, and it
23      MR. SULLIVAN: Misstates prior testimony         23   can, nonetheless, be, basically, undone by
24   about location.                                    24   environmental conditions that later take place,

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 1      THE WITNESS: I don't know if it's                1   correct?
 2   predictable to everybody.                           2      A. That is correct.
 3      MR. TERRY: Sure.                                 3      Q. And is that the essence of your
 4   BY MR. TERRY:                                       4   testimony and your opinions this case?
 5      Q. This type of soil response was                5      MR. TERRY: I'm going to object to
 6   predictable to the engineer, to Mortenson, and      6   speculation.
 7   to Borneke, fair?                                   7         You can answer.
 8      A. I think you could take it to that             8      THE WITNESS: Yes.
 9   level, fair.                                        9   BY MR. SULLIVAN:
10      MR. TERRY: Okay. I don't believe I have         10      Q. Borneke, obviously, is not a
11   anything further at this point.                    11   geotechnical engineering firm, is it?
12          Chris?                                      12      A. They are not.
13      MR. SULLIVAN: Dr. Tinjum, let me ask you        13      Q. And they're not expected to meet the
14   some questions about --                            14   standard of care of an engineer, are they?
15      MR. TERRY: Oh, sorry, Dr. Tinjum, I do          15      A. No.
16   appreciate your time today. I don't want to be     16      Q. You saw the testimony -- you reviewed
17   rude. Thank you.                                   17   the testimony of Brad Bennett in this case,
18      THE WITNESS: Thank you.                         18   right?
19                 EXAMINATION                          19      A. Yes.
20   BY MR. SULLIVAN:                                   20      Q. And you saw that he testified he had no
21      Q. Starting with what counsel just              21   knowledge of any issue with site T11, or
22   mentioned to you about predictable response.       22   anywhere else, regarding sinking soil, but in
23          Your testimony and your opinion in this     23   particular T11, correct?
24   case is that the geotechnical report, generally    24      A. I do not recall that exact language,

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 1   but that sounds familiar.                           1      THE WITNESS: To my knowledge, I did not see
 2      Q. And, you know, Borneke in this case           2   that communication or correspondence.
 3   disputes they received any notice of a problem      3   BY MR. SULLIVAN:
 4   with site T11 before this incident, right?          4      Q. You recall the testimony of Leonard
 5      A. To my understanding of the fact of what       5   Breyne, right? We talked about how you
 6   this is, yes.                                       6   reviewed, that's one of the transcripts you
 7      Q. And counsel asked you about, you know,        7   looked at, right?
 8   the -- once the equipment is laid down, the         8      A. That is correct.
 9   process with regard to the soil conditions          9      Q. And even he says, they were performing
10   affected by the environmental changes begins       10   the erection on the day of the incident, and no
11   soon after the components are laid down.           11   one saw this icy area until half hour, maybe an
12          Do you recall that line --                  12   hour, he says, before this incident took place.
13      A. Yes.                                         13      MR. TERRY: Objection, mischaracterizes his
14      Q. -- line of questioning?                      14   testimony, and relevance, and contractual
15      A. Yes.                                         15   obligation.
16      Q. Once the component is laid down and          16          You can answer.
17   then the mat is on top of it, you can't see.       17      THE WITNESS: To my recollection, yes, I do
18   There's no evidence that anyone saw anything       18   recall something of that -- similar to that
19   until that was removed, correct?                   19   statement.
20      A. I did not see any evidence that that         20   BY MR. SULLIVAN:
21   was observed.                                      21      Q. And an excavation contractor can't fix
22      Q. So if Borneke -- strike that.                22   something unless it has been noticed of a
23          Let me go back. You agree with me,          23   problem, can it?
24   Borneke completed the compaction, drainage, and    24      MR. TERRY: Assuming -- objection, incomplete

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 1   grubbing requirements in the contract, and         1    hypothetical.
 2   Mortenson had to inspect and then approve that     2       THE WITNESS: I would agree with that
 3   before they moved on, right?                       3    statement.
 4      A. That is my understanding based on the        4    BY MR. SULLIVAN:
 5   fact witnesses.                                    5       Q. There's no evidence that even after --
 6      Q. And then you agree with me that              6    well, strike that.
 7   Mortenson controlled when the equipment was        7          While -- I mean, you understand that
 8   going to be actually delivered and then erected,   8    this incident took place when Nick Georgeff
 9   right?                                             9    arrived on the site after the Mortenson crew was
10      A. That would be under their control as         10   already erecting the components, right?
11   the EPC.                                           11      MR. TERRY: Again, relevance.
12      Q. And with regard to maintenance,              12          You can answer.
13   Borneke's on site. If they are reviewing each      13      THE WITNESS: That is my understanding.
14   of these sites after they've completed their       14   BY MR. SULLIVAN:
15   excavation work, and they see no evidence of       15      Q. And Lonnie Sears is one of the people
16   anything amiss before the components are           16   that you reviewed in terms of testimony, right?
17   delivered, there would be nothing for them to do   17      A. That is correct.
18   with regard to maintenance, would there?           18      Q. He was the Mortenson foreman on the
19      A. That is correct.                             19   site.
20      Q. And you agree with me there's no             20         And you agree with me that Borneke did
21   evidence that Mortenson ever complained about      21   not control the actual -- had no involvement in
22   anything with regard to site T11 to Borneke that   22   the erection on the day of the incident, right?
23   Borneke had done incorrectly?                      23      A. My understanding is is that was a
24      MR. TERRY: Relevance.                           24   separate erection contractor.

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1       Q. And Mortenson controlled -- it was           1    component that was covering it up before this
2    Mortenson employees actually doing that work,      2    happened, is there?
3    right?                                             3       A. That is correct.
4        A. I do not remember, specifically, who's      4       Q. The fact that environmental conditions
5    employees they were.                               5    alter previous excavation work does not mean the
6       Q. But they weren't Borneke's, were they?       6    excavation work originally done was not sufficient,
7        A. Not that I recall.                          7    does it?
8       Q. So Lonnie Sears testified he was the         8       A. Well, I characterize it as earthwork
9    superintendent for Mortenson in control -- or in   9    construction, not excavation construction. But
10   charge of the erection at the time of the          10   with --
11   incident, and he observed this icy area after      11      Q. Go ahead.
12   they lifted up the piece that had covered it up.   12      A. -- that caveat, yes.
13          You agree with me and part of your          13      Q. The earthwork contractor -- I'm sorry,
14   opinions are that you agree with the incident      14   I mix them up. The earthwork contractor had no
15   analysis report, right?                            15   control over Mortenson employees.
16       MR. TERRY: I'm going to object. That's,        16         You agree with that, right?
17   like, a ten-part question.                         17      A. I agree.
18           If you understand, you can answer.         18      Q. And the earthwork contractor had no
19       MR. SULLIVAN: Why don't you answer it.         19   control over lifting and moving pieces around
20       THE WITNESS: I -- yeah. I testified that I     20   either, the components of the wind turbine?
21   agreed with -- largely with the incident report.   21      A. They did not control that equipment or
22       MR. SULLIVAN: Right.                           22   operations.
23   BY MR. SULLIVAN:                                   23      Q. Your opinions about complying with the
24      Q. So the Mortenson foreman that was doing      24   contract comes directly from the language of the

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 1   the work, if he saw a hazard, your opinion is       1   contract itself, right?
 2   that he has the obligation to cordon it off such    2      A. Yes. I reviewed the contract documents
 3   that this incident doesn't take place?              3   themselves.
 4      MR. TERRY: Objection, outside this expert's      4      Q. I just want to share this with you real
 5   area of expertise. He's talking about soil, not     5   fast. This is the actual contract.
 6   about construction standards.                       6      MR. TERRY: Are you withdrawing your prior
 7          You can answer, sir.                         7   objection that he's not qualified to provide
 8      THE WITNESS: Based on my review of the           8   legal opinions about the contract?
 9   construction documents, including deliverable       9      MR. SULLIVAN: I don't know what you're
10   for Mortenson on their health and safety           10   talking about. Forgive me.
11   protocol, that -- yes, that was standard of        11          I'm showing the contract here.
12   practice and was indicated in the incident         12   BY MR. SULLIVAN:
13   report.                                            13      Q. You reviewed the contract as part of
14   BY MR. SULLIVAN:                                   14   your opinion and your report in this case,
15      Q. Are you aware of any evidence, having        15   right, sir?
16   reviewed what you -- the materials in this case    16      A. I did.
17   that anyone saw this icy area where he fell        17      Q. And this is what you reviewed, where it
18   prior to lifting up the component and the mats     18   says turbine erection areas, correct?
19   underneath it?                                     19      A. Yes, I reviewed this component.
20      A. There was no indication of this icy          20      Q. And this is what defines their --
21   area anywhere that I reviewed.                     21   Borneke's obligation with regard to turbine
22      Q. And there's no evidence that anyone, be      22   erection areas, right?
23   it a Mortenson employee or Borneke, ever saw       23      MR. TERRY: Objection, legal conclusion.
24   that there was some problem underneath the         24      THE WITNESS: Yes.

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 1   BY MR. SULLIVAN:                                    1   is much different than excavation that would be
 2      Q. You are familiar with what the standard       2   required for, say, a building or even a house,
 3   of care is for a contractor like Borneke in         3   right?
 4   following contracts on wind turbines, right?        4      MR. TERRY: I'm going to object to relevance.
 5      MR. TERRY: Outside of his area of expertise.     5         You can answer.
 6          You can answer.                              6      THE WITNESS: Significantly different, yes.
 7      THE WITNESS: I am aware of that, and I           7   BY MR. SULLIVAN:
 8   actually teach that in my continuing engineering    8      Q. And knowing that this -- Borneke was
 9   education short courses and related courses on      9   hired to do earth moving work for a wind farm
10   wind energy.                                       10   specifically, and reviewing all the evidence you
11   BY MR. SULLIVAN:                                   11   have in this case, you believe they performed
12      Q. And you have particularized knowledge        12   their obligations correctly?
13   with regard to wind farms just like this, right?   13      A. Yes, that is number one in my expert
14      A. I do.                                        14   opinion.
15      Q. And the -- well, strike that.                15      Q. Borneke had no control over the
16         Let me just -- looking at Section 2.21,      16   engineering or design plans on the site, did
17   it doesn't say anything here about depressed       17   they?
18   areas, does it?                                    18      A. They did not.
19      MR. TERRY: Objection to relevance.              19      Q. Did you see anything in your materials
20      THE WITNESS: Correct, there's no language on    20   how much Borneke was paid for the work they did
21   depressed areas.                                   21   on this job?
22   BY MR. SULLIVAN:                                   22      MR. TERRY: I'm going to object to relevance.
23      Q. It doesn't say anything about ensuring       23      THE WITNESS: I did see some pricing
24   that pooling water doesn't form, anything like     24   information, but I forget where it was.

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1    that, does it, in this contract?                    1   BY MR. SULLIVAN:
2       MR. TERRY: It literally talks about              2      Q. Do you recall what it was? How much it
3    drainage, Chris. Don't mis -- objection,            3   was?
4    mischaracterizes the contract.                      4      A. I do not recall, but I know that each
5       THE WITNESS: There is no specific language       5   turbine erection area was a lump sum dollar
6    on ponding in this area.                            6   value.
7    BY MR. SULLIVAN:                                    7      Q. Do you recall the language of the
8      Q. You reviewed this as part of your              8   contract that required all clear and -- debris
9    preparation for your report, right?                 9   to be pushed to the edges of the cleared area?
10      A. I did.                                       10      A. Yes.
11     Q. And your opinion is that Borneke              11      Q. You wouldn't fault Borneke for doing
12   complied with these requirements as identified     12   just that, would you?
13   on this contract?                                  13      A. I would not.
14      A. That is my technical opinion, yes.           14      Q. Obviously, Borneke has no control
15     Q. You have particularized experience with       15   over the weather or the changing environmental
16   regard to wind farms as you've expressed in your   16   conditions given the time frame this project
17   report, right?                                     17   took place.
18      A. Yes.                                         18          Do you agree with that?
19     Q. And the earthwork for wind farms is           19      A. I would.
20   unique and different than ordinary excavation      20      Q. And you agree with it, having reviewed
21   work; is that right?                               21   everything you have in this case that you
22      A. The wind energy industry is unique in        22   mention in your report, there's no evidence that
23   many aspects of earthwork construction.            23   Borneke noted any difficulty with the specific
24     Q. The excavation required for wind farms        24   area where this injury took place while they

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1    were doing their work and up until this incident    1      A. These turbine areas cover hundreds, if
2    took place?                                         2   not thousands, of acres over an area. They
3       A. I do not recall any instances of a            3   don't impact thousands of acres, but they're
4    problem.                                            4   constructed over thousands of acres.
5       Q. There's no evident that it was not            5      Q. So when counsel was asking you, they
6    properly drained, sloped, compacted, and so         6   should have been familiar -- that Borneke should
7    forth, with the contract from the time Borneke      7   have been familiar with the geotechnical report
8    finished its work all the way up until this         8   that would have told them there was potential
9    accident, is there?                                 9   for unsettling of soil, it would have alerted
10      A. Correct, there is no evidence of             10   them to no specific area on this project, would
11   improper adherence to contract specifications.     11   it?
12      Q. And no -- you don't know any evidence        12      MR. TERRY: Well, I'm going to object,
13   that Borneke was asked to come back because        13   because I never said unsettling of soil, and I
14   anyone from Mortenson, or anyone else, found an    14   never said on a specific site. I said generally
15   issue that needed to be addressed, do you?         15   speaking. I think you're referring to elasticity,
16      A. I'm not aware of any, quote, unquote,        16   but that was nowhere near my question or the
17   call-backs.                                        17   specificity of it.
18      Q. You would agree with me that a               18          Subject to that objection, obviously,
19   reasonably prudent contractor has to observe       19   you can answer.
20   an issue before they can fix an issue?             20      THE WITNESS: I need it repeated to me,
21      A. Correct.                                     21   please.
22      Q. Even if Borneke was familiar with the        22      MR. SULLIVAN: Let me just -- I'll withdraw
23   geotechnical report, it wouldn't have told them    23   that.
24   specific areas where there could be more           24


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 1   difficulty grading and compacting?                 1    BY MR. SULLIVAN:
 2      MR. TERRY: Wait. Hold on. I'm sorry.            2       Q. The point is looking at that report
 3          Chris, do you mind repeating that? Or       3    would not have alerted them to any specific
 4   having it read back.                               4    area, whether it could have been an issue?
 5                (Record read as requested.)           5        A. I agree.
 6      THE WITNESS: Correct, but I need to give        6       Q. Obviously, Borneke has no control over
 7   context, is the geotechnical investigation         7    the freeze/thaw cycles after their work is done.
 8   report, to my recall, did not identify any         8        A. That is correct.
 9   particular turbine areas for special concern.      9       Q. Did you see any evidence that Mortenson
10   BY MR. SULLIVAN:                                   10   ever stopped work and notified Borneke that they
11      Q. Right. So looking at it, they would          11   needed corrective action on site T11 where this
12   have had no idea that there's more of an issue,    12   happened?
13   potentially, in site T11?                          13       MR. TERRY: Objection, relevance. That's not
14      A. That is correct. So, again, with             14   required for Borneke to do their work.
15   context, other wind energy sites that have         15          You can answer.
16   problematic areas, the geotechnical report often   16       THE WITNESS: Not that was presented to me.
17   will call them out for specific remediation or     17   BY MR. SULLIVAN:
18   care.                                              18      Q. You understood that Mortenson was the
19      Q. But this particular report did not do        19   general contractor on the site, right?
20   that?                                              20       MR. TERRY: Objection, relevance. Objection,
21      A. It did not.                                  21   move to strike.
22      Q. And the whole project area was many          22          Chris, this will be subject to a motion
23   acres, dozens of acres at least. They had 29       23   in limine. You could have sued Mortenson. You
24   sites, right?                                      24   chose not to for contractual and relationship

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 1   reasons, so that way Borneke keeps getting work       1      MR. SULLIVAN: I don't know. I mean, not
 2   from them.                                            2   long, five minutes.
 3         That being said, you would not be able          3      MR. TERRY: Okay. Thanks.
 4   to admit these arguments at trial, and I'm            4   BY MR. SULLIVAN:
 5   moving to strike and bar this.                        5      Q. As you've explained your understanding
 6         You can answer, sir.                            6   of these projects, Mortenson is the entity that
 7      THE WITNESS: General contractor, or my             7   would be in charge of all the subcontractors,
 8   terminology was engineer-procure-construct.           8   including Borneke, right?
 9      MR. SULLIVAN: Okay.                                9      MR. TERRY: Same objections.
10   BY MR. SULLIVAN:                                     10      THE WITNESS: Correct.
11      Q. But what does that mean?                       11   BY MR. SULLIVAN:
12      MR. TERRY: Same objections.                       12      Q. You can see in the picture, the only
13      THE WITNESS: That --                              13   picture in this case that shows that ice.
14      MR. TERRY: He's not even using the same           14          Do you recall that?
15   terms. He's not even using contract terms.           15      A. Yes, I do.
16   He's using engineering contract procure, or          16      Q. Obviously, where there's ice, the
17   whatever it is, and you're asking him to talk        17   ground is frozen; is that right?
18   about general contractor.                            18      A. No, not obviously.
19         Objection, same one as before, objection,      19      Q. Never --
20   outside his area of expertise. He's not an           20      A. It means that the water on top of the
21   expert in construction. He's already said that.      21   ground is frozen.
22      MR. SULLIVAN: Go ahead.                           22      Q. Okay.
23      THE WITNESS: So a general contractor, such        23      A. The ground could be frozen or it may
24   as Mortenson, is generally responsible for the       24   not be.

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 1   design engineering procurement, instead about         1      Q. Frozen ground cannot be compacted, can it?
 2   being bid out and conducted by separate               2      A. Not compacted appropriately, correct.
 3   entities. In this project, that was Mortenson.        3      Q. You agree with me, there's no picture
 4   BY MR. SULLIVAN:                                      4   that you saw that shows the component that was
 5      Q. And that's your experience with wind            5   in place over the ice along with the mats prior
 6   farms, generally, in your experience and research.    6   to this incident, is there?
 7          That's part of your job, right?                7      A. That is correct. I have not observed any
 8      A. That is correct. These are typically            8   predecessor to this photo on what was staged there.
 9   designed, managed, and implemented by a single        9      MR. TERRY: And I'm going to object to
10   contractor that is then responsible for              10   relevance.
11   sub-engineers and subcontractors.                    11   BY MR. SULLIVAN:
12      Q. So, in this case then, Mortenson would         12      Q. Does your report adequately state your
13   have been in charge of not only Borneke, but         13   opinions in this case?
14   then the -- whoever is contracted to load the        14      A. Yes, it does.
15   equipment and then erect it?                         15      MR. SULLIVAN: I think that's all I have.
16      MR. TERRY: Objection, speculation. This is        16   Thank you, sir.
17   assuming he's seen the contract between the          17      MR. TERRY: I just have a few follow-ups, and
18   owner and Mortenson. He has no idea. This is         18   I really mean that. I'll be very brief.
19   completely outside his area of expertise. And        19              FURTHER EXAMINATION
20   the same objections as before.                       20   BY MR. TERRY:
21      THE WITNESS: So sorry, repeat the question.       21      Q. You were shown the contract documents
22      MR. SULLIVAN: I'll just repeat the question.      22   and asked about depressed areas and the specific
23      MR. TERRY: Hey, Chris, about how much longer      23   language of pooling.
24   do you have do you think?                            24          Do you agree the contract called for

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1    maintenance of the compacted area and adequate       1    usually asked to review the transcript for
2    drainage provided throughout the entire project      2    accuracy to that level.
3    including the turnaround area and the requirement    3       MR. SULLIVAN: Okay. So if you'd like to do
4    to fill and level out bumps and holes and rocks,     4    that, you can just say, I reserve my right to --
5    fair?                                                5       THE WITNESS: I reserve my right to review
6       A. That is a fair assessment, yes.                6    and correct the transcript.
7       Q. Okay. You agree that despite Borneke           7       MR. TERRY: Hold on. Just for the record,
8    having no control over the freeze/thaw, it was       8    you cannot correct the transcript. You can
9    still their requirement to maintain the ground       9    correct spelling errors, or if you said yes and
10   condition even with changing ground conditions      10    she typed no, that's the only difference. You
11   such as freeze/thaw.                                11    cannot actually change anything.
12          That was their contractual requirement,      12       MR. SULLIVAN: Right. That's true.
13   fair?                                               13       THE WITNESS: I understand.
14      A. The contractual agreement was for             14       MR. TERRY: Okay.
15   maintenance, yes.                                   15       MR. SULLIVAN: With that, show reserved.
16      Q. You were asked questions about the GC         16       MR. TERRY: Margie, I'll order the original
17   and who controls the project.                       17    and I will email you the exhibits.
18          At the end of the day, Borneke is the        18       THE REPORTER: Chris, will you handle
19   one who's responsible for doing their work in a     19    signature?
20   safe and proper manner in accordance with not       20       MR. SULLIVAN: Yes.
21   only the contract documents, but also industry      21         (Proceedings concluded at 1:49 p.m.)
22   standard and safety, fair?                          22
23      A. Yes.                                          23
24      MR. TERRY: I don't think I have anything         24

                                                  201                                                          203

 1   further.                                            1        IN THE UNITED STATES DISTRICT COURT
 2       MR. SULLIVAN: Just one last question,           2          NORTHERN DISTRICT OF ILLINOIS
 3   follow-up.                                          3             EASTERN DIVISION
 4                                                       4
                FURTHER EXAMINATION
 5                                                       5    NICK GEORGEFF,               )
     BY MR. SULLIVAN:
 6                                                       6      Plaintiff,         )
        Q. The last question that counsel asked you.
 7                                                       7     vs.                 ) Civil Action
           You believe they did comply with that
                                                         8    DON BORNEKE CONSTRUCTION, INC.,) No. 3:20-CV-50313
 8   standard, right, Mr. Tinjum?
                                                         9              Defendant.     )
 9       A. I believe --
                                                         10
10       MR. TERRY: Asked and answered 14,372 times
                                                         11         I, JAMES TINJUM, being first duly sworn,
11   today, Chris.
                                                         12   on oath say that I am the deponent in the
12       THE WITNESS: I believe that Don Borneke         13   aforesaid deposition taken on the 4th day of
13   Construction followed standard of care for this     14   April, 2023; that I have read the foregoing
14   project.                                            15   transcript of my deposition and affix my
15       MR. SULLIVAN: Okay. That's it. Thank you.       16   signature to same.
16          You know, in terms of signature, you         17                ______________________________
17   have the opportunity to review it. I think --                              JAMES TINJUM
18   actually, in federal court, I don't remember if     18
19   you get signature or not, frankly.                  19
20       MR. TERRY: I don't know if you do, to be        20   Subscribed and sworn to
21   honest.                                             21   before me this      day
22          Let's go off the record.                     22   of             , 2023
23                (Discussion off the record.)           23
24       THE WITNESS: On my typical projects, I'm        24   Notary Public

                                                  202                                                          204

                                                                                               Pages 201 to 204
                             McCorkle Litigation Services, Inc.
                             Chicago, Illinois (312) 263-0052
     Case: 3:20-cv-50313 Document #: 80 Filed: 06/23/23 Page 432 of 480 PageID #:633
                                                                                           James Tinjum 04/04/2023

 1                                                          1
     STATE OF ILLINOIS          )                                      McCorkle Litigation Services, Inc.
                                                                        200 N. LaSalle Street, Suite 770
 2                     ) SS:                                2             Chicago, Illinois 60601-1014
                                                            3    April 18, 2023
 3   COUNTY OF C O O K            )                         4    SWANSON, MARTIN and BELL
 4         I, MARGARET A. RITACCO, a notary public               MR. CHRISTIAN A. SULLIVAN
                                                            5    2525 Cabot Drive, Suite 204
 5   within and for the County of Cook and State of              Lisle, Illinois 60532
                                                            6
 6   Illinois, do hereby certify that heretofore, to-wit,   7    IN RE: NICK GEORGEFF vs. DON BORNEKE
 7   April 4th, 2023, personally appeared before me,                  CONSTRUCTION, INC.
                                                            8    COURT NUMBER: 3:20-CV-50313
 8   via videoconference, JAMES TINJUM, in a cause               DATE TAKEN: April 4, 2023
                                                             9   DEPONENT: JAMES TINJUM
 9   now pending and undetermined In the United States      10   Dear Mr. Sullivan:
10   District Court, Northern District of Illinois,         11   Enclosed is the deposition transcript for the
                                                                 aforementioned deponent in the above-entitled
11   Eastern Division, wherein NICK GEORGEFF is the         12   cause. Also enclosed are additional signature
12                                                               pages, if applicable, and errata sheets.
     Plaintiff, and DON BORNEKE CONSTRUCTION, INC.,         13
13   is the Defendant.                                           Per your agreement to secure signature, please
                                                            14   submit the transcript to the deponent for review
14         I further certify that the said JAMES TINJUM          and signature. All changes or corrections must
                                                            15   be made on the errata sheets, not on the
15   was first duly sworn to testify the truth, the              transcript itself. All errata sheets should be
16   whole truth and nothing but the truth in the           16   signed and all signature pages need to be signed
                                                                 and notarized.
17   cause aforesaid; that the testimony then given         17
18   by said witness was reported stenographically by            After the deponent has completed the above,
                                                            18   please return all signature pages and errata
19   me in the presence of the said witness, and                 sheets to me at the above address, and I will
                                                            19   handle distribution to the respective parties.
20   afterwards reduced to typewriting by Computer-Aided    20   If you have any questions, please call me at the
21   Transcription, and the foregoing is a true and              phone number below.
                                                            21
22   correct transcript of the testimony so given by             Sincerely,
                                                            22   Cindy Alicea          MARGARET A. RITACCO
23   said witness as aforesaid.                                  Signature Department      Court Reporter
24         I further certify that the signature to          23                      (312)263-0052
                                                            24   cc: ALL COUNSEL ORDERING THE TRANSCRIPT

                                                     205                                                                        207

 1   the foregoing deposition was reserved by counsel
 2   for the respective parties.
 3         I further certify that the taking of this
 4   deposition was pursuant to notice and that there
 5   were present at the deposition the attorneys
 6   hereinbefore mentioned.
 7         I further certify that I am not counsel
 8   for nor in any way related to the parties to
 9   this suit, nor am I in any way interested in the
10   outcome thereof.
11         IN TESTIMONY WHEREOF: I have hereunto
12   set my hand and affixed my notarial seal this
13   17th day of April 2023.
14
15
16
17
18           __________________________ ________
19           NOTARY PUBLIC, COOK COUNTY, ILLINOIS
20           LIC. NO. 084-002796
21
22
23
24

                                                     206

                                                                                                                    Pages 205 to 207
                              McCorkle Litigation Services, Inc.
                              Chicago, Illinois (312) 263-0052
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                                 JAMES M. TINJUM, PhD, PE                                EXHIBIT
                                   Tinjum Consulting, LLC
                                     10 Arboredge Way                                         1
                                    Fitchburg, WI 53711
                    Phone: 608.609.8424 – jmtinjum@tinjumconsultingllc.com

PROFESSIONAL PREPARATION
University of Wisconsin-Madison, Civil and Environmental Engineering, BS 1993
University of Wisconsin-Madison, Civil and Environmental Engineering, MS 1995
University of Wisconsin-Madison, Civil and Environmental Engineering, PhD 2006

APPOINTMENTS
Owner, Tinjum Consulting LLC (EIN XX-XXXXXXX)                                     2003 – current
Director, Geological Engineering Program                                          2019 – current
    University of Wisconsin-Madison (jmtinjum@wisc.edu)
Associate Professor, Department of Civil and Environmental Engineering            2019 – current
Associate Chair, Department of Engineering Professional Development                 2017 – 2019
Faculty Director of Online Credit Engineering Programs                              2016 – 2018
Associate Professor, University of Wisconsin-Madison                              2014 – current
Assistant Professor, University of Wisconsin-Madison                                2008 – 2014
Associate Geotechnical Engineer, CH2M HILL, Inc. (Philadelphia, PA)                 2005 – 2008
Dwight D. Eisenhower Research Fellow, University of Wisconsin-Madison               2002 – 2005
Project Geotechnical Engineer and Project Manager, RMT, Inc. (Madison, WI)          1998 – 2002
Staff Geoenvironmental Engineer, CH2M HILL, Inc. (Denver, CO)                       1995 – 1998
Research and Teaching Assistant, University of Wisconsin-Madison                    1993 – 1995
Engineering Intern, Caterpillar, Inc. (Peoria, IL)                                  1990 – 1992

PROJECTS
Litigation Support / Expert Witness
Hazardous Waste Disposal and TCLP Analysis. Confidential Waste Management Company
  (North America). Expert Witness. 2022 – current.
Hazardous Waste Material Assessment. Confidential Industrial Company (Wisconsin). Expert
  Witness. 2022 – current.
Landfill Liner Performance Modeling. Confidential Waste Management Company (North
  America). Standard-of-Care Expert. 2018 – current.
Nature and Extent of PFAS Contamination. City of Rhinelander (Wisconsin). Third-Party Review.
  2019 – current.
Bluff Slope Stability Analysis. Grandad Bluff, La Crosse (Wisconsin). Expert Witness. 2020
Bluff Slope Stability Failure Analysis. Confidential Client (Wisconsin). Standard-of-Care Expert.
  2018 – 2019.
Excavation Stability Analysis. Confidential Client (Wisconsin). Expert Witness. 2019.
Landfill Liner Performance Modeling. Confidential Waste Management Company (North
  America). Standard-of-Care Expert. 2018 – current.




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Coal Combustion Residuals Landfill. Confidential Client (North America). Standard-of-Care
  Expert. 2017 – 2019.
Wind Energy Site, Litigation of Foundation Performance. Confidential Client (North America).
  Standard-of-Care Expert. 2014 – 2017.
Wind Energy Site, Litigation of Foundation Performance. Confidential Client (North America).
  Standard-of-Care Expert. 2016 – current.
Brownfield Remediation, Litigation of Responsible Parties. CNH America LLC (Racine, WI).
  Expert Witness. 2010 – 2013.
Soft Ground Foundation Analysis, Litigation of Foundation Suitability. Gekas Law LTD (Chicago,
  IL). Expert Witness. 2009 – 2010.
Remedial Investigation, Chromium-Impacted Site. Honeywell International (Baltimore, MD).
  Principal Investigator. 2006 – 2017.
Representative Consulting Projects (Energy, Environment, Geotechnical)
Freeze-Thaw Foundation Conditions and Remediation. Sargento Foods Incorporated (WI).
  Third-Party Review.
Coal Combustion Residual Impoundment Closure. Confidential Utility Owner (MO). Third-Party
 Geotechnical Review.
Coal Combustion Residual Landfill Remediation. Confidential Utility Owner (WI). Third-Party
 Geotechnical Review.
Landfill Slope Reconstruction and Lagoon Closure. City of Clovis (NM). Design Coordinator.
Cooling Pond Slope Reconstruction and Armoring. Rohm and Haas Company (TX).
 Geotechnical Design Engineer.
Geotechnical Design of Sediment Excavation. Rohm and Haas Company (Mozanica, Italy).
 Senior Geotechnical Engineer.
Sludge Lagoon Closure. Chevron (TX). Geotechnical Engineer.
Bridge Armoring. Burlington Northern Santa Fe Railroad (MT). Resident Engineer.
Landfill Construction. Waste Management, Countryside Landfill (IL). Design Engineer.
Wind Energy Geotechnical Report and Foundation Design. Confidential Utility Owner (WI).
 Third-Party Review.
Wood-Ridge Feasibility Study. Rohm and Haas Company (NJ). Technical Manager.
Coal-fired Power Plant Siting. Unnamed Client (IA). Project Manager.
Feasibility Study, Former Chlorine Plant. Weyerhaeuser (NC). Study Coordinator.
Natural Gas-fired Power Plant Siting. Mirant Corporation (WI). Project Coordinator.
Natural Gas Power Generating Facilities Construction. Southern Energy Inc., Zeeland (MI) and
 Neenah (WI). Project Geotechnical Engineer.
Superfund Remedial Design and Remedial Action. Waste Management, H.O.D. Landfill (IL).
 Engineering Coordinator.
Foundry Sand Landfill Siting and Construction. Waupaca Foundry (TN). Lead Engineer.
Geotechnical and Leaching Properties of Cement Kiln Dust. National Lime Association (DC).
 Project Coordinator.
Treatment Plant Design. Various Clients (CO, NE, OK, WY). Lead Geotechnical Engineer.
Remedial Design and Construction. Hill Air Force Base (UT). Design Engineer.
Highway Reconstruction. Federal Highway Administration (WY). Design Engineer.


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PUBLICATIONS

Peer Reviewed, Archived Papers
1. Yilmaz, M., Tinjum, J.M., Acker, C., and Marten, B. 2021. “Transport Mechanisms and
    Emission of Landfill Gas through Various Configurations in an MSW Landfill Using a Static
    Flux Chamber Technique. Journal of Engineering Management. 280, 111677.
2. Yilmaz, M., Eun, J., Tinjum, J.M., and Fratta, D. 2021. “In-service Response of Shallow On-
    shore Wind Turbine Generator Foundation.” Geotechnical and Geological Engineering. 1–18.
3. Chen, J., Eun, J., Feng, Y., and Tinjum, J.M. 2021. “Long-term Leaching Behavior of Chromite
    Ore Processing Residue as Backfill Material and the Propagation of Chromium in the
    Surrounding Soil.” Journal of Hazardous, Toxic, and Radioactive Waste. 25(3), 04021017.
4. Oh, H. and Tinjum, J.M. 2020. “Effect of Initial Moisture Content on Critical Temperature of
    Three Sandy Soils.” Proceedings of ASCE Geo-Congress. ASCE Geotechnical Special
    Publication 316. 21–30.
5. Thomas, L.K., Tinjum, J.M., and Holcomb, F.H. 2020. “Environmental Life Cycle Assessment
    of a Deep Direct-Use Geothermal System in Champaign, Illinois.” Proceedings, 45th Workshop
    on Geothermal Reservoir Engineering. Stanford University, Stanford, California, February 10-
    12, 2020, SGP-TR-216.
6. Mostafa Afzalian, Jongwan Eun, James M Tinjum. 2019. “Evaluation of Bimodal Water
    Retention Characteristics for Hydrating Chromium Ore Processing Residue (COPR).” Geo-
    Congress 2019: Geotechnical Materials, Modeling, and Testing. 754-764.
7. Alsabhan, A.H., Fratta, D., Warren, B., Tinjum, J.M., and Edil, T.B. 2019. “Using Time Domain
    Reflectometry to Determine Depth of Fouling and Fouling Type in Railway Track
    Substructure.” ASTM Geotechnical Testing Journal. 42(1), 156–179. DOI:
    10.1520/GTJ20170305.
8. McDaniel, A., Tinjum, J.M., Lin, Y-F., Stumpf, A.J., Thomas, L., and Hart, D.J. 2018.
    “Distributed Thermal Response Test to Analyze Thermal Properties in Heterogeneous
    Lithology.” Geothermics. 76, 116–124.
9. Stumpf, A., Damico, J., Okwen, R., Stark, T., Elrick, S., Nelson, W.J, Lu, Y., Holcomb, F.,
    Tinjum, J., Yang, F., Frailey, S., and Lin, Y-F. 2018. “Feasibility of a Deep Direct-Use
    Geothermal System at the University of Illinois Urbana-Champaign.” GRC Transactions. 42.
10. Alsabhan, A.H., Fratta, D., Warren, B., Tinjum, J.M., and Edil, T.B. 2018. “Using Time Domain
    Reflectometry to Determine Depth of Fouling and Fouling Type in Railway Track
    Substructure.” ASTM Geotechnical Testing Journal. 42(1).
11. McDaniel, A., Tinjum, J.M., Hart, D.J., and Fratta, D. 2018. “Dynamic Calibration for
    Permanent Distributed Temperature Sensing Networks.” IEEE Sensors Journal. 18(6), 2342–
    2352. DOI: 10.1109/JSEN.2018.2795240.
12. Alsabhan, A.H., Tinjum, J.M., Fratta, D., and Edil, T.B. 2018. “Field Validation of Polyurethane
    Technology in Remediating Rail Substructure and Enhancing Rail Freight Capacity.” In:
    Railroad Ballast Testing and Properties. DOI 10.1520/STP160520170142.
13. Eun, J, Tinjum, J.M., Benson, C.H., and Edil, T.B. 2018. “Methane Transport through
    Simulated Interim Landfill Covers with a PE Geofilm or Ethylene-Vinyl Alcohol, LLDPE, or
    PVC Geomembrane.” ASCE Journal of Environmental Engineering. 144(2). DOI:
    10.1061/(ASCE)EE.1943-7870.0001298.
14. Eun, J, Tinjum, J.M., Benson, C.H., and Edil, T.B. 2018. “Equivalent Transport Parameters for
    Volatile Organic Compounds (VOCs) in Co-Extruded Geomembrane Containing Ethylene-
    Vinyl Alcohol (EVOH).” Journal of Geotechnical and Geoenvironmental Engineering. 144(7).




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15. McDaniel, A., Fratta, D., Tinjum, J.M., and Hart, D.J. 2018. “Long-term District-Scale
    Geothermal Exchange Borefield Monitoring with Fiber Optic Distributed Temperature
    Sensing.” Geothermics. 72, 193–204. DOI: 10.1016/j.geothermics.2017.11.008.
16. Enos, C., Yilmaz, M., Wu, Z., Tinjum, J.M., and Fratta, D. 2018. “Field and Lab
    Characterization of the Operational Response of Wind Turbine Generator Foundation Soil.”
    International Foundations Congress and Equipment Expo. IFCEE 243–253.
17. Herrera, C., Nellis, G., Reindl, D.T., Klein, S., Tinjum, J.M., and McDaniel, A. 2017. “Use of a
    Fiber Optic Distributed Temperature Sensing System for Thermal Response Testing of
    Ground-coupled Heat Exchangers.” Geothermics. 71, 331–338. DOI: 10.1016/j.geothermics.
    2017.10.002.
18. Mandal, T., Tinjum, J., and Edil, T. 2017. “Study on Flexural Strength, Modulus, and Fatigue
    Cracking of Cementitiously Stabilized Materials.” Road Materials and Pavement Design. DOI:
    10.1080/14680629.2017.1325772.
19. Florea, L.J., Hart, D., Tinjum, J., and Choi, C. 2017. “Potential Impacts to Groundwater from
    Ground-Coupled Geothermal Heat Pumps in District Scale.” Groundwater. 55(1). 8–9.
20. Ozdogan-Dolcek, A., Atkins, I., Harper, M.K., Tinjum, J.M., and Choi, C.Y. 2017. “Performance
    and Sustainability of District-Scale Ground Coupled Heat Pump Systems.” Geotechnical and
    Geological Engineering. DOI 10.1007/s10706-016-0147-y.
21. Tian, K., Benson, C.H., and Tinjum, J.M. 2017. “Chemical Characteristics of Leachate in Low-
    Level Radioactive Waste Disposal Facilities.” Journal of Hazardous, Toxic, and Radioactive
    Waste. 21(4). DOI: 10.1061/(ASCE)HZ.2153-5515.0000361.
22. Eun, J, Tinjum, J.M., Benson, C.H., and Edil, T.B. 2017. “Comparison of Volatile Organic
    Compound Transport in Composite Liners with HDPE and Ethylene–Vinyl Alcohol Coextruded
    Geomembranes.” ASCE Journal of Geotechnical and Geoenvironmental Engineering. 143(6).
    DOI: 10.1061/(ASCE)GT.1943-5606.0001484.
23. Tian, K., Benson, C.H., Tinjum, J.M., and Edil, T.B. 2017. “Antioxidant Depletion and Service
    Life Prediction for HDPE Geomembranes Exposed to Low-Level Radioactive Waste
    Leachate.” ASCE Journal of Geotechnical and Geoenvironmental Engineering. DOI
    10.1061/(ASCE)GT.1943-5606.0001643.
24. Oh, H. and Tinjum, J.M. 2017. “Comparison of Two Laboratory Methods for Measuring the
    Critical Temperature of Sandy Soils.” Proceedings of ASCE Geotechnical Frontiers 2017.
    ASCE Geotechnical Special Publication 280. 809–817.
25. Mandal, T., Tinjum, J.M., Gokce, A., and Edil, T.B. 2016. “Protocol for Testing Flexural
    Strength, Flexural Modulus, and Fatigue Failure of Cementitiously Stabilized Materials Using
    Third-Point Flexural Beam Tests. ASTM Geotechnical Testing Journal. 39(1). 1–15.
26. Mandal, T., Tinjum, J.M., and Edil, T.B. 2016. “Non-Destructive Testing of Cementitiously
    Stabilized Materials using Ultrasonic Pulse Velocity Test.” Transportation Geotechnics.
    6(2016). 97–107.
27. Rhoades, K., Tinjum, J., and Eun, J. 2016. “Transport of Hexavalent Chromium in the Vadose
    Zone by Capillary and Evaporative Transport from Chromium Ore Processing Residue.”
    Canadian Geotechnical Journal. 53(4). 619–633. DOI: 10.1139/cgj-2015-0010.
28. Bloom, E. and Tinjum, J.M. 2016. “Fully Instrumented Life-Cycle Analyses for Residential
    Geo-Exchange System.” Proceedings of ASCE Geo-Chicago. ASCE Geotechnical Special
    Publication 270. 114–124.
29. McDaniel, A., Harper, M., Fratta, D., Tinjum, J.M., Choi, C., and Hart, D. 2016. “Dynamic
    Calibration of a Fiber-Optic Distributed Temperature Sensing Network at a District-Scale
    Geothermal Exchange Borefield.” Proceedings of ASCE Geo-Chicago. ASCE Geotechnical
    Special Publication 270. 1–11.




James M. Tinjum Expert CV                   09/03/2022                                   Page 4 of 11
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30. Eun, J., Yilmaz, M., Tinjum, J.M., and Benson, C.H. 2016. “Hydrogen Sulfide (H2S) Transport
    through Simulated Interim Covers with Conventional and Co-Extruded Ethylene-Vinyl Alcohol
    (EVOH) Geomembranes.” Proceedings of ASCE Geo-Chicago. ASCE Geotechnical Special
    Publication 271. 411–420.
31. Eun, J., Chen, J., and Tinjum, J.M. 2016. “Long-Term Leaching Characteristics of Chromite
    Ore Processing Residue Using Synthetic Groundwater.” Proceedings of ASCE Geo-Chicago.
    ASCE Geotechnical Special Publication 270. 1–11.
32. Walker, M., Meyer, L., Tinjum, J.M., Hart, D. 2015. “Thermal Property Measurements of
    Stratigraphic Units with Modeled Implications for Performance of Vertical Ground Source Heat
    Pumps.” Geotechnical and Geological Engineering. DOI 10.1007/s/10706-015-9847-y.
33. Yilmaz, M., Eun, J., Tinjum, J.M., and Fratta, D. 2015. “In-Service Behavior of Soil Underlying
    Shallow Wind Turbine Generator Foundation.” Proceedings of the 15th Pan-American
    Conference on Soil Mechanics and Geotechnical Engineering, 1965–1972. Buenos Aires,
    Argentina. IOS Press BV. ISBN 978-1-61499-602-6.
34. Ebrahimi, A., Tinjum, J.M., and Edil, T.B. 2015. “Deformational Behavior of Fouled Railway
    Ballast.” Canadian Geotechnical Journal. 52(2015). 344–355.
35. Soleimanbeigi, A., Shedivy, R.F., Tinjum, J.M., and Edil T.B. 2015. “Climatic Effect on
    Resilient Modulus of Recycled Unbound Aggregates.” Road Materials and Pavement Design.
    16(4). 836–853.
36. Ba, M., Tinjum, J.M., and Fall, M. 2015. “Prediction of Permanent Deformation Model
    Parameters of Unbound Base Course Aggregates Under Repeated Loading.” Road Materials
    and Pavement Design. 16(4). 1–16.
37. Diagne, M., Tinjum, J.M., and Nokkaew, N. 2015. “The Effects of Recycled Clay Brick Content
    on the Engineering Properties, Weathering Durability, and Resilient Modulus of Recycled
    Concrete Aggregate.” Transportation Geotechnics. 3(2015). 15–23.
38. Hesse, D.E., Tinjum, J.M., and Warren, B.J. 2014. “Impact of Increasing Freight Loads on Rail
    Substructure from Fracking Sand Transport.” Transportation Geotechnics. 1(4). 241–256.
39. Nokkaew, K., Tinjum, J.M., Likos, W.J., and Edil, T.B. 2014. “Effect of Matric Suction on
    Resilient Modulus for Compacted Recycled Asphalt Base Course in Postcompaction State.”
    Transportation Research Record, Journal of the Transportation Research Board. No. 2433.
    241–256. DOI 10.3141/2433-08.
40. Wu, R., Tinjum, J.M., and Likos, W. 2014. “Finite-Element Modeling of Coupled Heat and
    Moisture Transfer in Unsaturated Soils for Shallow Horizontal Geothermal Ground Loops.”
    Geotechnical and Geological Engineering. DOI 10.1007/s10706-014-9811-2.
41. Yao, J., Oh, H., Likos, W., and Tinjum, J.M. 2014. “Three Laboratory Methods for Measuring
    Thermal Resistivity Dryout Curves of Coarse-Grained Soils.” ASTM Geotechnical Testing
    Journal. 37(6), 1056–1067.
42. Keene, A., Tinjum, J.M., and Edil, T.B. 2014. “Mechanical Properties of Polyurethane-
    Stabilized Ballast and Infrastructure Materials.” Geotechnical Engineering Journal of the
    SEAGS and AGSSEA. 45(1). 67–73.
43. Ebrahimi, A., Tinjum, J.M., and Edil, T.B. 2014. “Mechanistic-Based Maintenance Planning of
    Railway Substructure.” Geotechnical Engineering Journal of the SEAGS and AGSSEA. 45(1).
    48–55.
44. Eun, J., Tinjum, J.M., Benson, C.H., and Edil, T.B. “Volatile Organic Compound (VOC)
    Transport through Composite Liner with Co-Extruded Geomembrane Containing Ethylene
    Vinyl-Alcohol (EVOH).” ASCE Geo-Congress 2014.
45. Hunter, E.L., Tinjum, J.M., and Benson, C.H. “Radionuclide Behavior in Low-Level
    Radioactive Waste (LLW) Disposal Barrier Materials: Impacts of Sorption.” ASCE Geo-



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46. Oh, H., Yao, J., Tinjum, J.M., and Likos, W.J. 2014. “Thermal Resistivity Dryout Curves for
    Three Sandy Soils.” ASCE Geo-Congress 2014.
47. Ozdogan-Dolcek, A., Tinjum, J.M., and Hart, D. 2014. “Numerical Modeling of Ground
    Temperature Response in a Ground Source Heat Pump System (GSHP).” Geotechnical
    Special Publication No. 234, Proceedings Geo-Congress 2014. 2755–2766.
48. Rajaei, M., and Tinjum, J.M. “Case Study of Wind Plant Life Cycle Energy, Emissions, and
    Water Footprint.” ASCE Geo-Congress 2014.
49. Tian, K., Tinjum, J.M., Benson, C.H., and Edil, T.B. 2014. “Antioxidant Depletion in HDPE
    Geomembranes Exposed to Low-Level Radioactive Waste Leachate.” ASCE Geo-Congress
    2014.
50. Wu, R., Tinjum, J.M., and Likos, W. 2014. “Coupling Thermal Conductivity Dryout Curves with
    Unsaturated Modeling of Shallow Horizontal Geothermal Exchange Loops.” Geotechnical
    Special Publication No. 234, Proceedings Geo-Congress 2014. 4015–4026.
51. Yilmaz, M., Schubert, S., Tinjum, J.M., and Fratta, D. “Foundation Soil Response to Wind
    Turbine Generator Loading.” ASCE Geo-Congress 2014.
52. Woodward, N.R., Tinjum, J.M., and Wu, R. 2013. “Water Migration Impacts on Thermal
    Resistivity Testing.” ASTM Geotechnical Testing Journal. 36(3). 948–955.
53. Rajaei, M., and Tinjum, J.M. 2013. “Life Cycle Assessment of Energy Balance and Emissions
    of a Wind Energy Plant.” Journal of Geotechnical and Geological Engineering. 31(6). 1663–
    1670.
54. Ba, M., Fall, M., Tinjum, J.M., and Nokkaew, K. 2013. "Effect of Soil Suction on Resilient
    Modulus of Compacted Aggregate Base Courses." Journal of Geotechnical and Geological
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SYNERGISTIC ACTIVITIES
•    ASCE Fellow (elected 2018)
•    Chair, College of Engineering Academic Planning Committee (2016 – 2017)
•    Wisconsin Professional Engineer, License No. 33972-006



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•    Southwest Branch (ASCE Wisconsin Section) – President (2002 – 2003)
•    Junior Engineers Tomorrow’s Scientists, Denver – Civil Engineering Director (1996 – 1998)
•    ASCE Zone III Practitioner Advisor of the Year (2003)
•    ASCE Wisconsin Section Outstanding Young Engineer (2002)

AFFILIATIONS

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Schlicht (Golder), Stephen Schubert (Patrick Engineering), Ryan Shedivy (Golder), Zhipeng Su
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Consulting), Mehmet Yilmaz (Turkish Education Ministry), Wei-hao Zen (Hong Kong).




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                                                                                                                                     EXHIBIT
                   Project Name: Nick Georgeff vs. Don Borneke Construction, INC. (Windfarm Excavation Expert)
                   Client Name: Swanson Martin & Bell LLP                                                                               2
                   Invoice Period: November 7th 2022 - December 3rd 2022




                                                                                                                                                    Time Worked
                     Task Date                                     Task Type                      Task Description
                                                                                                                                                      (minutes)


                    11/10/2022                                     23918                           Reviewed Plaintiff's Disclosure                   30


                    11/10/2022                                     23918                           Reviewed Barnes Report                            100


                    11/11/2022                                     23918                           Reviewed Borneke Contract                         100


                    11/11/2022                                     23918                           Reviewed Mortenson COR                            20


                    11/11/2022                                     23918                           Reviewed Nick Borneke Transcript                  40


                    11/12/2022                                     23918                           Reviewed Brad Bennett Transcript and Exhibits     105


                    11/12/2022                                     23918                           Reviewed Hogan Transcript                         25


                    11/12/2022                                     23918                           Reviewed Barnes Transcript                        95


                    11/7/2022                                      23918                           Reviewed OSHA Excavation Standards                45


                    11/16/2022                                     23918                           Prep for and Participate in Legal Update Call w/ C 90


                    11/17/2022                                     23918                           Reviewed Kruse, Sears, Langston Transcripts       100



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                   Project Name: Nick Georgeff vs. Don Borneke Construction, INC. (Windfarm Excavation Expert)
                   Client Name: Swanson Martin & Bell LLP

                   Invoice Period: December 3rd 2022 - January 1st 2023




                                                                                                                                                   Time Worked
                     Task Date                                     Task Type                      Task Description
                                                                                                                                                     (minutes)


                    12/22/2022                                     23918                           Annotated Outline, Previous Cases, Qualifications 270


                    12/25/2022                                     23918                           Opinion 1, Standard of Care                      60


                    12/25/2022                                     23918                           Opinion 2, Root Cause                            70


                    12/25/2022                                     23918                           Opinion 3, OSHA 1926 Subpart P                   50


                    12/25/2022                                     23918                           Opinion 4, Geotechnical Engineering Report       50


                    12/25/2022                                     23918                           Rebuttal to Barnes Report                        120


                    12/26/2022                                     23918                           Opinion 6, Earthwork Compaction Standard of Pra 50


                    12/26/2022                                     23918                           Opinion 7, Contract Documents                    65


                    12/26/2022                                     23918                           Opinion 8, Construction Incident Report          45


                    12/27/2022                                     23918                           Prepare Figures 1-6 for Expert Report            150


                    12/29/2022                                     23918                           Prep for and Legal Call                          45


                    12/30/2022                                     23918                           Begin writing Expert Report                      95



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                   Project Name: Nick Georgeff vs. Don Borneke Construction, INC. (Windfarm Excavation Expert)
                   Client Name: Swanson Martin & Bell LLP

                   Invoice Period: January 1st 2023 - February 2nd 2023




                                                                                                                                          Time Worked
                     Task Date                                     Task Type                      Task Description
                                                                                                                                            (minutes)


                    01/4/2023                                      23918                           Prepare Expert Report                  100


                    01/8/2023                                      23918                           Prepare Expert Report                  175


                    01/9/2023                                      23918                           Prepare Expert Report                  335


                    01/10/2023                                     23918                           Legal Call to Finalize Expert Report   45



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                   List of Cases in past Five Years, Tinjum Consulting LLC
                                          Page 1 of 1
                                                                              EXHIBIT
 •   New York State v. Covanta Hempstead
     –   Current                                                                  4

     –   Expert Opinion submitted October 03, 2022
     –   Deposition January 2023
     –   Engaged by Defendant
     –   Attorney: Elizabeth A. Edmondson, Jenner & Block LLP
 •   11200 West Heather Ave.
     –   Current
     –   Expert Opinion submitted May 16, 2022
     –   Engaged by Defendant
     –   Attorney: Edward Keating, Duane Morris LLP
 •   Grandad Bluff Coalition
     –   Expert Opinion on slope stability submitted April 30, 2020
     –   Engaged by Plaintiff
     –   Attorney: Christine Clair
 •   William N. Yoss v. American Transmission Company LLC
     –   Slope Stability Analysis and Opinion of Extractable Aggregate Resource
     –   Expert Opinion submitted February 15, 2019
     –   Engaged by Defendant
     –   Attorney: Bryan Cahill, Godfrey & Kahn, S.C.
                                                                                            EXHIBIT
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                                                                                               5
TINJUM CONSULTING, LLC (EIN XX-XXXXXXX)
James M. Tinjum, PhD, Professional Engineer
                                                           PAGE       1         OF     21
10 Arboredge Way, Fitchburg, WI 53711   (608) 609-8424


January 10, 2023

RE: Evaluation of Geotechnical Conditions and Earthwork Standard-of-Care for Mendota Hills
    Repower Project Site

Introduction and Scope
Based on my background and specialized expertise, I have been retained to provide independent
and professional judgment with respect to geotechnical soil conditions and earthwork
construction at the Mendota Hills Repower Project site. Regarding the geotechnical soil
conditions and standard-of-care for earthwork subcontractors at wind energy sites, I have been
asked to provide my expert opinion specific to the area of the temporary staging area for Turbine
11, T11. I have been asked to opine on the following subjects:
   Standard-of-Care for an earthwork subcontractor during the balance-of-plant construction
    of a wind energy site in the Upper Midwest; specifically, for the 175-foot area around a
    turbine location that is defined, grossly, as the Turbine Erection Area;
   Geotechnical basis for soil conditions at the Mendota Hills Repower Site;
   Root-cause analysis of ice formation beneath temporary staging area for tower mid-section
    for Turbine 11 (T11); and
   Relevance and technical accuracy of findings and conclusions contained in the Barnes
    Report (August 12, 2022).

Expert Opinion – Basis and Reasons
1. Standard-of-Care for Earthwork Subcontractor Followed
Don Borneke Construction (DBC) provided a level or quality of service that would ordinarily be
provided by normally competent earthwork contractors in the field of wind energy site balance-
of-plant construction that contemporaneously provide similar service in the same region (that is,
the Upper Midwest of the United States) and under the same circumstances and environmental
conditions. Earthwork specifications were prepared by the engineer-of-record based on a
professionally prepared and professional stamped geotechnical engineering investigation. In this
standard-of-care scenario, an earthwork contractor is hired to execute, using their means and
methods, and meet earthwork specifications. A quality assurance/quality control (QA/QC)
program was in effect and enforced by others (primarily Mortenson). As issues surface which
would necessitate repair and/or corrective action, the standard-of-care is to notify the
subcontractor and allow time and access to address the issue. When contracting earthwork
services and through judgment gained from experience and applied practice, an Engineer-
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TINJUM CONSULTING, LLC (EIN XX-XXXXXXX)
James M. Tinjum, PhD, Professional Engineer
                                                              PAGE        2        OF       21
10 Arboredge Way, Fitchburg, WI 53711   (608) 609-8424


Procure-Construct (EPC) contractor such as Mortenson understands and plans for some level of
project variability understanding that when an earthwork subcontractor is hired, they are
purchasing a defined service and not insurance. Reasonable care and competence was employed
by DBC and, given unknown and uncontrollable factors such as weather, environmental
conditions, and soil heterogeneity at the site, perfection and infallibility in earthwork
construction cannot be expected or justified.
2. The Root Cause of an Exposed, Thin Layer of Ice at Turbine Erection Area T11 was Elastic
   Compression of Compacted, Fine-grained Silt that was Surficially Loaded by Placement of a
   Heavy Tower Section at the Location of the Slip/Fall Incident.
The shallow soil at the site was prone to deleterious freeze-thaw behavior. Even if this soil was
compacted and inspected to specifications, environmental cycles (primarily freeze-thaw cycling)
caused the soil to retain precipitation and/or meltwater. Wet and/or saturated fine-grained soil
have lower elastic moduli, thus leading to greater amounts of plastic strain accumulation when
loaded, especially by heavy elements such as tower sections. Earthwork contractors find it very
difficult, if not impossible, to compact fine-grained, wet soil to a high level of relative compaction
in the spring or late fall when solar radiation is low (thus not offering the ability for the soil to
dry) and/or when the soil has been subjected to wet/dry and/or freeze/thaw cycles. This was
NOT an excavation stability issue under the purview of OSHA 1926 Part P (as further detailed in
Opinion 3). This was NOT a bearing capacity failure, which is a shear stress failure (see Exhibit 3).
Given the environmental conditions at the site and soil profile, a certain amount of unknown or
uncontrollable factors are to be expected. There were no in-force specifications or contract
conditions which would have mitigated this root-cause mechanism. In my expert technical
opinion, the only way to have potentially avoided the formation of ice at the location of incident
would have been to place a geotextile reinforcement layer on compacted subgrade followed by
placement of imported, ‘clean’ granular fill—this is NOT standard-of-care for Turbine Erection
Areas nor was this scenario called for in the Contract Documents.
3. OSHA 1926 Subpart P, Excavations, is Not Applicable to this Case.
With respect to scope and application, OSHA 1926.650(a) states that Subpart P applies to all open
excavations made in the earth’s surface; however, clearing, grubbing, grading, and compaction
is work unrelated to creating open excavations as “Excavation” means any man-made cut, cavity,
trench, or depression in an earth surface, formed by earth removal per 1926.650(b). The shallow
depression leading to the thin veneer of ice was caused by elastic compression of fine-grained
site soil upon loading by others (see Opinion 2), not by earth removal. Compacted, fine-grained
soils have low hydraulic conductivity (see Exhibit 1); thus, expeditious infiltration of precipitation
and/or snowmelt cannot be reasonably expected. As stated in 1926 Subpart P, App A, Soil
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Classification (2) Application: “This appendix applies when a sloping or benching system is
designed in accordance with the requirements set forth in 1926.652(b)(2) as a method of
protection for employees from cave-ins.” The Turbine Erection Area is designed to ensure
adequate bearing support for temporary staging of heavy pieces of the wind turbine generator
system and unload access for transportation vehicles, not to protect employees from cave-ins.
The Geotechnical Investigation Report (Barr Engineering, 2017), which was stamped by a
professional engineer, classifies site soil as OSHA Type B (Section 4.2.3), not Type C as presented
in the Barnes Report (Barnes, 2022). Irrespective, OSHA soil classes are indicators of slope and/or
trench stability and are wholly inappropriate for use in calculating bearing capacity, elastic
settlement and/or consolidation of soil (see Exhibit 2). The appropriate soil classification system
for this scenario is the Unified Soil Classification System (ASTM D2487). Correlations to strength,
bearing capacity, consolidation, and permeability are all appropriately made from USCS soil
classifications, not OSHA soil classes (see Exhibit 3)
4. Barr Engineering Geotechnical Report was Predictive of this Type of Soil Response
The Geotechnical Engineering Report for Mendota Hills Repower was stamped by a Professional
Engineer, William W. Kossmann. Per this report (Barr Engineering, 2017), the subsurface at the
site at foundation level is predominantly silty clay to sandy lean clay (glacial till). Overlying this
glacial till is a thin (2–9 ft) layer of loess (i.e., wind-blown silt and clay), elastic silt in locations (see
Exhibit 4). Clearing and grubbing of the upper 6 to 18 inches of soil/topsoil at the site was
recommended in the Geotechnical Report. Groundwater is very shallow at the site, 0.8 to 10 ft
below ground surface, which indicates that water retention and availability can be problematic.
Key Geotechnical Report Findings, and relation to geotechnical soil response, included:
          Fine sands, silts, and certain clays at the site (see Exhibit 4) are very frost prone (see
           Exhibit 5);
          California bearing ratio, CBR, of 1.5 to 3.8 – this is emblematic of soils prone to rutting
           (see Exhibit 2);
          Compacted, fine-grained soil has low hydraulic conductivity (see Exhibit 2), meaning that
           precipitation and snowmelt will very slowly infiltrate, thus water would tend to be
           retained at the surface;
          Section 4.4.4 predicted levels of elastic settlement.
In conclusion, freeze-thaw cycles damage the structural integrity of compacted soil. Thus, an
exposed (to environmental conditions such as freeze-thaw) surface layer compacted to
specifications and inspected/approved by independent QA/QC procedures is highly likely to
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degrade with freeze-thaw cycles at a site with soil conditions/properties described in the Barr
Engineering Geotechnical Report (Barr Engineering, 2017).
5. Rebuttal to August 12, 2022, Barnes Report
     a) The Turbine Erection Site (called the Pad Site by Barnes), did not ‘sink’

               Sinking is not a recognized or appropriate geotechnical engineering term.
               The temporary tower staging area experienced plastic strain accumulation that was
                caused by loading from the tower section (see Opinion 3).
               The water accumulation was likely caused by either melted snow or by expelled
                porewater from the loading of a wet, compacted silty layer that was likely impacted
                by freeze-thaw cycling.
     b) Ruts, holes, sagging, and weeping surfaces are not “symptoms” of improper site
           preparation. Ruts are the visible result of shallow bearing capacity failures that are
           commonly caused by:
               Wet or supersaturated soil;
               Soil type, with ruts more prone in silty and elastic soil; and
               Damaged surface layers from wet/dry cycling and/or freeze/thaw cycling.
     c) Through my twelve years of specialization in wind energy, my overall 30-plus years in
           geotechnical engineering, and my connections across the industry, I had never heard of
           the term “Tune-up,” particularly in connection to a safe walking or working surface
               The term and use in this case are not industry standard-of-practice, in my opinion.
     d) Full-depth penetration of a surface and deep sagging are not symptoms of improper
           drainage; instead, penetrations are the end result of wet or supersaturated silty or elastic
           soils that are damaged by wet/dry and/or freeze/thaw cycling.
     e) That the area of ice was the length and width of a tower section is clear and compelling
           evidence that accumulated plastic strain caused by a heavy element was the root cause
               The root cause was not consolidation-based settlement as described in the Barnes
                Report, consolidation is a time-dependent process whereas elastic strain
                accumulation is a relatively rapid phenomena.
     f)    The root cause is not related to Allowable Bearing Capacities, which is a shear failure
           mechanism
               The root cause is elastic-based settlement caused by a heavily loaded area.
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               I agree that allowable bearing capacity is in part due to quality of the soil and degree
                of compaction.
           One of the many geotechnical considerations that is missing in the Barnes Report (2022)
           is environmental degradation caused by wet/dry and/or freeze/thaw cycling.
     g) DBC had the responsibility to provide the means and methods to prepare the Tower
           Erection Areas; whereas, standard-of-care is for the Engineer of Record to provide the
           specifications and plans for the construction of Tower Erection Areas
               Specifications and plans control, not the experience of the subcontractor
                –     The earthwork contractor is not the expert on geotechnical engineering required
                      for wind energy balance-of-plant construction, that is the responsibility of the
                      Engineer of Record.
                –     The earthwork contractor provides expertise, equipment, and labor (i.e., means
                      and methods) to achieve earthwork specifications.
     h) DBC was not the “creating employer” using the terms in the Barnes Report

               The root cause was the accumulation of plastic settlement directly caused by
                placement of a heavy tower section on prepared soil that was likely experiencing
                degradation due to freeze/thaw.
               The secondary root cause was that compacted, loaded, fine-grain soil has very low
                permeability; thus, precipitation and/or snowmelt does not rapidly infiltrate or drain
                and water also routinely wicks to the surface thus freezing given the environmental
                conditions.
     i)    There are no “known weight capacities” for OSHA soil types
               OSHA soil types are solely used for the determination of protective controls for
                excavations, such as for excavations for the construction of wind turbine foundations
                and trenches for the electrical collectors (see Exhibit 3).
               The Unified Soil Classification System, USCS, is the appropriate soil classification
                system used world-wide by geotechnical engineers to estimate the necessary soil
                properties for site design.
     j)    The Barnes (2022) conclusion that the frozen slip hazard “…was a result of DBC not
           properly preparing the ground conditions such that a depressed area without adequate
           drainage was created, thus allowing water to pool and the sheet of ice to be created
           resulting in the injury” is, technically, incorrect.
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               In my technical opinion, the depression was plastic strain accumulation directly
                caused by temporary but heavy loading of a tower section on frost-prone soil that was
                degraded by environmental conditions preceding the event in question; specifically,
                freeze-thaw cycling of the prepared surface.
               If this potential outcome was of serious concern for the standard-of-care for
                earthwork construction at wind energy sites, then the specifications for Turbine
                Erection Areas would have specifically called for more rigorous compaction and/or
                material control in this area.
     k) “The area of water accumulation that turned to an ice field and became hidden by snow
           was foreseeable and preventable.”
               The water accumulation at that specific area was not foreseeable nor was it
                preventable given the soil conditions at the site, the in-play environmental weather
                conditions, and the in-force specifications and contract terms.
               A certain amount of unknown or uncontrollable factors are common, thus some level
                of product variability is anticipated and allowed by the EPC in the execution of
                standard-of-care.
6. Standard-of-Care for Earth Compaction at Wind Energy Site was Followed
     Based on my 30-plus years of earthwork-specific experience including interactions with
     practitioners from around the United States, the following would be expected at the Mendota
     Hills Wind Repower site:
     a) Frozen soil does not compact

               Section 3.5.2 (General Fill) of the Civil Specifications thus states “Do not place fill over
                porous, wet, frozen, or soft subgrade surfaces.”
     b) Exposed, fine-grained layers subjected to environmental cycles (wet/dry and/or freeze
           thaw) deteriorate in strength and modulus.
     c) Section 3.4.3.4 of the Civil Specifications states “If subgrade material or previously placed
           subsoil fill has deteriorated due to weather exposure, scarify the top 2 inches of material
           to establish an interface acceptable to the Engineer prior to placing any additional fill.”
     d) Fine-grained soil is very sensitive to as-compacted moisture condition.

     e) Signs of Problems

               Pumping in silty soil
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               Rolling and deflection in silty and clayey soil
               Water wicking to the surface
     f)    If fine-grained soil is near saturation, no amount of compaction will adequately densify
     Based on my experience and review of relevant documents, my conclusion related to
     earthwork standard-of-care include the following:
          Standard-of-Care in the Wind Industry for Turbine Erection Laydown Areas is for a smooth
           surface with <5% grades to facilitate equipment loadout and transport vehicle
           entrance/egress.
          Bearing capacity and foundation stiffness are not primary design considerations for
           Turbine Erection Areas, unlike that for crane pads, haul roads, and wind turbine generator
           foundations; thus, fill selection and quantitative earthwork standards were not
           incorporated by the Engineer of Record.
          Per the specifications, fill should NOT be placed over frozen soil or deteriorated soil; thus,
           the depressed area of question should have been coned/taped off to alert personnel of
           the hazard until proper soil scarification, discing, and fill placement was initiated (and this
           corrective action could only occur after the adjacent tower section had been removed
           from the vicinity).
          Compaction tests (nuclear density gauge, dynamic cone) would confirm if appropriate
           means and methods were employed
           –    Relative compaction limits were NOT included in the Specifications or Plan Set for the
                Turbine Erection Laydown Areas.
           –    Per my review of available documents, relative compaction testing by an independent
                QA/QC agent were not conducted.
           –    Atterbergs, grain-size distribution, and compaction curves, per my review of available
                documents, were not prepared/available for the Turbine Erection Laydown Areas.
           –    If proof rolling was conducted, these results were not available for my review.
7. DBC Completed the Work in Accordance with the Contract Documents
     The Scope of Work for the Turbine Erection Areas (Section 2.21) indicated that the
          Subcontractor shall clear, grub, and provide all necessary grading for a 175-ft radius
           around the turbine inclusive of cut and fill necessary to achieve no more than 5% grade
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           across the area including clearing debris to edges and that bumps shall be leveled and
           holes filled to accommodate equipment travel.
            Relevant testimony of fact witnesses indicated that DBC followed this standard.
          Cleared area to be maintained, compacted, and provide positive drainage at all times to
           facilitate turnaround area for turbine delivery components throughout duration of
           project.
            Relevant testimony of fact witnesses indicated that the cleared areas were compacted
             and maintained, with positive drainage, when the Turbine Erection Areas were turned
             over to the erection team.
            Indications were that the elastically deformed area under the mid tower section at
             T11 was exposed for a very short time period; thus, DBC was not allowed time or safe
             access to perform maintenance. Further, as the Contract Documents specifically state
             that fill shall not be placed on frozen or deteriorated soil, DBC had no course of action,
             even if they had been informed of the frozen ground situation. Remediation of the
             situation would first require removal of the adjacent tower section (see Exhibit 6) such
             that DBC had a safe working area to scrape off the frozen area, scarify, and compact
             fill to return the prepared ground to a positive drainage situation.
                     Standard-of-practice for an earthwork contractor at a Wind Energy Site from the
                      Manufacturer’s perspective (in this case, Gamesa) is to have limited operations in
                      the Turbine Erection Area due to potential damage to turbine equipment and
                      components.
     Finally, the Barr Engineering Geotechnical Report (2017) did not recommend specific,
     quantitative compaction and proof-rolling requirements for the Turbine Erection Areas; thus,
     DBC was not contracted to compact the Turbine Erection Areas to a quantitative relative
     compaction specification.
8. The Mortenson Construction Incident Report Specifies the Correct Protocol.
     II. Investigation Findings

           b. Contributing Factors (5 Whys)
                  i. Site Preparation- Due to the location of the ice, a dozer could not refinish the area
                     because it was too close to the tube section and crane pad
                       Thus, fully supporting Opinion No. 7
                 ii. Hazard Identification- The pre-task card for that site highlighted the presence of
                     icy conditions, but did not identify specific locations on the pad
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           c. Root Cause(s) (5 Whys)
                  i. Adverse ground conditions- The site received enough snow that morning to cover
                     the ground with a few inches. This layer of snow concealed some hazards that
                     existed on site, specifically the ice adjacent to the mid section
  III.     Lessons Learned
          i. Site Preparation: It is the foreman responsibility to ensure the crew walks the site
             prior to commencing work. Any area that cannot be refinished by a dozer and
             contains adverse ground conditions needs to be delineated by identification on the
             pre-task plan card and by standard cones.
          ii. Adverse ground conditions: The project team needs to ensure that any potential for
              adverse ground conditions are discussed at the site wide level. In addition, foreman
              need to be trained on the proper process for pre-task planning to ensure all changed
              conditions are planned and the risk mitigated. Lastly, the project team is identifying
              select tasks that will require ice cleats for 100% of the crew when icy conditions are
              present.
 IV.       Corrective Actions / Preventative Measures
           6. Provide each foreman with ice melt salt and cones to address adverse conditions in
              frequently traveled areas on the site.

Background and Qualifications
I am an Associate Professor in the Department of Civil and Environmental Engineering and
Director of the Geological Engineering Program at the University of Wisconsin-Madison (UW–
Madison). I have additional responsibilities in the Office Interdisciplinary Professional Programs
(InterPro), from which I conduct outreach activities and professional development training in
energy geotechnics and geotechnical engineering. Prior to joining UW–Madison in 2008 as a
tenure-track professor, I worked in private industry for 13 years including positions with
Caterpillar (Peoria, IL), RMT, Inc. (Madison, WI), and CH2M HILL (Denver, CO and Philadelphia,
PA). I am the recipient and co-recipient of numerous awards from the American Society of Civil
Engineers (ASCE), the Federal Highway Administration (FHWA), and other organizations,
including a Dwight D. Eisenhower Research Fellowship, the ASCE Zone III Practitioner Advisor of
the Year, and the ASCE Wisconsin Section Outstanding Young Engineer. Over the past dozen
years, I specialized in the geotechnical development and balance-of-plant (BOP) design and
construction of wind energy facilities. I have conducted multiple projects with an emphasis on
evaluating the dynamic forces and foundation soil response at wind energy facilities. This
includes field monitoring, laboratory experiments, and finite element analysis. My CV is attached
as Exhibit 7.
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Overall, my responsibilities at UW–Madison are for applied research, teaching, and continuing
engineering education in the areas of geotechnical engineering, energy geotechnics, and
sustainable/clean energy infrastructure. I do note that I have been retained as an independent
expert and will testify in my capacity as a professional engineer, not on behalf of UW–Madison.
The information about his affiliation with, and roles and responsibilities at, UW–Madison is
provided for informational purposes only. As a professor at UW–Madison, I have
advised/directed over 100 undergraduate, graduate, post-doctoral, and visiting scholars in
Geotechnical and Geological Engineering. The majority of my matriculated advised students over
this past decade work in Energy Geotechnics including at prominent firms in the wind energy
sector.

At UW–Madison, I teach several geotechnical engineering and energy/sustainability-related
courses, including:
   - Wind Energy Development and Balance-of-Plant Design (CEE535)
   - Sustainable Systems Engineering Capstone Design (EPD669)
   - Distributed Sustainable Energy Resource Design (EPD690)
   - Remediation Geotechnics (CEE635)
   - Foundations (CEE532)
   - Introduction to Foundations (GLE432)
   - Soil Mechanics (CEE330)

I teach and direct nationally and internationally attended engineering short courses involving
geotechnical engineering, civil and environmental engineering, and sustainable energy. These
courses are accredited for engineering professional development in all 50 states. Over the past
14 years, nearly 3,000 engineering and technical professionals have attended my two–four day
engineering courses, including attendees from all 50 states, several territories, and 28 different
countries. Examples of these courses include:
    - Foundation Engineering and Design
    - Wind Turbine Foundation and Tower System Design
    - Wind Energy Civil Balance-of-Plant Design
    - Wind Energy Electrical Balance-of-Plant Design
    - Unsaturated Soil Engineering and Energy Geotechnics
    - Soil Engineering for Non-Soils Engineers and Technicians

I have authored over 100 peer-reviewed, archived publications (see full list in Appendix 1)
including publications in the preeminent outlets in my profession. Some of my notable
publications in wind energy geotechnics and related soil properties include:
    - Yilmaz, M., Enos, C.A., Tinjum, J.M., and Fratta, D. 2022. “Moment-Based Analysis of On-
        shore Wind Turbine Generator Foundation Soil Response.” International Journal of
        Geomechanics. In Review.
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     -     Tinjum, J.M. 2017. “Energy Geotechnics: Towards a Sustainable Energy Future.” In:
           Geoenvironmental Practices and Sustainability: Linkages and Directions. Springer.
     -     Yilmaz, M., Eun, J., Tinjum, J.M., and Fratta, D. 2015. “In-Service Behavior of Soil
           Underlying Shallow Wind Turbine Generator Foundation.” Proceedings of the 15th Pan-
           American Conference on Soil Mechanics and Geotechnical Engineering, 1965–1972.
           Buenos Aires, Argentina.
     -     Rajaei, M., and Tinjum, J.M. “Case Study of Wind Plant Life Cycle Energy, Emissions, and
           Water Footprint.” ASCE Geo-Congress 2014.
     -     Yilmaz, M., Schubert, S., Tinjum, J.M., and Fratta, D. “Foundation Soil Response to Wind
           Turbine Generator Loading.” ASCE Geo-Congress 2014.
     -     Rajaei, M., and Tinjum, J.M. 2013. “Life Cycle Assessment of Energy Balance and
           Emissions of a Wind Energy Plant.” Journal of Geotechnical and Geological Engineering.
     -     Ba, M., Fall, M., Tinjum, J.M., and Nokkaew, K. 2013. "Effect of Soil Suction on Resilient
           Modulus of Compacted Aggregate Base Courses." Journal of Geotechnical and
           Geological Engineering.
     -     Tinjum, J.M., and Lang, P. 2012. “Wind Geotechnics.” ASCE Geo-Strata.

In addition to my published work in energy geotechnics, I have lectured extensively on energy
geotechnics and wind-turbine foundation response around the world including international
seminars or invited lectures in Bangalore, Mumbai, and Buenos Aires; seminars for engineering
consulting firms (Bechtel, Terracon, RES Americas, BT Squared, and SEECO Consultants, Inc.),
various universities (University of Colorado, University of Iowa, University of Illinois at Chicago
and at Urbana-Champaign), and multiple community organizations.

Facts and Data Considered in Developing Opinion
In performing this analysis, I reviewed the following primary project-specific documents:
          Nick Georgeff v. Don Borneke Construction, Plaintiff’s Disclosure.
          Barnes, J. 2022. “Preliminary Barnes Report.” Nick Georgeff v. Don Borneke
           Construction, Inc. Dated August 12, 2022.
          Borneke Contract for Mendota Hills Repowering, dated December 29, 2017
          Barr Engineering. 2017. Geotechnical Engineering Report, Mendota Hills Repower
           Project.
          Mortenson Civil Construction Plans. 2018. Wind Turbine Pads, Access Roads, Drainage
           and Erosion Control.
          Mortenson Quality Manual dated September 27, 2017.
          Mortenson Wind Energy Group Safety Program dated March 15, 2013.
          Mortenson Zero Injury Program Training Manual with various dates depending on
           Section.
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          OSHA 1926 Subpart P
          Balance of Plant Agreement by and between Mendota Hills, LLC and M.A. Mortenson
           Company. Dated December 19, 2017.
           – Exhibit A, Scope of Work
           – Exhibit D Attachment 1, Civil Specification
           – Exhibit K, Contractor-Provided Training
          Transcripts
           – Nick Borneke Transcript
           – Brad Bennett Transcript
           – Hogan Transcript
           – Barnes Transcript
           – Andrew Kruse Transcript
           – Lonnie Sears Transcript
           – Testimony of Jamie Langston
           – Georgeff Transcript
           – Breyne Transcript
           – Joe Barnes Transcript

In addition, the following technical references have been cited in my opinions and/or support
my analysis:

     American Society for Testing and Materials. 1985. “Classification of Soils for Engineering
       Purposes.” Annual Book of ASTM Standards, D 2487-83, vol. 04, pp. 395–408.
     Luettich, S.M., Giroud, J.P., and Bachus, R.C. 1992. Geotextile Filter Design Guide.
        Geotextiles and Geomembranes. 11(4–6), pp. 355–370.
     M. Carter and S.P. Bentley. 1991. Correlations of Soil Properties. Pentech Press, London, pp.
        52-103.
     Casagrande, A. and Fadum, R.E. 1940. Soil Mechanics Series. Cambridge, MA.
     George B. Sowers. 1970. Introductory Soil Mechanics and Foundation, The Macmillan
        Company, Landon, pp. 214-215
     U.S. Department of Army. 1997. “Military Soils Engineering”, FM 5-410.
     United States Army Corps of Engineers. 1984. Pavement Criteria for Seasonal Frost
        Conditions. Department of the Army Corps of Engineers, Office of the Chief of
        Engineers.
     Kaplar, C.W. 1974. Freezing Test for Evaluating Relative Frost Susceptibility of Various Soils.
        Cold Regions Research and Engineering Laboratory, Hanover, New Hampshire.
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Current, Relevant, and Recent Cases
          New York State v. Covanta Hempstead
           –    Current
           –    Expert Opinion submitted October 03, 2022
           –    Deposition scheduled for January, 2023
           –    Engaged by Defendant
          11200 West Heather Ave.
           –    Current
           –    Expert Opinion submitted May 16, 2022
           –    Engaged by Defendant
          Grandad Bluff Coalition
           –    Expert Opinion on slope stability submitted April 30, 2020
           –    Engaged by Plaintiff
          William N. Yoss v. American Transmission Company LLC
           –    Slope Stability Analysis and Opinion of Extractable Aggregate Resource
           –    Expert Opinion submitted February 15, 2019
           –    Engaged by Defendant
          BlackRock Engineers v. Duke Energy
           –    Expert Opinion submitted September 29, 2017
           –    Case Dismissed in 2019
           –    Engaged by Defendant
          Kaiwailoa Wind Farm Arbitration
           –    Case settled in 2017
           –    Expert Opinion submitted March 1, 2017
           –    Engaged by Defendant, Alliant Energy Corp.
          Mountain Air Wind
           –    Standard-of-Care Third-Party Review
           –    Engaged by Earth Systems Global
For this engagement, I am compensated at the rate of $350 per hour for all work, and $175 per
hour for all non-working travel (portal to portal).
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Summary Conclusions
In my expert opinion, Don Borneke Construction followed standard-of-care as an earthwork
subcontractor at a wind energy site in the Upper Midwest of the United States in relation to the
Mendota Hills Repower Project. The root cause of an exposed, thin layer of ice at Turbine
Erection Area T11 was elastic compression of compacted, fine-grained silt that was surficially
loaded by placement of a heavy tower section at the location of the slip/fall incident. This type
of soil and its susceptibility to freeze-thaw degradation was likely based on the site’s geotechnical
engineering report (Barr Engineering, 2017). Given the governing earthwork specifications at the
site, DBC would not be allowed to place fill over frozen and/or degraded soil in the vicinity of the
temporary staging areas for the tower section in Turbine Erection Area T11, even if they were
provided notice and opportunity. Further, due to the location of another tower section
immediately adjacent to the area of the slip/fall (see Exhibit 6), safety protocols and standard-of-
care should not have allowed DBC personnel and equipment into this area; thus, the only
reasonable course of action would have been to identify and cordon off this area until the
adjacent tower section was removed from the area.

Sincerely




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Exhibit 1. Silty/Clayey soil at Mendota Hills Repower with very low hydraulic conductivity and
thus expected low drainage ability. Source: Luettich et al. 1992.
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Exhibit 2a. Soft, Silty/Clayey soil at Mendota Hills Repower would be rated poor (impervious)
to drainage with medium to very high compressibility and expansion properties..
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Exhibit 2b. Soft, Silty/Clayey soil at Mendota Hills Repower would be rated as unsuitable to
poor with respect to subgrade or subbase properties, thus indicating that these soil types
would provide a suitable working surface for a short time period only, only when dry, and
only when not exposed to environmental wet/dry and/or freeze/thaw cycling.
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Exhibit 3. Examples of where various soil classification systems are used in geotechnical
engineering practice.
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Exhibit 4. Silty/Clayey soils at Mendota Hills Repower are predominately CL (clay of low
plasticity), MH (silt of high plasticity), and ML (silt) per the Barr Engineering Geotechnical
Report as presented in USCS soil types.
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Exhibit 5. Silty/Clayey Soils at Mendota Hills Repower classify as F4 in the USACOE Frost
Design Soil Classification System, or with “Very High” frost susceptibility.
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Exhibit 6. Photograph of Tower Storage “Pad” for T11 Turbine Erection Area.
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                                   Exhibit 7. James M. Tinjum CV
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PROFESSIONAL PREPARATION
University of Wisconsin-Madison, Civil and Environmental Engineering, BS 1993
University of Wisconsin-Madison, Civil and Environmental Engineering, MS 1995
University of Wisconsin-Madison, Civil and Environmental Engineering, PhD 2006

APPOINTMENTS
Owner, Tinjum Consulting LLC (EIN XX-XXXXXXX)                                     2003 – current
Director, Geological Engineering Program                                          2019 – current
    University of Wisconsin-Madison (jmtinjum@wisc.edu)
Associate Professor, Department of Civil and Environmental Engineering            2019 – current
Associate Chair, Department of Engineering Professional Development                 2017 – 2019
Faculty Director of Online Credit Engineering Programs                              2016 – 2018
Associate Professor, University of Wisconsin-Madison                              2014 – current
Assistant Professor, University of Wisconsin-Madison                                2008 – 2014
Associate Geotechnical Engineer, CH2M HILL, Inc. (Philadelphia, PA)                 2005 – 2008
Dwight D. Eisenhower Research Fellow, University of Wisconsin-Madison               2002 – 2005
Project Geotechnical Engineer and Project Manager, RMT, Inc. (Madison, WI)          1998 – 2002
Staff Geoenvironmental Engineer, CH2M HILL, Inc. (Denver, CO)                       1995 – 1998
Research and Teaching Assistant, University of Wisconsin-Madison                    1993 – 1995
Engineering Intern, Caterpillar, Inc. (Peoria, IL)                                  1990 – 1992

PROJECTS
Litigation Support / Expert Witness
Environmental Management of Residuals from Energy Recovery Facility. Confidential Legal Firm
  (North America). Expert Witness. 2022 – current.
Environmental Management of Residuals from Metal-plating Facility. Confidential Legal Firm
  (North America). Expert Witness. 2022 – current.
Landfill Liner Performance Modeling. Confidential Waste Management Company (North
  America). Standard-of-Care Expert. 2018 – current.
Nature and Extent of PFAS Contamination. City of Rhinelander (Wisconsin). Third-Party Review.
  2019 – 2022.
Bluff Slope Stability Analysis. Grandad Bluff, La Crosse (Wisconsin). Expert Witness. 2020.
Bluff Slope Stability Failure Analysis. Confidential Client (Wisconsin). Standard-of-Care Expert.
  2018 – 2019.
Excavation Stability Analysis. Confidential Client (Wisconsin). Expert Witness. 2019.
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Landfill Liner Performance Modeling. Confidential Waste Management Company (North
  America). Standard-of-Care Expert. 2018 – current.
Coal Combustion Residuals Landfill. Confidential Client (North America). Standard-of-Care
  Expert. 2017 – 2019.
Wind Energy Site, Litigation of Foundation Performance. Confidential Client (North America).
  Standard-of-Care Expert. 2014 – 2017.
Wind Energy Site, Litigation of Foundation Performance. Confidential Client (North America).
  Standard-of-Care Expert. 2016 – current.
Brownfield Remediation, Litigation of Responsible Parties. CNH America LLC (Racine, WI).
  Expert Witness. 2010 – 2013.
Soft Ground Foundation Analysis, Litigation of Foundation Suitability. Gekas Law LTD (Chicago,
  IL). Expert Witness. 2009 – 2010.
Remedial Investigation, Chromium-Impacted Site. Honeywell International (Baltimore, MD).
  Principal Investigator. 2006 – 2017.
Representative Consulting Projects (Energy, Environment, Geotechnical)
Freeze-Thaw Foundation Conditions and Remediation. Sargento Foods Incorporated (WI).
  Third-Party Review.
Coal Combustion Residual Impoundment Closure. Confidential Utility Owner (MO). Third-Party
 Geotechnical Review.
Coal Combustion Residual Landfill Remediation. Confidential Utility Owner (WI). Third-Party
 Geotechnical Review.
Landfill Slope Reconstruction and Lagoon Closure. City of Clovis (NM). Design Coordinator.
Cooling Pond Slope Reconstruction and Armoring. Rohm and Haas Company (TX).
 Geotechnical Design Engineer.
Geotechnical Design of Sediment Excavation. Rohm and Haas Company (Mozanica, Italy).
 Senior Geotechnical Engineer.
Sludge Lagoon Closure. Chevron (TX). Geotechnical Engineer.
Bridge Armoring. Burlington Northern Santa Fe Railroad (MT). Resident Engineer.
Landfill Construction. Waste Management, Countryside Landfill (IL). Design Engineer.
Wind Energy Geotechnical Report and Foundation Design. Confidential Utility Owner (WI).
 Third-Party Review.
Wood-Ridge Feasibility Study. Rohm and Haas Company (NJ). Technical Manager.
Coal-fired Power Plant Siting. Unnamed Client (IA). Project Manager.
Feasibility Study, Former Chlorine Plant. Weyerhaeuser (NC). Study Coordinator.
Natural Gas-fired Power Plant Siting. Mirant Corporation (WI). Project Coordinator.
Natural Gas Power Generating Facilities Construction. Southern Energy Inc., Zeeland (MI) and
 Neenah (WI). Project Geotechnical Engineer.
Superfund Remedial Design and Remedial Action. Waste Management, H.O.D. Landfill (IL).
 Engineering Coordinator.
Foundry Sand Landfill Siting and Construction. Waupaca Foundry (TN). Lead Engineer.
Geotechnical and Leaching Properties of Cement Kiln Dust. National Lime Association (DC).
 Project Coordinator.
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Treatment Plant Design. Various Clients (CO, NE, OK, WY). Lead Geotechnical Engineer.
Remedial Design and Construction. Hill Air Force Base (UT). Design Engineer.
Highway Reconstruction. Federal Highway Administration (WY). Design Engineer.

PUBLICATIONS

Peer Reviewed, Archived Papers
1. Yilmaz, M., Tinjum, J.M., Acker, C., and Marten, B. 2021. “Transport Mechanisms and
   Emission of Landfill Gas through Various Configurations in an MSW Landfill Using a Static
   Flux Chamber Technique. Journal of Engineering Management. 280, 111677.
2. Yilmaz, M., Eun, J., Tinjum, J.M., and Fratta, D. 2021. “In-service Response of Shallow On-
   shore Wind Turbine Generator Foundation.” Geotechnical and Geological Engineering. 1–18.
3. Chen, J., Eun, J., Feng, Y., and Tinjum, J.M. 2021. “Long-term Leaching Behavior of Chromite
   Ore Processing Residue as Backfill Material and the Propagation of Chromium in the
   Surrounding Soil.” Journal of Hazardous, Toxic, and Radioactive Waste. 25(3), 04021017.
4. Oh, H. and Tinjum, J.M. 2020. “Effect of Initial Moisture Content on Critical Temperature of
   Three Sandy Soils.” Proceedings of ASCE Geo-Congress. ASCE Geotechnical Special
   Publication 316. 21–30.
5. Thomas, L.K., Tinjum, J.M., and Holcomb, F.H. 2020. “Environmental Life Cycle Assessment
   of a Deep Direct-Use Geothermal System in Champaign, Illinois.” Proceedings, 45 th Workshop
   on Geothermal Reservoir Engineering. Stanford University, Stanford, California, February 10-
   12, 2020, SGP-TR-216.
6. Mostafa Afzalian, Jongwan Eun, James M Tinjum. 2019. “Evaluation of Bimodal Water
    Retention Characteristics for Hydrating Chromium Ore Processing Residue (COPR).” Geo-
    Congress 2019: Geotechnical Materials, Modeling, and Testing. 754-764.
7. Alsabhan, A.H., Fratta, D., Warren, B., Tinjum, J.M., and Edil, T.B. 2019. “Using Time Domain
    Reflectometry to Determine Depth of Fouling and Fouling Type in Railway Track
    Substructure.” ASTM Geotechnical Testing Journal. 42(1), 156–179. DOI:
    10.1520/GTJ20170305.
8. McDaniel, A., Tinjum, J.M., Lin, Y-F., Stumpf, A.J., Thomas, L., and Hart, D.J. 2018.
    “Distributed Thermal Response Test to Analyze Thermal Properties in Heterogeneous
    Lithology.” Geothermics. 76, 116–124.
9. Stumpf, A., Damico, J., Okwen, R., Stark, T., Elrick, S., Nelson, W.J, Lu, Y., Holcomb, F.,
    Tinjum, J., Yang, F., Frailey, S., and Lin, Y-F. 2018. “Feasibility of a Deep Direct-Use
    Geothermal System at the University of Illinois Urbana-Champaign.” GRC Transactions. 42.
10. Alsabhan, A.H., Fratta, D., Warren, B., Tinjum, J.M., and Edil, T.B. 2018. “Using Time Domain
    Reflectometry to Determine Depth of Fouling and Fouling Type in Railway Track
    Substructure.” ASTM Geotechnical Testing Journal. 42(1).
11. McDaniel, A., Tinjum, J.M., Hart, D.J., and Fratta, D. 2018. “Dynamic Calibration for
    Permanent Distributed Temperature Sensing Networks.” IEEE Sensors Journal. 18(6), 2342–
    2352. DOI: 10.1109/JSEN.2018.2795240.
12. Alsabhan, A.H., Tinjum, J.M., Fratta, D., and Edil, T.B. 2018. “Field Validation of Polyurethane
    Technology in Remediating Rail Substructure and Enhancing Rail Freight Capacity.” In:
    Railroad Ballast Testing and Properties. DOI 10.1520/STP160520170142.
13. Eun, J, Tinjum, J.M., Benson, C.H., and Edil, T.B. 2018. “Methane Transport through
    Simulated Interim Landfill Covers with a PE Geofilm or Ethylene-Vinyl Alcohol, LLDPE, or
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    PVC Geomembrane.” ASCE Journal of Environmental Engineering. 144(2). DOI:
    10.1061/(ASCE)EE.1943-7870.0001298.
14. Eun, J, Tinjum, J.M., Benson, C.H., and Edil, T.B. 2018. “Equivalent Transport Parameters for
    Volatile Organic Compounds (VOCs) in Co-Extruded Geomembrane Containing Ethylene-
    Vinyl Alcohol (EVOH).” Journal of Geotechnical and Geoenvironmental Engineering. 144(7).
15. McDaniel, A., Fratta, D., Tinjum, J.M., and Hart, D.J. 2018. “Long-term District-Scale
    Geothermal Exchange Borefield Monitoring with Fiber Optic Distributed Temperature
    Sensing.” Geothermics. 72, 193–204. DOI: 10.1016/j.geothermics.2017.11.008.
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    Characterization of the Operational Response of Wind Turbine Generator Foundation Soil.”
    International Foundations Congress and Equipment Expo. IFCEE 243–253.
17. Herrera, C., Nellis, G., Reindl, D.T., Klein, S., Tinjum, J.M., and McDaniel, A. 2017. “Use of a
    Fiber Optic Distributed Temperature Sensing System for Thermal Response Testing of
    Ground-coupled Heat Exchangers.” Geothermics. 71, 331–338. DOI: 10.1016/j.geothermics.
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18. Mandal, T., Tinjum, J., and Edil, T. 2017. “Study on Flexural Strength, Modulus, and Fatigue
    Cracking of Cementitiously Stabilized Materials.” Road Materials and Pavement Design. DOI:
    10.1080/14680629.2017.1325772.
19. Florea, L.J., Hart, D., Tinjum, J., and Choi, C. 2017. “Potential Impacts to Groundwater from
    Ground-Coupled Geothermal Heat Pumps in District Scale.” Groundwater. 55(1). 8–9.
20. Ozdogan-Dolcek, A., Atkins, I., Harper, M.K., Tinjum, J.M., and Choi, C.Y. 2017. “Performance
    and Sustainability of District-Scale Ground Coupled Heat Pump Systems.” Geotechnical and
    Geological Engineering. DOI 10.1007/s10706-016-0147-y.
21. Tian, K., Benson, C.H., and Tinjum, J.M. 2017. “Chemical Characteristics of Leachate in Low-
    Level Radioactive Waste Disposal Facilities.” Journal of Hazardous, Toxic, and Radioactive
    Waste. 21(4). DOI: 10.1061/(ASCE)HZ.2153-5515.0000361.
22. Eun, J, Tinjum, J.M., Benson, C.H., and Edil, T.B. 2017. “Comparison of Volatile Organic
    Compound Transport in Composite Liners with HDPE and Ethylene–Vinyl Alcohol Coextruded
    Geomembranes.” ASCE Journal of Geotechnical and Geoenvironmental Engineering. 143(6).
    DOI: 10.1061/(ASCE)GT.1943-5606.0001484.
23. Tian, K., Benson, C.H., Tinjum, J.M., and Edil, T.B. 2017. “Antioxidant Depletion and Service
    Life Prediction for HDPE Geomembranes Exposed to Low-Level Radioactive Waste
    Leachate.” ASCE Journal of Geotechnical and Geoenvironmental Engineering. DOI
    10.1061/(ASCE)GT.1943-5606.0001643.
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    Critical Temperature of Sandy Soils.” Proceedings of ASCE Geotechnical Frontiers 2017.
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25. Mandal, T., Tinjum, J.M., Gokce, A., and Edil, T.B. 2016. “Protocol for Testing Flexural
    Strength, Flexural Modulus, and Fatigue Failure of Cementitiously Stabilized Materials Using
    Third-Point Flexural Beam Tests. ASTM Geotechnical Testing Journal. 39(1). 1–15.
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    Stabilized Materials using Ultrasonic Pulse Velocity Test.” Transportation Geotechnics.
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27. Rhoades, K., Tinjum, J., and Eun, J. 2016. “Transport of Hexavalent Chromium in the Vadose
    Zone by Capillary and Evaporative Transport from Chromium Ore Processing Residue.”
    Canadian Geotechnical Journal. 53(4). 619–633. DOI: 10.1139/cgj-2015-0010.
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                                 Exhibit 7. James M. Tinjum CV
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   Geo-Exchange System.” Proceedings of ASCE Geo-Chicago. ASCE Geotechnical Special
   Publication 270. 114–124.
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    Calibration of a Fiber-Optic Distributed Temperature Sensing Network at a District-Scale
    Geothermal Exchange Borefield.” Proceedings of ASCE Geo-Chicago. ASCE Geotechnical
    Special Publication 270. 1–11.
30. Eun, J., Yilmaz, M., Tinjum, J.M., and Benson, C.H. 2016. “Hydrogen Sulfide (H2S) Transport
    through Simulated Interim Covers with Conventional and Co-Extruded Ethylene-Vinyl Alcohol
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31. Eun, J., Chen, J., and Tinjum, J.M. 2016. “Long-Term Leaching Characteristics of Chromite
    Ore Processing Residue Using Synthetic Groundwater.” Proceedings of ASCE Geo-Chicago.
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32. Walker, M., Meyer, L., Tinjum, J.M., Hart, D. 2015. “Thermal Property Measurements of
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    Conference on Soil Mechanics and Geotechnical Engineering, 1965–1972. Buenos Aires,
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    Ballast.” Canadian Geotechnical Journal. 52(2015). 344–355.
35. Soleimanbeigi, A., Shedivy, R.F., Tinjum, J.M., and Edil T.B. 2015. “Climatic Effect on
    Resilient Modulus of Recycled Unbound Aggregates.” Road Materials and Pavement Design.
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36. Ba, M., Tinjum, J.M., and Fall, M. 2015. “Prediction of Permanent Deformation Model
    Parameters of Unbound Base Course Aggregates Under Repeated Loading.” Road Materials
    and Pavement Design. 16(4). 1–16.
37. Diagne, M., Tinjum, J.M., and Nokkaew, N. 2015. “The Effects of Recycled Clay Brick Content
    on the Engineering Properties, Weathering Durability, and Resilient Modulus of Recycled
    Concrete Aggregate.” Transportation Geotechnics. 3(2015). 15–23.
38. Hesse, D.E., Tinjum, J.M., and Warren, B.J. 2014. “Impact of Increasing Freight Loads on Rail
    Substructure from Fracking Sand Transport.” Transportation Geotechnics. 1(4). 241–256.
39. Nokkaew, K., Tinjum, J.M., Likos, W.J., and Edil, T.B. 2014. “Effect of Matric Suction on
    Resilient Modulus for Compacted Recycled Asphalt Base Course in Postcompaction State.”
    Transportation Research Record, Journal of the Transportation Research Board. No. 2433.
    241–256. DOI 10.3141/2433-08.
40. Wu, R., Tinjum, J.M., and Likos, W. 2014. “Finite-Element Modeling of Coupled Heat and
    Moisture Transfer in Unsaturated Soils for Shallow Horizontal Geothermal Ground Loops.”
    Geotechnical and Geological Engineering. DOI 10.1007/s10706-014-9811-2.
41. Yao, J., Oh, H., Likos, W., and Tinjum, J.M. 2014. “Three Laboratory Methods for Measuring
    Thermal Resistivity Dryout Curves of Coarse-Grained Soils.” ASTM Geotechnical Testing
    Journal. 37(6), 1056–1067.
42. Keene, A., Tinjum, J.M., and Edil, T.B. 2014. “Mechanical Properties of Polyurethane-
    Stabilized Ballast and Infrastructure Materials.” Geotechnical Engineering Journal of the
    SEAGS and AGSSEA. 45(1). 67–73.
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43. Ebrahimi, A., Tinjum, J.M., and Edil, T.B. 2014. “Mechanistic-Based Maintenance Planning of
    Railway Substructure.” Geotechnical Engineering Journal of the SEAGS and AGSSEA. 45(1).
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    Transport through Composite Liner with Co-Extruded Geomembrane Containing Ethylene
    Vinyl-Alcohol (EVOH).” ASCE Geo-Congress 2014.
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    Radioactive Waste (LLW) Disposal Barrier Materials: Impacts of Sorption.” ASCE Geo-
    Congress 2014.
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    Three Sandy Soils.” ASCE Geo-Congress 2014.
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    Temperature Response in a Ground Source Heat Pump System (GSHP).” Geotechnical
    Special Publication No. 234, Proceedings Geo-Congress 2014. 2755–2766.
48. Rajaei, M., and Tinjum, J.M. “Case Study of Wind Plant Life Cycle Energy, Emissions, and
    Water Footprint.” ASCE Geo-Congress 2014.
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    Geomembranes Exposed to Low-Level Radioactive Waste Leachate.” ASCE Geo-Congress
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    Unsaturated Modeling of Shallow Horizontal Geothermal Exchange Loops.” Geotechnical
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51. Yilmaz, M., Schubert, S., Tinjum, J.M., and Fratta, D. “Foundation Soil Response to Wind
    Turbine Generator Loading.” ASCE Geo-Congress 2014.
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    Resistivity Testing.” ASTM Geotechnical Testing Journal. 36(3). 948–955.
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   James Tinjum, Timothy Stark, James Damico, Scott Elrick, Kevin Fisher, Wenfeng Fu, Damon
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   Proceedings of the AREMA Annual Conference, Minneapolis, MN. Reviewed paper and
   presentation material, which was presented by Keene.
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SYNERGISTIC ACTIVITIES
    ASCE Fellow (elected 2018)
    Chair, College of Engineering Academic Planning Committee (2016 – 2017)
    Wisconsin Professional Engineer, License No. 33972-006
    Southwest Branch (ASCE Wisconsin Section) – President (2002 – 2003)
    Junior Engineers Tomorrow’s Scientists, Denver – Civil Engineering Director (1996 – 1998)
    ASCE Zone III Practitioner Advisor of the Year (2003)
    ASCE Wisconsin Section Outstanding Young Engineer (2002)

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